      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22 Page 1 of 350 PageID 4594
192    Trauma at the Border: The Human Cost of Inhumane Immigration Policies


         36. Please describe HHS policies and procedures for placement of children once their parents
             are deemed ineligible for reunification.

                 (a) Please describe the steps HHS takes to monitor these procedures are being carried
                     out fairly and effectively?

         37. Please state if HHS plans to reunify all children and parents who were separated and if
             so, please state what HHS’ timeline for the reunification of all children and parents who
             were separated.

                 (a) Please describe the steps HHS takes to monitor whether children were reunified
                     with their parents.

         38. Please describe HHS’ policies for informing counsel, legal services providers, or other
             representatives of families regarding information regarding reunification, including final
             release destinations.

         39. Please describe HHS’ plan for finding deported parents and reunifying them with their
             children who still remain in the United States.

                 (a) Please detail the procedure that will be followed to facilitate the reunification of
                     children with parents who have already been deported.

         40. Please state how many families, between April 1, 2018 and July 31, 2018, after
             separation and reunification, were deported.

         41. Please provide HHS’ statistics for the reunification of all children and parents, including
             but not limited to data on:

         42. how many families were separated;

         43. how many children were separated from their parents and the age, race, ethnicity, and
             national origin of each child;

         44. how many children were reunited with their parents and the age, race, ethnicity, and
             national origin of each child;

         45. how many children remain separated from their parents and the age, race, ethnicity,
             religion and national origin of each such child;

         46. where children still separated from their parents are located; and

         47. of these children still separated, their age, race, ethnicity, religion, and national origin.



                                                                                                   AR00383
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 2 of 350 PageID 4595
                                                                                 Appendix C           193


   48. Please detail, for children separated between April 1, 2018 and July 30, 2018 the
       conditions of:

   49. Confinement;

   50. habitability standards;

   51. access to education, and availability of physical activity at each stage of detention and/or
       placement for children;

   52. the availability of interpreters and other materials for language accessibility;

   53. the availability of medical and mental health care personnel;

   54. the qualification of medical and mental health care personnel to treat children;

   55. how are treatment decisions made regarding the accessibility of available medical and
       mental health care personnel;

   56. access to communication with separated parents; and

   57. any other information regarding the medical and mental health care of children.

   58. Please state the background check requirements for any personnel employed, hired, or
       contracted by HHS that has contact with or custodial care and treatment of children
       detained by HHS pursuant to action by the Department of Homeland Security.

   59. Please state what role, if any, HHS has in monitoring the
          (a) welfare of children who are being detained by the Department of Homeland
              Security?

   60. Please state what role, if any, HHS has in ensuring that persons hired by HHS or any
       other federal agency or contractor or subcontractor have background checks for personnel
       who have contact with or custodial care and treatment of children detained by the
       Department of Homeland Security?

   61. Please state what, if any, are HHS’ policies for preventing the sexual abuse of children in
       detention.

          (a) Please detail what protections are in place to prevent sexual abuse of children in
              holding facilities and what were the procedures to report assault and protect
              victims of sexual abuse occurred in detention.




                                                                                          AR00384
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22 Page 3 of 350 PageID 4596
194    Trauma at the Border: The Human Cost of Inhumane Immigration Policies

                (b) Please detail what policies govern how HHS responds to notice that sexual abuse
                    of children may have occurred for children HHS detains.

                (c) Please provide statistics regarding:

         62. number of children alleged to have been subject to sexual abuse in HHS detention;

         63. where the abuse took place; and

         64. in how many instances HHS has taken disciplinary action of any type regarding
             allegations that children have been subject to sexual abuse in HHS detention,
             disaggregated by the age, race, ethnicity, religion, and national origin of each such child.

          iv.        Please describe measures HHS takes to ensure the safety and rehabilitation of
                     any child subject to sexual abuse while in HHS detention.

         65. Please detail what HHS’ policies are for preventing the physical and/or mental abuse of
             children in detention?
                 (a) Please detail what protections are in place to prevent physical and/or mental abuse
                     of children in holding facilities and

                (b) Please detail what the procedures to report assault and protect victims are if
                    physical abuse occurred in detention.

                (c) Please detail what policies govern how HHS responds to notice that physical
                    and/or mental abuse of children may have occurred for children HHS detains.

                (d) Please provide statistics regarding:

         66. number of children alleged to have been subject to physical and/or mental abuse in HHS
             detention;

         67. where the abuse took place; and

         68. in how many instances HHS has taken disciplinary action of any type regarding
             allegations that children have been subject to physical and/or mental abuse in HHS
             detention, disaggregated by the age, race, ethnicity, religion, and national origin of each
             such child.

          v.         Please describe measures HHS takes to ensure the safety and rehabilitation of
                     any child subject to physical and/or mental abuse while in HHS detention.

         69. Please detail what HHS’ policies are regarding the use of psychotropic drugs on children
             in detention, including policies regarding securing parental or other guardian approval for
             administration of psychotropic medication on children in detention.



                                                                                                AR00385
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                  Page 4 of 350 PageID 4597
                                                                                  Appendix C           195


          (a) Please state who was authorized to make a decision to administer psychotropic
              drugs to a child in detention.

          (b) Please state who was authorized to administer psychotropic drugs to a child in
              detention.

          (c) Please state when HHS was informed that psychotropic drugs were being
              administered to children?

          (d) Please provide statistics regarding the number of children in HHS detention to
              whom psychotropic medications have been administered, disaggregated by the
              age, race, ethnicity, religion, and national origin of each such child and including
              whether a parent or guardian authorized the administration of psychotropic
              medications.

   70. Please detail all information regarding the national origin, ethnicity, race, and religion of
       all families affected by the aforementioned policies and procedures of separation of
       children and parents.

   71. Please describe how HHS responds to reports that the federal government has destroyed
       records related to family separations.

   72. Since the June 20, 2018 decision by the Administration not to separate children from
       families, please state where families are currently being detained.

          (a) Please detail the conditions of confinement at each stage of detention and/or
              placement for families, including but not limited to:

                          1. habitability standards;

                          2. access to education;

                          3. availability of physical activity;

                          4. the availability of interpreters and other materials for language
                             accessibility, as well as medical and mental health care personnel;

                          5. the qualification of medical and mental health care personnel to
                             treat children; treatment decisions regarding the accessibility of
                             available medical and mental health care personnel; and


                          6. any other information regarding the medical and mental health care
                             of families.



                                                                                           AR00386
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22 Page 5 of 350 PageID 4598
196    Trauma at the Border: The Human Cost of Inhumane Immigration Policies


         73. Since the June 20, 2018 decision by the Administration not to separate children from
             families, please state:

                (a) how many families are being detained;

                (b) where are they being detained;

                (c) the ages, race, ethnicity, religion, and national origin of each family in detention;
                    and

                (d) what criteria determines whether a family is detained. Please provide any studies,
                    data, and other supporting evidence documenting policies that underlie a decision
                    to detain a family.

         74. Please list the locations, agency or entity of jurisdiction, and number of beds for any
             facility that HHS is considering using to detain families after the June 20, 2018 decision
             by the Administration not to separate children from families.

                (a) Please list the criteria by which families will be detained.

                (b) Please list the criteria by which families will be assigned to facilities.

                (c) Please list the cost of each facilities, and the additional cost to HHS’ budget to
                    establish or expand these facilities.

                (d) For these facilities, please list how families may access legal counsel, while being
                    detained.

         75. Please state how many families at the southern border who were detained, together or
             separately since April 1, 2018, have been deported because they gave up their right to
             apply for asylum/refugee status.

                (a) Please provide the ages, race, ethnicity, religion and national origin of each
                    family.

         76. Please describe under what circumstances families can be released from detention.

         77. Please provide any studies, data, and other supporting evidence documenting policies that
             underlie a decision to release a family into the United States.

                (a) Please state how many families have been released from detention since July 31,
                    2018.

                (b) Please state the ages, race, ethnicity, religion and national origin of each family
                    released.



                                                                                                 AR00387
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22               Page 6 of 350 PageID 4599
                                                                               Appendix C           197



                                 DOCUMENT REQUESTS

   4. Please provide any and all historical and current policy guidance, written instructions, or
      directives, which have been developed or disseminated to local, state, and federal
      detention centers, advocacy partners, and internally within the U.S. Department of Health
      and Human Services regarding the separation of families and the “zero-tolerance” policy.

   5. Please provide any memoranda, documents, or analyses discussing the implementation of
      the policy of separating children from their parents as part of the Administration’s “zero-
      tolerance” policy.

   6. To the extent not covered by the document requests above, please provide any and all
      documents relied on to prepare responses to the above interrogatories.




                                                                                       AR00388
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 7 of 350 PageID 4600




                                                                      AR00389
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 8 of 350 PageID 4601




                                                                      AR00390
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 9 of 350 PageID 4602




                                                                      AR00391
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 10 of 350 PageID 4603




                                                                      AR00392
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22        Page 11 of 350 PageID 4604




                                     No. 19-1212
                                          IN THE
                  Supreme Court of the United States
                  CHAD F. WOLF, ACTING SECRETARY OF HOMELAND
                                SECURITY, ET AL.,
                                                     Petitioners,
                                       v.
                           INNOVATION LAW LAB, ET AL.,
                                                   Respondents.

                             On Writ of Certiorari
                     to the United States Court of Appeals
                             for the Ninth Circuit

                        BRIEF FOR AMICI CURIAE
                    THE LAREDO PROJECT AND THE
                 NATIONAL IMMIGRANT JUSTICE CENTER
                     IN SUPPORT OF RESPONDENTS

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                                                                           AR00393
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                      Page 12 of 350 PageID 4605




                                                   i

                                 TABLE OF CONTENTS

                                                                                  Page
              TABLE OF AUTHORITIES ...................................... ii
              INTEREST OF AMICI CURIAE ............................... 1
              SUMMARY OF ARGUMENT .................................... 4
              ARGUMENT .............................................................. 6
              I.     Asylum Seekers Must Risk Kidnapping
                     in Order to Appear for Proceedings at
                     the Laredo Immigration Hearing Facility......... 6
              II.    Half of Migrants Forced to Return to
                     Mexico Under MPP Miss at Least One
                     Immigration Hearing ....................................... 12
              III. MPP Significantly Restricts Access
                   to Counsel ......................................................... 15
              IV. MPP Impedes Counsel’s Presentation
                  of Asylum Claims ............................................. 23
              CONCLUSION ......................................................... 27




                                                                                             AR00394
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                    Page 13 of 350 PageID 4606




                                                  ii

                              TABLE OF AUTHORITIES

                                                                            Page(s)
              CASES
              Baltazar-Alcazar v. INS,
                 386 F.3d 940 (9th Cir. 2004) .................................. 4
              Batanic v. INS,
                 12 F.3d 662 (7th Cir. 1993) .................................... 4
              Chambers v. Baltimore & Ohio R.R. Co.,
                207 U.S. 142 (1907) ................................................ 4
              Frech v. U.S. Att’y Gen.,
                 491 F.3d 1277 (11th Cir. 2007) .............................. 4
              Goldberg v. Kelly,
                 397 U.S. 254 (1970) .............................................. 23
              Hardy v. United States,
                375 U.S. 277 (1964) .............................................. 27
              Iavorski v. INS,
                 232 F.3d 124 (2d Cir. 2000) ................................... 4
              Leslie v. Att’y Gen.,
                 611 F.3d 171 (3d Cir. 2010) ................................... 4
              Powell v. Alabama,
                287 U.S. 45 (1932) ................................................ 23
              Saakian v. INS,
                252 F.3d 21 (1st Cir. 2001) .................................... 4
              Tennessee v. Lane,
                 541 U.S. 509 (2004) ................................................ 4
              STATUTES
              8 U.S.C. § 1229a .................................................. 15, 22




                                                                                           AR00395
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                      Page 14 of 350 PageID 4607




                                                  iii

                              TABLE OF AUTHORITIES
                                    (continued)
                                                                              Page(s)
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                Professionalism in the Adjudication
                of Removal Cases (2010) ...................................... 15
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                 Asylum Seekers: Developing an
                 Effective Model of Holistic Asylum
                 Representation, 48 U. Mich. J.L.
                 Reform 1001 (2015) .................................. 15, 17, 18
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                With Confusing Legal Processes,
                NPR (Feb. 25, 2018) ............................................. 18
              Jeffrey S. Chase, EOIR’s New Math
                 (Dec. 12, 2020) ...................................................... 19
              Greg Chen et al., After AILA Attends Tour
                 of the Laredo Tent Court, Questions Still
                 Abound, THINK IMMIGRATION
                 (Jan. 30, 2020) ...................................................... 26
              Doctors Without Borders, No Way Out:
                The Humanitarian Crisis for Migrants
                and Asylum Seekers Trapped Between
                the United States, Mexico and the
                Northern Triangle of Central America
                (Feb. 2020) ................................................ 11, 12, 17




                                                                                             AR00396
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                      Page 15 of 350 PageID 4608




                                                  iv

                              TABLE OF AUTHORITIES
                                    (continued)
                                                                              Page(s)
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                 in Immigration Court,
                 164 U. Penn. L. Rev. 1 (2015) .............................. 22
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                Sent Him Back to Mexico. He Was
                Kidnapped 5 Hours Later by a Cartel,
                VICE NEWS (Sept. 16, 2019) ................................... 7
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                Asylum Seekers Regularly Attend
                Immigration Court Hearings
                (Jan. 25, 2019) ...................................................... 14
              Human Rights First, Orders from Above:
                Massive Human Rights Abuses Under
                Trump Administration Return to
                Mexico Policy (Oct. 2019) ....................................... 7
              Human Rights Watch, US: Investigate
                ‘Remain in Mexico’ Program
                (June 2, 2020) ......................................................... 7
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                You Here”: US Returns of Asylum
                Seekers to Mexico (2019) ................................ 13, 20
              Miriam Jordan, ‘I’m Kidnapped’: A
                 Father’s Nightmare on the Border,
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                Stunning Admission, CNN POLITICS
                (Mar. 11, 2020) ..................................................... 11




                                                                                             AR00397
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                      Page 16 of 350 PageID 4609




                                                   v

                              TABLE OF AUTHORITIES
                                    (continued)
                                                                              Page(s)
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                 Trauma, Credibility, and the Adversarial
                 Adjudication of Claims for Asylum, 56
                 Santa Clara L. Rev. 457 (2016) ..................... 16, 17
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                 Commission calls for update three
                 months after Pastor kidnapping
                 (Nov. 4, 2019) ....................................................... 21
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                 pastor one year after kidnapping
                 (Aug. 3, 2020) ....................................................... 21
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                with Survivors of Abuse: A Trauma
                Informed Approach (Oct. 7, 2020) ....................... 17
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                 Cases Under ‘Remain in Mexico’
                 Program, NPR (Dec. 19, 2019) ............................ 26
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                 Consequences for Asylum Seekers in
                 Mexico (May 2020) ............................................. 6, 7
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                 Innovative Techniques for Effectively
                 Counseling Asylum Applicants Suffering
                 from Post-Traumatic Stress Disorder,
                 4 Hastings Race & Poverty L.J. 235 (2007) ........ 17
              This American Life, The Out Crowd
                 (Nov. 15, 2019) ..................................................... 24




                                                                                             AR00398
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                  Page 17 of 350 PageID 4610




                                                vi

                             TABLE OF AUTHORITIES
                                   (continued)
                                                                          Page(s)
              TRAC Immigration, After EOIR Fixes
                Most Egregious Data Errors, TRAC
                Releases New Asylum Data—But
                with a Warning (Sept. 16, 2020) .......................... 19
              TRAC Immigration, Asylum Decisions ............... 18, 19
              TRAC Immigration, Asylum Decisions and
                Denials Jump in 2018 (Nov. 29, 2018) ................ 22
              TRAC Immigration, Asylum Representation
                Rates Have Fallen Amid Rising Denial
                Rates (Nov. 28, 2017) ........................................... 18
              TRAC Immigration, Details on MPP
                (Remain in Mexico) Deportation
                Proceedings ................................................... passim
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                 Downloadable EOIR Forms
                 (updated Oct. 14, 2020) ........................................ 13
              U.S. Dep’t of Justice, EOIR, Statistics
                 Yearbook: Fiscal Year 2018
                 (updated Aug. 30, 2019) ....................................... 16
              U.S. Dep’t of Justice, EOIR-33, Alien’s
                 Change of Address/Phone Number Form
                 (Immigration Court) (rev. Dec. 2019) .................. 13
              U.S. Dep’t of Justice, Office of Pub.
                 Affairs, Department of Justice and
                 Department of Homeland Security
                 Announce Plan to Restart MPP
                 Hearings (updated Nov. 9, 2020) ......................... 14




                                                                                         AR00399
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                      Page 18 of 350 PageID 4611




                                                  vii

                               TABLE OF AUTHORITIES
                                     (continued)
                                                                               Page(s)
              U.S. Institute of Peace, Necessary
                 Condition: Access to Justice § 7.8 .......................... 4
              U.S. State Dep’t, Bureau of Consumer
                 Affairs, Mexico Travel Advisory
                 (Sept. 8, 2020) .................................................. 6, 21
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                (Nov. 18, 2019) ........................................................ 6
              Ed Vulliamy, Kidnappers prey with ‘total
                 impunity’ on migrants waiting for
                 hearings in Mexico, THE GUARDIAN
                 (Feb. 18, 2020) ........................................................ 7




                                                                                              AR00400
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                Page 19 of 350 PageID 4612




                                               1

                         INTEREST OF AMICI CURIAE1
                  Amici curiae the Laredo Project (a pro bono initia-
              tive of Jones Day) and the National Immigrant Justice
              Center (“NIJC”) are committed to expanding access to
              justice for asylum seekers in removal proceedings.
              Amici have represented or assisted thousands of mi-
              grants who have entered the United States through,
              or have been detained in, Laredo, Texas. Amici have
              witnessed the degradation of access to justice for asy-
              lum seekers subject to the so-called Migrant Protec-
              tion Protocols (“MPP”) at Laredo.
                  Jones Day, a global law firm, launched the Laredo
              Project in 2017. Over 1,250 Jones Day attorneys and
              staff have devoted over 280,000 pro bono hours to this
              initiative. Initially, the Laredo Project focused on
              providing pro se counseling and pro bono representa-
              tion to the women in Immigration and Customs En-
              forcement custody at the Laredo Detention Center.
              Partners, associates, and support staff from Jones
              Day offices across the nation operated a full-time of-
              fice in Laredo. They visited the detention center on a
              near-daily basis; provided Know Your Rights presen-
              tations to more than 5,000 migrants at the facility;
              prepared detainees for “credible fear” interviews with
              asylum officers; and represented clients in bond and
              removal proceedings.



                   1 Pursuant to Rule 37.2(a), both counsel of record received

              timely notice of intent to file this brief, and consented in writing.
              No counsel for any party authored this brief in any part, and no
              person or entity other than amici, its members, or its counsel
              made a monetary contribution to fund its preparation or submis-
              sion.




                                                                                      AR00401
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22     Page 20 of 350 PageID 4613




                                        2

                 Jones Day’s partner in this work was (and is) NIJC,
              a program of the Heartland Alliance for Human Needs
              and Human Rights. NIJC is a Chicago-based not-for-
              profit organization that provides legal representation
              and consultation to low-income immigrants, refugees,
              and asylum seekers. Each year, NIJC represents hun-
              dreds of individuals before the immigration courts,
              the Board of Immigration Appeals, and the federal ap-
              pellate courts. NIJC consults on or co-counsels a num-
              ber of Laredo Project cases, and NIJC also accepts cli-
              ent referrals from the Laredo Project.
                  In 2019, the government expanded MPP to the La-
              redo and Rio Grande Valley sectors of the southwest
              border. Newly-arrived migrants seeking asylum at or
              around the Laredo port of entry were barred from en-
              tering the United States and were instead sent to
              Nuevo Laredo, the Mexican city directly across the
              border. The Laredo Project and NIJC pivoted in re-
              sponse to these legal and logistical changes. Amici’s
              practices in Laredo now focus on providing pro bono
              representation and pro se counseling to asylum seek-
              ers subject to MPP who have claims pending in the
              Laredo Immigration Hearing Facility (“LIHF”). The
              LIHF is a “tent court”—a facility constructed of tents
              and shipping containers, where migrants present
              their claims over video-conference to the immigration
              judges of the San Antonio Immigration Court (and, oc-
              casionally, the Fort Worth Immigration Adjudication
              Center). The Laredo Project and NIJC represent more
              migrants appearing at the LIHF than any other legal
              services provider.
                 As some of the very few lawyers practicing at the
              LIHF, the attorneys of the Laredo Project and NIJC
              have had front-row seats to the deterioration of access




                                                                        AR00402
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22     Page 21 of 350 PageID 4614




                                        3

              to justice under MPP at Laredo. Kidnapping is so
              prevalent in Nuevo Laredo that migrants waiting (or
              passing through) there face a significant risk of miss-
              ing immigration hearings—because they may be held
              hostage by a cartel. Asylum seekers located in Mexico
              often struggle to locate attorneys who will represent
              them across the border in United States immigration
              court. And even when asylum seekers manage to find
              representation for proceedings at LIHF, their law-
              yers—such as those at the Laredo Project and NIJC—
              face serious obstacles providing representation be-
              cause the migrants generally cannot meet their attor-
              neys in person, have limited (or no) ability to receive
              or review documents, and have insufficient access to
              privacy and working phones.
                 Amici have dedicated themselves to bolstering ac-
              cess to justice for migrants who are detained or are in
              immigration proceedings in Laredo. Amici are com-
              mitted to ensuring that asylum seekers with merito-
              rious claims are able to obtain relief. Consequently,
              amici have a strong interest in this matter—and a
              strong interest in safeguarding access to justice from
              the deleterious effects of MPP.




                                                                        AR00403
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22       Page 22 of 350 PageID 4615




                                         4

                         SUMMARY OF ARGUMENT
                 Access to justice “is the right conservative of all
              other rights, and lies at the foundation of orderly gov-
              ernment.” Chambers v. Baltimore & Ohio R.R. Co.,
              207 U.S. 142, 148 (1907). Access to justice includes
              the ability to (1) appear at the courthouse and (2) ob-
              tain the assistance of counsel. U.S. Institute of Peace,
              Necessary Condition: Access to Justice § 7.8, https://ti-
              nyurl.com/y6gsq2ac; see also Tennessee v. Lane, 541
              U.S. 509, 523 (2004) (“[T]he right of [physical] access
              to the courts . . . [is] protected by the Due Process
              Clause.”); Batanic v. INS, 12 F.3d 662, 667 (7th Cir.
              1993) (an alien’s right to representation by counsel of
              the alien’s choice is “an integral part of the procedural
              due process to which the alien is entitled”) (quotation
              marks omitted); Leslie v. Att’y Gen., 611 F.3d 171, 181
              (3d Cir. 2010) (same); Frech v. U.S. Att’y Gen., 491 F.3d
              1277, 1281 (11th Cir. 2007) (same); Baltazar-Alcazar
              v. INS, 386 F.3d 940, 944 (9th Cir. 2004) (same);
              Saakian v. INS, 252 F.3d 21, 24 (1st Cir. 2001) (same);
              Iavorski v. INS, 232 F.3d 124, 128 (2d Cir. 2000)
              (same). MPP corrodes these twin pillars of access to
              justice.
                  Under MPP in Laredo, Texas, migrants must risk
              life and limb to attend immigration hearings. In
              Nuevo Laredo, across the river, kidnapping is a boom-
              ing business. Twenty-six percent of amici’s clients un-
              der MPP at Laredo have been kidnapped at least once
              since being forced to return to Mexico. Yet, for a mi-
              grant to attend a hearing at the LIHF, it is impossible
              to avoid the risk. There is no way to reach the LIHF
              without passing through Nuevo Laredo.
                  Numerous other obstacles—from gang shootouts
              to lack of notice—make it extremely difficult to attend




                                                                          AR00404
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22     Page 23 of 350 PageID 4616




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              hearings at LIHF. Those obstacles are frequently in-
              surmountable. Indeed, 53% of migrants under MPP
              have missed at least one hearing. Most of those mi-
              grants were removed in absentia, without an oppor-
              tunity to present their claims.
                  Migrants under MPP also struggle to retain coun-
              sel. Legal representation is the single most important
              factor affecting the outcome of an asylum claim, but
              counsel is largely unavailable to migrants in Mexico
              pursuing asylum claims across the border. Only 7% of
              migrants under MPP are represented. And fewer
              than 1% of pro se migrants under MPP have obtained
              relief. MPP’s obstruction of access to counsel makes
              asylum relief impossible for the vast majority of asy-
              lum seekers subject to MPP.
                 Further, even when a migrant under MPP retains
              counsel, the attorney faces numerous challenges pre-
              senting the migrant’s claims. Amici, for instance, can-
              not travel to Nuevo Laredo due to the extreme danger,
              so Laredo Project and NIJC attorneys typically cannot
              meet their clients in person before appearing in court.
              Mailing documents is usually impossible, and phone
              communication is often limited. Yet attorneys are
              tasked with establishing trust and building a case.
              MPP hinders this work—and generally impedes asy-
              lum seekers’ access to justice.




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22     Page 24 of 350 PageID 4617




                                        6

                                   ARGUMENT
              I.   Asylum Seekers Must Risk Kidnapping in
                   Order to Appear for Proceedings at the La-
                   redo Immigration Hearing Facility.
                  Violence is endemic in Nuevo Laredo, the Mexican
              city directly across the border from Laredo. The U.S.
              State Department assesses the state of Tamaulipas,
              where Nuevo Laredo is located, as posing the highest
              possible safety risk (Level 4)—the same level as con-
              flict-ridden countries such as Syria and Afghanistan.
              U.S. State Dep’t, Bureau of Consumer Affairs, Mexico
              Travel Advisory (Sept. 8, 2020), https://ti-
              nyurl.com/ybfbd2em; Maria Verza, In Nuevo Laredo
              and elsewhere, many migrants are stuck in Tamauli-
              pas’ lawless limbo, PITTSBURGH POST-GAZETTE (Nov.
              18, 2019), https://tinyurl.com/y4c9gd95. “Organized
              crime activity—including gun battles, murder, armed
              robbery, carjacking, kidnapping, forced disappear-
              ances, extortion, and sexual assault—is common
              along the northern border” of Tamaulipas, where
              “[h]eavily armed members of criminal groups . . . op-
              erate with impunity.” U.S. State Dep’t, supra. The
              State Department advises United States citizens not
              to travel to Tamaulipas at all, id., but the government
              remits asylum seekers—who are often traumatized,
              poor, and defenseless—to Nuevo Laredo under MPP.
                  In Tamaulipas, cartels and common criminals prey
              on asylum seekers. “In Nuevo Laredo, the Cartel del
              Noreste kidnaps asylum seekers outside shelters, [im-
              migration] offices, at bus stations, and in transit be-
              tween those locations.” Strauss Center, Migrant Pro-
              tection Protocols: Implementation and Consequences




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22     Page 25 of 350 PageID 4618




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              for Asylum Seekers in Mexico 34 (May 2020), https://ti-
              nyurl.com/y9c968qz. The cartel targets migrants “on
              the assumption that most asylum seekers in the MPP
              program have US relatives who can be extorted.” Hu-
              man Rights Watch, US: Investigate ‘Remain in Mexico’
              Program (June 2, 2020), https://tinyurl.com/y38bl9jt.
              “After being physically apprehended, asylum seekers
              are typically taken to warehouses or other locations
              where they are held until people pay their ransom,
              which is usually thousands of dollars.” Strauss Center,
              supra, at 34.
                  Pastor Diego Robles, of Nuevo Laredo, observed
              last year that kidnapping had “become big business.”
              Ed Vulliamy, Kidnappers prey with ‘total impunity’ on
              migrants waiting for hearings in Mexico, THE GUARD-
              IAN (Feb. 18, 2020), https://tinyurl.com/tuqbzm6. He
              explained: “It is worse in Tamaulipas than other bor-
              der states, and worse in Nuevo Laredo than anywhere
              else in Tamaulipas. There’s no formula to the abduc-
              tions and disappearances—they are kidnapped, beaten,
              women violated; most return, but not all.” Id. (empha-
              sis added).
                 Migrants are especially vulnerable to “abduction
              as they travel to and from U.S. ports of entry for im-
              migration hearings.” Human Rights First, Orders
              from Above: Massive Human Rights Abuses Under
              Trump Administration Return to Mexico Policy 4 (Oct.
              2019), https://tinyurl.com/upomvqw. The streets near
              the border are particularly dangerous. Emily Green,
              Trump’s Asylum Policies Sent Him Back to Mexico. He
              Was Kidnapped 5 Hours Later by a Cartel, VICE NEWS
              (Sept. 16, 2019), https://tinyurl.com/y86d8dua. Mi-
              grants must traverse those streets every time they
              travel to and from an immigration hearing at LIHF.




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22       Page 26 of 350 PageID 4619




                                         8

                  A family represented by NIJC was abducted from
              those streets. The family—a husband and wife, their
              children (ages four and six), and the children’s grand-
              mothers—entered the United States to seek asylum in
              October 2019. United States immigration officials re-
              turned the family to Mexico under MPP, with instruc-
              tions to report at the international bridge for their in-
              itial hearings months later. The family found tempo-
              rary housing several hours away. The day before their
              hearing, the mother, father, and children traveled by
              bus to Nuevo Laredo. Several men at the Nuevo La-
              redo bus station questioned the family about the pur-
              pose of their trip and their destination. Shortly after
              the family departed the bus station in a taxi, they
              were kidnapped by a group of armed men who forced
              them into a vehicle and took them to a house. The
              kidnappers held the family in squalid conditions with
              a number of other victims. The kidnappers took all of
              the family’s belongings, including their cell phones;
              forced the wife to cook and clean; and compelled the
              family to take a proof-of-life video that the kidnappers
              used to demand ransom payments. The children uri-
              nated in a bottle in front of everyone in the room be-
              cause they were not given access to a bathroom. Nei-
              ther the children nor the parents were given enough
              to eat or drink. The kidnappers held the family hos-
              tage for 16 days, including the date of their hearing.
              The immigration court issued a removal order in the
              family’s absence. Only with the help of counsel was
              the family able to reopen their immigration proceed-
              ings.
                 The two grandmothers were not traveling with the
              rest of the family because the grandmothers were




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22      Page 27 of 350 PageID 4620




                                         9

              given a separate hearing date by the immigration au-
              thorities. The grandmothers traveled together to
              Nuevo Laredo in anticipation of that hearing date.
              When they arrived, they too were kidnapped by a car-
              tel. The kidnappers were armed and took the victims’
              phones. They held the grandmothers in a room with
              a number of other hostages. The captors told one of
              the elderly victims that if she wanted to eat, she
              needed to cook, and they forced her to cook for every-
              one in the house. The kidnappers did not release the
              grandmothers until after their scheduled hearing date
              had passed. NIJC subsequently determined that the
              date the immigration authorities had given the grand-
              mothers was a “dummy date” that was never actually
              scheduled with the immigration court. The women
              are now seeking to have their proceedings recom-
              menced so that they may pursue asylum alongside the
              rest of their family. The entire family remains in Mex-
              ico, terrified of the next trip to Nuevo Laredo.
                  A different NIJC client was abducted three times
              while in Mexico under MPP. In the summer of 2019,
              she and her eight-year-old daughter presented them-
              selves to United States immigration officials. Alt-
              hough she requested asylum, the officials sent her
              back to Mexico. They left her and her child on the in-
              ternational bridge with no information about where to
              stay or what to do while awaiting her first hearing, set
              for months later. The mother and daughter sought
              shelter at a hotel near the bridge. Soon, a cartel kid-
              napped them from the hotel and brought them to a
              crowded house. Heavily armed cartel members
              guarded the house, preventing the migrants’ escape,
              and dozens of new hostages arrived each day. The cap-
              tors confiscated the mother’s cell phone and routinely




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22      Page 28 of 350 PageID 4621




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              threatened to kill her eight-year-old child. The
              mother and daughter could not bathe or change
              clothes. They were held for about a month, during
              which time the threats against them escalated. Cartel
              members threated to cut the mother’s head off and to
              sell the child to another cartel. The mother and
              daughter spent every day crying, believing they would
              not make it out alive.
                  When the cartel finally released the mother and
              daughter, a second group of men came to the house
              and kidnapped them. These captors did not allow the
              mother and child to eat or sleep, and the child became
              very ill. After a few days, the captors took the two to
              an abandoned house, where a group of men sexually
              assaulted the mother in the presence of her daughter.
              They threatened to kill both mother and daughter.
              Soon after, the kidnappers forced mother and daugh-
              ter across the Rio Grande (while threatening to drown
              the mother). The mother could not control her sobbing
              until she encountered a United States immigration of-
              ficial, who she thought would help them. Instead, the
              immigration authorities sent the woman and her
              daughter back to Mexico.
                  In search of relative safety, the mother and child
              relocated a few hours away from Nuevo Laredo. Yet
              they had no choice but to return to the city en route to
              another immigration hearing. And while in Nuevo
              Laredo, they were kidnapped a third time. This time,
              they were held for several hours and released late in
              the night before their hearing. The woman was terri-
              fied. And as long as she and her daughter remained
              in Mexico (until an immigration judge granted them
              relief from deportation), she was panicked that she
              and her child might be abducted again.




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22       Page 29 of 350 PageID 4622




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                  The United States government appears indifferent
              to this risk. In 2019, a Laredo Project client subject to
              MPP was forced into a vehicle and kidnapped by cartel
              members. He missed his hearing date because he was
              being held hostage, but his cousin—who witnessed the
              kidnapping—informed the court of what had hap-
              pened. The government nonetheless asked the judge
              to remove the man in absentia. The government’s
              counsel told the court that kidnapping “is potentially
              a reality for every respondent.” Lawyer Defending
              Trump Policy Makes Stunning Admission, CNN POLI-
              TICS (Mar. 11, 2020), https://tinyurl.com/vdxxajl. The
              immigration judge clarified: “[W]hat I’m hearing from
              the government is . . . everybody has to take that risk
              and that chance, and you get kidnapped, you get kid-
              napped, that’s the risk you take for being in Mexico
              and wanting to apply for asylum here in the United
              States.” Id. The judge stated: “I don’t think it’s hu-
              mane . . . . [W]e’re talking human beings and lives.”
              Id.
                  These clients are not outliers. Twenty-six percent
              of amici’s clients subject to MPP at Laredo report be-
              ing kidnapped at least once after being sent back to
              Mexico. And Doctors Without Borders, which oper-
              ates in Nuevo Laredo, reports even higher numbers.
              In the Nuevo Laredo clinic in September 2019, 43.9%
              of patients who were subject to MPP (18 out of 41) had
              been recently kidnapped. Doctors Without Borders,
              No Way Out: The Humanitarian Crisis for Migrants
              and Asylum Seekers Trapped Between the United
              States, Mexico and the Northern Triangle of Central
              America 6 (Feb. 2020), https://tinyurl.com/y5h8p6y6.
              “In October, the percentage of kidnapping among




                                                                          AR00411
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22     Page 30 of 350 PageID 4623




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              those sent to Mexico under the MPP program in-
              creased to 75% (33 of the 44 new patients).” Id.
                 This is a far cry from meaningful access to justice.
              II. Half of Migrants Forced to Return to Mexico
                  Under MPP Miss at Least One Immigration
                  Hearing.
                  Given the frequent kidnappings in Nuevo Laredo,
              some migrants are physically incapable of attending
              their immigration hearings because they are in the
              clutches of a cartel at the appointed time. Other mi-
              grants, facing the dangers of kidnapping, sexual as-
              sault, and other violent crime, decide not to stay to
              pursue their asylum claims—even if those claims are
              meritorious. For instance, one Laredo Project client
              abandoned his asylum claim after he and his daughter
              narrowly dodged a kidnapping attempt while return-
              ing from their first immigration hearing. He decided
              that nothing could be worse than the danger of Nuevo
              Laredo. His analysis of the risk—to himself and to his
              young child—was realistic. They departed from
              Nuevo Laredo and never got a chance to present their
              claims under the United States immigration laws.
                  Other migrants miss immigration hearings be-
              cause they cannot get back to the port of entry due to
              other impediments, apart from kidnapping. For in-
              stance, one family that the Laredo Project assisted
              was unable to reach the port of entry because they
              were obstructed by a shootout between a Mexican car-
              tel and the police. The family members received in
              absentia removal orders due to their absence. Another
              family, represented by the Laredo Project, was twice
              blocked from attending immigration hearings by U.S.
              Customs and Border Protection (“CBP”).            The




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22       Page 31 of 350 PageID 4624




                                         13

              mother—who had been kidnapped from Nuevo Laredo
              and raped in front of her children—was suffering from
              a stress-induced skin condition, and the CBP officer
              thought the peeling skin on her scalp looked like lice.
              The officer twice refused to let the family through the
              border checkpoint, causing the family to miss two dif-
              ferent asylum hearings that each had to be reset.
                  Still other migrants miss their court dates because
              they do not receive notice of scheduled hearings.
              Many migrants subject to MPP have no mailing ad-
              dress because homeless shelters in Mexico typically do
              not accept mail for migrants. Even shelters that ac-
              cept mail do not generally provide a stable address,
              since a migrant usually loses her spot (and her ad-
              dress) when she leaves the shelter to appear at a port
              of entry for a court date. Human Rights Watch, “We
              Can’t Help You Here”: US Returns of Asylum Seekers
              to Mexico 37 (2019), https://tinyurl.com/yc3o2942.
              And other migrants do not receive hearing notices be-
              cause they cannot report address changes to the im-
              migration authorities. The EOIR-33 form that appli-
              cants use to update their addresses with the Execu-
              tive Office for Immigration Review (“EOIR”) cannot be
              filed online, and the mailing instructions and pre-
              printed outer envelope assume mailing within the
              United States. U.S. Dep’t of Justice, EOIR-33, Alien’s
              Change of Address/Phone Number Form (Immigra-
              tion     Court)    (rev.   Dec.     2019),    https://ti-
              nyurl.com/yabze6ys; U.S. Dep’t of Justice, EOIR, List
              of Downloadable EOIR Forms (updated Oct. 14, 2020),
              https://tinyurl.com/yanpptog.
                 The government has instituted a stopgap measure
              to attempt to provide migrants with notice of their
              hearings. EOIR directs asylum applicants under MPP




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22         Page 32 of 350 PageID 4625




                                          14

              “to check on case status in English and Spanish by
              calling the Automated Case Information Hotline
              [(‘EOIR Hotline’)] . . . or visiting EOIR Automated
              Case Information portal [(‘EOIR Portal’)].” U.S. Dep’t
              of Justice, Office of Pub. Affairs, Department of Justice
              and Department of Homeland Security Announce Plan
              to Restart MPP Hearings (updated Nov. 9, 2020),
              https://tinyurl.com/y7wackjk. But the EOIR Hotline
              is sometimes out of service, and it is missing hearing
              information for a meaningful number of applicants.
              The Portal is similarly missing information, and in
              any event, it is useless for many applicants subject to
              MPP, who have no internet access while awaiting
              their hearings in Mexican border towns.
                  The notice issues, the frequent kidnappings, the
              safety concerns, and other deterrents have a signifi-
              cant impact on access to justice. Migrants subject to
              MPP must brave gang shootouts, attempted kidnap-
              pings, and potential sexual assault to appear at the
              port of entry at the designated time. Half do not make
              it.
                  In particular, through December 2020, 53% of mi-
              grants under MPP had missed at least one hearing.2
              TRAC Immigration, Details on MPP (Remain in Mex-
              ico)      Deportation      Proceedings,      https://ti-
              nyurl.com/rzef29p (last visited Jan. 19, 2021) (consid-
              ering only migrants who have had at least one hear-
              ing). The absences were generally fatal to the appli-
              cants’ claims. In response to absences by migrants
                  2 By contrast, in FY 2018, more than 89% of migrants who

              were allowed to remain in the United States appeared for all
              scheduled immigration hearings. Human Rights First, Fact
              Check: Asylum Seekers Regularly Attend Immigration Court
              Hearings (Jan. 25, 2019), https://tinyurl.com/y5j3mocs.




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22      Page 33 of 350 PageID 4626




                                        15

              subject to MPP at all border courts, including Laredo,
              the immigration courts have issued 27,916 in absentia
              removal orders and 2,905 in absentia terminations or
              other closures. Id. The removal orders rendered the
              migrants subject to them inadmissible to the United
              States for a period of 10 years. See 8 U.S.C.
              § 1229a(b)(5), (7). Thus, tens of thousands of asylum
              applicants have been unable or unwilling to present
              their claims under the inhumane conditions of MPP—
              and are barred from most types of immigration relief
              for years to come.
              III. MPP Significantly Restricts Access to Coun-
                   sel.
                 Asylum seekers who manage to attend their hear-
              ings at LIHF face another serious impediment to pre-
              senting their claims: It is almost impossible to find an
              attorney to represent asylum seekers subject to MPP
              at Laredo. Having counsel is the “single most im-
              portant factor affecting the outcome of an asylum
              case.” Sabrineh Ardalan, Access to Justice for Asylum
              Seekers: Developing an Effective Model of Holistic Asy-
              lum Representation, 48 U. Mich. J.L. Reform 1001,
              1015 n.51 (2015) (quoting Am. Bar Ass’n Comm’n on
              Immigration, Reforming the Immigration System:
              Proposals to Promote Independence, Fairness, Effi-
              ciency and Professionalism in the Adjudication of Re-
              moval Cases: Executive Summary ES-7 (2010)). That
              factor cuts against the vast majority of asylum seek-
              ers under MPP.
                 Legal representation is extraordinarily important
              in asylum cases. Presenting any asylum claim is
              daunting. Asylum seekers must prepare the Applica-
              tion for Asylum and for Withholding of Removal (Form




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22       Page 34 of 350 PageID 4627




                                         16

              I-589), which comprises over one hundred questions
              and fourteen pages of instructions. This form must be
              completed and submitted in English, yet most asylum
              seekers have little or no English proficiency. See U.S.
              Dep’t of Justice, EOIR, Statistics Yearbook: Fiscal Year
              2018, at 18 (updated Aug. 30, 2019), https://ti-
              nyurl.com/t3v39le (reporting that 89% of immigration
              court cases required translation services). Further-
              more, successful asylum applicants generally support
              their claims with evidence such as police reports, med-
              ical records, identification documents, and photo-
              graphs—but asylum seekers frequently flee with little
              more than the clothes on their backs. And even those
              who bring documentation may have it stolen. If kid-
              napped, as many are, asylum seekers often are
              stripped of their possessions, including documents
              and photos (in hard copy or stored electronically on
              their cell phones). And asylum seekers frequently
              have reason to fear that friends and family back home
              will face persecution if they help the asylum seekers
              to gather documentation. Additionally, migrants of-
              ten find it difficult or impossible to locate translators
              and to pay for the required certified translation of doc-
              uments and affidavits.
                  All of these challenges are compounded by asylum
              applicants’ reactions to trauma. Having fled extreme
              violence in search of safety, many asylum seekers ex-
              perience post-traumatic stress disorder (“PTSD”) and
              other mental health challenges. Stephen Paskey, Tell-
              ing Refugee Stories: Trauma, Credibility, and the Ad-
              versarial Adjudication of Claims for Asylum, 56 Santa
              Clara L. Rev. 457, 461 (2016). “Avoiding painful topics
              is common among trauma survivors, and when asy-




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22     Page 35 of 350 PageID 4628




                                        17

              lum seekers do open up, their memories can flood to-
              gether.” Ardalan, supra, at 1020. Asylum applicants
              who experience trauma are less likely to recall the de-
              tails of their persecution consistently over time, and
              are more likely to recall memories in overgeneralized
              terms or to minimize the importance and intensity of
              their trauma. Carol M. Suzuki, Unpacking Pandora’s
              Box: Innovative Techniques for Effectively Counseling
              Asylum Applicants Suffering from Post-Traumatic
              Stress Disorder, 4 Hastings Race & Poverty L.J. 235,
              257 (2007); Pub. Interest Pro Bono Ass’n, Working
              with Survivors of Abuse: A Trauma Informed Ap-
              proach 2 (Oct. 7, 2020), https://tinyurl.com/y8also7m.
              “None of these things [is] a reliable measure of
              whether a survivor is truthful, and yet they are the
              very things an immigration judge will typically point
              to as evidence that an asylum seeker is not credible.”
              Paskey, supra, at 461-62.
                  Asylum seekers subject to MPP—especially in La-
              redo—are also likely to have experienced recent
              trauma while being forced to wait in Mexico. Accord-
              ing to Doctors Without Borders, 79.6% of patients
              treated in Nuevo Laredo during the first nine months
              of 2019 reported being the victims of violence. Doctors
              Without Borders, supra, at 26. This fresh trauma—
              experienced by an applicant who is still in Mexico and
              not yet out of danger—can make it particularly diffi-
              cult to complete a lengthy and complex asylum appli-
              cation.
                  Lawyers are seldom therapists, but they can help
              a traumatized asylum applicant to assemble a coher-
              ent narrative history. Lawyers are the best way (and
              often the only feasible way) for an asylum seeker to




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22      Page 36 of 350 PageID 4629




                                        18

              collect official documentation without the involve-
              ment of the applicant’s vulnerable friends or family;
              coordinate fact affidavits from witnesses in the appli-
              cant’s home country; retain an expert to prepare a
              country-conditions report regarding the state of hu-
              man rights in the applicant’s country of origin; coordi-
              nate certified English translations of materials in
              Spanish, indigenous languages, and other languages;
              and complete the asylum application—a filing that in
              most of the Laredo Project’s cases spans 300-350
              pages. In addition, for asylum seekers forced to re-
              main in Mexico subject to MPP, an attorney is often
              the only way to ensure that the applicant knows of all
              hearings and scheduling changes. See supra Part II.
              The Laredo Project, for instance, employs a dedicated
              support staff member who checks the hearing status
              of every client every day. An attorney can also com-
              municate with counsel for the government or with the
              immigration court should scheduling issues arise.
                  For asylum seekers, these types of legal assistance
              are critical. In general, an asylum applicant with rep-
              resentation is multiple times more likely than a pro se
              applicant to obtain relief. See TRAC Immigration,
              Asylum Representation Rates Have Fallen Amid Ris-
              ing Denial Rates (Nov. 28, 2017), https://ti-
              nyurl.com/y8fn2pzt; Ardalan, supra, at 1003 & n.6;
              Samantha Balaban et al., Without A Lawyer, Asylum-
              Seekers Struggle With Confusing Legal Processes,
              NPR (Feb. 25, 2018), https://tinyurl.com/yayysqgp. In
              a survey of asylum decisions issued in FY 2018, 39.9%
              of represented asylum applicants obtained some form
              of immigration relief, compared to only 11.3% of appli-
              cants who were unrepresented. See TRAC Immigra-
              tion, Asylum Decisions, https://tinyurl.com/yamrfjo3




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22              Page 37 of 350 PageID 4630




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              (last visited Jan. 19, 2021) (filtered for FY 2018). In
              FY 2017, those numbers were 47.9% for asylum seek-
              ers with counsel and only 11.4% for asylum seekers
              without counsel. See id. (filtered for FY 2017). And in
              FY 2016, those numbers were 55.5% for asylum seek-
              ers with counsel and only 11.2% for asylum seekers
              without counsel. See id. (filtered for FY 2016).3
                 The differences are even more stark for migrants
              who are forced to remain in Mexico subject to MPP.
              Among migrants under MPP whose cases have been
              decided, only 0.65% of unrepresented individuals were
              granted some form of relief, compared to 25.3% of in-
              dividuals who were represented by an attorney.
              TRAC Immigration, Details on MPP, supra. Consid-



                   3 The data for FY 2019 and FY 2020 are not entirely reliable

              because thousands of asylum cases have been omitted. See
              TRAC       Immigration,        Asylum     Decisions,    https://ti-
              nyurl.com/yamrfjo3 (“8,649 Asylum Applications Disappeared
              From EOIR Data during FY 2019-21”) (last visited Jan. 19, 2021);
              TRAC Immigration, After EOIR Fixes Most Egregious Data Er-
              rors, TRAC Releases New Asylum Data—But with a Warning
              (Sept. 16, 2020), https://tinyurl.com/y3q4rzou (discussing miss-
              ing data). Nonetheless, the data that are available indicate that
              in FY 2019 and FY 2020, an asylum seeker with representation
              was approximately twice as likely to obtain relief as an asylum
              seeker without representation. See TRAC Immigration, Asylum
              Decisions, supra (filtered for FY 2019, showing that 33.7% of rep-
              resented migrants obtained some form of relief, compared with
              16% of unrepresented migrants; and filtered for FY 2020, show-
              ing that 31.3% of represented migrants obtained some form of
              relief, compared with 18% of unrepresented migrants). These
              statistics were generated by the Transactional Records Access
              Clearinghouse using EOIR data; EOIR-generated statistics do
              not straightforwardly address the issue. See Jeffrey S. Chase,
              EOIR’s New Math (Dec. 12, 2020), https://tinyurl.com/ycbjxll4.




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22      Page 38 of 350 PageID 4631




                                        20

              ering Laredo alone, only 1.2% of unrepresented mi-
              grants under MPP were granted some form of relief,
              compared to 56.8% of individuals who were repre-
              sented by an attorney. Id. (Over half of those success-
              ful migrants were represented by amici.) Representa-
              tion by counsel is crucial.
                  Yet MPP makes it extraordinarily difficult for a mi-
              grant to find or retain counsel. Asylum seekers who
              remain in the United States generally relocate to cit-
              ies and towns across the country, and their cases are
              assigned to the courts near where they reside. Human
              Rights Watch, We Can’t Help You Here, supra, at 34.
              By contrast, under MPP, asylum cases are concen-
              trated at particular ports of entry, “overwhelming the
              limited number of immigration attorneys who practice
              there.” Id. The number of available attorneys is fur-
              ther reduced because many immigration practitioners
              in the United States are unable—logistically or other-
              wise—to provide services to migrants across the bor-
              der in Mexico. Id. Further, some attorneys may be
              hesitant to place themselves at the potential receiving
              end of a cartel’s demand for ransom. (The Laredo Pro-
              ject uses non-traceable “burner” phones for client com-
              munications, so that cartels cannot identify Laredo
              Project attorneys and target them for extortion.) And
              Mexican attorneys cannot substitute for counsel in the
              United States because attorneys in Mexico are typi-
              cally neither licensed nor otherwise able to provide
              representation in United States courts.
                 Amici have seen this structural problem in Laredo.
              The Laredo Project considered providing assistance
              across the border in Nuevo Laredo, but determined
              that it was far too dangerous. When Laredo Project
              attorneys took an exploratory trip across the border,




                                                                         AR00420
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22       Page 39 of 350 PageID 4632




                                         21

              the local pastor with whom they were scheduled to
              meet (who ran a shelter for migrants) was missing; he
              had been kidnapped by cartel members, reportedly be-
              cause he attempted to stop them from kidnapping Cu-
              ban asylum seekers. See Premier Christian News,
              Still no sign of pastor one year after kidnapping (Aug.
              3, 2020), https://tinyurl.com/yaefrzaq; Premier Chris-
              tian News, Mexico: Commission calls for update three
              months after Pastor kidnapping (Nov. 4, 2019),
              https://tinyurl.com/yxl45swa. Given the danger—
              which the State Department assesses as the same
              level as Syria and Afghanistan, see U.S. State Dep’t,
              supra—Jones Day could not send its attorneys to
              Nuevo Laredo. To amici’s knowledge, not a single or-
              ganization operates an office in Nuevo Laredo offering
              pro bono legal representation in the United States im-
              migration courts.
                   Without a physical presence, pro bono and other
              legal services providers can be hard to find. EOIR
              gives migrants the San Antonio Immigration Court
              List of Pro Bono Legal Services Providers, but for mi-
              grants at Laredo it is of little use. The list provides
              migrants with names of non-profit organizations that
              operate in the San Antonio Immigration Court—few
              (if any) of which offer services for proceedings at LIHF.
              The Laredo Project is not on the list because it is not
              a non-profit organization (but rather a pro bono initi-
              ative of Jones Day) and because it does not operate in
              the San Antonio Immigration Court. The non-profits
              on the list will sometimes provide migrants with the
              phone number for the Laredo Project, but many mi-
              grants fall between the cracks. Of the 13,425 mi-
              grants subject to MPP in Laredo, fewer than 1,500
              have contacted the Laredo Project.




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22     Page 40 of 350 PageID 4633




                                        22

                  Further, the Laredo Project and other legal ser-
              vices providers are unable to represent all who do
              manage to locate them. The Laredo Project, for in-
              stance, has generally conducted about 25 assessments
              weekly (until the border closed in March 2020), but
              has the capacity to accept only 2-3 individuals or fam-
              ilies as clients each week. If the migrants’ cases were
              dispersed across the United States (as immigration
              cases are outside of MPP), then the migrants would
              have access to many more attorneys all over the coun-
              try. But under MPP, migrants’ cases are concentrated
              in just a small handful of courts near the border. The
              need is overwhelming and the available attorneys are
              few.
                  The statistics regarding access to counsel under
              MPP are jarring. Migrants outside of MPP (i.e., those
              residing in the United States while their hearings are
              pending) are often able to retain counsel. Studies
              have calculated representation rates among asylum
              seekers ranging from 37% to over 80%. See, e.g., In-
              grid V. Eagly & Steven Shafer, A National Study of
              Access to Counsel in Immigration Court, 164 U. Penn.
              L. Rev. 1, 6-8, 15-16 (2015); TRAC Immigration, Asy-
              lum Decisions and Denials Jump in 2018 (Nov. 29,
              2018), https://tinyurl.com/yd2ool7t. But migrants
              subject to MPP (i.e., those forced to remain in Mexico
              while their hearings are pending) are almost always
              unrepresented. Among migrants subject to MPP thus
              far, only 7% have been represented by counsel. See
              TRAC Immigration, Details on MPP, supra. This
              makes the statutory right to retain counsel for immi-
              gration proceedings, see 8 U.S.C. § 1229a(b)(4)(A),
              largely theoretical.




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22        Page 41 of 350 PageID 4634




                                          23

                 This Court has recognized that the “right to be
              heard [is], in many cases, of little avail if it d[oes] not
              comprehend the right to be heard by counsel.” Gold-
              berg v. Kelly, 397 U.S. 254, 270 (1970) (quoting Powell
              v. Alabama, 287 U.S. 45, 68-69 (1932)). But for the
              vast majority of asylum applicants subject to MPP, re-
              taining counsel is, as a practical matter, impossible.
              The very operation of MPP prevents it.
              IV. MPP Impedes Counsel’s Presentation of Asy-
                  lum Claims.
                  Even when a migrant subject to MPP at Laredo is
              able to retain counsel, providing that legal represen-
              tation is a challenge. For safety reasons, amici cannot
              travel to Nuevo Laredo. At the same time, because of
              MPP, amici’s clients are not allowed to visit amici’s
              law offices in the United States. Attorneys are forced
              to put together a case without meeting their clients in
              person. This is extraordinarily difficult. When clients
              suffer from PTSD, in-person meetings are particularly
              important for attorneys seeking to establish trust, to
              understand their clients’ experiences, and to prepare
              clients for cross-examination by the government’s
              lawyer and questioning from the immigration judge.
                  Almost all communication occurs over the phone.
              But migrants huddling in border towns in Mexico are
              often unable to use their phones. Frequent power out-
              ages disrupt cell service and prevent phone-charging.
              For many clients, internet service on their phones is
              sporadic or nonexistent, which limits communication
              over WhatsApp (an instant messaging app). Migrants
              often have insufficient funds to purchase cellular data
              or minutes. Phone theft is common. And, to limit po-
              tential communication with cartels, many shelters




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22      Page 42 of 350 PageID 4635




                                        24

              have policies preventing migrants from accessing
              their phones except during specific two-hour time pe-
              riods, into which migrants must squeeze all commu-
              nication (legal and otherwise), and during which they
              have no privacy. What is more, sometimes lawyers
              cannot communicate with clients over the phone at all,
              because the clients have been kidnapped by a cartel,
              which seizes their phones and does not give them back.
              See This American Life, The Out Crowd (Nov. 15,
              2019), https://tinyurl.com/rvzjttt; Miriam Jordan, ‘I’m
              Kidnapped’: A Father’s Nightmare on the Border, N.Y.
              TIMES (Dec. 21, 2019), https://tinyurl.com/y4fbz44c;
              supra Part I.
                  It is particularly challenging to establish trust
              over the phone. When first calling the Laredo Project,
              migrants are often worried that the phone number re-
              ally belongs to a government official, who can deny re-
              lief, or to a cartel member, who can inflict harm. Even
              after that initial fear subsides, it is extraordinarily
              difficult for many migrants to relate their most pain-
              ful memories to an attorney whom they have never
              met face-to-face. One Laredo Project client, who likely
              suffers from PTSD, was kidnapped and raped in front
              of her children after being returned to Mexico under
              MPP. Her attorneys did not learn about the sexual
              assault until their fourth or fifth phone conversation,
              during which she repeatedly had to stop talking be-
              cause the events were so painful to recall. Laredo Pro-
              ject attorneys were not able to get the full story until
              they flew to meet her in Monterrey—a safer location
              several hours away from Nuevo Laredo. If the client
              had remained in Nuevo Laredo, her attorneys may not
              have learned the full story of the abuse she had suf-
              fered.




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22         Page 43 of 350 PageID 4636




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                  Eliciting client histories can also be difficult (or im-
              possible) because migrants frequently struggle to find
              private locations to talk on the phone. One client
              called the Laredo Project from a broom closet in a shel-
              ter because she was concerned that the pastor who ran
              the shelter was working with a cartel and might use
              against her the information she shared over the phone.
              Another Laredo Project client disclosed a family-based
              persecution claim during an initial interview (based
              on the murder of his uncle by gang members and the
              gang’s subsequent threats and extortion of his entire
              family). He did not disclose until three days before his
              final hearing that he had also been the victim of a bru-
              tal sexual assault by five men who made clear that
              they attacked him because he was gay. The client,
              who is HIV positive, believed that he contracted HIV
              during the assault. He was reluctant to disclose this
              information over the phone because he had no privacy;
              he feared what his roommates would do if they found
              out about his sexuality or his HIV status.
                  The challenges persist at the hearing stage at
              LIHF. There is virtually no way to mail documents to
              clients in Nuevo Laredo, so in the very brief time be-
              fore a hearing starts, attorneys must review with
              their clients (and obtain signatures on) the I-589 Ap-
              plication for Asylum, a detailed document with over
              one hundred questions. Attorneys are allotted a total
              of one hour to meet with their clients before a hear-
              ing—but, because some of this time is taken up with
              security and movement within the LIHF, as a practi-
              cal matter amici frequently can speak with their cli-
              ents for only half an hour. After the meeting, lawyers
              and clients are separated and are not allowed to sit




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22      Page 44 of 350 PageID 4637




                                        26

              next to each other. This prevents lawyers from receiv-
              ing last-minute preparatory information about their
              clients’ cases. LIHF also prevents attorneys from per-
              forming last-minute research or preparation—govern-
              ment attorneys have full access to the internet and to
              electronic devices, but migrants’ attorneys at LIHF
              are prohibited from bringing laptops or cellphones
              into the hearing and private-meeting spaces. Greg
              Chen et al., After AILA Attends Tour of the Laredo
              Tent Court, Questions Still Abound, THINK IMMIGRA-
              TION (Jan. 30, 2020), https://tinyurl.com/y6dl6knb.
              Further, when a client’s case is called, there is no op-
              portunity to confer with the client quietly and pri-
              vately during the hearing. The proceedings at LIHF
              are held in shipping containers, where the micro-
              phones pick up every sound and convey any conversa-
              tions or whispers to the immigration judge and gov-
              ernment attorney in the immigration court.
                  Even eliciting coherent and clear testimony can be
              a challenge because migrants in the LIHF are ex-
              hausted. The United States government generally di-
              rects migrants to report to immigration authorities on
              the international bridge by 4:30 a.m. on the day of a
              hearing. See, e.g., Joel Rose, Few Asylum-Seekers
              Winning Cases Under ‘Remain in Mexico’ Program,
              NPR (Dec. 19, 2019), https://tinyurl.com/y5ebw7cj.
              “[S]helters in [Nuevo Laredo] refuse to unlock their
              doors until the light of day because it’s notoriously
              dangerous outside,” id., so many asylum seekers
              spend the entire night on the bridge. Due to cartel
              activity, the migrants cannot get up to get food or go
              to the bathroom. When it is cold, or when it rains,
              they cannot seek shelter. One Laredo Project client
              spent a cold February night on the bridge with her




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22     Page 45 of 350 PageID 4638




                                       27

              three-year-old child. An NIJC client spent a thirty-
              degree night on a sidewalk by the bridge, watching
              over her small daughter, waiting to appear in court.
              She arrived for her hearing having slept for only ten
              minutes while standing up. She had a severe head-
              ache and was worried because she could not focus on
              her case. Yet she had no choice but to proceed: This
              was her only opportunity to present her claim for asy-
              lum, and her only opportunity to access justice.
                                   *    *    *
                 “If we are to keep our democracy, there must be one
              commandment: Thou shalt not ration justice.” Hardy
              v. United States, 375 U.S. 277, 293-94 (1964) (Gold-
              berg, J., concurring) (quoting Learned Hand, J.). But
              MPP at Laredo limits migrants to only the stingiest
              ration. Migrants must risk kidnapping and sexual as-
              sault to attend their hearings at LIHF. They may
              miss a hearing (and be issued an order of removal)
              through no fault of their own. They are unlikely to
              find an attorney, making relief almost impossible to
              obtain. And they must present their testimonies to
              the court while overwhelmed and exhausted from the
              journey to the hearing. This is MPP at Laredo—and
              this is not meaningful access to justice.
                                CONCLUSION
                 For the foregoing reasons, the Court should affirm
              the decision below.




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22      Page 46 of 350 PageID 4639




                                        28

              January 22, 2021           Respectfully submitted,

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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                   Page 47
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                                                                               Department           4640
                                                                                          of Homeland Security
                                                                             Washington, DC 20528




                                                                            Homeland
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                                          January 14, 2020


  MEMORANDUM FOR THE ACTING SECRETARY

  FROM:                         Mark A. Morgan
                                Acting Commissioner
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                                                                                         .., _
                                U.S. Customs and Border Protection

                                Matthew T. Albence .~
                                Deputy Director ~ ~
                                Senior Official Performing the Duties of the Director
                                U.S. Immigration and Customs Enforcement

                                Mark Kaumans ,d. \
                                Acting Director ~ •
                                U.S. Citizenship and Immigration Services

  SUBJECT:                      Response to the Migration Protection Protocols
                                Red Team Report


  We appreciate the DHS Senior Leadership-led effort to conduct a top-down review of the
  Migrant Protection Protocols (MPP) policies and implementation strategies. As was the case
  with then-Acting Secretary Kevin McAleenan, we welcome the thoughtful recommendations.
  In the former Acting Secretary' s November 8, 2019 memorandum that accompanied the
  recommendations, we were directed to deliver a plan outlining how ''the Department will
  enhance the implementation of the MPP in accordance with these recommendations" within
  thirty days, and then, within ninety days, to complete the actions identified in this plan. This
  memorandum is intended to meet that direction.

  Upon careful review of the Migrant Protection Protocols Red Team Report, we note that many of
  the identified recommendations have already been or are being addressed by one or more
  Components. That said, the spirit of the Report is to find ways for increasing the effective and
  efficient implementation of MPP-that is something to which we are collectively committed.

  With the intent to make MPP more effective and efficient, the following are items identified by
  the Report that we are already talcing steps to address. For each item, we have identified ongoing
  activities:




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22            Page 48 of 350 PageID 4641
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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22 Page 49 of 350 PageID 4642
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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22              Page 51 of 350 PageID 4644
                                                                 DHS Office of Operations Coordination
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                                                                                    November 16, 2019




      The Migrant Protection
      Protocols Red Team
      Report
      October 25, 2019




                                   Page 1 of 10
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                           Pre-decisional internal working document

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                     Page 52 of 350 PageID 4645
                                                                              DHS Office of Operations Coordination
                                                                                             Deliberative Document
                                                                                                 November 16, 2019

 1                                            Executive Summary
 2

 3   The U.S. implemented the Migrant Protection Protocols (MPP) in January 2019 to address the
 4   security and humanitarian crisis on the Southern border resulting from an unprecedented number of
 5   migrants seeking asylum. MPP was implemented under Section 235(b)(2)(C) of the Immigration
 6   and Nationality Act (INA), which gives the Secretary of Homeland Security the authority to
 7   return certain applicants for admission to the contiguous country from which they are arriving on
 8   land (whether or not at a designated port of entry) pending removal proceedings under Section
 9   240 of the INA. The MPP is designed to support a safe and orderly immigration process,
10   decrease the number of migrants who take advantage of the immigration system, decrease
11   smugglers and traffickers’ ability to prey on vulnerable populations, and reduce threats to life,
12   national security, and public safety, while ensuring that migrants (particularly vulnerable
13   population members) receive appropriate protections.
14
15   The Department established a multi-Component Red Team, composed of members from the
16   Offices of Privacy, Management, Civil Rights and Civil Liberties, and United States Coast Guard,
17   under the oversight of the DHS Acting Deputy Secretary to review and provide a report on the
18   Department’s implementation of the MPP. This team examined the execution of the MPP across
19   the Department to identify recommendations to increase the effectiveness of the program.
20
21   The DHS MPP Red Team identified 16 recommendations organized under the following areas:
22
23          x   Initial Screening and Processing.
24          x   Access to Counsel and Due Process.
25          x   Protection Claims.
26          x   Treatment in Mexico.
27          x   Administration and Logistics.
28   Each recommendation is designed to correct a shortfall or improve the overall program
29   efficiency. The two attachments provide an overview of the MPP process (Attachment 1) and a
30   consolidated summary of the MPP Recommendations (Attachment 2).
31
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                                                Page 2 of 10
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                                        Pre-decisional internal working document

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                    Page 53 of 350 PageID 4646
                                                                             DHS Office of Operations Coordination
                                                                                            Deliberative Document
                                                                                                November 16, 2019

34                                             Table of Contents
35      1. Introduction
36
37      2. DHS MPP Red Team Approach
38
39      3. DHS MPP Red Team Recommendations
40            a.   Initial Screening and Processing
41            b.   Access to Counsel and Due Process
42            c.   Protection Claims
43            d.   Treatment in Mexico
44            e.   Administration and Logistics
45
46      4. DHS MPP Red Team Summary
47
48            a. Summary
49            b. Points of Contact
50
51   ATTACHMENTS:
52   Attachment 1: MPP Flow Chart
53   Attachment 2: MPP Recommendations Matrix Summary (T)
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                                               Page 3 of 10
                                         FOR OFFICIAL USE ONLY
                                       Pre-decisional internal working document

                                                                                                  AR00435
       Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                      Page 54 of 350 PageID 4647
                                                                                DHS Office of Operations Coordination
                                                                                               Deliberative Document
                                                                                                   November 16, 2019

 67   1. Introduction
 68
 69   The U.S. implemented the MPP in January 2019 to address the security and humanitarian crisis on the
 70   Southern border. These protocols pertain to certain foreign individuals, entering or seeking
 71   admission to the U.S. from Mexico, illegally or without proper documentation, and evaluates
 72   them for return to Mexico to wait outside of the U.S for the duration of their U.S. immigration
 73   proceedings. The Government of Mexico (GOM) provides all appropriate humanitarian
 74   protections for the duration of their waiting period. The MPP are designed to support a safe and
 75   orderly immigration process, decrease the number of migrants taking advantage of the
 76   immigration system, decrease smugglers and traffickers’ ability to prey on vulnerable
 77   populations, and reduce threats to life, national security, and public safety, while ensuring that
 78   vulnerable populations receive the protections they need.
 79
 80   The Deputy Secretary of Homeland Security was directed to establish a Red Team to conduct a
 81   top-down review of the MPP policies and implementation strategy. The team examined the way
 82   the Department executes the MPP to produce findings and recommendations to increase program
 83   effectiveness. This report contains the results of this analysis with specific recommendations for
 84   the Department’s senior leadership to consider. DHS should consider these recommendations to
 85   enhance the effectiveness and implementation of the MPP program.
 86
 87   2. DHS MPP Red Team Approach
 88
 89   Acting Deputy Secretary Pekoske organized the DHS MPP Red Team in July 2019. The
 90   members began by reviewing key MPP background documents (Secretary Nielsen’s Policy
 91   Guidance Memorandum, CBP’s Implementation of Migrant Protection Protocols, USCIS Policy
 92   Memorandum Guidance for Implementing Section 235(b)(2)(C) of the Immigration and
 93   Nationality Act and the Migrant Protection Protocols, etc.) and engaging with DHS Components
 94   implementing the MPP along the U.S. Southwest Border. The Red Team did not formally engage
 95   with migrants, Non-government Organizations (NGOs), academics, attorneys, GOM officials or
 96   other experts outside the Department. The Red Team then developed specific recommendations
 97   to improve the Department’s implementation of MPP in the following areas:
 98
 99          a.   Initial Screening and Processing
100          b.   Access to Counsel and Due Process
101          c.   Protection Claims
102          d.   Treatment in Mexico
103          e.   Administration and Logistics
104
105   DHS Components provided feedback on the initial draft, and the Red Team consolidated the input into a
106   single draft report. The draft report was then redistributed and discussed by all Red Team members, the
107   Office of General Counsel, and the Office of Strategy, Policy, and Plans before additional revisions were
108   incorporated into the final report. The recommendations are presented below.
                                                  Page 4 of 10
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                                          Pre-decisional internal working document

                                                                                                     AR00436
          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                      Page 55 of 350 PageID 4648
                                                                                                   DHS Office of Operations Coordination
                                                                                                                  Deliberative Document
                                                                                                                      November 16, 2019

109   3. DHS MPP Red Team Recommendations
110   Based on information obtained through dozens of interviews, site visits, and extensive research, the DHS
111   MPP Red Team identified the 16 recommendations below:
112             a. Initial Screening and Processing.
113                x Enhance initial screening and processing of migrants where MPP is operational.
114                        o Standardize the information posted/provided at each facility regarding individual
115                            migrant rights (signage should also notify indigenous language speakers of the
116                            availability of interpretation services).
117                        o Provide forms, including informational notices such as the “Notice to Appear”
118                            (NTA), in multiple languages (English and Spanish at a minimum) to increase
119                            migrants’ ability to comprehend their individual rights.
120                        o Improve identification of each migrant’s primary language, particularly those
121                            indigenous language speakers for whom English and Spanish are not the primary
122                            language, prior to issuance of the NTA, and ensure interpreter availability.
123                        o Standardize DHS MPP forms and ensure they are consistently used at all MPP
124                            locations, Border Patrol stations, and ports of entry.
125                        o Standardize procedures for vulnerable populations, including pregnant women,
126                            LGBTQ, disabled, minors, and the elderly.
127                x Clarify the interview process.
128                        o Publish a unified standard operating procedure to ensure consistent application of
129                            operational MPP procedures across the Department. 1
130                        o Modify DHS I-213 Form to record whether migrants are traveling with relatives or
131                            partners and any relevant phone numbers for the migrant and their family.
132                        o Address situations where families are placed in MPP and returned to Mexico
133                            despite having at least one immediate family member who is Mexican (e.g. the
134                            child was born in Mexico to a non-Mexican mother). Some families are placed in
135                            the MPP program where the parents are not citizens of Mexico but their child has
136                            Mexican citizenship. While one or both parents may have claimed fear, some are
137                            returned to Mexico along with their child because they did not pass the asylum
138                            officer’s screening process. At some locations, DHS sends pregnant women back
139                            to Mexico under MPP. It is unclear how DHS will treat families who claim fear of
140                            persecution or torture in Mexico when they return to the U.S. with a child who was
141                            born in Mexico (and may have Mexican citizenship).
142                x Ensure migrants who have asserted “fear” understand the details and scope of the fear
143                     screening process.
144                        o Add specific protocols during the “fear screening process” to determine the best-
145                            spoken language to communicate with indigenous-language speakers, to ensure the
146                            migrant understands the questions asked and can make informed decisions.

      1
        This would include, but is not limited to: specific authorities, references, best practices, and procedures to ensure a standardized approach
      to the MPP processes across the Department.
                                                                Page 5 of 10
                                                          FOR OFFICIAL USE ONLY
                                                        Pre-decisional internal working document

                                                                                                                                 AR00437
          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 56 of 350 PageID 4649
                                                                                               DHS Office of Operations Coordination
                                                                                                              Deliberative Document
                                                                                                                  November 16, 2019

147                 x     Set standards on non-adversarial interviews.
148                          o Develop and provide guidance to train components on what constitutes “non-
149                              adversarial” interviews. These guidelines would include: who can be present at the
150                              interview, who may assist with substantiating a claim of fear, the appropriate use
151                              of restraints during interviews, guidelines for participation of counsel or a
152                              representative, and how to conduct the interview “separate and apart” from persons
153                              not related to the claim.
154                 x     Ensure the consistent application of the fear screening process.
155                          o Modify fear screening process protocols to clarify the role of CBP officers and
156                              agents versus USCIS officers in making determinations on MPP amenability based
157                              on the migrant’s claimed fear of persecution or torture in Mexico. At some
158                              locations, CBP uses a pre-screening process that preempts or prevents a role for
159                              USCIS to make its determination. Interviewees also indicated that some CBP
160                              officials pressure USCIS to arrive at negative outcomes when interviewing
161                              migrants on their claim of fear of persecution or torture.
162                 x     Collect new information during screenings (e.g. affirmative statement regarding fear of
163                       returning to Mexico).
164                          o Modify current processes to include fear of “persecution or torture in Mexico” as
165                              an additional piece of personal information that will be noted in ICE, CBP, or
166                              USCIS data systems.
167                          o Review current processes for migrants not amenable to MPP to ensure that
168                              personal information is not inappropriately shared with Mexico. When an
169                              individual asserts a fear of returning to Mexico, and USCIS determines that the
170                              individual has met the threshold of “more likely than not that the individual will be
171                              persecuted or tortured” if returned to Mexico, a filter in the Office of Biometric
172                              Identification Management System’s Automated Biometric Identification System
173                              should prevent the individual’s biometrics from being shared with Mexico. This
174                              would ensure DHS is consistently applying confidentiality protections to asylum
175                              seekers.
176
177            b. Access to Counsel and Due Process. 2
178               x Facilitate migrant access to counsel.
179                      o Engage with external stakeholders to provide options for multiple communication
180                          forums to facilitate early interaction between MPP attorneys and their clients, as
181                          much as practical.
182                      o Engage with external stakeholders to provide migrants who are not in the U.S.
183                          access to “Know Your Rights” training, and pre-trial hearing advice, as much as
184                          practical. This would include, leveraging the internet, video teleconference, and
185                          other communication forums to bridge geographic and security concerns. This
      2
       Due process does not necessarily mean 5th Amendment due process but refers to the administration of due process generally, as noted in the
      Secretary’s June 2019 Memorandum directing a review of MPP policy and implementation.
                                                              Page 6 of 10
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                                                      Pre-decisional internal working document

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                    Page 57 of 350 PageID 4650
                                                                                                 DHS Office of Operations Coordination
                                                                                                                Deliberative Document
                                                                                                                    November 16, 2019

186                               support would be formalized through a Memorandum of Agreement or similar
187                               document.
188                  x     Facilitate meeting locations/logistics surrounding pre-hearing meeting locations.
189                           o In collaboration with the Government of Mexico (GOM), ensure a comprehensive
190                                standardized documentation package is used and recognized by all authorities to
191                                facilitate migrant travel, hearing scheduling, processing, and to protect personal
192                                information. Ensure this package can be replaced in Mexico if it is lost or stolen.
193                           o During site visits, the team noted some migrants must give up shelter space in
194                                Mexico when they come to the US for a hearing (particularly when in the US for
195                                24-48 hours or more), leaving them without an address to allow for follow up.
196                                CBP should create a reliable method of communication (such as an email contact
197                                for each migrant) to allow for communication from USG to migrants during their
198                                wait in Mexico. The usage of a more reliable communication method, will allow
199                                outreach to migrants in Mexico, but will also ensure access to counsel, and
200                                communication between migrant families (such as those cases when family
201                                members were not all processed at the same time/location, or when juveniles were
202                                sent to ORR).
203
204             c. Protection Claims.
205                  • Enhance understanding of credible fear.
206                             o Continue engaging with external stakeholders to foster a shared understanding of
207                               the elevated MPP standard of fear of return to Mexico from “a significant
208                               possibility” to “more likely than not,” to help address current confusions about
209                               credible fear determinations.
210                             o Continue to document and analyze migrant “credible fear” claims to address
211                               potential non-refoulement 3 concerns.
212
213              d. Treatment in Mexico.
214                x Support GOM, NGOs, and community service groups to ensure sufficient, safe, and secure
215                   living conditions for returnees in Mexico.
216                       o Recommend Department of State (DOS) coordinate with Mexico to obtain the
217                           GOM’s written assurance they will comply with non-refoulement obligations.
218                       o Continue to support safe/confidential housing for vulnerable populations remaining
219                           in Mexico through MPP.



      3
       Non-refoulement is a fundamental principle of international law that forbids a country receiving asylum seekers from returning them to a
      country in which they would be in likely danger of persecution based on “race, religion, nationality, membership of a particular social group
      or political opinion”.

                                                               Page 7 of 10
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                                                                                                                              AR00439
          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 58 of 350 PageID 4651
                                                                                                DHS Office of Operations Coordination
                                                                                                               Deliberative Document
                                                                                                                   November 16, 2019

220                 x    Periodically monitor and evaluate whether Mexico is meeting its basic obligations under
221                      international law for migrants returning to Mexico under MPP. 4
222
223              e. Administration and Logistics.
224                 x Establish protocols to ensure regular communication with migrants during their stay in
225                   Mexico.
226                      o Create an integrated mechanism to share information between migrants and
227                          DHS/Department of Justice (DOJ)/Health and Human Services (HHS) throughout
228                          removal proceedings.
229                 x The Chief Privacy Officer will determine if DHS needs to conduct a Privacy Impact
230                   Assessment (PIA) on the MPP.
231                      o Take appropriate action to mitigate privacy risks identified in any potential DHS
232                          MPP PIA.
233                 x Examine internal and external information sharing considerations.
234                      o Standardize intradepartmental information sharing between MPP Component
235                          stakeholders (CBP, ICE, USCIS, and OBIM) to memorialize agreed upon
236                          processes and procedures.
237                      o Standardize information sharing between external MPP stakeholders (DOJ/EOIR,
238                          GOM, HHS) through a memorandum of agreement or other formal documentation.
239                      o Engage with the GOM to negotiate a formal information sharing agreement to
240                          govern the collection, use, retention, and dissemination of any MPP related
241                          information shared between DHS and GOM.
242                      o In collaboration with EOIR, review/update the MOU between DHS and EOIR
243                          Regarding the Sharing of Information on Immigration Cases, approved in October
244                          2012.
245                 x Develop MPP regulations.
246                      o Develop regulations for the MPP program.
247                 x Establish MPP Measures of Effectiveness.
248                      o Establish, implement, and assess specific measures of effectiveness (MOE) to
249                          evaluate the MPP’s effectiveness and scope. These MOE would include: the
250                          incoming flow of migrants per day (both for initial screening and for subsequent
251                          MPP proceedings); number and percentage of incoming migrants amenable to
252                          MPP; flow-rate and backlog associated with removal adjudication proceedings by
253                          outcome; number of MPP proceedings scheduled compared to number not held
254                          due to no-shows; number of applicants asserting fear per day; number and
255                          percentage of MPP applicants having to remain overnight in the U.S.; and the
256                          number of Entry Without Inspection migrants apprehended who were previously
257                          issued an order of removal from an immigration judge.
      4
        The evaluation may include adoption of relevant data sets for trends, surveys, use of a NGO, or engagement with an entity or agency
      independent of DHS (e.g. State Department or USAID) or some combination thereof.
                                                              Page 8 of 10
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                                                      Pre-decisional internal working document

                                                                                                                             AR00440
       Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                  Page 59 of 350 PageID 4652
                                                                            DHS Office of Operations Coordination
                                                                                           Deliberative Document
                                                                                               November 16, 2019

258                  o Develop joint plans with DOJ to sustain the capability to conduct MPP
259                    proceedings near Southwest Border ports of entry, as needed.
260   4. DHS MPP Red Team Summary
261
262        a. Summary
263           Implementation of the DHS MPP Red Team recommendations will continue to improve
264           the Department’s ability to secure the Southwest Border, improve the USG immigration
265           process, and ensure that the MPP are implemented in accordance with the January 25,
266           2019 Secretarial memorandum, applicable law, and policy guidance and procedures.
267           This will be an iterative process that the Department will reevaluate and refine over
268           time. Attachment 1 provides an overview of the MPP process and Attachment 2
269           provides a summary of DHS MPP Red Team Recommendations.
270
271        b. Points of Contact
272           Questions or subsequent coordination for this report should be directed to
273           Sam Kaplan, DHS Deputy Chief of Staff, 202-447-4583; sam.kaplan@hq.dhs.gov.
274
275   ATTACHMENTS:
276   Attachment 1: MPP Flow Chart
277   Attachment 2: MPP Recommendations Matrix Summary (Published Separately)
278




                                              Page 9 of 10
                                        FOR OFFICIAL USE ONLY
                                      Pre-decisional internal working document

                                                                                                 AR00441
       Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 60 of 350 PageID 4653
                                                                           DHS Office of Operations Coordination
                                                                                          Deliberative Document
                                                                                              November 16, 2019

279   Attachment 1: MPP Flow Chart
280
281   MIGRANT PROTECTION PROTOCOLS
282   FLOW CHART OVERVIEW
283




284




285
                                             Page 10 of 10
                                       FOR OFFICIAL USE ONLY
                                     Pre-decisional internal working document

                                                                                                AR00442
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                Page 61 of 350 PageID 4654
                                                                          Secretary
                                                                          U.S. Department of Homeland Security
                                                                          Washington, DC 20528


                                                                          Homeland
                                                                          Security
                                        November 8, 2019


 MEMORANDUM FOR:               Acting Commissioner
                               U.S. Customs and Border Protection

                               Acting Director
                               U.S. Immigration and Customs Enforcement

                               Acting Director
                               U.S. Citizenship and Immigration Services

 FROM:                         Kevin K. McAleenan     ~y 1/
                                                       J//___ _
                               Acting Secretary   / ( f' >-

 SUBJECT:                      Review of Migrant Protection Protocols Policy and
                               Implementation - Final Recommendations


As Acting Secretary, it is my priority that our enforcement of the law is done with integrity,
transparency, and respect for all people we encounter. With this in mind, earlier this year I
directed the Acting Deputy Secretary to form a committee of senior leaders in the Department to
conduct a top-down review of MPP's policies and implementation strategy, and provide overall
recommendations to increase the effectiveness of the program. It is critical to the success of this
program that we periodically review our policies and procedures.

The Acting Deputy Secretary convened a group of dedicated officials who did not have
involvement in the implementation of MPP. These officials reviewed relevant policy and
implementation documentation, conducted multiple interviews, and participated in site visits at
various locations where MPP is implemented. The committee produced a number of thoughtful
recommendations that highlighted areas where the program may become more effective and
efficient, while maintaining the integrity of the program and safeguarding the rights of aliens
who are in removal proceedings. I am grateful to the committee for their efforts.

I find that these detailed recommendations fall into three categories:

   1. Screening, Processing, and Assessing the Amenability of Aliens for MPP;
   2. Facilitating Access to Counsel and Safeguards Throughout the MPP Process; and




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                            Page 62 of 350 PageID 4655
Subject: Review of Migrant Protection Protocols Policy and Implementation - Final Recommendations
Pa e 2

     3. Fear Screenings, Information Sharing, and Measuring Success of the Program. 1

Within 30 days of the date of this memorandum, I direct your Components to deliver one unified
action plan outlining how the Department will enhance the implementation of MPP in
accordance with these recommendations. Within 90 days, I direct the completion of action items
contained within that plan.

Attachment




 1
   For those recommendations that fall outside the purview of the Department and are within the jurisdiction of our
 inter-agency partners, I direct the Acting Deputy Secretary to forward those recommendations to our partners for
 consideration and action.




                                                                                                          AR00444
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 63 of 350 PageID 4656




                                                                      AR00445
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 64 of 350 PageID 4657




                                                                      AR00446
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 65 of 350 PageID 4658




                                                                      AR00447
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                          Page 66 of 350 PageID 4659
444                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

DEPARTMENT OF JUSTICE                              For m atters relatin g to th e Execu tive           th e law s govern in g ad m ission ,
                                                   Office for Im m igration Review —Peggy              in sp ection , rem oval, an d d eten tion of
Immigration and Naturalization Service             Ph ilbin , Gen eral Cou n sel, Execu tive           alien s—elim in atin g or revisin g old
and Executive Office for Immigration               Office for Im m igration Review , 5107              stan d ard s, creatin g n ew on es, an d
Review                                             Leesbu rg Pike, Su ite 2400, Falls Ch u rch ,       reorgan izin g an d revisin g n u m erou s
                                                   VA 22041, telep h on e n u m ber (703) 305–         p rovision s of existin g law . In som e
8 CFR Parts 1, 3, 103, 204, 207, 208,              0470; for asylu m issu es—Mich ael Sh au l,         resp ects, even after th e effective d ate of
209, 211, 212, 213, 214, 216, 217, 221,            Field Man u al Project Office,                      th e n ew p rovision s, existin g legal
223, 232, 233, 234, 235, 236, 237, 238,            Im m igration an d Natu ralization Service,         stan d ard s w ill still be ap p lied w ith
239, 240, 241, 242, 243, 244, 245, 246,            425 I Street NW., ULLB–4th Floor,                   resp ect to legal m atters in itiated p rior to
248, 249, 251, 252, 253, 274a, 286, 287,           Wash in gton , DC 20536, telep h on e               th at d ate. Th e len gth of th is ru lem akin g
299, 316, 318, and 329                             n u m ber (202) 616–7439; for in sp ection s        d ocu m en t alon e—on ly on e of th e
                                                   issu es—Lin d a Loveless, Office of                 regu latory action s n ecessary to
[INS No. 1788–96; AG Order No. 2065–96]                                                                im p lem en t IIRIRA— d em on strates th e
                                                   In sp ection s, Im m igration an d
RIN 1115–AE47                                      Natu ralization Service, 425 I Street NW.,          bread th an d com p lexity of th ese
                                                   Room 4064, Wash in gton , DC 20536,                 ch an ges.
Inspection and Expedited Removal of                telep h on e n u m ber (202) 616–7489; for             Con gress d irected th at th e p rovision s
Aliens; Detention and Removal of                   d eten tion an d rem oval issu es—Len               of Title III–A of IIRIRA take effect on
Aliens; Conduct of Removal                         Loveless, Office of Deten tion an d                 Ap ril 1, 1997, an d also d irected th at th e
Proceedings; Asylum Procedures                     Dep ortation , Im m igration an d                   Attorn ey Gen eral p u blish im p lem en tin g
                                                   Natu ralization Service, 425 I Street NW.,          regu lation s by March 1, 1997. A five-
AGENCY: Im m igration an d Natu ralization         Room 3008, Wash in gton , DC 20536,                 m on th p eriod is an extrem ely sh ort tim e
Service, Ju stice, an d Execu tive Office for      telep h on e n u m ber (202) 616–7799.              fram e for com p letin g th e regu latory
Im m igration Review , Ju stice.                                                                       p rocess for a ru le of th is m agn itu d e,
                                                   SUPPLEMENTARY INFORMATION: Th e Illegal
ACTION: Prop osed ru le.                                                                               given th e tim e n eed ed to d raft th e ru le,
                                                   Im m igration Reform an d Im m igran t
                                                                                                       coord in ate w ith in terested agen cies,
SUMMARY: Th is ru le p rop oses to am en d
                                                   Resp on sibility Act of 1996, Pu blic Law
                                                                                                       com p lete th e regu latory review p rocess
th e regu lation s of th e Im m igration an d      104–208, en acted on Sep tem ber 30,
                                                                                                       by OMB p u rsu an t to Execu tive Ord er
Natu ralization Service (Service) an d th e        1996, am en d s th e Im m igration an d             12866, an d allow tim e for p u blic
Execu tive Office for Im m igration                Nation ality Act (Act) in several w ays.            com m en t. In p articu lar, it m ean s th at
Review (EOIR) govern in g th e con d u ct of       Th is ru le p rop oses to im p lem en t th e        th ere is n ot ad equ ate tim e for th e u su al
both exp ed ited an d regu lar rem oval            IIRIRA by creatin g a n ew , exp ed ited            ru lem akin g m od el of 60 d ays p u blic
p roceed in gs, an d h an d lin g of asylu m       rem oval p rocess for alien s attem p tin g to      n otice.
claim s. Th e regu lation ad d resses oth er       en ter th e Un ited States th rou gh frau d or         Becau se of th ese exigen cies, th e
activities in volvin g th e ap p reh en sion ,     m isrep resen tation or w ith ou t p rop er         Dep artm en t h as lim ited th e p u blic
d eten tion , h earin g of claim s an d            d ocu m en ts w h ile p rovid in g a                com m en t p eriod on th is p rop osed ru le
u ltim ately th e rem oval of in ad m issible      m ech an ism for th e d eterm in ation an d         to 30 d ays. How ever, in ord er to p rovid e
an d d ep ortable alien s. In ad d ition , th is   review of ap p lican ts w h o d em on strate a      a fu ller op p ortu n ity for p u blic in p u t on
ru le in corp orates a n u m ber of ch an ges      cred ible fear of p ersecu tion if retu rn ed       th e n u m erou s issu es ad d ressed in th is
w h ich are a p art of th e Ad m in istration ’s   to th eir ow n cou n try. It con solid ates         ru lem akin g, th e Dep artm en t w ill allow
rein ven tion in itiative, m an d ated in a        exclu sion an d d ep ortation p roceed in gs        a 120-d ay com m en t p eriod on th e
d irective sign ed by th e Presid en t on          in to on e u n ified rem oval p roceed in g. It     In terim Ru le w h en th at is p u blish ed by
March 4, 1995, requ irin g all h ead s of          revises th e asylu m p rocess.                      th e begin n in g of March , p rior to th e
d ep artm en ts an d agen cies to con d u ct a        It p rovid es th at p erson s w h o are          d evelop m en t of a Fin al Ru le.
p age-by-p age review of all regu lation s         p resen t in th e Un ited States w ith ou t            As of th e d ate th is d ocu m en t w as
an d to elim in ate or revise th ose th at are     in sp ection are con sid ered ap p lican ts for     su bm itted for p u blication , Pu blic Law
ou td ated or oth erw ise in n eed of reform .     ad m ission an d in d icates th at su ch            104–208 h ad n ot been p rin ted . Th e
Th is ru le is n ecessary to im p lem en t th e    p erson s w ill n ot be su bject to exp ed ited     con feren ce rep ort accom p an yin g th e
p rovision s of th e Illegal Im m igration         rem oval u n less an d u n til th e INS             Hou se version of th e bill, h ow ever,
Reform an d Im m igran t Resp on sibility          Com m ission er in vokes th e p rovision s in       con tain s th e p rovision s of IIRIRA. S ee
Act of 1996 (IIRIRA) an d th e                     th e statu te an d th is ru le allow in g h er to   H.R. Con f. Rep . No. 863, 104th Con g. 2d
An titerrorism an d Effective Death                exp an d th e u se of th e exp ed ited rem oval     Sess., at 561. Th e Act sh ou ld be p rin ted
Pen alty Act of 1996 (AEDPA).                      p rocess to in clu d e su ch in d ivid u als.       in its en tirety in th e n ext few w eeks.
                                                   Also, variou s section s of IIRIRA h ave
DATES: Written com m en ts m u st be                                                                   Applicants for Admission and Arriving
                                                   revised an d exp an d ed th e grou n d s of
su bm itted on or before Febru ary 3, 1997.        in ad m issibility (form erly exclu sion            Aliens
ADDRESSES: Please su bm it w ritten                grou n d s).                                           Section 302 of IIRIRA am en d s section
com m en ts, in trip licate, to th e Director,        Th e effective d ate of th e ch an ges           235(a) of th e Act to d escribe as
Policy Directives an d In stru ction s             im p lem en tin g th e exp ed ited rem oval         ap p lican ts for ad m ission both alien s
Bran ch , Im m igration an d Natu ralization       p rocess is Ap ril 1, 1997. Th e                    w h o are arrivin g in th e Un ited States
Service, 425 I Street, NW., Room 5307,             An titerrorism an d Effective Death                 (w h eth er or n ot th ey arrive at a
Wash in gton , DC 20536. To en su re               Pen alty Act of 1996, Pu blic Law 104–              d esign ated p ort-of-en try) an d alien s
p rop er h an d lin g, p lease refer INS           132, w as en acted Ap ril 24, 1996. Man y           p resen t in th e Un ited States w h o h ave
n u m ber 1788–96 on you r                         of its m ajor p rovision s w ere su p ersed ed      n ot been ad m itted . Th is section also
corresp on d en ce. Com m en ts are                by IIRIRA before th ey becam e effective.           in clu d es alien s brou gh t to th e Un ited
available for p u blic in sp ection at th e        Several of th e rem ain in g p rovision s w ill     States after h avin g been in terd icted in
above ad d ress by callin g (202) 514–3048         be im p lem en ted w ith th is ru lem akin g.       in tern ation al or Un ited States w aters.
to arran ge for an ap p oin tm en t.                  Taken togeth er, th e p rovision s of            Prior to th e en actm en t of th e IIRIRA,
FOR FURTHER INFORMATION CONTACT:                   IIRIRA h ave m ad e p ervasive ch an ges in         alien s ap p reh en d ed after en terin g th e

                                                                                                                                   AR00448
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                        Page 67 of 350 PageID 4660
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                         445

Un ited States w ith ou t in sp ection w ere       States, in lieu of rem oval p roceed in gs,       1.1(q), i.e., alien s arrivin g at a p ort-of-
su bject to d ep ortation p roceed in gs           an d to d ep art im m ed iately. Perm ittin g     en try, alien s in terd icted at sea, an d
u n d er section 242 of th e Act. By               an alien to w ith d raw h is or h er              alien s p reviou sly p aroled u p on arrival.
con sid erin g su ch alien s to be ap p lican ts   ap p lication for ad m ission allow s th e        Th e Com m ission er m ay, h ow ever, elect
for ad m ission , th is am en d m en t             Service to better m an age its resou rces by      to ap p ly th e exp ed ited rem oval
sign ifican tly ch an ges th e m an n er in        rem ovin g in ad m issible alien s qu ickly at    p roced u res to ad d ition al classes of
w h ich alien s w h o h ave en tered th e          little or n o exp en se to th e Govern m en t,    alien s w ith in th e lim its set by th e
Un ited States w ith ou t in sp ection are         an d m ay be con sid ered in stead of             statu te, if, in th e Com m ission er’s
con sid ered u n d er th e Act.                    exp ed ited or regu lar rem oval w h en th e      d iscretion , su ch action is op eration ally
   In som e in stan ces, IIRIRA                    circu m stan ces of th e in ad m issibility       w arran ted . Th e Com m ission er’s
d istin gu ish es betw een th e broad er term      m ay n ot w arran t a form al rem oval. Th e      d esign ation m ay be localized , in
‘‘ap p lican ts for ad m ission ’’ an d a          op tion to p erm it w ith d raw al is solely at   resp on se to sp ecific n eed s w ith in a
n arrow er grou p , ‘‘arrivin g alien s.’’ For     th e d iscretion of th e Govern m en t, an d is   p articu lar region , or n ation w id e, as
clarity, ‘‘arrivin g alien ’’ h as n ow been       n ot a righ t of th e alien . An im m igration    ap p rop riate. Th e d esign ation w ou ld
sp ecifically d efin ed in 8 CFR p art 1. Th e     ju d ge m ay allow on ly arrivin g alien s to     becom e effective u p on p u blication in
p rop osed d efin ition of ‘‘arrivin g alien ’’    w ith d raw an ap p lication for ad m ission .    th e Federal Register, excep t w h ere
in section 1.1(q) in clu d es alien s arrivin g    Su ch a gran t sh ou ld ord in arily requ ire     circu m stan ces requ ire im m ed iate
at a p ort-of-en try, alien s in terd icted at     th e Service’s con cu rren ce on ce th e issu e   im p lem en tation . Th e Dep artm en t w ou ld
sea, an d alien s p reviou sly p aroled u p on     of in ad m issibility or d ep ortability h as     valu e com m en tary on tw o altern ative
arrival. Th e term ‘‘arrivin g alien ’’ cou ld     been resolved . Du rin g th e p en d en cy of     ap p roach es as w ell: (1) ap p lication of
also in clu d e oth er classes of alien s, e.g.,   an ap p eal from an ord er of rem oval,           exp ed ited rem oval on ly to ‘‘arrivin g
th ose ap p reh en d ed crossin g a lan d          p erm ission to w ith d raw m u st be             alien s’’; an d (2) ap p lication of exp ed ited
bord er betw een p orts-of-en try. Th e            obtain ed from th e im m igration ju d ge or      rem oval to all alien s n ot ad m itted or
Dep artm en t w ou ld valu e com m en tary         th e Board of Im m igration Ap p eals             p aroled (an d n ot d escribed in section
on th e p rop er scop e of th e regu latory        (Board ).                                         235(b)(1)(F) w h o can n ot d em on strate
d efin ition .                                                                                       con tin u ou s p h ysical p resen ce for th e
                                                   Expedited Removal of Certain
                                                                                                     p reviou s tw o years.
Parole of Aliens                                   Applicants for Admission                             Fin ally, com m en tary on th e p rop er
   Th e p rop osed ru le am en d s § 212.5 to         Pu rsu an t to section 302(a) of IIRIRA,       scop e of th e term ‘‘arrivin g alien ’’ w ou ld
p erm it ch ief p atrol agen ts to au th orize     alien s w h o attem p t to en ter th e Un ited    be h elp fu l to th e Dep artm en t in
p arole from Service cu stod y of alien s          States by frau d or m isrep resen tation or       im p lem en tin g section 235(b)(1). Th e
w h o h ave n ot been ad m itted to th e           w h o arrive w ith ou t valid en try              p rop osed regu latory d efin ition in
Un ited States. Th e regu lation s                 d ocu m en ts m ay be rem oved u n d er an        section 1.1(q) in clu d es alien s arrivin g at
p reviou sly allow ed th e d istrict d irector     exp ed ited p rocess w ith ou t fu rth er         a p ort-of-en try, alien s in terd icted at sea,
to exercise th is au th ority for em ergen t       h earin g or review . An excep tion is            an d alien s p reviou sly p aroled u p on
reason s or w h en strictly in th e p u blic       p rovid ed for Cu ban n ation als arrivin g       arrival. Th e term ‘‘arrivin g alien ’’ cou ld
in terest. Becau se m an y of th e alien s         by aircraft at a p ort-of-en try. Alien s w h o   also in clu d e oth er classes of alien s, e.g.,
ap p reh en d ed an d p rocessed u n d er th e     are in ad m issible on oth er grou n d s w ill    th ose ap p reh en d ed crossin g a lan d
ju risd iction of a ch ief p atrol agen t w ill    be referred for p roceed in gs before an          bord er betw een p orts-of-en try.
n ow be con sid ered ap p lican ts for             im m igration ju d ge u n d er th e n ew
                                                   rem oval p rovision s of section 240 of th e      Review of Claim to Law ful Permanent
ad m ission , th is ch an ge is n ecessary to                                                        Resident, Refugee, or Asylee Status in
allow d iscretion ary release of th ose            Act. Alth ou gh n ot requ ired by statu te,
                                                   th e p rop osed regu lation p rovid es for        Expedited Removal
alien s in th e p articu lar circu m stan ces
en u m erated in § 212.5.                          review an d ap p roval of th e exp ed ited           An exp ed ited rem oval ord er en tered
                                                   rem oval ord er by a su p ervisory                again st an alien by an im m igration
Custody of Aliens Applying at Land                 im m igration officer p rior to rem oval of       officer at th e tim e of arrival or by an
Border Ports-of-entry                              th e alien . Th e exp ed ited rem oval ord er     asylu m officer follow in g a
   Th e p rop osed regu lation im p lem en ts      bars reen try for 5 years follow in g th e        d eterm in ation th at th e alien d oes n ot
a n ew p rovision ad d ed to section               rem oval, or 20 years in th e case of a           h ave a cred ible fear of p ersecu tion is n ot
235(b)(2) of th e Act to state th at an            secon d or su bsequ en t rem oval, u n less       su bject to ad m in istrative ap p eal, bu t
ap p lican t for ad m ission arrivin g at a        th e alien obtain s ad van ce p erm ission to     m ay be review ed by an im m igration
lan d bord er p ort-of-en try an d su bject to     reen ter th e Un tied States.                     ju d ge u p on requ est of th e alien . An
a rem oval h earin g u n d er section 240 of          Th e Dep artm en t requ ests p u blic          excep tion is p rovid ed in section
th e Act m ay be requ ired to aw ait th e          com m en t regard in g th e ap p rop riate u se   235(b)(1)(C) of th e act for an alien w h o
h earin g in Can ad a or Mexico. Th is             of th e au th ority con ferred by th e statu te   claim s u n d er oath or u n d er p en alty or
sim p ly ad d s to statu te an d regu lation a     u p on th e Attorn ey Gen eral to exp an d        p erju ry to be a law fu l p erm an en t
lon g-stan d in g p ractice of th e Service. If    th e class of alien s su bject to exp ed ited     resid en t, to h ave been ad m itted as a
th e alien fails to ap p ear for th e h earin g,   rem oval. Section 235(b)(1)(A)(iii) of th e       refu gee u n d er section 207 of th e Act, or
th e im m igration ju d ge m ay ord er th e        Act p erm its th e Attorn ey Gen eral, in h er    to h ave been gran ted asylu m u n d er
alien rem oved in absen tia.                       sole an d u n review able d iscretion , to        section 208 of th e Act.
                                                   ap p ly exp ed ited rem oval to alien s n ot         Before en terin g an exp ed ited rem oval
Withdraw al of Application for                     ad m itted or p aroled (an d n ot d escribed      ord er again st th ese alien s, th e Service
Admission                                          in section 235(b)(1)(H)) w h o can n ot           w ill attem p t to verify th e alien ’s claim
   Section 302(a) of IIRIRA in corp orates         establish con tin u ou s p h ysical p resen ce    to law fu l p erm an en t resid en t, refu gee,
in to section 235(a)(4) of th e Act th e           in th e Un ited States for th e p reviou s tw o   or asylee statu s. If a claim to law fu l
lon gstan d in g p ractice u sed by th e           years.                                            p erm an en t resid en t statu s is verified ,
Service to p erm it ap p lican ts for                 Un d er th e p rop osed ru le, exp ed ited     th e exam in in g officer w ill d eterm in e
ad m ission to volu n tarily w ith d raw th eir    rem oval w ill gen erally ap p ly on ly to        w h eth er th e alien is con sid ered an
ap p lication s for ad m ission to th e Un ited    ‘‘arrivin g alien s,’’ as d efin ed in section    ap p lican t for ad m ission w ith in th e

                                                                                                                                AR00449
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 68 of 350 PageID 4661
446                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

m ean in g of section 101(a)(13) of th e Act.       can be issu ed ), an d (5) files th e requ isite    term in ated . Th e Service m ay th en ad m it
Section 301(a) of IIRIRA am en d ed                 Form I–131, Ap p lication for a Travel              th e alien or p u rsu e an y oth er grou n d s of
section 101(a)(13) of th e Act to p rovid e         Docu m en t, w ith th e ap p rop riate fee.         in ad m issibility or d ep ortability u n d er
th at an alien law fu lly ad m itted for            Up on th e filin g an d ap p roval of su ch         section 212 or 237 of th e Act in a
p erm an en t resid en ce is n ot seekin g          ap p lication , th e alien m ay be read m itted     rem oval p roceed in g p u rsu an t to section
ad m ission u n less th e alien h as                to th e Un ited States as if h e or sh e w ere      240 of th e Act, if ap p rop riate.
aban d on ed or relin qu ish ed th at statu s,      in p ossession of a valid refu gee travel
                                                                                                        Revision of Asylum Procedures
h as been absen t for a con tin u ou s p eriod      d ocu m en t, p rovid ed th e alien is
in excess of 180 d ays, h as en gaged in            oth erw ise ad m issible.                              Th e regu lation p rop oses to am en d 8
illegal activity after h avin g d ep arted th e        If th e im m igration officer d eterm in es      CFR p art 208 to create n ew p roced u res
Un ited States, h as d ep arted w h ile u n d er    th at an alien verified to h ave on ce h eld        for th e con sid eration of asylu m
legal p rocess seekin g rem oval, h as              th e statu s of a law fu l p erm an en t            ap p lication s as m an d ated by section 604
com m itted certain crim in al offen ses, or        resid en t, refu gee, or asylee d oes n ot          of IIRIRA, to m ake certain oth er ch an ges
is attem p tin g to en ter at a tim e or p lace     m erit a w aiver, th e officer w ill n ot issu e    w h ich are n ot m an d ated by IIRIRA, bu t
oth er th an as d esign ated or h as n ot been      an exp ed ited rem oval ord er; rath er, th e       th at w ill sign ifican tly im p rove th e
in sp ected an d ad m itted to th e Un ited         officer m ay p lace th e alien in rem oval          asylu m p rocess, an d to stream lin e th e
States. If th e verified law fu l p erm an en t     p roceed in gs u n d er section 240 of th e         existin g regu lation s in accord an ce w ith
resid en t is d eterm in ed to be an                Act, Section 235(b)(1)(C) of th e Act d oes         th e p rin cip les d iscu ssed elsew h ere in
ap p lican t for ad m ission , th e officer m ay    n ot sp ecify w h at sh ou ld occu r if an          th e su p p lem en tary in form ation .
con sid er ap p rop riate d iscretion ary           alien actu ally establish es to th e                   Of sp ecial sign ifican ce are th e
w aivers, if ap p licable, su ch as a w aiver       satisfaction of an in sp ectin g officer or an      p rovision s in th e regu lation p rovid in g
                                                    im m igration ju d ge th at h e or sh e is a        th e im m igration ju d ges w ith exclu sive
of d ocu m en ts u n d er section 211(b) or
                                                    law fu l p erm an en t resid en t, refu gee, or     ju risd iction over certain categories of
oth er ad m in istrative op tion s.
                                                    asylee. How ever, section 242(e)(4) of th e         asylu m ap p lication s, in clu d in g th ose
   Cu rren t regu lation s d o n ot p rovid e for                                                       filed by alien crew m en , stow aw ays w h o
                                                    am en d ed Act p rovid es th at if an alien
a w aiver of d ocu m en ts or sim ilar                                                                  establish a cred ible fear of p ersecu tion ,
                                                    ap p ealin g an exp ed ited rem oval ord er to
op tion s for refu gees an d asylees w h o                                                              alien s covered by th e Visa Waiver Pilot
                                                    Fed eral d istrict cou rt establish es by a
seek to reen ter th e Un ited States                                                                    Program , alien s su bject to rem oval
                                                    p rep on d eran ce of th e evid en ce th at h e
w ith ou t a refu gee travel d ocu m en t. Th e     or sh e is a law fu l p erm an en t resid en t,     u n d er section 235(c) of th e Act, an d
regu lation s at § 223.2(b)(2) requ ire th at       h as been ad m itted as a refu gee, or h as         alien s w h o h ave ap p lied for or received
an ap p lication for a refu gee travel              been gran ted asylu m , th en th e d istrict        an ‘‘S’’ visa. Un d er th e cu rren t
d ocu m en t be filed before a refu gee or          cou rt m ay ord er th at th e alien be              regu lation s, som e of th ese classes of
asylee d ep arts from th e Un ited States.          p rovid ed a h earin g u n d er section 240 of      alien s (stow aw ays, crew m en , an d alien s
Th e regu lation s also requ ire at § 223.1(b)      th e Act. In ligh t of th ese ju d icial review     rem ovable u n d er section 235(c) of th e
th at a refu gee or asylee m u st h ave a           p rovision s th at w ou ld resu lt in su ch         Act) receive on ly an in terview w ith an
refu gee travel d ocu m en t to retu rn to th e     alien s receivin g a regu lar rem oval              asylu m officer w h ich is review ed
Un ited States after tem p orary travel             p roceed in g u n d er section 240 of th e Act,     d irectly by th e Board . How ever, som e
abroad u n less h e or sh e is in p ossession       th e Dep artm en t con sid ers a referral in to     p roblem s h ave arisen w ith th ese
of a valid ad van ce p arole d ocu m en t.          section 240 rem oval p roceed in gs u p on          p roced u res, m ost sign ifican tly, th e
Th e com bin ation of th ese tw o                   verification of su ch statu s by an                 d ifficu lty of gen eratin g a reliable an d
p rovision s h as resu lted in a few refu gees      im m igration officer or d em on stration of        com p lete record an d th e absen ce of a
an d asylees (w h o h ad n o in ten tion of         su ch statu s to an im m igration ju d ge to        govern m en t-p rovid ed in terp reter in
aban d on in g th eir statu s in th e Un ited       be th e m ost p ractical an d efficien t            asylu m officer in terview s. Th e
States at th e tim e of th eir d ep artu re) n ot   im p lem en tation of th ese p rovision s.          Dep artm en t believes th at givin g th e
bein g able to be read m itted in su ch                In cases w h ere th e alien ’s claim to          im m igration ju d ges exclu sive
statu s. With th e ad ven t of th e exp ed ited     law fu l p erm an en t resid en t, refu gee, or     ju risd iction over su ch d eterm in ation s
rem oval p rovision s, in clu d in g th e           asylee statu s can n ot be verified , th e          w ill certify th ese p roblem s w h ile still
p roced u re for a review by an                     im m igration officer or th e asylu m officer       m ain tain in g th e h igh qu ality an d
im m igration ju d ge of a claim to refu gee        w ill ord er th e alien rem oval u n d er           con sisten cy of th e in terview an d
or asylee statu s, th e n eed for a form al         section 235(b)(1)(A)(i) of th e Act or for          d ecision -m akin g p rocess w h ich th e
p rocess for d ealin g w ith su ch                  a cred ible fear d eterm in ation u n d er          p u blic h as com e to exp ect.
in d ivid u als h as becom e m ore critical.        section 235(b)(1)(B)(iii), an d th en refer            Th e p rop osed ru le’s treatm en t of
Th e Service p rop oses to ad d ress th e           th e alien to an im m igration ju d ge for          section 208(a)(2) of th e Act, w h ich
p roblem by givin g d istrict d irectors th e       review of th e ord er. If th e ju d ge              establish es a n u m ber of n ew grou n d s
d iscretion ary au th ority to accep t an           d eterm in es th at th e alien is n ot a law fu l   barrin g an alien from ap p lyin g for
ap p lication for a refu gee travel                 p erm an en t resid en t, h as n ot been            asylu m , is equ ally im p ortan t. Regard in g
d ocu m en t from an alien w h o is ou tsid e       ad m itted as a refu gee, or h as n ot been         section 208(a)(2)(C) of th e Act, w h ich
th e Un ited States, p rovid ed th at alien :       gran ted asylu m u n d er section 208 of th e       bars an alien from ap p lyin g for asylu m
(1) h eld bon afid e refu gee or asylee             Act, th e ord er issu ed by th e exam in in g       if th e alien h ad a p reviou s asylu m
statu s in th e Un ited States at th e tim e        im m igration officer or asylu m officer            ap p lication d en ied , th e ru le m akes clear
of h is or h er d ep artu re from th e Un ited      w ill be effected an d th e alien w ill be          th at th is p rovision ap p lies on ly to
States, (2) d id n ot in ten d to aban d on         rem oved from th e Un ited States u n d er          asylu m ap p lication s th at h ave been
su ch refu gee or asylee statu s, (3) d id          th at ord er. No fu rth er review is                d en ied by an im m igration ju d ge or th e
n oth in g w h ile ou tsid e th e Un ited States    available. If th e ju d ge d eterm in es th at      Board . Th is en su res th at alien s w h o
w h ich w ou ld be in con sisten t w ith            th e alien w as on ce ad m itted an d / or          received a d en ial of th eir ap p lication
refu gee or asylu m statu s, (4) h as been          cu rren tly is a law fu l p erm an en t             from an asylu m officer becau se th ey
ou tsid e th e Un ited States for less th an        resid en t, refu gee, or asylee, th e ord er        ap p lied for asylu m w h ile in valid statu s
on e year (th e m axim u m p eriod of tim e         w ill be can celed an d p roceed in gs u n d er     or u n d er p roced u res in p lace p rior to
for w h ich th e refu gee travel d ocu m en t       section 235(b)(1) of th e Act w ill be              Jan u ary 1995 receive con sid eration of

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 69 of 350 PageID 4662
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                            447

th eir ap p lication by an im m igration            ap p lican ts from m akin g p aten tly false        su p ervisory asylu m officer m ay d irect
ju d ge. Th e ru le also in terp rets th e term s   claim s.                                            th e asylu m officer to in terview th e
‘‘ch an ged circu m stan ces’’ an d                    It sh ou ld be n oted th at th e p rop osed      ap p lican t fu rth er, or to research cou n try
‘‘extraord in ary circu m stan ces’’ in             ru le d oes n ot d iscu ss § 208.19 d ealin g       con d ition s or oth er m atters relevan t to
section 208(a)(2)(D) of th e Act as th ose          w ith th e ad m ission of th e sp ou se an d        th e d ecision . If th e su p ervisory asylu m
term s ap p ly to th e 1-year bar in section        ch ild ren of an alien gran ted asylu m             officer agrees th at th e alien h as n ot
208(a)(2)(B) of th e Act. Th e regu lation          statu s. Th is top ic w as th e su bject of a       d em on strated a cred ible fear of
p rovid es m in im al gu id an ce on th e           sep arate p rop osed ru le p u blish ed Ju ly 9,    p ersecu tion , th e alien w ill be ord ered
m ean in g of th e term ‘‘ch an ged                 1996. S ee 61 FR 35,984 (1996). Th at               rem oved u n d er th e p rovision s of section
circu m stan ces.’’ Neverth eless, becau se         sep arate ru lem akin g w ill be                    235(b)(1)(B)(iii)(I) of th e Act. If th e alien
of th e n ovelty of th e ‘‘extraord in ary          in corp orated in to th e overall asylu m           requ ests review of th e d eterm in ation
circu m stan ces’’ excep tion to th e 1-year        regu lation s on ce it is fin alized .              th at h e or sh e h as n ot d em on strated a
bar, th e ru le offers a regu latory                Credible Fear Determination and                     cred ible fear of p ersecu tion , th e cred ible
in terp retation of th is term . Wh ile th e        Claims of Asylum or Fear of                         fear d eterm in ation w ill be p rom p tly
Dep artm en t con sid ered h avin g th e            Persecution by Alien Subject to                     review ed by an im m igration ju d ge. Th e
regu lation id en tify sp ecific exam p les of      Expedited Removal                                   alien w ill h ave th e op p ortu n ity to be
extraord in ary circu m stan ces th at w ou ld                                                          h eard an d qu estion ed by th e
ju stify a w aiver of th e on e-year filin g           Un d er th e n ew section 235(b)(1)(A)(ii)       im m igration ju d ge. Th is review w ill be
requ irem en t, th e p rop osed ru le op ts in      of th e Act, an alien su bject to exp ed ited       lim ited solely to th e issu e of cred ible
favor of a p rovision th at gen erally              rem oval w h o in d icates an in ten tion to        fear, an d m ay be con d u cted eith er in
d efin es th e term as even ts or factors           ap p ly for asylu m or w h o exp resses a           p erson or by telep h on ic or vid eo
                                                    fear of p ersecu tion w ill be referred to an       con n ection . By statu te, th e review
beyon d th e alien ’s con trol th at cau sed
                                                    asylu m officer to d eterm in e if th e alien       sh ou ld be con d u cted as soon as p ossible
th e failu re to m eet th e on e-year
                                                    h as a cred ible fear of p ersecu tion .            follow in g th e cred ible fear
d ead lin e. Th e regu lation also p rovid es
                                                    Cred ible fear of p ersecu tion is d efin ed        d eterm in ation , p referably w ith in 24
th at th e alien file th e ap p lication as
                                                    in section 302(a) of IIRIRA to m ean th at          h ou rs, an d n o later th an seven d ays after
soon as p racticable u n d er th ose
                                                    ‘‘th ere is a sign ifican t p ossibility, takin g   th e d ate of d eterm in ation . Th e alien w ill
circu m stan ces. Th u s, an even t or factor
                                                    in to accou n t th e cred ibility of th e           be d etain ed d u rin g th is review p eriod ,
of relatively brief d u ration w ou ld be
                                                    statem en ts m ad e by th e alien in su p p ort     an d if fou n d by th e im m igration ju d ge
in su fficien t to excu se th e filin g of an
                                                    of th e alien ’s claim an d su ch oth er facts      n ot to h ave a cred ible fear, w ill be
ap p lication lon g after th e d ead lin e. In
                                                    as are kn ow n to th e officer, th at th e          p rom p tly rem oved .
ou r view , su ch a gen eral d efin ition           alien cou ld establish eligibility for
p rovid es gu id an ce to d ecision m akers                                                                Section 235(b)(1)(B)(ii) of th e Act
                                                    asylu m u n d er section 208.’’                     p rovid es th at alien s w h o are d eterm in ed
w h ile offerin g m ore flexibility th an a            In terview s to d eterm in e w h eth er an
d efin ition by exam p le w ou ld .                                                                     by an asylu m officer to h ave a cred ible
                                                    alien h as a cred ible fear of p ersecu tion        fear of p ersecu tion w ill be d etain ed for
Neverth eless, w e can im agin e several            w ill be con d u cted by an asylu m officer,
exam p les th at w ou ld likely satisfy th is                                                           fu rth er con sid eration of th e asylu m
                                                    eith er at th e p ort-of-en try or at               claim . Wh ile th e statu te d oes n ot sp ecify
d efin ition : th e ap p lican t su ffered a        d esign ated location s su ch as d eten tion
p h ysical or m en tal d isability th at                                                                h ow or by w h om th is fu rth er
                                                    cen ters. For p u rp oses of th is cred ible        con sid eration sh ou ld be con d u cted , th e
p reven ted a tim ely filin g; th e ap p lican t    fear in terview , an asylu m officer is             p rop osed ru le p rovid es for su ch
w as u n d er a legal d isability (e.g., an         d efin ed in th e Act as an im m igration           con sid eration by an im m igration ju d ge
u n accom p an ied m in or) d u rin g th e on e-    officer w h o h as h ad p rofession al              in rem oval p roceed in gs con d u cted
year p eriod ; or th e ap p lican t received        train in g in cou n try con d ition s, asylu m      p u rsu an t to section 240 of th e Act. In
in effective assistan ce of cou n sel, as th at     law , an d in terview tech n iqu es                 th e rem oval h earin g, th e im m igration
con cep t h as been in terp reted by th e           com p arable to th at p rovid ed to fu ll-tim e     ju d ge w ill m ake a d eterm in ation
Board of Im m igration Ap p eals, resu ltin g       ad ju d icators of ap p lication s u n d er         w h eth er alien is eligible for asylu m
in a failu re to file a tim ely ap p lication .     section 208, an d is su p ervised by an             u n d er section 208 of th e Act or for
Neverth eless, becau se of both th e                officer w h o m eets th e sam e criteria an d       w ith h old in g of rem oval u n d er section
n ovelty an d im p ortan ce of th ese n ew          w h o h as h ad su bstan tial exp erien ce          241(b)(3) of th e Act. Th e rem oval ord er
p rovision s, th e Dep artm en t w elcom es         ad ju d icatin g asylu m ap p lication s. Th is     w ill be su bject to ad m in istrative review
su ggestion s from th e p u blic on h ow best       d efin ition m ay in clu d e officers oth er        by th e Board in accord an ce w ith section
to im p lem en t th em .                            th an fu ll-tim e asylu m officers, p rovid ed      240 of th e Act an d § 3.1(b)(3).
   Th e p rop osed ru lem akin g also offers        th ey h ave u n d ergon e th e n ecessary              Cred ible fear d eterm in ation s are also
gu id an ce on h ow to ap p ly section              train in g an d h ave th e requ isite               m ad e in th e case of stow aw ays.
208(d )(6) of th e Act, w h ich p rovid es          su p ervision , bu t th e Service w ill             Alth ou gh n ot en titled to rem oval
th at an alien w h o kn ow in gly m akes a          gen erally attem p t to assign fu ll-tim e          p roceed in gs u n d er section 240 of th e
frivolou s asylu m ap p lication sh all be          asylu m officers to th e task of                    Act, a stow aw ay w h o h as been
p erm an en tly in eligible for an y ben efits      d eterm in in g cred ible fear. Prior to th e       d eterm in ed by an asylu m officer (or by
u n d er th e Act. At § 208.18, th e ru le first    in terview , th e alien m ay con su lt w ith a      an im m igration ju d ge u p on review of a
p rovid es th at su ch d eterm in ation s m ay      p erson or p erson s of h is or h er ow n           n egative d eterm in ation by an asylu m
on ly be m ad e in a fin al ord er by an            ch oosin g at n o cost to th e Govern m en t,       officer) to h ave a cred ible fear of
im m igration ju d ge or th e Board of              p rovid ed it d oes n ot u n reason ably d elay     p ersecu tion m ay file an asylu m
Im m igration Ap p eals. Th e ru le also            th e p rocess.                                      ap p lication to be ad ju d icated by an
d efin es an ap p lication as ‘‘frivolou s’’ if        Th e asylu m officer w ill m ake a               im m igration ju d ge in asylu m -on ly
it is fabricated or brou gh t for an                d eterm in ation w h eth er th e alien h as a       p roceed in gs. Th ere is n o ap p eal from
im p rop er p u rp ose. In d oin g so, th e         cred ible fear of p ersecu tion . Service           th e d ecision of an im m igration ju d ge as
Dep artm en t is carryin g ou t on e of th e        p roced u res w ill requ ire th at th e             to w h eth er th e stow aw ay h as a cred ible
cen tral p rin cip les of th e asylu m reform       d eterm in ation be review ed by a                  fear of p ersecu tion . A stow aw ay w h o is
p rocess begu n in 1993; to d iscou rage            su p ervisory asylu m officer. Th e                 fou n d n ot to h ave a cred ible fear w ill be

                                                                                                                                   AR00451
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 70 of 350 PageID 4663
448                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

exp ed itiou sly rem oved . How ever, a             con sisten t w ith th is m ost recen tly           regard in g th e sch ed u lin g of rem oval
stow aw ay w h o m eets th e cred ible fear         exp ressed view of th e Con gress. Th u s,         cases, cu stod y an d bon d in rem oval
th resh old an d is allow ed to p resen t an        th e ru le p rovid es th at an alien m ay          p roceed in gs, an d con ten ts of th e Notice
asylu m or w ith h old in g of rem oval             attem p t to obtain relief u n d er section        of Ap p ear form .
ap p lication in a p roceed in g before an          243(h )(3) of th e Act on ly if h e or sh e is
                                                                                                       Subpoenas by Immigration Judges
im m igration ju d ge m ay ap p eal th e            an aggravated felon w h o received an
resu ltin g d ecision to th e BIA.                  aggregate sen ten ce of less th an 5 years            Section 304 of IIRIRA bestow s u p on
                                                    an d can establish th at th e crim e or            im m igration ju d ges th e statu tory
Proposed Changes Not Mandated by                                                                       au th ority to issu e su bp oen as for th e
                                                    crim es of w h ich h e or sh e h as been
IIRIRA                                                                                                 atten d an ce of w itn esses an d
                                                    con victed are n ot p articu larly seriou s.
   Th e ru lem akin g also p rop oses to            Th is w ill requ ire a case-by-case                p resen tation of evid en ce in rem oval
rem ove §§ 208.13(b)(2)(ii) an d                    d eterm in ation w h eth er th e crim e or         p roceed in gs. Th is su bp oen a p ow er h ad
208.16(b)(4) w h ich requ ire th at                 crim es com m itted by th e alien are              p reviou sly been gran ted to im m igration
ad ju d icators give ‘‘d u e con sid eration to     p articu larly seriou s. On ly if th e crim e is   ju d ges by regu lation on ly an d th e
evid en ce th at th e govern m en t of th e         d eterm in ed n ot to be p articu larly            im m igration ju d ges h ad to en list th e
ap p lican t’s cou n try of n ation ality or last   seriou s w ill th e alien be en titled to h ave    d istrict d irector to in voke th e aid of th e
h abitu al resid en ce p ersecu tes its             h is or h er w ith h old in g of d ep ortation     d istrict cou rt for failu re to com p ly w ith
n ation als or resid en ts if th ey leave th e      claim con sid ered . Becau se section              th e su bp oen a. Th e p rop osed ru le
cou n try w ith ou t au th orization or seek        243(h )(3) of th e Act w as elim in ated by        am en d s th e su bp oen a p rovision s to
asylu m in an oth er cou n try.’’ Th e              IIRIRA, th is ru le ap p lies on ly to             p rovid e th at an im m igration ju d ge
regu lation s accom p lish little an d are          ap p lication s for w ith h old in g m ad e in     d irectly in vokes th e aid of th e d istrict
p oten tially m islead in g in th eir cu rren t     p roceed in gs com m en ced p rior to Ap ril       cou rt for an ord er requ irin g th e
form . Th e term ‘‘d u e con sid eration ’’         1, 1997, so lon g as a fin al action on an y       com p lian ce w ith a su bp oen a in stead of
p rovid es little gu id an ce. Moreover, th e       su ch w ith h old in g requ est w as n ot taken    requ irin g th e d istrict d irector to take
qu estion of w h eth er p u n ish m en t for a      p rior to Ap ril 24, 1996, th e d ate of           su ch action .
m igration -related offen se is                     AEDPA’s p assage.
‘‘p ersecu tion ’’ h in ges on an evalu ation                                                          New Removal Proceedings
of th e circu m stan ces of each case. Un d er      Establishment of a Fee for Filing an                  Section 240 of th e Act as am en d ed by
cu rren t law , p rosecu tion for m igration -      Application for Asylum                             section 304(a) of IIRIRA m erges th e
related offen ses d oes n ot ord in arily              Th is ru lem akin g d oes n ot p rop ose to     sep arate p roceed in gs of exclu sion an d
am ou n t to p ersecu tion . Sin ce th e            establish a fee for filin g an ap p lication       d ep ortation in to on e rem oval
p rovision d oes n ot offer an y assistan ce        for asylu m or to exp an d th e situ ation s       p roceed in g. In th is sin gle p roceed in g,
in ad ju d icatin g claim s in volvin g             u n d er w h ich fees m ay be ch arged for         th e im m igration ju d ge w ill d eterm in e
p rosecu tion for u n au th orized d ep artu re,    asylu m -based ap p lication s for w ork           w h eth er an alien is in ad m issible u n d er
w e p rop ose rem ovin g it from th e               au th orization , d esp ite th e statu tory        section 212 of th e Act or d ep ortable
regu lation s.                                      p erm ission to d o so con tain ed in section      u n d er section 237 (form erly section 241)
   Th e ru le p rovid es a sp ecial regu lation     208(d )(3) of th e Act. Sh ou ld th e              of th e Act. In ligh t of th ese statu tory
to govern th e ap p lication of section             Dep artm en t d ecid e to d o so at a later        ch an ges, in d ivid u als in rem oval
243(h )(3) of th e Act, a p rovision ad d ed        d ate, th at action w ou ld be p art of a          p roceed in gs are referred to in th e
by section 413(f) of AEDPA th at w as               sep arate ru lem akin g.                           p rop osed ru le as d eterm in ed to be
elim in ated by section 307 of IIRIRA.                                                                 rem ovable or ord ered rem oved after
Th at section p rovid ed th at,                     Employment Authorization for Asylum                bein g fou n d to be eith er in ad m issible or
n otw ith stan d in g an y oth er p rovision of     Applicants                                         d ep ortable (bu t n o lon ger w ill be
law , th e Attorn ey Gen eral cou ld gran t            Th e p rop osed regu lation s w ill             referred to as exclu d able or exclu d ed ).
an alien w ith h old in g of d ep ortation if       con tin u e to allow asylu m ap p lican ts to      Rem oval p roceed in gs w ill in n early all
sh e d eterm in ed th at it w as n ecessary to      ap p ly for an em p loym en t au th orization      resp ects resem ble p resen t d ay
d o so to en su re com p lian ce w ith th e         d ocu m en t (EAD) on ce th e asylu m              d ep ortation or exclu sion p roceed in gs,
1967 Protocol Relatin g to th e Statu s of          ap p lication h as been p en d in g for 150        w ith som e m in or d ifferen ces ou tlin ed
Refu gees. In n ew section 241(b)(3)(B) of          d ays, w h ich is 30 d ays before th e n ew        below an d im p lem en ted by th is
th e Act, th e on ly ch an ge Con gress m ad e      statu torily-m an d ated tim e for gran tin g      p rop osed ru le.
to th e existin g bars to w ith h old in g of       su ch au th orization con tain ed in section          Alth ou gh n ot as a resu lt of an y
d ep ortation w as to requ ire, in th e case        208(d )(2) of th e Act.                            p rovision of IIRIRA, th e Dep artm en t is
of an alien con victed of an aggravated                                                                solicitin g p u blic com m en ts on w h eth er
felon y (or felon ies), th at th e alien            Rules of Procedure for Executive Office
                                                                                                       th ese regu lation s sh ou ld in clu d e a
receive an aggregate term of                        for Immigration Review
                                                                                                       p rovision for ap p oin tm en t of a gu ard ian
im p rison m en t of at least 5 years before           Im p lem en tation of IIRIRA w ill im p act     ad litem in a case w h ere a m in or or
su ch crim e or crim es are au tom atically         th e ru les of p roced u re for p roceed in gs     in com p eten t resp on d en t in rem oval
con sid ered to be p articu larly seriou s.         before th e Execu tive Office for                  p roceed in gs is oth erw ise u n rep resen ted .
We u n d erstan d th is ch an ge to reflect         Im m igration Review . Th ese p rop osed
Con gress’ con clu sion th at th e bars to          ru les am en d th e regu lation s to exp an d      Applicability of New Removal
w ith h old in g of d ep ortation or rem oval       th e scop e of th e ru les of p roced u re to      Provisions
are con sisten t w ith th e Un ited States’         in clu d e n ew rem oval p roceed in gs in            Th e IIRIRA p rovid es th at th e n ew ly
obligation s u n d er th e 1967 Protocol            p rovision s regard in g m otion s to reop en      created rem oval p roced u res an d th e n ew
Relatin g to th e Statu s of Refu gees,             an d recon sid er, ju risd iction an d             am en d ed form s of relief available in
excep t p oten tially in th e case of an            com m en cem en t of p roceed in gs,               rem oval p roceed in gs w h ich ap p ear in
aggravated felon w h o receives less th an          stip u lated requ ests for ord ers, in             title III–A of IIRIRA w ill ap p ly to all
a 5-year aggregate sen ten ce. Th e                 absen tia h earin gs, p u blic access to           in d ivid u als p laced in to rem oval
Dep artm en t p rop oses a regu latory              h earin gs, an d ad d ition al ch arges. Th e      p roceed in gs on or after Ap ril 1, 1997,
in terp retation of section 243(h )(3) th at is     p rop osed ru les also ad d p rovision s           an d w ill n ot affect in d ivid u als w h o

                                                                                                                                  AR00452
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                             Page 71 of 350 PageID 4664
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                              449

w ere in d ep ortation or exclu sion                 240(c) of th e Act as revised by section             Administrative Motions To Reopen and
p roceed in gs p rior to Ap ril 1, 1997. S ee        304(a) of IIRIRA. In rem oval                        Reconsider Removal Proceedings
Section 309(a) of IIRIRA. For th is                  p roceed in gs in w h ich an alien is
reason , th e p rop osed ru le p reserves th e       ch arged w ith d ep ortability, th e Service            Section 304(a) of IIRIRA ad d ed a
form er regu lation s relatin g to                   m u st establish d ep ortability by clear            n u m ber of m otion s p roced u res to th e
d ep ortation an d exclu sion p roceed in gs         an d con vin cin g evid en ce. Th is rep laces       Act regard in g th e reop en in g or
for th ose in d ivid u als w h o w ill con tin u e   th e clear, con vin cin g, an d u n equ ivocal       recon sid eration of a fin al ord er of
on in su ch p roceed in gs after Ap ril 1,           stan d ard set forth in W ood by v. IN S , 385       rem oval. For th e m ost p art, th ese n ew
1997. Th e p rop osed ru le p reserves su ch         U.S. 276 (1966). An ap p lican t for                 statu tory p rovision s en com p ass th e n ew
p rovision s by retain in g cu rren t                ad m ission to th e Un ited States m u st            p roced u res im p lem en ted by EOIR’s n ew
regu latory p rovision s p reviou sly                establish th at h e or sh e is clearly an d          m otion s an d ap p eals regu lation , w h ich
con tain ed in 8 CFR p arts 236, 242, an d           beyon d a d ou bt en titled to be ad m itted         took effect on Ju ly 1, 1996. How ever, th e
244 w ith in sep arate n ew su bp arts of            an d is n ot in ad m issible. In th e case of        statu te d oes p lace th e tim e an d n u m ber
p art 240. In ad d ition , section s form erly       an alien p resen t in th e Un ited States            restriction s for m otion s sp ecifically on
con tain ed in p arts 237 an d 243 h ave             w ith ou t bein g ad m itted or p aroled , on ce     th e alien . Th e p rop osed ru le
been retain ed in n ew su bp arts of p art           th e Service establish es alien age, th e            im p lem en ts th is ch an ge by ad d in g a
241. A m ore d etailed d escrip tion of th e         alien m u st p rove th at h e or sh e is clearly     p rovision to in d icate th at in rem oval
en tire reorgan ization of effected p arts of        an d beyon d a d ou bt en titled to be               p roceed in gs, th e restriction s on ly ap p ly
title 8 is con tain ed later in th is                ad m itted an d is n ot in ad m issible, u n less    to th e alien an d n ot to th e Service. In
su p p lem en tary in form ation .                   th e alien p roves by clear an d con vin cin g       ad d ition , u n like th e p re-IIRIRA
                                                     evid en ce th at h e or sh e is law fu lly           regu lation s excep tin g m otion s to reop en
The Notice to Appear (Form I–862)                                                                         exclu sion or d ep ortation ord ers
                                                     p resen t p u rsu an t to a p rior ad m ission .
   Th e ch argin g d ocu m en t w h ich                                                                   ren d ered in absen tia from both th e 90-
com m en ces rem oval p roceed in gs u n d er        Cancellation of Removal                              d ay an d 1-m otion restriction s, th e
section 240 of th e Act w ill be referred               Th e p rop osed ru le p rovid es for th e         statu te on ly excep ts m otion s to reop en
to as th e Notice to Ap p ear, Form I–862,           ap p lication by qu alified in d ivid u als in       rem oval ord ers ren d ered in absen tia
rep lacin g th e Ord er to Sh ow Cau se,             rem oval p roceed in gs for th e n ew form of        from th e 90-d ay tim e p eriod an d n ot th e
Form I–221, th at w as u sed to com m en ce          relief created by section 304(a) of                  n u m erical restriction . Th e p rop osed ru le
d ep ortation p roceed in gs an d th e Notice        IIRIRA: can cellation of rem oval.                   im p lem en ts th is ch an ge as w ell.
to Detain ed Ap p lican t of Hearin g Before         Can cellation of rem oval com es in tw o
an Im m igration Ju d ge, Form I–110. Th e           form s. Th e first form , available to law fu l      Proceedings To Review Asylum Claims
Notice to Ap p ear m u st con tain n early           p erm an en t resid en ts, is sim ilar to relief     by Certain Aliens Not Eligible for
all of th e in form ation th at w as requ ired       u n d er section 212(c) of th e p re-IIRIRA          Section 240 Proceedings
to be in th e Form I–221. Th e regu lation s         Act, excep t th at on ly 5 years of th e                Th is ru le establish ed a n ew Notice of
reflect th e fact th at section 304 of IIRIRA        requ ired 7 years of resid en ce to                  Referral to Im m igration Ju d ge, Form I–
d id n ot retain th e requ irem en t th at th e      statu torily qu alify for th is form of              863, to be u sed to in stitu te lim ited
Notice to Ap p ear be p rovid ed in                  can cellation of rem oval n eed be fu lfilled        p roceed in gs before an im m igration
Sp an ish ; th at th e m an d atory p eriod          as a law fu l p erm an en t resid en t. Th is        ju d ge. Th is referral form w ill be u sed by
betw een service of a Notice to Ap p ear             m ean s th at u p to 2 years of th e 7 years         im m igration officers to in itiate review
an d th e d ate of an in d ivid u al’s first         can be satisfied w ith tem p orary                   by an im m igration ju d ge for asylu m or
h earin g is 10 d ays rath er th an th e 14          resid en ce. Th is p rovision cod ifies th e         w ith h old in g of rem oval claim s by Visa
d ays requ ired for th e Ord er to Sh ow             in terp retation by a n u m ber of Fed eral          Waiver Pilot Program (VWPP) refu sal
Cau se; th at service of th e Notice to              circu it cou rts th at a p eriod of tem p orary      cases an d VWPP statu s violators, crew
Ap p ear by ord in ary m ail, rath er th an          resid en ce cou n ts tow ard th e 7-year             m em bers, alien s ord ered rem oved
certified m ail, is su fficien t if th ere is        resid en cy requ irem en t for relief u n d er       p u rsu an t to section 235(c) of th e Act,
p roof of attem p ted d elivery to th e last         section 212(c) of th e p re-IIRIRA Act.              alien s p resen t p u rsu an t to section
ad d ress p rovid ed by th e alien an d n oted          Th e secon d form of can cellation of
                                                                                                          101(a)(15)(S) of th e Act, an d alien
in th e Cen tral Ad d ress File; an d th at n o      rem oval resem bles su sp en sion of
                                                                                                          stow aw ays fou n d to h ave a cred ible fear
w ritten n otice n eed be p rovid ed if th e         d ep ortation u n d er section 244 of th e
                                                                                                          of p ersecu tion . Th is p roceed in g is
alien h as failed to p rovid e h is or h er          p re-IIRIRA Act, excep t th at an ap p lican t
                                                                                                          lim ited solely to th e asylu m or
ad d ress as requ ired u n d er th e am en d ed      for th e secon d form of can cellation of
                                                                                                          w ith h old in g claim an d n o oth er form s of
Act.                                                 rem oval m u st d em on strate con tin u ou s
                                                                                                          relief m ay be p resen ted by th e alien or
   In ad d ition , th e p rop osed ru le             p h ysical p resen ce for 10 years in stead of
                                                                                                          con sid ered by th e im m igration ju d ge.
im p lem en ts th e lan gu age of th e               7 years, an d m u st sh ow ‘‘excep tion al
am en d ed Act in d icatin g th at th e tim e        an d extrem ely u n u su al h ard sh ip ’’              Asylu m officers w ill also u se th e
an d p lace of th e h earin g m u st be on th e      in stead of ‘‘extrem e h ard sh ip .’’ Fu rth er,    Notice of Referral for exp ed ited rem oval
Notice to Ap p ear. Th e Dep artm en t w ill         u n like su sp en sion of d ep ortation , th is      cases w h ere th e alien seeks review of a
attem p t to im p lem en t th is requ irem en t      form of can cellation of rem oval is n ot            ‘‘n o cred ible fear’’ fin d in g by th e asylu m
as fu lly as p ossible by Ap ril 1, 1997.            available for alien s w h o can on ly sh ow          officer in section 235(b)(1) p roceed in gs
Lan gu age h as been u sed in th is p art of         h ard sh ip to th em selves. Th e p rop osed         or for stow aw ays, p rior to th e execu tion
th e p rop osed ru le recogn izin g th at su ch      ru le also im p lem en ts th e availability of       of th e exp ed ited rem oval ord er or
au tom ated sch ed u lin g w ill n ot be             th is secon d form of can cellation of               rem oval of th e stow aw ay.
p ossible in every situ ation (e.g., p ow er         rem oval to a battered sp ou se or ch ild               In ad d ition , th e Notice of Referral w ill
ou tages, com p u ter crash es/ d ow n tim e.)       w h o can d em on strate 3 years of                  be u sed to in stitu te an im m igration
                                                     con tin u ou s p h ysical p resen ce in th e         ju d ge review of exp ed ited rem oval
Burdens of Proof in Removal                          Un ited States an d w h o sh ow s th at              ord ers issu ed again st alien s claim in g to
Proceedings                                          rem oval w ou ld resu lt in ‘‘extrem e               be law fu l p erm an en t resid en ts, refu gees
  Th e p rop osed regu lation restates th e          h ard sh ip ’’ to th e battered sp ou se, h is or    or asylees. In su ch cases, th e
bu rd en of p roof lan gu age in section             h er ch ild , or th e battered ch ild ’s p aren t.   im m igration ju d ge w ill review th e

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                          Page 72 of 350 PageID 4665
450                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

exp ed ited rem oval ord er, w h ich m ay          ord er of rem oval, Su bp art B—Fam ily             Apprehension, Custody, and Detention
eith er be affirm ed or can celed .                Un ity Program ; 8 CFR p art 238—                   of Aliens
   Existin g regu lation s regard in g             Exp ed itiou s rem oval of aggravated                  Th is ru le in corp orates th e ch an ges
d ep ortable VWPP alien s w h o claim              felon s; 8 CFR p art 239—In itiation of             m ad e to section 242 of th e Act by
asylu m state th at th e alien w ill be            rem oval p roceed in gs; 8 CFR p art 240,           section 440(c) of th e An titerrorism an d
referred for a d eterm in ation of                 Su bp art A—Rem oval p roceed in gs,                Effective Death Pen alty Act of 1996
d ep ortability. Th e cu rren t regu lation s      Su bp art B—Can cellation of rem oval,              (AEDPA), Pu blic Law 104–132 as w ell
for VWPP ap p lican ts arrivin g at p orts-        Su bp art C—Volu n tary d ep artu re,               as section 303(a) of th e IIRIRA. By
of-en try are vagu e, statin g on ly th at th e    Su bp art D—Exclu sion of alien s (for              en actm en t of AEDPA, Con gress altered
alien w ill be referred to an im m igration        p roceed in gs com m en ced p rior to Ap ril        th e p rovision s created by section 504 of
ju d ge for fu rth er in qu iry. Th e p rop osed   1, 1997); Su bp art E—Proceed in gs to              th e Im m igration Act of 1990 (IMMACT),
ch an ge w ill clarify th at VWPP                  d eterm in e d ep ortability of alien s in th e     Pu blic Law 101–649, en acted Novem ber
ap p lican ts an d statu s violators are to be     Un ited States: Hearin g an d Ap p eal              29, 1990, relatin g to release of law fu lly
p rovid ed a h earin g an d ap p eal on th e
                                                   (com m en ced p rior to Ap ril 1, 1997);            ad m itted alien s w h o h ad been con victed
asylu m an d w ith h old in g claim on ly.
   Existin g regu lation s p rovid e th at a       Su bp art F—Su sp en sion of d ep ortation          of aggravated felon ies. Th e AEDPA
crew m an , stow aw ay, or alien                   an d volu n tary d ep artu re (for                  d irected th e Attorn ey Gen eral to d etain
tem p orarily exclu d ed u n d er section          p roceed in gs com m en ced p rior to Ap ril        alien s con victed of aggravated felon ies
235(c) of th e Act file an ap p lication for       1, 1997); Su bp art G—Civil p en alties for         w ith ou t bon d an d exten d ed th e
asylu m w ith th e d istrict d irector an d        failu re to d ep art; 8 CFR p art 241,              m an d atory d eten tion p rovision s to
th at th e d istrict d irector forw ard it to an   Su bp art A—Post-h earin g d eten tion an d         alien s d ep ortable for con viction of
asylu m officer for ad ju d ication . Th e         rem oval, Su bp art B—Dep ortation of               certain oth er felon ies. Th e IIRIRA
Attorn ey Gen eral h as d eterm in ed th at        Exclu d ed Alien s (for h earin gs                  exten d ed th e m an d atory d eten tion
th ese claim s sh ou ld be ad ju d icated by       com m en ced p rior to Ap ril 1, 1997),             p rovision s to ad d ition al classes of
an im m igration ju d ge. Th is                    Su bp art C—Dep ortation of Alien s in th e         in ad m issible an d d ep ortable alien s bu t
d eterm in ation to ad ju d icate th e asylu m     Un ited States (for h earin gs com m en ced         p rovid ed an excep tion for certain
claim s for th ese classes of alien s in a         p rior to Ap ril 1, 1997); 8 CFR p arts 237,        w itn esses. It also allow ed th e Attorn ey
p roceed in g before an im m igration ju d ge      242, an d 243 h ave been rem oved an d              Gen eral th e op tion of a tran sition p eriod
is in resp on se to recen t case law h old in g    reserved ; 8 CFR p art 244 w ill n ow               for im p lem en tation of m an d atory
th at stow aw ay asylu m ap p lican ts m u st      con tain regu lation s p ertain in g to th e        d eten tion . Th e INS exercised th is
be afford ed th e sam e asylu m p roced u res      Tem p orary Protected Statu s p rogram .            d iscretion an d im p lem en ted th e
d eem ed n ecessary for oth er alien s. In                                                             tran sition p eriod cu stod y ru les on
                                                      Section s of th e old regu lation s w h ich      October 9, 1996, effective for 1 year. Th e
Marin cas v. Lewis, 92 F.3d 195, 200–201           are still ap p licable to p roceed in gs
(3rd Cir. 1996), th e cou rt h eld th at th e                                                          Act is very clear as to w h ich alien s m ay
                                                   com m en ced p rior to Ap ril 1, 1997, h ave        be released . Th is ru le p rop oses to
p lain lan gu age of th e Refu gee Act left n o    been retain ed , bu t m oved to n ew p arts
room to con stru e th e statu e to p erm it                                                            am en d th e Service’s regu lation s to
                                                   of th e regu lation s as sep arate su bp arts       com p ly w ith th e am en d ed Act by
d ifferin g asylu m p roced u res for
                                                   accord in g to top ic. For exam p le, th e          rem ovin g th e release from cu stod y
stow aw ays. Alth ou gh th e Dep artm en t
                                                   regu lation s relatin g to th e con d u ct of       p rovision s for alien s w h o m ay n o lon ger
w ith th at h old in g, th e Attorn ey Gen eral
h as fou n d th at p rovid in g a p roceed in g    p roceed in gs, form erly con tain ed in 8          be released . Th ese am en d m en ts to th e
before an im m igration ju d ge to h ear th e      CFR p art 242, h ave been m oved to 8               regu lation s w ill take effect u p on th e
asylu m claim w ill ad d ress th e con cern s      CFR p art 240, w h ich con tain s                   term in ation of th e tran sition p eriod . As
raised in Miran cas, w h ile rem ain in g          regu lation s for th e con d u ct of rem oval       for n on -crim in al alien s, th e ru le reflects
con sisten t w ith th e statu tory d irectives     p roceed in gs.                                     th e n ew $1,500 m in im u m bon d am ou n t
to lim it d u e p rocess for th ese classes of        Most section s of th e regu lation s h ave       sp ecified by IIRIRA. Oth erw ise, th e
alien s. As requ ired by IIRIRA, a                 n ot been retain ed in th is m an n er. Th ey       p rop osed ru le essen tially p reserves th e
stow aw ay w ill receive a cred ible fear          h ave been totally revised , in con form ity        statu s qu o for bon d d eterm in ation by
d eterm in ation by an asylu m officer p rior      w ith th e n ew statu te. In som e in stan ces,     th e Service an d bon d red eterm in ation
to th e referral to an im m igration ju d ge.      th ese regu lation s d istin gu ish betw een        p roceed in gs before im m igration ju d ges.
                                                   situ ation s in volvin g alien s                    Desp ite bein g ap p lican ts for ad m ission ,
Reorganization of Certain Regulatory                                                                   alien s w h o are p resen t w ith ou t h avin g
Sections                                           ‘‘gran d fath ered ’’ u n d er form er statu tory
                                                   au th ority an d th ose en com p assed by th e      been ad m itted (form erly referred to as
   Th e IIRIRA su bstan tially revised             p rovision s of IIRIRA. For exam p le, n ew         alien s en terin g w ith ou t in sp ection ) w ill
section s of th e Act relatin g to th e arrest     § 252.2(b) con tain s sep arate p rovision s        be eligible for bon d an d bon d
of alien s su sp ected of in ad m issibility to    for alien crew m en w h o arrived p rior to         red eterm in ation .
or u n law fu l p resen ce in th e Un ited         Ap ril 1, 1997, an d th ose w h o arrive after
States, d eten tion of su ch alien s p rior to                                                         Expedited Deportation Procedures for
                                                   th at d ate.                                        Aliens Convicted of Aggravated
an d d u rin g rem oval p roceed in gs, th e
con d u ct of rem oval p roceed in gs, an d           Becau se th e Service an d EOIR h ave            Felonies Who Are Not Law ful
an cillary issu es su ch as volu n tary            con cern s abou t th e seriou s restru ctu rin g    Permanent Residents
d ep artu re an d available form s of relief.      of th ese regu lation s, th e p u blic is              Th is ru le in corp orates th e ch an ges
Th e Service an d EOIR h ave join tly              in vited to com m en t on th e ap p roach           m ad e to section 242A(b) of th e Act by
u n d ertaken a com p lete revision of th e        taken by th is ru lem akin g. In p articu lar,      section 442 of th e AEDPA an d section
affected p arts of title 8, to brin g th e         th e Service w ish es to solicit com m en ts        304(c) of th e IIRIRA. By en actm en t of
relevan t regu latory p arts in to align m en t    con cern in g an y p ossible u n in ten d ed        th e AEDPA, Con gress m ad e several
w ith th e n ew section s of th e Act. Th e        con sequ en ces of th e restru ctu rin g, su ch     ch an ges to th e exp ed ited ad m in istrative
n ew ly revised section s are organ ized in        as th e in clu sion of n ew section s w h ich       d ep ortation p roced u re au th orized u n d er
th e follow in g m an n er: 8 CFR p art 236,       en com p ass alien s en titled to                   section 130004 of th e Violen t Crim e
Su bp art A—Deten tion of alien s p rior to        con sid eration u n d er ‘‘old ’’ p rovision s.     Con trol an d Law En forcem en t Act of


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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 73 of 350 PageID 4666
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                            451

1994, Pu blic Law 103–322. Som e of                  an d d u ration of volu n tary d ep artu re.       release an d su p ervision of alien s w h o
th ese ch an ges w ere m od ified by th e            Un d er th e n ew law , volu n tary d ep artu re   can n ot be rem oved d u rin g th e p eriod . A
IIRIRA an d on e w as elim in ated . Th is           is clearly m ean t to be gran ted to alien s       d istrict d irector m ay issu e a w arran t of
ru le p rop oses to am en d th e Service’s           illegally in th e Un ited States w h o are         rem oval based on a fin al ad m in istrative
regu lation s to com p ly w ith th e am en d ed      able an d w illin g to d ep art in a relatively    ord er of rem oval. Th e w arran t of
Act as follow s: alien s w h o h ave law fu l        sh ort p eriod of tim e. It w ill n o lon ger be   rem oval w ill au th orize th e Service to
p erm an en t resid en ce on a con d ition al        available to th ose w h o are seekin g to          take an alien in th e Un ited States in to
basis u n d er section 216 of th e Act are           sign ifican tly exten d th eir tim e in th e       cu stod y d u rin g th e rem oval p eriod . Th e
su bject to exp ed ited ad m in istrative            Un ited States for oth er reason s. If fact,       Service is requ ired to assu m e cu stod y of
d ep ortation p roced u res an d h ave been          th e tim e p eriod s w h ich w ill be allow ed     an y alien w ith in th e Un ited States on ce
in clu d ed in th e regu lation . Sin ce section     for volu n tary d ep artu re are su ch th at       th e 90-d ay rem oval p eriod begin s, as
238(b)(5) of th e Act states th at an alien          th ey m eet or exceed th e n orm al                d efin ed in section 241 of th e Act, an d
su bject to th ese p roceed in gs is in eligible     p rocessin g tim e for ap p lication s for         d etain th e alien u n til rem oval or
for an y relief from rem oval, all                   em p loym en t au th orization . In ligh t of      exp iration of th e rem oval p eriod . At th e
referen ces to p rim a facie eligibility for         th ese ch an ges, th e Dep artm en t is            exp iration of th e rem oval p eriod , th e
relief an d to relief from d ep ortation             elim in atin g th e p rovision s cu rren tly       Service h as th e d iscretion to release an
h ave been rem oved . Th is revision also            con tain ed in 8 CFR p arts 242 an d 274a          alien . If th e alien sh ow s to th e
elim in ates referen ces to release from             w h ich p erm it th e gran tin g of w ork          satisfaction of th e d istrict d irector th at
cu stod y, sin ce alien s su bject to th ese         au th orization to alien s w h o h ave been        th e alien is n ot a th reat to th e
p roceed in gs are n ow statu torily                 given volu n tary d ep artu re.                    com m u n ity an d is likely to rep ort for
in eligible for release as a resu lt of                 New section 240B of th e Act an d th e          rem oval, th e d istrict d irector m ay
ch an ges to oth er section s of th e Act.           corresp on d in g regu lation s rep resen t a      release th e alien on an ord er of
                                                     sign ifican t d ep artu re from th e               su p ervision . As a con d ition or release,
Voluntary Departure                                  p red ecessor p rovision s for volu n tary         an au th orized officer m ay requ ire th e
   Th e p rop osed ru le ou tlin es h ow             d ep artu re. Pu blic com m en ts regard in g      p ostin g of a bon d , im p ose restriction s
volu n tary d ep artu re w ill be h an d led at      th e Dep artm en t’s ap p roach to                 on con d u ct, an d requ ire p eriod ic
variou s stages of p roceed in gs. Prior to          im p lem en tation of th is p rovision w ill be    rep ortin g to a d esign ated officer. Th e
th e in itiation of p roceed in gs, th e Service     p articu larly w elcom e.                          d istrict d irector m ay gran t em p loym en t
h as sole ju risd iction to gran t volu n tary                                                          au th orization as sp ecified in th e Act.
d ep artu re for a p eriod n ot to exceed 120        Reinstatement of Removal Orders
                                                                                                        Th e d istrict d irector retain s th e
d ays. Th e Service m ay im p ose an y               Against Aliens Illegally Reentering
                                                                                                        au th ority to gran t h u m an itarian stays of
con d ition s it d eem s n ecessary to en su re         Section 241(b)(5) of th e Act requ ires         rem oval.
th e alien ’s tim ely d ep artu re from th e         th e Attorn ey Gen eral to rein state th e            Th is ru le restates th e p rin cip le,
Un tied States, in clu d in g th e p ostin g of      rem oval ord er for an alien w h o illegally       p reviou sly fou n d at § 243.5, th at an
a bon d , con tin u ed d eten tion p en d in g       reen ters th e Un ited States after h avin g       alien w h o d ep arts th e Un ited States
d ep artu re an d rem oval u n d er                  been rem oved or after h avin g d ep arted         w h ile a fin al ord er is ou tstan d in g h as
safegu ard s. After p roceed in gs h ave been        volu n tarily u n d er a rem oval ord er.          execu ted th e ord er.
com m en ced an d at an y tim e u p to 30            Rem oval w ou ld be accom p lish ed u n d er
d ays su bsequ en t to th e m aster calen d ar,      th e p rop osed ru le w ith ou t referral to an    Detention and Removal of Stow aw ays
th e im m igration ju d ge m ay gran t               Im m igration Cou rt. Alth ou gh th e Act             Th e arrival of stow aw ays in th e
volu n tary d ep artu re for a p eriod n ot to       p reviou sly con tain ed a p rovision for          Un ited States, p articu larly aboard cargo
exceed 120 d ays. In each in stan ce, th e           rein statem en t of a fin al ord er of             vessels, h as lon g been a p roblem for
alien w ill be requ ired to p resen t to th e        d ep ortation , th e accom p an yin g              both th e tran sp ortation com p an ies an d
Service travel d ocu m en ts su fficien t to         regu lation requ ired th e issu an ce of an        th e Service. Section 308(e) of IIRIRA h as
assu re law fu l en try in to th e cou n try to      ord er to sh ow cau se an d a h earin g            stricken form er section 273(d ) of th e
w h ich th e alien is d ep artin g, u n less         before an im m igration ju d ge. Th is             Act, w h ich govern ed stow aw ays an d
su ch d ocu m en t is n ot n ecessary for th e       resu lted in lim ited u se of th e p rovision .    section 305 of IIRIRA h as clearly
alien ’s retu rn .                                   Th e p rop osed ru le p rovid es a p roced u re    d efin ed th e resp on sibilities for
   An alien m ay be gran ted volu n tary             for a d istrict d irector to rein state a fin al   stow aw ays an d costs of d eten tion in th e
d ep artu re at th e con clu sion of                 ord er u p on establish in g id en tity an d       n ew section 241 of th e Act. All
p roceed in gs if th e im m igration ju d ge         u n law fu l reen try of a p reviou sly            stow aw ays are d eem ed to be
fin d s th at th e alien m eets th e con d ition s   d ep orted or rem oved alien fou n d in th e       in ad m issible u n d er th e Act an d are n ot
of section 240B(b) of th e Act. Th e ju d ge         Un ited States. On ce id en tity is affirm ed ,    en titled to a h earin g on ad m issibility.
m ay im p ose su ch con d ition s as h e or          th e origin al ord er w ill be execu ted .         Th ose w ith a cred ible fear of
sh e d eem s n ecessary to en su re th e                                                                p ersecu tion m ay seek asylu m in
alien ’s tim ely d ep artu re from th e Un ited      Detention and Removal of Aliens                    accord an ce w ith 8 CFR p art 208 in
States, bu t in all cases, th e alien sh all be      Ordered Removed                                    p roceed in gs before an im m igration
requ ired , w ith in 5 d ays of th e ord er, to         Th is ru le in corp orates th e ch an ges       ju d ge.
p ost a volu n tary d ep artu re bon d of n o        m ad e to section 241 of th e Act by                  Un d er th e p rovision s of section 241 of
less th an $500. In ord er for th e bon d to         section 305(a) of IIRIRA. Section 241 of           th e Act, th e carrier (w h ich in clu d es th e
be can celed , th e alien m u st p rovid e           th e Act n ow relates to th e p eriod for          ow n er, agen t, m aster, com m an d in g
p roof of d ep artu re to th e d istrict             rem oval of alien s, p ost-ord er d eten tion      officer, p erson in ch arge, p u rser, or
d irector. If th e alien fails to d ep art, or       an d rem oval of alien s, rein statem en t of      con sign ee) is resp on sible for d etain in g
to m eet an y of th e con d ition s attach ed        fin al ord ers, an d d eten tion an d rem oval     th e stow aw ays on board th e vessel or
to th e gran t of volu n tary d ep artu re, su ch    of stow aw ays.                                    aircraft (or at an oth er ap p roved location )
ord er w ill vacate an d th e altern ate ord er         Th is ru le p rovid es for th e assu m p tion   u n til com p letion of th e in sp ection , an d
of d ep ortation w ill stan d .                      of cu stod y d u rin g th e rem oval p eriod ,     m ay n ot p erm it th e alien to leave th e
   Section 304(a) of IIRIRA m akes                   allow s d eten tion beyon d th e p eriod , an d    vessel or aircraft, u n less au th orized by
sign ifican t ch an ges to both th e n atu re        p rovid es con d ition for d iscretion ary         th e Service for eith er m ed ical treatm en t,

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 74 of 350 PageID 4667
452                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

d eten tion by th e Service, or rem oval of         arrivin g illegally in th e Un ited States          444 is w id ely cou n terfeited . Th e Service
th e stow aw ays. Th e Service m ay ord er          sh ou ld h ave n o oth er ben efit available        h as been u n able to d em on strate th at
th at th e stow aw ay be rem oved on th e           to th em , an d sh ou ld n ot be p erm itted to     th ere is a con n ection betw een th e lim its
vessel or aircraft of arrival w h en th at is       d elay th eir rem oval th rou gh an                 on travel by p erson s issu ed Form s I–444
th e m ost p ractical m an n er of rem oval.        ap p lication for ad ju stm en t of statu s.        an d im m igration violation s. Th ese
With th e m u tu al goal of rem ovin g              An y oth er arrivin g alien w h o is eligible       restriction s sh ou ld be lifted an d
stow aw ays by th e m ost exp ed itiou s an d       to receive an im m igran t visa w ill be            ap p lican ts for ad m ission sh ou ld be
secu re m ean s, th e Service w ill gen erally      requ ired to retu rn to h is or h er cou n try      ad m itted as an y oth er p erson in
favor an y reason able requ est to rem ove          of resid en ce an d requ est it th rou gh th e      p ossession of a B–1 or B–2 visa is
th e stow aw ay on oth er th an th e vessel         con su lar p rocess available to all alien s        ad m itted .
or aircraft of arrival. Th e carrier m u st         ou tsid e of th e Un ited States. If th e              Th is regu lation p rop oses to rem ove
m ake all travel arran gem en ts, in clu d in g     Service d ecid es as a m atter of                   referen ces to th e issu an ce of th e form
obtain in g an y n ecessary travel                  p rosecu torial d iscretion , n ot to in itiate     an d th e section requ irin g a fee for
d ocu m en ts.                                      rem oval p roceed in gs bu t to p arole th e        issu an ce of Form I–444. A p rovision is
   Sin ce asylu m -seekin g stow aw ays m ay        arrivin g alien , th e alien w ill be able to       ad d ed requ irin g th e issu an ce of Form I–
n ot be rem oved p en d in g a fin al d ecision     ap p ly for ad ju stm en t of statu s before th e   94, an d collection of th e fee, for
on th eir asylu m claim , w h ich m ay              d istrict d irector.                                Mexican n ation als seekin g to en ter for
som etim es exten d for a len gth y p eriod ,                                                           m ore th an 72 h ou rs an d / or to travel
th e statu te lim its th e d eten tion liability    Disposition of Cases of Aliens Arrested
                                                                                                        fu rth er th an 25 m iles from th e Un ited
of th e ow n er of th e vessel or aircraft.         in the United States
                                                                                                        States/ Mexico bord er. Th e Form I–94
Th e ow n er is n ow resp on sible for a               Th e regu lation p rop oses to am en d           issu ed to a B–2 visitor for p leasu re is
p eriod of tim e n eed ed to d eterm in e           § 287.3 to d ifferen tiate th e action s th at      n orm ally valid for 6 m on th s. Th e
w h eth er th e stow aw ay h as a cred ible         m u st be taken w h en an alien is                  p rop osed ru le p rovid es in § 235.1(f) th at
fear of p ersecu tion , an d a reason able          ap p reh en d ed en terin g or attem p tin g to     a Form I–94 issu ed at a lan d bord er
p eriod , begin n in g w h en a cred ible fear      en ter th e Un ited States in violation of          p ort-of-en try is valid for m u ltip le en tries
is fou n d to exist, d u rin g w h ich th e         th e im m igration law s, or is oth erw ise         u n less oth erw ise in d icated .
asylu m ap p lication m ay be con sid ered .        fou n d in th e Un ited States in violation
Th e statu te an d regu lation s allow for u p      of th ose law s. Disp osition of th e case          Streamlining and Updating of
to 72 h ou rs to arran ge an d con d u ct th e      w ill vary d ep en d in g on th e                   Regulations
cred ible fear in terview , alth ou gh th e         circu m stan ces of en try or attem p ted              Th e Presid en t h as d irected each
Service an ticip ates th at th is w ill occu r      en try, or th e sp ecific violation w ith           agen cy to u n d ertake a review of its
as exp ed itiou sly as p ossible, d ep en d in g    w h ich th e alien is ch arged . Th is section      regu lation s for th e p u rp ose of red u cin g
on th e location an d circu m stan ces of th e      is am en d ed to in clu d e th ose cases th at      th e regu lation s or, w h en p ossible,
stow aw ay’s arrival. If th e stow aw ay is         m ay n ow be p rocessed u n d er th e               ren d erin g th em m ore read able an d
allow ed to p u rsu e h is or h er asylu m          exp ed ited rem oval p rovision s of section        com p reh en sible. S ee E.O. 12866, 58 FR
ap p lication , th e statu te p rovid es 15         235(b)(1) of th e Act, if su ch p rovision s        51,735 (1993). Th e Service is en gagin g
w orkin g d ays, exclu d in g Satu rd ays,          are in voked by th e Com m ission er.               in a th orou gh lin e-by-lin e review of all
Su n d ays, an d h olid ays, for th e asylu m       Elimination of Mexican Border Visitor’s             regu lation s in Title 8 of th e Cod e of
claim to be h eard , at th e exp en se of th e      Permit                                              Fed eral Regu lation s.
ow n er of th e vessel or aircraft. An y
                                                       Th e Mexican Bord er Visitor’s Perm it,          Updated Sections
d eten tion requ ired beyon d th at tim e
p eriod w ill be at th e exp en se of th e          Form I–444, is a record of en try issu ed              Referen ces to th e form er section
Service. Th e carrier rem ain s liable for          by th e Service at lan d bord er p orts-of-         212(a)(17) of th e Act d ealin g w ith th e
rem oval, in clu d in g rem oval exp en ses, if     en try alon g th e Un ited States/ Mexico           Attorn ey Gen eral’s con sen t to ap p ly for
th e alien is d en ied asylu m .                    bord er to h old ers of Non resid en t Alien        read m ission h ave been rem oved from
                                                    Bord er Crossin g Card s, Form s I–186 an d         § 217.2(b) an d rep laced w ith th e cu rren t
Adjustment of Status                                I–586. Th e Non resid en t Alien Bord er            citation . Referen ces th rou gh ou t 8 CFR
   Ad ju stm en t of statu s is gran ted in th e    Crossin g Card is issu ed in p lace of a            p art 235 to sp ecial in qu iry officers h ave
d iscretion of th e Attorn ey Gen eral.             n on im m igran t visa. Cu rren tly, Form I–        been rep laced w ith th e title
Con sisten t w ith Con gress’ in ten t th at        444 is issu ed w h en th e requ ested visit         ‘‘im m igration ju d ge.’’ Referen ces to
arrivin g alien s, as th at term is d efin ed       to th e Un ited States w ill be for m ore           region al com m ission ers h ave been
in § 1.1(g), be rem oved in an exp ed ited          th an 72 h ou rs bu t less th an 30 d ays in        rep laced w ith referen ces to region al
m an n er th rou gh th e p roced u res              d u ration or w h en requ ested travel is           d irectors. Th e regu latory lan gu age
p rovid ed in section 235(b)(1) of th e Act,        m ore th an 25 m iles from th e Un ited             con tain ed in §§ 238.1, 238.2, 238.3, an d
th e Attorn ey Gen eral h as d eterm in ed          States/ Mexico bord er bu t w ith in th e five      238.5 h as been m oved to 8 CFR p art
th at sh e w ill n ot favorably exercise h er       states of Arizon a, Californ ia, Nevad a,           233, to con form w ith red esign ation of
d iscretion to ad ju st th e statu s of arrivin g   New Mexico, or Texas. Th e Service also             th ose statu tory section s by th e IIRIRA.
alien s w h o are ord ered rem oved                 issu es Form I–444 to Mexican n ation als           Lists of carriers sign atory to agreem en ts
p u rsu an t to section 235(b)(1) of th e Act       w h o are in p ossession of valid Mexican           w ith th e Service for carriage to tran sit
or w h o are p laced in rem oval                    p assp orts an d m u ltip le-en try                 p assen gers an d p rein sp ection h ave been
p roceed in gs u n d er section 240 of th e         n on im m igran t visas requ estin g                rem oved form th e regu lation s an d w ill
Act. Of cou rse, an y su ch alien w h o h as        ad m ission to th e Un ited States u n d er         be m ain tain ed by th e Head qu arters
been p ersecu ted or h as a reason able fear        th e lim itation s d escribed above.                Office of In sp ection s.
of p ersecu tion m ay requ est asylu m in              Th e cu rren t Form I–444 h as been in
exp ed ited rem oval. Arrivin g alien s w h o       u se sin ce 1983 an d th e Service n ow             Terminated Programs
are gran ted asylu m m ay th en ad ju st            issu es over 200,000 of th ese form s p er             Referen ces to in itial (n ot rep lacem en t)
th eir statu s ou tsid e of th e rem oval           m on th . Du e largely to its lack of secu rity     ap p lication p roced u res in § 235.12 for
p roceed in g con text. In all oth er               featu res an d th e absen ce of                     Form I–777, North ern Marian a Card ,
in stan ces, th ose ap p reh en d ed after          stan d ard ization betw een p orts, Form I–         h ave been rem oved as th e ap p lication

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 75 of 350 PageID 4668
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                            453

p eriod for th at form exp ired in Ju ly          Streamlining                                        state an d local govern m en ts. Th e
1990. Section 235.9, d ealin g w ith                 Section 211.1. h as been restru ctu red          Service p rojects sign ifican t in creases in
refu gee ad m ission s, h as been rem oved        in its en tirety to m ake it easier to              d eten tion -related costs d u e to th e
as th at p roced u re is n o lon ger follow ed    com p reh en d . Th e p rovision s relatin g to     p rovision s of IIRIRA w h ich m an d ate th e
an d its su bject is n ow govern ed by            ad m ission of ch ild ren of law fu l               cu stod y of crim in al alien s w h o h ave
section 207 of th e Act. Provision s in           p erm an en t resid en ts form erly con tain ed     com m itted tw o or m ore crim es
§ 211.2 d ealin g w ith w aivers of p assp ort    in § 211.2 h ave been con solid ated in to          in volvin g m oral tu rp itu d e, alien s
requ irem en ts for th ird -p referen ce          th e gen eral w aiver p rovision s of section       con victed of firearm s offen ses, an d
im m igran ts h ave been rem oved as th at        § 211.1. Lan gu age form erly in § 211.2(b)         alien s w h o h ave been con victed of an
category of im m igran t n o lon ger exists.      w h ich referred to oth er cod e section s by       aggravated felon y. Th e typ e of crim e
Term s w h ich w ere ap p rop riate in            d escrip tion h as been rep laced by a              th at w ill qu alify as an ‘‘aggravated
referrin g to exclu sion an d d ep ortation       sim p le citation . Section s 211.3, 211.4,         felon y’’ h as been greatly exp an d ed
p roced u res h ave been ch an ged to reflect     an d 235.9 h ave been rem oved an d                 u n d er IIRIRA. In ad d ition , all alien s,
th e sin gle rem oval p rocess.                   reserved as th eir con ten ts are ad d ressed       even n on -crim in al alien s, w h o are
                                                  in oth er section s of th is p art. Th e 8 CFR      su bject to a fin al ad m in istrative ord er of
Removal of Purely Procedural Matters                                                                  rem oval m u st be h eld in cu stod y u n til
Involving Only Internal Service                   p art 251, relatin g to alien crew m en ,
                                                  lon gsh ore w ork, an d vessels h as been           th e alien can be rem oved from th e
Processes                                                                                             Un ited States. If th e p erson is n ot
                                                  restru ctu red an d clarified .
   Th e d iscu ssion of in tern al Service           Un n ecessary recitals of th e law h ave         rem oved w ith in 90 d ays h e or sh e m ay
p roced u res regard in g th e ad m ission of     been rem oved in th e follow in g:                  be released from cu stod y.
im m igran t ch ild ren form erly fou n d in      § 211.5(b), relatin g to forfeitu re of an I–          Th e Com m ission er h as n otified
§ 211.4 h as been rem oved . Lan gu age in        551 u p on loss of resid en t statu s by a          Con gress p u rsu an t to section 303(b) of
§ 211.5 relatin g to ad m ission p roced u res    com m u ter alien ; an d § 217.1, w h ich           IIRIRA th at th e Service lacks su fficien t
for alien com m u ters h as been rem oved         m erely restates statu tory lan gu age              sp ace to im m ed iately im p lem en t th e
in favor of p lacin g su ch in form ation in to   regard in g eligibility for ad m ission u n d er    m an d atory cu stod y p rovision s. Th is
Service Field Man u als. Exam p les               th e Visa Waiver Pilot Program . Th e 8             n otification w ill d elay for 1 year fu ll
d ealin g w ith alien crew m en , as w ell as     CFR p art 217 h as been stream lin ed by            im p lem en tation of th e n ew m an d atory
Can ad ian n ation als, h ave been rem oved       con solid atin g variou s d efin ition s            cu stod y p rovision s. Section 303(b) also
                                                  th rou gh ou t th at p art in to on e section .     p rovid es for an ad d ition al 1-year d elay
from § 235.1. Part 232 of 8 CFR d ealin g
                                                  Con fu sin g lan gu age in § 217.3 h as been        in im p lem en tation of th e m an d atory
w ith th e p roced u res for n otification of
                                                  stream lin ed w ith regard to read m ission         cu stod y p rovision s u p on a secon d
th e m aster or agen t of an arrivin g vessel
                                                  u n d er th e Visa Waiver Pilot Program of          certification th at sp ace an d p erson n el
w h en arrivin g alien s w ere p laced in
                                                  an alien w h o h as d ep arted to con tigu ou s     are in ad equ ate to com p ly w ith th e
d eten tion for m en tal or p h ysical
                                                  territory or an ad jacen t islan d h as been        requ irem en t. Th e Service estim ates th at
exam in ation h as been rem oved sin ce it
                                                  stream lin ed .                                     th e cost to en force th e requ irem en t to
is ad d ressed in Service m an u als.
                                                                                                      d etain all crim in al alien s w ill be at least
Lan gu age d ealin g w ith p roced u res for      Other Changes                                       $205,000,000. Of th at total, p erson n el
com p letion of en try d ocu m en ts for
                                                    In ad d ition , con form in g an d p u rely       costs accou n t for $65,284,000 w h ich
n on im m igran t alien s, Mexican bord er                                                            in clu d e d eten tion an d d ep ortation
crossers, bearers of Mexican d ip lom atic        ed itorial or gram m atical revision s h ave
                                                  been m ad e, as ap p rop riate.                     officers ($32,873,000), in vestigators
p assp orts, an d p aroled alien s in 8 CFR                                                           ($25,501,000), legal p roceed in gs
p art 235 h as been rem oved . Lan gu age in      Regulatory Flexibility Act                          p erson n el ($4,968,000), an d
§ 235.2 relatin g to d eferred in sp ection          Th e Attorn ey Gen eral, in accord an ce         ad m in istrative su p p ort ($1,942,000).
p roced u res for in cap acitated or              w ith th e Regu latory Flexibility Act (5           Non -p erson n el requ irem en ts are
in com p eten t alien s h as also been            U.S.C. 605(b)), h as review ed th is                p rojected to be at least $139,732,000
rem oved . Section 235.4 d ealin g solely         regu lation an d , by ap p rovin g it, certifies    w h ich in clu d es in creases in bed sp ace
w ith Service p roced u res for en d orsin g      th at th e ru le w ill n ot h ave a sign ifican t   an d related alien cu stod y requ irem en ts
d ocu m en ts evid en cin g ad m ission h as      ad verse econ om ic im p act on a                   ($82,782,000—fu n d s 3,600 bed s @
been revised to ad d ress th e w ith d raw al     su bstan tial n u m ber of sm all en tities         $63.00 p er d ay), in creases in alien travel
of an ap p lication for ad m ission . Th e        becau se of th e follow in g factors. Th is         exp en ses ($36,000,000–3,600 rem ovals
form er § 251.1(d ), d ealin g w ith th e         ru le affects on ly Fed eral govern m en t          @ $1,000 each ), an d d eten tion veh icle
n otation s to be m ad e on Service form s        op eration s by cod ifyin g statu tory              exp en ses ($20,950,000). Th e Service is
w h en in sp ectin g crew m en , h as been        am en d m en ts to th e Im m igration an d          cu rren tly in th e p rocess of p rojectin g th e
in corp orated in to Service m an u als.          Nation ality Act p rim arily regard in g th e       cost of th e IIRIRA requ irem en ts th at w e
Elimination of Duplication                        exam in ation , d eten tion , an d rem oval of      d etain all alien s w ith ad m in istratively
                                                  alien s from th e Un ited States. It affects        fin al ord ers of d ep ortation p en d in g th eir
   Du p licative referen ces h ave been           on ly in d ivid u als an d d oes n ot im p ose      rem oval.
rem oved . Lan gu age in § 217.2, relatin g       an y rep ortin g or com p lian ce                      In ad d ition to th ese d eten tion related
to eligibility for th e Visa Waiver Pilot         requ irem en ts on sm all en tities.                costs, th e Service estim ates th at th e
Program , h as been rem oved as it m erely                                                            exp en ses for train in g em p loyees on th e
restates th e eligibility requ irem en ts         Executive Order 12866                               p rovision s of th e n ew law an d th e
con tain ed in th e Act. Lan gu age in               Th is ru le is con sid ered by th e              regu lation s w ill be $2,977,500. Th e cost
§ 217.3 an d th rou gh ou t relatin g to Visa     Dep artm en t of Ju stice to be a                   to th e Service related to ad d ition al
Waiver Pilot Program p articip an ts’             ‘‘sign ifican t regu latory action ’’ u n d er      form s or ch an ges n eed ed to cu rren t
eligibility for oth er im m igration ben efits    Execu tive Ord er 12866, section 3(f),              form s is estim ated to be $2,000,000
an d read m ission after d ep artu re to          becau se it w ill h ave a sign ifican t             (u n til th e fin al list of form requ irem en ts
con tigu ou s territory h as been rem oved        econ om ic im p act on th e Fed eral                is com p leted it is n ot p ossible to m ore
as it m erely restates th e Act an d is           govern m en t in excess of $100,000,000.            accu rately assess th is cost). Fin ally, th e
covered by oth er regu lation s in th is p art.   No econ om ic im p act is an ticip ated for         Dep artm en t believes th ere m ay be som e

                                                                                                                                  AR00457
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 76 of 350 PageID 4669
454                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

in creases n eed ed for im m igration ju d ges     Executive Order 12988                              8 CFR Part 216
to review cred ible fear d eterm in ation s          Th is p rop osed ru le m eets th e                  Ad m in istrative p ractice an d
m ad e u n d er section 235(b) of th e INA.        ap p licable stan d ard s set forth in section     p roced u re, Alien s.
   Th e EOIR estim ates in creases in its          3(a) an d 3(b)(2) of Execu tive Ord er
costs related to IIRIRA-m an d ated                12988.                                             8 CFR Part 217
im m igration ju d ge review of cred ible                                                               Air carriers, Alien s, Maritim e carriers,
fear d eterm in ation s (w h ich m u st be         Paperw ork Reduction Act
                                                                                                      Passp orts an d visas.
m ad e u n d er strin gen t tim e fram es) an d       Th e in form ation collection
th e p rom p t im m igration ju d ge review        requ irem en ts con tain ed in th is ru le h ave   8 CFR Part 221
w h ich IIRIRA requ ires of certain                been forw ard ed to th e Office of                   Alien s, Su rety bon d s.
exp ed ited rem oval ord ers en tered              Man agem en t an d Bu d get u n d er th e
again st alien s claim in g to be law fu l         Pap er Red u ction Act. Th e OMB con trol          8 CFR Part 223
p erm an en t resid en ts, asylees or              n u m bers for th ese collection s are               Alien s, Rep ortin g an d record keep in g
refu gees. Fu rth er, EOIR p rojects costs         con tain ed in 8 CFR 299.5, Disp lay of            requ irem en ts.
associated w ith th e n eed for an                 con trol n u m bers.
Im m igration Cou rt p resen ce in n early                                                            8 CFR Part 232
ever p ort-of-en try, w h ich w ill resu lt        List of Subjects
                                                                                                        Alien s, Pu blic h ealth .
from th e above-m en tion ed cred ible fear        8 CFR Part 1
review an d exp ed ited rem oval review                                                               8 CFR Part 233
p rocess. Also, th ere w ill be costs related         Ad m in istrative p ractice an d
                                                   p roced u re, Im m igration .                         Ad m in istrative p ractice an d
to th e overall n eed for an in creased                                                               p roced u re, Air carriers, Govern m en t
Im m igration Cou rt p resen ce at existin g       8 CFR Part 3                                       con tracts, Travel.
Service d eten tion cen ters to su p p ort th e
p rocessin g of th e ad d ition al d etain ees        Ad m in istrative p ractice an d                8 CFR Part 234
th at w ill resu lt from th e im p lem en tation   p roced u re, Im m igration , Organ ization
                                                   an d fu n ction s (Govern m en t agen cies).         Air carriers, Aircraft, Airp orts, Alien s.
of th is ru le. Sim ilarly, EOIR an ticip ates
a n eed for con stru ction of n ew                 8 CFR Part 103                                     8 CFR Part 235
Im m igration Cou rts at n ew d eten tion                                                                Ad m in istrative p ractice an d
facilities th e Service m ay op en as a               Ad m in istrative p ractice an d
                                                   p roced u re, Au th ority d elegation s            p roced u re, Alien s, Im m igration ,
resu lt of th is ru le’s im p lem en tation .                                                         Rep ortin g an d record keep in g
                                                   (Govern m en t agen cies), Rep ortin g an d
   Alth ou gh th ere are still a n u m ber of                                                         requ irem en ts.
                                                   record keep in g requ irem en ts.
u n kn ow n variables w h ich cou ld affect
th e total costs to EOIR to im p lem en t its      8 CFR Part 204                                     8 CFR Part 236
p art of th e n ew exp ed ited rem oval               Ad m in istrative p ractice an d                   Ad m in istrative p ractice an d
p rocess an d to resp on d to th e in creased      p roced u re, Im m igration , Rep ortin g an d     p roced u re, Alien s, Im m igration .
n u m ber of d etain ed in d ivid u als in         record keep in g requ irem en ts.
p roceed in gs u n d er th is ru le, EOIR                                                             8 CFR Part 237
estim ates th at th e total an n u al cost for     8 CFR Part 207                                       Alien s.
EOIR cou ld be as h igh as $25,000,000.               Ad m in istrative p ractice an d
Of th at total, th e cost for h irin g n ew                                                           8 CFR Part 238
                                                   p roced u re, Refu gees, Rep ortin g an d
im m igration ju d ges an d legal su p p ort       record keep in g requ irem en ts.                     Ad m in istrative p ractice an d
staff is p rojected to be $21,300,000. Th e                                                           p roced u re, Alien s.
cost for n ew vid eo an d au d io                  8 CFR Part 208
telecon ferin g equ ip m en t is estim ated at                                                        8 CFR Part 239
                                                      Ad m in istrative p ractice an d
$3,000,000. Train in g costs are exp ected         p roced u re, Alien s, Im m igration ,                Ad m in istrative p ractice an d
to be ap p roxim ately $400,000. Fin ally,         Rep ortin g an d record keep in g                  p roced u re, Alien s, Im m igration ,
form s an d oth er su p p ort requ irem en ts      requ irem en ts.                                   Rep ortin g an d record keep in g
are estim ated to cost $300,000.                                                                      requ irem en ts.
                                                   8 CFR Part 209
Small Business Regulatory Enforcement                                                                 8 CFR Part 240
Act of 1996                                          Alien s, Im m igration , Refu gees.
                                                                                                         Ad m in istrative p ractice an d
   At th is tim e th e Dep artm en t con sid ers   8 CFR Part 211                                     p roced u re, Alien s, Im m igration .
th is ru le a ‘‘m ajor ru le’’ as d efin ed in 5     Im m igration , Passp orts an d visas,
U.S.C. § 804(2).                                                                                      8 CFR Part 241
                                                   Rep ortin g an d record keep in g
Executive Order 12612                              requ irem en ts.                                      Ad m in istrative p ractice an d
                                                                                                      p roced u re, Alien s, Im m igration .
   Th e regu lation s p rop osed h erein w ill     8 CFR Part 212
n ot h ave su bstan tial d irect effects on th e                                                      8 CFR Part 242
                                                      Ad m in istrative p ractice an d
States, on th e relation sh ip betw een th e       p roced u re, Alien s, Im m igration ,                Ad m in istrative p ractice an d
Nation al Govern m en t an d th e States, or       Passp orts an d visas, Rep ortin g an d            p roced u re, Alien s, Im m igration .
on th e d istribu tion of p ow er an d             record keep in g requ irem en ts.                  8 CFR Part 243
resp on sibilities am on g th e variou s
levels of govern m en t. Th erefore, in            8 CFR Part 213                                        Ad m in istrative p ractice an d
accord an ce w ith Execu tive Ord er 12612,          Im m igration , Su rety bon d s.                 p roced u re, Alien s.
it is d eterm in ed th at th is ru le d oes n ot
                                                   8 CFR Part 214                                     8 CFR Part 244
h ave su fficien t Fed eralism im p lication s
to w arran t th e p rep aration of a                  Ad m in istrative p ractice an d                   Ad m in istrative p ractice an d
Fed eralism Assessm en t.                          p roced u re, Alien s.                             p roced u re, Alien s.

                                                                                                                                 AR00458
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 77 of 350 PageID 4670
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                               455

8 CFR Part 245                                        2. Section 1.1 is am en d ed by revisin g         a greater p eriod of d ep artu re tim e
  Alien s, Im m igration , Rep ortin g an d        p aragrap h (l), an d by ad d in g n ew              sh ou ld h ave been fixed .
record keep in g requ irem en ts.                  p aragrap h s (q) an d (r) to read as follow s:         (3) Decision s of Im m igration Ju d ges in
                                                                                                        rem oval p roceed in gs, as p rovid ed in 8
8 CFR Part 246                                     § 1.1 Definitions.                                   CFR p art 240.
                                                   *       *      *     *      *                        *       *    *      *     *
   Ad m in istrative p ractice an d
                                                      (l) Th e term im m igration ju d ge m ean s          (7) Determ in ation s relatin g to bon d ,
p roced u re, Alien s, Im m igration .
                                                   an attorn ey w h om th e Attorn ey Gen eral          p arole, or d eten tion of an alien as
8 CFR Part 248                                     ap p oin ts as an ad m in istrative ju d ge          p rovid ed in 8 CFR p art 236, Su bp art A
  Alien s, Im m igration , Rep ortin g an d        w ith in th e Execu tive Office for                  an d 8 CFR p art 240, Su bp art E.
record keep in g requ irem en ts.                  Im m igration Review , qu alified to
                                                                                                        *       *    *      *     *
                                                   con d u ct sp ecified classes of
8 CFR Part 249                                                                                             (9) Decision s of Im m igration Ju d ges in
                                                   p roceed in gs, in clu d in g a h earin g u n d er
                                                                                                        asylu m p roceed in gs p u rsu an t to
  Alien s, Im m igration , Rep ortin g an d        section 240 of th e Act. An im m igration
                                                                                                        § 208.2(b) of th is ch ap ter.
record keep in g requ irem en ts.                  ju d ge sh all be su bject to su ch
                                                                                                           (10) Decision s of Im m igration Ju d ges
                                                   su p ervision an d sh all p erform su ch
8 CFR Part 251                                                                                          relatin g to Tem p orary Protected Statu s
                                                   d u ties as th e Attorn ey Gen eral sh all
                                                                                                        as p rovid ed in 8 CFR p art 244.
  Air carriers, Alien s, Maritim e carriers,       p rescribe, bu t sh all n ot be em p loyed by
                                                   th e Im m igration an d Natu ralization              *       *    *      *     *
Rep ortin g an d record keep in g
                                                   Service.                                                5. Section 3.2 is am en d ed by:
requ irem en ts, Crew m en .                                                                               a. Revisin g th e section h ead in g;
                                                   *       *      *     *      *                           b. Revisin g p aragrap h (b)(2);
8 CFR Part 252
                                                      (q) Th e term arrivin g alien m ean s an             c. Revisin g p aragrap h (c)(2) an d (c)(3),
  Air carriers, Airm en , Alien s, Maritim e       alien w h o seeks ad m ission to or tran sit         an d by
carriers, Rep ortin g an d record keep in g        th rou gh th e Un ited States, as p rovid ed            d . Revisin g p aragrap h s (d ) th rou gh (f),
requ irem en ts, Crew m en .                       in 8 CFR p art 235, at a p ort-of-en try, or         to read as follow s:
8 CFR Part 253                                     an alien w h o is in terd icted in
                                                   in tern ation al or Un ited States w aters           § 3.2 Reopening or reconsideration before
  Air carriers, Airm en , Alien s, Maritim e       an d brou gh t in to th e Un ited States by          the Board of Immigration Appeals.
carriers, Rep ortin g an d record keep in g        an y m ean s, w h eth er or n ot to a                *       *     *      *     *
requ irem en ts, Seam en .                         d esign ated p ort-of-en try, an d regard less          (b) * * *
8 CFR Part 274a                                    of th e m ean s of tran sp ort. An arrivin g            (2) A m otion to recon sid er a d ecision
                                                   alien rem ain s su ch even if p aroled               m u st be filed w ith th e Board w ith in 30
   Ad m in istrative p ractice an d                p u rsu an t to section 212(d )(5) of th e Act.      d ays after th e m ailin g of th e Board
p roced u re, Alien s, Em p loym en t,                (r) th e term resp on d en t m ean s a            d ecision or on or before Ju ly 31, 1996,
Pen alties, Rep ortin g an d record keep in g      p erson n am ed in a Notice to Ap p ear              w h ich ever is later. A p arty m ay file on ly
requ irem en ts.                                   issu ed in accord an ce w ith section 239(a)         on e m otion to recon sid er an y given
8 CFR Part 286                                     of th e Act, or in an Ord er to Sh ow Cau se         d ecision an d m ay n ot seek
                                                   issu ed in accord an ce w ith § 242.1 of th is       recon sid eration of a d ecision d en yin g a
  Air carriers, Im m igration , Rep ortin g
                                                   ch ap ter as it existed p rior to Ap ril 1,          p reviou s m otion to recon sid er. In
an d record keep in g requ irem en ts.
                                                   1997.                                                rem oval p roceed in gs p u rsu an t to section
8 CFR Part 287                                                                                          240 of th e Act, an alien m ay file on ly
                                                   PART 3—EXECUTIVE OFFICE FOR                          on e m otion to recon sid er a d ecision th at
  Im m igration , Law en forcem en t               IMMIGRATION REVIEW
officers.                                                                                               th e alien is rem ovable from th e Un ited
                                                                                                        States.
8 CFR Part 299                                       3. Th e au th ority citation for p art 3
                                                                                                           (c) * * *
                                                   con tin u es to read as follow s:
  Im m igration , Rep ortin g an d                                                                         (2) Excep t as p rovid ed in p aragrap h
                                                     Authority: 5 U.S.C. 301; 8 U.S.C. 1103,            (c)(3) of th is section , a p arty m ay file
record keep in g requ irem en ts.                  1252 n ote, 1252b, 1324b, 1362; 28 U.S.C. 509,       on ly on e m otion to reop en d ep ortation
8 CFR Part 316                                     510, 1746; sec. 2, Reorg. Plan No. 2 of 1950;        or exclu sion p roceed in gs (w h eth er
                                                   3 CFR, 1949–1953 Com p ., p . 1002.
  Citizen sh ip an d n atu ralization ,                                                                 before th e Board or th e Im m igration
Rep ortin g an d record keep in g                     4. Section 3.1 is am en d ed by revisin g         Ju d ge) an d th at m otion m u st be filed n o
requ irem en ts.                                   p aragrap h s (b)(1), (b)(2), (b)(3), (b)(7),        later th an 90 d ays after th e d ate on
                                                   (b)(9), an d (b)(10) to read as follow s:            w h ich th e fin al ad m in istrative d ecision
8 CFR Part 318                                                                                          w as ren d ered in th e p roceed in g sou gh t
                                                   § 3.1 General authorities.
  Citizen sh ip an d n atu ralization .                                                                 to be reop en ed . Excep t as p rovid ed in
                                                   *      *      *      *      *                        p aragrap h (c)(3) of th is section , an alien
8 CFR Part 329                                        (b) * * *                                         m ay file on ly on e m otion to reop en
   Citizen sh ip an d n atu ralization ,              (1) Decision s of Im m igration Ju d ges in       rem oval p roceed in gs (w h eth er before
Military p erson n el, Veteran s.                  exclu sion cases, as p rovid ed in 8 CFR             th e Board or th e Im m igration Ju d ge) an d
   Accord in gly, ch ap ter I of title 8 of th e   p art 236, Su bp art D.                              th at m otion m u st be filed n o later th an
Cod e of Fed eral Regu lation s is p rop osed         (2) Decision s of Im m igration Ju d ges in       90 d ays after th e d ate on w h ich th e fin al
to be am en d ed as follow s:                      d ep ortation cases, as p rovid ed in 8 CFR          ad m in istrative d ecision w as ren d ered in
                                                   p art 240, Su bp art E, excep t th at n o            th e p roceed in g sou gh t to be reop en ed .
PART 1—DEFINITIONS                                 ap p eal sh all lie from an ord er of an                (3) In rem oval p roceed in gs p u rsu an t
                                                   Im m igration Ju d ge u n d er 8 CFR p art           to section 240 of th e Act, th e tim e
  1. Th e au th ority citation for p art 1 is      240, Su bp art F, gran tin g volu n tary             lim itation set forth in p aragrap h (c)(2) of
revised to read as follow s:                       d ep artu re w ith in a p eriod of at least 30       th is section sh all n ot ap p ly to a m otion
  Authority: 8 U.S.C. 1101.                        d ays, if th e sole grou n d of ap p eal is th at    to reop en filed p u rsu an t to th e

                                                                                                                                    AR00459
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                              Page 78 of 350 PageID 4671
456                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

p rovision s of § 3.23(b)(4)(ii). Th e tim e        m ad e in th e case. Execu tion of su ch               11. Section 3.12 is am en d ed by
an d n u m erical lim itation s set forth in        d ecision sh all p roceed u n less a stay of        revisin g th e last sen ten ce, an d ad d in g a
p aragrap h (c)(2) of th is section sh all n ot     execu tion is sp ecifically gran ted by th e        n ew sen ten ce at th e en d of th e section ,
ap p ly to a m otion to reop en                     Board , th e Im m igration Ju d ge, or an           to read as follow s:
p roceed in gs:                                     au th orized officer of th e Service.
   (i) Filed p u rsu an t to th e p rovision s of                                                       § 3.12 Scope of rules.
                                                    *      *     *      *    *
§ 3.23(b)(4)(iii)(A)(1) or                                                                                 * * * Excep t w h ere sp ecifically
§ 3.23(b)(4)(iii)(A)(2);                            Subpart B—Immigration Court                         stated , th ese ru les ap p ly to m atters
   (ii) To ap p ly or reap p ly for asylu m or                                                          before Im m igration Ju d ges, in clu d in g,
                                                       b. In Part 3, th e h ead in g of Su bp art B     bu t n ot lim ited to, d ep ortation ,
w ith h old in g of d ep ortation based on          is revised as set forth above.
ch an ged circu m stan ces arisin g in th e                                                             exclu sion , rem oval, bon d , rescission ,
                                                       7. Section 3.9 is revised to read as             d ep artu re con trol, an d asylu m
cou n try of n ation ality or in th e cou n try     follow s:
to w h ich d ep ortation h as been ord ered ,                                                           p roceed in gs. Th e sole p roced u res for
if su ch evid en ce is m aterial an d w as n ot     § 3.9 Chief Immigration Judge.                      review of cred ible fear d eterm in ation s
available an d cou ld n ot h ave been                  Th e Ch ief Im m igration Ju d ge sh all be      by Im m igration Ju d ges are p rovid ed for
d iscovered or p resen ted at th e p reviou s       resp on sible for th e gen eral su p ervision ,     in § 3.42.
h earin g;                                          d irection , an d sch ed u lin g of th e               12. Section 3.13 is revised to read as
   (iii) Agreed u p on by all p arties an d         Im m igration Ju d ges in th e con d u ct of        follow s:
join tly filed . Notw ith stan d in g su ch         th e variou s p rogram s assign ed to th em .       § 3.13 Definitions.
agreem en t, th e p arties m ay con test th e       Th e Ch ief Im m igration Ju d ge sh all be
issu es in a reop en ed p roceed in g; or           assisted by Dep u ty Ch ief Im m igration              As u sed in th is su bp art:
   (iv) Filed by th e Service in exclu sion         Ju d ges an d Assistan t Ch ief Im m igration          A d m in istrative con trol m ean s
or d ep ortation p roceed in gs w h en th e         Ju d ges in th e p erform an ce of h is or h er     cu stod ial resp on sibility for th e Record
basis of th e m otion is frau d in th e             d u ties. Th ese sh all in clu d e, bu t are n ot   of Proceed in g as sp ecified in § 3.11.
origin al p roceed in g or a crim e th at           lim ited to:                                           Ch argin g d ocu m en t m ean s th e w ritten
w ou ld su p p ort term in ation of asylu m in         (a) Establish m en t of op eration al            in stru m en t w h ich in itiates a p roceed in g
accord an ce w ith § 208.22(f) of th is             p olicies; an d                                     before an Im m igration Ju d ge. For
ch ap ter.                                             (b) Evalu ation of th e p erform an ce of        p roceed in gs in itiated p rior to Ap ril 1,
                                                    Im m igration Cou rts, m akin g ap p rop riate      1997, th ese d ocu m en ts in clu d e an Ord er
*       *      *      *      *                                                                          to Sh ow Cau se, a Notice to Ap p lican t
   (d ) Dep artu re, d ep ortation , or             rep orts an d in sp ection s, an d takin g
                                                    corrective action w h ere in d icated .             for Ad m ission Detain ed for Hearin g
rem oval. A m otion to reop en or a                                                                     before Im m igration Ju d ge, an d a Notice
                                                       8. Section 3.10 is revised to read as
m otion to recon sid er sh all n ot be m ad e                                                           of In ten tion to Rescin d an d Requ est for
                                                    follow s:
by or on beh alf of a p erson w h o is th e                                                             Hearin g by Alien . For p roceed in gs
su bject of exclu sion , d ep ortation , or         § 3.10 Immigration Judges.                          in itiated after Ap ril 1, 1997, th ese
rem oval p roceed in gs su bsequ en t to h is          Im m igration Ju d ges, as d efin ed in 8        d ocu m en ts in clu d e a Notice to Ap p ear,
or h er d ep artu re from th e Un ited States.      CFR p art 1, sh all exercise th e p ow ers          a Notice of Referral to Im m igration
   (e) Ju d icial p roceed in gs. Motion s to       an d d u ties in th is ch ap ter regard in g th e   Ju d ge, an d a Notice of In ten tion to
reop en or recon sid er sh all state w h eth er     con d u ct of exclu sion , d ep ortation ,          Rescin d an d Requ est for Hearin g by
th e valid ity of th e exclu sion ,                 rem oval, an d asylu m p roceed in gs an d          Alien .
d ep ortation , or rem oval ord er h as been        su ch oth er p roceed in gs w h ich th e               Filin g m ean s th e actu al receip t of a
or is th e su bject of an y ju d icial              Attorn ey Gen eral m ay assign th em to             d ocu m en t by th e ap p rop riate
p roceed in g an d , if so, th e n atu re an d      con d u ct.                                         Im m igration Cou rt.
d ate th ereof, th e cou rt in w h ich su ch           9. Section 3.11 is revised to read as               S ervice m ean s p h ysically p resen tin g
p roceed in g took p lace or is p en d in g,        follow s:                                           or m ailin g a d ocu m en t to th e
an d its resu lt or statu s. In an y case in                                                            ap p rop riate p arty or p arties; excep t th at
w h ich an exclu sion , d ep ortation , or          § 3.11 Administrative control Immigration
                                                    Courts.                                             an Ord er to Sh ow Cau se or Notice of
rem oval ord er is in effect, an y m otion to                                                           Dep ortation Hearin g sh all be served in
reop en or recon sid er su ch ord er sh all            An ad m in istrative con trol
                                                    Im m igration Cou rt is on e th at creates          p erson to th e alien , or by certified m ail
in clu d e a statem en t by or on beh alf of                                                            to th e alien or th e alien ’s attorn ey an d
th e m ovin g p arty d eclarin g w h eth er th e    an d m ain tain s Record s of Proceed in gs
                                                    for Im m igration Cou rts w ith in an               a Notice to Ap p ear or Notice of Rem oval
su bject of th e ord er is also th e su bject                                                           Hearin g sh all be served to th e alien in
of an y p en d in g crim in al p roceed in g        assign ed geograp h ical area. All
                                                    d ocu m en ts an d corresp on d en ce               p erson , or if p erson al service is n ot
u n d er th e Act, an d , if so, th e cu rren t                                                         p racticable, sh all be served by regu lar
statu s of th e p roceed in g. If a m otion to      p ertain in g to a Record of Proceed in g
                                                    sh all be filed w ith th e Im m igration            m ail to th e alien or th e alien ’s attorn ey
reop en or recon sid er seeks d iscretion ary                                                           of record .
relief, th e m otion sh all in clu d e a            Cou rt h avin g ad m in istrative con trol
                                                    over th at Record of Proceed in g an d sh all          13. Section § 3.14 is am en d ed by:
statem en t by or on beh alf of th e m ovin g                                                              a. Revisin g p aragrap h (a), an d by
p arty d eclarin g w h eth er th e alien for        n ot be filed w ith an y oth er Im m igration
                                                    Cou rt. A list of th e ad m in istrative               b. Ad d in g a n ew p aragrap h (c) to read
w h ose relief th e m otion is bein g filed is                                                          as follow s:
su bject to an y p en d in g crim in al             con trol Im m igration Cou rts w ith th eir
p rosecu tion an d , if so, th e n atu re an d      assign ed geograp h ical areas w ill be             § 3.14 Jurisdiction and commencement of
cu rren t statu s of th at p rosecu tion .          m ad e available to th e p u blic at an y           proceedings.
   (f) S tay of d ep ortation . Excep t w h ere     Im m igration Cou rt.                                  (a) Ju risd iction vests, an d p roceed in gs
a m otion is filed p u rsu an t to th e                                                                 before an Im m igration Ju d ge com m en ce,
                                                    Subpart C—Immigration Court—Rules
p rovision s of §§ 3.23(b)(4)(ii) an d                                                                  w h en a ch argin g d ocu m en t is filed w ith
                                                    of Procedure
3.23(b)(4)(iii)(A), th e filin g of a m otion                                                           th e Im m igration Cou rt by th e Service.
to reop en or a m otion to recon sid er sh all        10. In p art 3, th e h ead in g of Su bp art      Th e ch argin g d ocu m en t m u st in clu d e a
n ot stay th e execu tion of an y d ecision         C is revised as set forth above.                    certificate sh ow in g service on th e

                                                                                                                                    AR00460
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                               Page 79 of 350 PageID 4672
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                                 457

op p osin g p arty p u rsu an t to § 3.32 w h ich   EOIR–33 to th e Im m igration Cou rt                   § 3.20 Change of venue.
in d icates th e Im m igration Cou rt in            w h ere th e ch argin g d ocu m en t h as been            (a) Ven u e sh all lie at th e Im m igration
w h ich th e ch argin g d ocu m en t is filed .     filed , or if ven u e h as been ch an ged , to         Cou rt w h ere ju risd iction vests p u rsu an t
How ever, n o ch argin g d ocu m en t is            th e Im m igration Cou rt to w h ich ven u e           to § 3.14.
requ ired to be filed w ith th e                    h as been ch an ged .                                  *      *     *      *      *
Im m igration Cou rt to com m en ce bon d                                                                     22. Section 3.23 is am en d ed by
p roceed in gs p u rsu an t to §§ 3.19,             § 3.16 [Amended]
                                                                                                           revisin g th e section h ead in g an d
236.1(d ) an d 240.2(b) of th is ch ap ter or         15. Section 3.16(b) is am en d ed by                 p aragrap h (b) to read as follow s:
cred ible fear d eterm in ation s p u rsu an t to   revisin g th e term ‘‘resp on d en t/
§ 208.30 of th is ch ap ter.                                                                               § 3.23 Reopening or Reconsideration
                                                    ap p lican t’’ to read ‘‘alien ’’.                     before the Immigration Court.
*      *       *      *     *
   (c) Im m igration Ju d ges h ave                 § 3.17 [Amended]                                       *       *      *      *      *
                                                                                                              (b) Before th e Im m igration Cou rt. (1)
ju risd iction to ad m in ister th e oath of           16. Section 3.17(a) is am en d ed in th e           In gen eral. An Im m igration Ju d ge m ay
allegian ce in ad m in istrative                    first sen ten ce by revisin g th e term                u p on h is or h er ow n m otion at an y tim e,
n atu ralization cerem on ies con d u cted by       ‘‘resp on d en t/ ap p lican t’’ to read ‘‘alien ’’,   or u p on m otion of th e Service or th e
th e Service in accord an ce w ith                  an d by revisin g th e p h rase ‘‘th e                 alien , reop en or recon sid er an y case in
§ 337.2(b) of th is ch ap ter.                      ap p rop riate EOIR form ’’ to read ‘‘Form             w h ich h e or sh e h as m ad e a d ecision ,
   14. Section 3.15 is am en d ed by:               EOIR–28’’.                                             u n less ju risd iction is vested w ith th e
   a. Revisin g th e section h ead in g;
                                                       17. Section 3.18 is revised to read as              Board of Im m igration Ap p eals. Su bject
   b. Am en d in g p aragrap h (b)
                                                    follow s:                                              to th e excep tion s in th is p aragrap h an d
in trod u ctory text an d p aragrap h (b)(6),
                                                                                                           p aragrap h (b)(4) of th is section , a p arty
by ad d in g th e p h rase ‘‘an d Notice to         § 3.18 Scheduling of cases.                            m ay file on ly on e m otion to recon sid er
Ap p ear’’ im m ed iately after th e p h rase
                                                       (a) Th e Im m igration Cou rt sh all be             an d on e m otion to reop en p roceed in gs.
‘‘Ord er to Sh ow Cau se’’;
                                                    resp on sible for sch ed u lin g cases an d            A m otion to recon sid er m u st be filed
   c. Red esign atin g p aragrap h (c) as (d );
   d . Ad d in g a n ew p aragrap h (c); an d by    p rovid in g n otice to th e govern m en t an d        w ith in 30 d ays of th e d ate of en try of a
   e. Revisin g n ew ly red esign ated              th e alien of th e tim e, p lace, an d d ate of        fin al ad m in istrative ord er of rem oval,
p aragrap h (d ), to read as follow s:              h earin gs.                                            d ep ortation , or exclu sion . A m otion to
                                                                                                           reop en m u st be filed w ith in 90 d ays of
§ 3.15 Contents of the order to show cause
                                                       (b) In rem oval p roceed in gs p u rsu an t         th e d ate of en try of a fin al
and notice to appear and notification of            to section 240 of th e Act, th e Service               ad m in istrative ord er of rem oval,
change of address.                                  sh all p rovid e in th e Notice to Ap p ear,           d ep ortation , or exclu sion . A m otion to
*       *      *     *      *                       th e tim e, p lace an d d ate of th e in itial         reop en or to recon sid er sh all n ot be
   (c) Con ten ts of th e N otice to A p p ear      rem oval h earin g, w h ere p racticable. If           m ad e by or on beh alf of a p erson w h o
for Rem oval Proceed in gs. In th e Notice          th at in form ation is n ot con tain ed in th e        is th e su bject of rem oval, d ep ortation , or
to Ap p ear for rem oval p roceed in gs, th e       Notice to Ap p ear, th e Im m igration Cou rt          exclu sion p roceed in gs su bsequ en t to h is
Service sh all p rovid e th e follow in g           sh all be resp on sible for sch ed u lin g th e        or h er d ep artu re from th e Un ited States.
ad m in istrative in form ation to th e             in itial rem oval h earin g an d p rovid in g          Th e tim e an d n u m erical lim itation s set
Im m igration Cou rt. Failu re to p rovid e         n otice to th e govern m en t an d th e alien          forth in th is p aragrap h d o n ot ap p ly to
an y of th ese item s sh all n ot be                of th e tim e, p lace, an d d ate of h earin g.        m otion s by th e Service in rem oval
con stru ed as afford in g th e alien an y          In th e case of an y ch an ge or                       p roceed in gs p u rsu an t to section 240 of
su bstan tive or p roced u ral righ ts.             p ostp on em en t in th e tim e an d p lace of         th e Act, or to m otion s by th e Service in
   (1) Th e alien ’s n am es an d an y kn ow n      su ch p roceed in g, th e Im m igration Cou rt         exclu sion or d ep ortation p roceed in gs,
aliases;                                            sh all p rovid e w ritten n otice to th e alien        w h en th e basis of th e m otion is frau d in
   (2) Th e alien ’s ad d ress;                     sp ecifyin g th e n ew tim e an d p lace of th e       th e origin al p roceed in g or a crim e th at
   (3) Th e alien ’s registration n u m ber,        p roceed in g an d th e con sequ en ces u n d er       w ou ld su p p ort term in ation of asylu m in
w ith an y lead alien registration n u m ber        section 240(b)(5) of th e Act of failin g,             accord an ce w ith § 208.22(f) of th is
w ith w h ich th e alien is associated ;            excep t u n d er excep tion al circu m stan ces        ch ap ter.
   (4) Th e alien ’s alleged n ation ality an d     as d efin ed in section 240(e)(1) of th e                 (i) Form an d con ten ts of th e m otion .
citizen sh ip ; an d                                Act, to atten d su ch p roceed in g. No su ch          Th e m otion sh all be in w ritin g an d
   (5) Th e lan gu age th at th e alien             n otice sh all be requ ired for an alien n ot          sign ed by th e affected p arty or th e
u n d erstan d s.                                   in d eten tion if th e alien h as failed to            attorn ey or rep resen tative of record , if
   (d ) A d d ress an d telep h on e n u m ber.     p rovid e th e ad d ress requ ired in section          an y. Th e m otion an d an y su bm ission
(1) If th e alien ’s ad d ress is n ot p rovid ed   239(a)(1)(F) of th e Act.                              m ad e in con ju n ction w ith it m u st be in
on th e Ord er to Sh ow Cau se or Notice                                                                   En glish or accom p an ied by a certified
                                                    § 3.19 [Amended]
to Ap p ear, of if th e ad d ress on th e Ord er                                                           En glish tran slation . Motion s to reop en
to Sh ow Cau se or Notice to Ap p ear is               18. Section 3.19(a) is am en d ed by                or recon sid er sh all state w h eth er th e
in correct, th e alien m u st p rovid e to th e     revisin g th e referen ce to ‘‘p art 242 of            valid ity of th e exclu sion , d ep ortation , or
Im m igration Cou rt w h ere th e ch argin g        th is ch ap ter’’ to read ‘‘8 CFR p art 236’’          rem oval ord er h as been or is th e su bject
d ocu m en t h as been filed , w ith in five        w h erever it ap p ears in th e p aragrap h .          of an y ju d icial p roceed in g an d , if so, th e
d ays of service of th at d ocu m en t, a              19. Section 3.19(d ) is am en d ed in th e          n atu re an d d ate th ereof, th e cou rt in
w ritten n otice of an ad d ress an d               first sen ten ce by ad d in g th e term ‘‘or           w h ich su ch p roceed in g took p lace or is
telep h on e n u m ber at w h ich th e alien        rem oval’’ im m ed iately after th e w ord             p en d in g, an d its resu lt or statu s. In an y
can be con tacted . Th e alien m ay satisfy         ‘‘d ep ortation ’’.                                    case in w h ich an exclu sion , d ep ortation ,
th is requ irem en t by com p letin g an d                                                                 or rem oval ord er is in effect, an y m otion
filin g Form EOIR–33.                                  20. Section 3.19 is am en d ed by                   to reop en or recon sid er su ch ord er sh all
   (2) With in five d ays of an y ch an ge of       rem ovin g p aragrap h (h ).                           in clu d e a statem en t by or on beh alf of
ad d ress, th e alien m u st p rovid e w ritten        21. In § 3.20, p aragrap h (a) is revised           th e m ovin g p arty d eclarin g w h eth er th e
n otice of th e ch an ge of ad d ress on Form       to read as follow s:                                   su bject of th e ord er is also th e su bject

                                                                                                                                       AR00461
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                          Page 80 of 350 PageID 4673
458                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

of an y p en d in g crim in al p roceed in g       m otion to reop en for th e p u rp ose of           240(e)(1) of th e Act. An ord er en tered in
u n d er th e Act, an d , if so, th e cu rren t    p rovid in g th e alien an op p ortu n ity to       absen tia p u rsu an t to section 240(b)(5)
statu s of th at p roceed in g.                    ap p ly for an y form of d iscretion ary            m ay be rescin d ed u p on a m otion to
   (ii) Filin g. Motion s to reop en or            relief w ill n ot be gran ted if it ap p ears       reop en filed at an y tim e if th e alien
recon sid er a d ecision of an Im m igration       th at th e alien ’s righ t to ap p ly for su ch     d em on strates th at h e or sh e d id n ot
Ju d ge m u st be filed w ith th e                 relief w as fu lly exp lain ed to h im or h er      receive n otice in accord an ce w ith
Im m igration Cou rt h avin g                      by th e Im m igration Ju d ge an d an               section s 239(a) (1) or (2) of th e Act, or
ad m in istrative con trol over th e Record        op p ortu n ity to ap p ly th erefore w as          th e alien d em on strates th at h e or sh e
of Proceed in g. A m otion to reop en or a         afford ed at th e h earin g, u n less th e relief   w as in Fed eral or state cu stod y an d th e
m otion to recon sid er sh all in clu d e a        is sou gh t on th e basis of circu m stan ces       failu re to ap p ear w as th rou gh n o fau lt of
certificate sh ow in g service on th e             th at h ave arisen su bsequ en t to th e            th e alien . How ever, in accord an ce w ith
op p osin g p arty of th e m otion an d all        h earin g. Pu rsu an t to section 240A(d )(1)       section 240(b)(5)(B) of th e Act, n o
attach m en ts. If th e m ovin g p arty, oth er    of th e Act, a m otion to reop en                   w ritten n otice of a ch an ge in tim e or
th an th e Service, is rep resen ted , a Form      p roceed in gs for con sid eration or fu rth er     p lace of p roceed in g sm all be requ ired if
EOIR–28, Notice of Ap p earan ce as                con sid eration of an ap p lication for relief      th e alien h as failed to p rovid e th e
Attorn ey or Rep resen tative Before an            u n d er section 240A(a) (can cellation of          ad d ress requ ired u n d er section
Im m igration Ju d ge m u st be filed w ith        rem oval for certain p erm an en t                  239(a)(1)(F) of th e Act. Th e filin g of a
th e m otion . Th e m otion m u st be filed in     resid en ts) or 240A(b) (can cellation of           m otion to reop en u n d er th is section
d u p licate w ith th e Im m igration Cou rt,      rem oval an d ad ju stm en t of statu s for         sh all stay th e rem oval of th e alien
accom p an ied by a fee receip t.                  certain n on p erm an en t resid en ts) m ay be     p en d in g d isp osition of th e m otion by
   (iii) A ssign m en t to an Im m igration        gran ted on ly if th e alien d em on strates        th e Im m igration Ju d ge. An alien m ay
Ju d ge. If th e Im m igration Ju d ge is          th at h e or sh e w as statu torily eligible for    file on ly on e m otion p u rsu an t to th is
u n available or u n able to ad ju d icate th e    su ch relief p rior to th e service of a            p aragrap h .
m otion to reop en or recon sid er, th e           n otice top ap p ear, or p rior to th e                (iii) Ord er en tered in absen tia in
Ch ief Im m igration Ju d ge or h is or h er       com m ission of an offen se referred to in          d ep ortation or ex clu sion p roceed in gs.
d elegate sh all reassign su ch m otion to         section 212(a)(2) of th e Act th at ren d ers       (A) An ord er en tered in absen tia in
an oth er Im m igration Ju d ge.                   th e alien in ad m issible or rem ovable            d ep ortation p roceed in gs m ay be
   (iv) Rep lies to m otion s; d ecision . Th e    u n d er section s 237(a)(2) of th e Act or         rescin d ed on ly a m otion to reop en filed :
Im m igration Ju d ge m ay set an d exten d        (a)(4), w h ich ever is earliest. Th e                 (1) With in 180 d ays after th e d ate of
tim e lim its for rep lies to m otion s to         Im m igration Ju d ge h as d iscretion to           th e ord er of d ep ortation if th e alien
reop en or recon sid er. A m otion sh all be       d en y a m otion to reop en even if th e            d em on strates th at th e failu re to ap p ear
d eem ed u n op p osed u n less tim ely            m ovin g p arty h as establish ed a p rim a         w as becau se of ‘‘excep tion al
resp on se is m ad e. Th e d ecision to gran t     facie case for relief.                              circu m stan ces’’ beyon d th e con trol of
or d en y a m otion to reop en or a m otion           (4) Ex cep tion s to filin g d ead lin es.       th e alien (e.g., seriou s illn ess of th e
to recon sid er is w ith in th e d iscretion of       (i) A sylu m . Th e tim e an d n u m erical      alien or seriou s illn ess or d eath of an
th e Im m igration Ju d ge.                        lim itation s set forth in p aragrap h (b)(1)       im m ed iate relative of th e alien , bu t n ot
   (v) S tays. Excep t in cases in volvin g in     of th is section sh all n ot ap p ly if th e        in clu d in g less com p ellin g
absen tia ord ers, th e filin g of a m otion to    basis of th e m otion is to ap p ly for relief      circu m stan ces); or
reop en or a m otion to recon sid er sh all        u n d er section 208 or 241(b)(3) of th e Act          (2) At an y tim e if th e alien
n ot stay th e execu tion of an y d ecision        an d is based on ch an ged cou n try                d em on strates th at h e or sh e d id n ot
m ad e in th e case. Execu tion of su ch           con d ition s arisin g in th e cou n try of         receive n otice or if th e alien
d ecision sh all p roceed u n less a stay of       n ation ality or th e cou n try to w h ich          d em on strates th at h e or sh e w as in
execu tion is sp ecifically gran ted by th e       rem oval h as been ord ered , if su ch              fed eral or state cu stod y an d th e failu re
Im m igration Ju d ge, th e Board , or an          evid en ce is m aterial an d w as n ot              to ap p ear w as th rou gh n o fau lt of th e
au th orized officer of th e Service.              available an d w ou ld n ot h ave been              alien .
   (2) Motion to recon sid er. A m otion to        d iscovered or p resen ted at th e p reviou s          (B) A m otion to reop en exclu sion
recon sid er sh all state th e reason s for th e   p roceed in g. Th e filin g of a m otion to         h earin gs on th e basis th at th e
m otion by sp ecifyin g th e errors of fact        reop en u n d er th is section sh all n ot          Im m igration Ju d ge im p rop erly en tered
or law in th e Im m igration Ju d ge’s p rior      au tom atically stay th e rem oval of th e          an ord er of exclu sion in absen tia m u st
d ecision an d sh all be su p p orted by           alien . How ever, th e alien m an y requ est        be su p p orted by evid en ce th at th e alien
p ertin en t au th ority. Su ch m otion m ay       a stay an d , if gran ted by th e Im m igration     h ad reason able cau se for h is failu re to
n ot seek recon sid eration of a d ecision         Ju d ge, th e alien sh all n ot be rem oved         ap p ear.
d en yin g p reviou s m otion to recon sid er.     p en d in g d isp osition of th e m otion by           (C) Th e filin g of a m otion to reop en
   (3) Motion to reop en . A m otion to            th e Im m igration Ju d ge. If th e origin al       u n d er p aragrap h (b)(4)(iii)(A) of th is
reop en p roceed in gs sh all state th e n ew      asylu m ap p lication w as d en ied based           section sh all stay th e d ep ortation of th e
facts th at w ill be p roven at a h earin g to     u p on a fin d in g th at it w as frivolou s,       alien p en d in g d ecision on th e m otion
be h eld if th e m otion is gran ted an d          th en th e alien is in eligible to file eith er     an d th e ad ju d ication of an y p rop erly
sh all be su p p orted by affid avits an d         a m otion to reop en or recon sid er, or for        filed ad m in istrative ap p eal.
oth er evid en tiary m aterial. An y m otion       a stay of rem oval.                                    (D) Th e tim e an d n u m erical
to reop en for th e p u rp ose of actin g on          (ii) Ord er en tered in absen tia in             lim itation s set forth in p aragrap h (b)(1)
an ap p lication for relief m u st be              rem oval p roceed in gs. An ord er of               of th is section sh all n ot ap p ly to a
accom p an ied by th e ap p rop riate              rem oval en tered in absen tia p u rsu an t to      m otion to reop en filed p u rsu an t to th e
ap p lication for relief an d all su p p ortin g   section 240(b)(5) of th e Act m ay be               p rovision s of p aragrap h s (b)(4)(iii)(A)(1)
d ocu m en ts. A m otion to reop en w ill n ot     rescin d ed on ly u p on a m otion to reop en       of th is section .
be gran ted u n less th e Im m igration Ju d ge    filed w ith in 180 d ays after th e d ate of           (iv) Join tly filed m otion s. Th e tim e
is satisfied th at evid en ce sou gh t to be       th e ord er of rem oval, if th e alien              an d n u m erical lim itation s set forth in
offered is m aterial an d w as n ot available      d em on strates th at th e failu re to ap p ear     su bsection (b)(1) of th is section sh all n ot
an d cou ld n ot h ave been d iscovered or         w as becau se of ‘‘excep tion al                    ap p ly to a m otion to reop en agreed u p on
p resen ted at th e form er h earin g. A           circu m stan ces’’ as d efin ed in section          by all p arties an d join tly filed .

                                                                                                                                  AR00462
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 81 of 350 PageID 4674
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                            459

  23. Section 3.25 is revised to read as               (8) A w aiver of ap p eal of th e w ritten         26. Section 3.30 is revised to read as
follow s:                                           ord er of d ep ortation or rem oval.                follow s:
                                                       (c) T elep h on ic or vid eo h earin gs. An
§ 3.25 Form of the proceeding.                      Im m igration Ju d ge m ay con d u ct               § 3.30 Additional charges in deportation or
   (a) W aiver of p resen ce of th e p arties.                                                          removal hearings.
                                                    h earin gs th rou gh vid eo con feren ce to
Th e Im m igration Ju d ge m ay, for good           th e sam e exten t as h e or sh e m ay                 At an y tim e d u rin g d ep ortation or
cau se, an d con sisten t w ith section             con d u ct h earin gs in p erson . An               rem oval p roceed in gs, ad d ition al or
240(b) of th e Act, w aive th e p resen ce of       Im m igration Ju d ge m ay also con d u ct a        su bstitu ted ch arges of d ep ortability an d /
th e alien at a h earin g w h en th e alien is      h earin g th rou gh a telep h on e con feren ce,    or factu al allegation s m ay be lod ged by
rep resen ted or w h en th e alien is a m in or     bu t an evid en tiary h earin g on th e m erits     th e Service in w ritin g. Th e alien sh all be
ch ild at least on e of w h ose p aren ts or        m ay on ly be con d u cted th rou gh a              served w ith a cop y of th ese ad d ition al
w h ose legal gu ard ian is p resen t. Wh en        telep h on e con feren ce w ith th e con sen t      ch arges an d / or allegation s an d th e
it is im p racticable by reason of an               of th e alien in volved after th e alien h as       Im m igration Ju d ge sh all read th em to
alien ’s m en tal in com p eten cy for th e         been ad vised of th e righ t to p roceed in         th e alien . Th e Im m igration Ju d ge sh all
alien to be p resen t, th e p resen ce of th e      p erson or, w h ere available, th rou gh a          ad vise th e alien , if h e or sh e is n ot
alien m ay be w aived p rovid ed th at th e         vid eo con feren ce, excep t th at cred ible        rep resen ted by cou n sel, th at th e alien
alien is rep resen ted at th e h earin g by an      fear d eterm in ation s m ay be review ed by        m ay be so rep resen ted . Th e alien m ay be
attorn ey or legal rep resen tative, a n ear        th e Im m igration Ju d ge th rou gh a              given a reason able con tin u an ce to
relative, legal gu ard ian , or frien d .           telep h on e con feren ce w ith ou t th e           resp on d to th e ad d ition al factu al
   (b) S tip u lated requ est for ord er,           con sen t of th e alien .                           allegation s an d ch arges. Th ereafter, th e
wavier of h earin g. An Im m igration Ju d ge          24. Section 3.26 is am en d ed by                p rovision of § 240.10(b) of th is ch ap ter
m ay en ter an ord er of d ep ortation ,            revisin g p aragrap h (c) an d ad d in g a n ew     relatin g to p lead in g sh all ap p ly to th e
exclu sion or rem oval stip u lated to by           p aragrap h (d ) to read as follow s:               ad d ition al factu al allegation s an d
th e alien (or th e alien ’s rep resen tative)                                                          ch arges.
an d th e Service. Th e Im m igration Ju d ge       § 3.26 In absentia hearings.                           27. Section 3.35 is revised to read as
m ay en ter su ch an ord er w ith ou t a            *       *      *     *      *                       follow s:
h earin g an d in th e absen ce of th e p arties       (c) In an y rem oval p roceed in g before
                                                                                                        § 3.35 Depositions and Subpoenas.
based on a review of th e ch argin g                an Im m igration Ju d ge in w h ich th e alien
                                                    fails to ap p ear, th e Im m igration Ju d ge          (a) Dep osition s. If an Im m igration
d ocu m en t, th e w ritten stip u lation , an d
                                                    sh all ord er th e alien rem oved in                Ju d ge is satisfied th at a w itn ess is n ot
su p p ortin g d ocu m en ts, if an y. If th e
                                                    absen tia if:                                       reason ably available at th e p lace of
alien is u n rep resen ted , th e Im m igration
                                                       (1) Th e Service establish es by clear,          h earin g an d th at said w itn ess’ testim on y
Ju d ge m u st d eterm in e th at th e alien ’s
                                                    u n equ ivocal, an d con vin cin g evid en ce       or oth er evid en ce is essen tial, th e
w aiver is volu n tary, kn ow in g, an d
                                                    th at th e alien is rem ovable; an d                Im m igration Ju d ge m ay ord er th e takin g
in telligen t. Th e stip u lated requ est an d
                                                       (2) Th e Service establish es by clear,          of d ep osition eith er at h is or h er ow n
requ ired w aivers sh all be sign ed on
                                                    u n equ ivocal, an d con vin cin g evid en ce       in stan ce or u p on ap p lication of a p arty.
beh alf of th e govern m en t an d by th e
                                                    th at w ritten n otice of th e tim e an d p lace    Su ch ord er sh all d esign ate th e official
alien an d h is or h er attorn ey or
                                                    of p roceed in gs an d w ritten n otice of th e     by w h om th e d ep osition sh all be taken ,
rep resen tative, if an y. Th e attorn ey or
                                                    con sequ en ces of failu re to ap p ear w ere       m ay p rescribe an d lim it th e con ten t,
rep resen tative sh all file a Notice of
                                                    p rovid ed to th e alien .                          scop e, or m an n er of takin g th e
Ap p earan ce in accord an ce w ith
                                                       (d ) Written n otice to th e alien sh all be     d ep osition , an d m ay d irect th e
§ 3.16(b). A stip u lated ord er sh all
                                                    con sid ered su fficien t for p u rp oses of        p rod u ction of d ocu m en tary evid en ce.
con stitu te a con clu sive d eterm in ation of                                                            (b) S u bp oen as issu ed su bsequ en t to
th e alien ’s d ep ortability or rem ovability      th is section if it w as p rovid ed at th e
                                                    m ost recen t ad d ress p rovid ed by th e          com m en cem en t of p roceed in gs. (1)
from th e Un ited States. Th e stip u lation                                                            Gen eral. In an y p roceed in g before an
sh all in clu d e:                                  alien . If th e resp on d en t fails to p rovid e
                                                    h is or h er ad d ress as requ ired u n d er        Im m igration Ju d ge, oth er th an u n d er 8
   (1) An ad m ission th at all factu al                                                                CFR p art 335, th e Im m igration Ju d ge
allegation s con tain ed in th e ch argin g         § 3.15(d ), n o w ritten n otice sh all be
                                                    requ ired for an Im m igration Ju d ge to           sh all h ave exclu sive ju risd iction to issu e
d ocu m en t are tru e an d correct as                                                                  su bp oen as requ irin g th e atten d an ce of
w ritten ;                                          p roceed w ith an in absen tia h earin g.
                                                    Th is p aragrap h sh all n ot ap p ly in th e       w itn esses or for th e p rod u ction of
   (2) A con cession of d ep ortability or                                                              books, p ap ers an d oth er d ocu m en tary
                                                    even t th at th e Im m igration Ju d ge w aives
in ad m issibility as ch arged ;                                                                        evid en ce, or both . An Im m igration Ju d ge
                                                    th e ap p earan ce of an alien u n d er § 3.25.
   (3) A statem en t th at th e alien m akes           25. Section 3.27 is am en d ed by                m ay issu e a su bp oen a u p on h is or h er
n o ap p lication for relief u n d er th e Act;     revisin g p aragrap h (c) to read as follow s:      ow n volition or u p on ap p lication of th e
   (4) A d esign ation of a cou n try for                                                               Service or th e alien .
d ep ortation or rem oval u n d er section          § 3.27 Public access to hearings.                      (2) A p p lication for su bp oen a. A p arty
241(b)(2)(A)(i) of th e Act;                        *      *       *     *       *                      ap p lyin g for a su bp oen a sh all be
   (5) A con cession to th e in trod u ction           (c) In an y p roceed in g before an              requ ired , as a con d ition p reced en t to its
of th e w ritten stip u lation of th e alien as     Im m igration Ju d ge con cern in g an              issu an ce, to state in w ritin g or at th e
an exh ibit to th e Record of Proceed in g;         abu sed alien sp ou se, th e h earin g an d th e    p roceed in g, w h at h e or sh e exp ects to
   (6) A statem en t th at th e alien               Record of Proceed in g sh all be closed to          p rove by su ch w itn esses or
u n d erstan d s th e con sequ en ces of th e       th e p u blic u n less th e abu sed sp ou se        d ocu m en tary evid en ce, an d to sh ow
stip u lated requ est an d th at th e alien         agrees th at th e h earin g an d th e Record        affirm atively th at h e or sh e h as m ad e
en ters th e requ est volu n tarily,                of Proceed in g sh all be op en to th e             d iligen t effort, w ith ou t su ccess, to
kn ow in gly, an d in telligen tly;                 p u blic. In an y p roceed in g before an           p rod u ce th e sam e.
   (7) A statem en t th at th e alien w ill         Im m igration Ju d ge con cern in g an                 (3) Issu an ce of su bp oen a. Up on bein g
accep t a w ritten ord er for h is or h er          abu sed alien ch ild , th e h earin g an d th e     satisfied th at a w itn ess w ill n ot ap p ear
d ep ortation , exclu sion or rem oval as a         Record of Proceed in g sh all be closed to          an d testify or p rod u ce d ocu m en tary
fin al d isp osition of th e p roceed in gs; an d   th e p u blic.                                      evid en ce an d th at th e w itn ess’ evid en ce

                                                                                                                                   AR00463
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                          Page 82 of 350 PageID 4675
460                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

is essen tial, th e Im m igration Ju d ge sh all   affirm ation ad m in istered by th e                 30. In § 1301, p aragrap h (g)(3)(ii) is
issu e a su bp oen a. Th e su bp oen a sh all      Im m igration Ju d ge. If an in terp reter is      revised to read as follow s:
state th e title of th e p roceed in g an d        n ecessary, on e w ill be p rovid ed by th e
sh all com m an d th e p erson to w h om it        Im m igration Cou rt. Th e Im m igration           § 103.1 Delegations of authority.
is d irected to atten d an d to give               Ju d ge sh all d eterm in e w h eth er th e        *       *     *      *     *
testim on y at a tim e an d p lace sp ecified .    review sh all be in p erson , or th rou gh            (g) * * *
Th e su bp oen a m ay also com m an d th e         telep h on ic or vid eo con n ection (w h ere         (3) * * *
p erson to w h om it is d irected to               available). Th e alien m ay con su lt w ith           (ii) A sylu m Officers. Asylu m officers
p rod u ce th e books, p ap ers, or                a p erson or p erson s of th e alien ’s            con stitu te a p rofession al corp s of
d ocu m en ts sp ecified in th e su bp oen a.      ch oosin g p rior to th e review .                 officers w h o serve u n d er th e
   (4) A p p earan ce of witn ess. If th e            (d ) S tan d ard of review. Th e                su p ervision an d d irection of th e
w itn ess is at a d istan ce of m ore th an 100    Im m igration Ju d ge sh all m ake a d e n ovo     Director of In tern ation al Affairs an d
m iles from th e p lace of th e p roceed in g,     d eterm in ation as to w h eth er th ere is a      sh all be sp ecially train ed as requ ired in
th e su bp oen a sh all p rovid e for th e         sign ifican t p ossibility, takin g in to          § 208.1(b) of th is ch ap ter. Asylu m
w itn ess’ ap p earan ce at th e Im m igration     accou n t th e cred ibility of th e statem en ts   officers are d elegated th e au th ority to
Cou rt n earest to th e w itn ess to resp on d     m ad e by th e alien in su p p ort of th e         h ear an d ad ju d icate cred ible fear of
to oral or w ritten in terrogatories, u n less     alien ’s claim an d su ch oth er facts as are      p ersecu tion d eterm in ation s u n d er
th ere is n o objection by an y p arty to th e     kn ow n to th e Im m igration Ju d ge, th at       section 235(b)(1)(B) of th e Act an d
w itn ess’ ap p earan ce at th e p roceed in g.    th e alien cou ld establish eligibility for        ap p lication s for asylu m an d for
   (5) S ervice. A su bp oen a issu ed u n d er    asylu m u n d er section 208 of th e Act.          w ith h old in g of rem oval, as p rovid ed
th is section m ay be served by an y                                                                  u n d er 8 CFR p art 208.
                                                      (e) T im in g. Th e Im m igration Ju d ge
p erson over 18 years of age n ot a p arty                                                            *       *     *      *     *
                                                   sh all con clu d e th e review to th e
to th e case.
   (6) In vok in g aid of cou rt. If a w itn ess   m axim u m exten t p racticable w ith in 24        § 103.5 [Amended]
n eglects or refu ses to ap p ear an d testify     h ou rs, bu t in n o case later th an 7 d ays
                                                   after th e d eterm in ation of th e asylu m          31. Section 103.5 is am en d ed by:
as d irected by th e su bp oen a served                                                                 a. Rem ovin g p aragrap h s (a)(1)(iii)(B);
u p on h im or h er in accord an ce w ith th e     officer.
                                                      (f) Decision . If an Im m igration Ju d ge        b. Red esign atin g p aragrap h s (a)(1)(iii)
p rovision s of th is section , th e                                                                  (C) th rou gh (F) as p aragrap h s (a)(1)(iii)
Im m igration Ju d ge issu in g th e su bp oen a   d eterm in es th at an alien h as a cred ible
                                                   fear of p ersecu tion , th e Im m igration         (B) th rou gh (E), resp ectively; an d
sh all requ est th e Un ited States Attorn ey                                                           c. Rem ovin g p aragrap h (a)(5)(iii).
for th e d istrict in w h ich th e su bp oen a     Ju d ge sh all vacate th e ord er en tered
                                                   p u rsu an t to section 235(b)(1)(B)(iii)(I) of      32. In § 103.5a, p aragrap h (c)(1) is
w as issu ed to rep ort su ch n eglect or
                                                   th e Act. Su bsequ en t to th e ord er bein g      revised to read as follow s:
refu sal to th e Un ited States District
Cou rt an d to requ est su ch cou rt to issu e     vacated , th e Service sh all issu e an d file     § 103.5a Service of notification, decisions,
an ord er requ irin g th e w itn ess to ap p ear   Form I–862, Notice to Ap p ear, w ith th e         and other papers by the Service.
an d testify an d to p rod u ce th e books,        Im m igration Cou rt to com m en ce                *      *       *     *     *
p ap ers or d ocu m en ts d esign ated in th e     rem oval p roceed in gs. Th e alien sh all
                                                                                                         (c) * * *
su bp oen a.                                       h ave th e op p ortu n ity to ap p ly for
                                                   asylu m in th e cou rse of rem oval                   (1) Gen erally. In an y p roceed in g
   28. In Su bp art C, a n ew § 3.42 is                                                               w h ich is in itiated by th e Service, w ith
ad d ed to read as follow s:                       p roceed in gs p u rsu an t to section 240 of
                                                   th e Act. If an Im m igration Ju d ge              p rop osed ad verse effect, service of th e
§ 3.42 Review of credible fear                     d eterm in es th at an alien d oes n ot h ave      in itiatin g n otice an d of n otice of an y
determination.                                     a cred ible fear of p ersecu tion , th e           d ecision by a Service officer sh all be
   (a) Referral. Ju risd iction for an             Im m igration Ju d ge sh all affirm th e           accom p lish ed by p erson al service,
Im m igration Ju d ge to review an ad verse        asylu m officer’s d eterm in ation an d            excep t as p rovid ed in section 239 of th e
cred ible fear fin d in g by an asylu m            rem an d th e case to th e Service for             Act.
officer p u rsu an t to section 235(b)(1)(B)       execu tion of th e rem oval ord er en tered        *      *       *     *     *
of th e Act sh all com m en ce w ith th e          p u rsu an t to section 235(b)(1)(B)(iii)(I) of       33. In § 103.6, p aragrap h (a) is revised
filin g by th e Service to Form I–863,             th e Act. No ap p eal sh all lie from a            to read as follow s:
Notice of Referral to Im m igration Ju d ge.       review of an ad verse cred ible fear
Th e Service sh all also file w ith th e                                                              § 103.6 Surety bonds.
                                                   d eterm in ation m ad e by an Im m igration
n otice of referral a cop y of th e w ritten       Ju d ge.                                              (a) Postin g of su rety bon d s.—(1)
record of d eterm in ation as d efin ed in                                                            Ex ten sion agreem en ts; con sen t of su rety;
                                                      (g) Cu stod y. An Im m igration Ju d ge
section 235(b)(1)(B)(iii)(II) of th e Act,                                                            collateral secu rity. All su rety bon d s
                                                   sh all h ave n o au th ority to review an
in clu d in g a cop y of th e alien ’s w ritten                                                       p osted in im m igration cases sh all be
                                                   alien ’s cu stod y statu s in th e cou rse of a
requ est for review , if an y.                                                                        execu ted on Form I–352, Im m igration
                                                   review of an ad verse cred ible fear
   (b) Record of p roceed in g. Th e                                                                  Bon d , a cop y of w h ich , an d an y rid er
                                                   d eterm in ation m ad e by th e Service.
Im m igration Cou rt sh all create a Record                                                           attach ed th ereto, sh all be fu rn ish ed th e
of Proceed in g for a review of an ad verse        PART 103—POWERS AND DUTIES OF                      obligor. A d istrict d irector is au th orized
cred ible fear d eterm in ation . Th is record     SERVICE OFFICERS; AVAILABILITY                     to ap p rove a bon d , a form al agreem en t
sh all be m erged w ith an y later                 OF SERVICE RECORDS                                 to exten sion of liability of su rety, a
p roceed in g p u rsu an t to section 240 of                                                          requ est for d elivery of collateral secu rity
th e Act in volvin g th e sam e alien .              29. Th e au th ority citation for p art 103      to a d u ly ap p oin ted an d u n d isch arged
   (c) Proced u res an d evid en ce. Th e          con tin u es to read as follow s:                  ad m in istrator or execu tor of th e estate of
Im m igration Ju d ge m ay receive in to             Authority: 5 U.S.C. 552, 552(a); 8 U.S.C.
                                                                                                      a d eceased d ep ositor, an d a p ow er of
evid en ce an y oral or w ritten statem en t       1101, 1103, 1201, 1252 n ote, 1252b, 1304,         attorn ey execu ted on Form I–312,
w h ich is m aterial an d relevan t to an y        1356; 31 U.S.C. 9701; E.O. 12356; 47 FR.           Design ation of Attorn ey in Fact. All
issu e in th e review . Th e testim on y of        14874, 15557; 3 CFR, 1982 Com p . p . 166; 8       oth er m atters relatin g to bon d s,
th e alien sh all be u n d er oath or              CFR p art 2.                                       in clu d in g a p ow er of attorn ey n ot

                                                                                                                                 AR00464
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                          Page 83 of 350 PageID 4676
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                               461

execu ted on Form I–312 an d a requ est            § 207.1 Eligibility.                                208.9 Proced u re for in terview before an
for d elivery of collateral secu rity to              (a) Filin g ju risd iction . An y alien w h o        asylu m officer.
oth er th an th e d ep ositor or h is or h er      believes h e or sh e is a refu gee as d efin ed     208.10 Failu re to ap p ear at an in terview
                                                                                                           before an asylu m officer.
ap p roved attorn ey in fact, sh all be            in section 101(a)(42) of th e Act, an d is
                                                                                                       208.11 Com m en ts from th e Dep artm en t of
forw ard ed to th e region al d irector for        in clu d ed in a refu gee grou p id en tified in        State.
ap p roval.                                        section 207(a) of th e Act, m ay ap p ly for        208.12 Relian ce on in form ation com p iled
   (2) Bon d rid ers.— (i) Gen eral. Bon d         ad m ission to th e Un ited States by filin g           by oth er sou rces.
rid ers sh all be p rep ared on Form I–351,        an ap p lication in accord an ce w ith              208.13 Establish in g asylu m eligibility.
Bon d Rid ers, an d attach ed to Form I–           § 207.2 w ith th e Service office h avin g          208.14 Ap p roval, d en ial, or referral of
352. If a con d ition to be in clu d ed in a       ju risd iction over th e area w h ere th e              ap p lication .
bon d is n ot on Form I–351, a rid er              ap p lican t is located . In th ose areas too       208.15 Defin ition of ‘‘firm resettlem en t.’’
                                                   d istan t from a Service office, th e               208.16 With h old in g of rem oval.
con tain in g th e con d ition sh all be
                                                                                                       208.17 Decision s.
execu ted .                                        ap p lication m ay be filed at a d esign ated
                                                                                                       208.18 Determ in in g if an asylu m
*      *      *      *      *                      Un ited States con su lar office.                       ap p lication is frivolou s.
                                                   *      *      *      *      *                       208.19 [Reserved ]
§ 103.7 [Amended]                                     39. Section 207.3 is revised to read as          208.20 Effect on exclu sion , d ep ortation , an d
  34. Section 103.7(b)(1) is am en d ed by         follow s:                                               rem oval p roceed in gs.
rem ovin g th e en try to ‘‘Form I–444’’.                                                              208.21 Restoration of statu s.
                                                   § 207.3 Waivers of inadmissibility.                 208.22 Term in ation of asylu m or
PART 204—IMMIGRANT PETITIONS                          (a) A u th ority. Section 207(c)(3) of th e          w ith h old in g or rem oval or d ep ortation .
                                                   Act sets forth grou n d s of in ad m issibility     208.23–29 [Reserved ]
  35. Th e au th ority citation for p art 204      u n d er section 212(a) of th e Act w h ich         Subpart B—Credible Fear of Persecution
con tin u es to read as follow s:                  are n ot ap p licable an d th ose w h ich m ay
                                                                                                       208.30 Cred ible fear d eterm in ation s
  Authority: 8 U.S.C. 1101, 1103, 1151, 1153,      be w aived in th e case of an oth erw ise               in volvin g stow aw ays an d ap p lican ts for
1154, 1182, 1186a, 1255; 8 CFR p art 2.            qu alified refu gee an d th e con d ition s             ad m ission fou n d in ad m issible p u rsu an t
                                                   u n d er w h ich su ch w aivers m ay be                 to section 212(a)(6)(C) or 212(a)(7) of th e
   36. Section 204.2 is am en d ed by:
                                                   ap p roved . Officers in ch arge of overseas            Act.
   a. Revisin g p aragrap h (a)(1)(iii)            offices are d elegated au th ority to in itiate
in trod u ctory text;                                                                                    Authority: 8 U.S.C. 1103, 1158, 1226, 1252,
                                                   th e n ecessary in vestigation s to establish       1282; 8 CFR p art 2.
   b. Rem ovin g p aragrap h s (a)(1)(iii) (A)     th e facts in each w aiver ap p lication
th rou gh (C); an d                                p en d in g before th em an d to ap p rove or       Subpart A—Asylum and Withholding
   c. Red esign atin g p aragrap h s (a)(1)(iii)   d en y su ch w aivers.                              of Removal
(D) th rou gh (I) as p aragrap h s (a)(1)(iii)        (b) Filin g requ irem en ts. Th e ap p lican t
(A) th rou gh (F) resp ectively, to read as        for a w aiver m u st su bm it Form I–602,           § 208.1 General.
follow s:                                          Ap p lication by Refu gee for Waiver of                (a) A p p licability. Un less oth erw ise
                                                   Grou n d s of In ad m issibility, w ith th e        p rovid ed h erein , th is su bp art sh all
§ 204.2 Petitions for relatives, widows, and                                                           ap p ly to all ap p lication s for asylu m
widowers, and abused spouses and                   Service office p rocessin g h is or h er case.
                                                   Th e bu rd en is on th e ap p lican t to sh ow      u n d er section 208 of th e Act or for
children.
                                                   th at th e w aiver sh ou ld be gran ted based       w ith h old in g of d ep ortation or
*       *      *     *     *                                                                           w ith h old in g of rem oval u n d er section
                                                   u p on h u m an itarian grou n d s, fam ily
   (a) * * *                                                                                           241(b)(3) of th e Act, w h eth er before an
                                                   u n ity, or th e p u blic in terest. Th e
   (1) * * *                                                                                           asylu m officer or an im m igration ju d ge,
                                                   ap p lican t sh all be n otified in w ritin g of
   (iii) Marriage d u rin g p roceed in gs—                                                            regard less of th e d ate of filin g. For
                                                   th e d ecision , in clu d in g th e reason s for
gen eral p roh ibition again st ap p roval of      d en ial, if th e ap p lication is d en ied .       p u rp oses of th is ch ap ter, w ith h old in g of
visa p etition . A visa p etition filed on         Th ere is n o ap p eal from su ch d ecision .       rem oval sh all also m ean w ith h old in g of
beh alf of an alien by a Un ited States                                                                d ep ortation u n d er section 243(h ) of th e
citizen or a law fu l p erm an en t resid en t     § 207.8 [Amended]                                   Act, as it ap p eared p rior to Ap ril 1,
sp ou se sh all n ot be ap p roved if th e            40. Section 207.8 is am en d ed in th e          1997, excep t as p rovid ed in § 208.16(c)
m arriage creatin g th e relation sh ip            last sen ten ce by revisin g th e referen ce to     of th is ch ap ter. Su ch ap p lication s are
occu rred on or after Novem ber 10, 1986,          ‘‘section s 235, 236, an d 237’’ to read            h erein after referred to gen erically as
an d w h ile th e alien w as in exclu sion ,       ‘‘section s 235, 240, an d 241’’.                   asylu m ap p lication s. Th e p rovision s of
d ep ortation , or rem oval p roceed in gs, or        41. Part 208 is revised to read as               th is p art sh all n ot affect th e fin ality or
ju d icial p roceed in gs relatin g th ereto.      follow s:                                           valid ity of an y d ecision m ad e by a
Determ in ation of com m en cem en t an d                                                              d istrict d irector, an im m igration ju d ge,
term in ation of p roceed in gs an d               PART 208—PROCEDURES FOR
                                                                                                       or th e Board of Im m igration Ap p eals in
exem p tion s sh all be in accord an ce w ith      ASYLUM AND WITHHOLDING OF
                                                                                                       an y su ch case p rior to Ap ril 1, 1997. No
§ 245.1(c)(8) of th is ch ap ter.                  REMOVAL
                                                                                                       asylu m ap p lication th at w as filed w ith
*       *      *     *     *                       Subpart A—Asylum and Withholding of                 a d istrict d irector, asylu m officer or
                                                   Removal                                             im m igration ju d ge p rior to Ap ril 1,
PART 207—ADMISSION OF                              Sec.                                                1997, m ay be reop en ed or oth erw ise
REFUGEES                                           208.1 Gen eral.                                     recon sid ered u n d er th e p rovision s of
                                                   208.2 Ju risd iction .                              th is p art excep t by m otion gran ted in
   37. Th e au th ority citation for p art 207     208.3 Form of ap p lication .
is revised to read as follow s:                                                                        th e exercise of d iscretion by th e Board
                                                   208.4 Filin g th e ap p lication .                  of Im m igration Ap p eals, an im m igration
  Authority: 8 U.S.C. 1101, 1103, 1151, 1157,      208.5 Sp ecial d u ties tow ard alien s in
                                                                                                       ju d ge, or an asylu m officer for p rop er
1159, 1182; 8 CFR p art 2.                              cu stod y of th e Service.
                                                   208.6 Disclosu re to th ird p arties.               cau se sh ow n . Motion s to reop en or
   38. Section 207.1 is am en d ed by              208.7 Em p loym en t au th orization .              recon sid er m u st m eet th e requ irem en ts
rem ovin g p aragrap h (e), an d by revisin g      208.8 Lim itation s on travel ou tsid e th e        of section s 240(c)(5) an d (c)(6) of th e
p aragrap h (a) to read as follow s:                    Un ited States.                                Act, an d 8 CFR p arts 3 an d 103, w h ere

                                                                                                                                    AR00465
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 84 of 350 PageID 4677
462                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

ap p licable. Th e p rovision s of th is p art         (ii) An alien stow aw ay w h o h as been         ad d ition al cop y of th e p rin cip al
relatin g to a p erson con victed of an             fou n d to h ave a cred ible fear of                ap p lican t’s Form I–589 m u st be
aggravated felon y, as d efin ed in section         p ersecu tion p u rsu an t to th e p roced u re     su bm itted for each d ep en d en t in clu d ed
101(a)(43) of th e Act, sh all ap p ly to           set forth in Su bp art B of th is p art;            in th e p rin cip al’s ap p lication . An
asylu m ap p lication s th at are filed on or          (iii) An alien w h o is an ap p lican t for      ap p lication sh all be accom p an ied by
after Novem ber 29, 1990.                           ad m ission p u rsu an t to th e Visa Waiver        on e com p leted fin gerp rin t card , Form
   (b) T rain in g of asylu m officers. Th e        Pilot Program u n d er section 217 of th e          FD–258, for every in d ivid u al in clu d ed
Director of In tern ation al Affairs sh all         Act;                                                in th e ap p lication w h o is 14 years of age
en su re th at asylu m officers receive                (iv) An alien w h o w as ad m itted to th e      or old er. Th e ap p lication also sh all be
sp ecial train in g in in tern ation al h u m an    Un ited States p u rsu an t to th e Visa            accom p an ied by tw o p h otograp h s of th e
righ ts law , n on ad versarial in terview          Waiver Pilot Program u n d er section 217           ap p lican t an d of each d ep en d en t
tech n iqu es, an d oth er relevan t n ation al     of th e Act an d h as rem ain ed lon ger th an      in clu d ed in th e ap p lication .
an d in tern ation al refu gee law s an d           au th orized or h as oth erw ise violated h is         (b) An asylu m ap p lication sh all be
p rin cip les. Th e Director of In tern ation al    or h er im m igration statu s;                      d eem ed to con stitu te at th e sam e tim e
Affairs sh all also, in coop eration w ith             (v) An alien w h o h as been ord ered            an ap p lication for w ith h old in g of
th e Dep artm en t of State an d oth er             rem oved u n d er section 235(c) of th e            rem oval, u n less ad ju d icated in
ap p rop riate sou rces, com p ile an d             Act; or                                             d ep ortation or exclu sion p roceed in gs
d issem in ate to asylu m officers                     (vi) An alien w h o is an ap p lican t for       com m en ced p rior to Ap ril 1, 1997. In
in form ation con cern in g th e p ersecu tion      ad m ission , or h as been ad m itted , as an       su ch in stan ces, th e asylu m ap p lication
of p erson s in oth er cou n tries on accou n t     alien classified u n d er section                   sh all be d eem ed to con stitu te an
of race, religion , n ation ality,                  101(a)(15)(S) of th e Act.                          ap p lication for w ith h old in g of
                                                       (2) Ru les of p roced u re. Proceed in g         d ep ortation u n d er section 243(h ) of th e
m em bersh ip in a p articu lar social grou p ,
                                                    fallin g u n d er th e ju risd iction of th e       Act, as th at section existed p rior to its
or p olitical op in ion , as w ell as oth er
                                                    im m igration ju d ge p u rsu an t to               am en d m en t by Pu b. L. 104–208.
in form ation relevan t to asylu m
                                                    p aragrap h (b)(1) of th is section sh all be          (c) Form I–589 sh all be filed u n d er th e
d eterm in ation s, an d sh all m ain tain a
                                                    con d u cted in accord an ce w ith th e sam e       follow in g con d ition s an d sh all h ave th e
d ocu m en tation cen ter w ith in form ation
                                                    ru les of p roced u re as p roceed in gs            follow in g con sequ en ces:
on h u m an righ ts con d ition s.
                                                    con d u cted u n d er 8 CFR p art 240, excep t         (1) In form ation p rovid ed on th e
§ 208.2 Jurisdiction.                               th e scop e of review sh all be lim ited to         ap p lication m ay be u sed as a basis for
   (a) Office of In tern ation al A ffairs.         a d eterm in ation of w h eth er th e alien is      th e in stitu tion of or as evid en ce in
Excep t as p rovid ed in p aragrap h (b) of         eligible for asylu m or w ith h old in g of         rem oval p roceed in gs, an d in d ep ortation
th is section , th e Office of In tern ation al     rem oval an d w h eth er asylu m sh all be          an d exclu sion p roceed in gs w h ere th e
                                                    gran ted in th e exercise of d iscretion .          ap p lication h as been filed on or after
Affairs sh all h ave in itial ju risd iction
                                                    Du rin g su ch p roceed in g all p arties are       Jan u ary 4, 1995, as w ell as to satisfy th e
over an asylu m ap p lication filed by, or
                                                    p roh ibited from raisin g or con sid erin g        Service’s bu rd en of p roof in su ch
a cred ible fear d eterm in ation p ertain in g
                                                    an y oth er issu es, in clu d in g bu t n ot        p roceed in gs;
to, an alien p h ysically p resen t in th e                                                                (2) Th e ap p lican t an d an yon e oth er
Un ited States or seekin g ad m ission at a         lim ited to issu es of ad m issibility,
                                                    rem ovability, eligibility for w aivers, an d       th an a sp ou se, p aren t, son , or d au gh ter
p ort-of-en try. An ap p lication th at is                                                              of th e ap p lican t w h o assists th e
com p lete w ith in th e m ean in g of              eligibility for an y form of relief oth er
                                                    th an asylu m or w ith h old in g of rem oval.      ap p lican t in p rep arin g th e ap p lication
§ 208.3(c)(3) sh all be eith er ad ju d icated                                                          m u st sign th e ap p lication u n d er p en alty
or referred by asylu m officers u n d er th is         (3) oth er alien s. Im m igration ju d ges
                                                    sh all h ave exclu sive ju risd iction over         of p erju ry. Th e ap p lican t’s sign atu re is
p art in accord an ce w ith § 208.14. An                                                                evid en ce th at th e ap p lican t is a aw are of
ap p lication th at is in com p lete w ith in       asylu m ap p lication s filed by an alien
                                                    w h o h as been served Form I–221, Ord er           th e con ten ts of th e ap p lication . A
th e m ean in g of § 208.3(c)(3) sh all be                                                              p erson oth er th an a relative sp ecified in
retu rn ed to th e ap p lican t. Excep t as         to Sh ow Cau se; Form I–122, Notice to
                                                    Ap p lican t for Ad m ission Detain ed for a        th is p aragrap h w h o assists th e ap p lican t
p rovid ed in § 208.16(a), an asylu m                                                                   in p rep arin g th e ap p lication also m u st
officer sh all n ot d ecid e w h eth er an alien    Hearin g before an Im m igration Ju d ge; or
                                                    Form I–862, Notice to Ap p ear, after a             p rovid e h is or h er fu ll m ailin g ad d ress;
is en titled to w ith h old in g of rem oval                                                               (3) An asylu m ap p lication th at d oes
u n d er section 241(b)(3) of th e Act.             cop y of th e ch argin g d ocu m en t h as been
                                                    filed w ith th e Im m igration Cou rt.              n ot in clu d e a resp on se to each of th e
   (b) Im m igration Cou rt. (1) Certain                                                                qu estion s con tain ed in th e Form I–589,
                                                    Im m igration ju d ges sh all also h ave
alien s n ot en titled to p roceed in gs u n d er                                                       is u n sign ed , or is u n accom p an ied by th e
                                                    ju risd iction over an y asylu m
section 240 of th e A ct. After Form I–863,                                                             requ ired m aterials sp ecified in
                                                    ap p lication s filed p rior to Ap ril 1, 1997,
Notice of Referral to Im m igration Ju d ge,                                                            p aragrap h (a) of th is section is
                                                    by alien crew m em bers w h o h ave
h as been filed w ith th e Im m igration                                                                in com p lete. Th e fillin g of an in com p lete
                                                    rem ain ed in th e Un ited States lon ger
Cou rt, an im m igration ju d ge sh all h ave                                                           ap p lication sh all n ot com m en ce th e
                                                    th an au th orized , by ap p lican ts for
exclu sive ju risd iction over an y asylu m                                                             150-d ay p eriod after w h ich th e
                                                    ad m ission u n d er th e Visa Waiver Pilot
ap p lication filed on or after Ap ril 1,                                                               ap p lican t m ay file an ap p lication for
                                                    Program , an d by alien s w h o h ave been
1997, by:                                                                                               em p loym en t au th orization in
                                                    ad m itted to th e Un ited States u n d er th e
   (i) An alien crew m an w h o:                                                                        accord an ce w ith § 208.7. An ap p lication
                                                    Visa Waiver Pilot Program .
   (A) Is an ap p lican t for a lan d in g                                                              th at is in com p lete sh all be retu n ed by
p erm it;                                           § 208.3 Form of application.                        m ail to th e ap p lican t w ith in 30 d ays of
   (B) Has been refu sed p erm ission to               (a) An asylu m ap p lican t m u st file, in      th e receip t of th e ap p lication by th e
lan d u n d er section 252 of th e Act; or          trip licate, Form I–589 togeth er w ith an y        Service. If th e Service h as n ot m ailed
   (C) Has been gran ted p erm ission to            ad d ition al su p p ortin g m aterial. Th e        th e in com p lete ap p lication back to th e
lan d u n d er section 252 of th e Act,             ap p lican t’s sp ou se an d ch ild ren sh all be   ap p lican t w ith in 30 d ays, it sh all be
regard less of w h eth er th e alien h as           listed on th e ap p lication an d m ay be           d eem ed com p lete;
rem ain ed in th e Un ited States lon ger           in clu d ed in th e requ est for asylu m if            (4) Kn ow in g p lacem en t of false
th an au th orized ;                                th ey are in th e Un ited States. On e              in form ation on th e ap p lication m ay

                                                                                                                                   AR00466
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                         Page 85 of 350 PageID 4678
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                          463

su bject th e p erson p lacin g th at              th e ap p lican t’s resid en ce or, in th e case   bu t an y d elay cau sed by su ch requ est
in form ation on th e ap p lication to             of an alien w ith ou t a Un ited States            sh all exten d th e p eriod w ith in w h ich
crim in al p en alties u n d er title 18 of th e   resid en ce, th e ap p lican t’s cu rren t         th e ap p lication m ay n ot ap p ly for
Un ited States Cod e an d to civil                 lod gin g or th e lan d bord er p ort-of-en try    em p loym en t au th orization in
p en alties u n d er section 274C of th e Act;     th rou gh w h ich th e alien seeks                 accord an ce w ith § 208.7(a).
an d                                               ad m ission to th e Un ited States.
   (5) Kn ow in g filin g of a frivolou s             (2) W ith th e asylu m office. Asylu m          § 208.5 Special duties toward aliens in
                                                                                                      custody of the Service.
ap p lication on or after Ap ril 1, 1997, so       ap p lication s sh all be filed d irectly w ith
lon g as th e ap p lican t h as received th e      th e asylu m office h avin g ju risd iction           (a) Gen eral. Wh en an alien in th e
n otice requ ired by section 208(d )(4) of         over th e m atter in th e case of an alien         cu stod y of th e Service requ ests asylu m
th e Act, sh all ren d er th e ap p lican t        w h o h as received th e exp ress con sen t of     or w ith h old in g of rem oval or exp resses
p erm an en tly in eligible for an y ben efits     th e Director of Asylu m to d o so.                a fear of p ersecu tion or h arm u p on
u n d er th e Act p u rsu an t to § 208.18.           (3) W ith th e im m igration ju d ge.           retu rn to h is or h er cou n try of origin or
                                                   Aslyu m ap p lication s sh all be filed            to agen ts th ereof, th e Service sh all m ake
§ 208.4 Filing the application.                    d irectly w ith th e Im m igration Cou rt          available th e ap p rop riate ap p lication
   Excep t as p roh ibited in p aragrap h (a)      h avin g ju risd iction over th e case in th e     form s an d sh all p rovid e th e ap p lican t
of th is section , asylu m ap p lication s         follow in g circu m stan ces:                      w ith th e in form ation requ ired by section
sh all be filed in accord an ce w ith                 (i) Du rin g exclu sion , d ep ortation , or    208(d )(4) of th e Act, excep t in th e case
p aragrap h (b) of th is section .                 rem oval p roceed in gs, w ith th e                of an alien w h o is in cu stod y p en d in g
   (a) Proh ibition s on filin g. Section          Im m igration Cou rt h avin g ju risd iction       a cred ible fear of p ersecu tion
208(a)(2) of th e Act p roh ibits certain          over th e p ort, d istrict office, or sector       d eterm in ation u n d er section
alien s from filin g for asylu m on or after       after service an d filin g of th e                 235(b)(1)(B) of th e Act. Wh ere p ossible,
Ap ril 1, 1997, u n less th e alien can            ap p rop riate ch argin g d ocu m en t.            exp ed ited con sid eration sh all be given
d em on strate th at th e excep tion s in             (ii) After com p letion of exclu sion ,         to ap p lication s of d etain ed alien s.
section 208(a)(2)(D) of th e Act ap p ly.          d ep ortation , or rem oval p roceed in gs,        Excep t as p rovid ed in p aragrap h (c) of
For th e p u rp ose of m akin g                    an d in con ju n ction w ith a m otion to          th is section , su ch alien sh all n ot be
d eterm in ation s u n d er section 208(a)(2)      reop en p u rsu an t to 8 CFR p art 3 w h ere      exclu d ed , d ep orted , or rem oved before a
of th e Act, th e follow in g ru les sh all        ap p licable, w ith th e Im m igration Cou rt      d ecision is ren d ered on h is or h er
ap p ly:                                           h avin g ju risd iction over th e p rior           asylu m ap p lication .
   (1) For th e p u rp ose of section              p roceed in g. An y su ch m otion m u st              (b) Certain alien s aboard vessels. (1)
208(a)(2)(C) of th e Act, an asylu m               reason ably exp lain th e failu re to requ est     If an alien crew m an or alien stow aw ay
ap p lication h as n ot been d en ied u n less     asylu m p rior to th e com p letion of th e        on board a vessel or oth er con veyan ce
d en ied by an im m igration ju d ge or th e       p roceed in gs                                     alleges, claim s, or oth erw ise m akes
Board of Im m igration Ap p eals;                     (iii) In asylu m p roceed in gs p u rsu an t    kn ow n to an im m igration in sp ector or
   (2) Th e term ‘‘ch an ged                       to § 208.2(b)(1) an d after th e Notice of         oth er official m akin g an exam in ation on
circu m stan ces’’ in section 208(a)(2)(D)         Referral to Im m igration Ju d ge h as been        th e con veyan ce th at h e or sh e is u n able
of th e Act sh all refer to circu m stan ces       served on th e alien an d filed w ith th e         or u n w illin g to retu rn to h is or h er
m aterially affectin g th e ap p lican t’s         Im m igration Cou rt h avin g ju risd iction       cou n try of n ation ality or last h abitu al
eligibility for asylu m th at h ave arisen :       over th e case.                                    resid en ce (if n ot a n ation al of an y
   (i) For th e p u rp ose of section                 (4) W ith th e Board of Im m igration           cou n try) becau se of p ersecu tion or a fear
208(a)(2)(C) of th e Act, sin ce th e d en ial     A p p eals. In con ju n ction w ith a m otion      of p ersecu tion in th at cou n try on
of th e last asylu m ap p lication by th e         to rem an d or reop en p u rsu an t to §§ 3.2      accou n t of race, religion , n ation ality,
alien . Ch an ged circu m stan ces arisin g        an d 3.8 of th is ch ap ter w h ere                m em bersh ip in a p articu lar social grou p ,
after th e d en ial of th e ap p lication bu t     ap p licable, an in itial asylu m ap p lication    or p olitical op in ion , th e alien sh all be
before th e alien ’s d ep artu re or rem oval      sh all be filed w ith th e Board of                p rom p tly rem oved from th e con veyan ce.
from th e Un ited States sh all on ly be           Im m igration Ap p eals if ju risd iction over     If th e alien m akes su ch fear kn ow n to an
con sid ered as p art of a m otion to reop en      th e p roceed in gs is vested in th e Board        official w h ile off su ch con veyan ce, th e
u n d er section 240(c)(6) of th e Act an d        of Im m igration Ap p eals u n d er 8 CFR          alien sh all n ot be retu rn ed to th e
§§ 3.2, 3.23 an d 103.5 of th is ch ap ter; or     p art 3. An y su ch m otion m u st                 con veyan ce bu t sh all be retain ed in or
   (ii) For th e p u rp ose of section             reason ably exp lain th e failu re to requ est     tran sferred to th e cu stod y of th e Service.
208(a)(2)(B) of th e Act, sin ce th e 1-year       asylu m p rior to th e com p letion of th e           (i) An alien stow aw ay w ill be referred
p eriod h as exp ired ; an d                       p roceed in gs.                                    to an asylu m officer for a cred ible fear
   (3) Th e term ‘‘extraord in ary                    (5) W ith th e d istrict d irector. In th e     d eterm in ation u n d er § 208.30.
circu m stan ces’’ in section 208(a)(2)(D)         case of an y alien d escribed in                      (ii) An alien crew m an sh all be
of th e Act sh all refer to even ts or factors     § 208.2(b)(1) an d p rior to th e service on       p rovid ed th e ap p rop riate ap p lication s
beyon d th e alien ’s con trol th at cau sed       th e alien of Form I–863, an y asylu m             form s an d in form ation requ ired by
th e failu re to m eet th e 1-year d ead lin e.    ap p lication sh all be su bm itted to th e        section 208(d )(4) of th e Act an d m ay
Su ch circu m stan ces sh all excu se th e         d istrict d irector h avin g ju risd iction        th en h ave 10 d ays w ith in w h ich to
failu re to file w ith in th e 1-year p eriod      p u rsu an t to 8 CFR p art 103. Th e d istrict    su bm it an asylu m ap p lication to th e
so lon g as th e alien filed th e ap p lication    d irector sh all forw ard su ch asylu m            d istrict d irector h avin g ju risd iction over
as soon after th e d ead lin e as p racticable     ap p lication to th e ap p rop riate               th e p ort of en try. Th e d istrict d irector,
given th ose circu m stan ces.                     Im m igration Cou rt w ith th e Form I–863         p u rsu an t to § 208.4(b), sh all serve Form
   (b) Filin g location . (1) W ith th e service   bein g filed w ith th at Im m igration Cou rt.     I–863 on th e alien an d im m ed iately
cen ter by m ail. Excep t as p rovid ed in            (c) A m en d in g an ap p lication after        forw ard an y su ch ap p lication to th e
p aragrap h s (b)(2), (b)(3), (b)(4) an d (b)(5)   filin g. Up on requ est of th e alien an d as      ap p rop riate Im m igration Cou rt w ith a
of th is section , asylu m ap p lication s         a m atter of d iscretion , th e asylu m officer    cop y of th e Form I–863 bein g filed w ith
sh all be filed d irectly by m ail w ith th e      or im m igration ju d ge h avin g ju risd iction   th at cou rt.
service cen ter servicin g th e asylu m            m ay p erm it an asylu m ap p lican t to              (2) Pen d in g ad ju d ication of th e
office w ith ju risd iction over th e p lace of    am en d or su p p lem en t th e ap p lication ,    ap p lication , an d , in th e case of a

                                                                                                                                 AR00467
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 86 of 350 PageID 4679
464                   Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

stow aw ay th e cred ible fear                       § 208.7 Employment authorization.                   ap p lication s for asylu m filed on or after
d eterm in ation an d an y review th ereof,             (a) A p p lication an d ap p roval. (1)          Jan u ary 4, 1995.
th e alien m ay be d etain ed by th e Service        Su bject to th e restriction s con tain ed in          (b) Ren ewal an d term in ation .
or oth erw ise p aroled in accord an ce w ith        section s 236(a) an d 208(d ) of th e Act, an       Em p loym en t au th orization sh all be
§ 212.5 of th is ch ap ter. How ever,                ap p lican t for asylu m w h o is n ot an           ren ew able, in in crem en ts to be
p en d in g th e cred ible fear d eterm in ation ,   aggravated felon sh all be eligible                 d eterm in ed by th e Com m ission er, for
p arole of an alien stow aw ay m ay be               p u rsu an t to §§ 274a.12(c)(8) an d               th e con tin u ou s p eriod of tim e n ecessary
p erm itted on ly w h en th e Attorn ey              274a.13(a) of th is ch ap ter to su bm it a         for th e asylu m officer or im m igration
Gen eral d eterm in es, in th e exercise of          Form I–765, Ap p lication for                       ju d ge to d ecid e th e asylu m ap p lication
d iscretion , th at p arole is requ ired to          Em p loym en t Au th orization . Th e               an d , if n ecessary, for com p letion of an y
m eet a m ed ical em ergen cy or is                  ap p lication sh all be su bm itted n o earlier     ad m in istrative or ju d icial review .
n ecessary for a legitim ate law                     th an 150 d ays after th e d ate on w h ich            (1) If th e asylu m ap p lication is d en ied
en forcem en t objective.                            a com p lete asylu m ap p lication                  by th e asylu m officer, th e em p loym en t
   (c) Ex cep tion to p roh ibition on               su bm itted in accord an ce w ith §§ 208.3          au th orization sh all term in ate at th e
rem oval. A m otion to reop en or an ord er          an d 208.4 h as been received . If an               exp iration of th e em p loym en t
to rem an d accom p an ied by an asylu m             asylu m ap p lication h as been retu rn ed as       au th orization d ocu m en t or 60 d ays after
ap p lication p u rsu an t to § 208.4(b)(3)(iii)     in com p lete in accord an ce w ith                 th e d en ial of asylu m , w h ich ever is
sh all n ot stay execu tion of a fin al              § 208.3(c)(3), th e 150-d ay p eriod w ill          lon ger.
exclu sion , d ep ortation , or rem oval ord er      com m en ce u p on receip t by th e Service            (2) If th e ap p lication is d en ied by th e
u n less su ch stay is sp ecifically gran ted        of a com p lete asylu m ap p lication . An          im m igration ju d ge, th e Board of
by th e Board of Im m igration Ap p eals or          ap p lican t w h ose asylu m ap p lication h as     Im m igration Ap p eals, or a Fed eral cou rt,
th e im m igration ju d ge h avin g                  been d en ied by an asylu m officer or by           th e em p loym en t au th orization
ju risd iction over th e m otion .                   an im m igration ju d ge w ith in th e 150-         term in ates u p on th e exp iration of th e
                                                     d ay p eriod sh all n ot be eligible to ap p ly     em p loym en t au th orization d ocu m en t,
§ 208.6 Disclosure to third parties.                 for em p loym en t au th orization . If an          u n less th e ap p lican t h as filed an
   (a) In form ation con tain ed in or               asylu m ap p lication is d en ied p rior to a       ap p rop riate requ est for ad m in istrative or
p ertain in g to an y asylu m ap p lication          d ecision on th e ap p lication for                 ju d icial review .
sh all n ot be d isclosed w ith ou t th e            em p loym en t au th orization , th e                  (c) S u p p ortin g evid en ce for ren ewal of
w ritten con sen t of th e ap p lican t, excep t     ap p lication for em p loym en t                    em p loym en t au th oriz ation . In ord er for
as p erm itted by th is section or at th e           au th orization sh all be d en ied . If th e        em p loym en t au th orization to be
d iscretion of th e Attorn ey Gen eral.              asylu m ap p lication is n ot so d en ied , th e    ren ew ed u n d er th is section , th e alien
   (b) Th e con fid en tiality of oth er             Service sh all h ave 30 d ays from th e d ate       m u st p rovid e th e Service (in accord an ce
record s kep t by th e Service th at in d icate      of filin g of th e Form I–765 to gran t or          w ith th e in stru ction s on or attach ed to
                                                     d en y th at ap p lication , excep t th at n o      th e em p loym en t au th orization
th at a sp ecific alien h as ap p lied for
                                                     em p loym en t au th orization sh all be            ap p lication ) w ith a Form I–765, th e
asylu m sh all also be p rotected from
                                                     issu ed to an asylu m ap p lican t p rior to        requ ired fee (u n less w aived in
d isclosu re. Th e Service w ill coord in ate
                                                     th e exp iration of th e 180-d ay p eriod           accord an ce w ith § 103.7(c) of th is
w ith th e Dep artm en t of State to en su re
                                                     follow in g th e filin g of th e asylu m
th at th e con fid en tially of th ese record s                                                          ch ap ter), an d (if ap p licable) p roof th at
                                                     ap p lication filed on or after Ap ril 1,
is m ain tain ed if th ey are tran sm itted to                                                           h e or sh e h as con tin u ed to p u rsu e h is
                                                     1997.
Dep artm en t of State offices in oth er                (2) Em p loym en t au th orization               or h er asylu m ap p lication before an
cou n tries.                                         p u rsu an t to § 274a.12(c)(8) of th is            im m igration ju d ge or sou gh t
   (c) Th is section sh all n ot ap p ly to an y     ch ap ter m ay n ot be gran ted to an alien         ad m in istrative or ju d icial review . For
d isclosu re to:                                     w h o fails to ap p ear for a sch ed u led          p u rp oses of em p loym en t au th orization ,
   (1) An y Un ited States Govern m en t             in terview before an asylu m officer or a           p u rsu it of an asylu m ap p lication is
official or con tractor h avin g a n eed to          h earin g before an im m igration ju d ge,          establish ed by p resen tin g to th e Service
exam in e in form ation in con n ection              u n less th e ap p lican t d em on strates th at    on e of th e follow in g, d ep en d in g on th e
w ith :                                              th e failu re to ap p ear w as th e resu lt of      stage of th e alien ’s im m igration
   (i) Th e ad ju d ication of asylu m               excep tion al circu m stan ces.                     p roceed in gs:
ap p lication s;                                        (3) Th e tim e p eriod s w ith in w h ich th e      (1) If th e alien ’s case is p en d in g in
                                                     alien m ay n ot ap p ly for em p loym en t          p roceed in gs before th e im m igration
   (ii) Th e d efen se of an y legal action
                                                     au th orization an d w ith in w h ich th e          ju d ge, an d th e alien w ish es to con tin u e
arisin g from th e ad ju d ication of or
                                                     Service m u st resp on d to an y su ch              to p u rsu e h is or h er asylu m ap p lication ,
failu re to ad ju d icate th e asylu m
                                                     ap p lication an d w ith in w h ich th e            a cop y of an y asylu m d en ial, referral
ap p lication ;
                                                     asylu m ap p lication m u st be ad ju d icated      n otice, or ch argin g d ocu m en t p lacin g
   (iii) Th e d efen se of an y legal action of                                                          th e alien in su ch p roceed in gs;
w h ich th e asylu m ap p lication is a p art;       p u rsu an t to section 208(d )(5)(A)(iii) of
                                                     th e Act sh all begin w h en th e alien h as           (2) If th e im m igration ju d ge h as
or                                                                                                       d en ied asylu m , a cop y of th e d ocu m en t
                                                     filed a com p lete asylu m ap p lication in
   (iv) An y Un ited States Govern m en t            accord an ce w ith §§ 208.3 an d 208.4.             issu ed by th e Board of Im m igration
in vestigation con cern in g an y crim in al or      An y d elay requ ested or cau sed by th e           Ap p eals to sh ow th at a tim ely ap p eal
civil m atter; or                                    ap p lican t sh all n ot be cou n ted as p art of   h as been filed from a d en ial of th e
   (2) An y Fed eral, state, or local cou rt         th ese tim e p eriod s. Su ch tim e p eriod s       asylu m ap p lication by th e im m igration
in th e Un ited States con sid erin g an y           also sh all be exten d ed by th e equ ivalen t      ju d ge; or
legal action :                                       of th e tim e betw een issu an ce of a                 (3) If th e Board of Im m igration
   (i) Arisin g from th e ad ju d ication of or      requ est for evid en ce u n d er § 103.2(b)(8)      Ap p eals h as d ism issed th e alien ’s
failu re to ad ju d icate th e asylu m               of th is ch ap ter an d th e receip t of th e       ap p eal of a d en ial of asylu m , or
ap p lication ; or                                   ap p lican t’s resp on se to su ch requ est.        su stain ed an ap p eal by th e Service of a
   (ii) Arisin g from th e p roceed in gs of            (4) Th e p rovision s of p aragrap h s (a)       gran t of asylu m , a cop y of th e p etition
w h ich th e asylu m ap p lication is a p art.       (1) th rou gh (3) of th is section ap p ly to       for ju d icial review or for h abeas corp u s

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 87 of 350 PageID 4680
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                              465

p u rsu an t to section 242 of th e Act, d ate       w ritin g. Up on com p letion of th e               ap p lication , w aiver of th e righ t to an
stam p ed by th e ap p rop riate cou rt.             in terview , th e ap p lican t sh all be            in terview , or d en ial of an y ap p lication
   (d ) In ord er for em p loym en t                 in form ed th at h e or sh e m u st ap p ear in     for an em p loym en t au th orization
au th orization to be ren ew ed before its           p erson to receive an d to ackn ow led ge           d ocu m en t. Failu re to ap p ear sh all be
exp iration , th e ap p lication for ren ew al       receip t of th e d ecision of th e asylu m          excu sed if th e n otice of th e in terview
m u st be received by th e Service 90 d ays          officer an d an y oth er accom p an yin g           w as n ot m ailed to th e ap p lican t’s
p rior to exp iration of th e em p loym en t         m aterial at a tim e an d p lace d esign ated       cu rren t ad d ress an d su ch ad d ress h ad
au th orization .                                    by th e asylu m officer, excep t as                 been p rovid ed to th e Office of
                                                     oth erw ise p rovid ed by th e asylu m              In tern ation al Affairs by th e ap p lican t
§ 208.8 Limitations on travel outside the            officer. An ap p lican t’s failu re to ap p ear     p rior to th e d ate of m ailin g in
United States.
                                                     to receive an d ackn ow led ge receip t of          accord an ce w ith section 265 of th e Act
   (a) An ap p lican t w h o leaves th e             th e d ecision sh all be treated as d elay          an d regu lation s p rom u lgated
Un ited States w ith ou t first obtain in g          cau sed by th e ap p lican t for p u rp oses of     th ereu n d er, u n less th e asylu m officer
ad van ce p arole u n d er § 212.5(e) of th is       § 208.7(a)(3) an d sh all exten d th e p eriod      d eterm in es th at th e ap p lican t received
ch ap ter sh all be p resu m ed to h ave             w ith in w h ich th e ap p lican t m ay n ot        reason able n otice of th e in terview .
aban d on ed h is or h er ap p lication u n d er     ap p ly for em p loym en t au th orization by       Failu re to ap p ear w ill be excu sed if th e
th is section .                                      th e n u m ber of d ays u n til th e ap p lican t   ap p lican t d em on strates th at su ch failu re
   (b) An ap p lican t w h o leaves th e             d oes ap p ear to receive an d ackn ow led ge       w as th e resu lt of excep tion al
Un ited States p u rsu an t to ad van ce             receip t of th e d ecision or u n til th e          circu m stan ces.
p arole u n d er § 212.5(e) of th is ch ap ter       ap p lican t ap p ears before an im m igration
an d retu rn s to th e cou n try of claim ed         ju d ge in resp on se to th e issu an ce of a       § 208.11 Comments from the Department
p ersecu tion sh all be p resu m ed to h ave         ch argin g d ocu m en t u n d er § 208.14(b).       of State.
aban d on ed h is or h er ap p lication ,               (e) Th e asylu m officer sh all con sid er          (a) Th e Service sh all forw ard to th e
u n less th e ap p lican t is able to establish      evid en ce su bm itted by th e ap p lican t         Dep artm en t of State a cop y of each
com p ellin g reason s for su ch retu rn .           togeth er w ith h is or h er asylu m                com p leted ap p lication it receives. At its
                                                     ap p lication , as w ell as an y evid en ce         op tion , th e Dep artm en t of State m ay
§ 208.9 Procedure for interview before an
asylum officer.                                      su bm itted by th e ap p lican t before or at       p rovid e d etailed cou n try con d ition s
                                                     th e in terview . As a m atter of d iscretion ,     in form ation relevan t to eligibility for
   (a) Th e Service sh all ad ju d icate th e                                                            asylu m or w ith h old in g of rem oval.
                                                     th e asylu m officer m ay gran t th e
claim of each asylu m ap p lican t w h ose                                                                  (b) At its op tion , th e Dep artm en t of
                                                     ap p lican t a brief exten sion of tim e
ap p lication is com p lete w ith in th e                                                                State m ay also p rovid e:
                                                     follow in g an in terview d u rin g w h ich th e
m ean in g of § 208.3(c)(3) an d is w ith in                                                                (1) An assessm en t of th e accu racy of
                                                     ap p lican t m ay su bm it ad d ition al
th e ju risd iction of th e Service.                                                                     th e ap p lican t’s assertion s abou t
                                                     evid en ce. An y su ch exten sion sh all
   (b) Th e asylu m officer sh all con d u ct                                                            con d ition s in h is or h er cou n try of
                                                     exten d by an equ ivalen t tim e th e
th e in terview in a n on ad versarial                                                                   n ation ality or h abitu al resid en ce an d h is
                                                     p eriod s sp ecified by § 208.7 for th e
m an n er an d , excep t at th e requ est of th e                                                        or h er p articu lar situ ation ;
                                                     filin g an d ad ju d ication of an y
ap p lican t, sep arate an d ap art from th e                                                               (2) In form ation abou t w h eth er p erson s
                                                     em p loym en t au th orization ap p lication .
gen eral p u blic. Th e p u rp ose of th e              (f) Th e asylu m ap p lication , all             w h o are sim ilarly situ ated to th e
in terview sh all be to elicit all relevan t         su p p ortin g in form ation p rovid ed by th e     ap p lican t are p ersecu ted in h is or h er
an d u sefu l in form ation bearin g on th e         ap p lican t, an y com m en ts su bm itted by       cou n try of n ation ality or h abitu al
ap p lican t’s eligibility for asylu m . At th e     th e Dep artm en t of State or by th e              resid en ce an d th e frequ en cy of su ch
tim e of th e in terview , th e ap p lican t         Service, an d an y oth er in form ation             p ersecu tion ; or
m u st p rovid e com p lete in form ation            sp ecific to th e ap p lican t’s case an d             (3) Su ch oth er in form ation as it d eem s
regard in g h is or h er id en tity, in clu d in g   con sid ered by th e asylu m officer sh all         relevan t.
n am e, d ate an d p lace of birth , an d            com p rise th e record .                               (c) Asylu m officers an d im m igration
n ation ality, an d m ay be requ ired to                (g) An ap p lican t u n able to p roceed         ju d ges m ay requ est sp ecific com m en ts
register th is id en tity electron ically or         w ith th e in terview in En glish m u st            from th e Dep artm en t of State regard in g
th rou gh an y oth er m ean s d esign ated by        p rovid e, at n o exp en se to th e Service, a      in d ivid u al cases or typ es of claim s
th e Attorn ey Gen eral. Th e ap p lican t           com p eten t in terp reter flu en t in both         u n d er con sid eration , or su ch oth er
m ay h ave cou n sel or a rep resen tative           En glish an d th e ap p lican t’s n ative           in form ation as th ey d eem ap p rop riate.
p resen t, m ay p resen t w itn esses, an d          lan gu age. Th e in terp reter m u st be at            (d ) An y su ch com m en ts received
m ay su bm it affid avits of w itn esses an d        least 18 years of age. Neith er th e                p u rsu an t to p aragrap h s (b) an d (c) of
oth er evid en ce.                                   ap p lican t’s attorn ey or rep resen tative of     th is section sh all be m ad e p art of th e
   (c) Th e asylu m officer sh all h ave             record , a w itn ess testifyin g on th e            record . Un less th e com m en ts are
au th ority to ad m in ister oath s, verify th e     ap p lican t’s beh alf, n or a rep resen tative     classified u n d er th e ap p licable
id en tity of th e ap p lican t (in clu d in g       or em p loyee of th e ap p lican t’s cou n try      Execu tive Ord er, th e ap p lican t sh all be
th rou gh th e u se of electron ic m ean s),         of n ation ality, or if stateless, cou n try of     p rovid ed an op p ortu n ity to review an d
verify th e id en tity of an y in terp reter,        last h abitu al resid en ce, m ay serve as th e     resp on d to su ch com m en ts p rior to th e
p resen t an d receive evid en ce, an d              ap p lican t’s in terp reter. Failu re w ith ou t   issu an ce of an y d ecision to d en y th e
qu estion th e ap p lican t an d an y                good cau se to com p ly w ith th is                 ap p lication .
w itn esses.                                         p aragrap h m ay be con sid ered a failu re
   (d ) Up on com p letion of th e in terview ,                                                          § 208.12 Reliance on information compiled
                                                     w ith ou t good cau se to ap p ear for th e         by other sources.
th e ap p lican t or th e ap p lican t’s             in terview for p u rp oses of § 208.10.
rep resen tative sh all h ave an op p ortu n ity                                                            (a) In d ecid in g an asylu m ap p lication ,
to m ake a statem en t or com m en t on th e         § 208.10 Failure to appear at an interview          or w h eth er th e alien h as a cred ible fear
evid en ce p resen ted . Th e asylu m officer        before an asylum officer.                           of p ersecu tion p u rsu an t to section
m ay, in h is or h er d iscretion , lim it th e         Failu re to ap p ear for a sch ed u led          235(b)(1)(B) of th e Act, th e asylu m
len gth of su ch statem en t or com m en t           in terview w ith ou t p rior au th orization        officer m ay rely on m aterial p rovid ed by
an d m ay requ ire th eir su bm ission in            m ay resu lt in d ism issal of th e                 th e Dep artm en t of State, th e Office of

                                                                                                                                    AR00469
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                              Page 88 of 350 PageID 4681
466                   Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

In tern ation al Affairs, oth er Service             p ersecu tion . If th e ap p lican t                     (ii) Has been firm ly resettled w ith in
offices, or oth er cred ible sou rces, su ch         d em on strates su ch com p ellin g reason s,         th e m ean in g of § 208.15;
as in tern ation al organ ization s, p rivate        h e or sh e m ay be gran ted asylu m u n less            (iii) Can reason ably be regard ed as a
volu n tary agen cies, n ew s organ ization s,       su ch a gran t is barred by p aragrap h (c)           d an ger to th e secu rity of th e Un ited
or acad em ic in stitu tion s.                       of th is section .                                    States;
   (b) Noth in g in th is p art sh all be               (2) W ell-fou n d ed fear of p ersecu tion .          (iv) Has been con victed of an
con stru ed to en title th e ap p lican t to         An ap p lican t sh all be fou n d to h ave a          aggravated felon y, as d efin ed in section
con d u ct d iscovery d irected tow ard th e         w ell-fou n d ed fear of p ersecu tion if h e or      101(a)(43) of th e Act; or
record s, officers, agen ts, or em p loyees of       sh e can establish first, th at h e or sh e h as         (v) Ord ered , in cited , assisted , or
th e Service, th e Dep artm en t of Ju stice,        a fear of p ersecu tion in h is or h er               oth erw ise p articip ated in th e
or th e Dep artm en t of State.                      cou n try of n ation ality or last h abitu al         p ersecu tion of an y p erson on accou n t of
                                                     resid en ce on accou n t of race, religion ,          race, religion , n ation ality, m em bersh ip
§ 208.13 Establishing asylum eligibility.            n ation ality, m em bersh ip in a p articu lar        in a p articu lar social grou p , or p olitical
   (a) Bu rd en of p roof. Th e bu rd en of          social grou p , or p olitical op in ion ;             op in ion . If th e evid en ce in d icates th at
p roof is on th e ap p lican t for asylu m to        secon d , th at th ere is a reason able               on e of th e above grou n d s ap p ly to th e
establish th at h e or sh e is a refu gee as         p ossibility of actu ally su fferin g su ch           ap p lican t, h e or sh e sh all h ave th e
d efin ed in section 101(a)(42) of th e Act.         p ersecu tion if h e or sh e w ere to retu rn         bu rd en of p rovin g by a p rep on d eran ce
Th e testim on y of th e ap p lican t, if            to th at cou n try; an d th ird , th at h e or sh e   of th e evid en ce th at h e or sh e d id n ot
cred ible, m ay be su fficien t to su stain th e     is u n able or u n w illin g to retu rn to or         so act.
bu rd en of p roof w ith ou t corroboration .        avail h im self or h erself of th e p rotection          (d ) Discretion ary d en ial. An asylu m
Th e fact th at th e ap p lican t p reviou sly       of th at cou n try becau se of su ch fear. In         ap p lication m ay be d en ied in th e
establish ed a cred ible fear of                     evalu atin g w h eth er th e ap p lican t h as        d iscretion of th e Attorn ey Gen eral if th e
p ersecu tion for p u rp oses of section             su stain ed h is or h er bu rd en of p rovin g        alien can be rem oved to a th ird cou n try
235(b)(1)(B) of th e Act d oes n ot relieve          th at h e or sh e h as a w ell-fou n d ed fear        w h ich h as offered resettlem en t an d in
th e alien of th e ad d ition al bu rd en of         of p ersecu tion , th e asylu m officer or            w h ich th e alien w ou ld n ot face h arm or
establish in g eligibility for asylu m .             im m igration ju d ge sh all n ot requ ire th e       p ersecu tion .
   (b) Persecu tion . Th e ap p lican t m ay         ap p lican t to p rovid e evid en ce th at h e or
qu alify as a refu gee eith er becau se h e or       sh e w ou ld be sin gled ou t in d ivid u ally        § 208.14 Approval, denial, or referral of
sh e h as su ffered actu al p ast p ersecu tion      for p ersecu tion if:                                 application.
or becau se h e or sh e h as a w ell-fou n d ed         (i) Th e ap p lican t establish es th at th ere       (a) By an im m igration ju d ge. Un less
fear of fu tu re p ersecu tion .                     is a p attern or p ractice in h is or h er            oth erw ise p roh ibited in § 208.13(c), an
   (1) Past p ersecu tion . An ap p lican t          cou n try of n ation ality or last h abitu al         im m igration ju d ge m ay gran t or d en y
sh all be fou n d to be a refu gee on th e           resid en ce of p ersecu tion of a grou p of           asylu m in th e exercise of d iscretion to
basis of p ast p ersecu tion if h e or sh e can      p erson s sim ilarly situ ated to th e                an ap p lican t w h o qu alifies as a refu gee
establish th at h e or sh e h as su ffered           ap p lican t on accou n t of race, religion ,         u n d er section 101(a)(42) of th e Act.
p ersecu tion in th e p ast in h is or h er          n ation ality, m em bersh ip in a p articu lar           (b) By an asylu m officer. Un less
cou n try of n ation ality or last h abitu al        social grou p , or p olitical op in ion ; an d        oth erw ise p roh ibited in § 208.13(c):
resid en ce on accou n t of race, religion ,            (ii) Th e ap p lican t establish es h is or           (1) An asylu m officer m ay gran t
n ation ality, m em bersh ip in a p articu lar       h er ow n in clu sion in an d id en tification        asylu m in th e exercise of d iscretion to
social grou p , or p olitical op in ion , an d       w ith su ch grou p of p erson s su ch th at h is      an ap p lican t w h o qu alifies as a refu gee
th at h e or sh e is u n able or u n w illin g to    or h er fear of p ersecu tion u p on retu rn is       u n d er section 101(a)(42) of th e Act.
retu rn to or avail h im self or h erself of         reason able.                                             (2) If th e alien ap p ears to be
th e p rotection of th at cou n try ow in g to          (c) Man d atory d en ials. (1)                     d ep ortable, exclu d able or rem ovable
su ch p ersecu tion .                                A p p lication s filed on or after A p ril 1,         u n d er section 240 of th e Act, th e asylu m
   (i) If it is d eterm in ed th at th e             1997. For ap p lication s filed on or after           officer sh all eith er gran t asylu m or refer
ap p lican t h as establish ed p ast                 Ap ril 1, 1997, an ap p lican t sh all n ot           th e ap p lication to an im m igration ju d ge
p ersecu tion , h e or sh e sh all be                qu alify for asylu m if section 208(a)(2) or          for ad ju d ication in d ep ortation ,
p resu m ed also to h ave a w ell-fou n d ed         208(b)(2) of th e Act ap p lies to th e               exclu sion , or rem oval p roceed in gs. An
fear of p ersecu tion u n less a                     ap p lican t. If th e evid en ce in d icates th at    asylu m officer m ay refer su ch an
p rep on d eran ce of th e evid en ce                th e ap p lican t m ay be in eligible u n d er        ap p lication after an in terview
establish es th at sin ce th e tim e th e            section 208(a)(2) of th e Act to ap p ly for          con d u cted in accord an ce w ith § 208.9 or
p ersecu tion occu rred con d ition s in th e        asylu m , or u n d er section 208(b)(2) of th e       if, in accord an ce w ith § 208.10, th e
ap p lican t’s cou n try of n ation ality or last    Act to be gran ted asylu m , th e ap p lican t        ap p lican t is d eem ed to h ave w aived h is
h abitu al resid en ce h ave ch an ged to su ch      sh all h ave th e bu rd en of p rovin g by a          or h er righ t to an in terview .
an exten t th at th e ap p lican t n o lon ger       p rep on d eran ce of th e evid en ce, or in th e        (3) If th e ap p lican t is m ain tain in g
h as a w ell-fou n d ed fear of bein g               case of an alien d escribed in section                valid n on im m igran t statu s at th e tim e
p ersecu ted if h e or sh e w ere to retu rn .       208(a)(2)(B) of th e Act by clear an d                th e ap p lication is d ecid ed , th e asylu m
   (ii) An ap p lication for asylu m sh all be       con vin cin g evid en ce, th at h e or sh e is        officer m ay gran t or d en y asylu m ,
d en ied if th e ap p lican t establish es p ast     eligible.                                             excep t in th e case of an ap p lican t
p ersecu tion u n d er th is p aragrap h bu t it        (2) A p p lication s filed before A p ril 1,       d escribed in § 208.2(b)(1).
is also d eterm in ed th at h e or sh e d oes        1997. An im m igration ju d ge or asylu m                (c) A p p licability of § 103.2(b) of th is
n ot h ave a w ell-fou n d ed fear of fu tu re       officer sh all n ot gran t asylu m to an y            ch ap ter. No ap p lication for asylu m or
p ersecu tion u n d er p aragrap h (b)(2) of         ap p lican t w h o filed h is or h er                 w ith h old in g of d ep ortation sh all be
th is section , u n less it is d eterm in ed th at   ap p lication before Ap ril 1, 1997, if th e          su bject to d en ial p u rsu an t to § 103.2(b)
th e ap p lican t h as d em on strated               alien :                                               of th is ch ap ter.
com p ellin g reason s for bein g u n w illin g         (i) Havin g been con victed by a fin al               (d ) Du ration . If th e alien ’s asylu m
to retu rn to h is or h er cou n try of              ju d gm en t of a p articu larly seriou s crim e      ap p lication is gran ted , th e gran t w ill be
n ation ality or last h abitu al resid en ce         in th e Un ited States, con stitu tes a               effective for an in d efin ite p eriod , su bject
arisin g ou t of th e severity of th e p ast         d an ger to th e com m u n ity;                       to term in ation as p rovid ed in § 208.22.

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 89 of 350 PageID 4682
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                             467

§ 208.15 Definition of ‘‘firm resettlement.’’          (1) Th e ap p lican t’s life or freed om          th e Act, or section 243(h )(2)(B) of th e
   An alien is con sid ered to be firm ly           sh all be fou n d to be th reaten ed if it is        Act as it ap p eared p rior to Ap ril 1, 1997,
resettled if, p rior to arrival in th e Un ited     m ore likely th an n ot th at h e or sh e            an alien w h o h as been con victed of a
States, h e en tered in to an oth er n ation        w ou ld be p ersecu ted on accou n t of race,        p articu larly seriou s crim e sh all be
w ith , or w h ile in th at n ation received ,      religion , n ation ality, m em bersh ip in a         con sid ered to con stitu te a d an ger to th e
an offer of p erm an en t resid en t statu s,       p articu lar social grou p , or p olitical           com m u n ity. If th e evid en ce in d icates
citizen sh ip , or som e oth er typ e of            op in ion .                                          th e ap p licability of on e or m ore of th e
p erm an en t resettlem en t u n less h e              (2) If th e ap p lican t is d eterm in ed to      grou n d s for d en ial en u m erated in th e
establish es:                                       h ave su ffered p ersecu tion in th e p ast          Act, th e ap p lican t sh all h ave th e bu rd en
   (a) Th at h is en try in to th at n ation w as   su ch th at h is or h er life or freed om w as       of p rovin g by a p rep on d eran ce of th e
a n ecessary con sequ en ce of h is fligh t         th reaten ed in th e p rop osed cou n try of         evid en ce th at su ch grou n d s d o n ot
from p ersecu tion , th at h e rem ain ed in        rem oval on accou n t of race, religion ,            ap p ly.
th at n ation on ly as lon g as w as                n ation ality, m em bersh ip in a p articu lar          (3) Ex cep tion to th e p roh ibition on
n ecessary to arran ge on w ard travel, an d        social grou p , or p olitical op in ion , it         with h old in g of d ep ortation in certain
th at h e d id n ot establish sign ifican t ties    sh all be p resu m ed th at h is or h er life or     cases. Section 243(h )(3) of th e Act, as
in th at n ation ; or                               freed om w ou ld be th reaten ed on retu rn          ad d ed by section 413 of Pu b. L. 104–
                                                    to th at cou n try u n less a p rep on d eran ce     132, sh all ap p ly on ly to ap p lication s
   (b) Th at th e con d ition s of h is
                                                    of th e evid en ce establish es th at                ad ju d icated in p roceed in gs com m en ced
resid en ce in th at n ation w ere so
                                                    con d ition s in th e cou n try h ave ch an ged      before Ap ril 1, 1997, an d in w h ich fin al
su bstan tially an d con sciou sly restricted
                                                    to su ch an exten t th at it is n o lon ger          action h ad n ot been taken before Ap ril
by th e au th ority of th e cou n try of refu ge    m ore likely th an n ot th at th e ap p lican t      24, 1996. Th e d iscretion p erm itted by
th at h e w as n ot in fact resettled . In          w ou ld be so p ersecu ted th ere.                   th at section to overrid e section 243(h )(2)
m akin g h is d eterm in ation , th e Asylu m          (3) In evalu atin g w h eth er th e               sh all be exercised on ly in th e case of an
Officer or Im m igration Ju d ge sh all             ap p lican t h as su stain ed th e bu rd en of       ap p lican t con victed of an aggravated
con sid er th e con d ition s u n d er w h ich      p rovin g th at h is or h er life or freed om        felon y (or felon ies) w h ere h e or sh e w as
oth er resid en ts of th e cou n try live, th e     w ou ld be th reaten ed in a p articu lar            sen ten ced to an aggregate term of
typ e of h ou sin g m ad e available to th e        cou n try on accou n t of race, religion ,           im p rison m en t of less th an 5 years an d
refu gee, w h eth er p erm an en t or               n ation ality, m em bersh ip in a p articu lar       th e im m igration ju d ge d eterm in es on an
tem p orary, th e typ es an d exten t of            social grou p , or p olitical op in ion , th e       in d ivid u al basis th at th e crim e (or
em p loym en t available to th e refu gee,          asylu m officer or im m igration ju d ge             crim es) of w h ich th e ap p lican t w as
an d th e exten t to w h ich th e refu gee          sh all n ot requ ire th e ap p lican t to            con victed d oes n ot con stitu te a
received p erm ission to h old p rop erty           p rovid e evid en ce th at h e or sh e w ou ld       p articu larly seriou s crim e. Excep t in th e
an d to en joy oth er righ ts an d p rivileges,     be sin gled ou t in d ivid u ally for su ch          cases sp ecified in th is p aragrap h , th e
su ch as travel d ocu m en tation in clu d in g     p ersecu tion if:                                    grou n d s for d en ial of w ith h old in g of
a righ t of en try or reen try, ed u cation ,          (i) Th e ap p lican t establish es th at th ere   d ep ortation in section 243(h )(2) of th e
p u blic relief, or n atu ralization ,              is a p attern or p ractice in th e cou n try of      Act as it ap p eared p rior to Ap ril 1, 1997,
ord in arily available to oth ers resid en t in     p rop osed rem oval of p ersecu tion of a            sh all be d eem ed to com p ly w ith th e
th e cou n try.                                     grou p of p erson s sim ilarly situ ated to          1967 Protocol Relatin g to th e Statu s of
§ 208.16 Withholding of removal.
                                                    th e ap p lican t on accou n t of race,              Refu gees.
                                                    religion , n ation ality, m em bersh ip in a            (d ) Recon sid eration of d iscretion ary
   (a) Con sid eration of ap p lication for         p articu lar social grou p , or p olitical           d en ial of asylu m . In th e even t th at an
with h old in g of rem oval. An asylu m             op in ion ; an d                                     ap p lican t is d en ied asylu m solely in th e
officer sh all n ot d ecid e w h eth er th e           (ii) Th e ap p lican t establish es h is or       exercise of d iscretion , an d th e ap p lican t
exclu sion , d ep ortation , or rem oval of an      h er ow n in clu sion in an d id en tification       is su bsequ en tly gran ted w ith h old in g of
alien to a cou n try w h ere th e alien ’s life     w ith su ch grou p of p erson s su ch th at it       d ep ortation or rem oval u n d er th is
or freed om w ou ld be th reaten ed m u st be       is m ore likely th an n ot th at h is or h er        section , th ereby effectively p reclu d in g
w ith h eld , excep t in th e case of an alien      life or freed om w ou ld be th reaten ed             ad m ission of th e ap p lican t’s sp ou se or
w h o is oth erw ise eligible for asylu m bu t      u p on retu rn .                                     m in or ch ild ren follow in g to join h im or
is p reclu d ed from bein g gran ted su ch             (c) A p p roval or d en ial of ap p lication .    h er, th e d en ial of asylu m sh all be
statu s d u e solely to section 207(a)(5) of        (1) Gen eral. Su bject to p aragrap h s (c)(2)       recon sid ered . Factors to be con sid ered
th e Act. In exclu sion , d ep ortation , or        an d (c)(3) of th is section , an ap p lication      w ill in clu d e th e reason s for th e d en ial
rem oval p roceed in gs, an im m igration           for w ith h old in g of d ep ortation or             an d reason able altern atives available to
ju d ge m ay ad ju d icate both an asylu m          rem oval to a cou n try of p rop osed                th e ap p lican t su ch as reu n ification w ith
claim an d a requ est for w ith h old in g of       rem oval sh all be gran ted if th e                  h is or h er sp ou se or m in or ch ild ren in
rem oval w h eth er or n ot asylu m is              ap p lican t’s eligibility for w ith h old in g is   a th ird cou n try.
gran ted .                                          establish ed p u rsu an t to p aragrap h (b) of
   (b) Eligibility for with h old in g of           th is section .                                      § 208.17 Decisions.
rem oval; bu rd en of p roof. Th e bu rd en of         (2) Man d atory d en ials. Excep t as                Th e d ecision of an asylu m officer to
p roof is on th e ap p lican t for                  p rovid ed in p aragrap h (c)(3) of th is            gran t or to d en y asylu m or w ith h old in g
w ith h old in g of rem oval to establish th at     section , an ap p lication for w ith h old in g      of rem oval, or to refer an asylu m
h is or h er life or freed om w ou ld be            of rem oval sh all be d en ied if th e               ap p lication in accord an ce w ith
th reaten ed in th e p rop osed cou n try of        ap p lican t falls w ith in section                  § 208.14(b), sh all be com m u n icated in
rem oval on accou n t of race, religion ,           241(b)(3)(B) of th e Act or, for                     w ritin g to th e ap p lican t. Notices of
n ation ality, m em bersh ip in a p articu lar      ap p lication s for w ith h old in g of              d ecision s to gran t or d en y asylu m by
social grou p , or p olitical op in ion . Th e      d ep ortation ad ju d icated in p roceed in gs       asylu m officers sh all gen erally be served
testim on y of th e ap p lican t, if cred ible,     com m en ced p rior to Ap ril 1, 1997,               in p erson u n less, in th e d iscretion of th e
m ay be su fficien t to su stain th e bu rd en      w ith in section 243(h )(2) of th e Act as it        asylu m office d irector, rou tin e service
of p roof w ith ou t corroboration . Th e           ap p eared p rior to th at d ate. For                by m ail is ap p rop riate. A letter
evid en ce sh all be evalu ated as follow s:        p u rp oses of section 241(b)(3)(B)(ii) of           com m u n icatin g d en ial of th e

                                                                                                                                    AR00471
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                          Page 90 of 350 PageID 4683
468                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

ap p lication sh all state th e basis for          p aragrap h (e) of th is section , an asylu m       th at asylu m statu s or w ith h old in g of
d en ial of th e asylu m ap p lication . Th e      officer m ay term in ate a gran t of asylu m        d ep ortation or rem oval an d an y
letter also sh all con tain an assessm en t of     m ad e u n d er th e ju risd iction of an           em p loym en t au th orization issu ed
th e ap p lican t’s cred ibility, u n less th e    asylu m officer or a d istrict d irector if         p u rsu an t th ereto, are term in ated .
d en ial is th e resu lt of th e ap p lican t’s    follow in g an in terview , th e asylu m               (d ) T erm in ation of d erivative statu s.
con viction of an aggravated felon y.              officer d eterm in es th at:                        Th e term in ation of asylu m statu s for a
Pu rsu an t to § 208.9(d ), an ap p lican t           (1) Th ere is a sh ow in g of frau d in th e     p erson w h o w as th e p rin cip al ap p lican t
m u st ap p ear in p erson to receive an d to      alien ’s ap p lication su ch th at h e or sh e      sh all resu lt in term in ation of th e asylu m
ackn ow led ge receip t of th e d ecision .        w as n ot eligible for asylu m at th e tim e        statu s of a sp ou se or ch ild w h ose statu s
                                                   it w as gran ted ;                                  w as based on th e asylu m ap p lication of
§ 208.18 Determining if an asylum                     (2) As to th e ap p lication s filed on or       th e p rin cip al. Su ch term in ation sh all
application is frivolous.                          after Ap ril 1, 1997, on e or m ore of th e         n ot p reclu d e th e sp ou se or ch ild of su ch
   For ap p lication s filed on or after Ap ril    con d ition s d escribed in section                 alien from sep arately assertin g an
1, 1997, an ap p lican t is su bject to th e       208(c)(2) of th e Act exist; or                     asylu m or w ith h old in g of d ep ortation or
p rovision s of section 208(d )(6) of th e            (3) As to ap p lication s filed before           rem oval claim .
Act on ly if a fin al ord er by an                 Ap ril 1, 1997, th e alien n o lon ger h as a          (e) T erm in ation of asylu m or
im m igration ju d ge or th e Board of             w ell-fou n d ed fear of p ersecu tion u p on       with h old in g of d ep ortation or rem oval
Im m igration Ap p eals sp ecifically fin d s      retu rn d u e to a ch an ge of cou n try            by th e Ex ecu tive Office for Im m igration
th at th e alien kn ow in gly filed a              con d ition s in th e alien ’s cou n try of         Review. An im m igration ju d ge or th e
frivolou s asylu m ap p lication . An              n ation ality or h abitu al resid en ce or th e     Board of Im m igration Ap p eals m ay
asylu m ap p lication is frivolou s if it is       alien h as com m itted an y act th at w ou ld       reop en a case p u rsu an t to § 3.2 or § 3.23
fabricated or is brou gh t for an im p rop er      h ave been grou n d s for d en ial of asylu m       of th is ch ap ter for th e p u rp ose of
p u rp ose. Su ch fin d in g sh all on ly be       u n d er § 208.14(e)(2).                            term in atin g a gran t of asylu m or
m ad e if th e im m igration ju d ge or th e          (b) T erm in ation of with h old in g of         w ith h old in g of d ep ortation or rem oval
Board is satisfied th at th e ap p lican t,        d ep ortation or rem oval by th e S ervice.         m ad e u n d er th e ju risd iction of an
d u rin g th e cou rse of th e p roceed in gs,     Excep t as p rovid ed in p aragrap h (e) of         im m igration ju d ge. In su ch a reop en ed
h as h ad su fficien t op p ortu n ity to          th is section , an asylu m officer m ay             p roceed in g, th e Service m u st establish ,
accou n t for an y d iscrep an cies or             term in ate a gran t of w ith h old in g of         by a p rep on d eran ce of evid en ce, on e or
im p lau sible asp ects of th e claim .            d ep ortation or rem oval m ad e u n d er th e      m ore of th e grou n d s set forth in
                                                   ju risd iction of an asylu m officer or a           p aragrap h s (a) or (b) of th is section . In
§ 208.19 [Reserved]                                d istrict d irector if th e asylu m officer         ad d ition , an im m igration ju d ge m ay
§ 208.20 Effect on exclusion, deportation          d eterm in es, follow in g an in terview ,          term in ate a gran t of asylu m or
and removal proceedings.                           th at:                                              w ith h old in g of d ep ortation or rem oval
   (a) An alien w h o h as been gran ted              (1) Th e alien is n o lon ger en titled to       m ad e u n d er th e ju risd iction of th e
asylu m m ay n ot be d ep orted or rem oved        w ith h old in g of d ep ortation or rem oval       Service at an y tim e after th e alien h as
u n less h is or h er asylu m statu s is           d u e to a ch an ge of con d ition s in th e        been p rovid ed a n otice of in ten t to
term in ated p u rsu an t to § 208.22. An          cou n try to w h ich rem oval w as w ith h eld ;    term in ate by th e Service. An y
alien in exclu sion , d ep ortation , or              (2) Th ere is a sh ow in g of frau d in th e     term in ation u n d er th is p aragrap h m ay
rem oval p roceed in gs w h o is gran ted          alien ’s ap p lication su ch th at th e alien       occu r in con ju n ction w ith an exclu sion ,
w ith h old in g of rem oval or d ep ortation      w as n ot eligible for w ith h old in g of          d ep ortation or rem oval p roceed in g.
m ay n ot be d ep orted or rem oved to th e        rem oval at th e tim e it w as gran ted ;              (f) T erm in ation of asylu m for arrivin g
                                                      (3) Th e alien h as com m itted an y oth er      alien s. If th e Service d eterm in es th at an
cou n try to w h ich h is or h er d ep ortation
                                                   act th at w ou ld h ave been grou n d s for         ap p lican t for ad m ission w h o h ad
or rem oval is ord ered w ith h eld u n less
                                                   d en ial of w ith h old in g of rem oval u n d er   p reviou sly been gran ted asylu m in th e
th e w ith h old in g ord er is term in ated
                                                   section 241(b)(3)(B) of th e Act h ad it            Un ited States falls w ith in con d ition s set
p u rsu an t to § 208.22.
                                                   occu rred p rior to th e gran t of                  forth in section 208(c)(2) of th e Act an d
   (b) Wh en an alien ’s asylu m statu s or
                                                   w ith h old in g of rem oval; or                    is in ad m issible, th e Service sh all issu e
w ith h old in g of rem oval or d ep ortation
                                                      (4) For ap p lication s filed in                 a n otice of in ten t to term in ate asylu m
is term in ated u n d er th is ch ap ter, th e
                                                   p roceed in gs com m en ced before Ap ril 1,        an d in itiate rem oval p roceed in gs u n d er
Service sh all in itiate rem oval
                                                   1997, th e alien h as com m itted an y act          section 240 of th e Act. Th e alien sh all
p roceed in gs u n d er section 235 or 240 of
                                                   th at w ou ld h ave been grou n d s for d en ial    p resen t h is or h er resp on se to th e in ten t
th e Act, as ap p rop riate, if th e alien is
                                                   of w ith h old in g of d ep ortation u n d er       to term in ate d u rin g p roceed in gs before
n ot alread y in exclu sion , d ep ortation , or
                                                   section 243(h )(2) of th e Act.                     th e im m igration ju d ge.
rem oval p roceed in gs. Rem oval                     (c) Proced u re. Prior to th e term in ation
p roceed in gs m ay also be in con ju n ction      of a gran t of asylu m or w ith h old in g of       §§ 208.23–208.29 [Reserved]
w ith a term in ation h earin g sch ed u led       d ep ortation or rem oval, th e alien sh all
u n d er § 208.22(e).                              be given n otice of in ten t to term in ate,        Subpart B—Credible Fear of
                                                   w ith th e reason s th erefor, at least 30          Persecution
§ 208.21 Restoration of status.
   An alien w h o w as m ain tain in g h is or     d ays p rior to th e in terview sp ecified in       § 208.30 Credible fear determinations
h er n on im m igran t statu s at th e tim e of    p aragrap h (a) of th is section before an          involving stowaways and applicants for
filin g an asylu m ap p lication an d h as         asylu m officer. Th e alien sh all be               admission found inadmissible pursuant to
                                                   p rovid ed th e op p ortu n ity to p resen t        section 212(a)(6)(C) or 212(a)(7) of the Act.
su ch ap p lication d en ied m ay con tin u e
in or be restored to th at statu s, if it h as     evid en ce sh ow in g th at h e or sh e is still       (a) Ju risd iction . Th e p rovision s of th is
n ot exp ired .                                    eligible for asylu m or w ith h old in g of         su bp art ap p ly to alien s su bject to
                                                   d ep ortation or rem oval. If th e asylu m          section s 235(a)(2) an d 235(b)(1) of th e
§ 208.22 Termination of asylum or                  officer d eterm in es th at th e alien is n o       Act. Pu rsu an t to section 235(b)(1)(B) of
withholding of removal or deportation.             lon ger eligible for asylu m or                     th e Act, th e Service h as exclu sive
   (a) T erm in ation of asylu m by th e           w ith h old in g of d ep ortation or rem oval,      ju risd iction to m ake cred ible fear
S ervice. Excep t as p rovid ed in                 th e alien sh all be given w ritten n otice         d eterm in ation s, an d th e Execu tive

                                                                                                                                   AR00472
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 91 of 350 PageID 4684
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                                469

Office for Im m igration Review h as                Im m igration Ju d ge, for fu ll                     in accord an ce w ith section 235(a)(2) of
exclu sive ju risd iction to review su ch           con sid eration of th e asylu m claim in             th e Act. If an d w h en an ap p roval of th e
d eterm in ation s. Excep t as oth erw ise          p roceed in gs u n d er § 208.2(b)(1).               asylu m ap p lication becom es fin al, th e
p rovid ed in th is su bp art, p aragrap h s (b)       (e) Rem oval of alien s with n o cred ible        Service sh all term in ate rem oval
th rou gh (e) of th is section are th e             fear of p ersecu tion . If an alien , oth er         p roceed in gs u n d er section 235(a)(2) of
exclu sive p roced u res ap p licable to            th an an alien stow aw ay, is fou n d n ot to        th e Act.
cred ible fear in terview s, d eterm in ation s,    h ave a cred ible fear of p ersecu tion , th e
an d review u n d er section 235(b)(1)(B) of        asylu m officer sh all ord er th e alien             PART 209—ADJUSTMENT OF STATUS
th e Act.                                           rem oved an d issu e a Form I–860, Notice            OF REFUGEES AND ALIENS
   (b) In terview an d p roced u re. Th e           an d Ord er of Exp ed ited Rem oval. If an           GRANTED ASYLUM
asylu m officer, as d efin ed in section            alien stow aw ay is fou n d n ot to h ave a
                                                                                                            42. Th e au th ority citation for p art 209
235(b)(1)(E) of th e Act, w ill con d u ct th e     cred ible fear of p ersecu tion , th e asylu m
in terview in a n on ad versarial m an n er         officer sh all ord er th e alien rem oved            is revised to read as follow s:
an d sep arate an d ap art from th e gen eral       from th e Un ited States in accord an ce               Authority: 8 U.S.C. 1101, 1103, 1157, 1158,
p u blic. At th e tim e of th e in terview , th e   w ith section 235(a)(2) of th e Act. Th e            1159, 1228, 1252, 1282; 8 CFR p art 2.
alien m ay be requ ired to register h is or         asylu m officer sh all also ad vise th e alien       § 209.1 [Amended]
h er id en tity electron ically or th rou gh        of h is or h er righ t to requ est th at an
an y oth er m ean s d esign ated by th e            im m igration ju d ge review th e n egative             43. In § 209.1, p aragrap h (a)(1) is
Attorn ey Gen eral. Th e alien m ay con su lt       d ecision .                                          am en d ed in th e first sen ten ce by
w ith a p erson or p erson s of th e alien ’s          (f) Review by im m igration ju d ge. Th e         revisin g th e referen ce to ‘‘, 236, an d
ch oosin g p rior to th e in terview or an y        asylu m officer’s n egative d ecision                237’’ to read ‘‘an d 240’’.
review th ereof, an d m ay p resen t oth er         regard in g cred ible fear sh all be su bject           44. In § 209.2, th e last sen ten ce of
evid en ce w h en available. Su ch                  to review by an im m igration ju d ge u p on         p aragrap h (c) is revised to read as
con su ltation sh all be at n o exp en se to        th e ap p lican t’s verbal or w ritten requ est,     follow s:
th e Govern m en t an d sh all n ot                 in accord an ce w ith section                        § 209.2 Adjustment of status of alien
u n reason ably d elay th e p rocess. An y          235(b)(1)(B)(iii)(III) of th e Act. If th e          granted asylum.
p erson or p erson s w ith w h om th e alien        alien requ ests su ch review , th e asylu m          *      *       *     *     *
ch ooses to con su lt m ay be p resen t at th e     officer sh all arran ge for th e d eten tion of         (c) A p p lication . * * * If an alien h as
in terview an d m ay be p erm itted , in th e       th e alien an d serve h im or h er w ith a           been p laced in d ep ortation , exclu sion ,
d iscretion of th e asylu m officer, to             Form I–863, Notice of Referral to                    or rem oval p roceed in gs u n d er an y
p resen t a brief statem en t at th e en d of       Im m igration Ju d ge. Cop ies of th e Form          section of th is Act (as effective on th e
th e in terview . Th e asylu m officer, in h is     I–863, th e asylu m officer’s n otes, an d
                                                                                                         d ate su ch p roceed in gs com m en ced ), th e
or h er d iscretion , m ay p lace reason able       oth er m aterials u p on w h ich th e
                                                                                                         ap p lication can be filed an d con sid ered
lim its on th e n u m ber of su ch p erson s        d eterm in ation w as based sh all be
                                                                                                         on ly in th ose p roceed in gs.
w h o m ay be p resen t at th e in terview          p rovid ed to th e im m igration ju d ge w ith
an d on th e len gth of statem en t or              th e n egative d eterm in ation . Up on              *      *       *     *     *
statem en ts m ad e. If th e alien is u n able      review of th e asylu m officer’s n egative
                                                                                                         PART 211—DOCUMENTARY
to p roceed in En glish , an d if th e asylu m      cred ible fear d eterm in ation :
                                                       (1) If th e im m igration ju d ge con cu rs       REQUIREMENTS; IMMIGRANTS;
officer is u n able to p roceed com p eten tly                                                           WAIVERS
in a lan gu age ch osen by th e alien , th e        w ith th e d eterm in ation of th e asylu m
asylu m officer sh all arran ge for th e            officer th at th e alien d oes n ot h ave a             45. Th e au th ority citation for p art 211
assistan ce of an in terp reter in                  cred ible fear of p ersecu tion , th e case          is revised to read as follow s:
con d u ctin g th e in terview . Th e               sh all be retu rn ed to th e Service for
                                                                                                           Authority: 8 U.S.C. 1101, 1103, 1181, 1182,
in terp reter m ay n ot be a rep resen tative       rem oval of th e alien .                             1203, 1225, 1257; 8 CFR p art 2.
or em p loyee of th e ap p lican t’s cou n try         (2) If th e im m igration ju d ge fin d s th at
of n ation ality or, if th e ap p lican t is        th e alien , oth er th an an alien stow aw ay,         46. Part 211 is revised to read as
stateless, th e ap p lican t’s cou n try of last    p ossesses a cred ible fear of p ersecu tion ,       follow s:
h abitu al resid en ce.                             th e im m igration ju d ge sh all vacate th e        Sec.
   (c) A u th ority. Asylu m officers               ord er of th e asylu m officer issu ed on            211.1 Visas.
con d u ctin g cred ible fear in terview s          Form I–860 an d th e Service m ay                    211.2 Passp orts.
sh all h ave th e au th orities d escribed in       com m en ce rem oval p roceed in gs u n d er         211.3 Exp iration of im m igran t visas, reen try
                                                                                                              p erm its, refu gee travel d ocu m en ts, an d
§ 208.9(c).                                         section 240 of th e Act, d u rin g w h ich
                                                                                                              Form s I–551.
   (d ) Referral for an asylu m h earin g. If       tim e th e alien m ay file an asylu m                211.4 Waiver of d ocu m en ts for retu rn in g
an alien , oth er th an an alien stow aw ay,        ap p lication in accord an ce w ith                       resid en ts.
is fou n d to h ave a cred ible fear of             § 208.4(b)(3)(i).                                    211.5 Alien com m u ters.
p ersecu tion , th e asylu m officer w ill so          (3) If th e im m igration ju d ge fin d s th at
in form th e alien , arran ge for h is or h er      an alien stow aw ay p ossesses a cred ible           § 211.1 Visas.
d eten tion , an d issu e a Form I–862,             fear of p ersecu tion , th e alien sh all be            (a) Gen eral. Excep t as p rovid ed in
Notice to Ap p ear, for fu ll con sid eration       allow ed to file an asylu m ap p lication            p aragrap h (b) of th is section , each
of th e asylu m claim in p roceed in gs             before th e im m igration ju d ge in                 arrivin g alien ap p lyin g for ad m ission (or
u n d er section 240 of th e Act. Parole of         accord an ce w ith § 208.4(b)(3)(iii). Th e          board in g th e vessel or aircraft on w h ich
th e alien m ay on ly be con sid ered in            im m igration ju d ge sh all d ecid e th e           h e or sh e arrives) in to th e Un ited States
accord an ce w ith section 212(d )(5) of th e       asylu m ap p lication as p rovid ed in th at         for law fu l p erm an en t resid en ce, or as a
Act an d § 212.5 of th is ch ap ter. If an          section . Su ch d ecision m ay be ap p ealed         retu rn in g law fu l p erm an en t resid en t,
alien stow aw ay is fou n d to h ave a              by eith er th e stow aw ay or th e Service to        sh all p resen t on e of th e follow in g:
cred ible fear of p ersecu tion , th e asylu m      th e Board of Im m igration Ap p eals. If               (1) A valid , u n exp ired im m igran t visa;
officer w ill so in form th e alien , arran ge      an d w h en a d en ial of th e asylu m                  (2) A valid , u n exp ired Form I–551,
for h is or h er d eten tion , an d issu e a        ap p lication becom es fin al, th e alien            Alien Registration Receip t Card , if
Form I–863, Notice to Referral to                   sh all be rem oved from th e Un ited States          seekin g read m ission after a tem p orary

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                               Page 92 of 350 PageID 4685
470                   Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

absen ce of less th an on e year, or in th e         Law fu l Perm an en t Resid en ce. Th e                § 211.2 Passports.
case of a crew m em ber regu larly servin g          carrier of su ch alien sh all n ot be liable              (a) A p assp ort valid for th e bearer’s
on board a vessel or aircraft of Un ited             for a fin e p u rsu an t to section 273 of th e        en try in to a foreign cou n try at least 60
States registry seekin g read m ission after         Act.                                                   d ays beyon d th e exp iration d ate of h is
an y job-con n ected absen ce;                          (3) If an im m igran t alien retu rn in g to        or h er im m igran t visa sh all be p resen ted
   (3) A valid , u n exp ired Form I–327,            an u n relin qu ish ed law fu l p erm an en t          by each im m igran t excep t an im m igran t
Perm it to Reen ter th e Un ited States;             resid en ce in th e Un ited States after a             w h o:
   (4) A valid , u n exp ired Form I–571,            tem p orary absen ce abroad believes th at                (1) Is th e p aren t, sp ou se, or u n m arried
Refu gee Travel Docu m en t, p rop erly              good cau se exists for h is or h er failu re           son or d au gh ter of a Un ited States
en d orsed to reflect ad m ission as a               to p resen t an im m igran t visa, Form I–             citizen or of an alien law fu l p erm an en t
law fu l p erm an en t resid en t;                   551, or reen try p erm it, th e alien m ay file        resid en t of th e Un ited States,
   (5) An exp ired Form I–551, Alien                 an ap p lication for a w aiver of th is                   (2) Is en terin g u n d er th e p rovision s of
Registration Receip t Card , accom p an ied          requ irem en t w ith th e d istrict d irector in       § 211.1(a)(2) th rou gh (a)(7), or
by a filin g receip t issu ed w ith in th e          ch arge of th e p ort-of-en try. To ap p ly for        § 211.1(b)(1),
p reviou s six m on th s for eith er a Form I–       th is w aiver, th e alien m u st file Form I–             (3) Is a stateless p erson or a p erson
751, Petition to Rem ove th e Con d ition s          193, Ap p lication for Waiver of Passp ort             w h o becau se of h is or h er op p osition to
on Resid en ce, or Form I–829, Petition              an d / or Visa, w ith th e fee p rescribed in          Com m u n ism is u n w illin g or u n able to
by En trep ren eu r to Rem ove Con d ition s,        § 103.7(b)(1) of th is ch ap ter, ex cep t th at       obtain a p assp ort from th e cou n try of h is
if seekin g ad m ission or read m ission             if th e alien ’s Form I–551 w as lost or               or h er n ation ality, or is th e
after a tem p orary absen ce of less th an           stolen , th e alien sh all in stead file Form          accom p an yin g sp ou se or u n m arried son
on e year;                                                                                                  or d au gh ter of su ch im m igran t,
                                                     I–90, Ap p lication to Rep lace Alien
   (6) A Form I–551, w h eth er or n ot                                                                        (4) Is a m em ber of th e Arm ed Forces
                                                     Registration Receip t Card , w ith th e fee
exp ired , p resen ted by a civilian or                                                                     of th e Un ited States,
m ilitary em p loyee of th e Un ited States          p rescribed in § 103.7(b)(1) of th is
                                                     ch ap ter. In th e exercise of d iscretion ,              (b) If an alien seekin g ad m ission as an
Govern m en t, w h o w as ou tsid e th e                                                                    im m igran t w ith an im m igran t visa
Un ited States p u rsu an t to official ord ers,     th e d istrict d irector in ch arge of th e
                                                     p ort-of-en try m ay w aive th e alien ’s lack         believes th at good cau se exists for h is or
or th e sp ou se or ch ild of su ch em p loyee                                                              h er failu re to p resen t a p assp ort, th e
w h o is p reced in g, accom p an yin g or           of an im m igran t visa, Form I–551, or
                                                     reen try p erm it an d ad m it th e alien as a         alien m ay file an ap p lication for a
follow in g to join w ith in fou r m on th s th e                                                           w aiver of th is requ irem en t w ith th e
em p loyee, retu rn in g to th e Un ited             retu rn in g resid en t, if th e d istrict d irector
                                                     is satisfied th at th e alien h as establish ed        d istrict d irector in ch arge of th e p ort-of-
States; or                                                                                                  en try. To ap p ly for th is w aiver, th e alien
   (7) Form I–551, w h eth er or n ot                good cau se for th e alien ’s failu re to
                                                     p resen t an im m igran t visa, Form I–551,            m u st file Form I–193, Ap p lication for
exp ired , or a tran sp ortation letter issu ed                                                             Waiver of Passp ort an d / or Visa, w ith th e
by an Am erican con su lar officer,                  or reen try p erm it.
                                                        (c) Im m igran ts h avin g occu p ation al          fee p rescribed in § 103.7(b)(1) of th is
p resen ted by an em p loyee of th e                                                                        ch ap ter. In th e exercise of d iscretion ,
Am erican Un iversity of Beiru t,                    statu s d efin ed in section 101(a)(15) (A ),
                                                     (E), or (G) of th e A ct. An im m igran t visa,        th e d istrict d irector in ch arge of th e
retu rn in g tem p orarily to th e Un ited                                                                  p ort-of-en try m ay w aive th e alien ’s lack
States before resu m in g em p loym en t             reen try p erm it, or Form I–551 sh all be
                                                     in valid w h en p resen ted by an alien w h o          of p assp ort an d ad m it th e alien as an
w ith th e Am erican Un iversity of Beiru t,                                                                im m igran t, if th e d istrict d irector is
or resu m in g p erm an en t resid en ce in th e     h as an occu p ation al statu s u n d er section
                                                     101(a)(15) (A), (E), or (G) of th e Act,               satisfied th at th e alien h as establish ed
Un ited States.                                                                                             good cau se for th e alien ’s failu re to
   (b) W aivers. (1) A w aiver of th e visa          u n less h e or sh e h as p reviou sly
                                                     su bm itted , or su bm its at th e tim e h e or        p resen t a p assp ort.
requ ired in p aragrap h (a) of th is section
sh all be gran ted w ith ou t fee by th e            sh e ap p lies for ad m ission to th e Un ited         § 211.3 Expiration of immigrant visas,
d istrict d irector, u p on p resen tation of        States, th e w ritten w aiver requ ired by             reentry permits, refugee travel document,
th e ch ild ’s birth certificate, to a ch ild        section 247(b) of th e Act an d 8 CFR p art            and Form I–551.
born su bsequ en t to th e issu an ce of an          247.                                                      An im m igran t visa, reen try p erm it,
im m igran t visa to h is or h er                       (d ) Retu rn in g tem p orary resid en ts. (1)      refu gee travel d ocu m en t, or Form I–551
accom p an yin g p aren t w h o ap p lies for        Form I–688, Tem p orary Resid en t Card ,              sh all be regard ed as u n exp ired if th e
ad m ission d u rin g th e valid ity of su ch a      m ay be p resen ted in lieu of an                      righ tfu l h old er em barked or en p lan ed
visa; or a ch ild born d u rin g th e                im m igran t visa by an alien w h ose statu s          before th e exp iration of h is im m igran t
tem p orary visit abroad of a m oth er w h o         h as been ad ju sted to th at of a tem p orary         visa, reen try p erm it, or refu gee travel
is a law fu l p erm an en t resid en t alien , or    resid en t u n d er th e p rovision s of § 210.1       d ocu m en t, or, w ith resp ect to Form I–
a n ation al, of th e Un ited States,                of th is ch ap ter, su ch statu s n ot h avin g        551, before th e first an n iversary of th e
p rovid ed th at th e ch ild ’s ap p lication for    ch an ged , an d w h o is retu rn in g to an           d ate on w h ich h e d ep arted from th e
ad m ission to th e Un ited States is m ad e         u n relin qu ish ed resid en ce w ith in on e          Un ited States: p rovid ed , th at th e vessel
w ith in tw o years of birth , th e ch ild is        year after a tem p orary absen ce abroad .             or aircraft on w h ich h e so em barked or
accom p an ied by th e p aren t w h o is                (2) Form I–688 m ay be p resen ted in               en p lan ed arrives in th e Un ited States or
ap p lyin g for read m ission as a                   lieu of an im m igran t visa by an alien               foreign con tigu ou s territory on a
p erm an en t resid en t u p on th e first retu rn   w h ose statu s h as been ad ju sted to th at          con tin u ou s voyage. Th e con tin u ity of
of th e p aren t to th e Un ited States after        of a tem p orary resid en t u n d er th e              th e voyage sh all n ot be d eem ed to h ave
th e birth of th e ch ild , an d th e                p rovision s of § 245a.2 of th is ch ap ter,           been in terru p ted by sch ed u led or
accom p an yin g p aren t is fou n d to be           su ch statu s n ot h avin g ch an ged , an d           em ergen cy stop s of th e vessel or aircraft
ad m issible to th e Un ited States.                 w h o is retu rn in g to an u n relin qu ish ed        en rou te to th e Un ited States or foreign
   (2) For an alien d escribed in                    resid en ce w ith in 30 d ays after a                  con tigu ou s territory, or by a layover in
p aragrap h (b)(1) of th is section ,                tem p orary absen ce abroad , p rovid ed               foreign con tigu ou s territory n ecessitated
record ation of th e ch ild ’s en try sh all be      th at th e aggregate of all su ch absen ces            solely for th e p u rp ose of effectin g a
on Form I–181, Mem oran d u m of                     abroad d u rin g th e tem p orary resid en ce          tran sp ortation con n ection to th e Un ited
Creation of Record of Ad m ission for                p eriod h as n ot exceed ed 90 d ays.                  States.

                                                                                                                                        AR00474
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                             Page 93 of 350 PageID 4686
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                               471

§ 211.4 Waiver of documents for returning            p reced in g th e ap p lication for ad m ission      in Service d eten tion w h o is w illin g to
residents.                                           in to th e Un ited States.                           sp on sor a m in or an d th e m in or m ay be
   (a) Pu rsu an t to th e au th ority                  (c) Eligibility for ben efits u n d er th e       released to th at relative n otw ith stan d in g
con tain ed in section 211(b) of th e Act,           im m igration an d n ation ality laws. Un til        th at th e ju ven ile h as a relative w h o is in
an alien p reviou sly law fu lly ad m itted to       h e or sh e h as taken u p resid en ce in th e       d eten tion .
th e Un ited States for p erm an en t                Un ited States, an alien com m u ter                    (ii) If a relative w h o is n ot in
resid en ce w h o, u p on retu rn from a             can n ot satisfy th e resid en ce                    d eten tion can n ot be located to sp on sor
tem p orary absen ce w as in ad m issible            requ irem en ts of th e n atu ralization law s       th e m in or, th e m in or m ay be released
becau se of failu re to h ave or to p resen t        an d can n ot qu alify for an y ben efits            w ith an accom p an y relative w h o is in
a valid p assp ort, im m igran t visa, reen try      u n d er th e im m igration law s on h is or         d eten tion .
p erm it, bord er crossin g card , or oth er         h er ow n beh alf or on beh alf or h is or h er         (iii) If th e Service can n ot locate a
d ocu m en t requ ired at th e tim e of en try,      relatives oth er th an as sp ecified in              relative in or ou t of d eten tion to sp on sor
m ay be gran ted a w aiver of su ch                  p aragrap h (a) of th is section . Wh en an          th e m in or, bu t th e m in or h as id en tified
requ irem en t in th e d iscretion of th e           alien com m u ter takes u p resid en ce in           a n on relative in d eten tion w h o
d istrict d irector if th e d istrict d irector      th e Un ited States, h e or sh e sh all n o          accom p an ied h im on arrival, th e
d eterm in es th at su ch alien :                    lon ger be regard ed as a com m u ter. He or         qu estion of releasin g th e m in or an d th e
   (1) Was n ot oth erw ise in ad m issible at       sh e m ay facilitate p roof of h avin g taken        accom p an yin g n on relative ad u lt sh all be
th e tim e of en try, or                             u p su ch resid en ce by n otifyin g th e            ad d ressed on a case-by-case basis.
   (2) Havin g been oth erw ise                      Service as soon as p ossible, p referably at            (4) Alien s w h o w ill be w itn esses in
in ad m issible at th e tim e of en try is w ith     th e tim e of h is or h er first reen try for        p roceed in gs bein g, or to be, con d u cted
resp ect th ereto qu alified for an                  th at p u rp ose. Ap p lication for issu an ce       by ju d icial, ad m in istrative, or legislative
exem p tion from d ep ortability u n d er            of a n ew alien registration receip t card           bod ies in th e Un ited States; or
section 237(a)(1)(H) of th e Act, an d                                                                       (5) Alien s w h ose con tin u ed d eten tion
                                                     to sh ow th at h e or sh e h as taken u p
   (3) Is n ot oth erw ise su bject to                                                                    is n ot in th e p u blic in terest as
                                                     resid en ce in th e Un ited States sh all be
rem oval.                                                                                                 d eterm in ed by th e d istrict d irector or
                                                     m ad e on Form I–90.
   (b) Den ial of a w aiver by th e d istrict                                                             ch ief p atrol agen t.
d irector is n ot ap p ealable bu t sh all be        PART 212—DOCUMENTARY                                    (b) In th e case of all oth er arrivin g
w ith ou t p reju d ice to ren ew al of an           REQUIREMENTS: NONIMMIGRANTS;                         alien s, excep t th ose d etain ed u n d er
ap p lication an d recon sid eration in              WAIVERS; ADMISSION OF CERTAIN                        § 235.3 (b) or (c) of th is ch ap ter an d
p roceed in gs before th e im m igration             INADMISSIBLE ALIENS; PAROLE                          p aragrap h (a) of th is section , th e d istrict
ju d ge.                                                                                                  d irector or ch ief p atrol agen t m ay, after
                                                       47. Th e au th ority citation for p art 212        review of th e in d ivid u al case, p arole
§ 211.5 Alien commuters.                             con tin u es to read as follow s:                    in to th e Un ited States tem p orarily in
   (a) Gen eral. An alien law fu lly                   Authority: 8 U.S.C. 1101, 1102, 1103, 1182,        accord an ce w ith section 212(d )(5)(A) of
ad m itted for p erm an en t resid en ce or a        1184, 1187, 1225, 1226, 1227, 1228, 1252; 8          th e Act, an y alien ap p lican t for
sp ecial agricu ltu ral w orker law fu lly           CFR p art 2.                                         ad m ission , u n d er su ch term s an d
ad m itted for tem p orary resid en ce u n d er                                                           con d ition s, in clu d in g th ose set forth in
                                                        48. Section 212.5 is am en d ed by:
section 210 of th e Act m ay com m en ce                                                                  p aragrap h (c) of th is section , as h e or
                                                        a. Revisin g p aragrap h (a) an d (b);
or con tin u e to resid e in foreign                    b. Revisin g in trod u ctory text in              sh e m ay d eem ap p rop riate. An alien
con tigu ou s territory an d com m u te as a         p aragrap h (c);                                     w h o arrives at a p ort-of-en try an d
sp ecial im m igran t d efin ed in section              c. Revisin g p aragrap h (c)(1); an d by          ap p lies for p arole in to th e Un ited States
101(a)(27)(A) of th e Act to h is or h er               d . Revisin g p aragrap h (d )(2)(i), to read     for th e sole p u rp ose of seekin g
p lace of em p loym en t in th e Un ited             as follow s:                                         ad ju stm en t of statu s u n d er section 245A
States. An alien com m u ter en gaged in                                                                  of th e Act, w ith ou t ben efit of ad van ce
season al w ork w ill be p resu m ed to h ave        § 212.5 Parole of aliens into the United             au th orization as d escribed in p aragrap h
taken u p resid en ce in th e Un ited States         States.                                              (e) of th is section sh all be d en ied p arole
if h e or sh e is p resen t in th is cou n try for      (a) Th e p arole of alien s w ith in th e         an d d etain ed for rem oval in accord an ce
m ore th an six m on th s, in th e aggregate,        follow in g grou p s w h o h ave been or are         w ith th e p rovision s of § 235.3 (b) or (c)
d u rin g an y con tin u ou s 12-m on th             d etain ed in accord an ce w ith § 235.3 (b)         of th is ch ap ter. An alien seekin g to en ter
p eriod . An alien com m u ter’s ad d ress           or (c) of th is ch ap ter w ou ld gen erally be      th e Un ited States for th e sole p u rp ose of
rep ort u n d er section 265 of th e Act m u st      ju stified for ‘‘u rgen t h u m an itarian           ap p lyin g for ad ju stm en t of statu s u n d er
sh ow h is or h er actu al resid en ce ad d ress     reason s’’ or ‘‘sign ifican t p u blic ben efit,’’   section 210 of th e Act sh all be d en ied
even th ou gh it is n ot in th e Un ited             p rovid ed th e alien s p resen t n eith er a        p arole an d d etain ed for rem oval u n d er
States.                                              secu rity risk n or a risk of abscon d in g:         § 235.3 (b) or (c) of th is ch ap ter, u n less
   (b) Loss of resid en ce statu s. An alien            (1) Alien s w h o h ave seriou s m ed ical        th e alien h as been recom m en d ed for
com m u ter w h o h as been ou t of regu lar         con d ition s in w h ich con tin u ed                ap p roval of su ch ap p lication for
em p loym en t in th e Un ited States for a          d eten tion w ou ld n ot be ap p rop riate;          ad ju stm en t by a con su lar officer at an
con tin u ou s p eriod of six m on th s sh all          (2) Wom en w h o h ave been m ed ically           Overseas Processin g Office.
be d eem ed to h ave lost resid en ce statu s,       certified as p regn an t;                               (c) Con d ition s. In an y case w h ere an
n otw ith stan d in g tem p orary en tries in           (3) Alien s w h o are d efin ed as                alien is p aroled u n d er p aragrap h (a) or
th e in terim for oth er th an em p loym en t        ju ven iles in § 236.3(a) of th is ch ap ter.        (b) of th is section , th e d istrict d irector
p u rp oses. An excep tion ap p lies w h en          Th e d istrict d irector or ch ief p atrol           or ch ief p atrol agen t m ay requ ire
em p loym en t in th e Un ited States w as           agen t sh all follow th e gu id elin es set          reason able assu ran ces th at th e alien w ill
in terru p ted for reason s beyon d th e             forth in § 236.3(a) of th is ch ap ter in            ap p ear at all h earin gs an d / or d ep art th e
in d ivid u al’s con trol oth er th an lack of a     d eterm in in g u n d er w h at con d ition s a      Un ited States w h en requ ired to d o so.
job op p ortu n ity or th e com m u ter can          ju ven ile sh ou ld be p aroled from                 Not all factors listed n eed be p resen t for
d em on strate th at h e or sh e h as w orked        d eten tion ;                                        p arole to be exercised . Th e d istrict
90 d ays in th e Un ited States in th e                 (i) Ju ven iles m ay be released to a             d irector or ch ief p atrol agen t sh ou ld
aggregate d u rin g th e 12-m on th p eriod          relative (broth er, sister, au n t, u n cle) n ot    ap p ly reason able d iscretion . Th e

                                                                                                                                      AR00475
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                             Page 94 of 350 PageID 4687
472                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

con sid eration of all relevan t factors            PART 213—ADMISSION OF ALIENS                         I–829 u n til it h as been d eterm in ed th at
in clu d es:                                        ON GIVING BOND OR CASH DEPOSIT                       th e alien ’s statu s w ill n ot be term in ated .
   (1) Th e givin g of an u n d ertakin g by                                                             Du rin g th is tim e, th e alien sh all
                                                       50. Th e au th ority citation for p art 213       con tin u e to be a law fu l con d ition al
th e ap p lican t, cou n sel, or a sp on sor to     is revised to read as follow s:
en su re ap p earan ces or d ep artu re, an d a                                                          p erm an en t resid en t w ith all th e righ ts,
bon d m ay be requ ired on Form I–352 in                Authority: 8 U.S.C. 1103; 8 CFR p art 2.         p rivileges, an d resp on sibilities p rovid ed
su ch am ou n t as th e d istrict d irector or                                                           to p erson s p ossessin g su ch statu s. Prior
                                                    § 213.1 [Amended]
ch ief p atrol agen t m ay d eem                                                                         to issu in g th e n otice of term in ation , th e
                                                      51. Section 213.1 is am en d ed in th e            d irector sh all p rovid e th e alien w ith an
ap p rop riate;                                     last sen ten ce by revisin g th e term ‘‘p art
*       *     *       *     *                                                                            op p ortu n ity to review an d rebu t th e
                                                    103’’ to read ‘‘§ 103.6’’.                           evid en ce u p on w h ich th e d ecision is to
   (d ) * * *                                                                                            be based , in accord an ce w ith
   (2)(i) On n otice. In cases n ot covered         PART 214—NONIMMIGRANT CLASSES
                                                                                                         § 103.2(b)(2) of th is ch ap ter. Th e
by p aragrap h (d )(1) of th is section , u p on      52. Th e au th ority citation for p art 214        term in ation of statu s, an d all of th e
accom p lish m en t of th e p u rp ose for          con tin u es to read as follow s:                    righ ts an d p rivileges con com itan t
w h ich p arole w as au th orized or w h en in        Authority: 8 U.S.C. 1101, 1103, 1182, 1184,        th ereto (in clu d in g au th orization to
th e op in ion of th e d istrict d irector or       1186a, 1187, 1221, 1281, 1282; 8 CFR p art 2.        accep t or con tin u e in em p loym en t in
ch ief p atrol agen t in ch arge of th e area                                                            th is cou n try), sh all take effect as of th e
in w h ich th e alien is located , n eith er          53. Section 214.1 is am en d ed by
                                                    revisin g p aragrap h (c)(4)(iv) to read as          d ate of su ch d eterm in ation by th e
h u m an itarian reason s n or p u blic ben efit                                                         d irector, alth ou gh th e alien m ay requ est
w arran ts th e con tin u ed p resen ce of th e     follow s:
                                                                                                         a review of su ch d eterm in ation in
alien in th e Un ited States, p arole sh all        § 214.1 Requirements for admission,                  rem oval p roceed in gs. In ad d ition to th e
be term in ated u p on w ritten n otice to th e     extension, and maintenance of status.                n otice of term in ation , th e d irector sh all
alien an d h e or sh e sh all be restored to        *      *     *      *      *                         issu e a n otice to ap p ear in accord an ce
th e statu s th at h e or sh e h ad at th e tim e      (c) * * *                                         w ith 8 CFR p art 239. Du rin g th e en su in g
of p arole. Wh en a ch argin g d ocu m en t is         (4) * * *                                         rem oval p roceed in gs, th e alien m ay
served on th e alien , th e ch argin g                 (iv) Th e alien is n ot th e su bject of          su bm it evid en ce to rebu t th e
d ocu m en t w ill con stitu te w ritten n otice    d ep ortation p roceed in gs u n d er section        d eterm in ation of th e d irector. Th e
of term in ation of p arole, u n less               242 of th e Act (p rior to Ap ril 1, 1997)           bu rd en of p roof sh all be on th e Service
oth erw ise sp ecified . An y fu rth er             or rem oval p roceed in gs u n d er section          to establish , by a p rep on d eran ce of th e
in sp ection or h earin g sh all be                 240 of th e Act.                                     evid en ce, th at on e or m ore of th e
con d u cted u n d er section 235 or 250 of         *      *     *      *      *                         con d ition s in section 216(b)(1) or
th e Act an d th is ch ap ter, or an y ord er                                                            216A(b)(1) of th e Act, w h ich ever is
of exclu sion , d ep ortation , or rem oval         PART 215—[REMOVED]                                   ap p licable, are tru e, or th at an alien
p reviou sly en tered sh all be execu ted . If                                                           en trep ren eu r w h o w as ad m itted
th e exclu sion , d ep ortation , or rem oval           54. Part 215 is rem oved .
                                                                                                         p u rsu an t to section 203(b)(5) of th e Act
ord er can n ot be execu ted by rem oval                                                                 obtain ed h is or h er in vestm en t cap ital
                                                    PART 216—CONDITIONAL BASIS OF
w ith in a reason able tim e, th e alien sh all                                                          th rou gh oth er th an legal m ean s (su ch as
                                                    LAWFUL PERMANENT RESIDENCE
again be released on p arole u n less in th e                                                            th rou gh th e sale of illegal d ru gs).
                                                    STATUS
op in ion of th e d istrict d irector or th e
ch ief p atrol agen t th e p u blic in terest         55. Th e au th ority citation for p art 216           (b) Determ in ation of frau d after two
requ ires th at th e alien be con tin u ed in       con tin u es to read as follow s:                    years. If, su bsequ en t to th e rem oval of
cu stod y.                                                                                               th e con d ition al basis of an alien ’s
                                                      Authority: 8 U.S.C. 1101, 1103, 1154, 1184,        p erm an en t resid en t statu s, th e d irector
*       *     *       *     *                       1186a, 1186b, an d 8 CFR p art 2.                    d eterm in es th at an alien sp ou se
   49. In § 212.6 p aragrap h (a)(2) is               Section 216.3 is revised to read as                obtain ed p erm an en t resid en t statu s
revised to read as follow s:                        follow s:                                            th rou gh a m arriage w h ich w as en tered
§ 212.6 Nonresident alien border crossing                                                                in to for th e p u rp ose of evad in g th e
                                                    § 216.3 Termination of conditional resident
cards.                                                                                                   im m igration law s or an alien
                                                    status.
                                                                                                         en trep ren eu r obtain ed p erm an en t
  (a) * * *                                            (a) Du rin g th e two-year con d ition al         resid en t statu s th rou gh a com m ercial
  (2) Mex ican bord er crossin g card ,             p eriod . Th e d irector sh all sen d a form al      en terp rise w h ich w as im p rop er u n d er
Form I–186 or I–586. Th e righ tfu l h old er       w ritten n otice to th e con d ition al              section 216A(b)(1) of th e Act, th e
of a n on resid en t alien Mexican bord er          p erm an en t resid en t of th e term in ation of    d irector m ay in stitu te rescission
crossin g card , Form I–186 or I–586, m ay          th e alien ’s con d ition al p erm an en t           p roceed in gs p u rsu an t to section 246 of
be ad m itted u n d er § 235.1(f) of th is          resid en t statu s if th e d irector d eterm in es   th e Act (if oth erw ise ap p rop riate) or
ch ap ter if fou n d oth erw ise ad m issible.      th at an y of th e con d ition s set forth in        rem oval p roceed in gs u n d er section 240
How ever, an y alien seekin g en try as a           section 216(b)(1) or 216A(b)(1) of th e              of th e Act.
visitor for bu sin ess or p leasu re m u st         Act, w h ich ever is ap p licable, are tru e, or
                                                    it becom es kn ow n to th e govern m en t               57. Section 216.4 is am en d ed by:
also p resen t a valid p assp ort an d sh all
be issu ed Form I–94 if th e alien is               th at an alien en trep ren eu r w h o w as              a. Revisin g p aragrap h s (a)(6) an d
ap p lyin g for ad m ission from :                  ad m itted p u rsu an t to section 203(b)(5)         (b)(3);
                                                    of th e Act obtain ed h is or h er                      b. Revisin g p aragrap h (c)(4);
  (i) A cou n try oth er th an Mexico or            in vestm en t cap ital th rou gh oth er th an
Can ad a, or                                        legal m ean s (su ch as th rou gh th e sale of          c. Rem ovin g th e u n n u m bered
  (ii) Can ad a if th e alien h as been in a        illegal d ru gs). If th e Service issu es a          p aragrap h im m ed iately after p aragrap h
cou n try oth er th an th e Un ited States or       n otice of in ten t to term in ate an alien ’s       (c)(4); an d by
Can ad a sin ce leavin g Mexico.                    con d ition al resid en t statu s, th e d irector       d . Revisin g p aragrap h (d )(2) to read as
*      *      *      *     *                        sh all n ot ad ju d icate Form I–751 or Form         follow s:

                                                                                                                                     AR00476
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 95 of 350 PageID 4688
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                             473

§ 216.4 Joint petition to remove                     If th e in terview is resch ed u led at th e           (1) Rem oval from th e Un ited States
conditional basis of lawful permanent                requ est of th e p etition ers, th e Service        w ou ld resu lt in extrem e h ard sh ip ;
resident status for alien spouse.                    sh all n ot be requ ired to con d u ct th e         *       *      *      *      *
   (a) * * *                                         in terview w ith in th e 90-d ay p eriod
   (6) T erm in ation of statu s for failu re to                                                            (d ) In terview. Th e service cen ter
                                                     follow in g th e filin g of th e p etition .        d irector m ay refer th e ap p lication to th e
file p etition . Failu re to p rop erly file
Form I–751 w ith in th e 90-d ay p eriod                (c) * * *                                        ap p rop riate local office an d requ ire th at
im m ed iately p reced in g th e secon d                (4) A fee or oth er con sid eration w as         th e alien ap p ear for an in terview in
an n iversary of th e d ate on w h ich th e          given (oth er th an a fee or oth er                 con n ection w ith th e ap p lication for a
alien obtain ed law fu l p erm an en t               con sid eration to an attorn ey for                 w aiver. Th e d irector sh all d en y th e
resid en ce on a con d ition al basis sh all         assistan ce in p rep aration of a law fu l          ap p lication an d in itiate rem oval
resu lt in th e au tom atic term in ation of         p etition ) in con n ection w ith th e filin g of   p roceed in gs if th e alien fails to ap p ear
th e alien ’s p erm an en t resid en ce statu s      th e p etition th rou gh w h ich th e alien         for th e in terview as requ ired , u n less th e
an d th e in itiation of p roceed in gs to           obtain ed con d ition al p erm an en t              alien establish es good cau se for su ch
rem ove th e alien from th e Un ited States.         resid en ce. If d erogatory in form ation is        failu re an d th e in terview is resch ed u led .
In su ch p roceed in gs th e bu rd en sh all be      d eterm in ed regard in g an y of th ese               (e) A d ju d ication of waiver
on th e alien to establish th at h e or sh e         issu es, th e d irector sh all offer th e           ap p lication . (1) A p p lication based on
com p lied w ith th e requ irem en t to file         p etition ers th e op p ortu n ity to rebu t        claim of h ard sh ip . In con sid erin g an
th e join t p etition w ith in th e d esign ated     su ch in form ation . If th e p etition ers fail    ap p lication for a w aiver based u p on an
p eriod . Form I–751 m ay be filed after             to overcom e su ch d erogatory                      alien ’s claim th at extrem e h ard sh ip
th e exp iration of th e 90-d ay p eriod on ly       in form ation th e d irector m ay d en y th e       w ou ld resu lt from th e alien ’s rem oval
if th e alien establish es to th e satisfaction      join t p etition , term in ate th e alien ’s        from th e Un ited States, th e d irector
of th e d irector, in w ritin g, th at th ere w as   p erm an en t resid en ce, an d issu e a n otice    sh all take in to accou n t on ly th ose
good cau se for th e failu re to file Form           to ap p ear to in itiate rem oval                   factors th at arose su bsequ en t to th e
I–751 w ith in th e requ ired tim e p eriod .        p roceed in gs. If d erogatory in form ation        alien ’s en try as a con d ition al p erm an en t
If th e join t p etition is filed p rior to th e     n ot relatin g to an y of th ese issu es is         resid en t. Th e d irector sh all bear in m in d
ju risd iction vestin g w ith th e                   d eterm in ed d u rin g th e cou rse of th e        th at an y rem oval from th e Un ited States
im m igration ju d ge in rem oval                    in terview , su ch in form ation sh all be          is likely to resu lt in a certain d egree of
p roceed in gs an d th e d irector excu ses          forw ard ed to th e in vestigation s u n it for     h ard sh ip , an d th at on ly in th ose cases
th e late filin g an d ap p roves th e p etition ,   ap p rop riate action . If n o u n resolved         w h ere th e h ard sh ip is extrem e sh ou ld
h e or sh e sh all restore th e alien ’s             d erogatory in form ation is d eterm in ed          th e ap p lication for a w aiver be gran ted .
p erm an en t resid en ce statu s, rem ove th e      relatin g to th ese issu es, th e p etition         Th e bu rd en of establish in g th at extrem e
con d ition al basis of su ch statu s an d           sh all be ap p roved an d th e con d ition al       h ard sh ip exists rests solely w ith th e
can cel an y ou tstan d in g n otice to ap p ear     basis of th e alien ’s p erm an en t resid en ce    ap p lican t.
in accord an ce w ith § 239.2 of th is               statu s rem oved , regard less of an y action       *       *      *      *      *
ch ap ter. If th e join t p etition is n ot filed    taken or con tem p lated regard in g oth er            (3) * * *
u n til after ju risd iction vests w ith th e        p ossible grou n d s for rem oval.                     (ii) A con d ition al resid en t or form er
im m igration ju d ge, th e im m igration               (d ) * * *                                       con d ition al resid en t w h o h as n ot
ju d ge m ay term in ate th e m atter u p on
                                                        (2) Den ial. If th e d irector d en ies th e     d ep arted th e Un ited States after
join t m otion by th e alien an d th e
                                                     join t p etition , h e or sh e sh all p rovid e     term in ation of resid en t statu s m ay ap p ly
service.
   (b) * * *                                         w ritten n otice to th e alien of th e              for th e w aiver. A con d ition al resid en t
   (3) T erm in ation of statu s for failu re to     d ecision an d th e reason (s) th erefor an d       w h o is in exclu sion , d ep ortation , or
ap p ear for in terview. If th e con d ition al      sh all issu e a n otice to ap p ear u n d er        rem oval p roceed in gs m ay ap p ly for th e
resid en t alien an d / or th e p etition in g       section 239 of th e Act an d 8 CFR p art            w aiver on ly u n til su ch tim e as th ere is
sp ou se fail to ap p ear for an in terview in       239. Th e alien ’s law fu l p erm an en t           a fin al ord er of d ep ortation or rem oval.
con n ection w ith th e join t p etition             resid en ce statu s sh all be term in ated as       Th e con d ition al resid en t m ay ap p ly for
requ ired by section 216(c) of th e Act,             of th e d ate of th e d irector’s w ritten          th e w aiver regard less of h is or h er
th e alien ’s p erm an en t resid en ce statu s      d ecision . Th e alien sh all also be               p resen t m arital statu s. Th e con d ition al
w ill be au tom atically term in ated as of          in stru cted to su rren d er an y Alien             resid en t m ay still be resid in g w ith th e
th e secon d an n iversary of th e d ate on          Registration Receip t Card p reviou sly             citizen or p erm an en t resid en t sp ou se, or
w h ich th e alien obtain ed p erm an en t           issu ed by th e Service. No ap p eal sh all         m ay be d ivorced or sep arated .
resid en ce. Th e alien sh all be p rovid ed         lie from th e d ecision of th e d irector;          *       *      *      *      *
w ith w ritten n otification of th e                 h ow ever, th e alien m ay seek review of              (f) Decision . Th e d irector sh all
term in ation an d th e reason s th erefor,          th e d ecision in rem oval p roceed in gs. In       p rovid e th e alien w ith w ritten n otice of
an d a n otice to ap p ear sh all be issu ed         su ch p roceed in gs th e bu rd en of p roof        th e d ecision on th e ap p lication for
p lacin g th e alien u n d er rem oval               sh all be on th e Service to establish , by         w aiver. If th e d ecision is ad verse, th e
p roceed in gs. Th e alien m ay seek review          a p rep on d eran ce of th e evid en ce, th at      d irector sh all ad vise th e alien of th e
of th e d ecision to term in ate h is or h er        th e facts an d in form ation set forth by          reason s th erefore, n otify th e alien of th e
statu s in su ch p roceed in gs, bu t th e           th e p etition ers are n ot tru e or th at th e     term in ation of h is or h er p erm an en t
bu rd en sh all be on th e alien to establish        p etition w as p rop erly d en ied .                resid en ce statu s, in stru ct th e alien to
com p lian ce w ith th e in terview                     58. Section 216.5 is am en d ed by               su rren d er an y Alien Registration
requ irem en ts. If th e alien su bm its a           revisin g p aragrap h s (a)(1), (d ), (e)(1),       Receip t Card issu ed by th e Service an d
w ritten requ est th at th e in terview be           (e)(3)(ii), an d (f) to read as follow s:           issu e a n otice to ap p ear p lacin g th e
resch ed u led or th at th e in terview be                                                               alien in rem oval p roceed in gs. No ap p eal
w aived , an d th e d irector d eterm in es th at    § 216.5 Waiver of requirement to file joint         sh all lie from th e d ecision of th e
th ere is good cau se for gran tin g th e            petition to remove conditions by alien              d irector, h ow ever, th e alien m ay seek
                                                     spouse.
requ est, th e in terview m ay be                                                                        review of su ch d ecision in rem oval
resch ed u led or w aived , as ap p rop riate.         (a) * * *                                         p roceed in gs.

                                                                                                                                    AR00477
        Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                         Page 96 of 350 PageID 4689
474                    Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

PART 217—VISA WAIVER PILOT                            (b) S p ecial p rogram requ irem en ts. (1)       u n d er th is p art from d ep artin g from th e
PROGRAM                                            Gen eral. In ad d ition to m eetin g all of th e     Un ited States w ith in h is or h er p eriod
                                                   requ irem en ts for th e Visa Waiver Pilot           of au th orized stay, th e d istrict d irector
  59. Th e au th ority citation for p art 217      Program sp ecified in section 217 of th e            h avin g ju risd iction over th e p lace of th e
con tin u es to read as follow s:                  Act, each ap p lican t m u st p osses a valid ,      alien ’s tem p orary stay m ay, in h is or h er
     Authority: 8 U.S.C. 1103, 1187; 8 CFR p art   u n exp ired p assp ort issu ed by a                 d iscretion , gran t a p eriod of satisfactory
2.                                                 d esign ated cou n try an d p resen t a              d ep artu re n ot to exceed 30 d ays. If
                                                   com p leted , sign ed Form I–94W,                    d ep artu re is accom p lish ed d u rin g th at
  60. Section 217.1 is revised to read as
                                                   Non im m igran t Visa Waiver Arrival/                p eriod , th e alien is to be regard ed as
follow s:
                                                   Dep artu re Form .                                   h avin g satisfactorily accom p lish ed th e
§ 217.1 Scope.                                        (2) Person s p reviou sly rem oved .              visit w ith ou t overstayin g th e allotted
  Th e Visa Waiver Pilot Program                   Alien s w h o h ave been d ep orted or               tim e.
(VWPP) d escribed in th is section is              rem oved from th e Un ited States, after                (b) Read m ission after d ep artu re to
establish ed p u rsu an t to th e p rovision s     h avin g been d eterm in ed d ep ortable,            con tigu ou s territory or ad jacen t islan d .
of section 217 of th e Act.                        requ ire th e con sen t of th e Attorn ey            An alien ad m itted to th e Un ited States
  61. Section 217.2 is revised to read as          Gen eral to ap p ly for ad m ission to th e          u n d er th is p art m ay be read m itted to th e
follow s:                                          Un ited States p u rsu an t to section               Un ited States for th e balan ce of h is or
                                                   212(a)(9)(A)(ii) of th e Act. Su ch p erson s        h er Visa Waiver Pilot Program
§ 217.2 Eligibility.                               m ay n ot be ad m itted to th e Un ited              ad m ission p eriod if h e or sh e is
   (a) Defin tion s. As u sed in th is p art,      States u n d er th e p rovision s of th is p art     oth erw ise ad m issible.
th e term :                                        n otw ith stan d in g th e fact th at th e              63. Section 217.4 is am en d ed by:
   Carrier refers to th e ow n er, ch arterer,     requ ired con sen t of th e Attorn ey                   a. Revisin g th e section h ead in g:
                                                   Gen eral m ay h ave been secu red . Su ch               b. Rem ovin g p aragrap h (a);
lessee, or au th orized agen t of an y
                                                   alien s m u st secu re a visa in ord er to be           c. Red esign atin g p aragrap h s (b), (c),
com m ercial vessel or com m ercial
                                                   ad m itted to th e Un ited States as                 an d (d ) as p aragrap h s (a), (b), an d (c)
aircraft en gaged in tran sp ortin g
                                                   n on im m igran ts, u n less oth erw ise             resp ectively;
p assen gers to th e Un ited States from a                                                                 d . Revisin g n ew ly red esign ated
foreign p lace.                                    exem p t.
                                                      (c) Restriction s on m an n er of arrival.        p aragrap h (a)(1);
   Design ated cou n try refers to An d orra,                                                              e. Ad d in g a n ew p aragrap h (a)(3);
Argen tin a, Au stralia, Belgiu m , Bru n ei,      (1) A p p lican ts arrivin g by air an d sea.
                                                   Ap p lican ts m u st arrive on a carrier                f. Revisin g n ew ly red esign ated
Den m ark, Fin lan d , Fran ce, Germ an y,                                                              p aragrap h (b); an d by
Icelan d , Italy, Jap an , Liech ten stein ,       sign atory to an agreem en t sp ecified in
                                                   § 217.6 an d at th e tim e of arrival m u st            g. Revisin g n ew ly red esign ated
Lu xem bou rg, Mon aco, th e Neth erlan d s,                                                            p aragrap h (c) to read as follow s:
New Zealan d , Norw ay, San Marin o,               be in p ossession of a retu rn trip ticket
Sp ain , Sw ed en , Sw itzerlan d , an d th e      th at w ill tran sp ort th e traveler ou t of th e   § 217.4 Inadmissibility and deportability.
Un ited Kin gd om . Th e Un ited Kin gd om         Un ited States to an y oth er foreign p ort             (a) Determ in ation s of in ad m issibility.
refers on ly to British citizen s w h o h ave      or p lace as lon g as th e trip d oes n ot           (1) An alien w h o ap p lies for ad m ission
th e u n restricted righ t of p erm an en t        term in ate in con tigu ou s territory or an         u n d er th e p rovision s of section 217 of
abod e in th e Un ited Kin gd om (En glan d ,      ad jacen t islan d ; excep t th at th e retu rn      th e Act, w h o is d eterm in ed by an
Scotlan d , Wales, North ern Irelan d , th e       trip ticket m ay tran sp ort th e traveler to        im m igration officer n ot to be eligible for
Ch an n el Islan d s an d th e Isle of Man ); it   con tigu ou s territory or an ad jacen t             ad m ission u n d er th at section or to be
d oes n ot refer to British overseas               islan d , if th e traveler is a resid en t of th e   in ad m issible to th e Un ited States u n d er
citizen s, British d ep en d en t territories’     cou n try of d estin ation .                         on e or m ore of th e grou n d s of
                                                      (2) A p p lican ts arrivin g at lan d bord er     in ad m issibility listed in section 212 of
citizen s, or citizen s of British
                                                   p orts-of-en try. An y Visa Waiver Pilot             th e Act (oth er th an for lack of a visa),
Com m on w ealth cou n tries. Effective
                                                   Program ap p lican t arrivin g at a lan d            or w h o is in p ossession of an d p resen ts
Ap ril 1, 1995, u n til Sep tem ber 30, 1998,
                                                   bord er p ort-of-en try m u st p rovid e             frau d u len t or cou n terfeit travel
or th e exp iration of th e Visa Waiver
                                                   evid en ce to th e im m igration officer of          d ocu m en ts, w ill be refu sed ad m ission
Pilot Program , w h ich ever com es first,
                                                   fin an cial solven cy an d a d om icile              in to th e Un ited States an d rem oved .
Irelan d h as been d esign ated as a Visa
                                                   abroad to w h ich th e ap p lican t in ten d s to    Su ch refu sal an d rem oval sh all be m ad e
Waiver Pilot Program cou n try w ith
                                                   retu rn . An ap p lican t arrivin g at a lan d -     at th e level of th e p ort d irector or
Probation ary Statu s in accord an ce w ith
                                                   bord er p ort-of-en try w ill be ch arged a          officer-in -ch arge, or an officer actin g in
section 217(g) of th e Act.
                                                   fee as p rescribed in § 103.7(b)(1) of th is         th at cap acity, an d sh all be effected
   Retu rn trip tick et m ean s an y retu rn
                                                   ch ap ter for issu an ce of Form I–94W,              w ith ou t referral of th e alien to an
trip tran sp ortation ticket p resen ted by
                                                   Non im m igran t Visa Waiver Arrival/                im m igration ju d ge for fu rth er in qu iry,
an arrivin g Visa Waiver Pilot Program
                                                   Dep artu re Form . A rou n d -trip                   exam in ation , or h earin g, excep t th at an
ap p lican t on a p articip atin g carrier valid
                                                   tran sp ortation ticket is n ot requ ired of         alien w h o p resen ts h im self or h erself as
for at least 1 year, airlin e em p loyee
                                                   ap p lican ts at lan d bord er p orts-of-en try.     an ap p lican t for ad m ission u n d er
p asses in d icatin g retu rn p assage,               (d ) A lien s in tran sit. An alien w h o is
in d ivid u al vou ch ers for retu rn p assage,                                                         section 217 of th e Act, w h o ap p lies for
                                                   in tran sit th rou gh th e Un ited States is
grou p vou ch ers for retu rn p assage for                                                              asylu m in th e Un ited States m u st be
                                                   eligible to ap p ly for ad m ission u n d er
ch arter fligh ts, an d m ilitary travel ord ers                                                        issu ed a Notice of Referral to
                                                   th e Visa Waiver Pilot Program , p rovid ed
w h ich in clu d e m ilitary d ep en d en ts for                                                        Im m igration Ju d ge for a p roceed in g in
                                                   th e ap p lican t m eets all oth er p rogram
retu rn to d u ty station s ou tsid e th e                                                              accord an ce w ith § 208.2(b)(1) of th is
                                                   requ irem en ts.
Un ited States on U.S. m ilitary fligh ts. A          62. Section 217.3 is revised to read as           ch ap ter.
p eriod of valid ity of 1 year n eed n ot be       follow s:                                            *       *      *     *      *
reflected on th e ticket itself, p rovid ed                                                                (3) Refu sal u n d er p aragrap h (a)(1) of
th at th e carrier agrees th at it w ill h on or   § 217.3 Maintenance of status.                       th is section sh all n ot con stitu te rem oval
th e retu rn p ortion of th e ticket at an y         (a) S atisfactory d ep artu re. If an              for p u rp oses of section 212(a)(9)(A) of
tim e, as p rovid ed in § 217.6(b)(2)(v).          em ergen cy p reven ts an alien ad m itted           th e Act.

                                                                                                                                   AR00478
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                        Page 97 of 350 PageID 4690
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                          475

   (b) Determ in ation of d ep ortability. (1)     en ter in to an agreem en t on Form I–775         exceed 15 d ays w ith in w h ich th e carrier
An alien w h o h as been ad m itted to th e        to tran sp ort as an ap p lican t for             m ay brin g itself in to com p lian ce w ith
Un ited States u n d er th e p rovision s of       ad m ission u n d er section 217 of th e Act      th e term s of th e carrier agreem en t. Th e
section 217 of th e Act an d of th is p art        an d th is ch ap ter, on ly an alien w h o:       agreem en t sh all be su bject to
w h o is d eterm in ed by an im m igration            (i) Is a n ation al of an d in p ossession     can cellation by eith er p arty for an y
officer to be d ep ortable from th e Un ited       of a valid p assp ort issu ed by a cou n try      reason u p on 15 d ays’ w ritten n otice to
States u n d er on e or m ore of th e grou n d s   listed in § 217.2;                                th e oth er p arty.
of d ep ortability listed in section 237 of           (ii) Is in p ossession of a com p leted
th e Act sh all be rem oved from th e              an d sign ed Form I–94W, Non im m igran t         PART 221—ADMISSION OF VISITORS
Un ited States to h is or h er cou n try of        Visa Waiver Arrival/ Dep artu re Form ,           OR STUDENTS
n ation ality or last resid en ce. Su ch           p rior to in sp ection ;
                                                      (iii) Seeks ad m ission in to th e Un ited        66. Th e au th ority citation for p art 221
rem oval sh all be d eterm in ed by th e
                                                   States for 90 d ays or less;                      is revised to read as follow s:
d istrict d irector w h o h as ju risd iction
over th e p lace w h ere th e alien is fou n d ,      (iv) Is in p ossession of a rou n d trip         Authority: 8 U.S.C. 1101, 1103, 1201; 8
an d sh all be effected w ith ou t referral of     ticket; an d                                      CFR p art 2.
th e alien to an im m igration ju d ge for a          (v) Ap p ears oth erw ise ad m issible.
                                                      (2) Th e carrier fu rth er agrees to:          § 221.1 [Amended]
d eterm in ation of d ep ortability, excep t
                                                      (i) Su bm it to th e Im m igration an d          67. Section 221.1 is am en d ed in th e
th at an alien ad m itted as a Visa Waiver
                                                   Natu ralization Service th e Form I–94            last sen ten ce by revisin g th e term ‘‘p art
Pilot Program visitor w h o ap p lies for
                                                   w as requ ired by 8 CFR p art 231 an d            103’’ to read ‘‘§ 103.6’’.
asylu m in th e Un ited States m u st be
                                                   section 217(e)(1)(B) of th e Act;
issu ed a Notice of Referral to                       (ii) Rem ove from th e Un ited States          PART 223—REENTRY PERMITS,
Im m igration Ju d ge for a p roceed in g in       an y alien tran sp orted by th e carrier to       REFUGEE TRAVEL DOCUMENTS, AND
accord an ce w ith § 208.2(b)(1) of th is          th e Un ited States for ad m ission u n d er      ADVANCE PAROLE DOCUMENTS
ch ap ter.                                         th e Visa Waiver Pilot Program , in th e
   (2) Rem oval u n d er p aragrap h (b)(1) is                                                          68. Th e au th ority citation for p art 223
                                                   even t th at th e alien is d eterm in ed by an
equ ivalen t in all resp ects an d h as th e                                                         is revised to read as follow s:
                                                   im m igration officer at th e p ort-of-en try
sam e con sequ en ces as rem oval after                                                                 Authority: 8 U.S.C. 1103, 1181, 1182,
                                                   to be in ad m issible or is d eterm in ed to
p roceed in gs con d u cted u n d er section                                                         1186a, 1203, 1225, 1226, 1227, 1251; Protocol
                                                   h ave rem ain ed u n law fu lly beyon d th e
240 of th e Act.                                                                                     Relatin g to th e Statu s of Refu gees, Novem ber
   (c)(1) Rem oval of in ad m issible alien s      90-d ay p eriod of ad m ission u n d er th e
                                                                                                     1, 1968, 19 U.S.T. 6223 (TIAS) 6577; 8 CFR
wh o arrived by air or sea. Rem oval of an         p rogram ;
                                                                                                     p art 2.
                                                      (iii) Reim bu rse w ith in 30 d ays of
alien from th e Un ited States u n d er th is
                                                   n otice (n ot p ay as a p en alty) th e Service      69. In § 223.1, p aragrap h (b) is revised
section m ay be effected u sin g th e retu rn
                                                   for an y an d all exp en ses in cu rred in th e   to read as follow s:
p ortion of th e rou n d trip p assage
                                                   tran sp ortation (from th e p oin t of arrival
p resen ted by th e alien at th e tim e of                                                           § 223.1 Purpose of documents.
                                                   in th e Un ited States to th e p lace of
en try to th e Un ited States as requ ired by                                                        *      *       *      *      *
                                                   rem oval) of an y alien fou n d
section 217(a)(7) of th e Act. Su ch                                                                    (b) Refu gee travel d ocu m en t. A
                                                   in ad m issible or d ep ortable u n d er th is
rem oval sh all be on th e first available                                                           refu gee travel d ocu m en t is issu ed
                                                   p rogram ;
m ean s of tran sp ortation to th e alien ’s          (iv) Retain th e resp on sibilities an d       p u rsu an t to th is p art an d article 28 of
p oin t of em barkation to th e Un ited            obligation s en u m erated in th is p art         th e Un ited Nation s Con ven tion of Ju ly
States. Noth in g in th is p art absolves th e     sh ou ld th e alien u n d er th e Visa Waiver     29, 1951, for th e p u rp ose of travel.
carrier of th e resp on sibility to rem ove        Pilot Program d ep art tem p orarily for a        Excep t as p rovid ed in § 223.3(d )(2)(i), a
an y in ad m issible or d ep ortable alien at      visit to foreign con tigu ou s territory          p erson w h o h old s refu gee statu s
carrier exp en se, as p rovid ed in                d u rin g th e p eriod of au th orized stay in    p u rsu an t to section 207 of th e Act, or
§ 217.6(b).                                        th e Un ited States an d be read m itted          asylu m statu s p u rsu an t to section 208 of
   (2) Rem oval of in ad m issible an d                                                              th e Act, m u st h ave a refu gee travel
                                                   p u rsu an t to § 217.3(b);
d ep ortable alien s wh o arrived at lan d            (v) Tran sp ort an alien fou n d               d ocu m en t to retu rn to th e Un ited States
bord er p orts-of-en try. Rem oval u n d er        in ad m issible to th e Un ited States or         after tem p orary travel abroad u n less h e
th is section w ill be by th e first available     d ep ortable from th e Un ited States after       or sh e is in p ossession of a valid
m ean s of tran sp ortation d eem ed               ad m ission u n d er th e Visa Waiver Pilot       ad van ce p arole d ocu m en t.
ap p rop riate by th e d istrict d irector.        Program , by accep tin g as fu ll p aym en t         70. In § 223.2, p aragrap h (b)(2) is
§ 217.5 [Removed and reserved]                     for retu rn p assage th e retu rn p ortion of     revised to read as follow s:
  64. Section 217.5 is rem oved an d               th e tran sp ortation ticket as requ ired in
                                                   p aragrap h (b)(1)(iv) of th is section from      § 223.2 Processing.
reserved .
  65. Section 217.6 is revised to read as          th e origin al p ort of arrival in th e Un ited   *      *      *      *      *
follow s:                                          States to p oin t of em barkation or to th e         (b) * * *
                                                   cou n try of n ation ality or last resid en ce.      (2) Refu gee travel d ocu m en t. (i)
§ 217.6 Carrier agreements.                           (c) T erm in ation of agreem en ts. Th e       Gen eral. Excep t as oth erw ise p rovid ed
   (a) Gen eral. Th e carrier agreem en ts         Com m ission er, on beh alf of th e Attorn ey     in th is section , an ap p lication m ay be
referred to in section 217(e) of th e Act          Gen eral, m ay term in ate an y carrier           ap p roved if filed by a p erson w h o is in
sh all be m ad e by th e Com m ission er on        agreem en t u n d er th is p art, w ith 5 d ays   th e Un ited States at th e tim e of
beh alf of th e Attorn ey Gen eral an d sh all     n otice to a carrier, for th e carrier’s          ap p lication , an d eith er h old s valid
be on Form I–775, Visa Waiver Pilot                failu re to m eet th e term s of su ch            refu gee statu s u n d er section 207 of th e
Program Agreem en t.                               agreem en t. As a m atter of d iscretion , th e   Act, valid asylu m statu s u n d er section
   (b) A greem en t p rovision s. (1) To be        Com m ission er m ay n otify a carrier of         208 of th e Act, or is a p erm an en t
au th orized to tran sp ort an alien to th e       th e existen ce of a basis for term in ation      resid en t an d received su ch statu s as a
Un ited States p u rsu an t to section 217 of      of a carrier agreem en t u n d er th is p art     d irect resu lt of h is or h er asylu m or
th e Act an d th is p art, a carrier m u st        an d allow th e carrier a p eriod n ot to         refu gee statu s.

                                                                                                                                AR00479
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                             Page 98 of 350 PageID 4691
476                   Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

   (ii) Discretion ary au th ority to accep t       PART 232—DETENTION OF ALIENS                       con tracts w ith tran sp ortation lin es
an ap p lication from an alien n ot with in         FOR PHYSICAL AND MENTAL                            referred to in section 233(a) of th e Act
th e Un ited S tates. As a m atter of               EXAMINATION                                        sh all be m ad e by th e Com m ission er on
d iscretion , a d istrict h avin g ju risd iction                                                      beh alf of th e govern m en t an d sh all be
over a p ort-of-en try or a p rein sp ection           72. Th e h ead in g for p art 232 is revised    d ocu m en ted on Form I–426. Th e
station w h ere an alien is an ap p lican t         to read as set forth above.                        con tracts w ith tran sp ortation lin es
for ad m ission , or an overseas d istrict             73. Th e au th ority citation for p art 232     d esirin g th eir p assen gers to be
d irector h avin g ju risd iction over th e         is revised to read as follow s:                    p rein sp ected at p laces ou tsid e th e
p lace w h ere an alien is p h ysically               Authority: 8 U.S.C. 1103, 1222, 1224, 1252;      Un ited States sh all be m ad e by th e
p resen t, m ay accep t an d ad ju d icate an       8 CFR p art 2.                                     Com m ission er on beh alf of th e
ap p lication for a refu gee travel                                                                    govern m en t an d sh all be d ocu m en ted
                                                    § 232.1 Redesignated as 232.3 and
d ocu m en t from an alien w h o p reviou sly       revised]                                           on Form I–425; excep t th at con tracts for
h ad been ad m itted to th e Un ited States                                                            irregu larly op erated ch arter fligh ts m ay
as a refu gee, or w h o p reviou sly h ad             74. Section 232.1 is red esign ated as
                                                                                                       be en tered in to by th e Associate
been gran ted asylu m statu s in th e               $232.3, an d is revised to read as follow s:
                                                                                                       Com m ission er for Exam in ation s or an
Un ited States, an d w h o h ad d ep arted          § 232.3 Arriving aliens.                           im m igration officer d esign ated by th e
from th e Un ited States w ith ou t h avin g           Wh en a d istrict d irector h as                Execu tive Associate Com m ission er for
ap p lied for su ch refu gee travel                 reason able grou n d s for believin g th at        Program s an d h avin g ju risd iction over
d ocu m en t, p rovid ed :                          p erson s arrivin g in th e Un ited States         th e location w h ere th e in sp ection w ill
   (A) Th e alien su bm its a Form I–131,                                                              take p lace.
                                                    sh ou ld be d etain ed for reason s sp ecified
Ap p lication for Travel Docu m en t, w ith
                                                    in section 232 of th e Act, h e or sh e               80. In n ew ly red esign ated § 233.3,
th e fee requ ired u n d er § 103.7(b)(1) of
                                                    sh all, after con su ltation w ith th e Un ited    p aragrap h (b) is revised to read as
th is ch ap ter.
   (B) Th e d istrict d irector is satisfied        States Pu blic Health Service at th e p ort-       follow s:
th at th e alien d id n ot in ten d to aban d on    of-en try, n otify th e m aster or agen t of
                                                    th e arrivin g vessel or aircraft of h is or       § 233.3 Aliens in immediate and
h is or h er refu gee statu s at th e tim e of                                                         continuous transit.
d ep artu re from th e Un ited States;              h er in ten tion to effect su ch d eten tion by
                                                    servin g on th e m aster or agen t Form I–         *      *      *     *      *
   (C) Th e alien d id n ot en gage in an y
activities w h ile ou tsid e th e Un ited           259 in accord an ce w ith § 235.3(a) of th is         (b) S ign atory lin es. A list of cu rren tly
States th at w ou ld be in con sisten t w ith       ch ap ter.                                         effective Form I–426 agreem en ts is
con tin u ed refu gee or asylu m statu s; an d                                                         m ain tain ed by th e Service’s
                                                    § 234.1 and § 234.2 [Redesignated as
   (D) Th e alien h as been ou tsid e th e                                                             Head qu arters Office of In sp ection s an d
                                                    §§ 232.1 and 232.2 respectively]
Un ited States for less th an 1 year sin ce                                                            is available u p on w ritten requ est.
                                                      75. Section s 234.1 an d 234.2 are
h is or h er last d ep artu re.                     red esign ated as §§ 232.1 an d 232.2                 81. New ly red esign ated § 233.4 is
*       *     *      *      *                       resp ectively.                                     revised to read as follow s:
   71. In § 223.3, p aragrap h (d )(2) is
                                                                                                       § 233.4 Preinspection outside the United
revised to read as follow s:                        PART 234—[REMOVED]                                 States.
§ 223.3 Validity and effect on admissibility.         76. Part 234 is rem oved .                          (a) Form I–425 agreem en ts. A
*       *     *      *      *                         77. Th e follow in g p arts are                  tran sp ortation lin e brin gin g ap p lican ts
   (d ) * * *                                       red esign ated as set forth in th e table          for ad m ission to th e Un ited States
   (2) Refu gee travel d ocu m en t. (i)            below :                                            th rou gh p rein sp ection sites ou tsid e th e
In sp ection an d im m igration statu s.                                                               Un ited States sh all en ter in to an
Up on arrival in th e Un ited States, an                     Old part                     New part
                                                                                                       agreem en t on Form I–425. Su ch an
alien w h o p resen ts a valid u n exp ired                                                            agreem en t sh all be n egotiated d irectly
refu gee travel d ocu m en t, or w h o h as         Part 238 ....................   Part 233.
                                                    Part 239 ....................   Part 234.          by th e Service’s Head qu arters Office of
been allow ed to file an ap p lication for                                                             In sp ection s an d th e h ead office of th e
a refu gee travel d ocu m en t an d th is                                                              tran sp ortation lin e.
ap p lication h as been ap p roved u n d er         PART 233—CONTRACTS WITH
th e p roced u re set forth in                      TRANSPORTATION LINES                                  (b) S ign atory lin es. A list of
§ 223.2(b)(2)(ii), sh all be exam in ed as to                                                          tran sp ortation lin es w ith cu rren tly valid
                                                      78. Th e au th ority citation for n ew ly        tran sp ortation agreem en ts on Form I–
h is or h er ad m issibility u n d er th e Act.
                                                    red esign ated p art 233 con tin u es to read      425 is m ain tain ed by th e Service’s
An alien sh all be accord ed th e
                                                    as follow s:                                       Head qu arters Office of In sp ection s an d
im m igration statu s en d orsed in h is or
h er refu gee travel d ocu m en t, or (in th e           Authority: 8 U.S.C. 1103, 1228; 8 CFR p art   is available u p on w ritten requ est.
case of an alien d iscu ssed in                     2.                                                    82. New ly red esign ated § 233.5 is
§ 223.2(b)(2)(ii)) w h ich w ill be en d orsed        79. New ly red esign ated § 233.1 is             revised to read as follow s:
in su ch d ocu m en t, u n less h e or sh e is      revised to read as follow s:
n o lon ger eligible th erefor, or h e or sh e                                                         § 233.5 Aliens entering Guam pursuant to
                                                    § 233.1 Contracts.                                 section 14 of Public Law 99–396, ‘‘Omnibus
ap p lies for an d is fou n d eligible for                                                             Territories Act.’’
som e oth er im m igration statu s.                    Th e con tracts w ith tran sp ortation
   (ii) In ad m issibility. If an alien w h o       lin es referred to in section 233(c) of th e          A tran sp ortation lin e brin gin g alien s
p resen ts a valid u n exp ired refu gee            Act m ay be en tered in to by th e                 to Gu am u n d er th e visa w aiver
travel d ocu m en t ap p ears to th e               Execu tive Associate Com m ission er for           p rovision s of § 212.1(e) of th is ch ap ter
exam in in g im m igration officer to be            Program s, or by an im m igration officer          sh all en ter in to an agreem en t on Form
in ad m issible, h e or sh e sh all be referred     d esign ated by th e Execu tive Associate          I–760. Su ch agreem en ts sh all be
for p roceed in gs u n d er section 240 of th e     Com m ission er for Program s on beh alf of        n egotiated d irectly by th e Service’s
Act. Section 235(c) of th e Act sh all n ot         th e govern m en t an d sh all be                  Head qu arters an d h ead offices of th e
be ap p licable.                                    d ocu m en ted on Form I–420. Th e                 tran sp ortation lin es.

                                                                                                                                   AR00480
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 99 of 350 PageID 4692
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                            477

PART 234—DESIGNATION OF PORTS                      p rovision s of th e Act, th e alien sh all be       of th e Act an d sh all be rem oved u n d er
OF ENTRY FOR ALIENS ARRIVING BY                    so in form ed an d h is or h er en try sh all        section 235(a)(2) of th e Act as if
CIVIL AIRCRAFT                                     n ot be record ed .                                  en cou n tered u p on arrival. A stow aw ay
                                                      (d ) A lien ap p lican ts for ad m ission . (1)   w h o h as been rem oved p u rsu an t to
  83. Th e h ead in g for n ew ly                  Each alien seekin g ad m ission at a                 section 235(a)(2) of th e Act an d th is
red esign ated p art 234 is revised as set         Un ited States p ort-of-en try sh all p resen t      section sh all be con sid ered to h ave been
forth above.                                       w h atever d ocu m en ts are requ ired an d          form ally rem oved from th e Un ited
  84. Th e au th ority citation for n ew ly        sh all establish to th e satisfaction of th e        States for all p u rp oses u n d er th e Act.
red esign ated p art 234 is revised to read        im m igration officer th at h e or sh e is n ot         (e) U.S . citiz en s, lawfu l p erm an en t
as follow s:                                       su bject to rem oval u n d er th e                   resid en ts of th e Un ited S tates, Can ad ian
  Authority: 8 U.S.C. 1103, 1221, 1229; 8          im m igration law s, Execu tive Ord ers, or          n ation als, an d oth er resid en ts of
CFR p art 2.                                       Presid en tial Proclam ation s an d is               Can ad a h avin g a com m on n ation ality
                                                   en titled u n d er all of th e ap p licable          with Can ad ian s, en terin g th e Un ited
§ 234.3 [Amended]                                  p rovision s of th e im m igration law s an d        S tates by sm all craft. Up on bein g
  85. New ly red esign ated § 234.3 is             th is ch ap ter to en ter th e Un ited States.       in sp ected by an im m igration officer an d
am en d ed by rem ovin g th e last sen ten ce.     A p erson claim in g to h ave been law fu lly        fou n d eligible for ad m ission as a citizen
                                                   ad m itted for p erm an en t resid en ce m u st      of th e Un ited States, or fou n d eligible
PART 235—INSPECTION OF PERSONS                     establish th at fact to th e satisfaction of         for ad m ission as a law fu l p erm an en t
APPLYING FOR ADMISSION                             th e in sp ectin g im m igration officer an d        resid en t of th e Un ited States, or in th e
   86. Th e au th ority citation for p art 235     m u st p resen t p rop er d ocu m en ts in           case of a Can ad ian n ation al or oth er
is revised to read as follow s:                    accord an ce w ith § 211.1 of th is ch ap ter.       resid en t of Can ad a h avin g a com m on
                                                      (2) An alien p resen t in th e Un ited            n ation ality w ith Can ad ian s bein g fou n d
  Authority: 8 U.S.C. 1101, 1103, 1182, 1183,      States w h o h as n ot been ad m itted or            eligible for ad m ission as a tem p orary
1201, 1224, 1225, 1226, 1227, 1228, 1252; 8
                                                   p aroled or an alien w h o seeks en try at           visitor for p leasu re, a p erson w h o
CFR p art 2.
                                                   oth er th an an op en , d esign ated p ort-of-       d esires to en ter th e Un ited States from
  87. Section 235.1 is revised to read as          en try, excep t as oth erw ise p erm itted in        Can ad a in a sm all p leasu re craft of less
follow s:                                          th is section , is su bject to th e p rovision s     th an 5 n et ton s w ith ou t m erch an d ise
                                                   of section 212(a) of th e Act an d to                m ay be issu ed , u p on ap p lication an d
§ 235.1 Scope of examination.
                                                   rem oval u n d er section 235(b) or 240 of           p aym en t of a fee p rescribed u n d er
   (a) Gen eral. Ap p lication to law fu lly       th e Act.                                            § 103.7(b)(1) of th is ch ap ter, Form I–68,
en ter th e Un ited States sh all be m ad e in        (3) An alien w h o is brou gh t to th e           Can ad ian Bord er Boat Lan d in g Card ,
p erson to an im m igration officer at a           Un ited States, w h eth er or n ot to a              an d m ay th ereafter en ter th e Un ited
U.S. p ort-of-en try w h en th e p ort is op en    d esign ated p ort-of-en try an d regard less        States alon g w ith th e im m ed iate sh ore
for in sp ection , or as oth erw ise               of th e m ean s of tran sp ortation , after          area of th e Un ited States on th e bod y of
d esign ated in th is section .                    h avin g been in terd icted in in tern ation al      w ater d esign ated on th e Form I–68 from
   (b) U.S . citiz en s. A p erson claim in g      or Un ited States w aters, is con sid ered           tim e to tim e for th e d u ration of th at
U.S. citizen sh ip m u st establish th at fact     an ap p lican t for ad m ission an d sh all be       n avigation season w ith ou t fu rth er
to th e exam in in g officer’s satisfaction        exam in ed u n d er section 235(b) of th e           in sp ection . In th e case of a Can ad ian
an d m u st p resen t a U.S. p assp ort if su ch   Act.                                                 n ation al or oth er resid en t of Can ad a
p assp ort is requ ired u n d er th e                 (4) An alien stow aw ay is n ot an                h avin g a com m on n ation ality w ith
p rovision s of 22 CFR p art 53. If su ch          ap p lican t for ad m ission an d m ay n ot be       Can ad ian s, th e Form I–68 sh all be valid
ap p lican t for ad m ission fails to satisfy      ad m itted to th e Un ited States. A                 on ly for th e p u rp ose of visits n ot to
th e exam in in g im m igration officer th at      stow aw ay sh all be rem oved from th e              exceed 72 h ou rs an d on ly if th e alien
h e or sh e is a U.S. citizen , h e or sh e        Un ited States u n d er section 235(a)(2) of         w ill rem ain in n earby sh op p in g areas,
sh all th ereafter be in sp ected as an alien .    th e Act. Th e p rovision s of section 240           n earby resid en tial n eigh borh ood s, or
   (c) A lien m em bers of Un ited S tates         of th e Act are n ot ap p licable to                 oth er sim ilar areas ad jacen t to th e
A rm ed Forces an d m em bers of a force           stow aw ays, n or is th e stow aw ay en titled       im m ed iate sh ore area of th e Un ited
of a N A T O cou n try. An y alien m em ber        to fu rth er h earin g or review of th e             States. If th e bearer of Form I–68 seeks
of th e Un ited States Arm ed Forces w h o         rem oval, excep t th at an alien stow aw ay          to en ter th e Un ited States by m ean s
is in th e u n iform of, or bears d ocu m en ts    w h o in d icates an in ten tion to ap p ly for      oth er th an sm all craft of less th an 5 n et
id en tifyin g h im or h er as a m em ber of,      asylu m sh all be referred to an asylu m             ton s w ith ou t m erch an d ise, or if h e or
su ch Arm ed Forces, an d w h o is com in g        officer for a d eterm in ation of cred ible          sh e seeks to en ter th e Un ited States for
to or d ep artin g from th e Un ited States        fear of p ersecu tion in accord an ce w ith          oth er p u rp oses, or if h e or sh e is an
u n d er official ord ers or p erm it of su ch     section 235(b)(1)(B) of th e Act an d                alien , oth er th an a law fu l p erm an en t
Arm ed Forces is n ot su bject to th e             § 208.30 of th is ch ap ter. An alien                resid en t alien of th e Un ited States, an d
rem oval p rovision s of th e Act. A               stow aw ay w h o is d eterm in ed to h ave a         in ten d s to p roceed beyon d an area
m em ber of th e force of a NATO cou n try         cred ible fear of p ersecu tion sh all h ave         ad jacen t to th e im m ed iate sh ore area of
sign atory to Article III of th e Statu s of       h is or h er asylu m ap p lication                   th e Un ited States, or rem ain s in th e
Forces Agreem en t seekin g to en ter th e         ad ju d icated in accord an ce w ith                 Un ited States lon ger th an 72 h ou rs, h e
Un ited States u n d er official ord ers is        § 208.2(b)(2) of th is ch ap ter. Noth in g in       or sh e m u st ap p ly for ad m ission at a
exem p t from th e con trol p rovision of th e     th is section sh all be con stru ed to requ ire      Un ited States p ort of en try.
Act. An y alien w h o is a m em ber of             exp ed ited rem oval p roceed in gs in                  (f) Form I–94, A rrival Dep artu re
eith er of th e foregoin g classes m ay,           accord an ce w ith section 235(b)(1) of th e         Record . (1) Un less oth erw ise exem p ted ,
u p on requ est, be in sp ected an d h is or       Act. A stow aw ay w h o abscon d s eith er           each arrivin g n on im m igran t w h o is
h er en try as an alien m ay be record ed .        p rior to in sp ection by an im m igration           ad m itted to th e Un ited States sh all be
If th e alien d oes n ot ap p ear to th e          officer or after bein g ord ered rem oved as         issu ed , u p on p aym en t of a fee
exam in in g im m igration officer to be           a stow aw ay p u rsu an t to section                 p rescribed in § 103.7(b)(1) of th is
clearly an d beyon d a d ou bt en titled to        235(a)(2) of th e Act is n ot en titled to           ch ap ter for lan d bord er ad m ission s, a
en ter th e Un ited States u n d er th e           rem oval p roceed in gs u n d er section 240         Form I–94 as evid en ce of th e term s of

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 100 of 350 PageID 4693
478                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

ad m ission . A Form I–94 issu ed at a lan d        overcom e a fin d in g of in ad m issibility            (b) Ex p ed ited rem oval. (1)
bord er p ort-of-en try sh all be con sid ered      by:                                                  Determ in ation of in ad m issibility. An
issu ed for m u ltip le en tries u n less              (1) Postin g a bon d u n d er section 213         alien w h o is arrivin g in th e Un ited
sp ecifically an n otated for a lim ited            of th e Act;                                         States or oth er alien as d esign ated
n u m ber of en tries. A Form I–94 issu ed             (2) Seekin g an d obtain in g a w aiver           p u rsu an t to p aragrap h (b)(2)(ii) of th is
at oth er th an a lan d bord er p ort-of-en try,    u n d er section 211 or 212(d )(3) or (4) of         section w h o is d eterm in ed to be
u n less issu ed for m u ltip le en tries, m u st   th e Act; or                                         in ad m issible u n d er section 212(a)(6)(C)
be su rren d ered u p on d ep artu re from th e        (3) Presen tin g ad d ition al evid en ce of      or 212(a)(7) of th e Act (excep t an alien
Un ited States in accord an ce w ith th e           ad m issibility n ot available at th e tim e         for w h om d ocu m en tary requ irem en ts
in stru ction s on th e form . Form I–94 is         an d p lace of th e in itial exam in ation .         are w aived u n d er § 211.1(b)(3) or § 212.1
n ot requ ired by:                                     (c) Su ch d eferral sh all be                     of th is ch ap ter), sh all be ord ered
   (i) An y n on im m igran t alien d escribed      accom p lish ed p u rsu an t to th e                 rem oved from th e Un ited States in
in § 212.1(a) of th is ch ap ter an d 22 CFR        p rovision s of section 212(d )(5) of th e           accord an ce w ith section 235(b)(1) of th e
41.33 w h o is ad m itted as a visitor for          Act for th e p eriod of tim e n ecessary to          Act. Th e exam in in g im m igration officer
bu sin ess or p leasu re or ad m itted to           com p lete th e d eferred in sp ection .             sh all serve th e alien w ith Form I–860,
p roceed in d irect tran sit th rou gh th e            (d ) Refu sal of a d istrict d irector to         Notice an d Ord er of Exp ed ited Rem oval.
Un ited States;                                     au th orize ad m ission u n d er section 213         Excep t as oth erw ise p rovid ed in th is
   (ii) An y n on im m igran t alien resid in g     of th e Act, or to gran t an ap p lication for       section , su ch alien is n ot en titled to a
in th e British Virgin Islan d s w h o w as         th e ben efits of section 211 or section             h earin g before an im m igration ju d ge in
ad m itted on ly to th e U.S. Virgin Islan d s      212(d )(3) or (4) of th e Act, sh all be             p roceed in gs con d u cted p u rsu an t to
as a visitor for bu sin ess or p leasu re           w ith ou t p reju d ice to th e ren ew al of su ch   section 240 of th e Act, or to an ap p eal
u n d er § 212.1(b) of th is ch ap ter;             ap p lication or th e au th orizin g of su ch        of th e exp ed ited rem oval ord er by th e
                                                    ad m ission by th e im m igration ju d ge            Board of Im m igration ap p eals. An alien
   (iii) An y Mexican n ation al in
                                                    w ith ou t ad d ition al fee.                        w h ose in ad m issibility is bein g
p ossession of a valid n on resid en t alien
                                                       (e) Wh en ever an alien on arrival is             con sid ered u n d er th is section or w h o
Mexican bord er crossin g card , or a valid
                                                    fou n d or believed to be su fferin g from           h as been ord ered rem oved p u rsu an t to
Mexican p assp ort an d a m u ltip le-en try
                                                    a d isability th at ren d ers it im p ractical to    th is section sh all be d etain ed p en d in g
n on im m igran t visa issu ed u n d er section
                                                    p roceed w ith th e exam in ation u n d er th e      d eterm in ation an d rem oval, excep t th at
101(a)(15)(B) of th e Act, w h o is
                                                    Act, th e exam in ation of su ch alien ,             p arole of su ch alien , in accord an ce w ith
ad m itted as a n on im m igran t visitor at a
                                                    m em bers of h is or h er fam ily con cern in g      section 212(d )(5) of th e Act, m ay be
Mexican bord er p ort of en try for a
                                                    w h ose ad m issibility it is n ecessary to          p erm itted on ly w h en th e Attorn ey
p eriod n ot to exceed 72 h ou rs to visit
                                                    h ave su ch alien testify, an d an y                 Gen eral d eterm in es, in th e exercise of
w ith in 25 m iles of th e bord er;
                                                    accom p an yin g alien s w h ose p rotection         d iscretion , th at p arole is requ ired to
   (iv) Bearers of Mexican d ip lom atic or         or gu ard ian sh ip w ill be requ ired sh ou ld      m eet a m ed ical em ergen cy or is
official p assp orts d escribed in § 212.1(c–       su ch alien be fou n d in ad m issible sh all        n ecessary for a legitim ate law
1) of th is ch ap ter.                              be d eferred for su ch tim e an d u n d er           en forcem en t objective.
   (2) Paroled alien s. An y alien p aroled         su ch con d ition s as th e d istrict d irector         (2) A p p licability. Th e exp ed ited
in to th e Un ited States u n d er section          in w h ose d istrict th e p ort is located           rem oval p rovision s sh all ap p ly to th e
212(d )(5) of th e Act, in clu d in g an y alien    im p oses.                                           follow in g classes of alien s w h o are
crew m em ber, sh all be issu ed a                     89. Section 235.3 is revised to read as           d eterm in ed to be in ad m issible u n d er
com p letely execu ted Form I–94,                   follow s:                                            section 212(a)(6)(C) or (7) of th e Act:
en d orsed w ith th e p arole stam p .                                                                      (i) Arrivin g alien s, as d efin ed in
   88. Section 235.2 is revised to read as          § 235.3 Inadmissible aliens and expedited            § 1.1(q) of th is ch ap ter, excep t for
follow s:                                           removal.                                             citizen s of Cu ba arrivin g at a Un ited
                                                       (a) Deten tion p rior to in sp ection . All       States p ort-of-en try by aircraft;
§ 235.2 Deferred inspection.                        p erson s arrivin g at a p ort-of-en try in th e        (ii) As sp ecifically d esign ated by th e
   (a) A d istrict d irector m ay, in h is or       Un ited States by vessel or aircraft sh all          Com m ission er, alien s w h o arrive in ,
h er d iscretion , d efer th e in sp ection of      be d etain ed aboard th e vessel or at th e          attem p t to en ter, or h ave en tered th e
an y vessel or aircraft, or of an y alien , to      airp ort of arrival by th e ow n er, agen t,         Un ited States w ith ou t h avin g been
an oth er Service office or p ort-of-en try.        m aster, com m an d in g officer, p erson in         ad m itted or p aroled follow in g
An y alien com in g to a Un ited States             ch arge, p u rser, or con sign ee of su ch           in sp ection by an im m igration officer at
p ort from a foreign p ort, from an                 vessel or aircraft u n til ad m itted or             a d esign ated p ort-of-en try, an d w h o
ou tlyin g p ossession of th e Un ited States,      oth erw ise p erm itted to lan d by an               h ave n ot establish ed to th e satisfaction
from Gu am , Pu erto Rico, or th e Virgin           officer of th e Service. Notice or ord er to         of th e im m igration officer th at th ey h ave
Islan d s of th e Un ited States, or from           d etain sh all n ot be requ ired . Th e ow n er,     been p h ysically p resen t in th e Un ited
an oth er p ort of th e Un ited States at           agen t, m aster, com m an d in g officer,            States con tin u ou sly for th e 2-year
w h ich exam in ation u n d er th is p art w as     p erson in ch arge, p u rser, or con sign ee of      p eriod im m ed iately p rior to th e d ate of
d eferred , sh all be regard ed as an               su ch vessel or aircraft sh all d eliver             d eterm in ation of in ad m issibility. Th e
ap p lican t for ad m ission at th at on w ard      every alien requ irin g exam in ation to an          Com m ission er sh all h ave th e sole
p ort.                                              im m igration officer for in sp ection or to         d iscretion to ap p ly th e p rovision s of
   (b) An exam in in g im m igration officer        a m ed ical officer for exam in ation . Th e         section 235(b)(1) of th e Act, at an y tim e,
m ay d efer fu rth er exam in ation an d refer      Service w ill n ot be liable for an y                to an y class of alien s d escribed in th is
th e alien ’s case to th e d istrict d irector      exp en ses related to su ch d eten tion or           section . Th e Com m ission er’s
h avin g ju risd iction over th e p lace w h ere    p resen tation or for an y exp en ses of a           d esign ation sh all becom e effective u p on
th e alien is seekin g ad m ission , or over        p assen ger w h o h as n ot been p resen ted         p u blication of a n otice in th e Federal
th e p lace of th e alien ’s resid en ce or         for in sp ection an d for w h om a                   Register. How ever, if th e Com m ission er
d estin ation in th e Un ited States, if th e       d eterm in ation h as n ot been m ad e               d eterm in es, in th e exercise of d iscretion ,
exam in in g im m igration officer h as             con cern in g ad m issibility by a Service           th at th e d elay cau sed by p u blication
reason to believe th at th e alien can              officer.                                             w ou ld ad versely affect th e in terests of

                                                                                                                                    AR00482
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 101 of 350 PageID 4694
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                            479

th e Un ited States or th e effective                or h er ch oosin g, at n o exp en se to th e       requ ired d ocu m en ts. If th e alien ap p ears
en forcem en t of th e im m igration law s,          Govern m en t an d w ith ou t u n reason ably      to be in ad m issible, th e im m igration
th e Com m ission er’s d esign ation sh all          d elayin g th e p rocess. Pen d in g th e          officer m ay in itiate rem oval p roceed in gs
becom e effective im m ed iately u p on              cred ible fear d eterm in ation , th e alien       again st th e alien u n d er section 240 of
issu an ce, an d sh all be p u blish ed in th e      sh all be d etain ed . Parole of su ch alien       th e Act.
Federal Register as soon as p racticable             in accord an ce w ith section 212(d )(5) of           (iii) Claim ed refu gees an d asylees. If
th ereafter. Wh en th ese p rovision s are in        th e Act m ay be p erm itted on ly w h en th e     a ch eck of Service record s or oth er
effect for alien s w h o en ter w ith ou t           Attorn ey Gen eral d eterm in es, in th e          m ean s in d icates th at th e alien h as been
in sp ection , th e bu rd en of p roof rests         exercise of d iscretion , th at p arole is         gran ted refu gee statu s or asylee statu s,
w ith th e alien to affirm atively sh ow th at       requ ired to m eet a m ed ical em ergen cy         an d su ch statu s h as n ot been term in ated
h e or sh e h as th e requ ired con tin u ou s       or is n ecessary for a legitim ate law             in d ep ortation , exclu sion , or rem oval
p h ysical p resen ce in th e Un ited States.        en forcem en t objective.                          p roceed in gs, th e im m igration officer
An y absen ce from th e Un ited States                  (5) Claim to lawfu l p erm an en t              sh all n ot ord er th e alien rem oved
sh all serve to break th e p eriod of                resid en t, refu gee, or asylee statu s. (i)       p u rsu an t to section 235(b)(1) of th e Act.
con tin u ou s p h ysical p resen ce. An alien       V erification of statu s. If an ap p lican t for   If th e alien is n ot in p ossession of a
w h o w as n ot in sp ected an d ad m itted or       ad m ission w h o is su bject to exp ed ited       valid , u n exp ired refu gee travel
p aroled in to th e Un ited States bu t w h o        rem oval p u rsu an t to section 235(b)(1) of      d ocu m en t, th e exam in in g im m igration
establish es th at h e or sh e h as been             th e Act claim s to h ave been law fu lly          officer m ay accep t an ap p lication for a
con tin u ou sly p h ysically p resen t in th e      ad m itted for p erm an en t resid en ce,          refu gee travel d ocu m en t in accord an ce
Un ited States for th e 2-year p eriod               ad m itted as a refu gee u n d er section 207      w ith § 223.2(b)(2)(ii) of th is ch ap ter. If
im m ed iately p rior to th e d ate of               of th e Act, or gran ted asylu m u n d er          accep ted , th e im m igration officer sh all
d eterm in ation of in ad m issibility sh all        section 208 of th e Act, th e im m igration        read m it th e refu gee or asylee in
be d etain ed in accord an ce w ith section          officer sh all attem p t to verify th e alien ’s   accord an ce w ith § 223.3(d )(2)(i) of th is
235(b)(2) of th e Act for a p roceed in g            claim . Su ch verification sh all in clu d e a     ch ap ter. If th e alien is d eterm in ed n ot to
u n d er section 240 of th e Act.                    ch eck of all available Service d ata              be eligible to file an ap p lication for a
   (3) A d d ition al ch arges of                    system s an d an y oth er m ean s available        refu gee travel d ocu m en t th e
in ad m issibility. In th e exp ed ited              to th e officer. An alien w h ose claim to         im m igration officer m ay in itiate rem oval
rem oval p rocess, th e Service m ay n ot            law fu l p erm an en t resid en t, refu gee, or    p roceed in gs again st th e alien u n d er
ch arge an alien w ith an y ad d ition al            asylee statu s can n ot be verified w ill be       section 240 of th is Act.
grou n d s of in ad m issibility oth er th an        ad vised of th e p en alties for p erju ry, an d      (iv) Review of ord er for claim ed lawfu l
section 212(a)(6)(C) or 212(a)(7) of th e            w ill be p laced u n d er oath or allow ed to      p erm an en t resid en ts, refu gees, or
Act. if an alien ap p ears to be                     m ake a d eclaration as p erm itted u n d er       asylees. Wh en an alien w h ose statu s h as
in ad m issible u n d er oth er grou n d s           28 U.S.C. 1746, con cern in g h is or h er         n ot been verified bu t w h o is claim in g
con tain ed in section 212(a) of th e Act,           law fu l ad m ission for p erm an en t             u n d er oath or u n d er p en alty or p erju ry
an d if th e Service w ish es to p u rsu e su ch     resid en ce, ad m ission as a refu gee u n d er    to be a law fu l p erm an en t resid en t,
ad d ition al grou n d s of in ad m issibility,      section 207 of th e Act, or gran t of              refu gee, or asylee is ord ered rem oved
th e alien sh all be d etain ed an d referred        asylu m statu s u n d er section 208 of th e       p u rsu an t to section 235(b)(1) of th e Act,
for a rem oval h earin g before an                   Act. Wh en ever p racticable, a w ritten           th e case w ill be referred to an
im m igration ju d ge p u rsu an t to section s      statem en t sh all be taken from th e alien .      im m igration ju d ge for review of th e
235(b)(2) an d 240 of th e Act for in qu iry         Th e im m igration officer sh all issu e an        exp ed ited rem oval ord er u n d er section
in to all ch arges. On ce th e alien is in           exp ed ited ord er of rem oval u n d er            235(b)(1)(C) of th e Act an d
rem oval p roceed in gs u n d er section 240         section 235(b)(1)(A)(i) of th e Act an d           § 235.6(a)(2)(ii). If th e im m igration ju d ge
of th e Act, th e Service is n ot p reclu d ed       refer th e alien to th e im m igration ju d ge     d eterm in es th at th e alien h as n ever been
from lod gin g ad d ition al ch arges again st       for review of th e ord er in accord an ce          ad m itted as a law fu l p erm an en t resid en t
th e alien . Noth in g in th is p aragrap h          w ith p aragrap h (b)(5)(iv) of th is section      or as a refu gee, or gran ted asylu m statu s,
sh all p reclu d e th e Service from                 an d § 235.6(a)(2)(ii).                            th e ord er issu ed by th e im m igration
p u rsu in g su ch ad d ition al grou n d s of          (ii) Claim ed lawfu l p erm an en t             officer w ill be affirm ed an d th e Service
in ad m issibility again st th e alien in an y       resid en ts. If th e claim to law fu l             w ill rem ove th e alien . Th ere is n o
su bsequ en t attem p t to reen ter th e             p erm an en t resid en t statu s is verified ,     ap p eal from th e d ecision of th e
Un ited States, p rovid ed th e ad d ition al        an d su ch statu s h as n ot been term in ated     im m igration ju d ge. If th e im m igration
grou n d s of in ad m issibility still exist.        in exclu sion , d ep ortation , or rem oval        ju d ge d eterm in es th at th e alien w as
   (4) Claim of asylu m or fear of                   p roceed in gs, th e exam in in g im m igration    on ce so ad m itted as a law fu l p erm an en t
p ersecu tion . If an alien su bject to th e         officer sh all n ot ord er th e alien rem oved     resid en t or as a refu gee, or w as gran ted
exp ed ited rem oval p rovision s in d icates        p u rsu an t to section 235(b)(1) of th e Act.     asylu m statu s, an d su ch statu s h as n ot
an in ten tion to ap p ly for asylu m , a fear       Th e exam in in g im m igration officer w ill      been term in ated by fin al ad m in istrative
of p ersecu tion , or a fear of retu rn to h is      d eterm in e in accord an ce w ith section         action , th e im m igration ju d ge w ill
or h er cou n try, th e in sp ectin g officer        101(a)(13)(C) of th e Act w h eth er th e          term in ate p roceed in gs an d vacate th e
sh all, before p roceed in g fu rth er w ith th e    alien is con sid ered to be m akin g an            exp ed ited rem oval ord er. Th e Service
case, d etain th e alien an d refer h im or          ap p lication for ad m ission . If th e alien is   m ay in itiate rem oval p roceed in gs
h er for an in terview by an asylu m                 d eterm in ed to be seekin g ad m ission an d      again st su ch an alien in p roceed in gs
officer in accord an ce w ith § 208.30 of            th e alien is oth erw ise ad m issible, excep t    u n d er section 240 of th e Act. Du rin g
th is ch ap ter to d eterm in e if th e alien h as   th at h e or sh e is n ot in p ossession of th e   rem oval p roceed in gs, th e im m igration
a cred ible fear of p ersecu tion . Th e             requ ired d ocu m en tation , a d iscretion ary    ju d ge m ay con sid er an y w aivers,
referrin g officer sh all p rovid e                  w aiver of d ocu m en tary requ irem en ts         excep tion s, or requ ests for relief for
in form ation to th e alien con cern in g th e       m ay be con sid ered in accord an ce w ith         w h ich th e alien is eligible.
n atu re an d p u rp ose of th e cred ible fear      section 211(b) of th e Act an d                       (6) Op p ortu n ity for th e alien to
in terview an d sh all ad vise th e alien th at      § 211.1(b)(3) of th is ch ap ter or th e           establish th at h e or sh e was ad m itted or
h e or sh e m ay, p rior to th e in terview ,        alien ’s in sp ection m ay be d eferred to an      p aroled in to th e Un ited S tates. If th e
con su lt w ith a p erson or p erson of h is         on w ard office for p resen tation of th e         Com m ission er d eterm in es th at th e

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                         Page 102 of 350 PageID 4695
480                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

exp ed ited rem oval p rovision s of section        u n d er section s 211(b) or 212(d ) of th e       ap p ly w h en an in ad m issible alien is
235(b)(1) of th e Act sh all ap p ly to an y        Act, to w aive th e d ocu m en tary                d etain ed for rem oval p roceed in gs.
or all alien s d escribed in p aragrap h            requ irem en ts for arrivin g alien s.                90. Section 235.4 is revised to read as
(b)(2)(ii) of th is section , su ch alien w ill        (10) A p p lican t for ad m ission u n d er     follow s:
be given a reason able op p ortu n ity to           section 217 of th e A ct. Th e p rovision s
                                                                                                       § 235.4 Withdrawal of application for
establish to th e satisfaction of th e              of § 235.3(b) d o n ot ap p ly to an               admission.
exam in in g im m igration officer th at h e or     ap p lican t for ad m ission u n d er section
sh e w as ad m itted or p aroled in to th e         217 of th e Act.                                      (a) Th e Attorn ey Gen eral m ay, in h is
Un ited States follow in g in sp ection at a                                                           or h er d iscretion , p erm it an y alien
                                                       (c) Oth er in ad m issible alien s. An y
p ort-of-en try. Th e alien w ill be allow ed                                                          ap p lican t for ad m ission to w ith d raw h is
                                                    alien ap p lican t for ad m ission , as
to p resen t evid en ce or p rovid e su fficien t                                                      or h er ap p lication for ad m ission in lieu
                                                    in clu d ed in section s 101(a)(13) an d
in form ation to su p p ort th e claim . Su ch                                                         of rem oval p roceed in gs u n d er section
                                                    235(a)(1) of th e Act an d § 235.1(d ) of
evid en ce m ay con sist of d ocu m en tation                                                          240 of th e Act or exp ed ited rem oval
                                                    th is ch ap ter, w h o ap p ears to th e
in th e p ossession of th e alien , th e                                                               u n d er section 235(b)(1) of th e Act. Th e
                                                    in sp ectin g officer to be in ad m issible,
Service, or a th ird p arty. Th e exam in in g                                                         alien ’s d ecision to w ith d raw h is or h er
                                                    bu t w h o d oes n ot fall w ith in p aragrap h
im m igration officer w ill con sid er all                                                             ap p lication for ad m ission m u st be m ad e
                                                    (b) of th is section , m ay be d etain ed ,
su ch evid en ce an d in form ation , m ake                                                            volu n tarily, bu t n oth in g in th is section
                                                    p aroled , or p aroled for d eferred
fu rth er in qu iry if n ecessary, an d w ill                                                          sh all be con stru ed as to give an alien th e
                                                    in sp ection by th e in sp ectin g officer. In
attem p t to verify th e alien ’s statu s                                                              righ t to w ith d raw h is or h er ap p lication
                                                    d eterm in in g w h eth er or n ot an alien
th rou gh a ch eck of all available Service                                                            for ad m ission . Perm ission to w ith d raw
                                                    sh all be d etain ed , p aroled , or p aroled
d ata system s. Th e bu rd en rests w ith th e                                                         an ap p lication for ad m ission sh ou ld n ot
                                                    for d eferred in sp ection , th e in sp ectin g
alien to satisfy th e exam in in g                                                                     n orm ally be gran ted u n less th e alien
                                                    officer sh all con sid er th e likelih ood th at
im m igration officer of th e claim of                                                                 in ten d s an d is able to d ep art th e Un ited
                                                    th e alien w ill abscon d or p ose a secu rity
law fu l ad m ission or p arole. If th e alien                                                         States im m ed iately. An alien p erm itted
                                                    risk.
establish es th at h e or sh e w as law fu lly                                                         to w ith d raw h is or h er ap p lication for
                                                       (d ) S ervice cu stod y. Th e Service w ill
ad m itted or p aroled , th e case w ill be                                                            ad m ission sh all n orm ally rem ain in
                                                    assu m e cu stod y of an y alien su bject to
exam in ed to d eterm in e if grou n d s of                                                            carrier or Service cu stod y p en d in g
                                                    d eten tion u n d er p aragrap h (b) or (c) of
d ep ortability u n d er section 237(a) of th e                                                        d ep artu re, u n less th e d istrict d irector
                                                    th is section . In its d iscretion , th e
Act are ap p licable, or if p aroled ,                                                                 d eterm in es th at p arole of th e alien is
                                                    Service m ay requ ire an y alien w h o
w h eth er su ch p arole h as been , or sh ou ld                                                       w arran ted in accord an ce w ith § 212.5(a)
                                                    ap p ears in ad m issible an d w h o arrives at
be, term in ated , an d w h eth er th e alien is                                                       of th is ch ap ter.
                                                    a lan d bord er p ort-of-en try from Can ad a         (b) An im m igration ju d ge m ay allow
in ad m issible u n d er section 212(a) of th e     or Mexico, to rem ain in th at cou n try
Act. An alien w h o can n ot satisfy th e                                                              on ly an arrivin g alien to w ith d raw an
                                                    w h ile aw aitin g a rem oval h earin g. Su ch     ap p lication for ad m ission . On ce th e
exam in in g officer th at h e or sh e w as         alien sh all be con sid ered d etain ed for a
law fu lly ad m itted or p aroled w ill be                                                             issu e of in ad m issibility or d ep ortability
                                                    p roceed in g w ith in th e m ean in g of          h as been resolved , p erm ission to
ord ered rem oved p u rsu an t to section           section 235(b) of th e Act an d m ay be
235(b)(1) of th e Act.                                                                                 w ith d raw an ap p lication for ad m ission
                                                    ord ered rem oved in absen tia by an               sh ou ld ord in arily be gran ted on ly w ith
   (7) Review of ex p ed ited rem oval
                                                    im m igration ju d ge if th e alien fails to       th e con cu rren ce of th e Service. An
ord ers. An y rem oval ord er en tered by an
                                                    ap p ear for th e h earin g.                       im m igration ju d ge sh all n ot allow an
exam in in g im m igration officer p u rsu an t
to section 235(b)(1) of th e Act m u st be             (e) Deten tion in n on -S ervice facility.      alien to w ith d raw an ap p lication for
review ed an d ap p roved by th e                   Wh en ever an alien is taken in to Service         ad m ission u n less th e alien , in ad d ition
ap p rop riate su p ervisor before th e ord er      cu stod y an d d etain ed at a facility oth er     to d em on stratin g th at h e or sh e
is con sid ered fin al. Su ch su p ervisory         th an at a Service Processin g Cen ter, th e       p ossesses both th e in ten t an d th e m ean s
review sh all n ot be d elegated below th e         p u blic or p rivate en tities con tracted to      to d ep art im m ed iately from th e Un ited
level of th e secon d lin e su p ervisor, or a      p erform su ch service sh all h ave been           States, establish es th at factors d irectly
p erson actin g in th at cap acity. Th e            ap p roved for su ch u se by th e Service’s        relatin g to th e issu e of in ad m issibility
su p ervisory review an d ap p roval of an          Jail In sp ection Program or sh all be             in d icate th at th e gran tin g of th e
exp ed ited rem oval ord er for an alien            p erform in g su ch service u n d er con tract     w ith d raw al w ou ld be in th e in terest of
d escribed in section 235(b)(1)(A)(iii) of          in com p lian ce w ith th e Stan d ard             ju stice. In ad d ition , d u rin g th e
th e Act m u st in clu d e a review of an y         Statem en t of Work for Con tract                  p en d en cy of an ap p eal from th e ord er of
claim of law fu l ad m ission or p arole an d       Deten tion Facilities. Both p rogram s are         rem oval, p erm ission to w ith d raw an
an y evid en ce or in form ation p resen ted        ad m in istered by th e Deten tion an d            ap p lication for ad m ission m u st be
to su p p ort su ch a claim , p rior to             Dep ortation section h avin g ju risd iction       obtain ed from th e im m igration ju d ge or
ap p roval of th e ord er. In su ch cases, th e     over th e alien ’s p lace of d eten tion .         th e Board .
su p ervisor m ay requ est ad d ition al            Un d er n o circu m stan ces sh all an alien          91. Section 235.5 is revised to read as
in form ation from an y sou rce an d m ay           be d etain ed in facilities n ot m eetin g th e    follow s:
requ ire fu rth er in terview of th e alien .       fou r m an d atory criteria for u sage. Th ese
   (8) Rem oval p roced u res relatin g to          are:                                               § 235.5 Preinspection.
ex p ed ited rem oval. An alien ord ered               (1) 24-Hou r su p ervision ,                       (a) In Un ited S tates territories an d
rem oved p u rsu an t to section 235(b)(1) of          (2) Con form an ce w ith safety an d            p ossession s. In th e case of an y aircraft
th e Act sh all be rem oved from th e               em ergen cy cod es,                                p roceed in g from Gu am , Pu erto Rico, or
Un ited States in accord an ce w ith                   (3) Food Service, an d                          th e Un ited States Virgin Islan d s
section 241(c) of th e Act an d 8 CFR p art            (4) Availability of em ergen cy m ed ical       d estin ed d irectly an d w ith ou t tou ch in g
241.                                                care.                                              at a foreign p ort or p lace, to an y oth er
   (9) W aivers of d ocu m en tary                     (f) Privilege of com m u n ication . Th e       of su ch p laces, or to on e of th e States
requ irem en ts. Noth in g in th is section         m an d atory n otification requ irem en ts of      of th e Un ited States or th e District of
lim its th e d iscretion ary au th ority of th e    con su lar an d d ip lom atic officers             Colu m bia, th e exam in ation of th e
Attorn ey Gen eral, in clu d in g au th ority       p u rsu an t to § 236.1(e) of th is ch ap ter      p assen gers an d crew requ ired by th e Act

                                                                                                                                  AR00484
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 103 of 350 PageID 4696
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                             481

m ay be m ad e p rior to th e d ep artu re of       vacates th e exp ed ited rem oval ord er            Act, th e im m igration officer or
th e aircraft, an d in su ch even t, fin al         issu ed by th e asylu m officer p u rsu an t to     im m igration ju d ge sh all ord er th e alien
d eterm in ation of ad m issibility sh all be       section 235(b)(1)(B)(iii) of th e Act.              rem oved an d rep ort th e action p rom p tly
m ad e im m ed iately p rior to su ch                  (iv) If an im m igration officer verifies        to th e d istrict d irector w h o h as
d ep artu re. Th e exam in ation sh all be          th at an alien su bject to exp ed ited              ad m in istrative ju risd iction over th e
con d u cted in accord an ce w ith section s        rem oval u n d er section 235(b)(1) of th e         p lace w h ere th e alien h as arrived or
232, 235, an d 240 of th e Act an d 8 CFR           Act h as been ad m itted as a law fu l              w h ere th e h earin g is bein g h eld . Th e
p arts 235 an d 240. If it ap p ears to th e        p erm an en t resid en t refu gee, or asylee, or    im m igration officer sh all, if p ossible,
exam in in g im m igration officer th at an y       u p on review p u rsu an t to                       take a brief sw orn qu estion -an d -an sw er
p erson in th e Un ited States bein g               § 235.3(b)(5)(iv) an im m igration ju d ge          statem en t from th e alien , an d th e alien
exam in ed u n d er th is section is p rim a        d eterm in es th at th e alien w as on ce so        sh all be n otified by p erson al service of
facie rem ovable from th e Un ited States,          ad m itted , p rovid ed th at su ch statu s h as    Form I–147, Notice of Tem p orary
fu rth er action w ith resp ect to h is or h er     n ot been term in ated by fin al                    In ad m issibility, of th e action taken an d
exam in ation sh all be d eferred an d              ad m in istrative action , an d th e Service        th e righ t to su bm it a w ritten statem en t
fu rth er p roceed in gs regard in g                in itiates rem oval p roceed in gs again st         an d ad d ition al in form ation for
rem ovability con d u cted as p rovid ed in         th e alien u n d er section 240 of th e Act.        con sid eration by th e Attorn ey Gen eral.
section 240 of th e Act an d 8 CFR p art               (2) Referral by Form I–863, N otice of           Th e d istrict d irector sh all forw ard th e
240. Wh en th e foregoin g in sp ection             Referral to Im m igration Ju d ge. An               rep ort to th e region al d irector for fu rth er
p roced u re is ap p lied to an y aircraft,         im m igration officer w ill sign an d d eliver      action as p rovid ed in p aragrap h (b) of
p erson s exam in ed an d fou n d ad m issible      a Form I–863 to an alien in th e                    th is section .
sh all be p laced aboard th e aircraft, or          follow in g cases:                                     (b) A ction by region al d irector. (1) In
kep t at th e airp ort sep arate an d ap art           (i) If, in accord an ce w ith section            accord an ce w ith section 235(c)(2)(B) of
from th e gen eral p u blic u n til th ey are       235(b)(1)(B)(iii)(III) of th e Act, an              th e Act, th e region al d irector m ay d en y
p erm itted to board th e aircraft. No oth er       asylu m officer d eterm in es th at an alien        an y fu rth er in qu iry or h earin g by an
p erson sh all be p erm itted to d ep art on        d oes n ot h ave a cred ible fear of                im m igration ju d ge an d ord er th e alien
su ch aircraft u n til an d u n less h e or sh e    p ersecu tion , an d th e alien requ ests a         rem oved by p erson al service of Form I–
is fou n d to be ad m issible as p rovid ed in      review of th at d eterm in ation by an              148, Notice of Perm an en t
th is section .                                     im m igration ju d ge; or                           In ad m issibility, or issu e an y oth er ord er
   (b) In foreign territory. In th e case of           (ii) If, in accord an ce w ith section           d isp osin g of th e case th at th e region al
an y aircraft, vessel, or train p roceed in g       235(b)(1)(C) of th e Act, an im m igration          d irector con sid ers ap p rop riate.
d irectly, w ith ou t stop p in g, from a p ort     officer refers an exp ed ited rem oval                 (2) If th e region al d irector con clu d es
or p lace in foreign territory to a p ort-of-       ord er en tered on an alien claim in g to be        th at th e case d oes n ot m eet th e criteria
en try in th e Un ited States, th e                 a law fu l p erm an en t resid en t, refu gee, or   con tain ed in section 235(c)(2)(B) of th e
exam in ation an d in sp ection of                  asylee for w h om th e officer cou ld n ot          Act, th e region al d irector m ay d irect
p assen gers an d crew requ ired by th e Act        verify su ch statu s to an im m igration            th at:
an d fin al d eterm in ation of ad m issibility     ju d ge for review of th e ord er.                     (i) An im m igration officer sh all
m ay be m ad e p rior to su ch d ep artu re at         (iii) If an im m igration officer refers an      con d u ct a fu rth er exam in ation of th e
th e p ort or p lace in th e foreign territory      ap p lican t d escribed in § 208.2(b)(1) of         alien , con cern in g th e alien ’s
an d sh all h ave th e sam e effect u n d er th e   th is ch ap ter to an im m igration ju d ge for     ad m issibility; or,
Act as th ou gh m ad e at th e d estin ed p ort-                                                           (ii) Th e alien ’s case be referred to an
                                                    an asylu m h earin g u n d er § 208.2(b)(2) of
of-en try in th e Un ited States.                                                                       im m igration ju d ge for a h earin g, or for
                                                    th is ch ap ter.
   92. Section 235.6 is revised to read as                                                              th e con tin u ation of an y p rior h earin g.
                                                       (b) Certification for m en tal con d ition ;        (3) Th e region al d irector’s d ecision
follow s:                                           m ed ical ap p eal. An alien certified              sh all be in w ritin g an d sh all be sign ed
§ 235.6 Referral to immigration judge.              u n d er section s 212(a)(1) an d 232(b) of         by th e region al d irector. Un less th e
                                                    th e Act sh all be ad vised by th e                 w ritten d ecision con tain s con fid en tial
   (a) N otice. (1) Referral by Form I–862,
                                                    exam in in g im m igration officer th at h e or     in form ation , th e d isclosu re of w h ich
N otice to A p p ear. An im m igration
                                                    sh e m ay ap p eal to a board of m ed ical          w ou ld be p reju d icial to th e p u blic
officer or asylu m officer w ill sign an d
                                                    exam in ers of th e Un ited States Pu blic          in terest, safety, or secu rity of th e Un ited
d eliver a Form I–862 to an alien in th e
                                                    Health Service p u rsu an t to section 232          States, th e w ritten d ecision sh all be
follow in g cases:
   (i) If, in accord an ce w ith th e               of th e Act. If su ch ap p eal is taken , th e      served on th e alien . If th e w ritten
p rovision s of section 235(b)(2)(A) of th e        d istrict d irector sh all arran ge for th e        d ecision con tain s su ch con fid en tial
Act, th e exam in in g im m igration officer        con ven in g of th e m ed ical board .              in form ation , th e alien sh all be served
d etain s an alien for a p roceed in g before       § 235.7 [Removed]                                   w ith a sep arate w ritten ord er sh ow in g
an im m igration ju d ge u n d er section 240         93. Section 235.7 is rem oved .                   th e d isp osition of th e case, bu t w ith th e
of th e Act; or                                                                                         con fid en tial in form ation d eleted .
   (ii) If, in accord an ce w ith section           § 235.13 [Redesignated as § 235.7]                     (c) Fin ality of d ecision . Th e region al
235(b)(1)(B)(ii) of th e Act, an asylu m              94. Section 235.13 is red esign ated as           d irector’s d ecision u n d er th is section is
officer d eterm in es th at an alien is             § 235.7.                                            fin al w h en it is served u p on th e alien in
exp ed ited rem oval p roceed in gs h as a            95. Section 235.8 is revised to read as           accord an ce w ith p aragrap h (b)(3) of th is
cred ible fear of p ersecu tion an d refers         follow s:                                           section . Th ere is n o ad m in istrative
th e case to th e im m igration ju d ge for                                                             ap p eal from th e region al d irector’s
con sid eration of th e ap p lication for           § 235.8 Inadmissibility on security and             d ecision .
asylu m .                                           related grounds.                                       (d ) Hearin g by im m igration ju d ge. If
   (iii) If, in accord an ce w ith section             (a) Rep ort. Wh en an im m igration              th e region al d irector d irects th at an
235(b)(1)(B)(iii)(III) of th e Act, th e            officer or an im m igration ju d ge su sp ects      alien su bject to rem oval u n d er th is
im m igration ju d ge d eterm in es th at an        th at an arrivin g alien ap p ears to be            section be given a h earin g or fu rth er
alien in exp ed ited rem oval p roceed in gs        in ad m issible u n d er section 212(a)(3)(A)       h earin g before an im m igration ju d ge, th e
h as a cred ible fear of p ersecu tion an d         (oth er th an clau se (ii), (B), or (C) of th e     h earin g an d all fu rth er p roceed in gs in

                                                                                                                                   AR00485
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 104 of 350 PageID 4697
482                   Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

th e m atter sh all be con d u cted in               by th e Service bu t valid existin g card s          im m igration officer th at h e or sh e is an
accord an ce w ith th e p rovision s of              w ill con tin u e to be accep table                  alien an d con sen ts to th e void an ce of
section 240 of th e Act an d oth er                  d ocu m en tation of U.S. citizen sh ip .            th e card . Up on sign in g th e statem en t th e
ap p licable section s of th e Act to th e           Possession of th e id en tification card is          card m u st be su rren d ered to th e
sam e exten t as th ou gh th e alien h ad            n ot m an d atory for an y p u rp ose. A U.S.        im m igration officer.
been referred to an im m igration ju d ge            Citizen Id en tification Card rem ain s th e            (4) S u rren d er of void card . A void
by th e exam in in g im m igration officer. In       p rop erty of th e Un ited States. Becau se          U.S. Citizen Id en tification Card w h ich
a case w h ere th e im m igration ju d ge            th e id en tification card is n o lon ger            h as n ot been retu rn ed to th e Service
ord ered th e alien rem oved p u rsu an t to         issu ed , th ere are n o p rovision s for            m u st be su rren d ered w ith ou t d elay to an
p aragrap h (a) of th is section , th e Service      rep lacem en ts card s.                              im m igration officer or to th e issu in g
sh all refer th e case back to th e                     (b) S u rren d er an d void an ce. (1)            office of th e Service.
im m igration ju d ge an d p roceed in gs            In stitu tion of p roceed in g u n d er section         (c) U.S . Citiz en Id en tification Card
sh all be au tom atically reop en ed u p on          240 or 342 of th e A ct. A U.S. Citizen              p reviou sly issu ed on Form I–179. A
receip t of th e n otice of referral. If             Id en tification Card m u st be su rren d ered       valid Form I–179, U.S. Citizen
con fid en tial in form ation , n ot p reviou sly    p rovision ally to a Service office u p on           Id en tification Card , con tin u es to be
con sid ered in th e m atter, is p resen ted         n otification by th e d istrict d irector th at      valid su bject to th e p rovision s of th is
su p p ortin g th e in ad m issibility of th e       a p roceed in g u n d er section 240 or 342          section .
alien u n d er section 212(a)(3)(A) (oth er          of th e Act is bein g in stitu ted again st th e        99. Section 235.11 is revised to read
th an clau se (ii)), (B), or (C) of th e Act,        p erson to w h om th e card w as issu ed .           as follow s:
th e d isclosu re of w h ich , in th e               Th e card sh all be retu rn ed to th e p erson
                                                     if th e fin al ord er in th e p roceed in g d oes    § 235.11 Admission of conditional
d iscretion of th e im m igration ju d ge,                                                                permanent residents.
m ay be p reju d icial to th e p u blic in terest,   n ot resu lt in void in g th e card u n d er th is
safety, or secu rity, th e im m igration             p aragrap h . A U.S. Citizen Id en tification           (a) Gen eral. (1) Con d ition al resid en ce
ju d ge m ay again ord er th e alien                 Card is au tom atically void if th e p erson         based on fam ily relation sh ip . An alien
rem oved u n d er th e au th ority of section        to w h om it w as issu ed is d eterm in ed to        seekin g ad m ission to th e Un ited States
235(c) of th e Act an d fu rth er action sh all      be an alien in a p roceed in g con d u cted          w ith an im m igran t visa as th e sp ou se or
be taken as p rovid ed in th is section .            u n d er section 240 of th e Act, or if a            son or d au gh ter of a Un ited States
   (e) N on ap p licability. Th e p rovision s       certificate, d ocu m en t, or record relatin g       citizen or law fu l p erm an en t resid en t
of th is section sh all ap p ly on ly to             to th at p erson is can celed u n d er section       sh all be exam in ed to d eterm in e w h eth er
arrivin g alien s, as d efin ed in § 1.1(q) of       342 of th e Act.                                     th e con d ition s of section 216 of th e Act
th is ch ap ter. Alien s p resen t in th e              (2) In vestigation of valid ity of                ap p ly. If so, th e alien sh all be ad m itted
Un ited States w h o h ave n ot been                 id en tification card . A U.S. Citizen               con d ition ally for a p eriod of 2 years. At
ad m itted or p aroled m ay be su bject to           Id en tification Card m u st be su rren d ered       th e tim e of ad m ission , th e alien sh all be
p roceed in gs u n d er Title V of th e Act.         p rovision ally u p on n otification by a            n otified th at th e alien an d h is or h er
                                                     d istrict d irector th at th e valid ity of th e     p etition in g sp ou se m u st file a Form I–
§ 235.9 [Removed]                                    card is bein g in vestigated . Th e card             751, Petition to Rem ove th e Con d ition s
  96. Section 235.9 is rem oved .                    sh all be retu rn ed to th e p erson w h o           on Resid en ce, w ith in th e 90-d ay p eriod
                                                     su rren d ered it if th e in vestigation d oes       im m ed iately p reced in g th e secon d
§ 235.12 [Redesignated as § 235.9 and                                                                     an n iversary of th e alien ’s ad m ission for
revised]                                             n ot resu lt in a d eterm in ation ad verse to
                                                     h is or h er claim to be a Un ited States            p erm an en t resid en ce.
  97. Section 235.12 is red esign ated as                                                                    (2) Con d ition al resid en ce based on
                                                     citizen . Wh en an in vestigation resu lts in
§ 235.9 an d is revised to read as follow s:                                                              en trep ren eu rsh ip . An alien seekin g
                                                     a ten tative d eterm in ation ad verse to th e
§ 235.9 Northern Marianas identification             ap p lican t’s claim to be a Un ited States          ad m ission to th e Un ited States w ith an
card.                                                citizen , th e ap p lican t sh all be n otified      im m igran t visa as an alien en trep ren eu r
   Du rin g th e tw o-year p eriod th at en d ed     by certified m ail d irected to h is or h er         (as d efin ed in section 216A(f)(1) of th e
Ju ly 1, 1990, th e Service issu ed                  last kn ow n ad d ress. Th e n otification           Act) or th e sp ou se or u n m arried m in or
North ern Marian as Id en tification Card s          sh all in form th e ap p lican t of th e basis       ch ild of an alien en trep ren eu r sh all be
to alien s w h o acqu ired Un ited States            for th e d eterm in ation an d of th e               ad m itted con d ition ally for a p eriod of 2
citizen sh ip w h en th e Coven an t to              in ten tion of th e d istrict d irector to           years. At th e tim e of ad m ission , th e
Establish a Com m on w ealth of th e                 d eclare th e card void u n less w ith in 30         alien sh all be n otified th at th e p rin cip al
North ern Marian a Islan d s in Political            d ays th e ap p lican t objects an d d em an d s     alien (en trep ren eu r) m u st file a Form I–
Un ion w ith th e Un ited States en tered            an op p ortu n ity to see an d rebu t th e           829, Petition by En trep ren eu r to Rem ove
in to force on Novem ber 3, 1986. Th ese             ad verse evid en ce. An y rebu ttal,                 Con d ition s, w ith in th e 90-d ay p eriod
card s rem ain valid as evid en ce of                exp lan ation , or evid en ce p resen ted by         im m ed iately p reced in g th e secon d
Un ited States citizen sh ip . Alth ou gh th e       th e ap p lican t m u st be in clu d ed in th e      an n iversary of th e alien ’s ad m ission for
Service n o lon ger issu es th ese card s, a         record of p roceed in g. Th e d eterm in ation       p erm an en t resid en ce.
Un ited States citizen to w h om a card              w h eth er th e ap p lican t is a Un ited States        (b) Correction of en d orsem en t on
w as issu ed m ay file Form I–777,                   citizen m u st be based on th e en tire              im m igran t visa. If th e alien is su bject to
Ap p lication for Issu an ce or                      record an d th e ap p lican t sh all be              th e p rovision s of section 216 of th e Act,
Rep lacem en t of North ern Marian as                n otified of th e d eterm in ation . If it is        bu t th e classification en d orsed on th e
Card , to obtain rep lacem en t of a lost,           d eterm in ed th at th e ap p lican t is n ot a      im m igran t visa d oes n ot so in d icate, th e
stolen , or m u tilated North ern Marian as          Un ited States citizen , th e ap p lican t sh all    en d orsem en t sh all be corrected an d th e
Id en tification Card .                              be n otified of th e reason s, an d th e card        alien sh all be ad m itted as a law fu l
   98. Section 235.10 is revised to read             d eem ed void . Th ere is n o ap p eal from          p erm an en t resid en t on a con d ition al
as follow s:                                         th e d istrict d irector’s d ecision .               basis, if oth erw ise ad m issible.
                                                        (3) A d m ission of alien age. A U.S.             Con versely, if th e alien is n ot su bject to
§ 235.10 U.S. Citizen Identification Card.           Citizen Id en tification Card is void if th e        th e p rovision s of section 216 of th e Act,
   (a) Gen eral. Form I–197, U.S. Citizen            p erson to w h om it w as issu ed ad m its in        bu t th e visa classification en d orsed on
Id en tification Card , is n o lon ger issu ed       a statem en t sign ed before an                      th e im m igran t visa in d icates th at th e

                                                                                                                                     AR00486
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                          Page 105 of 350 PageID 4698
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                             483

alien is su bject th ereto (e.g., if th e           236.14 Filin g.                                    d etain ed , u n less a breach h as occu rred ,
secon d an n iversary of th e m arriage             236.15 Volu n tary d ep artu re an d eligibility   an y ou tstan d in g bon d sh all be revoked
u p on w h ich th e im m igran t visa is based          for em p loym en t.                            an d can celed .
occu rred after th e issu an ce of th e visa        236.16 Travel ou tsid e th e Un ited States.
                                                                                                          (4) Th e p rovision s of § 103.6 of th is
                                                    236.17 Eligibility for Fed eral fin an cial
an d p rior to th e alien ’s ap p lication for          assistan ce p rogram s.                        ch ap ter sh all ap p ly to an y bon d s
ad m ission ) th e en d orsem en t on th e visa     236.18 Term in ation of Fam ily Un ity             au th orized . Su bject to th e p rovision s of
sh all be corrected an d th e alien sh all be           Program ben efits.                             th is section , th e p rovision s of § 3.19 of
ad m itted as a law fu l p erm an en t resid en t     Authority: 8 U.S.C. 1103, 1182, 1224, 1225,      th is ch ap ter sh all govern availability to
w ith ou t con d ition s, if oth erw ise            1226, 1227, 1362; 8 CFR p art 2.                   th e resp on d en t of recou rse to oth er
ad m issible.                                                                                          ad m in istrative au th ority for release from
   (c) Ex p ired con d ition al p erm an en t       Subpart A—Detention of Aliens Prior                cu stod y.
resid en t statu s. Th e law fu l p erm an en t     to Order of Removal                                   (5) An im m igration ju d ge m ay n ot
resid en t alien statu s of a con d ition al                                                           exercise au th ority p rovid ed in th is
resid en t au tom atically term in ates if th e     § 236.1 Apprehension, custody, and
                                                    detention.
                                                                                                       section an d th e review p rocess
con d ition al basis of su ch statu s is n ot                                                          d escribed in p aragrap h (d ) of th is
rem oved by th e Service th rou gh                     (a) Detain ers. Th e issu an ce of a            section sh all n ot ap p ly w ith resp ect to:
ap p roval of a Form I–751, Petition to             d etain er u n d er th is section sh all be
                                                                                                          (i) In ad m issible alien s in rem oval
Rem ove th e Con d ition s on Resid en ce or,       govern ed by th e p rovision s of § 287.7 of
                                                                                                       p roceed in gs,
in th e case of an alien en trep ren eu r (as       th is ch ap ter.
                                                       (b) W arran t of arrest. (1) In gen eral. At       (ii) Arrivin g alien s, as d escribed in
d efin ed in section 216A(f)(1) of th e Act),                                                          § 1.1(q) of th is ch ap ter, in clu d in g alien s
Form I–829, Petition by En trep ren eu r to         th e tim e of issu an ce of th e n otice to
                                                    ap p ear, or at an y tim e th ereafter an d u p    p aroled p u rsu an t to section 212(d )(5) of
Rem ove Con d ition s. Th erefore, an alien                                                            th e Act, in rem oval p roceed in gs,
w h o is seekin g ad m ission as a retu rn in g     to th e tim e rem oval p roceed in gs are
                                                    com p leted , th e resp on d en t m ay be             (iii) Alien s d escribed in section
resid en t su bsequ en t to th e secon d                                                               237(a)(4) of th e Act, or
an n iversary of th e d ate on w h ich              arrested an d taken in to cu stod y u n d er
                                                    th e au th ority of Form I–200, Warran t of           (iv) After th e exp iration of section
con d ition al resid en ce w as obtain ed                                                              303(b)(3) of Pu b. L. 104–208, alien s
(excep t as p rovid ed in § 211.1(b)(1) of          Arrest. A w arran t of arrest m ay be
                                                    issu ed on ly by th ose im m igration              d escribed in section 236(c)(1) of th e Act.
th is ch ap ter) an d w h ose con d ition al
                                                    officers listed in § 287.5(e)(2) of th is             (d ) A p p eals from cu stod y d ecision s.
basis of su ch resid en ce h as n ot been
                                                    ch ap ter an d m ay be served on ly by             (1) A p p lication to im m igration ju d ge.
rem oved p u rsu an t to section 216(c) or
                                                    th ose im m igration officers listed in            After an in itial cu stod y d eterm in ation
216A(c) of th e Act, w h ich ever is
                                                    § 287.5(e)(3) of th is ch ap ter.                  by th e d istrict d irector, in clu d in g th e
ap p licable, sh all be p laced u n d er
                                                       (2) If, after th e issu an ce of a w arran t    settin g of a bon d , th e resp on d en t m ay at
rem oval p roceed in gs. How ever, in a
                                                    of arrest, a d eterm in ation is m ad e n ot to    an y tim e before an ord er u n d er 8 CFR
case w h ere con d ition al resid en ce w as
                                                    serve it, an y officer au th orized to issu e      p art 240 becom es fin al, requ est
based on a m arriage, rem oval
                                                    su ch w arran t m ay au th orize its               am elioration of th e con d ition s u n d er
p roceed in gs m ay be term in ated an d th e
alien m ay be ad m itted as a retu rn in g          can cellation .                                    w h ich h e or sh e m ay be released . Prior
resid en t if th e requ ired Form I–751 is             (c) Cu stod y issu es an d release              to su ch fin al ord er, an d excep t as
filed join tly, or by th e alien alon e (if         p roced u res. (1) After th e exp iration of       oth erw ise p rovid ed in th is ch ap ter, th e
ap p rop riate), an d ap p roved by th e            th e Tran sition Period Cu stod y Ru les           im m igration ju d ge is au th orized to
Service. In th e case of an alien                   u n d er Pu b. L. 104–208, n o alien               exercise th e au th ority in section 236 of
en trep ren eu r, rem oval p roceed in gs m ay      d escribed in section 236(c)(1) of th e Act        th e Act to d etain th e alien in cu stod y,
be term in ated an d th e alien ad m itted as       sh all be released from cu stod y d u rin g        release th e alien , an d d eterm in e th e
a retu rn in g resid en t if th e requ ired Form    rem oval p roceed in gs excep t p u rsu an t to    am ou n t of bon d , if an y, u n d er w h ich th e
I–829 is filed by th e alien en trep ren eu r       section 236(c)(2) of th e Act.                     resp on d en t m ay be released , as
an d ap p roved by th e Service.                       (2) An y officer au th orized to issu e a       p rovid ed in § 3.19 of th is ch ap ter. If th e
   100–101. Part 236 is revised to read as          w arran t of arrest m ay, in th e officer’s        alien h as been released from cu stod y, an
follow s:                                           d iscretion , release an alien n ot                ap p lication for am elioration of th e term s
                                                    d escribed in section 236(c)(1) of th e Act,       of release m u st be filed w ith in 7 d ays of
PART 236—APPREHENSION AND                           u n d er th e con d ition s at section 236 (a)     release. On ce a rem oval ord er becom es
DETENTION OF INADMISSIBLE AND                       (2) an d (3) of th e Act; p rovid ed th at th e    ad m in istratively fin al, d eterm in ation s
DEPORTABLE ALIENS; REMOVAL OF                       alien m u st d em on strate to th e                regard in g cu stod y an d bon d are m ad e by
ALIENS ORDERED REMOVED                              satisfaction of th e officer th at su ch           th e d istrict d irector.
                                                    release w ou ld n ot p ose a d an ger to              (2) A p p lication to th e d istrict d irector.
Subpart A—Detention of Aliens Prior to                                                                 (i) After exp iration of th e 7-d ay p eriod
Order of Removal
                                                    p rop erty or p erson s, an d th at th e alien
                                                    is likely to ap p ear for an y fu tu re            in p aragrap h (d )(1) of th is section , th e
Sec.                                                p roceed in g.                                     resp on d en t m ay requ est review by th e
236.1 Ap p reh en sion , cu stod y, an d                                                               d istrict d irector of th e con d ition s of h is
                                                       (3) Wh en an alien w h o, h avin g been
     d eten tion .
236.2 Con fin ed alien s, in com p eten ts, an d    arrested an d taken in to cu stod y, h as          or h er release.
     m in ors.                                      been released , su ch release m ay be                 (ii) After an ord er becom es
236.3 Deten tion an d release of ju ven iles.       revoked at an y tim e in th e d iscretion of       ad m in istratively fin al, th e resp on d en t
236.4 Rem oval of S–5, S–6, an d S–7                th e d istrict d irector, actin g d istrict        m ay requ est review by th e d istrict
     n on im m igran ts.                            d irector, d ep u ty d istrict d irector,          d irector of th e con d ition s of h is or h er
236.5 Fin gerp rin ts an d p h otograp h s.         assistan t d istrict d irector for                 release.
Subpart B—Family Unity Program                      in vestigation s, assistan t d istrict d irector      (3) A p p eal to th e Board of
236.10 Descrip tion of p rogram .                   for d eten tion an d d ep ortation , or officer    Im m igration A p p eals. An ap p eal
236.11 Defin ition s.                               in ch arge (excep t foreign ), in w h ich          relatin g to bon d an d cu stod y
236.12 Eligibility.                                 even t th e alien m ay be taken in to              d eterm in ation s m ay be filed w ith in 10
236.13 In eligible alien s.                         p h ysical cu stod y an d d etain ed . If          d ays of th e d ecision , to th e Board of

                                                                                                                                   AR00487
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                 Page 106 of 350 PageID 4699
484                        Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

Im m igration Ap p eals in th e follow in g                      Dom in ica                                                    served in th e m an n er p rescribed in
circu m stan ces:                                                Fiji                                                          § 239.1 of th is ch ap ter u p on th e p erson
   (i) In accord an ce w ith § 3.38 of th is                     Gam bia, Th e                                                 or p erson s sp ecified by § 103.5a(c) of
ch ap ter, th e alien or th e Service m ay                       Georgia                                                       th is ch ap ter.
ap p eal th e d ecision of an im m igration                      Gh an a                                                          (b) S ervice cu stod y an d cost of
ju d ge p u rsu an t to p aragrap h (d )(1) of                   Gren ad a                                                     m ain ten an ce. An alien con fin ed
th is section .                                                  Gu yan a                                                      becau se of p h ysical or m en tal d isability
   (ii) Th e alien m ay ap p eal from th e                       Hu n gary                                                     in an in stitu tion or h osp ital sh all n ot be
d istrict d irector’s d ecision u n d er                         Jam aica                                                      accep ted in to p h ysical cu stod y by th e
p aragrap h (d )(2)(i) of th is section .                        Kazakh stan                                                   Service u n til an ord er of rem oval h as
   (iii) Th e alien m ay ap p eal from th e                      Kiribati                                                      been en tered an d th e Service is read y to
d istrict d irector’s d ecision u n d er                         Ku w ait                                                      rem ove th e alien . Wh en su ch an alien is
p aragrap h (d )(2)(ii) of th is section ,                       Kyrgyzstan                                                    an in m ate of a p u blic or p rivate
excep t th at n o ap p eal sh all be allow ed                    Malaysia                                                      in stitu tion at th e tim e of th e
w h en th e Service n otifies th e alien th at                   Malta                                                         com m en cem en t of th e rem oval
it is read y to execu te an ord er of                            Mau ritiu s                                                   p roceed in gs, exp en ses for th e
d ep ortation an d takes th e alien in to                        Mold ova                                                      m ain ten an ce of th e alien sh all n ot be
cu stod y for th at p u rp ose.                                  Mon golia                                                     in cu rred by th e Govern m en t u n til h e or
   (4) Effect of filin g an ap p eal. Th e                       Nigeria                                                       sh e is taken in to p h ysical cu stod y by th e
filin g of an ap p eal from a d eterm in ation                   Ph ilip p in es                                               Service.
of an im m igration ju d ge or d istrict                         Polan d
d irector u n d er th is p aragrap h sh all n ot                 Rom an ia                                                     § 236.3 Detention and release of juveniles.
op erate to d elay com p lian ce w ith th e                      Ru ssian Fed eration                                             (a) Ju ven iles. A ju ven ile is d efin ed as
                                                                 St. Kitts/ Nevis                                              an alien u n d er th e age of 18 years.
ord er, n or stay th e ad m in istrative
                                                                 St. Lu cia                                                       (b) Release. Ju ven iles for w h om bon d
p roceed in gs or rem oval.
                                                                 St. Vin cen t/ Gren ad in es                                  h as been p osted , for w h om p arole h as
   (e) Privilege of com m u n ication . Every
                                                                 Seych elles                                                   been au th orized , or w h o h ave been
d etain ed alien sh all be n otified th at h e
                                                                 Sierra Leon e                                                 ord ered released on recogn izan ce, sh all
or sh e m ay com m u n icate w ith th e
                                                                 Sin gap ore                                                   be released p u rsu an t to th e follow in g
con su lar or d ip lom atic officers of th e                     Slovak Rep u blic
cou n try of h is or h er n ation ality in th e                                                                                gu id elin es:
                                                                 Sou th Korea                                                     (1) Ju ven iles sh all be released , in
Un ited States. Existin g treaties w ith th e                    Tajikistan
cou n tries listed below requ ire                                                                                              ord er of p referen ce, to:
                                                                 Tan zan ia                                                       (i) A p aren t;
im m ed iate com m u n ication w ith                             Ton ga                                                           (ii) Legal gu ard ian ; or
ap p rop riate con su lar or d ip lom atic                       Trin id ad / Tobago                                              (iii) An ad u lt relative (broth er, sister,
officers w h en ever n ation als of th e                         Tu rkm en istan                                               au n t, u n cle, gran d p aren t) w h o is n ot
follow in g cou n tries are d etain ed in                        Tu valu                                                       p resen tly in Service d eten tion , u n less a
rem oval p roceed in gs, w h eth er or n ot                      Ukrain e                                                      d eterm in ation is m ad e th at th e
requ ested by th e alien an d even if th e                       Un ited Kin gd om 3                                           d eten tion of su ch ju ven ile is requ ired to
alien requ ests th at n o com m u n ication be                   U.S.S.R.4                                                     secu re h is or h er tim ely ap p earan ce
u n d ertaken in h is or h er beh alf. Wh en                     Uzbekistan                                                    before th e Service or th e Im m igration
n otifyin g con su lar or d ip lom atic                          Zam bia                                                       Cou rt or to en su re th e ju ven ile’s safety
officials, Service officers sh all n ot reveal                      (f) N otification to Ex ecu tive Office for                or th at of oth ers. In cases w h ere th e
th e fact th at an y d etain ed alien h as                       Im m igration Review of ch an ge in                           p aren t, legal gu ard ian , or ad u lt relative
ap p lied for asylu m or w ith h old in g of                     cu stod y statu s. Th e Service sh all n otify                resid es at a location d istan t from w h ere
rem oval.                                                        th e Im m igration Cou rt h avin g                            th e ju ven ile is d etain ed , h e or sh e m ay
Alban ia 1                                                       ad m in istrative con trol over th e Record                   secu re release at a Service office located
An tigu a                                                        of Proceed in g of an y ch an ge in cu stod y                 n ear th e p aren t, legal gu ard ian , or ad u lt
Arm en ia                                                        location or of release from , or                              relative.
Azerbaijan                                                       su bsequ en t takin g in to, Service cu stod y                   (2) If an in d ivid u al sp ecified in
Bah am as                                                        of a resp on d en t/ ap p lican t p u rsu an t to             p aragrap h s (b)(1) (i) th rou gh (iii) of th is
Barbad os                                                        § 3.19(g) of th is ch ap ter.                                 section can n ot be located to accep t
Belaru s                                                                                                                       cu stod y of a ju ven ile, an d th e ju ven ile
Belize                                                           § 236.2 Confined aliens, incompetents,                        h as id en tified a p aren t, legal gu ard ian ,
Bru n ei                                                         and minors.
                                                                                                                               or ad u lt relative in Service d eten tion ,
Bu lgaria                                                           (a) S ervice. If th e resp on d en t is                    sim u ltan eou s release of th e ju ven ile an d
Ch in a (Peop le’s Rep u blic of) 2                              con fin ed , or if h e or sh e is an                          th e p aren t, legal gu ard ian , or ad u lt
Costa Rica                                                       in com p eten t, or a m in or u n d er th e age               relative sh all be evalu ated on a
Cyp ru s                                                         of 14, th e n otice to ap p ear, an d th e                    d iscretion ary case-by-case basis.
Czech Rep u blic                                                 w arran t of arrest, if issu ed , sh all be                      (3) In cases w h ere th e p aren t or legal
                                                                                                                               gu ard ian is in Service d eten tion or
   1 Arran gem en ts w ith th ese cou n tries p rovid e th at       3 British d ep en d en cies are also covered by th is
                                                                                                                               ou tsid e th e Un ited States, th e ju ven ile
U.S. au th orities sh all n otify resp on sible                  agreem en t. Th ey are: An gu illa, British Virgin
rep resen tatives w ith in 72 h ou rs of th e arrest or          Islan d s, Hon g Kon g, Berm u d a, Mon tserrat, an d th e    m ay be released to su ch p erson as is
d eten tion of on e of th eir n ation als.                       Tu rks an d Caicos Islan d s. Th eir resid en ts carry        d esign ated by th e p aren t or legal
   2 Wh en Taiw an n ation als (w h o carry ‘‘Rep u blic of      British p assp orts.                                          gu ard ian in a sw orn affid avit, execu ted
Ch in a’’ p assp orts) are d etain ed , n otification sh ou ld      4 All U.S.S.R. su ccessor states are covered by th is
                                                                                                                               before an im m igration officer or
be m ad e to th e n earest office of th e Taiw an                agreem en t. Th ey are: Arm en ia, Azerbaijan , Belaru s,
Econ om ic an d Cu ltu ral Rep resen tative’s Office, th e       Georgia, Kazakh stan , Kyrgyzstan , Mold ova, Ru ssian
                                                                                                                               con su lar officer, as cap able an d w illin g
u n official en tity rep resen tin g Taiw an ’s in terests in    Fed eration , Tajikistan , Tu rkm en istan , Ukrain e, an d   to care for th e ju ven ile’s w ell-bein g.
th e Un ited States.                                             Uzbekistan .                                                  Su ch p erson m u st execu te an agreem en t

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     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 107 of 350 PageID 4700
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                              485

to care for th e ju ven ile an d to en su re th e    im m igration ju d ge before a                         (2) A d eterm in ation to rem ove su ch a
ju ven ile’s p resen ce at all fu tu re              d eterm in ation is m ad e as to th e m erits       d ep ortable alien sh all be based on on e
p roceed in gs before th e Service or an             of th e requ est for relief.                        or m ore of th e grou n d s of d ep ortability
im m igration ju d ge.                                  (g) V olu n tary d ep artu re. Each              listed in section 237 of th e Act based on
   (4) In u n u su al an d com p ellin g             ju ven ile, ap p reh en d ed in th e im m ed iate   con d u ct com m itted after, or con d u ct or
circu m stan ces an d in th e d iscretion of         vicin ity of th e bord er, w h o resid es           a con d ition n ot d isclosed to th e Service
th e d istrict d irector or ch ief p atrol agen t,   p erm an en tly in Mexico or Can ad a, sh all       p rior to, th e alien ’s classification as an
a ju ven ile m ay be released to an ad u lt,         be in form ed , p rior to p resen tation of th e    S n on im m igran t u n d er section
oth er th an th ose id en tified in                  volu n tary d ep artu re form or bein g             101(a)(15)(S) of th e Act, or for a
p aragrap h s (b)(1) (i) th rou gh (iii) of th is    allow ed to w ith d raw h is or h er                violation of, or failu re to ad h ere to, th e
section , w h o execu tes an agreem en t to          ap p lication for ad m ission , th at h e or sh e   p articu lar term s an d con d ition s of statu s
care for th e ju ven ile’s w ell-bein g an d to      m ay m ake a telep h on e call to a p aren t,       in S n on im m igran t classification .
en su re th e ju ven ile’s p resen ce at all         close relative, a frien d , or to an                   (c) Rem oval p roced u res. (1) A d istrict
fu tu re p roceed in gs before th e Service or       organ ization fou n d on th e free legal            d irector w h o d eterm in es to rem ove an
an im m igration ju d ge.                            services list. A ju ven ile w h o d oes n ot        alien w itn ess or in form an t in S
   (c) Ju ven ile coord in ator. Th e case of a      resid e in Mexico or Can ad a w h o is              n on im m igran t classification sh all n otify
ju ven ile for w h om d eten tion is                 ap p reh en d ed sh all be p rovid ed access to     th e Com m ission er, th e Assistan t
d eterm in ed to be n ecessary sh ou ld be           a telep h on e an d m u st in fact                  Attorn ey Gen eral, Crim in al Division ,
referred to th e ‘‘Ju ven ile Coord in ator,’’       com m u n icate eith er w ith a p aren t, ad u lt   an d th e relevan t law en forcem en t
w h ose resp on sibilities sh ou ld in clu d e,                                                          agen cy in w ritin g to th at effect. Th e
                                                     relative, frien d , or w ith an organ ization
bu t n ot be lim ited to, fin d in g su itable                                                           Assistan t Attorn ey Gen eral, Crim in al
                                                     fou n d on th e free legal services list p rior
p lacem en t of th e ju ven ile in a facility                                                            Division , sh all con cu r in or object to
                                                     to p resen tation of th e volu n tary
d esign ated for th e occu p an cy of                                                                    th at d ecision . Un less th e Assistan t
                                                     d ep artu re form . If su ch ju ven ile, of h is
ju ven iles. Th ese m ay in clu d e ju ven ile                                                           Attorn ey Gen eral, Crim in al Division ,
                                                     or h er ow n volition , asks to con tact a
facilities con tracted by th e Service, state                                                            objects w ith in 7 d ays, h e or sh e sh all be
                                                     con su lar officer, an d d oes in fact m ake
or local ju ven ile facilities, or oth er                                                                d eem ed to h ave con cu rred in th e
                                                     su ch con tact, th e requ irem en ts of th is
ap p rop riate agen cies au th orized to                                                                 d ecision . In th e even t of an objection by
                                                     section are satisfied .
accom m od ate ju ven iles by th e law s of                                                              th e Assistan t Attorn ey Gen eral,
th e state or locality.                                 (h ) N otice an d requ est for d isp osition .   Crim in al Division , th e m atter w ill be
   (d ) Deten tion . In th e case of a ju ven ile    Wh en a ju ven ile alien is ap p reh en d ed ,      exp ed itiou sly referred to th e Dep u ty
for w h om d eten tion is d eterm in ed to be        h e or sh e m u st be given a Form I–770,           Attorn ey Gen eral for a fin al resolu tion .
n ecessary, for su ch in terim p eriod of            Notice of Righ ts an d Disp osition . If th e       In n o circu m stan ces sh all th e alien or
tim e as is requ ired to locate su itable            ju ven ile is less th an 14 years of age or         th e relevan t law en forcem en t agen cy
p lacem en t for th e ju ven ile, w h eth er         u n able to u n d erstan d th e n otice, th e       h ave a righ t of ap p eal from an y d ecision
su ch p lacem en t is u n d er p aragrap h (b)       n otice sh all be read an d exp lain ed to th e     to rem ove.
or (c) of th is section , th e ju ven ile m ay       ju ven ile in a lan gu age h e or sh e                 (2) A d istrict d irector w h o h as
be tem p orarily h eld by Service                    u n d erstan d s. In th e even t a ju ven ile       p rovid ed n otice as set forth in p aragrap h
au th orities or p laced in an y Service             w h o h as requ ested a h earin g p u rsu an t to   (c)(1) of th is section an d w h o h as been
d eten tion facility h avin g sep arate              th e n otice su bsequ en tly d ecid es to           ad vised by th e Com m ission er th at th e
accom m od ation s for ju ven iles.                  accep t volu n tary d ep artu re or is allow ed     Assistan t Attorn ey Gen eral, Crim in al
   (e) Refu sal of release. If a p aren t of a       to w ith d raw h is or h er ap p lication for       Division , h as n ot objected sh all issu e a
ju ven ile d etain ed by th e Service can be         ad m ission , a n ew Form I–770 sh all be           Warran t of Rem oval. Th e alien sh all
located , an d is oth erw ise su itable to           given to, an d sign ed by th e ju ven ile.          im m ed iately be arrested an d taken in to
receive cu stod y of th e ju ven ile, an d th e                                                          cu stod y by th e d istrict d irector in itiatin g
                                                     § 236.4 Removal of S–5, S–6, and S–7
ju ven ile in d icates a refu sal to be                                                                  th e rem oval. An alien classified u n d er
                                                     nonimmigrants.
released to h is or h er p aren t, th e                                                                  th e p rovision s of section 101(a)(15)(S) of
p aren t(s) sh all be n otified of th e                 (a) Con d ition of classification . As a         th e Act w h o is d eterm in ed , p u rsu an t to
ju ven ile’s refu sal to be released to th e         con d ition of classification an d                  a w arran t issu ed by a d istrict d irector,
p aren t(s), an d sh all be afford ed an             con tin u ed stay in classification                 to be d ep ortable from th e Un ited States
op p ortu n ity to p resen t th eir view s to th e   p u rsu an t to section 101(a)(15)(S) of th e       sh all be rem oved from th e Un ited States
d istrict d irector, ch ief p atrol agen t, or       Act, n on im m igran ts in S classification         to h is or h er cou n try of n ation ality or
im m igration ju d ge before a cu stod y             m u st h ave execu ted Form I–854, Part B,          last resid en ce. Th e agen cy th at
d eterm in ation is m ad e.                          In ter-agen cy Alien Witn ess an d                  requ ested th e alien ’s p resen ce in th e
   (f) N otice to p aren t of ap p lication for      In form an t Record , certifyin g th at th ey       Un ited States sh all en su re d ep artu re
relief. If a ju ven ile seeks release from           h ave kn ow in gly w aived th eir righ t to a       from th e Un ited States an d so in form
d eten tion , volu n tary d ep artu re, p arole,     rem oval h earin g an d righ t to con test,         th e d istrict d irector in w h ose
or an y form of relief from rem oval,                oth er th an on th e basis of an ap p lication      ju risd iction th e alien h as last resid ed .
w h ere it ap p ears th at th e gran t of su ch      for w ith h old in g of d ep ortation or            Th e d istrict d irector, if n ecessary, sh all
relief m ay effectively term in ate som e            rem oval, an y rem oval action , in clu d in g      oversee th e alien ’s d ep artu re from th e
in terest in h eren t in th e p aren t-ch ild        d eten tion p en d in g d ep ortation or            Un ited States an d , in an y even t, sh all
relation sh ip an d / or th e ju ven ile’s righ ts   rem oval, in stitu ted before law fu l              n otify th e Com m ission er of th e alien ’s
an d in terests are ad verse w ith th ose of         p erm an en t resid en t statu s is obtain ed .     d ep artu re.
th e p aren t, an d th e p aren t is p resen tly        (b) Determ in ation of d ep ortability. (1)         (d ) W ith h old in g of rem oval. An alien
resid in g in th e Un ited States, th e p aren t     A d eterm in ation to rem ove a d ep ortable        classified p u rsu an t to section
sh all be given n otice of th e ju ven ile’s         alien classified p u rsu an t to section            101(a)(15)(S) of th e Act w h o ap p lies for
ap p lication for relief, an d sh all be             101(a)(15)(S) of th e Act sh all be m ad e by       w ith h old in g of rem oval sh all h ave 10
afford ed an op p ortu n ity to p resen t h is       th e d istrict d irector h avin g ju risd iction    d ays from th e d ate th e Warran t of
or h er view s an d assert h is or h er              over th e p lace w h ere th e alien is              Rem oval is served u p on th e alien to file
in terest to th e d istrict d irector or             located .                                           an ap p lication for su ch relief w ith th e

                                                                                                                                     AR00489
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                        Page 108 of 350 PageID 4701
486                   Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

d istrict d irector in itiatin g th e rem oval        Eligible im m igran t m ean s a qu alified      § 236.13 Ineligible aliens.
ord er. Th e p roced u res con tain ed in          im m igran t w h o is th e sp ou se or                Th e follow in g categories of alien s are
§§ 208.2 an d 208.16 of th is ch ap ter sh all     u n m arried ch ild of a legalized alien .         in eligible for ben efits u n d er th e Fam ily
ap p ly to su ch an alien w h o ap p lies for         Legaliz ed alien m ean s an alien w h o:        Un ity Program :
w ith h old in g of rem oval.                                                                            (a) An alien w h o is d ep ortable u n d er
   (e) In ad m issibility. An alien w h o             (1) Is a tem p orary or p erm an en t
                                                                                                      an y p aragrap h in section 237(a) of th e
ap p lies for ad m ission u n d er th e            resid en t u n d er section 210 or 245A of
                                                                                                      Act, excep t p aragrap h s (1)(A), (1)(B),
p rovision s of section 101(a)(15)(S) of th e      th e Act; or
                                                                                                      (1)(C), an d (3)(A); p rovid ed th at an alien
Act w h o is d eterm in ed by an                      (2) Is a p erm an en t resid en t u n d er      w h o is d ep ortable u n d er section
im m igration officer n ot to be eligible for      section 202 of th e Im m igration Reform           237(a)(1)(A) of su ch Act is also
ad m ission u n d er th at section or to be        an d Con trol Act of 1986 (Cu ban / Haitian        in eligible for ben efits u n d er th e Fam ily
in ad m issible to th e Un ited States u n d er    Ad ju stm en t).                                   Un ity Program if d ep ortability is based
on e or m ore of th e grou n d s of                                                                   u p on a grou n d of in ad m issibility
in ad m issibility listed in section 212 of        § 236.12 Eligibility.
                                                                                                      d escribed in section 212(a) (2) or (3) of
th e Act an d w h ich h ave n ot been                 (a) Gen eral. An alien w h o is n ot a          th e Act;
p reviou sly w aived by th e Com m ission er       law fu l p erm an en t resid en t is eligible to      (b) An alien w h o h as been con victed
w ill be taken in to cu stod y. Th e d istrict     ap p ly for ben efits u n d er th e Fam ily        of a felon y or th ree or m ore
d irector h avin g ju risd iction over th e        Un ity Program if h e or sh e establish es:        m isd em ean ors in th e Un ited States; or
p ort-of-en try sh all follow th e                                                                       (c) An alien d escribed in section
n otification p roced u res sp ecified in             (1) Th at h e or sh e en tered th e Un ited
                                                   States before May 5, 1988 (in th e case            241(b)(3)(B) of th e Act.
p aragrap h (c)(1) of th is section . A
d istrict d irector w h o h as p rovid ed su ch    of a relation sh ip to a legalized alien           § 236.14 Filing.
n otice an d w h o h as been ad vised by th e      d escribed in su bsection (b)(2)(B) or                (a) Gen eral. An ap p lication for
Com m ission er th at th e Assistan t              (b)(2)(C) of section 301 of IMMACT 90),            volu n tary d ep artu re u n d er th e Fam ily
Attorn ey Gen eral, Crim in al Division ,          or as of Decem ber 1, 1988 (in th e case           Un ity Program m u st be filed at th e
h as n ot objected sh all rem ove th e alien       of a relation sh ip to a legalized alien           service cen ter h avin g ju risd iction over
w ith ou t fu rth er h earin g. An alien m ay      d escribed in su bsection (b)(2)(A) of             th e alien ’s p lace of resid en ce. A Form I–
n ot con test su ch rem oval, oth er th an by      section 301 of IMMACT 90), an d h as               817, Ap p lication for Volu n tary
ap p lyin g for w ith h old in g of rem oval.      been con tin u ou sly resid in g in th e           Dep artu re u n d er th e Fam ily Un ity
                                                   Un ited States sin ce th at d ate; an d            Program , m u st be filed w ith th e correct
§ 236.5 Fingerprints and photographs.
                                                      (2) Th at on May 5, 1988 (in th e case          fee requ ired in § 103.7(b)(1) of th is
   Every alien 14 years of age or old er           of a relation sh ip to a legalized alien           ch ap ter an d th e requ ired su p p ortin g
again st w h om p roceed in gs based on            d escribed in su bsection (b)(2)(B) or             d ocu m en tation . A sep arate ap p lication
d ep ortability u n d er section 237 of th e       (b)(2)(C) of section 301 of IMMACT 90),            w ith ap p rop riate fee an d d ocu m en tation
Act are com m en ced u n d er th is p art by       or as of Decem ber 1, 1988 (in th e case           m u st be filed for each p erson claim in g
service of a n otice to ap p ear sh all be         of a relation sh ip to a legalized alien           eligibility.
fin gerp rin ted an d p h otograp h ed . Su ch     d escribed in su bsection (b)(2)(A) of                (b) Decision . Th e service cen ter
fin gerp rin ts an d p h otograp h s sh all be     section 301 of IMMACT 90), h e or sh e             d irector h as sole ju risd iction to
m ad e available to Fed eral, State, an d          w as th e sp ou se or u n m arried ch ild of a     ad ju d icate an ap p lication for ben efits
local law en forcem en t agen cies u p on          legalized alien , an d th at h e or sh e h as      u n d er th e Fam ily Un ity Program . Th e
requ est to th e d istrict d irector or ch ief     been eligible con tin u ou sly sin ce th at        d irector w ill p rovid e th e ap p lican t w ith
p atrol agen t h avin g ju risd iction over th e   tim e for fam ily-sp on sored secon d              sp ecific reason s for an y d ecision to d en y
alien ’s record . An y su ch alien ,               p referen ce im m igran t statu s u n d er         an ap p lication . Den ial of an ap p lication
regard less of h is or h er age, sh all be                                                            m ay n ot be ap p ealed . An ap p lican t w h o
                                                   section 203(a)(2) of th e Act based on th e
p h otograp h ed an d / or fin gerp rin ted if                                                        believes th at th e grou n d s for d en ial h ave
                                                   sam e relation sh ip .
requ ired by an y im m igration officer                                                               been overcom e m ay su bm it an oth er
au th orized to issu e a n otice to ap p ear.         (b) Legaliz ation ap p lication p en d in g     ap p lication w ith th e ap p rop riate fee an d
Every alien 14 years of age or old er w h o        as of May 5, 1988 or Decem ber 1, 1988.            d ocu m en tation .
is fou n d to be in ad m issible to th e           An alien w h ose legalization ap p lication           (c) Referral of d en ied cases for
Un ited States an d ord ered rem oved by           w as filed on or before May 5, 1988 (in            con sid eration of issu an ce of n otice to
an im m igration ju d ge sh all be                 th e case of a relation sh ip to a legalized       ap p ear. If an ap p lication is d en ied , th e
fin gerp rin ted , u n less d u rin g th e         alien d escribed in su bsection (b)(2)(B) or       case w ill be referred to th e d istrict
p reced in g year h e or sh e h as been            (b)(2)(C) of section 301 of IMMACT 90),            d irector w ith ju risd iction over th e
fin gerp rin ted at an Am erican con su lar        or as of Decem ber 1, 1988 (in th e case           alien ’s p lace of resid en ce for
office.                                            of a relation sh ip to a legalized alien           con sid eration of w h eth er to issu e a
                                                   d escribed in su bsection (b)(2)(A) of             n otice to ap p ear. After an in itial d en ial,
§§ 236.6–236.9 [Reserved]                          section 301 of IMMACT 90), bu t n ot               an ap p lican t’s case w ill n ot be referred
Subpart B—Family Unity Program                     ap p roved u n til after th at d ate w ill be      for issu an ce of a n otice to ap p ear u n til
                                                   treated as h avin g been a legalized alien         90 d ays from th e d ate of th e in itial
§ 236.10 Description of program.                   as of May 5, 1988 (in th e case of a               d en ial, to allow th e alien th e
   Th e fam ily u n ity p rogram im p lem en ts    relation sh ip to a legalized alien                op p ortu n ity to file a n ew Form I–817
th e p rovision s of section 301 of th e           d escribed in su bsection (b)(2)(B) or             ap p lication in ord er to attem p t to
Im m igration Act of 1990, Pu b. L. 101–           (b)(2)(C) of section 301 of IMMACT 90),            overcom e th e basis of th e d en ial.
649. Th is Act is referred to in th is             or as of Decem ber 1, 1988 (in th e case           How ever, if th e ap p lican t is fou n d n ot
section as ‘‘IMMACT 90’’.                          of a relation sh ip to a legalized alien           to be eligible for ben efits u n d er
                                                   d escribed in su bsection (b)(2)(A) of             § 236.13(b), th e Service reserves th e
§ 236.11 Definitions.                              section 301 of IMMACT 90), for                     righ t to issu e a n otice to ap p ear at an y
  In th is su bp art, th e term :                  p u rp oses of th e Fam ily Un ity Program .       tim e after th e in itial d en ial.

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     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                          Page 109 of 350 PageID 4702
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                           487

§ 236.15 Voluntary departure and eligibility       on ce th e p etition , Form I–130, h as been          (3) Th e legalized alien u p on w h ose
for employment.                                    filed in beh alf of h im or h er. No               statu s ben efits u n d er th e Fam ily Un ity
   (a) A u th ority. Volu n tary d ep artu re      ch argin g d ocu m en t w ill be issu ed for a     Program w ere based loses h is or h er
u n d er th is section im p lem en ts th e         p eriod of 90 d ays.                               legalized statu s;
p rovision s of section 301 of IMMACT                 (f) S u p p ortin g d ocu m en tation for          (4) Th e ben eficiary is th e su bject of a
90, an d au th ority to gran t volu n tary         ex ten sion ap p lication . Su p p ortin g         fin al ord er of exclu sion , d ep ortation , or
d ep artu re u n d er th e fam ily u n ity         d ocu m en tation n eed n ot in clu d e            rem oval issu ed su bsequ en t to th e gran t
p rogram d erives solely from th at                d ocu m en tation p rovid ed w ith th e            of Fam ily Un ity ben efits u n less su ch
section . Volu n tary d ep artu re u n d er th e   p reviou s ap p lication (s). Th e exten sion      fin al ord er is based on en try w ith ou t
fam ily u n ity p rogram sh all be govern ed       ap p lication n eed on ly in clu d e ch an ges     in sp ection ; violation of statu s; or failu re
solely by th is section , n otw ith stan d in g    to p reviou s ap p lication s an d evid en ce of   to com p ly w ith section 265 of th e Act;
th e p rovision s of section 240B of th e Act      con tin u in g eligibility sin ce th e d ate of    or in ad m issibility at th e tim e of en try
an d 8 CFR p art 240.                              th e p rior ap p roval.                            oth er th an in ad m issibility p u rsu an t to
   (b) Ch ild ren of legaliz ed alien s.                                                              section 212(a)(2) or 212(a)(3) of th e Act,
Ch ild ren of legalized alien s resid in g in      § 236.16 Travel outside the United States.         regard less of w h eth er th e facts givin g
th e Un ited States, w h o w ere born d u rin g       An alien gran ted Fam ily Un ity                rise to su ch grou n d occu rred before or
an au th orized absen ce from th e Un ited         Program ben efits w h o in ten d s to travel       after th e ben efits w ere gran ted ; or
States of m oth ers w h o are cu rren tly          ou tsid e th e Un ited States tem p orarily           (5) A qu alifyin g relation sh ip to a
resid in g in th e Un ited States u n d er         m u st ap p ly for ad van ce au th orization       legalized alien n o lon ger exists.
volu n tary d ep artu re p u rsu an t to th e      u sin g Form I–131, Ap p lication for                 (b) N otice p roced u re. Notice of in ten t
Fam ily Un ity Program , m ay be gran ted          Travel Docu m en t. Th e au th ority to gran t     to term in ate an d of th e grou n d s th ereof
volu n tary d ep artu re u n d er section 301      an ap p lication for ad van ce au th orization     sh all be served p u rsu an t to th e
of IMMACT 90 for a p eriod of 2 years.             for an alien gran ted Fam ily Un ity               p rovision s of § 103.5a of th is ch ap ter.
   (c) Du ration of volu n tary d ep artu re.      Program ben efits rests soley w ith th e           Th e alien sh all be given 30 d ays to
An alien w h ose ap p lication for ben efits       d istrict d irector. An alien w h o is             resp on d to th e n otice an d m ay su bm it
u n d er th e Fam ily Un ity Program is            gran ted ad van ce au th orization an d            to th e Service ad d ition al evid en ce in
ap p roved w ill receive volu n tary               retu rn s to th e Un ited States in                rebu ttal. An y fin al d ecision of
d ep artu re for 2 years, com m en cin g w ith     accord an ce w ith su ch au th orization ,         term in ation sh all also be served
th e d ate of ap p roval of th e ap p lication .   an d w h o is fou n d n ot to be in ad m issible   p u rsu an t to th e p rovision s of § 103.5a of
Volu n tary d ep artu re u n d er th is section    u n d er section 212(a) (2) or (3) of th e Act,    th is ch ap ter. Noth in g in th is section
sh all be con sid ered effective from th e         sh all be in sp ected an d ad m itted in th e      sh all p reclu d e th e Service from
d ate on w h ich th e ap p lication w as           sam e im m igration statu s as th e alien          com m en cin g exclu sion or d ep ortation
p rop erly filed .                                 h ad at th e tim e of d ep artu re, an d sh all    p roceed in gs p rior to term in ation of
   (d ) Em p loym en t au th oriz ation . An       be p rovid ed th e rem ain d er of th e            Fam ily Un ity Program ben efits.
alien gran ted ben efits u n d er th e Fam ily     volu n tary d ep artu re p eriod p reviou sly         (c) Effect of term in ation . Term in ation
Un ity Program is au th orized to be               gran ted u n d er th e Fam ily Un ity              of ben efits u n d er th e Fam ily Un ity
em p loyed in th e Un ited States an d m ay        Program .                                          Program , oth er th an as a resu lt of a fin al
ap p ly for an em p loym en t au th orization                                                         ord er of rem oval, sh all ren d er th e alien
d ocu m en t on Form I–765, Ap p lication          § 236.17 Eligibility for Federal financial         am en able to rem oval p roceed in gs u n d er
for Em p loym en t Au th orization . Th e          assistance programs.
                                                                                                      section 240 of th e Act. If ben efits are
ap p lication m ay be filed con cu rren tly           An alien gran ted Fam ily Un ity                term in ated , th e p eriod of volu n tary
w ith Form I–817. Th e ap p lication m u st        Program ben efits based on a relation sh ip        d ep artu re u n d er th is section is also
be accom p an ied by th e correct fee              to a legalized alien as d efin ed in               term in ated .
requ ired by § 103.7(b)(1) of th is ch ap ter.     § 236.11 is in eligible for p u blic w elfare
Th e valid ity p eriod of th e em p loym en t      assistan ce in th e sam e m an n er an d for       PART 237—[REMOVED AND
au th orization w ill coin cid e w ith th e        th e sam e p eriod as th e legalized alien         RESERVED]
p eriod of volu n tary d ep artu re.               w h o is in eligible for su ch assistan ce
   (e) Ex ten sion of volu n tary d ep artu re.                                                         102. Part 237 is rem oved an d
                                                   u n d er section 245A(h ) or 210(f) of th e
An ap p lication for an exten sion of                                                                 reserved .
                                                   Act, resp ectively.
volu n tary d ep artu re u n d er th e Fam ily                                                          103. Part 238 is ad d ed to read as
Un ity Program m u st be filed by th e alien       § 236.18 Termination of Family Unity               follow s:
on Form I–817 alon g w ith th e correct fee        Program benefits.
requ ired in § 103.7(b)(1) of th is ch ap ter         (a) Grou n d s of term in ation . Th e          PART 238—EXPEDITED REMOVAL OF
an d th e requ ired su p p ortin g                 Service m ay term in ate ben efits u n d er        AGGRAVATED FELONS
d ocu m en tation . Th e su bm ission of a         th e Fam ily Un ity Program w h en ever th e       § 238.1 Proceedings under section 238(b)
cop y of th e p reviou s ap p roval n otice        n ecessity for th e term in ation com es to        of the Act.
w ill assist in sh orten in g th e p rocessin g    th e atten tion of th e Service. Su ch                (a) Defin ition s. As u sed in th is p art:
tim e. An exten sion m ay be gran ted if th e      grou n d s w ill exist in situ ation s                Decid in g S ervice officer m ean s a
alien con tin u es to be eligible for ben efits    in clu d in g, bu t n ot lim ited to, th ose in    d istrict d irector, ch ief p atrol agen t, or
u n d er th e Fam ily Un ity Program .             w h ich :                                          an oth er im m igration officer d esign ated
How ever, an exten sion m ay n ot be                  (1) A d eterm in ation is m ad e th at          by a d istrict d irector or ch ief p atrol
ap p roved if th e legalized alien is a            Fam ily Un ity Program ben efits w ere             agen t, w h o is n ot th e sam e p erson as th e
law fu l p erm an en t resid en t, an d a          acqu ired as th e resu lt of frau d or w illfu l   issu in g Service officer.
p etition for fam ily-sp on sored im m igran t     m isrep resen tation of a m aterial fact;             Issu in g S ervice officer m ean s an y
statu s h as n ot been filed in beh alf of th e       (2) Th e ben eficiary com m its an act or       Service officer listed in § 239.1 of th is
ap p lican t. In su ch case th e Service w ill     acts w h ich ren d er h im or h er                 ch ap ter as au th orized to issu e n otices to
n otify th e alien of th e reason for th e         in ad m issible as an im m igran t or w h o        ap p ear.
d en ial an d afford h im or h er th e             are in eligible for ben efits u n d er th e           (b) Prelim in ary con sid eration an d
op p ortu n ity to file an oth er Form I–817       Fam ily Un ity Program ;                           N otice of In ten t to Issu e a Fin al

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 110 of 350 PageID 4703
488                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

A d m in istrative Dep ortation Ord er;             lim itation s, an d con d ition s of section         w ith p aragrap h (c)(1) of th is section . If
com m en cem en t of p roceed in gs. (1)            241 of th e Act.                                     th e alien ’s fin al resp on se is a rebu ttal of
Basis of S ervice ch arge. An issu in g                (iii) Th e Service m u st d eterm in e th at      th e allegation s, su ch a fin al resp on se
Service officer sh all cau se to be served          th e p erson served w ith th e Notice of             sh ou ld be accom p an ied by affid avit(s),
u p on an alien a Form I–851, Notice of             In ten t is th e p erson n am ed on th e             d ocu m en tary in form ation , or oth er
In ten t to Issu e a Fin al Ad m in istrative       Notice.                                              sp ecific evid en ce su p p ortin g th e
Dep ortation Ord er (Notice of In ten t), if           (iv) Th e Service sh all p rovid e th e           ch allen ge.
th e officer is satisfied th at th ere is           alien w ith a list of available free legal              (d ) Determ in ation by d ecid in g S ervice
su fficien t evid en ce, based u p on               services p rogram s qu alified u n d er 8 CFR        officer. (1) N o resp on se su bm itted or
qu estion in g of th e alien by an                  p art 3 an d organ ization s recogn ized             con cession of d ep ortability. If th e
im m igration officer an d u p on an y oth er       p u rsu an t to 8 CFR p art 292, located             d ecid in g Service officer d oes n ot receive
evid en ce obtain ed , to su p p ort a fin d in g   w ith in th e d istrict or sector w h ere th e       a tim ely resp on se an d th e evid en ce in
th at th e in d ivid u al:                          Notice of In ten t is issu ed .                      th e record of p rocessin g establish es
   (i) Is an alien ;                                   (v) Th e Service m u st eith er p rovid e         d ep ortability by clear, con vin cin g, an d
   (ii) Has n ot been law fu lly ad m itted for     th e alien w ith a w ritten tran slation of          u n equ ivocal evid en ce, or if th e alien
p erm an en t resid en ce, or h as con d ition al   th e Notice of In ten t or exp lain th e             con ced es d ep ortability, th en th e
                                                    con ten ts of th e Notice of In ten t to th e        d ecid in g Service officer sh all issu e an d
p erm an en t resid en t statu s u n d er section
                                                    alien in th e alien ’s n ative lan gu age or in      cau se to be served u p on th e alien a
216 of th e Act;
                                                    a lan gu age th at th e alien u n d erstan d s.      Fin al Ad m in istrative Rem oval Ord er
   (iii) Has been con victed (as d efin ed in          (c) A lien ’s resp on se. (1) T im e for
section 101(a)(48) of th e Act an d as                                                                   th at states th e reason s for th e
                                                    resp on se. Th e alien w ill h ave 10                d ep ortation d ecision . Th e alien m ay, in
d em on strated by an y of th e d ocu m en ts       calen d ar d ays from service of th e Notice
or record s listed in § 3.41 of th is                                                                    w ritin g, kn ow in gly an d volu n tarily
                                                    of In ten t, or 13 calen d ar d ays if service       w aive th e 14-d ay w aitin g p eriod before
ch ap ter) of an aggravated felon y an d            is by m ail, to file a resp on se to th e
su ch con viction h as becom e fin al; an d                                                              execu tion of th e fin al ord er of rem oval
                                                    Notice of In ten t. In th e resp on se, th e         p rovid ed in a p aragrap h (f) of th is
   (iv) Is d ep ortable u n d er section            alien m ay: d esign ate h is or h er ch oice of      section .
237(a)(2)(A)(iii) of th e Act, in clu d in g an     cou n try for rem oval; su bm it a w ritten             (2) Resp on se su bm itted . (i)
alien w h o h as n eith er been ad m itted n or     resp on se rebu ttin g th e allegation s             In su fficien t rebu ttal; n o gen u in e issu e of
p aroled , bu t w h o is con clu sively             su p p ortin g th e ch arge an d / or requ estin g   m aterial fact. If th e alien tim ely su bm its
p resu m ed d ep ortable u n d er section           th e op p ortu n ity to review th e                  a rebu ttal to th e allegation s, bu t th e
237(a)(2)(A)(iii) by op eration of section          Govern m en t’s evid en ce; an d / or requ est       d ecid in g Service officer fin d s th at
238(c) of th e Act (‘‘Presu m p tion of             in w ritin g an exten sion of tim e for              d ep ortability is establish ed by clear,
Dep ortability’’).                                  resp on se, statin g th e sp ecific reason s         con vin cin g, an d u n equ ivocal evid en ce
   (2) N otice. (i) Rem oval p roceed in gs         w h y su ch an exten sion is n ecessary.             in th e record of p roceed in g, th e
u n d er section 238(b) of th e Act sh all          Altern atively, th e alien m ay, in w ritin g,       d ecid in g Service officer sh all issu e an d
com m en ce u p on p erson al service of th e       ch oose to accep t im m ed iate issu an ce of        cau se to be served u p on th e alien a
Notice of In ten t u p on th e alien , as           a Fin al Ad m in istrative Rem oval Ord er.          Fin al Ad m in istrative Rem oval Ord er
p rescribed by §§ 103.5a(a)(2) an d                 Th e d ecid in g Service officer m ay exten d        th at states th e reason s for th e d ecision
103.5a(c)(2) of th is ch ap ter. Th e Notice        th e tim e for resp on se for good cau se            of d ep ortability.
of In ten t sh all set forth th e p relim in ary    sh ow n . A requ est for exten sion of tim e            (ii) A d d ition al evid en ce requ ired . (A)
d eterm in ation s an d in form th e alien of       for resp on se w ill n ot au tom atically            If th e d ecid in g Service officer fin d s th at
th e Service’s in ten tion to issu e a Form         exten d th e p eriod for th e resp on se. Th e       th e record of p roceed in g, in clu d in g th e
I–851A, Fin al Ad m in istrative Rem oval           alien w ill be p erm itted to file a resp on se      alien ’s tim ely rebu ttal, raises a gen u in e
Ord er, w ith ou t a h earin g before an            ou tsid e th e p rescribed p eriod on ly if th e     issu e of m aterial fact regard in g th e
im m igration ju d ge. Th is Notice sh all          d ecid in g Service officer p erm its it. Th e       p relim in ary fin d in gs, th e d ecid in g
con stitu te th e ch argin g d ocu m en t. Th e     alien m u st sen d th e resp on se to th e           Service officer m ay eith er obtain
Notice of In ten t sh all in clu d e allegation s   d ecid in g Service officer at th e ad d ress        ad d ition al evid en ce from an y sou rce,
of fact an d con clu sion s of law . It sh all      p rovid ed in th e Notice of In ten t.               in clu d in g th e alien , or cau se to be
ad vise th at th e alien : h as th e p rivilege        (2) N atu re of rebu ttal or requ est to          issu ed a n otice to ap p ear to in itiate
of bein g rep resen ted , at n o exp en se to       review evid en ce. (i) If an alien ch ooses          rem oval p roceed in gs u n d er section 240
th e Govern m en t, by cou n sel of th e            to rebu t th e allegation s con tain ed in th e      of th e Act. Th e d ecid in g Service officer
alien ’s ch oosin g, as lon g as cou n sel is       Notice of In ten t, th e alien ’s w ritten           m ay also obtain ad d ition al evid en ce
au th orized to p ractice in d ep ortation          resp on se m u st in d icate w h ich fin d in g(s)   from an y sou rce, in clu d in g th e alien , if
p roceed in gs; m ay in sp ect th e evid en ce      are bein g ch allen ged an d sh ou ld be             th e d ecid in g Service officer d eem s th at
su p p ortin g th e Notice of In ten t; an d m ay   accom p an ied by affid avit(s),                     su ch ad d ition al evid en ce m ay aid th e
rebu t th e ch arges w ith in 10 calen d ar         d ocu m en tary in form ation , or oth er            officer in th e ren d erin g of a d ecision .
d ays after service of su ch Notice (or 13          sp ecific evid en ce su p p ortin g th e                (B) If th e d ecid in g Service officer
calen d ar d ays if service of th e Notice          ch allen ge.                                         con sid ers ad d ition al evid en ce from a
w as by m ail).                                        (ii) If an alien ’s w ritten resp on se           sou rce oth er th an th e alien , th at
   (ii) Th e Notice of In ten t also sh all         requ ests th e op p ortu n ity to review th e        evid en ce sh all be m ad e a p art of th e
ad vise th e alien th at h e or sh e m ay           Govern m en t’s evid en ce, th e Service             record of p roceed in g, an d sh all be
d esign ate in w ritin g, w ith in th e rebu ttal   sh all serve th e alien w ith a cop y of th e        p rovid ed to th e alien . If th e alien elects
p eriod , th e cou n try to w h ich h e or sh e     evid en ce in th e record of p roceed in g           to su bm it a resp on se to su ch ad d ition al
ch ooses to be d ep orted in accord an ce           u p on w h ich th e Service is relyin g to           evid en ce, su ch resp on se m u st be filed
w ith section 241 of th e Act, in th e even t       su p p ort th e ch arge. Th e alien m ay,            w ith th e Service w ith in 10 calen d ar
th at a Fin al Ad m in istrative Rem oval           w ith in 10 calen d ar d ays follow in g             d ays of service of th e ad d ition al
Ord er is issu ed , an d th at th e Service         service of th e Govern m en t’s evid en ce           evid en ce (or 13 calen d ar d ays if service
w ill h on or su ch d esign ation on ly to th e     (13 calen d ar d ays if service is by m ail),        is by m ail). If th e d ecid in g Service
exten t p erm itted u n d er th e term s,           fu rn ish a fin al resp on se in accord an ce        officer fin d s, after con sid erin g all

                                                                                                                                     AR00492
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                             Page 111 of 350 PageID 4704
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                             489

ad d ition al evid en ce, th at d ep ortability    d ecision of th e Service con cern in g                (8) Dep u ty assistan t d istrict d irectors
is establish ed by clear, con vin cin g, an d      cu stod y or bon d sh all n ot be                   for exam in ation s;
u n equ ivocal evid en ce in th e record of        ad m in istratively ap p ealable d u rin g             (9) Officers in ch arge (excep t foreign );
p roceed in g, th e d ecid in g Service officer    p roceed in gs in itiated u n d er section 238         (10) Assistan t officers in ch arge
sh all issu e an d cau se to be served u p on      of th e Act an d th is p art.                       (excep t foreign );
th e alien a Fin al Ad m in istrative                 (h ) Record of p roceed in g. Th e Service          (11) Ch ief p atrol agen ts;
Dep ortation Ord er th at states th e              sh all m ain tain a record of p roceed in g            (12) Dep u ty ch ief p atrol agen ts;
reason s for th e d ecision of d ep ortability.    for ju d icial review of th e Fin al                   (13) Associate ch ief p atrol agen ts;
   (iii) Con version to p roceed in gs u n d er    Ad m in istrative Rem oval Ord er sou gh t             (14) Assistan t ch ief p atrol agen ts;
section 240 of th e A ct. If th e d ecid in g      by an y p etition for review . Th e record             (15) Patrol agen ts in ch arge;
Service officer fin d s th at th e alien is n ot   of p roceed in g sh all in clu d e, bu t n ot          (16) Th e Assistan t Com m ission er,
am en able to rem oval u n d er section 238        n ecessarily be lim ited to: th e ch argin g        In vestigation s;
of th e Act, th e d ecid in g Service officer      d ocu m en t (Notice of In ten t); th e Fin al         (17) Service cen ter d irectors;
sh all term in ate th e exp ed ited                Ad m in istrative Rem oval Ord er                      (18) Dep u ty cen ter d irectors;
p roceed in gs u n d er section 238 of th e        (in clu d in g an y su p p lem en tal                  (19) Assistan t cen ter d irectors for
Act an d sh all, w h ere ap p rop riate, cau se    m em oran d u m of d ecision ); th e alien ’s       exam in ation s;
to be issu ed a n otice to ap p ear for th e       resp on se, if an y; all evid en ce in su p p ort      (20) Su p ervisory asylu m officers; or
p u rp ose of in itiatin g rem oval                of th e ch arge; an d an y ad m issible                (21) In stitu tion al Hearin g Program
p roceed in gs before an im m igration             evid en ce, briefs, or d ocu m en ts                d irectors.
ju d ge u n d er section 240 of th e Act.          su bm itted by eith er p arty resp ectin g             (b) S ervice of n otice to ap p ear.
   (3) T erm in ation of p roceed in gs by         d ep ortability. Th e execu ted d u p licate of     Service of th e n otice to ap p ear sh all be
d ecid in g S ervice officer. On ly th e           th e Notice of In ten t in th e record of           in accord an ce w ith section 239 of th e
d ecid in g Service officer m ay term in ate       p roceed in gs sh all be retain ed as               Act.
p roceed in gs u n d er section 238 of th e        evid en ce th at th e in d ivid u al u p on         § 239.2 Cancellation of notice to appear.
Act, in accord an ce w ith th is section .         w h om th e n otice for th e p roceed in g w as
   (e) Proceed in gs com m en ced u n d er                                                                (a) An y officer au th orized by
                                                   served w as, in fact, th e alien n am ed in         § 239.1(a) to issu e a n otice to ap p ear
section 240 of th e A ct. In an y
                                                   th e n otice.                                       m ay can cel su ch n otice p rior to
p roceed in g com m en ced u n d er section
240 of th e Act w h ich is based on                  Authority: 8 U.S.C. 1228; 8 CFR p art 2.          ju risd iction vestin g w ith th e
d ep ortability u n d er section 237 of th e         104. Part 239 is ad d ed to read as               im m igration ju d ge p u rsu an t to § 3.14 of
Act, if it ap p ears th at th e resp on d en t     follow s:                                           th is ch ap ter p rovid ed th e officer is
alien is su bject to rem oval p u rsu an t to                                                          satisfied th at:
section 238 of th e Act, th e im m igration        PART 239—INITIATION OF REMOVAL                         (1) Th e resp on d en t is a n ation al of th e
ju d ge m ay, u p on th e Service’s requ est,      PROCEEDINGS                                         Un ited States;
term in ate th e case an d , u p on su ch                                                                 (2) Th e resp on d en t is n ot d ep ortable
term in ation , th e Service m ay com m en ce      Sec.                                                or in ad m issable u n d er im m igration
ad m in istrative p roceed in gs u n d er          239.1   Notice to ap p ear.                         law s;
                                                   239.2   Can cellation of n otice to ap p ear.          (3) Th e resp on d en t is d eceased ;
section 238 of th e Act. How ever, in th e         239.3   Effect of filin g n otice to ap p ear.
absen ce of an y su ch requ est, th e                                                                     (4) Th e resp on d en t is n ot in th e
im m igration ju d ge sh all com p lete th e         Authority: 8 U.S.C. 1103, 1221, 1229; 8           Un ited States;
p roceed in g com m en ced u n d er section        CFR p art 2.                                           (5) Th e n otice w as issu ed for th e
240 of th e Act.                                   § 239.1 Notice to appear.
                                                                                                       resp on d en t’s failu re to file a tim ely
   (f) Ex ecu tin g fin al rem oval ord er of                                                          p etition as requ ired by section 216(c) of
d ecid in g S ervice officer. (1) T im e of           (a) Com m en cem en t. Every rem oval            th e Act, bu t h is or h er failu re to file a
ex ecu tion . Up on th e issu an ce of a Fin al    p roceed in g con d u cted u n d er section         tim ely p etition w as excu sed in
Ad m in istrative Rem oval Ord er, th e            240 of th e Act to d eterm in e th e                accord an ce w ith section 216(d )(2)(B) of
Service sh all issu e a Warran t of                d ep ortability or in ad m issibility of an         th e Act; or
Rem oval in accord an ce w ith § 241.2 of          alien is com m en ced by th e filin g of a             (6) Th e n otice to ap p ear w as
th is ch ap ter; su ch w arran t sh all be         n otice to ap p ear w ith th e Im m igration        im p rovid en tly issu ed .
execu ted n o soon er th an 14 calen d ar          Cou rt. An y im m igration officer                     (b) A n otice to ap p ear issu ed p u rsu an t
d ays after th e d ate th e Fin al                 p erform in g an in sp ection of an arrivin g       to section 235(b)(3) of th e Act m ay be
Ad m in istrative Rem oval Ord er is               alien at a p ort-of-en try m ay issu e a            can celed u n d er p rovision s in
issu ed , u n less th e alien kn ow in gly,        n otice to ap p ear to su ch an alien . In          p aragrap h s (a)(2) an d (a)(6) of th is
volu n tarily, an d in w ritin g w aives th e      ad d ition , th e follow in g officers, or          section on ly by th e issu in g officer,
14-d ay p eriod .                                  officers actin g in su ch cap acity, m ay           u n less it is im p racticable for th e issu in g
   (2) Cou n try to wh ich alien is to be          issu e a n otice to ap p ear:                       officer to can cel th e n otice.
rem oved . Th e d ecid in g Service officer           (1) District d irectors (excep t foreign );         (c) Motion to d ism iss. After
sh all d esign ate th e cou n try of rem oval         (2) Dep u ty d istrict d irectors (excep t       com m en cem en t of p roceed in gs p u rsu an t
in th e m an n er p rescribed by section 241       foreign );                                          to § 3.14 of th is ch ap ter, an y officer
of th e Act.                                          (3) Assistan t d istrict d irectors for          en u m erated in p aragrap h (a) of th is
   (g) A rrest an d d eten tion . At th e tim e    in vestigation s;                                   section m ay m ove for d ism issal of th e
of issu an ce of a Notice of In ten t or at           (4) Dep u ty assistan t d istrict d irectors     m atter on th e grou n d s set ou t u n d er
an y tim e th ereafter an d u p to th e tim e      for in vestigation s;                               p aragrap h (a) of th is section . Dism issal
th e alien becom es th e su bject of a                (5) Assistan t d istrict d irectors for          of th e m atter sh all be w ith ou t p reju d ice
Warran t of Rem oval, th e alien m ay be           d ep ortation ;                                     to th e alien or th e Service.
arrested an d taken in to cu stod y u n d er          (6) Dep u ty assistan t d istrict d irectors        (d ) Motion for rem an d . After
th e au th ority of a Warran t of Arrest           for d ep ortation ;                                 com m en cem en t of th e h earin g, an y
issu ed by an officer listed in                       (7) Assistan t d istrict d irectors for          officer en u m erated in p aragrap h (a) of
§ 287.5(e)(2) of th is ch ap ter. Th e             exam in ation s;                                    th is section m ay m ove for rem an d of th e

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 112 of 350 PageID 4705
490                    Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

m atter to d istrict ju risd iction on th e             Subpart B—Cancellation of Removal                       in clu d in g ord ers of rem oval as p rovid ed
grou n d th at th e foreign relation s of th e          240.20 Can cellation of rem oval an d                   by section 240(c)(1)(A) of th e Act; to
Un ited States are in volved an d requ ire                  ad ju stm en t of statu s u n d er section          d eterm in e ap p lication s u n d er section s
fu rth er con sid eration . Rem an d of th e                240A(a) an d 240A(b) of th e Act                    208, 212(a)(2)(F), 212(a)(6)(F)(ii),
m atter sh all be w ith ou t p reju d ice to th e       Subpart C—Voluntary Depature                            212(a)(9)(B)(v), 212(d )(11), 212(d )(12),
alien or th e Service.                                                                                          212(g), 212(h ), 212(i), 212(k),
                                                        240.25 Volu n tary d ep artu re—au th ority of
   (e) W arran t of arrest. Wh en a n otice                 th e Service.
                                                                                                                237(a)(1)(E)(iii), 237(a)(1)(H),
to ap p ear is can celed or p roceed in gs are          240.26 Volu n tary d ep artu re—au th ority of          237(a)(3)(C)(ii), 240A(a) an d (b), 240B,
term in ated u n d er th is section an y                    th e Execu tive Office for Im m igration            245, an d 249 of th e Act; to ord er
ou tstan d in g w arran t of arrest is                      Review .                                            w ith h old in g of rem oval p u rsu an t to
can celed .                                                                                                     section 241(b)(3) of th e Act; an d to take
                                                        Subpart D—Exclusion of aliens (for
                                                        proceedings commenced prior to April 1,
                                                                                                                an y oth er action con sisten t w ith
   (f) T erm in ation of rem oval                                                                               ap p licable law an d regu lation s as m ay
p roceed in gs by im m igration ju d ge. An             1997)
                                                                                                                be ap p rop riate. In d eterm in in g cases
im m igration ju d ge m ay term in ate                  240.30 Proceed in gs p rior to Ap ril 1, 1997.
                                                        240.31 Au th ority of im m igration ju d ges.
                                                                                                                referred for fu rth er in qu iry, im m igration
rem oval p roceed in gs to p erm it th e alien                                                                  ju d ges sh all h ave th e p ow ers an d
to p roceed to a fin al h earin g on a                  240.32 Hearin g.
                                                        240.33 Ap p lication s for asylu m or                   au th ority con ferred u p on th em by th e
p en d in g ap p lication or p etition for                  w ith h old in g of d ep ortation .                 Act an d th is ch ap ter. Su bject to an y
n atu ralization w h en th e alien h as                 240.34 Ren ew al of ap p lication for                   sp ecific lim itation p rescribed by th e Act
establish ed p rim a facie eligibility for                  ad ju stm en t of statu s u n d er section 245 of   an d th is ch ap ter, im m igration ju d ges
n atu ralization an d th e m atter in volves                th e Act.                                           sh all also exercise th e d iscretion an d
excep tion ally ap p ealin g or                         240.35 Decision of th e im m igration ju d ge;          au th ority con ferred u p on th e Attorn ey
h u m an itarian factors; in every oth er                   n otice of th e ap p lican t.                       Gen eral by th e Act as is ap p rop riate an d
case, th e rem oval h earin g sh all be                 240.36 Fin ality of ord er.
                                                        240.37 Ap p eals.                                       n ecessary for th e d isp osition of su ch
com p letely as p rom p tly as p ossible                                                                        cases. An im m igration ju d ge m ay certify
                                                        240.38 Fin gerp rin tin g of exclu d ed alien s.
n otw ith stan d in g th e p en d en cy of an           240.39 Reop en in g or recon sid eration .              h is or h er d ecision in an y case u n d er
ap p lication for n atu ralization d u rin g                                                                    section 240 of th e Act to th e Board of
an y state of th e p roceed in gs.                      Subpart E—Proceedings to determine
                                                                                                                Im m igration Ap p eals w h en it in volves
                                                        deportability of aliens in the United States:
§ 239.3 Effect of filing notice to appear.              Hearing and Appeal (for proceedings
                                                                                                                an u n u su ally com p lex or n ovel qu estion
                                                        commenced prior to April 1, 1997)                       of law or fact. Noth in g con tain ed in th is
   Th e filin g of a n otice to ap p ear sh all                                                                 p art sh all be con stru ed to d im in ish th e
h ave n o effect in d eterm in in g p eriod s of        240.40 Proceed in gs com m en ced p rior to
                                                            Ap ril 1, 1997.
                                                                                                                au th ority con ferred on im m igration
u n law fu l p resen ce as d efin ed in section         240.41 Im m igration ju d ges.                          ju d ges u n d er section s 101(b)(4) an d 103
212(a)(9)(B) of th e Act.                               240.42 Rep resen tation by cou n sel.                   of th e Act.
                                                        240.43 In com p eten t resp on d en ts.                    (b) W ith d rawal an d su bstitu tion of
§§ 240.1–240.20 Redesignated as §§ 244.3–                                                                       im m igration ju d ges. Th e im m igration
                                                        240.44 In terp reter.
244.22]
                                                        240.45 Postp on em en t an d ad jou rn m en t of        ju d ge assign ed to con d u ct th e h earin g
  105. Section s 240.1 th rou gh 240.20                     h earin g.                                          sh all at an y tim e w ith d raw if h e or sh e
are red esign ated as §§ 244.3 th rou gh                240.46 Evid en ce.                                      d eem s h im self or h erself d isqu alified . If
244.22.                                                 240.47 Con ten ts of record .                           an im m igration ju d ge becom es
                                                        240.48 Hearin g.
  106. Part 240 is revised to read as                   240.49 An cillary m atters, ap p lication s.
                                                                                                                u n available to com p lete h is or h er
follow s:                                               240.50 Decision of th e im m igration ju d ge.          d u ties, an oth er im m igration ju d ge m ay
                                                        240.51 Notice of d ecision .                            be assign ed to com p lete th e case. Th e
PART 240—PROCEEDINGS TO                                 240.52 Fin ality of ord er.                             n ew im m igration ju d ge sh all fam iliarize
DETERMINE REMOVABILITY OF                               240.53 Ap p eals.                                       h im self or h erself w ith th e record in th e
ALIENS IN THE UNITED STATES                             240.54 Proceed in gs u n d er section 242(f) of         case an d sh all state for th e record th at
                                                            th e Act.                                           h e or sh e h as d on e so.
Subpart A—Removal Proceedings                                                                                      (c) Con d u ct of h earin g. Th e
                                                        Subpart F—Suspension of deportation and
Sec.                                                    voluntary departure (for proceedings                    im m igration ju d ge sh all receive an d
240.1 Im m igration ju d ges.                           commenced prior to April 1, 1997)                       con sid er m aterial an d relevan t evid en ce,
240.2 Attorn ey for th e Service.                                                                               ru le u p on objection s, an d oth erw ise
240.3 Rep resen tation by cou n sel.                    240.55 Proceed in gs com m en ced p rior to
                                                            Ap ril 1, 1997.                                     regu late th e cou rse of th e h earin g.
240.4 In com p eten t resp on d en ts.
240.5 In terp reter.                                    240.56 Ap p lication .
                                                        240.57 Exten sion of tim e to d ep art.                 § 240.2 Attorney for the Service.
240.6 Postp on em en t an d ad jou rn m en t of                                                                    (a) A u th ority. Th e attorn ey for th e
     h earin g.                                         Subpart G—Civil penalties for failure to                Service sh all p resen t on beh alf of th e
240.7 Evid en ce in rem oval p roceed in gs             depart [Reserved]
     u n d er section 240 of th e Act.                                                                          govern m en t evid en ce m aterial to th e
                                                          Authority: 8 U.S.C. 1103; 1182, 1186a,                issu es of d ep ortability or in ad m issibility
240.8 Bu rd en s of p roof in rem oval                  1224, 1225, 1226, 1227, 1251, 1252 n ote,
     p roceed in gs.                                                                                            an d an y oth er issu es th at m ay requ ire
                                                        1252a, 1252b, 1362; 8 CFR p art 2.
240.9 Con ten ts of record .                                                                                    d isp osition by th e im m igration ju d ge.
240.10 Hearin g.                                        Subpart A—Removal Proceedings                           Th e d u ties of th e Service attorn ey
240.11 An cillary m atters, ap p lication s.                                                                    in clu d e, bu t are n ot lim ited to, th e
240.12 Decision of th e im m igration ju d ge.          § 240.1 Immigration judges.                             p resen tation of evid en ce an d th e
240.13 Notice of d ecision .                               (a) A u th ority: In an y rem oval                   in terrogation , exam in ation , an d cross-
240.14 Fin ality of ord er.
240.15 Ap p eals.
                                                        p roceed in g p u rsu an t to section 240 of            exam in ation of th e resp on d en t or oth er
240.16 Ap p lication of n ew p roced u res or           th e Act, th e im m igration ju d ge sh all             w itn esses. Noth in g con tain ed h erein
     term in ation of p roceed in gs in old             h ave th e au th ority to: d eterm in e                 d im in ish es th e au th ority of an
     p roceed in gs p u rsu an t to section 309(c) of   rem ovability p u rsu an t to section                   im m igration ju d ge to con d u ct
     Pu b. L. 104–208.                                  240(a)(1) of th e Act; to m ake d ecision s,            p roceed in gs u n d er th is p art. Th e Service

                                                                                                                                           AR00494
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                             Page 113 of 350 PageID 4706
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                              491

attorn ey is au th orized to ap p eal from a           Th e im m igration ju d ge m ay receive in         record ed verbatim excep t for statem en ts
d ecision of th e im m igration ju d ge             evid en ce an y oral or w ritten statem en t          m ad e off th e record w ith th e p erm ission
p u rsu an t to § 3.38 of th is ch ap ter an d to   th at is m aterial an d relevan t to an y issu e      of th e im m igration ju d ge. In h is or h er
m ove for reop en in g or recon sid eration         in th e case p reviou sly m ad e by th e              d ecision , th e im m igration ju d ge m ay
p u rsu an t to § 3.23 of th is ch ap ter.          resp on d en t or an y oth er p erson d u rin g       exclu d e from th e record an y argu m en ts
   (b) A ssign m en t. In a rem oval                an y in vestigation , exam in ation , h earin g,      m ad e in con n ection w ith m otion s,
p roceed in g, th e Service sh all assign an        or trial.                                             ap p lication s, requ ests, or objection s, bu t
attorn ey to each case w ith in th e                   (b) T estim on y. Testim on y of w itn esses       in su ch even t th e p erson affected m ay
p rovision s of § 240.10(d ), an d to each          ap p earin g at th e h earin g sh all be u n d er     su bm it a brief.
case in w h ich an u n rep resen ted                oath or affirm ation ad m in istered by th e
                                                    im m igration ju d ge.                                § 240.10 Hearing.
resp on d en t is in com p eten t or is u n d er
18 years of age, an d is n ot accom p an ied           (c) Dep osition s. Th e im m igration                 (a) Op en in g. In a rem oval p roceed in g,
by a gu ard ian , relative, or frien d . In a       ju d ge m ay ord er th e takin g of                   th e im m igration ju d ge sh all:
case in w h ich th e rem oval p roceed in g         d ep osition s p u rsu an t to § 3.35 of th is           (1) Ad vise th e resp on d en t of h is or
w ou ld resu lt in an ord er of rem oval, th e      ch ap ter.                                            h er righ t to rep resen tation , at n o
Service sh all assign an attorn ey to each                                                                exp en se to th e govern m en t, by cou n sel
                                                    § 240.8 Burdens of proof in removal                   of h is or h er ow n ch oice au th orized to
case in w h ich a resp on d en t’s n ation ality    proceedings.
is in issu e. A Service attorn ey sh all be                                                               p ractice in th e p roceed in gs an d requ ire
                                                       (a) Dep ortable alien s. A resp on d en t          th e resp on d en t to state th en an d th ere
assign ed in every case in w h ich th e
                                                    ch arged w ith d ep ortability sh all be              w h eth er h e or sh e d esires
Com m ission er ap p roves th e su bm ission
                                                    fou n d to be rem ovable if th e Service              rep resen tation ;
of n on -record in form ation u n d er
                                                    p roves by clear an d con vin cin g                      (2) Ad vise th e resp on d en t of th e
§ 240.11(a)(3). In h is or h er d iscretion ,
                                                    evid en ce th at th e resp on d en t is               availability of free legal services
w h en ever h e or sh e d eem s su ch
                                                    d ep ortable.                                         p rovid ed by organ ization s an d attorn eys
assign m en t n ecessary or ad van tageou s,
                                                       (b) A rrivin g alien s. In p roceed in gs          qu alified u n d er 8 CFR p art 3 an d
th e Gen eral Cou n sel m ay assign a
                                                    com m en ced u p on a resp on d en t’s arrival        organ ization s recogn ized p u rsu an t to
Service attorn ey to an y oth er case at an y
                                                    in th e Un ited States or after th e                  § 292.2 of th is ch ap ter, located in th e
stage of th e p roceed in g.
                                                    revocation or exp iration of p arole, th e            d istrict w h ere th e rem oval h earin g is
§ 240.3 Representation by counsel.                  resp on d en t m u st p rove th at h e or sh e is     bein g h eld ;
   Th e resp on d en t m ay be rep resen ted at     clearly an d beyon d a d ou bt en titled to              (3) Ascertain th at th e resp on d en t h as
th e h earin g by an attorn ey or oth er            be ad m itted to th e Un ited States an d is          received a list of su ch p rogram s, an d a
rep resen tative qu alified u n d er 8 CFR          n ot in ad m issible as ch arged .                    cop y of ap p eal righ ts;
                                                       (c) A lien s p resen t in th e Un ited S tates        (4) Ad vise th e resp on d en t th at h e or
p art 292.
                                                    with ou t bein g ad m itted or p aroled . In          sh e w ill h ave a reason able op p ortu n ity
§ 240.4 Incompetent respondents.                    th e case of a resp on d en t in th e Un ited         to exam in e an d object to th e evid en ce
   Wh en it is im p racticable for th e             States w ith ou t bein g ad m itted or                again st h im or h er, to p resen t evid en ce
resp on d en t to be p resen t at th e h earin g    p aroled , th e Service m u st first establish        in h is or h er ow n beh alf an d to cross-
becau se of m en tal in com p eten cy, th e         th e alien age of th e resp on d en t. On ce          exam in e w itn esses p resen ted by th e
attorn ey, legal rep resen tative, legal            alien age h as been establish ed , u n less           govern m en t (bu t resp on d en t sh all n ot be
gu ard ian , n ear relative, or frien d w h o       th e resp on d en t d em on strates by clear          en titled to exam in e su ch n ation al
w as served w ith a cop y of th e n otice to        an d con vin cin g evid en ce th at h e or sh e       secu rity in form ation as th e govern m en t
ap p ear sh all be p erm itted to ap p ear on       is law fu lly in th e Un ited States p u rsu an t     m ay p roffer in op p osition to th e
beh alf of th e resp on d en t. If su ch a          to a p rior ad m ission , th e resp on d en t         resp on d en t’s ad m ission to th e Un ited
p erson can n ot reason ably be fou n d or          m u st p rove th at h e or sh e is clearly an d       States or to an ap p lication by th e
fails or refu ses to ap p ear, th e cu stod ian     beyon d a d ou bt en titled to be ad m itted          resp on d en t for d iscretion ary relief);
of th e resp on d en t sh all be requ ested to      to th e Un ited States an d is n ot                      (5) Place th e resp on d en t u n d er oath ;
ap p ear on beh alf of th e resp on d en t.         in ad m issible as ch arged .                            (6) Read th e factu al allegation s an d
                                                       (d ) Relief from rem oval. Th e                    th e ch arges in th e n otice to ap p ear to th e
§ 240.5 Interpreter.                                resp on d en t sh all h ave th e bu rd en of          resp on d en t an d exp lain th em in n on -
   An y p erson actin g as an in terp reter in      establish in g th at h e or sh e is eligible for      tech n ical lan gu age; an d
a h earin g before an im m igration ju d ge         an y requ ested ben efit or p rivilege an d              (7) En ter th e n otice to ap p ear as an
u n d er th is p art sh all be sw orn to            th at it sh ou ld be gran ted in th e exercise        exh ibit in th e Record of Proceed in g.
in terp ret an d tran slate accu rately,            of d iscretion . If th e evid en ce in d icates          (b) Pu blic access to h earin gs. Rem oval
u n less th e in terp reter is an em p loyee of     th at on e or m ore of th e grou n d s for            h earin gs sh all be op en to th e p u blic,
th e Un ited States Govern m en t, in w h ich       m an d atory d en ial of th e ap p lication for       excep t th at th e im m igration ju d ge m ay,
even t n o su ch oath sh all be requ ired .         relief m ay ap p ly, th e alien sh all h ave          in h is or h er d iscretion , close
                                                    th e bu rd en of p rovin g by a                       p roceed in gs as p rovid ed in § 3.27 of th is
§ 240.6 Postponement and adjournment of             p rep on d eran ce of th e evid en ce th at su ch     ch ap ter.
hearing.                                            grou n d s d o n ot ap p ly.                             (c) Plead in g by resp on d en t. Th e
   After th e com m en cem en t of th e                                                                   im m igration ju d ge sh all requ ire th e
h earin g, th e im m igration ju d ge m ay          § 240.9 Contents of record.                           resp on d en t to p lead to th e n otice to
gran t a reason able ad jou rn m en t eith er at       Th e h earin g before th e im m igration           ap p ear by statin g w h eth er h e or sh e
h is or h er ow n in stan ce or, for good           ju d ge, in clu d in g th e testim on y, exh ibits,   ad m its or d en ies th e factu al allegation s
cau se sh ow n , u p on ap p lication by th e       ap p lication s, p roffers, an d requ ests, th e      an d h is or h er rem ovability u n d er th e
resp on d en t or th e Service.                     im m igration ju d ge’s d ecision , an d all          ch arges con tain ed th erein . If th e
                                                    w ritten ord ers, m otion s, ap p eals, briefs,       resp on d en t ad m its th e factu al
§ 240.7 Evidence in removal proceedings             an d oth er p ap ers filed in th e                    allegation s an d ad m its h is or h er
under section 240 of the Act.                       p roceed in gs sh all con stitu te th e record        rem ovability u n d er th e ch arges an d th e
  (a) Use of p rior statem en ts.                   in th e case. Th e h earin g sh all be                im m igration ju d ge is satisfied th at n o

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 114 of 350 PageID 4707
492                   Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

issu es of law or fact rem ain , th e                241(b)(2)(C) of th e Act ap p lies, an d sh all      th e ben efits en u m erated in th is ch ap ter
im m igration ju d ge m ay d eterm in e th at        afford h im or h er an op p ortu n ity th en         an d sh all afford th e alien an op p ortu n ity
rem ovability as ch arged h as been                  an d th ere to m ake su ch d esign ation . Th e      to m ake ap p lication d u rin g th e h earin g.
establish ed by th e ad m ission s of th e           im m igration ju d ge sh all th en sp ecify             (3) In exercisin g d iscretion ary p ow er
resp on d en t. Th e im m igration ju d ge           an d state for th e record th e cou n try, or        w h en con sid erin g an ap p lication for
sh all n ot accep t an ad m ission of                cou n tries in th e altern ative, to w h ich         statu s as a p erm an en t resid en t u n d er
rem ovability from an u n rep resen ted              th e alien ’s rem oval w ill be d irected            th is ch ap ter, th e im m igration ju d ge m ay
resp on d en t w h o is in com p eten t or           p u rsu an t to section 241(b) of th e Act if        con sid er an d base th e d ecision on
u n d er th e age of 18 an d is n ot                 th e cou n try of h is or h er d esign ation         in form ation n ot con tain ed in th e record
accom p an ied by an attorn ey or legal              w ill n ot accep t h im or h er in to its            an d n ot m ad e available for in sp ection
rep resen tative, a n ear relative, legal            territory, or fails to fu rn ish tim ely n otice     by th e alien , p rovid ed th e
gu ard ian , or frien d ; n or from an officer       of accep tan ce, or if th e alien d eclin es to      Com m ission er h as d eterm in ed th at su ch
of an in stitu tion in w h ich a resp on d en t      d esign ate a cou n try.                             in form ation is relevan t an d is classified
is an in m ate or p atien t. Wh en , p u rsu an t       (g) In th e even t th at th e Service is          u n d er th e ap p licable Execu tive Ord er as
to th is p aragrap h , th e im m igration ju d ge    u n able to rem ove th e alien to th e               requ irin g p rotection from u n au th orized
d oes n ot accep t an ad m ission of                 sp ecified or altern ative cou n try or              d isclosu re in th e in terest of n ation al
rem ovability, h e or sh e sh all d irect a          cou n tries, th e Service m ay rem ove th e          secu rity. Wh en ever th e im m igration
h earin g on th e issu es.                           alien to an y oth er cou n try as p erm itted        ju d ge believes th at h e or sh e can d o so
   (d ) Issu es of rem ovability. Wh en              by section 241(b) of th e Act.                       w h ile safegu ard in g both th e in form ation
rem ovability is n ot d eterm in ed u n d er                                                              an d its sou rce, th e im m igration ju d ge
th e p rovision s of p aragrap h (b) of th is        § 240.11 Ancillary matters, applications.            sh ou ld in form th e alien of th e gen eral
section , th e im m igration ju d ge sh all             (a) Creation of th e statu s of an alien          n atu re of th e in form ation in ord er th at
requ est th e assign m en t of an assistan t         lawfu lly ad m itted for p erm an en t               th e alien m ay h ave an op p ortu n ity to
d istrict cou n sel, an d sh all receive             resid en ce. (1) In a rem oval p roceed in g,        offer op p osin g evid en ce. A d ecision
evid en ce as to an y u n resolved issu es,          an alien m ay ap p ly to th e im m igration          based in w h ole or in p art on su ch
excep t th at n o fu rth er evid en ce n eed be      ju d ge for can cellation of rem oval u n d er       classified in form ation sh all state th at
received as to an y facts ad m itted d u rin g       section 240A of th e Act, ad ju stm en t of          th e in form ation is m aterial to th e
th e p lead in g. Th e alien sh all p rovid e a      statu s u n d er section 245 of th e Act,            d ecision .
cou rt certified cop y of a Ju d icial               ad ju stm en t of statu s u n d er section 1 of         (b) V olu n tary d ep artu re. Th e alien
Recom m en d ation Again st Dep ortation             th e Act of Novem ber 2, 1996 (as                    m ay ap p ly to th e im m igration ju d ge for
(JRAD) to th e im m igration ju d ge w h en          m od ified by section 606 of Pu b. L 104–            volu n tary d ep artu re in lieu of rem oval
su ch recom m en d ation w ill be th e basis         132) or u n d er section 101 or 104 of th e          p u rsu an t to section 240B of th e Act an d
of d en yin g an y ch arge(s) brou gh t by th e      Act of October 28, 1977, or for th e                 su bp art C of th is p art.
Service in th e p roceed in gs again st th e         creation of a record of law fu l ad m ission            (c) A p p lication s for asylu m an d
alien . No JRAD is effective again st a              for p erm an en t resid en ce u n d er section       with h old in g of rem oval. (1) If th e alien
ch arge of d ep ortability u n d er form er          249 of th e Act. Th e ap p lication sh all be        exp resses fear of p ersecu tion or h arm
section 241(a)(11) of th e Act or if th e            su bject to th e requ irem en ts of § 240.20,        u p on retu rn to an y of th e cou n tries to
JRAD w as gran ted on or after Novem ber             an d 8 CFR p arts 245 an d 249. Th e                 w h ich th e alien m igh t be rem oved
29, 1990.                                            ap p roval of an y ap p lication m ad e to th e      p u rsu an t to § 240.10(f), an d th e alien
   (e) A d d ition al ch arges in rem oval           im m igration ju d ge u n d er section 245 of        h as n ot p reviou sly filed an ap p lication
h earin gs. At an y tim e d u rin g th e             th e Act by an alien sp ou se (as d efin ed          for asylu m or w ith h old in g of rem oval
p roceed in g, ad d ition al or su bstitu ted        in section 216(g)(1) of th e Act) or by an           th at h as been referred to th e
ch arges of in ad m issibility an d / or             alien en trep ren eu r (as d efin ed in section      im m igration ju d ge by an asylu m officer
d ep ortability an d / or factu al allegation s      216A(f)(1) of th e Act) sh all resu lt in th e       in accord an ce w ith § 208.14 of th is
m ay be lod ged by th e Service in w ritin g.        alien ’s obtain in g th e statu s of law fu l        ch ap ter, th e im m igration ju d ge sh all:
Th e alien in rem oval p roceed in gs sh all         p erm an en t resid en t on a con d ition al            (i) Ad vise th e alien th at h e or sh e m ay
be served w ith a cop y of th ese                    basis in accord an ce w ith th e p rovision s        ap p ly for asylu m in th e Un ited States or
ad d ition al ch arges an d allegation s. Th e       of section 216 or 216A of th e Act,                  w ith h old in g of rem oval of th ose
im m igration ju d ge sh all read th e               w h ich ever is ap p licable. How ever, th e         cou n tries;
ad d ition al factu al allegation s an d             Petition to Rem ove th e Con d ition s on               (ii) Make available th e ap p rop riate
ch arges to th e an d exp lain th em to h im         Resid en ce requ ired by section 216(c) of           ap p lication form s; an d
or h er. Th e im m igration ju d ge sh all           th e Act, or th e Petition by En trep ren eu r          (iii) Ad vise th e alien of th e p rivilege
ad vise th e alien , if h e or sh e is n ot          to Rem ove Con d ition s requ ired by                of bein g rep resen ted by cou n sel at n o
rep resen ted by cou n sel, th at th e alien         section 216A(c) of th e Act sh all be m ad e         exp en se to th e govern m en t an d of th e
m ay be so rep resen ted , an d th at h e or         to th e d irector in accord an ce w ith 8 CFR        con sequ en ces, p u rsu an t to section
sh e m ay be given a reason able                     p art 216.                                           208(d )(6) of th e Act, of kn ow in gly, filin g
con tin u an ce to resp on d to th e                    (2) In con ju n ction w ith an y                  a frivolou s ap p lication for asylu m . Th e
ad d ition al factu al allegation s an d             ap p lication for creation of statu s of an          im m igration ju d ge sh all p rovid e to th e
ch arges. Th ereafter, th e p rovision of            alien law fu lly ad m itted for p erm an en t        alien a list of p erson s w h o h ave
§ 240.6(b) relatin g to p lead in g sh all           resid en ce m ad e to an im m igration               in d icated th eir availability to rep resen t
ap p ly to th e ad d ition al factu al               ju d ge, if th e alien is in ad m issible u n d er   alien s in asylu m p roceed in gs on a p ro
allegation s an d ch arges.                          an y p rovision of section 212(a) of th e            bon o basis.
   (f) Cou n try of rem oval.Th e                    Act, an d believes th at h e or sh e m eets             (2) An ap p lication for asylu m or
im m igration ju d ge sh all n otify th e alien      th e eligibility requ irem en ts for a w aiver       w ith h old in g of rem oval m u st be filed
th at if h e or sh e is fin ally ord ered            of th e grou n d of in ad m issibility, h e or       w ith th e Im m igration Cou rt, p u rsu an t to
rem oved , th e cou n try of rem oval w ill in       sh e m ay ap p ly to th e im m igration ju d ge      § 208.4(c) of th is ch ap ter. Up on receip t
th e first in stan ce be d irected p u rsu an t to   for su ch w aiver. Th e im m igration ju d ge        of an ap p lication th at h as n ot been
section 241(b) of th e Act to th e cou n try         sh all in form th e alien of h is or h er            referred by an asylu m officer, th e
d esign ated by th e alien , u n less section        ap p aren t eligibility to ap p ly for an y of       Im m igration Cou rt sh all forw ard a cop y

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     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 115 of 350 PageID 4708
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                              493

to th e Dep artm en t of State p u rsu an t to      in form ation sh all state w h eth er su ch             (b) S u m m ary d ecision .
§ 208.11 of th is ch ap ter an d sh all             in form ation is m aterial to th e d ecision .       Notw ith stan d in g th e p rovision s of
calen d ar th e case for a h earin g. Th e             (4) Th e d ecision of an im m igration            p aragrap h (a) of th is section , in an y case
rep ly, if an y, from th e Dep artm en t of         ju d ge to gran t or d en y asylu m or               w h ere in ad m issibility or d ep ortability is
State, u n less classified u n d er th e            w ith h old in g of rem oval sh all be               d eterm in ed on th e p lead in gs p u rsu an t
ap p licable Execu tive Ord er, sh all be           com m u n icated to th e alien an d to th e          to § 240.10(b) an d th e resp on d en t d oes
given to both th e alien an d to th e               assistan t d istrict cou n sel. An ad verse          n ot m ake an ap p lication u n d er § 240.11,
assistan t d istrict cou n sel rep resen tin g      d ecision sh all state w h y asylu m or              th e alien is statu torily in eligible for
th e govern m en t.                                 w ith h old in g of rem oval w as d en ied .         relief, or th e resp on d en t ap p lies for
   (3) Ap p lication s for asylu m an d                (d ) A p p lication for relief u n d er
                                                                                                         volu n tary d ep artu re on ly an d th e
w ith h old in g of rem oval so filed w ill be      section s 237(a)(1)(H) an d
                                                    237(a)(1)(E)(iii) of th e A ct. Th e                 im m igration ju d ge gran ts th e
d ecid ed by th e im m igration ju d ge                                                                  ap p lication , th e im m igration ju d ge m ay
p u rsu an t to th e requ irem en ts an d           resp on d en t m ay ap p ly to th e
                                                    im m igration ju d ge for relief from                en ter a su m m ary d ecision or, if
stan d ard s establish ed in 8 CFR p art 208                                                             volu n tary d ep artu re is gran ted , a
of th is ch ap ter after an evid en tiary           rem oval u n d er section s 237(a)(1)(H) an d
                                                    237(a)(1)(E)(iii) of th e Act.                       su m m ary d ecision w ith an altern ate
h earin g to resolve factu al issu es in                                                                 ord er of rem oval.
d isp u te. An evid en tiary h earin g                 (e) Gen eral. An ap p lication u n d er th is
exten d in g beyon d issu es related to th e        section sh all be m ad e on ly d u rin g th e           (c) Ord er of th e im m igration ju d ge.
basis for a m an d atory d en ial of th e           h earin g an d sh all n ot be h eld to               Th e ord er of th e im m igration ju d ge sh all
ap p lication p u rsu an t to § 208.14 or           con stitu te a con cession of alien age or           d irect th e resp on d en t’s rem oval, or th e
§ 208.16 of th is ch ap ter is n ot n ecessary      d ep ortability in an y case in w h ich th e         term in ation of th e p roceed in gs, or su ch
on ce th e im m igration ju d ge h as               resp on d en t d oes n ot ad m it h is or h er       oth er d isp osition of th e case as m ay be
d eterm in ed th at su ch a d en ial is             alien age or d ep ortability. How ever,              ap p rop riate. Wh en rem oval is ord ered ,
requ ired .                                         n oth in g in th is section sh all p roh ibit th e   th e im m igration ju d ge sh all sp ecify th e
   (i) Evid en tiary h earin gs on                  Service from u sin g in form ation su p p lied       cou n try, or cou n tries in th e altern ate, to
ap p lication s for asylu m or w ith h old in g     in an ap p lication for asylu m or                   w h ich resp on d en t’s rem oval sh all be
of rem oval w ill be op en to th e p u blic         w ith h old in g of d ep ortation or rem oval        d irected . Th e im m igration ju d ge is
u n less th e alien exp ressly requ ests th at      su bm itted to th e Service on or after              au th orized to issu e ord ers in th e
th e h earin gs be closed p u rsu an t to § 3.27    Jan u ary 4, 1995, as th e basis for issu an ce      altern ative or in com bin ation as h e or
of th is ch ap ter. Th e im m igration ju d ge      of a ch argin g d ocu m en t or to establish
                                                                                                         sh e m ay d eem n ecessary.
sh all in qu ire w h eth er th e alien requ ests    alien age or d ep ortability in a case
su ch closu re.                                     referred to an im m igration ju d ge u n d er        § 240.13 Notice of decision.
   (ii) Noth in g in th is section is in ten d ed   § 208.14(b) of th is ch ap ter. Th e alien
                                                    sh all h ave th e bu rd en of establish in g            (a) W ritten d ecision . A w ritten
to lim it th e au th ority of th e im m igration                                                         d ecision sh all be served u p on th e
ju d ge to p rop erly con trol th e scop e of       th at h e or sh e is eligible for an y
                                                    requ ested ben efit or p rivilege an d th at it      resp on d en t an d th e service cou n sel,
an y evid en tiary h earin g.                                                                            togeth er w ith th e n otice referred to in
                                                    sh ou ld be gran ted in th e exercise of
   (iii) Du rin g th e rem oval h earin g, th e                                                          § 3.3 of th is ch ap ter. Service by m ail is
                                                    d iscretion . Noth in g con tain ed h erein is
alien sh all be exam in ed u n d er oath on                                                              com p lete u p on m ailin g.
                                                    in ten d ed to foreclose th e resp on d en t
h is or h er ap p lication an d m ay p resen t
                                                    from ap p lyin g for an y ben efit or                   (b) Oral d ecision . An oral d ecision
evid en ce an d w itn esses in h is or h er
                                                    p rivilege th at h e or sh e believes h im self      sh all be stated by th e im m igration ju d ge
ow n beh alf. Th e alien h as th e bu rd en of
                                                    or h erself eligible to receive in                   in th e p resen ce of th e resp on d en t an d
establish in g th at h e or sh e is a refu gee
                                                    p roceed in gs u n d er th is p art. Noth in g in    th e service cou n sel, if an y, at th e
as d efin ed in section 101(a)(42) of th e
                                                    th is section is in ten d ed to lim it th e          con clu sion of th e h earin g. A cop y of th e
Act p u rsu an t to th e stan d ard s set forth
                                                    Attorn ey Gen eral’s au th ority to rem ove          su m m ary w ritten ord er sh all be
in § 208.13 of th is ch ap ter.
                                                    an alien to an y cou n try p erm itted by            fu rn ish ed at th e requ est of th e
   (iv) Th e assistan t d istrict cou n sel m ay
                                                    section 241(b) of th e Act.                          resp on d en t or th e service cou n sel.
call w itn esses an d p resen t evid en ce for         (f) Fees. Th e alien sh all n ot be
th e record , in clu d in g in form ation           requ ired to p ay a fee on m ore th an on e             (c) S u m m ary d ecision . Wh en th e
classified u n d er th e ap p licable               ap p lication w ith in p aragrap h s (a) an d        im m igration ju d ge ren d ers a su m m ary
Execu tive Ord er, p rovid ed th e                  (c) of th is section , p rovid ed th at th e         d ecision as p rovid ed in § 240.12(b), h e
im m igration ju d ge or th e Board h as            m in im u m fee im p osed w h en m ore th an         or sh e sh all serve a cop y th ereof u p on
d eterm in ed th at su ch in form ation is          on e ap p lication is m ad e sh all be               th e resp on d en t at th e con clu sion of th e
relevan t to th e h earin g. Wh en th e             d eterm in ed by th e cost of th e                   h earin g.
im m igration ju d ge receives su ch                ap p lication w ith th e h igh est fee.
classified in form ation , h e or sh e sh all                                                               (d ) Decision to rem ove. If th e
in form th e alien . Th e agen cy th at             § 240.12 Decision of the immigration                 im m igration ju d ge d ecid es th at th e
p rovid es th e classified in form ation to         judge.                                               resp on d en t is rem ovable an d ord ers th e
th e im m igration ju d ge m ay p rovid e an           (a) Con ten ts. Th e d ecision of th e            resp on d en t to be rem oved , th e
u n classified su m m ary of th e                   im m igration ju d ge m ay be oral or                im m igration ju d ge sh all ad vise th e
in form ation for release to th e alien ,           w ritten . Th e d ecision of th e im m igration      resp on d en t of su ch d ecision , an d of th e
w h en ever it d eterm in es it can d o so          ju d ge sh all in clu d e a fin d in g as to         con sequ en ces for failu re to d ep art u n d er
con sisten tly w ith safegu ard in g both th e      in ad m issibility or d ep ortability. Th e          th e ord er of rem oval, in clu d in g civil an d
classified n atu re of th e in form ation an d      form al en u m eration of fin d in gs is n ot        crim in al p en alties d escribed at section s
its sou rces. Th e su m m ary sh ou ld be as        requ ired . Th e d ecision sh all also               274D an d 243 of th e Act. Un less ap p eal
d etailed as p ossible, in ord er th at th e        con tain reason s for gran tin g or d en yin g       from th e d ecision is w aived , th e
alien m ay h ave an op p ortu n ity to offer        th e requ est. Th e d ecision sh all be              resp on d en t sh all be fu rn ish ed w ith
op p osin g evid en ce. A d ecision based in        con clu d ed w ith th e ord er of th e               Form EOIR–26, Notice of Ap p eal, an d
w h ole or in p art on su ch classified             im m igration ju d ge.                               ad vised of th e p rovision s of § 240.15.

                                                                                                                                    AR00497
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 116 of 350 PageID 4709
494                   Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

§ 240.14 Finality of order.                          Form EOIR–42, Ap p lication for                         (2) Join in a m otion askin g th e
   Th e ord er of th e im m igration ju d ge         Can cellation of Rem oval, to th e                   im m igration ju d ge to p erm it volu n tary
sh all becom e fin al in accord an ce w ith          Im m igration Cou rt h avin g                        d ep artu re in accord an ce w ith § 240.26.
§ 3.39 of th is ch ap ter.                           ad m in istrative con trol over th e Record             (e) A p p eals. An ap p eal sh all n ot lie
                                                     of Proceed in g of th e u n d erlyin g rem oval      from a d en ial of an ap p lication for
§ 240.15 Appeals.                                    p roceed in g u n d er section 240 of th e Act.      volu n tary d ep artu re u n d er th is section ,
   Pu rsu an t to 8 CFR p art 3, an ap p eal            (b) Filin g th e ap p lication . Th e             bu t th e d en ial sh all be w ith ou t
sh all lie from a d ecision of an                    ap p lication m ay be filed on ly w ith th e         p reju d ice to th e alien ’s righ t to ap p ly to
im m igration ju d ge to th e Board of               im m igration Cou rt after ju risd iction h as       th e im m igration ju d ge for volu n tary
Im m igration Ap p eals, excep t th at n o           vested p u rsu an t to § 3.14 of th is ch ap ter.    d ep artu re in accord an ce w ith § 240.26
ap p eal sh all lie from an ord er of                                                                     or for relief from rem oval u n d er an y
rem oval en tered in absen tia. Th e                 §§ 240.21–240.24 [Reserved]                          p rovision of law .
p roced u res regard in g th e filin g of a                                                                  (f) Revocation . If, su bsequ en t to th e
Form EOIR 26, Notice of Ap p eal, fees,              Subpart C—Voluntary Departure                        gran tin g of an ap p lication for volu n tary
an d briefs are set forth in §§ 3.3, 3.31,           § 240.25 Voluntary departure—authority of            d ep artu re u n d er th is section , it is
an d 3.38 of th is ch ap ter. An ap p eal sh all     the Service.                                         ascertain ed th at th e ap p lication sh ou ld
be filed w ith in 30 calen d ar d ays after                                                               n ot h ave been gran ted , th at gran t m ay be
th e m ailin g of a w ritten d ecision , th e           (a) A u th oriz ed officers. Th e au th ority     revoked w ith ou t n otice by an y officer
statin g of an oral d ecision , or th e service      con tain ed in section 240B(a) of th e Act           au th orized to gran t volu n tary d ep artu re
of a su m m ary d ecision . Th e filin g d ate       to p erm it alien s to d ep art volu n tarily        u n d er § 240.25(a).
is d efin ed as th e d ate of receip t of th e       from th e Un ited States m ay be exercised
Notice of Ap p eal by th e Board of                  in lieu of bein g su bject to p roceed in gs         § 240.26 Voluntary departure—authority of
Im m igration Ap p eals. Th e reason s for           u n d er section 240 of th e Act or p rior to        the Executive Office for Immigration
                                                     th e com p letion of su ch p roceed in gs by         Review.
th e ap p eal sh all be stated in th e Notice
of Ap p eal in accord an ce w ith th e               d istrict d irectors, assistan t d istrict              (a) Eligibility; gen eral. An alien
p rovision s of § 3.3(b) of th is ch ap ter.         d irectors for in vestigation s, assistan t          p reviou sly gran ted volu n tary d ep artu re
Failu re to d o so m ay con stitu te a grou n d      d istrict d irectors for exam in ation s,            u n d er section 240B of th e Act, in clu d in g
for d ism issal of th e ap p eal by th e Board       officers in ch arge, ch ief p atrol agen ts,         by th e Service u n d er § 240.25, an d w h o
p u rsu an t to § 3.1(d )(1–a) of th is ch ap ter.   service cen ter d irectors, an d assistan t          fails to d ep art volu n tarily w ith in th e
                                                     cen ter d irectors for exam in ation s.              tim e sp ecified , sh all th ereafter be
§ 240.16 Application of new procedures or               (b) Con d ition s. Th e Service m ay              in eligible, for a p eriod of ten years, for
termination of proceedings in old                    attach to th e gran tin g of volu n tary             volu n tary d ep artu re or for relief u n d er
proceedings pursuant to section 309(c) of                                                                 section s 240A, 245, 248, an d 249 of th e
Pub. L. 104–208.
                                                     d ep artu re an y con d ition s it d eem s
                                                     n ecessary to en su re th e alien ’s tim ely         Act.
   Th e Attorn ey Gen eral sh all h ave th e         d ep artu re from th e Un ited States,                  (b) Prior to com p letion of rem oval
sole d iscretion to ap p ly th e p rovision s        in clu d in g th e p ostin g of a bon d ,            p roceed in gs. (1) Gran t by th e
of section 309(c) of Pu b. L. 104–208,               con tin u ed d eten tion p en d in g d ep artu re,   im m igration ju d ge. (i) An alien m ay be
w h ich p rovid es for th e ap p lication of         an d rem oval u n d er safegu ard s. Th e            gran ted volu n tary d ep artu re by an
n ew rem oval p roced u res to certain cases         alien sh all be requ ired to p resen t to th e       im m igration ju d ge p u rsu an t to section
in exclu sion or d ep ortation p roceed in gs        Service, for in sp ection an d                       240B(a) of th e Act on ly if th e alien :
an d for th e term in ation of certain cases         p h otocop yin g, h is or h er p assp ort or            (A) Makes su ch requ est p rior to or at
in exclu sion or d ep ortation p roceed in gs        oth er travel d ocu m en tation su fficien t to      a m aster calen d ar h earin g;
an d in itiation of n ew rem oval                    assu re law fu l en try in to th e cou n try to         (B) Makes n o ad d ition al requ est for
p roceed in gs. Th e Attorn ey Gen eral’s            w h ich th e alien is d ep artin g. Th e             relief (or if su ch requ ests h ave been
ap p lication of th e p rovision s of section        Service m ay h old th e p assp ort or                m ad e, su ch requ ests are w ith d raw n
309(c) sh all becom e effective u p on               d ocu m en tation for su fficien t tim e to          p rior to an y gran t of volu n tary d ep artu re
p u blication of a n otice in th e Federal           in vestigate its au th en ticity.                    p u rsu an t to th is section );
Register. How ever, if th e Attorn ey                                                                        (C) Con ced es rem ovability; an d
Gen eral d eterm in es, in th e exercise of             (c) Period s of tim e. Th e au th orized
                                                                                                             (D) Waives ap p eal of all issu es.
d iscretion , th at th e d elay cau sed by           officer, in h is or h er d iscretion , sh all           (ii) Th e ju d ge m ay n ot gran t volu n tary
p u blication w ou ld ad versely affect th e         sp ecify th e p eriod of tim e p erm itted for       d ep artu re u n d er section 240B(a) of th e
in terests of th e Un ited States or th e            volu n tary d ep artu re, an d m ay gran t           Act beyon d 30 d ays after th e case h as
effective en forcem en t of th e                     exten sion s th ereof, excep t th at th e total      been calen d ared for a m erits h earin g,
im m igration law s, th e Attorn ey                  p eriod allow ed , in clu d in g an y                excep t p u rsu an t to a stip u lation u n d er
Gen eral’s ap p lication sh all becom e              exten sion s, sh all n ot exceed 120 d ays.          p aragrap h (b)(2) of th is section .
effective im m ed iately u p on issu an ce,             (d ) A p p lication . An y alien w h o               (2) S tip u lation . At an y tim e p rior to
an d sh all be p u blish ed in th e Federal          believes h im self or h erself to be eligible        th e com p letion of rem oval p roceed in gs,
Register as soon as p racticable                     for volu n tary d ep artu re u n d er th is          th e Service attorn ey m ay stip u late to a
th ereafter.                                         section m ay ap p ly th erefor at an y office        gran t of volu n tary d ep artu re u n d er
                                                     of th e Service. After th e com m en cem en t        section 240B(a) of th e Act.
§§ 240.17–240.19 [Reserved]                          of rem oval p roceed in gs, th e ap p lication          (3) Con d ition s. (i) Th e ju d ge m ay
                                                     m ay be com m u n icated th rou gh th e              im p ose su ch con d ition s as h e or sh e
Subpart B—Cancellation of Removal                    Service attorn ey. If th e Service agrees to         d eem s n ecessary to en su re th e alien ’s
§ 240.20 Cancellation of removal and                 volu n tary d ep artu re after p roceed in gs        tim ely d ep artu re from th e Un ited States,
adjustment of status under section 240A of           h ave com m en ced , it m ay eith er:                in clu d in g th e p ostin g of a volu n tary
the Act.                                                (1) Join in a m otion to term in ate th e         d ep artu re bon d to be can celed u p on
  (a) Ju risd iction . An ap p lication for th e     p roceed in gs, an d if th e p roceed in gs are      p roof th at th e alien h as d ep arted th e
exercise of d iscretion u n d er section             term in ated , gran t volu n tary d ep artu re;      Un ited States w ith in th e tim e sp ecified .
240A of th e Act sh all be su bm itted on            or                                                   Th e alien sh all be requ ired to p resen t to

                                                                                                                                      AR00498
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 117 of 350 PageID 4710
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                               495

th e Service, for in sp ection an d                 ch allen ge its au th en ticity or su fficien cy     n u m ber of d ays of volu n tary d ep artu re
p h otocop yin g, h is or h er p assp ort or        before volu n tary d ep artu re is gran ted .        gran ted .
oth er travel d ocu m en tation su fficien t to        (3) Con d ition s. Th e ju d ge m ay im p ose        (2) A t th e con clu sion of th e section
assu re law fu l en try in to th e cou n try to     su ch con d ition s as h e or sh e d eem s           240 rem oval p roceed in g. An ap p eal of a
w h ich th e alien is d ep artin g, u n less:       n ecessary to en su re th e alien ’s tim ely         gran t or d en ial of volu n tary d ep artu re at
   (A) A travel d ocu m en t is n ot                d ep artu re from th e Un ited States. In all        th e con clu sion of th e section 240
n ecessary to retu rn to h is or h er n ative       cases u n d er section 240B(b) of th e Act,          rem oval p roceed in g sh all be lim ited to
cou n try or to w h ich cou n try th e alien is     th e alien sh all be requ ired to p ost a            th e issu es of w h eth er th e alien is
d ep artin g; or                                    volu n tary d ep artu re bon d , in an am ou n t     eligible for a gran t of volu n tary
   (B) Th e d ocu m en t is alread y in th e        n ecessary to en su re th at th e alien              d ep artu re u n d er th e Act an d th is
p ossession of th e Service.                        d ep arts w ith in th e tim e sp ecified , bu t in   ch ap ter an d w h eth er th e alien m erits a
   (ii) Th e Service m ay h old th e p assp ort     n o case less th an $500. Th e volu n tary           gran t of volu n tary d ep artu re as a m atter
or d ocu m en tation for su fficien t tim e to      d ep artu re bon d sh all be p osted w ith th e      of d iscretion . Su ch an ap p eal sh all n ot
in vestigate its au th en ticity. If su ch          d istrict d irector w ith in 5 bu sin ess d ays      ch allen ge th e n u m ber of d ays of
d ocu m en tation is n ot im m ed iately            of th e im m igration ju d ge’s ord er               volu n tary d ep artu re gran ted .
available to th e alien , bu t th e                 gran tin g volu n tary d ep artu re, an d th e          (h ) Rein statem en t of volu n tary
im m igration ju d ge is satisfied th at th e       d istrict d irector m ay, at h is or h er            d ep artu re. An im m igration ju d ge or th e
alien is m akin g d iligen t efforts to secu re     d iscretion , h old th e alien in cu stod y          Board m ay rein state volu n tary d ep artu re
it, volu n tary d ep artu re m ay be gran ted       u n til th e bon d is p osted . If th e bon d is     in a rem oval p roceed in g th at h as been
for a p eriod n ot to exceed 120 d ays,             n ot p osted w ith in 5 bu sin ess d ays, th e       reop en ed for a p u rp ose oth er th an solely
su bject to th e con d ition th at th e alien       volu n tary d ep artu re ord er sh all vacate        m akin g ap p lication for volu n tary
w ith in 60 d ays m u st secu re su ch              au tom atically an d th e altern ate ord er of       d ep artu re, if reop en in g w as gran ted
d ocu m en tation an d p resen t it to th e         rem oval w ill take effect on th e follow in g       p rior to th e exp iration of th e origin al
Service. Th e Service in its d iscretion            d ay. In ord er for th e bon d to be                 p eriod of volu n tary d ep artu re. In n o
m ay exten d th e p eriod w ith in w h ich th e     can celed , th e alien m u st p rovid e p roof       even t can th e total p eriod of tim e,
alien m u st p rovid e su ch d ocu m en tation .    of d ep artu re to th e d istrict d irector.         in clu d in g an y exten sion , exceed 120
If th e d ocu m en tation is n ot p resen ted          (d ) A ltern ate ord er of rem oval. Up on        d ays or 60 d ays as set forth in section
w ith in th e 60-d ay p eriod or an y               gran tin g a requ est m ad e for volu n tary         240B of th e Act an d p aragrap h (a) of th is
exten sion th ereof, th e volu n tary               d ep artu re eith er p rior to th e com p letion     section .
d ep artu re ord er sh all vacate                   of p roceed in gs or at th e con clu sion of         §§ 240.27–240.29 [Reserved]
au tom atically an d th e altern ate ord er of      p roceed in gs, th e im m igration ju d ge
d ep ortation w ill take effect, as if in           sh all also en ter an altern ate ord er or           Subpart D—Exclusion of Aliens (for
effect on th e d ate of issu an ce of th e          rem oval.                                            Hearings Commenced Prior to April 1,
im m igration ju d ge ord er.                          (e) Period s of tim e. If volu n tary             1997)
   (c) A t th e con clu sion of th e rem oval       d ep artu re is gran ted p rior to th e
                                                                                                         § 240.30 Proceedings prior to April 1, 1997.
p roceed in gs. (1) Requ ired fin d in gs. An       com p letion of rem oval p roceed in gs, th e
im m igration ju d ge m ay gran t volu n tary       im m igration ju d ge m ay gran t a p eriod             Su bp art D of 8 CFR p art 240 ap p lies
d ep artu re at th e con clu sion of th e           n ot to exceed 120 d ays. If volu n tary             to exclu sion p roceed in gs com m en ced
rem oval p roceed in gs u n d er section            d ep artu re is gran ted at th e con clu sion of     p rior to Ap ril 1, 1997, p u rsu an t to th e
240B(b) of th e Act, if h e or sh e fin d s         p roceed in gs, th e im m igration ju d ge m ay      form er section 236 of th e Act. All
th at:                                              gran t a p eriod n ot to exceed 60 d ays.            referen ces to th e Act con tain ed in th is
   (i) Th e alien h as been p h ysically               (f) Ex ten sion of tim e to d ep art.             su bp art are referen ces to th e Act in
p resen t in th e Un ited States for p eriod        Au th ority to exten d th e tim e w ith in           effect p rior to Ap ril 1, 1997.
of at least on e year p reced in g th e d ate       w h ich to d ep art volu n tarily sp ecified         § 240.31 Authority of immigration judges.
th e Notice to Ap p ear w as served u n d er        in itially by an im m igration ju d ge or th e          In d eterm in in g cases referred for
section 239(a) of th e Act;                         Board is w ith in th e sole ju risd iction of        fu rth er in qu iry as p rovid ed in section
   (ii) th e alien is, an d h as been , a p erson   th e d istrict d irector. An im m igration           235 of th e Act, im m igration ju d ges sh all
of good m oral ch aracter for at least five         ju d ge or th e Board m ay rein state                h ave th e p ow ers an d au th ority con ferred
years im m ed iately p reced in g th e              volu n tary d ep artu re in a rem oval               u p on th em by th e Act an d th is ch ap ter.
ap p lication ;                                     p roceed in g th at h as been reop en ed for a       Su bject to an y sp ecific lim itation
   (iii) th e alien is n ot d ep ortable u n d er   p u rp ose oth er th an solely m akin g an           p rescribed by th e Act an d th is ch ap ter,
section 237(a)(2)(A)(iii) or 237(a)(4) of           ap p lication for volu n tary d ep artu re if        im m igration ju d ges sh all also exercise
th e Act; an d                                      reop en in g w as gran ted p rior to th e            th e d iscretion an d au th ority con ferred
   (iv) th e alien h as establish ed by clear       exp iration of th e origin al p eriod of             u p on th e Attorn ey Gen eral by th e Act as
an d con vin cin g evid en ce th at th e alien      volu n tary d ep artu re. In n o even t can th e     is ap p rop riate an d n ecessary for th e
h as th e m ean s to d ep art th e Un ited          total p eriod of tim e, in clu d in g an y           d isp osition of su ch cases.
States an d h as th e in ten tion to d o so.        exten sion , exceed 120 d ays or 60 d ays
   (2) T ravel d ocu m en tation . Excep t as       as set forth in section 240B of th e Act.            § 240.32 Hearing.
oth erw ise p rovid ed in p aragrap h (b)(3)           (g) A d m in istrative A p p eals. (1) Gran ts       (a) Op en in g. Exclu sion h earin gs sh all
of th is section , th e clear an d con vin cin g    of requ ests m ad e p rior to th e com p letion      be closed to th e p u blic, u n less th e alien
evid en ce of th e m ean s to d ep art sh all       of th e section 240 rem oval p roceed in g.          at h is or h er ow n in stan ce requ ests th at
in clu d e in all cases p resen tation by th e      A Service ap p eal of a gran t of volu n tary        th e p u blic, in clu d in g th e p ress, be
alien of a p assp ort or oth er travel              d ep artu re p rior to th e com p letion of          p erm itted to atten d ; in th at even t, th e
d ocu m en tation su fficien t to assu re           section 240 rem oval p roceed in gs sh all           h earin g sh all be op en , p rovid ed th at th e
law fu l en try in to th e cou n try to w h ich     be lim ited to th e issu e of w h eth er th e        alien states for th e record th at h e or sh e
th e alien is d ep artin g. Th e Service sh all     alien m erits th e gran t of volu n tary             is w aivin g th e requ irem en t in section
h ave fu ll op p ortu n ity to in sp ect an d       d ep artu re as a m atter of d iscretion . Su ch     236 of th e Act th at th e in qu iry sh all be
p h otocop y th e d ocu m en tation , an d to       an ap p eal sh all n ot ch allen ge th e             kep t sep arate an d ap art from th e p u blic.

                                                                                                                                     AR00499
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                         Page 118 of 350 PageID 4711
496                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

Wh en th e h earin g is to be op en ,              § 240.33 Applications for asylum or                    (4) Th e trial attorn ey for th e
d ep en d in g u p on p h ysical facilities,       withholding of deportation.                         govern m en t m ay call w itn esses an d
reason able lim itation m ay be p laced               (a) If th e alien exp resses fear of             p resen t evid en ce for th e record ,
u p on th e n u m ber in atten d an ce at an y     p ersecu tion or h arm u p on retu rn to h is       in clu d in g in form ation classified u n d er
on e tim e, w ith p riority bein g given to        or h er cou n try of origin or to a cou n try       th e ap p licable Execu tive Ord er,
th e p ress over th e gen eral p u blic. Th e      to w h ich th e alien m ay be d ep orted after      p rovid ed th e im m igration ju d ge or th e
im m igration ju d ge sh all ascertain             a d eterm in ation of exclu d ability from          Board h as d eterm in ed th at su ch
w h eth er th e ap p lican t for ad m ission is    th e Un ited States p u rsu an t to th is           in form ation is relevan t to th e h earin g.
th e p erson to w h om Form I–122 w as             su bp art, an d th e alien h as n ot been           Th e ap p lican t sh all be in form ed w h en
p reviou sly d elivered by th e exam in in g       referred to th e im m igration ju d ge by an        th e im m igration ju d ge receives su ch
im m igration officer as p rovid ed in 8           asylu m officer in accord an ce w ith               classified in form ation . Th e agen cy th at
CFR p art 235; en ter a cop y of su ch form        § 208.14(b) of th is ch ap ter, th e                p rovid es th e classified in form ation to
in evid en ce as an exh ibit in th e case;         im m igration ju d ge sh all:                       th e im m igration ju d ge m ay p rovid e an
in form th e ap p lican t of th e n atu re an d       (1) Ad vise th e alien th at h e m ay ap p ly    u n classified su m m ary of th e
p u rp ose of th e h earin g; ad vise h im or      for asylu m in th e Un ited States or               in form ation for release to th e ap p lican t
h er of th e p rivilege of bein g rep resen ted    w ith h old in g of d ep ortation to th at oth er   w h en ever it d eterm in es it can d o so
by an attorn ey of h is or h er ow n ch oice       cou n try; an d                                     con sisten tly w ith safegu ard in g both th e
at n o exp en se to th e Govern m en t, an d          (2) Make available th e ap p rop riate           classified n atu re of th e in form ation an d
of th e availability of free legal services        ap p lication form s.                               its sou rce. Th e su m m ary sh ou ld be as
                                                      (b) An ap p lication for asylu m or
p rogram s qu alified u n d er 8 CFR p art 3                                                           d etailed as p ossible, in ord er th at th e
                                                   w ith h old in g of d ep ortation m u st be
an d organ ization s recogn ized p u rsu an t                                                          ap p lican t m ay h ave an op p ortu n ity to
                                                   filed w ith th e Im m igration Cou rt,
to § 292.2 of th is ch ap ter located in th e                                                          offer op p osin g evid en ce. A d ecision
                                                   p u rsu an t to § 208.4(c) of th is ch ap ter.
d istrict w h ere h is or h er exclu sion                                                              based in w h ole or in p art on su ch
                                                   Up on receip t of an ap p lication th at h as
h earin g is to be h eld ; an d sh all ascertain                                                       classified in form ation sh all state th at
                                                   n ot been referred by an asylu m officer,
th at th e ap p lican t h as received a list of                                                        su ch in form ation is m aterial to th e
                                                   th e Im m igration Cou rt sh all forw ard a
su ch p rogram s; an d requ est h im or h er                                                           d ecision .
                                                   cop y to th e Dep artm en t of State                   (d ) Th e d ecision of an im m igration
to ascertain th en an d th ere w h eth er h e
                                                   p u rsu an t to § 208.11 of th is ch ap ter an d    ju d ge to gran t or d en y asylu m or
or sh e d esires rep resen tation ; ad vise
                                                   sh all calen d ar th e case for a h earin g.        w ith h old in g of d ep ortation sh all be
h im or h er th at h e or sh e w ill h ave a
                                                   Th e rep ly, if an y, from th e Dep artm en t       com m u n icated to th e ap p lican t an d to
reason able op p ortu n ity to p resen t
                                                   of State, u n less classified u n d er th e         th e trial attorn ey for th e govern m en t. An
evid en ce in h is or h er ow n beh alf, to
                                                   ap p licable Execu tive Ord er, sh all be           ad verse d ecision w ill state w h y asylu m
exam in e an d object to evid en ce again st
                                                   given to both th e ap p lican t an d to th e        or w ith h old in g of d ep ortation w as
h im or h er, an d to cross-exam in e
                                                   trial attorn ey rep resen tin g th e                d en ied .
w itn esses p resen ted by th e Govern m en t;
                                                   govern m en t.
an d p lace th e ap p lican t u n d er oath .         (c) Ap p lication s for asylu m or               § 240.34 Renewal of application for
   (b) Proced u re. Th e im m igration ju d ge     w ith h old in g of d ep ortation so filed w ill    adjustment of status under section 245 of
sh all receive an d ad d u ce m aterial an d       be d ecid ed by th e im m igration ju d ge          the Act.
relevan t evid en ce, ru le u p on objection s,    p u rsu an t to th e requ irem en ts an d              An ad ju stm en t ap p lication by an alien
an d oth erw ise regu late th e cou rse of th e    stan d ard s establish ed in 8 CFR p art 208        p aroled u n d er section 212(d )(5) of th e
h earin g.                                         after an evid en tiary h earin g th at is           Act, w h ich h as been d en ied by th e
   (c) A ttorn ey for th e S ervice. Th e          n ecessary to resolve m aterial factu al            d istrict d irector, m ay be ren ew ed in
Service sh all assign an attorn ey to each         issu es in d isp u te. An evid en tiary             exclu sion p roceed in gs u n d er section
case in w h ich an ap p lican t’s n ation ality    h earin g exten d in g beyon d issu es related      236 of th e Act (as in effect p rior to Ap ril
is in issu e an d m ay assign an attorn ey         to th e basis for a m an d atory d en ial of        1, 1997) before an im m igration ju d ge
to an y case in w h ich su ch assign m en t is     th e ap p lication p u rsu an t to § 208.13(c)      u n d er th e follow in g tw o con d ition s:
d eem ed n ecessary or ad van tageou s. Th e       of th is ch ap ter is n ot n ecessary on ce th e    first, th e d en ied ap p lication m u st h ave
d u ties of th e Service attorn ey in clu d e,     im m igration ju d ge h as d eterm in ed th at      been p rop erly filed su bsequ en t to th e
bu t are n ot lim ited to, th e p resen tation     su ch d en ial is requ ired .                       ap p lican t’s earlier in sp ection an d
of evid en ce an d th e in terrogation ,              (1) Evid en tiary h earin gs on                  ad m ission to th e Un ited States; an d
exam in ation , an d cross-exam in ation of        ap p lication s for asylu m or w ith h old in g     secon d , th e ap p lican t’s later absen ce
th e ap p lican t an d oth er w itn esses.         of d ep ortation w ill be closed to th e            from an d retu rn to th e Un ited States
Noth in g con tain ed h erein d im in ish es       p u blic u n less th e ap p lican t exp ressly      m u st h ave been u n d er th e term s of an
th e au th ority of an im m igration ju d ge to    requ ests th at it be op en p u rsu an t to         ad van ce p arole au th orization on Form
con d u ct p roceed in gs u n d er th is p art.    § 236.3 of th is ch ap ter.                         I–512 gran ted to p erm it th e ap p lican t’s
                                                      (2) Noth in g in th is section is in ten d ed    absen ce an d retu rn to p u rsu e th e
   (d ) Dep osition s. Th e p roced u res          to lim it th e au th ority of th e im m igration
sp ecified in § 240.48(e) sh all ap p ly.                                                              p reviou sly filed ad ju stm en t ap p lication .
                                                   ju d ge p rop erly to con trol th e scop e of
   (e) Record . Th e h earin g before th e         an y evid en tiary h earin g.                       § 240.35 Decision of the immigration
im m igration ju d ge, in clu d in g th e             (3) Du rin g th e exclu sion h earin g, th e     judge; notice to the applicant.
testim on y, exh ibits, ap p lication s,           ap p lican t sh all be exam in ed u n d er oath        (a) Decision . Th e im m igration ju d ge
p roffers, an d requ ests, th e im m igration      on h is or h er ap p lication an d m ay             sh all in form th e ap p lican t of h is or h er
ju d ge’s d ecision , an d all w ritten ord ers,   p resen t evid en ce an d w itn esses on h is       d ecision in accord an ce w ith § 3.37 of
m otion s, ap p eals, an d oth er p ap ers filed   or h er ow n beh alf. Th e ap p lican t h as th e   th is ch ap ter.
in th e p roceed in g sh all con stitu te th e     bu rd en of establish in g th at h e or sh e is        (b) A d vice to alien ord ered ex clu d ed .
record in th e case. Th e h earin g sh all be      a refu gee as d efin ed in section                  An alien ord ered exclu d ed sh all be
record ed verbatim excep t for statem en ts        101(a)(42) of th e Act p u rsu an t to th e         fu rn ish ed w ith Form I–296, Notice to
m ad e off th e record w ith th e p erm ission     stan d ard set forth in § 208.13 of th is           Alien Ord ered Exclu d ed by Im m igration
of th e im m igration ju d ge.                     ch ap ter.                                          Ju d ge, at th e tim e of an oral d ecision by

                                                                                                                                  AR00500
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                               Page 119 of 350 PageID 4712
                       Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                              497

th e im m igration ju d ge or u p on service           exp lain ed to h im or h er by th e                 h is or h er d u ties w ith in a reason able
of a w ritten d ecision .                              im m igration ju d ge an d h e or sh e w as         tim e, or if at an y tim e th e resp on d en t
   (c) Hold ers of refu gee travel                     afford ed an op p ortu n ity to d o so at th e      con sen ts to a su bstitu tion , an oth er
d ocu m en ts. Alien s w h o are h old ers of          h earin g, u n less circu m stan ces h ave          im m igration ju d ge m ay be assign ed to
valid u n exp ired refu gee travel                     arisen th ereafter on th e basis of w h ich         com p lete th e case. Th e n ew im m igration
d ocu m en ts m ay be ord ered exclu d ed              th e requ est is bein g m ad e. Th e filin g of     ju d ge sh all fam iliarize h im self or h erself
on ly if th ey are fou n d to be in ad m issible       a m otion u n d er th is section w ith an           w ith th e record in th e case an d sh all
u n d er section 212(a)(2), 212(a)(3), or              im m igration ju d ge sh all n ot serve to stay     state for th e record th at h e h as d on e so.
212(a)(6)(E) of th e Act, an d it is                   th e execu tion of an ou tstan d in g
d eterm in ed th at on th e basis of th e acts         d ecision ; execu tion sh all p roceed u n less     § 240.42 Representation by counsel.
for w h ich th ey are in ad m issible th ere           th e im m igration ju d ge w h o h as                  Th e resp on d en t m ay be rep resen ted at
are com p ellin g reason s of n ation al               ju risd iction over th e m otion sp ecifically      th e h earin g by an attorn ey or oth er
secu rity or p u blic ord er for th eir                gran ts a stay of d ep ortation . Th e              rep resen tative qu alified u n d er 8 CFR
exclu sion . If th e im m igration ju d ge             im m igration ju d ge m ay stay d ep ortation       p art 292.
fin d s th at th e alien is in ad m issible bu t       p en d in g h is or h er d eterm in ation of th e   § 240.43 Incompetent respondents.
d eterm in es th at th ere are n o com p ellin g       m otion an d also p en d in g th e takin g an d
reason s of n ation al secu rity or p u blic           d isp osition of an ap p eal from su ch                Wh en it is im p racticable for th e
ord er for exclu sion , th e im m igration             d eterm in ation .                                  resp on d en t to be p resen t at th e h earin g
ju d ge sh all rem an d th e case to th e                                                                  becau se of m en tal in com p eten cy, th e
d istrict d irector for p arole.                       Subpart E—Proceedings To Determine                  gu ard ian , n ear relative, or frien d w h o
                                                       Deportability of Aliens in the United               w as served w ith a cop y of th e ord er to
§ 240.36 Finality of order.                            States: Hearing and Appeal (for                     sh ow cau se sh all be p erm itted to ap p ear
   Th e d ecision of th e im m igration ju d ge        Proceedings Commenced Prior to April                on beh alf of th e resp on d en t. If su ch a
sh all becom e fin al in accord an ce w ith            1, 1997)                                            p erson can n ot reason ably be fou n d or
§ 3.37 of th is ch ap ter.                                                                                 fails or refu ses to ap p ear, th e cu stod ian
                                                       § 240.40 Proceedings commenced prior to             of th e resp on d en t sh all be requ ested to
§ 240.37 Appeals.                                      April 1, 1997.                                      ap p ear on beh alf of th e resp on d en t.
   Excep t for tem p orary exclu sion s                   Su bp art E of 8 CFR p art 240 ap p lies
u n d er section 235(c) of th e Act, an                on ly to d ep ortation p roceed in gs               § 240.44 Interpreter.
ap p eal from a d ecision of an                        com m en ced p rior to Ap ril 1, 1997. All             An y p erson actin g as in terp reter in a
Im m igration Ju d ge u n d er th is p art m ay        referen ces to th e Act con tain ed in th is        h earin g before an im m igration ju d ge
be taken by eith er p arty p u rsu an t to             su bp art p ertain to th e Act as in effect         u n d er th is p art sh all be sw orn to
§ 3.38 of th is ch ap ter.                             p rior to Ap ril 1, 1997.                           in terp ret an d tran slate accu rately,
                                                                                                           u n less th e in terp reter is an em p loyee of
§ 240.38 Fingerprinting of excluded aliens.            § 240.41 Immigration Judges.
                                                                                                           th e Un ited States Govern m en t, in w h ich
   Every alien 14 years of age or old er                  (a) A u th ority. In an y p roceed in g          even t n o su ch oath sh all be requ ired .
w h o is exclu d ed from ad m ission to th e           con d u cted u n d er th is p art th e
Un ited States by an im m igration ju d ge             im m igration ju d ge sh all h ave th e             § 240.45 Postponement and adjournment
sh all be fin gerp rin ted , u n less d u rin g th e   au th ority to d eterm in e d ep ortability an d    of hearing.
p reced in g year h e or sh e h as been                to m ake d ecision s, in clu d in g ord ers of         After th e com m en cem en t of th e
fin gerp rin ted at an Am erican con su lar            d ep ortation , as p rovid ed by section            h earin g, th e im m igration ju d ge m ay
office.                                                242(b) an d 242B of th e Act; to rein state         gran t a reason able ad jou rn m en t eith er at
                                                       ord ers of d ep ortation as p rovid ed by           h is or h er ow n in stan ce or, for good
§ 240.39 Reopening or reconsideration.                 section 242(f) of th e Act; to d eterm in e         cau se sh ow n , u p on ap p lication by th e
   Excep t as oth erw ise p rovid ed in th is          ap p lication s u n d er section s 208, 212(k),     resp on d en t or th e Service.
section , a m otion to reop en or                      241(a)(1)(E)(iii), 241(a)(1)(H), 244, 245,
recon sid er sh all be su bject to th e                an d 249 of th e Act; to d eterm in e th e          § 240.46 Evidence.
requ irem en ts of § 103.5 of th is ch ap ter.         cou n try to w h ich an alien ’s d ep ortation         (a) S u fficien cy. A d eterm in ation of
Th e im m igration ju d ge m ay u p on h is or         w ill be d irected in accord an ce w ith            d ep ortability sh all n ot be valid u n less it
h er ow n m otion , or u p on m otion of th e          section 243(a) of th e Act; to ord er               is fou n d by clear, u n equ ivocal, an d
trial attorn ey or th e resp on d en t, reop en        tem p orary w ith h old in g of d ep ortation       con vin cin g evid en ce th at th e facts
or recon sid er an y case in w h ich h e or            p u rsu an t to section 243(h ) of th e Act;        alleged as grou n d s for d ep ortation are
sh e h ad m ad e a d ecision , u n less                an d to take an y oth er action con sisten t        tru e.
ju risd iction in th e case is vested in th e          w ith ap p licable law an d regu lation s as           (b) Use of p rior statem en ts. Th e
Board of Im m igration Ap p eals u n d er 8            m ay be ap p rop riate. An im m igration            im m igration ju d ge m ay receive in
CFR p art 3. An ord er by th e im m igration           ju d ge m ay certify h is or h er d ecision in      evid en ce an y oral or w ritten statem en t
ju d ge gran tin g a m otion to reop en m ay           an y case to th e Board of Im m igration            th at is m aterial an d relevan t to an y issu e
be m ad e on Form I–328. A m otion to                  Ap p eals w h en it in volves an u n u su ally      in th e case p reviou sly m ad e by th e
reop en w ill n ot be gran ted u n less th e           com p lex or n ovel qu estion of law or             resp on d en t or an y oth er p erson d u rin g
im m igration ju d ge is satisfied th at               fact. Noth in g con tain ed in th is p art sh all   an y in vestigation , exam in ation , h earin g,
evid en ce sou gh t to be offered is m aterial         be con stru ed to d im in ish th e au th ority      or trial.
an d w as n ot available an d cou ld n ot              con ferred on im m igration ju d ges u n d er          (c) T estim on y. Testim on y of w itn esses
h ave been d iscovered or p resen ted at               section 103 of th e Act.                            ap p earin g at th e h earin g sh all be u n d er
th e h earin g; n or w ill an y m otion to                (b) W ith d rawal an d su bstitu tion of         oath or affirm ation ad m in istered by th e
reop en for th e p u rp ose of p rovid in g th e       im m igration ju d ges. Th e im m igration          im m igration ju d ge.
resp on d en t w ith an op p ortu n ity to m ake       ju d ge assign ed to con d u ct th e h earin g         (d ) Dep osition s. Th e im m igration
an ap p lication u n d er § 242.17 of th is            sh all at an y tim e w ith d raw if h e d eem s     ju d ge m ay ord er th e takin g of
ch ap ter be gran ted if resp on d en t’s righ t       h im self d isqu alified . If an im m igration      d ep osition s p u rsu an t to § 3.35 of th is
to m ake su ch ap p lication w ere fu lly              ju d ge becom es u n available to com p lete        ch ap ter.

                                                                                                                                      AR00501
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                             Page 120 of 350 PageID 4713
498                   Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

§ 240.47 Contents of record.                          ch arges con tain ed th erein . If th e              § 240.49 Ancillary matters, applications.
   Th e h earin g before th e im m igration           resp on d en t ad m its th e factu al                   (a) Creation of th e statu s of an alien
ju d ge, in clu d in g th e testim on y, exh ibits,   allegation s an d ad m its h is or h er              lawfu lly ad m itted for p erm an en t
ap p lication s, p roffers, an d requ ests, th e      d ep ortability u n d er th e ch arges an d th e     resid en ce. Th e resp on d en t m ay ap p ly to
im m igration ju d ge’s d ecision , an d all          im m igration ju d ge is satisfied th at n o         th e im m igration ju d ge for su sp en sion of
w ritten ord ers, m otion s, ap p eals, briefs,       issu es of law or fact rem ain , th e                d ep ortation u n d er section 244(a) of th e
an d oth er p ap ers filed in th e                    im m igration ju d ge m ay d eterm in e th at        Act; for ad ju stm en t of statu s u n d er
p roceed in gs sh all con stitu te th e record        d ep ortability as ch arged h as been                section 245 of th e Act, or u n d er section
in th e case. Th e h earin g sh all be                establish ed by th e ad m ission s of th e           1 of th e Act of Novem ber 2, 1966, or
record ed verbatim excep t for statem en ts           resp on d en t. Th e im m igration ju d ge           u n d er section 101 or 104 of th e Act of
m ad e off th e record w ith th e p erm ission        sh all n ot accep t an ad m ission of                October 28, 1977; or for th e creation of
of th e im m igration ju d ge. In h is or h er        d ep ortability from an u n rep resen ted            a record of law fu l ad m ission for
d iscretion , th e im m igration ju d ge m ay         resp on d en t w h o is in com p eten t or           p erm an en t resid en ce u n d er section 249
exclu d e from th e record an y argu m en ts          u n d er age 16 an d is n ot accom p an ied by       of th e Act. Th e ap p lication sh all be
m ad e in con n ection w ith m otion s,               a gu ard ian , relative, or frien d ; n or from      su bject to th e requ irem en ts of 8 CFR
ap p lication s, requ ests, or objection s, bu t      an officer of an in stitu tion in w h ich a          p arts 240, 245, an d 249. Th e ap p roval of
in su ch even t th e p erson affected m ay            resp on d en t is an in m ate or p atien t.          an y ap p lication m ad e to th e
su bm it a brief.                                     Wh en , p u rsu an t to th is p aragrap h , th e     im m igration ju d ge u n d er section 245 of
§ 240.48 Hearing.
                                                      im m igration ju d ge m ay n ot accep t an           th e Act by an alien sp ou se (as d efin ed
                                                      ad m ission of d ep ortability, h e or sh e          in section 216(g)(1) of th e Act) or by an
   (a) Op en in g. Th e im m igration ju d ge         sh all d irect a h earin g on th e issu es.
sh all ad vise th e resp on d en t of h is or h er                                                         alien en trep ren eu r (as d efin ed in section
righ t to rep resen tation , at n o exp en se to         (c) Issu es of d ep ortability. Wh en             216A(f)(1) of th e Act), sh all resu lt in th e
th e Govern m en t, by cou n sel of h is or           d ep ortability is n ot d eterm in ed u n d er       alien ’s obtain in g th e statu s of law fu l
h er ow n ch oice au th orized to p ractice in        th e p rovision s of p aragrap h (b) of th is        p erm an en t resid en t on a con d ition al
th e p roceed in gs an d requ ire h im or h er        section , th e im m igration ju d ge sh all          basis in accord an ce w ith th e p rovision s
to state th en an d th ere w h eth er h e             requ est th e assign m en t of a trial               of section 216 or 216A of th e Act,
d esires rep resen tation s; ad vise th e             attorn ey, an d sh all receive evid en ce as         w h ich ever is ap p licable. How ever, th e
resp on d en t of th e availability of free           to an y u n resolved issu es, excep t th at n o      Petition to Rem ove th e Con d ition s on
legal services p rogram s qu alified u n d er         fu rth er evid en ce n eed be received as to         Resid en ce requ ired by section 216(c) of
8 CFR p art 3 an d organ ization s                    an y facts ad m itted d u rin g th e p lead in g.    th e Act of th e Petition by En trep ren eu r
recogn ized p u rsu an t to § 292.2 of th is          Th e resp on d en t sh all p rovid e a cou rt        to Rem ove Con d ition s requ ired by
ch ap ter, located in th e d istrict w h ere th e     certified cop y of a Ju d icial                      section 216A(c) of th e Act sh all be m ad e
d ep ortation h earin g is bein g h eld ;             Recom m en d ation Again st Dep ortation             to th e d irector in accord an ce w ith 8 CFR
ascertain th at th e resp on d en t h as              (JRAD) to th e sp ecial in qu iry officer            p art 216. In con ju n ction w ith an y
received a list of su ch p rogram s, an d a           w h en su ch recom m en d ation w ill be th e        ap p lication for creation of statu s of an
cop y of Form I–618, Written Notice of                basis of d en yin g an y ch arge(s) brou gh t        alien law fu lly ad m itted for p erm an en t
Ap p eal Righ ts; ad vise th e resp on d en t         by th e Service in th e p roceed in gs               resid en ce m ad e to an im m igration
th at h e or sh e w ill h ave a reason able           again st th e resp on d en t. No JRAD is             ju d ge, if th e resp on d en t is in ad m issible
op p ortu n ity to exam in e an d object to           effective again st a ch arge of                      u n d er an y p rovision of section 212(a) of
th e evid en ce again st h im , to p resen t          d ep ortability u n d er section 241(a)(11) of       th e Act an d believes th at h e or sh e
evid en ce in h is or h er ow n beh alf an d          th e Act or if th e JRAD w as gran ted on            m eets th e eligibility requ irem en ts for a
to cross-exam in e w itn esses p resen ted by         or after Novem ber 29, 1990.                         w aiver of th e grou n d of in ad m issibility,
th e Govern m en t; p lace th e resp on d en t           (d ) A d d ition al ch arges. Th e Service        h e or sh e m ay ap p ly to th e im m igration
u n d er oath ; read th e factu al allegation s       m ay at an y tim e d u rin g a h earin g lod ge      ju d ge for su ch w aiver. Th e im m igration
an d th e ch arges in th e ord er to sh ow            ad d ition al ch arges of d ep ortability,           ju d ge sh all in form th e resp on d en t of h is
cau se to th e resp on d en t an d exp lain           in clu d in g factu al allegation s, again st th e   or h er ap p aren t eligibility to ap p ly for
th em in n on tech n ical lan gu age, an d            resp on d en t. Cop ies of th e ad d ition al        an y of th e ben efits en u m erated in th is
en ter th e ord er to sh ow cau se as an              factu al allegation s an d ch arges sh all be        p aragrap h an d sh all afford th e
exh ibit in th e record . Dep ortation                su bm itted in w ritin g for service on th e         resp on d en t an op p ortu n ity to m ake
h earin gs sh all be op en to th e p u blic,          resp on d en t an d en try as an exh ibit in         ap p lication th erefor d u rin g th e h earin g.
excep t th at th e im m igration ju d ge m ay,        th e record . Th e im m igration ju d ge sh all      In exercisin g d iscretion ary p ow er w h en
in h is or h er d iscretion an d for th e             read th e ad d ition al factu al allegation s        con sid erin g an ap p lication u n d er th is
p u rp ose of p rotectin g w itn esses,               an d ch arges to th e resp on d en t an d            p aragrap h , th e im m igration ju d ge m ay
resp on d en ts, or th e p u blic in terest,          exp lain th em to h im or h er. Th e                 con sid er an d base th e d ecision on
d irect th at th e gen eral p u blic or               im m igration ju d ge sh all ad vise th e            in form ation n ot con tain ed in th e record
p articu lar in d ivid u als sh all be exclu d ed     resp on d en t if h e or sh e is n ot                an d n ot m ad e available for in sp ection
from th e h earin g in an y sp ecific case.           rep resen ted by cou n sel th at h e or sh e         by th e resp on d en t, p rovid ed th e
Dep en d in g u p on p h ysical facilities,           m ay be so rep resen ted an d also th at h e         Com m ission er h as d eterm in ed th at su ch
reason able lim itation m ay be p laced               or sh e m ay h ave a reason able tim e               in form ation is relevan t an d is classified
u p on th e n u m ber in atten d an ce at an y        w ith in w h ich to m eet th e ad d ition al         u n d er th e ap p licable Execu tive Ord er as
on e tim e, w ith p riority bein g given to           factu al allegation s an d ch arges. Th e            requ irin g p rotection from u n au th orized
th e p ress over th e gen eral p u blic.              resp on d en t sh all be requ ired to state          d isclosu re in th e in terest of n ation al
   (b) Plead in g by resp on d en t. Th e             th en an d th ere w h eth er h e or sh e d esires    secu rity. Wh en ever th e im m igration
im m igration ju d ge sh all requ ire th e            a con tin u an ce for eith er of th ese              ju d ge believes th at h e or sh e can d o so
resp on d en t to p lead to th e ord er to sh ow      reason s. Th ereafter, th e p rovision s of          w h ile safegu ard in g both th e in form ation
cau se by statin g w h eth er h e or sh e             p aragrap h (b) of th is section sh all ap p ly      an d its sou rce, th e im m igration ju d ge
ad m its or d en ies th e factu al allegation s       to th e ad d ition al factu al allegation s an d     sh ou ld in form th e resp on d en t of th e
an d h is or h er rep ortability u n d er th e        lod ged ch arges.                                    gen eral n atu re of th e in form ation in

                                                                                                                                       AR00502
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 121 of 350 PageID 4714
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                            499

ord er th at th e resp on d en t m ay h ave an      be d ecid ed by th e im m igration ju d ge          resp on d en t m ay ap p ly to th e
op p ortu n ity to offer op p osin g evid en ce.    p u rsu an t to th e requ irem en ts an d           im m igration ju d ge for relief from
A d ecision based in w h ole or in p art on         stan d ard s establish ed in 8 CFR p art 208        d ep ortation u n d er section s 241(a)(1)(H)
su ch classified in form ation sh all state         after an evid en tiary h earin g th at is           an d 241(a)(1)(E)(iii) of th e Act.
th at th e in form ation is m aterial to th e       n ecessary to resolve factu al issu es in              (e) Gen eral. An ap p lication u n d er th is
d ecision .                                         d isp u te. An evid en tiary h earin g              section sh all be m ad e on ly d u rin g th e
   (b) V olu n tary d ep artu re. Th e              exten d in g beyon d issu es related to th e        h earin g an d sh all n ot be h eld to
resp on d en t m ay ap p ly to th e                 basis for a m an d atory d en ial of th e           con stitu te a con cession of alien age or
im m igration ju d ge for volu n tary               ap p lication p u rsu an t to § 208.13 or           d ep ortability in an y case in w h ich th e
d ep artu re in lieu of d ep ortation               § 208.16 of th is ch ap ter is n ot n ecessary      resp on d en t d oes n ot ad m it h is alien age
p u rsu an t to section 244(e) of th e Act          on ce th e im m igration ju d ge h as               or d ep ortability. How ever, n oth in g in
an d § 240.56.                                      d eterm in ed th at su ch a d en ial is             th is section sh all p roh ibit th e Service
   (c) A p p lication s for asylu m or              requ ired .                                         from u sin g in form ation su p p lied in an
with h old in g of d ep ortation . (1) Th e            (i) Evid en tiary h earin gs on                  ap p lication for asylu m or w ith h old in g
im m igration ju d ge sh all n otify th e           ap p lication s for asylu m or w ith h old in g     of d ep ortation su bm itted to an asylu m
resp on d en t th at if h e or sh e is fin ally     of d ep ortation w ill be op en to th e p u blic    officer p u rsu an t to § 208.2 of th is
ord ered d ep orted , h is or h er d ep ortation    u n less th e ap p lican t exp ressly requ ests     ch ap ter on or after Jan u ary 4, 1995, as
w ill in th e first in stan ce be d irected         th at it be closed .                                th e basis for issu an ce of an ord er to
p u rsu an t to section 243(a) of th e Act to          (ii) Noth in g in th is section is in ten d ed   sh ow cau se or a n otice to ap p ear to
th e cou n try d esign ated by th e                 to lim it th e au th ority of th e im m igration    establish alien age or d ep ortability in a
resp on d en t an d sh all afford h im an           ju d ge p rop erly to con trol th e scop e of       case referred to an im m igration ju d ge
op p ortu n ity th en an d th ere to m ake          an y evid en tiary h earin g.                       u n d er § 208.14(b) of th is ch ap ter. Th e
su ch d esign ation . Th e im m igration               (iii) Du rin g th e d ep ortation h earin g,     resp on d en t sh all h ave th e bu rd en of
ju d ge sh all th en sp ecify an d state for th e   th e ap p lican t sh all be exam in ed u n d er     establish in g th at h e or sh e is eligible for
record th e cou n try, or cou n tries in th e       oath on h is or h er ap p lication an d m ay        an y requ est ben efit or p rivilege an d th at
altern ative, to w h ich resp on d en t’s           p resen t evid en ce an d w itn esses in h is or    it sh ou ld be gran ted in th e exercise of
d ep ortation w ill be d irected p u rsu an t to    h er ow n beh alf. Th e ap p lican t h as th e      d iscretion . Th e resp on d en t sh all n ot be
section 243(a) of th e Act if th e cou n try        bu rd en of establish in g th at h e or sh e is     requ ired to p ay a fee on m ore th an on e
of h is or h er d esign ation w ill n ot accep t    a refu gee as d efin ed in section                  ap p lication w ith in p aragrap h s (a) an d
h im or h er in to its territory, or fails to       101(a)(42) of th e Act p u rsu an t to th e         (c) of th is section , p rovid ed th at th e
fu rn ish tim ely n otice of accep tan ce, or       stan d ard set forth in § 208.13 of th is           m in im u m fee im p osed w h en m ore th an
if th e resp on d en t d eclin es to d esign ate    ch ap ter.                                          on e ap p lication is m ad e sh all be
a cou n try.                                           (iv) Th e trial attorn ey for th e               d eterm in ed by th e cost of th e
   (2) If th e alien exp resses fear of             govern m en t m ay call w itn esses an d            ap p lication w ith th e h igh est fee.
p ersecu tion or h arm u p on retu rn to an y       p resen t evid en ce for th e record ,              Noth in g con tain ed h erein is in ten d ed to
of th e cou n tries to w h ich th e alien           in clu d in g in form ation classified u n d er     foreclose th e resp on d en t from ap p lyin g
m igh t be d ep orted p u rsu an t to               th e ap p licable Execu tive Ord er,                for an y ben efit or p rivilege w h ich h e or
p aragrap h (c)(1) of th is section , an d th e     p rovid ed th e im m igration ju d ge or th e       sh e believes h im self or h erself eligible
alien h as n ot p reviou sly filed on               Board h as d eterm in ed th at su ch                to receive in p roceed in gs u n d er th is
ap p lication for asylu m or w ith h old in g       in form ation is relevan t to th e h earin g.       p art.
of d ep ortation th at h as been referred to        Wh en th e im m igration ju d ge receives
th e im m igration ju d ge by an asylu m            su ch classified in form ation h e or sh e          § 240.50 Decision of the immigration
officer in accord an ce w ith § 208.14(b) of        sh all in form th e ap p lican t. Th e agen cy      judge.
th is ch ap ter, th e im m igration ju d ge         th at p rovid es th e classified in form ation         (a) Con ten ts. Th e d ecision of th e
sh all:                                             to th e im m igration ju d ge m ay p rovid e        im m igration ju d ge m ay be oral or
   (i) Ad vise th e alien th at h e m ay ap p ly    an u n classified su m m ary of th e                w ritten . Excep t w h en d ep ortability is
for asylu m in th e Un ited States or               in form ation for release to th e ap p lican t,     d eterm in ed on th e p lead in gs p u rsu an t
w ith h old in g of d ep ortation to th ose         w h en ever it d eterm in es it can d o so          to § 240.48(b), th e d ecision of th e
cou n tries; an d                                   con sisten tly w ith safegu ard in g both th e      im m igration ju d ge sh all in clu d e a
   (ii) Make available th e ap p rop riate          classified n atu re of th e in form ation an d      fin d in g as to d ep ortability. Th e form al
ap p lication form s.                               its sou rce. Th e su m m ary sh ou ld be as         en u m eration of fin d in gs is n ot requ ired .
   (3) An ap p lication for asylu m or              d etailed as p ossible, in ord er th at th e        Th e d ecision sh all also con tain th e
w ith h old in g of d ep ortation m u st be         ap p lican t m ay h ave an op p ortu n ity to       reason s for gran tin g or d en yin g th e
filed w ith th e Im m igration Cou rt,              offer op p osin g evid en ce. A d ecision           requ est. Th e d ecision sh all be
p u rsu an t to § 208.4(b) of th is ch ap ter.      based in w h ole or in p art on su ch               con clu d ed w ith th e ord er of th e
Up on receip t of an ap p lication th at h as       classified in form ation sh all state               im m igration ju d ge.
n ot been referred by an asylu m officer,           w h eth er su ch in form ation is m aterial to         (b) S u m m ary d ecision .
th e Im m igration Cou rt sh all forw ard a         th e d ecision .                                    Notw ith stan d in g th e p rovision s of
cop y to th e Dep artm en t of State                   (5) Th e d ecision of an im m igration           p aragrap h (a) of th is section , in an y case
p u rsu an t to § 208.11 of th is ch ap ter an d    ju d ge to gran t or d en y asylu m or              w h ere d ep ortability is d eterm in ed on
sh all calen d ar th e case for a h earin g.        w ith h old in g of d ep ortation sh all be         th e p lead in gs p u rsu an t to § 240.48(b)
Th e rep ly, if an y, of th e Dep artm en t of      com m u n icated to th e ap p lican t an d to       an d th e resp on d en t d oes n ot m ake an
State, u n less classified u n d er th e            th e trial attorn ey for th e govern m en t. An     ap p lication u n d er § 240.49, or th e
ap p licable Execu tive Ord er, sh all be           ad verse d ecision w ill state w h y asylu m        resp on d en t ap p lies for volu n tary
given to both th e ap p lican t an d to th e        or w ith h old in g of d ep ortation w as           d ep artu re on ly an d th e im m igration
trial attorn ey rep resen tin g th e                d en ied .                                          ju d ge gran ts th e ap p lication , th e
govern m en t.                                         (d ) A p p lication for relief u n d er          im m igration ju d ge m ay en ter a su m m ary
   (4) Ap p lication s for asylu m or               section s 241(a)(1)(H) an d                         d ecision on Form EOIR–7, Su m m ary
w ith h old in g of d ep ortation so filed w ill    241(a)(1)(E)(iii) of th e A ct. Th e                Ord er of Dep ortation , if d ep ortation is

                                                                                                                                   AR00503
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 122 of 350 PageID 4715
500                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

ord ered , or on Form EOIR–6, Su m m ary            Notice of Ap p eal by th e Board . Th e               p rovision s of p aragrap h s (c) an d (d ) of
Ord er of Volu n tary Dep artu re, if               reason s for th e ap p eal sh all be stated in        th is section sh all cease to ap p ly.
volu n tary d ep artu re is gran ted w ith an       th e Form EOIR–26, Notice of Ap p eal, in
altern ate ord er of d ep ortation .                accord an ce w ith th e p rovision s of               Subpart F—Suspension of Deportation
   (c) Ord er of th e im m igration ju d ge.        § 3.3(b) of th is ch ap ter. Failu re to d o so       and Voluntary Departure (for
Th e ord er of th e im m igration ju d ge sh all    m ay con stitu te a grou n d for d ism issal of       Proceedings Commenced Prior to April
d irect th e resp on d en t’s d ep ortation , or    th e ap p eal by th e Board p u rsu an t to           1, 1997)
th e term in ation of th e p roceed in gs, or       § 3.1(d )(1–a) of th is ch ap ter.
su ch oth er d isp osition of th e case as             (b) Proh ibited ap p eals; legaliz ation or        § 240.55 Proceedings commenced prior to
m ay be ap p rop riate. Wh en d ep ortation                                                               April 1, 1997.
                                                    ap p lication s. An alien resp on d en t
is ord ered , th e im m igration ju d ge sh all     d efin ed in § 245a.2(c)(6) or (7) of th is              Su bp art F of 8 CFR p art 240 ap p lies
sp ecify th e cou n try, or cou n tries in th e     ch ap ter w h o fails to file an ap p lication        to d ep ortation p roceed in gs com m en ced
altern ate, to w h ich resp on d en t’s             for ad ju stm en t of statu s to th at of a           p rior to Ap ril 1, 1997. All referen ces to
d ep ortation sh all be d irected . Th e            tem p orary resid en t w ith in th e                  th e Act con tain ed in th is su bp art are
im m igration ju d ge is au th orized to issu e     p rescribed p eriod (s), an d w h o is                referen ces to th e Act in effect p rior to
ord ers in th e altern ative or in                  th ereafter fou n d to be d ep ortable by             Ap ril 1, 1997.
com bin ation as h e or sh e m ay d eem             d ecision of an im m igration ju d ge, sh all
n ecessary.                                         n ot be p erm itted to ap p eal th e fin d in g       § 240.56 Application.
                                                    of d ep ortability based solely on refu sal
§ 240.51 Notice of decision.                                                                                 Notw ith stan d in g an y oth er p rovision
                                                    by th e im m igration ju d ge to en tertain
   (a) W ritten d ecision . A w ritten                                                                    of th is ch ap ter, an alien w h o is
                                                    su ch an ap p lication in d ep ortation
d ecision sh all be served u p on th e              p roceed in gs.                                       d ep ortable becau se of a con viction on or
resp on d en t an d th e trial attorn ey,                                                                 after Novem ber 18, 1988, for an
togeth er w ith th e n otice referred to in         § 240.54 Proceedings under section 242(f)             aggravated felon y as d efin ed in section
§ 3.3 of th is ch ap ter. Service by m ail is       of the Act.                                           101(a)(43) of th e Act, sh all n ot be
com p lete u p on m ailin g.                           (a) Ord er to sh ow cau se. In th e case           eligible for volu n tary d ep artu re as
   (b) Oral d ecision . An oral d ecision           of an alien w ith in th e p rovision s of             p rescribed in 8 CFR p art 240 an d
sh all be stated by th e im m igration ju d ge      section 242(f) of th e Act, th e ord er to            section 244 of th e Act. Pu rsu an t to
in th e p resen ce of th e resp on d en t an d      sh ow cau se sh all ch arge h im or h er w ith        su bp art F of th is p art an d section 244 of
th e trail attorn ey, if an y, at th e              d ep ortability u n d er section 242(f) of th e       th e Act, an im m igration ju d ge m ay
con clu sion of th e h earin g. Un less ap p eal    Act. Th e p rior ord er of d ep ortation an d         au th orized th e su sp en sion of an alien ’s
from th e d ecision is w aived , th e               evid en ce of th e execu tion th ereof,               d ep ortation ; or, if th e alien establish ed
resp on d en t sh all be fu rn ish ed w ith         p rop erly id en tified , sh all con stitu te         th at h e or sh e is w illin g an d h as th e
Form EOIR–26, Notice of Ap p eal, an d              p rim a facie cau se for d ep ortability              im m ed iate m ean s w ith w h ich to d ep art
ad vised of th e p rovision s of § 240.53. A        u n d er th is section .                              p rom p tly from th e Un ited States, an
typ ew ritten cop y of th e oral d ecision             (b) A p p licable p roced u re. Excep t as         im m igration ju d ge m ay au th orized th e
sh all be fu rn ish ed at th e requ est of th e     oth erw ise p rovid ed in th is section ,
resp on d en t or th e trial attorn ey.                                                                   alien to d ep art volu n tarily from th e
                                                    p roceed in gs u n d er section 242(f) of th e        Un ited States in lieu of d ep ortation
   (c) S u m m ary d ecision . Wh en th e           Act sh all be con d u cted in gen eral
im m igration ju d ge ren d ers a su m m ary                                                              w ith in su ch tim e as m ay be sp ecified by
                                                    accord an ce w ith th e ru les p rescribed in         th e im m igration ju d ge w h en first
d ecision as p rovid ed in § 240.51(b), h e         th is p art.
or sh e sh all serve a cop y th ereof u p on                                                              au th orizin g volu n tary d ep artu re, an d
                                                       (c) Dep ortability. In d eterm in in g th e        u n d er su ch con d ition s as th e d istrict
th e resp on d en t at th e con clu sion of th e    d ep ortability of an alien alleged to be
h earin g. Un less ap p eal from th e                                                                     d irector sh all d irect. An ap p lication for
                                                    w ith in th e p u rview of p aragrap h (a) of
d ecision is w aived , th e resp on d en t sh all                                                         su sp en sion of d ep ortation sh all be m ad e
                                                    th is section , th e issu es sh all be lim ited
be fu rn ish ed w ith Form EOIR–26,                 to solely to a d eterm in ation of th e               on Form EOIR–40.
Notice of Ap p eal, an d ad vised of th e           id en tity of th e resp on d en t, i.e., w h eth er
p rovision s of § 240.54.                                                                                 § 240.57 Extension of time to depart.
                                                    th e resp on d en t is in fact an alien w h o
                                                    w as p reviou sly d ep orted , or w h o                  Au th ority to rein state or exten d th e
§ 240.52 Finality of order.
                                                    d ep arted w h ile an ord er of d ep ortation         tim e w ith in w h ich to d ep art volu n tarily
   Th e d ecision of th e im m igration ju d ge                                                           sp ecified in itially by an im m igration
sh all becom e fin al in accord an ce w ith         w as ou tstan d in g; w h eth er th e
                                                    resp on d en t w as p reviou sly d ep orted as        ju d ge or th e Board is w ith in th e sole
§ 3.39 of th is ch ap ter.
                                                    a m em ber of an y of th e classes d escribed         ju risd iction of th e d istrict d irector,
§ 240.53 Appeals.                                   in section 241(a)(2),(3) or (4) of th e Act;          excep t th at an im m igration ju d ge or th e
   (a) Pu rsu an t to 8 CFR p art 3, an             an d w h eth er resp on d en t h as u n law fu lly    Board m ay rein state volu n tary d ep artu re
ap p eal sh all lie from a d ecision of an          reen tered th e Un ited States.                       in a d ep ortation p roceed in g th at h as
im m igration ju d ge to th e Board , excep t          (d ) Ord er. If d ep ortability as ch arged        been reop en ed for a p u rp ose oth er th an
th at n o ap p eal sh all lie from an ord er of     in th e ord er to sh ow cau se is                     solely m akin g an ap p lication for
d ep ortation en tered in absen tia. Th e           establish ed , th e Im m igration Ju d ge sh all      volu n tary d ep artu re. A requ est by an
p roced u res regard in g th e filin g of a         ord er th at th e resp on d en t be d ep orted        alien for rein statem en t or an exten sion
Form EOIR–26, Notice of Ap p eal, fees,             u n d er th e p reviou s ord er of d ep ortation      of tim e w ith in w h ich to d ep art
an d briefs are set forth in §§ 3.3, 3.31,          in accord an ce w ith section 242(f) of th e          volu n tarily sh all be filed w ith th e
an d 3.38 of th is ch ap ter. An ap p eal sh all    Act.                                                  d istrict d irector h avin g ju risd iction over
be filed w ith in 30 calen d ar d ays after            (e) S ervice cou n sel; ad d ition al              th e alien ’s p lace of resid en ce. Written
th e m ailin g of a w ritten d ecision , th e       ch arges. Wh en Service cou n sel is                  n otice of th e d istrict d irector’s d ecision
statin g of an oral d ecision , or th e service     assign ed to a p roceed in g u n d er th is           sh all be served u p on th e alien an d n o
of a su m m ary d ecision . Th e filin g d ate      section an d ad d ition al ch arges are               ap p eal m ay be taken th erefrom .
is d efin ed as th e d ate of receip t of th e      lod ged again st th e resp on d en t, th e

                                                                                                                                     AR00504
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                         Page 123 of 350 PageID 4716
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                            501

Subpart G—Civil Penalties for Failure                  (d ) If certified to th e Board or             sign ifican t risk of n on com p lian ce w ith
To Depart [Reserved]                                Attorn ey Gen eral, u p on th e d ate of th e     th e ord er of rem oval, beyon d th e
                                                    su bsequ en t d ecision ord erin g rem oval;      rem oval p eriod , as n ecessary, u n til
  107. Part 241 is revised to read as                  (e) If an im m igration ju d ge ord ers an     rem oval from th e Un ited States. If su ch
follow s:                                           alien rem oved in th e alien ’s absen ce,         an alien d em on strates by clear an d
                                                    im m ed iately u p on en try of su ch ord er;     con vin cin g evid en ce th at th e release
PART 241—APPREHENSION AND                           or                                                w ou ld n ot p ose a d an ger to th e
DETENTION OF ALIENS ORDERED                            (f) If an im m igration ju d ge issu es an     com m u n ity or a sign ifican t fligh t risk,
REMOVED                                             altern ate ord er of rem oval in con n ection     th e d istrict d irector m ay, in th e exercise
                                                    w ith a gran t of volu n tary d ep artu re,       of d iscretion , ord er th e alien released
Subpart A—Post-Hearing Detention and
Removal                                             u p on overstay of th e volu n tary               from cu stod y on su ch con d ition s as th e
                                                    d ep artu re p eriod excep t w h ere th e         d istrict d irector m ay p rescribe,
Sec.                                                                                                  in clu d in g bon d in an am ou n t su fficien t
                                                    resp on d en t h as filed a tim ely ap p eal
241.1 Fin al ord er of rem oval.
                                                    w ith th e Board . In su ch a case, th e ord er   to en su re th e alien ’s ap p earan ce for
241.2 Warran t of rem oval.
241.3 Deten tion of alien s d u rin g rem oval      sh all becom e fin al u p on an ord er of         rem oval. Th e d istrict m ay con sid er, bu t
     p eriod .                                      rem oval by th e Board or th e Attorn ey          is n ot lim ited to con sid erin g, th e
241.4 Con tin u ed d eten tion beyon d th e         Gen eral, or u p on overstay of an y              follow in g factors:
     rem oval p eriod .                             volu n tary d ep artu re p eriod gran ted or         (1) Th e n atu re an d seriou sn ess of th e
241.5 Con d ition s of release after rem oval       rein stated by th e Board or th e Attorn ey       alien ’s crim in al con viction s;
     p eriod .                                      Gen eral.                                            (2) Oth er crim in al h istory;
241.6 Ad m in istrative stay of rem oval.                                                                (3) Sen ten ce(s) im p osed an d tim e
241.7 Self-rem oval.                                § 241.2 Warrant of removal.                       actu ally served ;
241.8 Rein statem en t of rem oval ord ers.            (a) Issu an ce of a warran t of rem oval.         (4) History of failu res to ap p ear for
241.9 Notice to tran sp ortation lin e of           A Form I–205, Warran t of Rem oval,               cou rt (d efau lts);
     in ad m issible alien ’s rem oval.                                                                  (5) Probation h istory;
241.10 Sp ecial care an d atten tion of
                                                    based u p on th e fin al ad m in istrative
                                                                                                         (6) Discip lin ary p roblem s w h ile
     rem ovable alien s.                            rem oval ord er in th e alien ’s case sh all
                                                                                                      in carcerated ;
241.11 Deten tion an d rem oval of                  be issu ed by a d istrict d irector. Th e            (7) Evid en ce of reh abilitative effort or
     stow aw ays.                                   d istrict d irector sh all exercise th e          recid ivism ;
241.12 Non ap p lication of costs of d eten tion    au th ority con tain ed in section 241 of th e       (8) Equ ities in th e Un ited States; an d
     an d m ain ten an ce.                          Act to d eterm in e at w h ose exp en se th e        (9) Prior im m igration violation s an d
Subpart B—Deportation of Excluded Aliens            alien sh all be rem oved an d w h eth er h is     h istory.
(for Hearings Commenced Prior to April 1,           or h er m en tal or p h ysical con d ition           (b) Con tin u ation of cu stod y for oth er
1997).                                              requ ires p erson al care an d atten tion en      alien s. An y alien rem ovable u n d er an y
241.20 Proceed in gs com m en ced p rior to         rou te to h is or h er d estin ation .            section of th e Act oth er th an section
     Ap ril 1, 1997.                                   (b) Ex ecu tion of th e warran t of            212(a), 237(a)(1)(C), 237(a)(2), or
241.21 Stay of d ep ortation of exclu d ed          rem oval. An y officer au th orized by            237(a)(4) m ay be d etain ed beyon d th e
     alien .                                        § 287.5(e) of th is ch ap ter to execu te         rem oval p eriod , in th e d iscretion of th e
241.22 Notice to su rren d er for d ep ortation .   ad m in istrative w arran ts of arrest m ay       d istrict d irector, u n less th e alien
241.23 Cost of m ain ten an ce n ot assessed .      execu te a w arran t of rem oval.                 d em on strates to th e satisfaction of th e
241.24 Notice to tran sp ortation lin e of                                                            d istrict d irector th at h e or sh e is likely
     alien ’s exclu sion .                          § 241.3 Detention of aliens during removal
241.25 Dep ortation .                               period.
                                                                                                      to com p ly w ith th e rem voal ord er an d
                                                                                                      is n ot a risk to th e com m u n ity.
Subpart C—Deportation of Aliens in the                 (a) A ssu m p tion of cu stod y. On ce th e
United States (for Hearings Commenced               rem oval p eriod d efin ed in section             § 241.5 Conditions of release after removal
Prior to April 1, 1997)                             241(a)(1) of th e Act begin s, an alien in        period.
241.30 Proceed in gs com m en ced p rior to         th e Un ited States w ill be taken in to             (a) Ord er of su p ervision . An alien
    Ap ril 1, 1997.                                 cu stod y p u rsu an t to th e w arran t of       released p u rsu an t to § 241.4 sh all be
241.31 Fin al ord er of d ep ortation .             rem oval.                                         released p u rsu an t to an ord er of
241.32 Warran t of d ep ortation .                     (b) Can cellation of bon d . An y bon d        su p ervision . A d istrict d irector, actin g
241.33 Exp u lsion .                                p reviou sly p osted w ill be can celed           d istrict d irector, d ep u ty d istrict d irector,
  Authority: 8 U.S.C. 1103, 1223, 1227, 1251,       u n less it h as been breach ed or is su bject    assistan t d istrict d irector for
1253, 1255, an d 1330; 8 CFR p art 2.               to bein g breach ed .                             in vestigation s, assistan t d istrict d irector
                                                       (c) Ju d icial stays. Th e filin g of (or      for d eten tion an d d ep ortation , or officer
Subpart A—Post-hearing Detention                    in ten tion of file) a p etition or action in     in ch arge m ay issu e an ord er of
and Removal                                         a Fed eral cou rt seekin g review of th e         su p ervision on Form I–220B. Th e ord er
§ 241.1 Final order of removal.                     issu an ce or execu tion of an ord er of          sh all sp ecify con d ition s of su p ervision
                                                    rem oval sh all n ot d elay execu tion of th e    in clu d in g, bu t n ot lim ited to, th e
   An ord er of rem oval m ad e by th e             Warran t of Rem oval excep t u p on an            follow in g:
im m igration ju d ge at th e con clu sion of       affirm ative ord er of th e cou rt.                  (1) A requ irem en t th at th e alien rep ort
p roceed in gs u n d er section 240 of th e                                                           to a sp ecified officer p eriod ically an d
Act sh all becom e fin al:                          § 241.4 Continued detention beyond the            p rovid e relevan t in form ation u n d er oath
                                                    removal period.                                   as d irected ;
   (a) Up on d ism issal of an ap p eal by th e
Board of Im m igration Ap p eals;                      (a) Con tin u ation of cu stod y for              (2) A requ irem en t th at th e alien
                                                    in ad m issible or crim in al alien s. Th e       con tin u e efforts to obtain a travel
   (b) Up on w aiver of ap p eal by th e            d istrict d irector m ay con tin u e in           d ocu m en t an d assist th e Service in
resp on d en t;                                     cu stod y an y alien in ad m issible u n d er     obtain in g a travel d ocu m en t;
   (c) Up on exp iration of th e tim e              section 212(a) of th e Act or rem ovable             (3) A requ irem en t th at th e alien rep ort
allotted for an ap p eal if th e resp on d en t     u n d er section 237(a)(1)(C), 237(a)(2), or      as d irected for a m en tal or p h ysical
d oes n ot file an ap p eal w ith in th at tim e;   237(a)(4) of th e Act, or w h o p resen ts a      exam in ation s as d irected by th e Service;

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      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                         Page 124 of 350 PageID 4717
502                   Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

   (4) A requ irem en t th at th e alien obtain     alien ord ered exclu d ed or d ep orted in         d eterm in ation . If th e alien w ish es to
ad van ce ap p roval of travel beyon d              p roceed in gs p rior to Ap ril 1, 1997) to        m ake su ch a statem en t, th e officer sh all
p reviou sly sp ecified tim es an d                 d ep art at h is or h er ow n exp en se to a       allow th e alien to d o so an d sh all
d istan ces; an d                                   d estin ation of h is or h er ow n ch oice.        con sid er w h eth er th e alien ’s statem en t
   (5) A requ irem en t th at th e alien            An y alien w h o h as d ep arted from th e         w arran ts recon sid eration of th e
p rovid e th e Service w ith w ritten n otice       Un ited States w h ile an ord er of                d eterm in ation .
of an y ch an ge of ad d ress w ith in five         d ep ortation or rem oval is ou tstan d in g          (c) Ord er. If th e requ irem en ts of
d ays of th e ch an ge.                             sh all be con sid ered to h ave been               p aragrap h (a) of th is section are m et, th e
   (b) Postin g of bon d . An officer               d ep orted , exclu d ed an d d ep orted , or       alien sh all be rem oved u n d er th e
au th orized to issu e an ord er of                 rem oved , excep t th at an alien w h o            p reviou s ord er of exclu sion ,
su p ervision m ay requ ire th e p ostin g of       d ep arted before th e exp iration of th e         d ep ortation , or rem oval in accord an ce
a bon d in an am ou n t d eterm in ed by th e       volu n tary d ep artu re p eriod gran ted in       w ith section 241(a)(5) of th e Act.
officer to be su fficien t to en su re              con n ection w ith an altern ate ord er of            (d ) Ex cep tion for with h old in g of
com p lian ce w ith th e con d ition s of th e      d ep ortation or rem oval sh all n ot be           rem oval. If an alien w h ose p rior ord er
ord er, in clu d in g su rren d er for rem oval.    con sid ered to h ave been so d ep orted or        of rem oval h as been rein stated u n d er
   (c) Em p loym en t au th oriz ation . An         rem oved .                                         th is section exp resses a fear of retu rn in g
officer au th orized to issu e an ord er of                                                            to th e cou n try d esign ated in th at ord er,
su p ervision m ay, in h is or h er                 § 241.8 Reinstatement of removal orders.           th e alien sh all be im m ed iately referred
d iscretion , gran t em p loym en t                    (a) A p p licability. An alien w h o            to an asylu m officer to d eterm in e
au th orization to an alien released u n d er       illegally reen ters th e Un ited States after      w h eth er th e alien ’s rem oval to th at
an ord er of su p ervision if th e officer          h avin g been rem oved , or h avin g               cou n try m u st be w ith h eld u n d er section
sp ecifically fin d s th at:                        d ep arted volu n tarily, w h ile u n d er an      241(b)(3) of th e Act. Th e alien ’s claim
   (1) Th e alien can n ot be rem oved              ord er of exclu sion , d ep ortation , or          w ill be gran ted or d en ied by an asylu m
becau se n o cou n try w ill accep t th e           rem oval sh all be rem oved from th e              officer in accord an ce w ith § 208.16 of
alien ; or                                          Un ited States by rein statin g th e p rior        th is ch ap ter. If th e alien h as p reviou sly
   (2) Th e rem oval of th e alien is               ord er. Th e alien h as n o righ t to a            h ad a claim to w ith h old in g of
im p racticable or con trary to p u blic            h earin g before an im m igration ju d ge in       d ep ortation or rem oval d en ied , th en th at
in terest.                                          su ch circu m stan ces. In establish in g          d ecision sh all p revail u n less th e alien
                                                    w h eth er an alien is su bject to th is           can establish th e existen ce of ch an ged
§ 241.6 Administrative stay of removal.             section , th e im m igration officer sh all        circu m stan ces th at m aterially affect th e
   An y requ est of an alien u n d er a fin al      d eterm in e th e follow in g:                     alien ’s eligibility for w ith h old in g. Th e
ord er of d ep ortation or rem oval for a              (1) Wh eth er th e alien h as been su bject     alien ’s case sh all n ot be referred to an
stay of d ep ortation or rem oval sh all be         to a p rior ord er of rem oval. Th e               im m igration ju d ge, an d th ere is n o
filed on Form I–246, Stay of Rem oval,              im m igration officer m u st obtain th e           ap p eal from th e d ecision of th e asylu m
w ith th e d istrict d irector h avin g             p rior ord er of exclu sion , d ep ortation , or   officer. If th e alien is fou n d to m erit
ju risd iction over th e p lace w h ere th e        rem oval relatin g to th e alien .                 w ith h old in g of rem oval, th e Service
alien is at th e tim e of filin g. Th e d istrict      (2) Th e id en tity of th e alien , i.e.,       sh all n ot en force th e rein stated ord er.
d irector, in h is or h er d iscretion an d in      w h eth er th e alien is in fact an alien w h o       (e) Ex ecu tion of rein stated ord er.
con sid eration of factors su ch as are             w as p reviou sly rem oved , or w h o              Execu tion of th e rein stated ord er of
listed in § 212.5 of th is ch ap ter an d           d ep arted volu n tarily w h ile u n d er an       rem oval an d d eten tion of th e alien sh all
section 241(c) of th e Act, m ay gran t a           ord er of exclu sion , d ep ortation , or          be ad m in istered in accord an ce w ith th is
stay of rem oval or d ep ortation for su ch         rem oval. In d isp u ted cases, verification       p art.
tim e an d u n d er su ch con d ition s as h e or   of id en tity sh all be accom p lish ed by a
sh e m ay d eem ap p rop riate. Neith er th e       com p arison of fin gerp rin ts betw een           § 241.9 Notice to transportation line of
requ est n or th e failu re to receive n otice      th ose of th e p reviou sly exclu d ed ,           alien’s removal.
of d isp osition of th e requ est sh all d elay     d ep orted , or rem oved alien con tain ed in         (a) An alien w h o h as been ord ered
rem oval or relieve th e alien from strict          Service record s an d th ose of th e su bject      rem oved sh all, im m ed iately or as
com p lian ce w ith an y ou tstan d in g n otice    alien . In th e absen ce of fin gerp rin ts in     p rom p tly as th e circu m stan ces p erm it,
to su rren d er for d ep ortation or rem oval.      a d isp u ted case th e alien sh all n ot be       be offered for rem oval to th e ow n er,
Den ial by th e d istrict d irector of a            rem oved p u rsu an t to th is p aragrap h .       agen t, m aster, com m an d in g officer,
requ est for a stay is n ot ap p ealable, bu t         (3) Wh eth er th e alien u n law fu lly         p erson in ch arge, p u rser, or con sign ee of
su ch d en ial sh all n ot p reclu d e an           reen tered th e Un ited States. In m akin g        th e vessel or aircraft on w h ich th e alien
im m igration ju d ge or th e Board from            th is d eterm in ation , th e officer sh all       is to be rem oved , as d eterm in ed by th e
gran tin g a stay in con n ection w ith a           con sid er all relevan t evid en ce,               d istrict d irector, w ith a w ritten n otice
m otion to reop en or a m otion to                  in clu d in g statem en ts m ad e by th e alien    sp ecifyin g th e cau se of in ad m issibility
recon sid er as p rovid ed in 8 CFR p art 3.        an d an y evid en ce in th e alien ’s              or d ep ortability, th e class of travel in
Th e Service sh all take all reason able            p ossession . Th e im m igration officer           w h ich su ch alien arrived an d is to be
step s to com p ly w ith a stay gran ted by         sh all attem p t to verify an alien ’s claim ,     rem oved , an d w ith th e retu rn of an y
an im m igration ju d ge or th e Board .            if an y, th at h e or sh e w as law fu lly         d ocu m en tation th at w ill assist in
How ever, su ch a stay sh all cease to h ave        ad m itted , w h ich sh all in clu d e a ch eck    effectin g h is or h er rem oval. If sp ecial
effect if gran ted (or com m u n icated ) after     of Service d ata system s available to th e        care an d atten tion are requ ired , th e
th e alien h as been p laced aboard an              officer.                                           p rovision s of § 241.10 sh all ap p ly.
aircraft or oth er con veyan ce for rem oval           (b) N otice. If an officer d eterm in es           (b) Failu re of th e carrier to accep t for
an d th e n orm al board in g h as been             th at an alien is su bject to rem oval u n d er    rem oval an alien w h o h as been ord ered
com p leted .                                       th is section , h e or sh all p rovid e th e       rem oved sh all resu lt in th e carrier bein g
                                                    alien w ith w ritten n otice of h is or h er       assessed an y costs in cu rred by th e
§ 241.7 Self-removal.                               d eterm in ation . Th e officer sh all ad vise     Service for d eten tion after th e carrier’s
   A d istrict d irector m ay p erm it an           th e alien th at h e or sh e m ay m ake a          failu re to accep t th e alien for rem oval,
alien ord ered rem oved (in clu d in g an           w ritten or oral statem en t con testin g th e     in clu d in g th e cost of an y tran sp ortation

                                                                                                                                  AR00506
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                         Page 125 of 350 PageID 4718
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                           503

as requ ired u n d er section 241(e) of th e        section as th e carrier) brin gin g an y alien    States. All exp en ses relatin g to rem oval
Act. Th e User Fee Accou n t sh all n ot be         stow aw ay to th e Un ited States is              sh all be born e by th e ow n er. Oth er th an
assessed for exp en ses in cu rred becau se         requ ired to d etain th e stow aw ay on           requ irin g com p lian ce w ith th e d eten tion
of th e carrier’s violation of th e                 board th e vessel or aircraft, at th e            an d rem oval requ irem en ts con tain ed in
p rovision s of section 241 of th e Act an d        exp en se of th e ow n er of th e vessel or       section 241(d )(2) of th e Act, th e Service
th is p aragrap h . Th e Service w ill, at th e     aircraft, u n til com p letion of th e            sh all n ot im p ose ad d ition al con d ition s
carrier’s op tion , retain cu stod y of th e        in sp ection of th e alien by an                  on th e carrier regard in g secu rity
alien for an ad d ition al 7 d ays beyon d          im m igration officer. If d eten tion on          arran gem en ts. Failu re to com p ly w ith an
th e d ate of th e rem oval ord er. If, after       board th e vessel or aircraft p en d in g         ord er to rem ove an alien stow aw ay sh all
th e th ird d ay of th is ad d ition al 7-d ay      in sp ection is n ot p ossible, th e carrier      resu lt in a civil p en alty u n d er section
p eriod , th e carrier h as n ot m ad e all th e    sh all ad vise th e Service of th is fact         243(c)(1)(A) of th e Act.
n ecessary tran sp ortation arran gem en ts         w ith ou t d elay, an d th e Service m ay            (2) Deten tion of stowaways ord ered
for th e alien to be retu rn ed to h is or h er     au th orize th at th e carrier d etain th e       rem oved . If d eten tion of th e stow aw ay is
p oin t of em barkation by th e en d of th e        stow aw ay at an oth er d esign ated              requ ired p en d in g rem oval on oth er th an
ad d ition al 7-d ay p eriod , th e Service w ill   location , at th e exp en se of th e ow n er,     th e vessel or aircraft of arrival, or if th e
m ake th e arran gem en ts an d bill th e           u n til th e im m igration officer arrives. No    stow aw ay is to be rem oved on th e vessel
carrier for its costs.                              n otice to d etain th e alien sh all be           or aircraft of arrival bu t d ep artu re of th e
                                                    requ ired . Failu re to d etain an alien          vessel or aircraft is n ot im m in en t an d
241.10 Special care and attention of                stow aw ay p en d in g in sp ection sh all        circu m stan ces p reclu d e keep in g th e
removable aliens.                                   resu lt in a civil p en alty u n d er section     stow aw ay on board th e vessel or
   Wh en , in accord an ce w ith section            243(c)(1)(A) of th e Act. Th e ow n er,           aircraft, th e Service sh all take th e
241(c)(3) of th e Act, a tran sp ortation           agen t, m aster, com m an d in g officer,         stow aw ay in to Service cu stod y. Th e
lin e is resp on sible for th e exp en ses of an    ch arterer, or con sign ee of a vessel or         ow n er is resp on sible for all costs of
in ad m issible or d ep ortable alien ’s            aircraft m u st p resen t th e stow aw ay for     m ain tain in g an d d etain in g th e
rem oval, an d th e alien requ ires sp ecial        in sp ection , alon g w ith an y d ocu m en ts    stow aw ay p en d in g rem oval, in clu d in g
care an d atten tion , th e alien sh all be         or evid en ce of id en tity or n ation ality in   costs for stow aw ays seekin g asylu m as
d elivered to th e ow n er, agen t, m aster,        th e p ossession of th e alien or obtain ed       d escribed in p aragrap h (d ) of th is
com m an d in g officer, p erson in ch arge,        by th e carrier relatin g to th e alien           section . Su ch costs w ill be lim ited to
p u rser, or con sign ee of th e vessel or          stow aw ay, an d m u st p rovid e an y            th ose n orm ally in cu rred in th e
aircraft on w h ich th e alien w ill be             available in form ation con cern in g th e        d eten tion of an alien by th e Service,
rem oved , w h o sh all be given Form s I–          alien ’s board in g or ap p reh en sion .         in clu d in g, bu t n ot lim ited to, h ou sin g,
287, I–287A, an d I–287B. Th e reverse of              (b) Rem oval of stowaways from vessel          food , tran sp ortation , m ed ical exp en ses,
Form I–287A sh all be sign ed by th e               or aircraft for m ed ical treatm en t. Th e       an d oth er reason able costs in cid en t to
officer of th e vessel or aircraft to w h om        d istrict d irector m ay p arole an alien         th e d eten tion of th e stow aw ay. Th e
th e alien h as been d elivered an d                stow aw ay in to th e Un ited States for          Service m ay requ ire th e p ostin g of a
im m ed iately retu rn ed to th e                   m ed ical treatm en t, bu t th e costs of         bon d or oth er su rety to en su re p aym en t
im m igration officer effectin g d elivery.         d eten tion an d treatm en t of th e alien        of costs of d eten tion .
Form I–287B sh all be retain ed by th e             stow aw ay sh all be at th e exp en se of th e       (d ) S towaways claim in g asylu m . (1)
receivin g officer an d su bsequ en tly filled      ow n er of th e vessel or aircraft, an d su ch    Referral for cred ible fear d eterm in ation .
ou t by th e agen ts or p erson s th erein          rem oval of th e stow aw ay from th e vessel      A stow aw ay w h o in d icates an in ten tion
d esign ated an d retu rn ed by m ail to th e       or aircraft d oes n ot relieve th e carrier of    to ap p ly for asylu m or a fear of
d istrict d irector n am ed on th e form . Th e     th e requ irem en t to rem ove th e               p ersecu tion sh all be rem oved from th e
tran sp ortation lin e sh all at its ow n           stow aw ay from th e Un ited States on ce         vessel or aircraft of arrival in accord an ce
exp en se forw ard th e alien from th e             su ch m ed ical treatm en t h as been             w ith § 208.5(b) of th is ch ap ter. Th e
foreign p ort of d isem barkation to th e           com p leted .                                     im m igration officer sh all refer th e alien
fin al d estin ation sp ecified on Form I–             (c) Rep atriation of stowaways. (1)            to an asylu m officer for a d eterm in ation
287. Th e sp ecial care an d atten tion sh all      Requ irem en ts of carrier. Follow in g           of cred ible fear in accord an ce w ith
be con tin u ed to su ch fin al d estin ation ,     in sp ection , an im m igration officer m ay      section 235(b)(1)(B) of th e Act an d
excep t w h en th e foreign p u blic officers       ord er th e ow n er, agen t, m aster,             § 208.18 of th is ch ap ter. Th e stow aw ay
d eclin e to allow su ch atten d an t to            com m an d in g officer, ch arterer, or           sh all be d etain ed in th e cu stod y of th e
p roceed an d th ey take ch arge of th e            con sign ee of a vessel or aircraft brin gin g    Service p en d in g th e cred ible fear
alien , in w h ich case th is fact sh all be        an y alien stow aw ay to th e Un ited States      d eterm in ation an d d u rin g an y
record ed by th e tran sp ortation lin e on         to rem ove th e stow aw ay on th e vessel or      con sid eration of th e asylu m ap p lication .
th e reverse of Form I–287B. If th e                aircraft of arrival. If th e ow n er, agen t,        (2) Costs of d eten tion of asylu m -
tran sp ortation lin e fails, refu ses, or          m aster, com m an d in g officer, cah rterer,     seek in g stowaways. Th e ow n er of th e
n eglects to p rovid e th e n ecessary sp ecial     or con sign ee requ ests th at h e or sh e be     vessel or aircraft th at brou gh t th e
care an d atten tion or com p ly w ith th e         allow ed to rem ove th e stow aw ay by            stow aw ay to th e Un ited States sh all
d irection s of Form I–287, th e d istrict          oth er m ean s, th e Service sh all con sid er    reim bu rse th e Service for th e costs of
d irector sh all th ereafter an d w ith ou t        an y su ch requ est, p rovid ed th e carrier      m ain tain in g an d d etain in g th e
n otice em p loy su itable p erson s, at th e       h as obtain ed , or w ill obtain in a tim ely     stow aw ay p en d in g a d eterm in ation of
exp en se of th e tran sp ortation lin e, an d      m an n er, an y n ecessary travel d ocu m en ts   cred ible fear u n d er section 235(b)(1)(B)
effect su ch rem oval.                              an d h as m ad e or w ill m ake all               of th e Act, u p to a m axim u m p eriod of
                                                    tran sp ortation arran gem en ts. Th e            72 h ou rs. Th e ow n er is also resp on sible
§ 241.11 Detention and removal of                   ow n er, agen t, m aster, com m an d in g         for th e costs of m ain tain in g an d
stowaways.                                          officer, ch arterer, or con sign ee sh all        d etain in g th e stow aw ay d u rin g th e
  (a) Presen tation of stowaways. Th e              tran sp ort th e stow aw ay or arran ge for       p eriod in w h ich th e stow aw ay is
ow n er, agen t, m aster, com m an d in g           secu re escort of th e stow aw ay to th e         p u rsu in g h is or h er asylu m ap p lication ,
officer, ch arterer, or con sign ee of a            vessel or aircraft of d ep artu re to en su re    for a m axim u m p eriod of 15 w orkin g
vessel or aircraft (referred to in th is            th at th e stow aw ay d ep arts th e Un ited      d ays, exclu d in g Satu rd ays, Su n d ays,

                                                                                                                                 AR00507
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                          Page 126 of 350 PageID 4719
504                   Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

an d h olid ays. Th e 15-d ay p eriod sh all        su bp art D m ay at an y tim e su rren d er         beyon d th e d ate of th e d ep ortation /
begin on th e d ay follow in g th e d ay in         h im self or h erself to th e cu stod y of th e     exclu sion ord er. If, after th e th ird d ay of
w h ich th e alien is d eterm in ed to h ave        Service an d sh all su rren d er to su ch           th is ad d ition al 7-d ay p eriod , th e carrier
a cred ible fear of p ersecu tion by th e           cu stod y u p on n otice in w ritin g of th e       h as n ot m ad e all th e n ecessary
asylu m officer, or by th e im m igration           tim e an d p lace for h is or h er su rren d er.    tran sp ortation arran gem en ts for th e
ju d ge if su ch review w as requ ested by          Th e Service m ay take th e alien in to             exclu d ed alien to be retu rn ed to h is or
th e alien p u rsu an t to section                  cu stod y at an y tim e. An alien taken in to       h er p oin t of em barkation by th e en d of
235(b)(1)(B)(iii)(III), bu t n ot later th an 72    cu stod y eith er u p on n otice to su rren d er    th e ad d ition al 7-d ay p eriod , th e Service
h ou rs after th e stow aw ay w as in itially       or by arrest sh all n ot be d ep orted less         w ill m ake th e arran gem en ts an d bill th e
p resen ted to th e Service for in sp ection .      th an 72 h ou rs th ereafter w ith ou t h is or     carrier for its costs.
Follow in g th e d eterm in ation of cred ible      h er con sen t th ereto filed in w ritin g w ith
fear, if th e stow aw ay’s ap p lication for        th e d istrict d irector in ch arge of th e         § 241.25 Deportation.
asylu m is n ot ad ju d icated w ith in 15          p lace of h is or h er d eten tion . An alien          (a) Defin ition s of term s. For th e
w orkin g d ays, th e Service sh all p ay th e      in foreign con tigu ou s territory sh all be        p u rp oses of th is section , th e follow in g
costs of d eten tion beyon d th is tim e            in form ed th at h e or sh e m ay rem ain           term s m ean :
p eriod . If th e stow aw ay is d eterm in ed       th ere in lieu of su rren d erin g to th e             (1) Ad jacen t islan d —as d efin ed in
n ot to h ave a cred ible fear of                   Service, bu t th at h e or sh e w ill be            section 101(b)(5) of th e Act.
p ersecu tion , or if th e stow aw ay’s             d eem ed to h ave ackn ow led ged th e                 (2) Foreign con tigu ou s territory—an y
ap p lication for asylu m is d en ied ,             execu tion of th e ord er of exclu sion an d        cou n try sh arin g a com m on bou n d ary
in clu d in g an y ap p eals, th e carrier sh all   d ep ortation in h is or h er case u p on h is      w ith th e Un ited States.
be n otified an d sh all arran ge for               or h er failu re to su rren d er at th e tim e         (3) Resid en ce in foreign con tigu ou s
rep atriation of th e stow aw ay at th e            an d p lace p rescribed .                           territory or ad jacen t islan d —an y
exp en se of th e ow n er of th e vessel or                                                             p h ysical p resen ce, regard less of in ten t,
aircraft on w h ich th e stow aw ay arrived .       § 241.23 Cost of maintenance not                    in a foreign con tigu ou s territory or an
                                                    assessed.                                           ad jacen t islan d if th e govern m en t of
§ 241.12 Nonapplication of costs of                    A claim p u rsu an t to section 237(a)(1)        su ch territory or islan d agrees to accep t
detention and maintenance.                          of th e Act sh all be establish ed to th e          th e alien .
   Th e ow n er of a vessel or aircraft             satisfaction of th e d istrict d irector in            (4) Aircraft or vessel—an y con veyan ce
brin gin g an alien to th e Un ited States          ch arge of th e p ort of arrival, from w h ose      an d oth er m od e of travel by w h ich
w h o claim s to be exem p t from p aym en t        ad verse d ecision n o ap p eal sh all lie.         arrival is affected .
of th e costs of d eten tion an d                   Th e d istrict d irector sh all afford th e lin e      (5) Next available fligh t—th e carrier’s
m ain ten an ce of th e alien p u rsu an t to       a reason able tim e w ith in w h ich to             n ext regu larly sch ed u led d ep artu re to
section 241(c)(3)(B) of th e Act sh all             su bm it affid avits an d briefs to su p p ort      th e exclu d ed alien ’s p oin t of
establish to th e satisfaction of th e              its claim .                                         em barkation regard less of seat
d istrict d irector in ch arge of th e p ort of                                                         availability. If th e carrier’s n ext
                                                    § 241.24 Notice to transportation line of           regu latory sch ed u led d ep artu re of th e
arrival th at su ch costs sh ou ld n ot be          alien’s exclusion.
ap p lied . Th e d istrict d irector sh all                                                             exclu d ed alien s p oin t of em barkation is
afford th e lin e a reason able tim e w ith in         (a) An exclu d ed alien sh all,                  fu ll, th e carrier h as th e op tion of
w h ich to su bm it affid avits an d briefs to      im m ed iately or as p rom p tly as th e            arran gin g for retu rn tran sp ortation on
su p p ort its claim . Th ere is n o ap p eal       circu m stan ces p erm it, be offered for           oth er carrier w h ich service th e exclu d ed
from th e d ecision of th e d istrict d irector.    d ep ortation to th e m aster, com m an d in g      alien s p oin t of em barkation .
                                                    officer, p u rser, p erson in ch arge, agen t,         (b) Place to wh ich d ep orted . An y alien
§§ 241.13–241.19 [Reserved]                         ow n er, or con sign ee of th e vessel or           (oth er th an an alien crew m em ber or an
                                                    aircraft on w h ich th e alien is to be             alien w h o board ed an aircraft or vessel
Subpart B—Deportation of Excluded                   d ep orted , as d eterm in ed by th e d istrict     in foreign con tigu ou s territory or an
Aliens (for hearings commenced prior                d irector, w ith a w ritten n otice                 ad jacen t islan d ) w h o is ord ered
to April 1, 1997)                                   sp ecifyin g th e cau se of exclu sion , th e       exclu d ed sh all be d ep orted to th e
§ 241.20 Proceedings commenced prior to
                                                    class of travel in w h ich su ch alien              cou n try w h ere th e alien board ed th e
April 1, 1997.                                      arrived an d is to be d ep orted , an d w ith       vessel or aircraft on w h ich th e alien
                                                    th e retu rn of an y d ocu m en tation th at        arrived in th e Un ited States. If th at
   Su bp art B of 8 CFR p art 241 ap p lies
                                                    w ill assist in effectin g h is or h er             cou n try refu ses to accep t th e alien , th e
to exclu sion p roceed in gs com m en ced
                                                    d ep ortation . If sp ecial care an d atten tion    alien sh all be d ep orted to:
p rior to Ap ril 1, 1997. All referen ces to
                                                    are requ ired , th e p rovision s of § 241.10          (1) Th e cou n try of w h ich th e alien is
th e Act con tain ed in th is su bp art are
                                                    sh all ap p ly.                                     a su bject, citizen , or n ation al;
referen ces to th e Act in effect p rior to            (b) Failu re of th e carrier to accep t for
Ap ril 1, 1997.                                                                                            (2) Th e cou n try w h ere th e alien w as
                                                    rem oval an alien w h o h as been ord ered          born ;
§ 241.21 Stay of deportation of excluded            exclu d ed an d d ep orted sh all resu lt in           (3) Th e cou n try w h ere th e alien h as a
alien.                                              th e carrier bein g assessed an y costs             resid en ce; or
   Th e d istrict d irector in ch arge of th e      in cu rred by th e Service for d eten tion             (4) An y cou n try w illin g to accep t th e
p ort of arrival m ay stay th e im m ed iate        after th e carrier’s failu re to accep t th e       alien .
d ep ortation of an exclu d ed alien                alien for rem oval in clu d in g th e cost of          (c) Con tigu ou s territory an d ad jacen t
p u rsu an t to section s 237 (a) an d (d ) of      an y tran sp ortation . Th e User Fee               islan d s. An y alien ord ered exclu d ed
th e Act u n d er su ch con d ition s as h e or     Accou n t sh all n ot be assessed for               w h o board ed an aircraft or vessel in
sh e m ay p rescribe.                               exp en ses in cu rred becau se of th e              foreign con tigu ou s territory or in an y
                                                    carrier’s violation of th e p rovision s of         ad jacen t islan d sh all be d ep orted to
§ 241.22 Notice to surrender for                    section 237 of th e Act an d th is                  su ch foreign con tigu ou s territory or
deportation.                                        p aragrap h . Th e Service w ill, at th e           ad jacen t islan d is th e alien is a n ative,
  An alien w h o h as been fin ally                 carrier’s op tion , retain cu stod y of th e        citizen , su bject or n ation al of su ch
exclu d ed p u rsu an t to 8 CFR p art 240,         exclu d ed alien for an ad d ition al 7 d ays       foreign con tigu ou s territory or ad jacen t

                                                                                                                                    AR00508
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                         Page 127 of 350 PageID 4720
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                            505

islan d , or if th e alien h as a resid en ce in   p u rp oses of th is p art, an d ord er of           Authority: 8 U.S.C. 1101, 1103, 1182, 1255;
su ch foreign con tigu ou s territory or           d ep ortation is fin al an d su bject to           8 CFR p art 2.
ad jacen t islan d . Oth erw ise, th e alien       execu tion u p on th e d ate w h en an y of           115. Section 245.1 is am en d ed by:
sh all be d ep orted , in th e first in stan ce,   th e follow in g occu rs:                             a. Rem ovin g th e w ord ‘‘an d ’’ at th e
to th e cou n try in w h ich is located th e          (1) A gran t of volu n tary d ep artu re        en d of th e p aragrap h (c)(3);
p ort at w h ich th e alien em barked for          exp ires;                                             b. Rem ovin g th e ‘‘.’’ at th e en d of
su ch foreign con tigu ou s territory or              (2) An im m igration ju d ge en ters an         p aragrap h s (c)(4) th rou gh (c)(7), an d
ad jacen t islan d .                               ord er of d ep ortation w ith ou t gran tin g      rep lacin g it w ith a ‘‘;’’;
   (d ) Lan d bord er p ed estrian arrivals.       volu n tary d ep artu re or oth er relief, an d       c. Red esign atin g p aragrap h (c)(8) as
An y alien ord ered exclu d ed w h o arrived       th e alien resp on d en t w aives h is or ord er   p aragrap h (c)(9);
at a lan d bord er on foot sh all be               righ t to ap p eal;                                   d . Ad d in g a n ew p aragrap h (c)(8);
d ep orted in th e sam e m an n er as if th e         (3) Th e Board of Im m igration Ap p eals          e. Revisin g n ew ly red esign ated
alien h ad board ed a vessel or aircraft in        en ters an d ord er of d ep ortation on            p aragrap h (c)(9) in trod u ctory text,
foreign con tigu ou s territory.                   ap p eals, w ith ou t gran tin g volu n tary          f. Revisin g n ew ly red esign ated
                                                   d ep artu re or oth er relief; or                  p aragrap h s (c)(9)(i) th rou gh (c)(9)(iii);
§§ 241.26–241.29 [Reserved]                           (4) A Fed eral d istrict or ap p ellate         an d by
                                                   cou rt affirm s an ad m in istrative ord er of        g. Revisin g p aragrap h (f), to read as
Subpart C—Deportation of Aliens in
                                                   d ep ortation in a p etition for review or         follow s:
the United States (For Hearings
Commenced Prior to April 1, 1997)                  h abeas corp u s action .
                                                                                                      § 245.1 Eligibility.
                                                      (b) S ervice of d ecision . In th e case of
§ 241.30 Proceedings commenced prior to            an ord er en tered by an y of th e                 *       *      *     *     *
April 1, 1997.                                     au th orities en u m erated above, th e ord er        (c) * * *
   Su bp art C of 8 CFR p art 241 ap p lies        sh all be execu ted n o soon er th an 72              (8) An y arrivin g alien w h o is in
to d ep ortation p roceed in gs com m en ced       h ou rs after service of th e d ecision ,          rem oval p roceed in gs p u rsu an t to section
p rior to Ap ril 1, 1997. All referen ces to       regard less of w h eth er th e alien is in         235(b)(1) or section 240 of th e Act; an d
th e Act con tain ed in th is su bp art are        Service cu stod y, p rovid ed th at su ch             (9) An y alien w h o seeks to ad ju st
referen ces to th e Act in effect p rior to        p eriod m ay be w aived on th e kn ow in g         statu s based u p on a m arriage w h ich
Ap ril 1, 1997.                                    an d volu n tary requ est of th e alien .          occu rred on or after Novem ber 10, 1986,
                                                   Noth in g in th is p aragrap h sh all be           an d w h ile th e alien w as in exclu sion ,
§ 241.31 Final order of deportation.               con stru ed , h ow ever, to p reclu d e            d ep ortation , or rem oval p roceed in gs, or
   Excep t as oth erw ise requ ired by             assu m p tion of cu stod y by th e Service at      ju d icial p roceed in gs relatin g th ereto.
section 242(c) of th e Act for th e sp ecific      th e tim e of issu an ce of th e fin al ord er.       (i) Com m en cem en t of p roceed in gs.
p u rp oses of th at section , an ord er of                                                           Th e p eriod d u rin g w h ich th e alien is in
d ep ortation , in clu d in g an altern ate        PART 242—[REMOVED AND                              d ep ortation , exclu sion , or rem oval
ord er of d ep ortation cou p led w ith an         RESERVED]                                          p roceed in gs or ju d icial p roceed in gs
ord er of volu n tary d ep artu re, m ad e by                                                         relatin g th ereto, com m en ces:
th e im m igration ju d ge in p roceed in gs         108. Part 242 is rem oved an d                      (A) With th e issu an ce of th e Form I–
u n d er 8 CFR p art 240 sh all becom e fin al     reserved .                                         221, Ord er to Sh ow Cau se an d Notice of
u p on d ism issal of an ap p eal by th e                                                             Hearin g p rior to Ju n e 20, 1991;
                                                   PART 243—[REMOVED AND                                 (B) With th e filin g of a Form I–221,
Board of Im m igration Ap p eals, u p on           RESERVED]
w aiver of ap p eal, or u p on exp iration of                                                         Ord er to Sh ow Cau se an d Notice of
th e tim e allotted for an ap p eal w h en n o       109. Part 243 is rem oved an d                   Hearin g, issu ed on or after Ju n e 20,
ap p eal is taken ; of, if su ch an ord er is      reserved .                                         1991, w ith th e Im m igration Cou rt;
issu ed by th e Board or ap p roved by th e                                                              (C) With th e issu an ce of Form I–122,
Board u p on certification , it sh all be fin al   PART 244—TEMPORARY PROTECTED                       Notice to Ap p lican t for Ad m ission
as of th e d ate of th e Board ’s d ecision .      STATUS FOR NATIONALS OF                            Detain ed for Hearin g Before
                                                   DESIGNATED STATES                                  Im m igration Ju d ge, p rior to Ap ril 1,
§ 241.32 Warrant of deportation.                                                                      1997,
   A Form I–205, Warran t of                         110. Th e h ead in g for p art 244 is               (D) With th e filin g of a Form I–862,
Dep ortation , based u p on th e fin al            revised as set forth above.                        Notice to Ap p ear, w ith th e Im m igration
ad m in istrative ord er of d ep ortation in         111. Th e au th ority citation for p art         Cou rt, or
th e alien ’s case sh all be issu ed by a          244 is revised to read as follow s:                   (E) With th e issu an ce an d service of
d istrict d irector. Th e d irector sh all           Authority: 8 U.S.C. 1103, 1254, 1254a n ote.     Form I–860, Notice an d Ord er of
exercise th e au th ority con tain ed in su ch                                                        Exp ed ited Rem oval.
                                                   §§ 244.1 and 244.2 [Removed]                          (ii) T erm in ation of p roceed in gs. Th e
243 of th e Act to d eterm in e at w h ose
exp en se th e alien sh all be d ep orted an d       112. Section s 244.1 an d 244.2 are              p eriod d u rin g w h ich th e alien is in
w h eth er h is or h er m en tal or p h ysical     rem oved .                                         exclu sion , d ep ortation , or rem oval
con d ition requ ires p erson al care an d         §§ 244.3 through 244.22 [Redesignated as
                                                                                                      p roceed in gs, or ju d icial p roceed in gs
atten tion en rou te to h is or h er               §§ 244.1 through 244.20]                           relatin g th ereto, term in ates:
d estin ation .                                                                                          (A) Wh en th e alien d ep arts from th e
                                                      113. New ly red esign ated §§ 244.3             Un ited States w h ile an ord er of
§ 241.33 Expulsion.                                th rou gh 244.22 are fu rth er red esign ated      exclu sion , d ep ortation , or rem oval is
   (a) Ex ecu tion of ord er. Excep t in th e      as §§ 244.1 th rou gh 244.20, resp ectively.       ou tstan d in g or before th e exp iration of
exercise of d iscretion by th e d istrict          PART 245—ADJUSTMENT OF STATUS                      th e volu n tary d ep artu re tim e gran ted in
d irector, an d for su ch reason s as are set      TO THAT OF PERSON ADMITTED FOR                     con n ection w ith an altern ate ord er of
forth in § 212.5(a) of th is ch ap ter, on ce      PERMANENT RESIDENCE                                d ep ortation or rem oval;
an ord er of d ep ortation becom es fin al,                                                              (B) Wh en th e alien is fou n d n ot to be
an alien sh all be taken in to cu stod y an d        114. Th e au th ority citation for p art         in ad m issible or d ep ortable from th e
th e ord er sh all be execu ted . For th e         245 is revised to read as follow s:                Un ited States;

                                                                                                                                  AR00509
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                         Page 128 of 350 PageID 4721
506                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

   (C) Wh en th e Form I–122, I–221, I–           ap p ly to th e d irector h avin g ju risd iction    alien , sh all n ot be ap p roved u n til an
860, or I–862 is can celed ;                      over h is or h er p lace of resid en ce u n less     im m igran t visa n u m ber h as been
   (D) Wh en p roceed in gs are term in ated      oth erw ise in stru cted in 8 CFR p art 245,         allocated by th e Dep artm en t of State,
by th e im m igration ju d ge or th e Board       or by th e in stru ction on th e ap p lication       excep t w h en th e ap p lican t h as
of Im m igration Ap p eals; or                    form . After an alien , oth er th an an              establish ed eligibility for th e ben efits of
   (E) Wh en a p etition for review or an         arrivin g alien , is in d ep ortation or             Pu blic Law 101–238. No ap p eal lies
action for h abeas corp u s is gran ted by a      rem oval p roceed in gs, h is or h er                from th e d en ial of an ap p lication by th e
Fed eral cou rt on ju d icial review .            ap p lication for ad ju stm en t of statu s          d irector, bu t th e ap p lican t, if n ot an
   (iii) Ex em p tion s. Th is p roh ibition      u n d er section 245 of th e Act or section          arrivin g alien , retain s th e righ t to ren ew
sh all n o lon ger ap p ly if:                    1 of th e Act of Novem ber 2, 1966 sh all            h is or h er ap p lication in p roceed in gs
   (A) Th e alien is fou n d n ot to be           be m ad e an d con sid ered on ly in th ose          u n d er 8 CFR p art 240. Also, an
in ad m issible or d ep ortable from th e         p roceed in gs. An arrivin g alien , oth er          ap p lican t w h o is a p arolee an d m eets
Un ited States;                                   th an an alien in rem oval p roceed in gs,           th e tw o con d ition s d escribed in
   (B) Form I–122, I–221, I–860, or I–            w h o believes h e or sh e m eets th e               § 245.2(a)(1) m ay ren ew a d en ied
862, is can celed ;                               eligibility requ irem en ts of section 245 of        ap p lication in p roceed in gs u n d er 8 CFR
   (C) Proceed in gs are term in ated by th e     th e Act or section 1 of th e Act of                 p art 240 to d eterm in e ad m issibility. At
im m igration ju d ge or th e Board of            Novem ber 2, 1966, an d § 245.1 sh all               th e tim e of ren ew al of ap p lication , an
Im m igration Ap p eals;                          ap p ly to th e d irector h avin g ju risd iction    ap p lican t d oes n ot n eed to m eet th e
   (D) A p etition for review or an action        over h is or h er p lace of arrival. An              statu tory requ irem en t of section 245(c)
for h abeas corp u s is gran ted by a             ad ju stm en t ap p lication by an alien             of th e Act, or § 245.1(g), if, in fact, th ose
Fed eral cou rt on ju d icial review ;            p aroled u n d er section 212(d )(5) of th e         requ irem en ts w ere m et at th e tim e th e
   (E) Th e alien h as resid ed ou tsid e th e    Act, w h ich h as been d en ied by th e              ren ew ed ap p lication w as in itially filed
Un ited States for 2 or m ore years               Director, m ay be ren ew ed in rem oval              w ith th e d irector. Noth in g in th is
follow in g th e m arriage; or                    p roceed in gs u n d er 8 CFR p art 240 on ly        section sh all en title an alien to
   (F) Th e alien establish es th e m arriage     if:                                                  p roceed in gs u n d er section 240 of th e
is bon a fid e by p rovid in g clear an d             (i) Th e d en ied ap p lication m u st h ave     Act w h o is n ot oth erw ise so en titled .
con vin cin g evid en ce th at th e m arriage     been p rop erly filed su bsequ en t to th e             (iii) Un d er th e A ct of N ovem ber 2,
w as en tered in to in good faith an d in         ap p lican t’s earlier in sp ection an d             1966. If th e ap p lication is ap p roved , th e
accord an ce w ith th e law s of th e p lace      ad m ission to th e Un ited States; an d             ap p lican t’s p erm an en t resid en ce sh all
w h ere th e m arriage took p lace, w as n ot         (ii) Th e ap p lican t’s later absen ce from     be record ed in accord an ce w ith th e
en tered in to for th e p u rp ose of             an d retu rn to th e Un ited States w as             p rovision s of section 1. No ap p eal lies
p rocu rin g th e alien ’s en try as an           u n d er th e term s of an ad van ce p arole         from th e d en ial of an ap p lication by th e
im m igran t, an d n o fee or oth er              au th orization on Form I–512 gran ted to            d irector, bu t th e ap p lican t, if n ot an
con sid eration w as given (oth er th an to       p erm it th e ap p lican t’s absen ce an d           arrivin g alien , retain s th e righ t to ren ew
an attorn ey for assistan ce in p rep aration     retu rn to p u rsu e th e p reviou sly filed         h is or h er ap p lication in p roceed in gs
of a law fu l p etition ) for th e filin g of a   ad ju stm en t ap p lication .                       u n d er 8 CFR p art 240. Also, an
p etition .                                                                                            ap p lican t w h o is a p arolee an d m eets
                                                  *        *     *      *      *                       th e tw o con d ition s d escribed in
*       *      *     *      *                         (4) * * *
                                                                                                       § 245.2(a)(1) m ay ren ew a d en ied
   (f) Con cu rren t ap p lication s to               (ii) Un d er section 245 of th e A ct. Th e
                                                                                                       ap p lication in p roceed in gs u n d er 8 CFR
overcom e grou n d s of in ad m issibility.       d ep artu re from th e Un ited States of an
                                                                                                       p art 240 to d eterm in e ad m issibility.
Excep t as p rovid ed in 8 CFR p arts 235         ap p lican t w h o is u n d er exclu sion ,
                                                  d ep ortation , or rem oval p roceed in gs           *       *      *     *      *
an d 249, an ap p lication u n d er th is p art                                                           (c) A p p lication u n d er section 214(d )
sh all be th e sole m eth od of requ estin g      sh all be d eem ed an aban d on m en t of th e
                                                  ap p lication con stitu tin g grou n d s for         of th e A ct. An ap p lication for
th e exercise of d iscretion u n d er section s                                                        p erm an en t resid en t statu s p u rsu an t to
212 (g), (h ), (i), an d (k) of th e Act, as      term in ation of th e p roceed in g by reason
                                                                                                       section 214(d ) of th e Act sh all be filed
th ey relate to th e in ad m issibility of an     of th e d ep artu re. Th e d ep artu re of an
                                                                                                       on Form I–485 w ith th e d irector h avin g
alien in th e Un ited States. No fee is           ap p lican t w h o is n ot u n d er exclu sion ,
                                                                                                       ju risd iction over th e ap p lican t’s p lace of
requ ired for filin g an ap p lication to         d ep ortation , or rem oval p roceed in gs
                                                                                                       resid en ce. A sep arate ap p lication sh all
overcom e th e grou n d s of in ad m issibility   sh all be d eem ed an aban d on m en t of h is
                                                                                                       be filed by each ap p lican t. If th e
of th e Act if filed con cu rren tly w ith an     or h er ap p lication con stitu tin g grou n d s
                                                                                                       ap p lication is ap p roved , th e d irector
ap p lication for ad ju stm en t of statu s       for term in ation , u n less th e ap p lican t
                                                                                                       sh all record th e law fu l ad m ission of th e
u n d er th e p rovision s of th e Act of         w as p reviou sly gran ted ad van ce p arole
                                                                                                       ap p lican t as of th e d ate of ap p roval. Th e
October 28, 1977, an d of th is p art.            by th e Service for su ch absen ce, an d
                                                                                                       ap p lican t sh all be n otified of th e
*       *      *     *      *                     w as in sp ected u p on retu rn in g to th e
                                                                                                       d ecision an d , if th e ap p lication is
   116. Section 245.2 is am en d ed by:           Un ited States. If th e ap p lication of an
                                                                                                       d en ied , of th e reason s th erefor. No
   a. Revisin g p aragrap h (a)(1);               in d ivid u al gran ted ad van ce p arole is
                                                                                                       ap p eal sh all lie from th e d en ial of an
   b. Revisin g p aragrap h (a)(4)(ii);           su bsequ en tly d en ied , th e ap p lican t w ill
                                                                                                       ap p lication by th e d irector bu t su ch
   c. Revisin g p aragrap h (a)(5) (ii) an d      be treated as an ap p lican t for ad m ission ,
                                                                                                       d en ial sh all be w ith ou t p reju d ice to th e
(iii); an d by                                    an d su bject to th e p rovision s of section s
                                                                                                       alien ’s righ t to ren ew h is or h er
   d . Revisin g p aragrap h (c), to read as      212 an d 235 of th e Act.
                                                                                                       ap p lication in p roceed in gs u n d er 8 CFR
follow s:                                         *        *     *      *      *                       p art 240.
                                                      (5) * * *                                           117. Section 245.5 is am en d ed by
§ 245.2 Application.                                  (ii) Un d er section 245 of th e A ct. If th e   revisin g th e first sen ten ce to read as
   (a) Gen eral. (1) Ju risd iction . An alien    ap p lication is ap p roved , th e ap p lican t’s    follow s:
w h o believes h e or sh e m eets th e            p erm an en t resid en ce sh all be record ed
eligibility requ irem en ts of section 245 of     as of th e d ate of th e ord er ap p rovin g th e    § 245.5 Medical examination.
th e Act or section 1 of th e Act of              ad ju stm en t of statu s. An ap p lication for        Pu rsu an t to section 232(b) of th e Act,
Novem ber 2, 1966, an d § 245.1 sh all            ad ju stm en t of statu s, as a p referen ce         an ap p lican t for ad ju stm en t of statu s

                                                                                                                                   AR00510
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 129 of 350 PageID 4722
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                              507

sh all be requ ired to h ave a m ed ical            alien w as establish ed p rior to th e               a p articip an t in Nazi p ersecu tion or
exam in ation by a d esign ated civil               ap p roval of th e p rin cip al’s ad ju stm en t     gen ocid e as d escribed in section
su rgeon , w h ose rep ort settin g forth th e      of statu s ap p lication m ay be accord ed           212(a)(3)(E) of th e Act;
fin d in gs of th e m en tal an d p h ysical        th e d erivative p riority d ate an d                *       *     *      *      *
con d ition of th e ap p lican t, in clu d in g     p referen ce category of th e p rin cip al              (c) W aivers of in ad m issibility. An
com p lian ce w ith section 212(a)(1)(A)(ii)        alien , in accord an ce w ith th e p rovision s      alien seekin g to ad ju st statu s p u rsu an t
of th e Act, sh all be in corp orated in to th e    of section 203(d ) of th e Act. Th e sp ou se        to th e p rovision s of section 101(a)(15)(S)
record .* * *                                       or ch ild m ay u se th e p riority d ate an d        of th e Act m ay n ot be d en ied ad ju stm en t
   118. Section 245.8 is am en d ed by              category w h en it becom es cu rren t, in            of statu s for con d u ct or a con d ition th at:
revisin g p aragrap h (e), to read as               accord an ce w ith th e lim itation s set forth
follow s:                                           in section s 201 an d 202 of th e Act.               *       *     *      *      *
                                                    Person s w h o are u n able to m ain tain               (h ) Rem oval u n d er section 237 of th e
§ 245.8 Adjustment of status as a special           law fu l n on im m igran t statu s in th e           A ct. Noth in g in th is section sh all
immigrant under section 101(a)(27)(K) of the                                                             p reven t an alien ad ju sted p u rsu an t to
                                                    Un ited States an d are n ot im m ed iately
Act.                                                                                                     th e term s of th ese p rovision s from bein g
                                                    eligible to ap p ly for ad ju stm en t of statu s
*      *      *       *    *                        m ay requ est volu n tary d ep artu re               rem oved for con viction of a crim e of
   (e) Rem oval p rovision s of section 237         p u rsu an t to 8 CFR p art 240.                     m oral tu rp itu d e com m itted w ith in 10
of th e A ct. If th e Service is m ad e aw are         120. Section 245.10 is am en d ed by:             years after bein g p rovid ed law fu l
by n otification from th e ap p rop riate              a. Revisin g p aragrap h s (a)(3) an d (6);       p erm an en t resid en ce u n d er th is section
execu tive d ep artm en t or by an y oth er         an d by                                              or for an y oth er grou n d u n d er section
m ean s th at a section 101(a)(27)(K)                  b. Revisin g in trod u ctory text in              237 of th e Act.
sp ecial im m igran t w h o h as alread y been      p aragrap h (b), to read as follow s:                   (i) Den ial of ap p lication . In th e even t
gran ted p erm an en t resid en ce fails to                                                              th e d istrict d ecid es to d en y an
com p lete h is or h er total active d u ty         § 245.10 Adjustment of status upon
                                                    payment of additional sum under Public               ap p lication on Form I–485 an d an
service obligation for reason s oth er th an                                                             ap p roved Form I–854 to allow an S
                                                    Law 103–317.
an h on orable d isch arge, th e alien m ay                                                              n on im m igran t to ad ju st statu s, th e
becom e su bject to th e rem oval                      (a) * * *
                                                       (3) Is n ot in ad m issible from th e             Assistan t Attorn ey Gen eral, Crim in al
p rovision s of section 237 of th e Act,                                                                 Division , an d th e relevan t LEA sh all be
                                                    Un ited States u n d er an y p rovision of
p rovid ed th e alien is in on e or m ore of                                                             n otified in w ritin g to th at effect. Th e
                                                    section 212 of th e Act, or all grou n d s for
th e classes of d ep ortable alien s sp ecified                                                          Assistan t Attorn ey Gen eral, Crim in al
                                                    in ad m issibility h ave been w aived ;
in section 237 of th e Act. Th e Service                                                                 Division , sh all con cu r in or object to
sh all obtain cu rren t Form DD–214,                *       *     *       *      *
                                                       (6) Rem its th e su m sp ecified in               th at d ecision . Un less th e Assistan t
Certificate of Release or Disch arge from                                                                Attorn ey Gen eral, Crim in al Division ,
Active Du ty, from th e ap p rop riate              section 245(i) of th e Act, u n less
                                                    p aym en t of th e su m is w aived u n d er          objects w ith in 7 d ays, h e or sh e sh all be
execu tive d ep artm en t for verification of                                                            d eem ed to h ave con cu rred in th e
th e alien ’s failu re to m ain tain eligibility.   section 245(i) of th e Act; an d
                                                    *       *     *       *      *                       d ecision . In th e even t of an objection by
*      *      *       *    *                                                                             th e Assistan t Attorn ey Gen eral,
   119. Section 245.9 is am en d ed by                 (b) Paym en t of ad d ition al su m . An
                                                    ap p lican t filin g u n d er th e p rovision s of   Crim in al Division , th e m atter w ill be
revisin g p aragrap h s (d ) an d (m ), to read                                                          exp ed itiou sly referred to th e Dep u ty
as follow s:                                        section 245(i) of th e Act m u st p ay th e
                                                    stan d ard ad ju stm en t of statu s filin g fee,    Attorn ey Gen eral for a fin al resolu tion .
§ 245.9 Adjustment of Status of Certain             as sh ow n on Form I–485 an d con tain ed            In n o circu m stan ces sh all th e alien or
Nationals of the People’s Republic of China         in § 103.7(b)(1) of th is ch ap ter. Th e            th e relevan t LEA h ave a righ t of ap p eal
under Public Law 102–404.                           ap p lican t m u st also p ay th e ad d ition al     from an y d ecision to d en y. A d en ial of
*       *     *      *     *                        su m sp ecified in section 245(i) of th e            an ad ju stm en t ap p lication u n d er th is
   (d ) W aivers of in ad m issibility u n d er     Act, u n less at th e tim e th e ap p lication       p aragrap h m ay n ot be ren ew ed in
section 212(a) of th e A ct. An ap p lican t        for ad ju stm en t of statu s is filed , th e        su bsequ en t rem oval p roceed in gs.
for th e ben efits of th e ad ju stm en t of        alien is:
statu s p rovision s of Pu b. L. 102–404 is                                                              PART 246—RESCISSION OF
                                                    *       *     *       *      *                       ADJUSTMENT OF STATUS
au tom atically exem p ted from                        121. Section 245.11 is am en d ed by:
com p lian ce w ith th e requ irem en ts of            a. Revisin g p aragrap h (a)(4)(ii)(B);             122. Th e au th ority citation for p art
section s 212(a)(5) an d 212(a)(7)(A) of               b. Revisin g p aragrap h (b)(1)(iii);             246 is revised to read as follow s:
th e Act. A Pu b. L. 102–404 ap p lican t              c. Revisin g th e in trod u ctory text in
m ay also ap p ly for on e or m ore w aivers        p aragrap h (c); an d by                               Authority: 8 U.S.C. 1103, 1254, 1255, 1256,
                                                       d . Revisin g p aragrap h s (h ) an d (i), to     1259; 8 CFR p art 2.
of in ad m issibility u n d er section 212(a)
of th e Act, excep t for in ad m issibility         read as follow s:
                                                                                                         § 246.8 [Removed]
u n d er section 212(a)(2)(C), 212(a)(3)(A),        § 245.11 Adjustment of aliens in S
212(a)(3)(B), 212(a)(3)(C) or 212(a)(3)(E)                                                                 123. Section 246.8 is rem oved .
                                                    nonimmigrant classification.
of th e Act.                                           (a) * * *                                         PART 248—CHANGE OF
*       *     *      *     *                           (4) * * *                                         NONIMMGRANT CLASSIFICATION
   (m ) Effect of en actm en t on fam ily              (ii) * * *
m em bers oth er th an qu alified fam ily              (B) Be ad m issible to th e Un ited States          124. Th e au th ority citation for p art
m em bers. Th e ad ju stm en t of statu s           as an im m igran t, u n less th e grou n d of        248 con tin u es to read as follow s:
ben efits an d w aivers p rovid ed by Pu b.         in ad m issibility h as been w aived ;
                                                                                                           Authority: 8 U.S.C. 1101, 1103, 1184, 1187,
L. 102–404 d o n ot ap p ly to a sp ou se or        *       *     *     *     *                          1258; 8 CFR p art 2.
ch ild w h o is n ot a qu alified fam ily              (b) * * *
m em ber as d efin ed in p aragrap h (c) of            (1) * * *                                           125. Section 248.1 is am en d ed by
th is section . How ever, a sp ou se or ch ild         (iii) Th e fam ily m em ber is n ot               revisin g p aragrap h (b)(4) to read as
w h ose relation sh ip to th e p rin cip al         in ad m issible from th e Un ited States as          follow s:

                                                                                                                                    AR00511
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                         Page 130 of 350 PageID 4723
508                    Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

§ 248.1 Eligibility.                                  (2) Lon gsh ore work n otation s. Th e           w orkers in th e p ort an d an attestation
*     *     *     *       *                        m aster or agen t of th e vessel sh all             h as been filed w ith th e Secretary of
  (b) * * *                                        in d icate in w ritin g im m ed iately below        Labor;
  (4) Th e alien is n ot th e su bject of          th e n am e of th e alien listed on th e Form          (C) An attestation th at w as p reviou sly
rem oval p roceed in gs u n d er 8 CFR p art       I–418 w h eth er or n ot crew m en aboard           filed is still valid an d th e con tin u es to
240.                                               th e vessel w ill be u sed to p erform              com p ly w ith th e con d ition s stated in
*     *     *     *       *                        lon gsh ore w ork at an y Un ited States            th at attestation ; or
                                                   p ort before th e vessel d ep arts th e Un ited        (D) Th e lon gsh ore w ork con sists of
PART 249—CREATION OF RECORDS                       States.                                             op eratin g an au tom ated , self-u n load in g
OF LAWFUL ADMISSION FOR                               (i) If n o lon gsh ore w ork w ill be            con veyor belt or a vacu u m -actu ated
PERMANENT RESIDENCE                                p erform ed , n o fu rth er n otation regard in g   system .
                                                   lon gsh ore w ork is requ ired .                       (v) If lon gsh ore w ork w ill be
  126. Th e au th ority citation for p art            (ii) If lon gsh ore w ork w ill be               p erform ed u n d er th e recip rocity
249 is revised to read as follow s:                p erform ed , th e m aster or agen t sh all         excep tion , th e m aster or agen t sh all n ote
  Authority: 8 U.S.C. 1103, 1182, 1259; 8          n ote w h ich excep tion listed in section          on th e m an ifest th at th e w ork w ill be
CFR p art 2.                                       258 of th e Act p erm its th e w ork. Th e          d on e u n d er th e recip rocity excep tion ,
   127. Section 249.2 is am en d ed by             excep tion s are:                                   an d w ill n ote th e n ation ality of th e
revisin g th e first sen ten ce in p aragrap h        (A) Th e h azard ou s cargo excep tion ;         vessel’s registry an d th e n ation ality or
(a) an d by revisin g p aragrap h (b), to read        (B) Th e p revailin g p ractice excep tion       n ation alities of th e h old ers of a m ajority
as follow s:                                       in accord an ce w ith a p ort’s collective          of th e ow n ersh ip in terest in th e vessel.
                                                   bargain in g agreem en ts;                             (3) Ex cep tion for certain Great Lak es
§ 249.2 Application.                                  (C) Th e p revailin g p ractice excep tion       vessels. (i) A m an ifest sh all n ot be
   (a) Ju risd iction . An ap p lication by an     in a p ort w h ere th ere is n o collective         requ ired for a vessel of Un ited States,
alien , oth er th an an arrivin g alien , w h o    bargain in g agreem en t, bu t for w h ich th e     Can ad ian , or British registry en gaged
h as been served w ith a n otice to ap p ear       vessel files an attestation ;                       solely in traffic on th e Great Lakes or th e
or w arran t of arrest sh all be con sid ered         (D) Th e p revailin g p ractice excep tion       St. Law ren ce River an d con n ectin g
on ly in p roceed in gs u n d er 8 CFR p art       for au tom ated vessels; an d                       w aterw ays, h erein d esign ated as a Great
240. * * *                                            (E) Th e recip rocity excep tion .               Lakes vessel, u n less:
   (b) Decision . Th e ap p lican t sh all be         (iii) If lon gsh ore w ork w ill be                 (A) Th e vessel em p loys n on im m igran t
n otified of th e d ecision an d , if th e         p erform ed u n d er th e h azard ou s cargo        crew m en w h o w ill d o lon gsh ore w ork at
ap p lication is d en ied , of th e reason s       excep tion , th e vessel m u st eith er be a        a p ort in th e Un ited States; or
th erefor. If th e ap p lication is gran ted , a   tan ker or be tran sp ortin g d ry bu lk cargo         (B) Th e vessel em p loys crew m en of
Form I–551, sh ow in g th at th e ap p lican t     th at qu alifies as h azard ou s. All tan kers      oth er th an Un ited States, Can ad ian , or
h as acqu ired th e statu s of an alien            qu alify for th e h azard ou s cargo                British citizen sh ip .
law fu lly ad m itted for p erm an en t            excep tion , excep t for a tan ker th at h as          (ii) In eith er situ ation , th e m aster sh all
resid en ce, sh all n ot be issu ed u n til th e   been gas-freed to load n on -h azard ou s           n ote th e m an ifest in th e m an n er
ap p lican t su rren d ers an y oth er             d ry bu lk com m od ities.                          p rescribed in p aragrap h (a)(2) of th is
d ocu m en t in h is or h er p ossession              (A) To in voke th e excep tion for               section .
evid en cin g com p lian ce w ith th e alien       tan kers, th e m aster or agen t sh all n ote          (iii) After su bm ission of a m an ifest on
registration requ irem en ts of form er or         on th e m an ifest th at th e vessel is a           th e first voyage of a calen d ar year, a
existin g law . No ap p eal sh all lie from        qu alifyin g tan ker.                               m an ifest sh all n ot be requ ired on
th e d en ial of an ap p lication by th e             (B) If th e vessel is tran sp ortin g d ry       su bsequ en t arrivals u n less a
d istrict d irector. How ever, an alien ,          bu lk h azard ou s cargo, th e m aster or           n on im m igran t crew m an of oth er th an
oth er th an an arrivin g alien , m ay ren ew      agen t sh all n ote on th e m an ifest th at th e   Can ad ian or British citizen sh ip is
th e d en ied ap p lication in p roceed in gs      vessel’s d ry bu lk cargo is h azard ou s an d      em p loyed on th e vessel w h o w as n ot
u n d er 8 CFR p art 240.                          sh all sh ow th e im m igration officer th e        aboard an d listed on th e last p rior
                                                   d an gerou s cargo m an ifest th at is sign ed      m an ifest, or a ch an ge h as occu rred
PART 251—ARRIVAL MANIFESTS AND                     by th e m aster or an au th orized                  regard in g th e p erform an ce of lon gsh ore
LISTS: SUPPORTING DOCUMENTS                        rep resen tative of th e ow n er, an d th at        w ork in th e Un ited States by
                                                   u n d er 46 CFR 148.02 m u st be kep t in a         n on im m igran t crew m en , or a ch an ge h as
  128. Th e au th ority citation for p art         con sp icu ou s p lace n ear th e brid ge           occu rred in th e excep tion th at th e
251 is revised to read as follow s:                h ou se.                                            m aster or agen t of th e vessel w ish es to
  Authority: 8 U.S.C. 1103, 1182, 1221, 1281,         (iv) If lon gsh ore w ork w ill be               in voke w h ich w as n ot n oted on th e last
1282, 8 CFR p art 2.                               p erform ed u n d er th e p revailin g p ractice    p rior m an ifest.
  129. Section 251.1 is revised to read            excep tion , th e m aster or agen t sh all n ote       (4) Th e m aster or agen t of a vessel th at
as follow s:                                       on th e m an ifest each p ort at w h ich            on ly bu n kers at a Un ited States p ort en
                                                   lon gsh ore w ork w ill be p erform ed u n d er     rou te to an oth er Un ited States p ort sh all
§ 251.1 Arrival manifests and lists.               th is excep tion . Ad d ition ally, for each        an n otate Form I–418 p resen ted at th e
   (a) V essels. (1) Gen eral. Th e m aster or     p ort th e m aster or agen t sh all n ote eith er   on w ard p ort to in d icate th e tim e, d ate,
agen t of every vessel arrivin g in th e           th at:                                              an d p lace of bu n kerin g.
Un ited States from a foreign p lace or an            (A) Th e p ractice of n on im m igran t             (5) If d ocu m en tation is requ ired to
ou tlyin g p ossession of th e Un ited States      crew m en d oin g lon gsh ore w ork is in           su p p ort an excep tion , as d escribed in
sh all p resen t to th e im m igration officer     accord an ce w ith all collective                   § 258.2 of th is ch ap ter, it m u st
at th e p ort w h ere th e im m igration           bargain in g agreem en ts coverin g 30              accom p an y th e m an ifest.
in sp ection is p erform ed a m an ifest of all    p ercen t or m ore of th e lon gsh ore                 (b) A ircraft. Th e cap tain or agen t of
crew m en on board on Form I–418,                  w orkers in th e p ort;                             every aircraft arrivin g in th e Un ited
Passen ger List an d Crew List, in                    (B) Th e p ort h as n o collective               States from a foreign p lace or from an
accord an ce w ith th e in stru ction s            bargain in g agreem en t coverin g 30               ou tlyin g p ossession of th e Un ited States,
con tain ed th ereon .                             p ercen t or m ore of th e lon gsh ore              excep t an aircraft arrivin g in th e Un ited

                                                                                                                                   AR00512
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                            Page 131 of 350 PageID 4724
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                               509

States d irectly from Can ad a on a fligh t          circu m stan ces an d tim e of su ch illegal        total n u m ber of Un ited States citizen
origin atin g in th at cou n try, sh all p resen t   lan d in g or d esertion of su ch alien             crew m em bers.
to th e im m igration officer at th e p ort          crew m an , an d fu rn ish an y oth er                 (b) N otification of ch an ges in
w h ere th e in sp ection is p erform ed a           in form ation an d d ocu m en ts th at m igh t      em p loym en t for aircraft. Th e agen t of
m an ifest on Un ited States Cu stom s               aid in h is or h er ap p reh en sion ,              th e air tran sp ortation lin e sh all
Service Form 7507 or on th e                         in clu d in g an y p assp ort su rren d ered        im m ed iately n otify in w ritin g th e
In tern ation al Civil Aviation                      p u rsu an t to § 252.1(d ) of th is ch ap ter.     n earest im m igration office of th e
Organ ization ’s Gen eral Declaration of all         Failu re to file n otice of illegal lan d in g      term in ation of em p loym en t in th e
th e alien crew m em bers on board ,                 or d esertion an d to fu rn ish an y                Un ited States of each alien em p loyee of
in clu d in g alien crew m em bers w h o are         su rren d ered p assp ort w ith in 24 h ou rs of    th e lin e fu rn ish in g th e n am e, birth d ate,
retu rn in g to th e Un ited States after            th e tim e of su ch lan d in g or d esertion        birth p lace, n ation ality, p assp ort
takin g an aircraft of th e sam e lin e from         becom es kn ow n sh all be regard ed as             n u m ber, an d oth er available in form ation
th e Un ited States to a foreign p lace or           lack of com p lian ce w ith section 251(d )         con cern in g su ch alien . Th e p roced u re to
alien crew m em bers w h o are en terin g th e       of th e Act.                                        follow in obtain in g p erm ission to p ay
Un ited States as p assen gers solely for               131. Section 251.3 is revised to read            off or d isch arge an alien crew m an in th e
th e p u rp ose of takin g an aircraft of th e       as follow s:                                        Un ited States after in itial im m igration
sam e lin e from th e Un ited States to a                                                                in sp ection , oth er th an an alien law fu lly
foreign p ort. Th e cap tain or agen t of an         § 251.3 Departure manifests and lists for           ad m itted for p erm an en t resid en ce, is set
aircraft th at on ly refu els at th e Un ited        vessels.
                                                                                                         forth in § 252.1(f) of th is ch ap ter.
States en rou te to an oth er Un ited States            (a) Form I–418, Passen ger List-Crew                133. Section 251.5 is revised to read
p ort m u st an n otate th e m an ifest              List. Th e m aster or agen t of every vessel        as follow s:
p resen ted at th e on w ard p ort to in d icate     d ep artin g from th e Un ited States sh all
th e tim e, d ate, an d p lace of refu elin g.       su bm it to th e im m igration officer at th e      § 251.5 Exemptions for private vessels and
                                                     p ost from w h ich su ch vessel is to d ep art      aircraft.
Th e su rn am e, given n am e, an d m id d le
in itial of each alien crew m an listed also         d irectly to som e foreign p lace or                   Th e p rovision s of th is p art relatin g to
sh all be sh ow n on th e m an ifest. In             ou tlyin g p ossession of th e Un ited States,      su bm ission of arrival an d d ep artu re
ad d ition , th e cap tain or agen t of th e         excep t w h en a m an ifest is n ot requ ired       m an ifests an d lists sh all n ot ap p ly to a
aircraft sh all in d icate th e total n u m ber      p u rsu an t to § 251.1(a), a sin gle Form I–       p rivate vessel or a p rivate aircraft n ot
of Un ited States citizen crew m em bers             418 com p leted in accord an ce w ith th e          en gaged d irectly or in d irectly in th e
an d total n u m ber of alien crew m em bers.        in stru ction s on th e form . Su bm ission of      carriage of p erson s or cargo for h ire.
   (c) A d d ition al d ocu m en ts. Th e            a Form I–418 th at lacks an y requ ired
m aster, cap tain , or agen t sh all p rep are       en d orsem en t sh all be regard ed as lack of      PART 252—LANDING OF ALIEN
as a p art of th e m an ifest, w h en on e is        com p lian ce w ith section 251(c) of th e          CREWMEN
requ ired for p resen tation to an                   Act.                                                  134. Th e au th ority citation for p art
im m igration officer, a com p letely                   (b) Ex cep tion for certain Great Lak es         252 is revised to read as follow s:
execu ted set of Form s I–95, Con d ition al         vessels. Th e requ ired list n eed n ot be
                                                     su bm itted for Can ad ian or British                 Authority: 8 U.S.C. 1103, 1184, 1258,
Lan d in g Perm it, for each n on im m igran t
                                                     crew m em bers of Great Lakes vessels               1281, 1282; 8 CFR p art 2.
alien crew m an on board , excep t:
   (1) A Can ad ian or British citizen               d escribed in § 251.1(a)(3).                          135. Section 252.1 is am en d ed by
crew m an servin g on a vessel p lyin g                 132. Section 251.4 is revised to read            revisin g p aragrap h s (a) th rou gh (c) to
solely betw een Can ad a an d th e Un ited           as follow s:                                        read as follow s:
States; or
                                                     § 251.4 Departure manifests and lists for           § 252.1 Examination of crewmen.
   (2) A n on im m igran t crew m an w h o is
                                                     aircraft.                                              (a) Deten tion p rior to ex am in ation .
in p ossession of an u n m u tilated Form I–
184, Alien Crew m an Lan d in g Perm it                 (a) Un ited S tates Cu stom s S ervice           All p erson s em p loyed in an y cap acity
an d Id en tification Card , or an                   Form 7507 or In tern ation al Civil                 on board an y vessel or aircraft arrivin g
u n m u tilated Form I–95 w ith sp ace for           A viation Organ iz ation ’s Gen eral                in th e Un ited States sh all be d etain ed on
ad d ition al en d orsem en ts p reviou sly          Declaration . Th e cap tain or agen t of            board th e vessel or at th e airp ort of
issu ed to h im or h er as a m em ber of th e        every aircraft d ep artin g from th e Un ited       arrival by th e m aster or agen t of su ch
crew of th e sam e vessel or an aircraft of          States for a foreign p lace or an ou tlyin g        vessel or aircraft u n til ad m itted or
th e sam e lin e on h is or h er last p rior         p ossession of th e Un ited States, excep t         oth erw ise p erm itted to lan d by an
arrival in th e Un ited States, follow in g          on a fligh t d ep artin g for an d term in atin g   officer of th e Service.
w h ich h e or sh e d ep arted from th e             in Can ad a, sh all su bm it to th e                   (b) Classes of alien s su bject to
Un ited States as a m em ber of th e crew            im m igration officer at th e p ort from            ex am in ation u n d er th is p art. Th e
of th e sam e vessel or an aircraft of th e          w h ich su ch aircraft is to d ep art a             exam in ation of every n on im m igran t
sam e lin e.                                         com p leted Un ited States Cu stom s                alien crew m an arrivin g in th e Un ited
   130. Section 251.2 is revised to read             Service Form 7507 or th e In tern ation al          States sh all be in accord an ce w ith th is
as follow s:                                         Civil Aviation Organ ization ’s Gen eral            p art excep t th at th e follow in g classes of
                                                     Declaration . Th e form sh all con tain a           p erson s em p loyeed on vessels or aircraft
§ 251.2 Notification of illegal landings.            list of all alien crew m en on board ,              sh all be exam in ed in accord an ce w ith
   As soon as d iscovered , th e m aster or          in clu d in g alien crew m en w h o arrived in      th e p rovision s of 8 CFR p arts 235 an d
agen t of an y vessel from w h ich an alien          th e Un ited States as crew m en on an              240:
crew m an h as illegally lan d ed or                 aircraft of th e sam e lin e an d w h o are            (1) Can ad ian or British citizen
d eserted in th e Un ited States sh all              d ep artin g as p assen gers. Th e su rn am e,      crew m en servin g on vessels p lyin g
in form th e im m igration officer in ch arge        given n am e, an d m id d le in itial of each       solely betw een Can ad a an d th e Un ited
of th e p ort w h ere th e illegal lan d in g or     su ch alien crew m an listed sh all be              States; or
d esertion occu rred , in w ritin g, or th e         sh ow n . In ad d ition , th e cap tain or agen t      (2) Can ad ian or British citizen
n am e, n ation ality, p assp ort n u m ber an d ,   of th e craft sh all in d icate th e total          crew m en of aircraft arrivin g in a State
if kn ow n , th e p erson al d escrip tion ,         n u m ber of alien crew m em bers an d th e         of th e Un ited States d irectly from

                                                                                                                                     AR00513
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                         Page 132 of 350 PageID 4725
510                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

Can ad a on fligh ts origin atin g in th at         rem oved w ith in 5 years of th e d ate of         su rren d ered to an im m igration officer.
cou n try. Th e crew of a vessel arrivin g at       lan d in g, rem oval of th e crew m an sh all      No ap p eal sh all lie from th e revocation
a Un ited States p ort th at m ay n ot              be at th e exp en se of th e ow n er of th e       of Form I–184.
requ ire in sp ection by or clearan ce from         vessel. In th e case of a crew m an ord ered          139. Section 252.5 is revised to read
th e Un ited States Cu stom s Service is,           rem oved m ore th an 5 years after th e            as follow s:
n everth eless, su bject to exam in ation           d ate of lan d in g, rem oval sh all be at th e
u n d er th is p art; h ow ever, th e m aster of    exp en se of th e ap p rop riation for th e        § 252.5 Special procedures for deserters
su ch a vessel is n ot requ ired to p resen t       en forcem en t of th e Act.                        from Spanish or Greek ships of war.
Form I–95 for an y crew m an w h o is n ot             137. Section 252.3 is revised to read              (a) Gen eral. Un d er E.O. 11267 of
an ap p lican t for a con d ition al lan d in g     as follow s:                                       Jan u ary 19, 1966 (31 FR 807) an d 28
p erm it.                                                                                              CFR 0.109, an d E.O. 11300 of Au gu st 17,
   (c) Requ irem en ts for lan d in g p erm its.    § 252.3 Great Lakes vessels and tugboats           1966 (31 FR 11009), an d 28 CFR 0.110,
Every alien crew m an ap p lyin g for               arriving in the United States from Canada;
                                                                                                       th e Com m ission er an d im m igration
                                                    special procedures.
lan d in g p rivileges in th e Un ited States                                                          officers (as d efin ed in § 103.1(j) of th is
m u st m ake h is or h er ap p lication in             (a) Un ited S tates vessels an d tu gboats.     ch ap ter) are d esign ated as ‘‘com p eten t
p erson before an im m igration officer,            An im m igration exam in ation sh all n ot         n ation al au th orities’’ on th e p art of th e
p resen t w h atever d ocu m en ts are              be requ ired of an y crew m an aboard a            Un ited States w ith in th e m ean in g of
requ ired , be p h otograp h ed an d                Great Lakes vessel of Un ited States               Article XXIV of th e 1903 Treaty of
fin gerp rin ted as th e d istrict d irector m ay   registry or a tu gboat of Un ited States           Frien d sh ip an d Gen eral Relation s
requ ire, an d establish to th e satisfaction       registry arrivin g from Can ad a at a p ort        betw een th e Un ited States an d Sp ain (33
of th e im m igration officer th at h e or sh e     of th e Un ited States w h o h as been             Stat. 2105, 2117), an d ‘‘local
is n ot in ad m issible u n d er an y p rovision    exam in ed an d ad m itted by an                   au th orities’’ an d ‘‘com p eten t officers’’
of th e law an d is en titled clearly an d          im m igration officer as a m em ber of th e        on th e p art of th e Un ited States w ith in
beyon d d ou bt to lan d in g p rivileges in        crew of th e sam e vessel or tu gboat or of        th e m ean in g of Article XIII of th e
th e Un ited States.                                an y oth er vessel or tu gboat of th e sam e       Con ven tion betw een th e Un ited States
   136. Section 252.2 is revised to read            com p an y d u rin g th e cu rren t calen d ar     an d Greece (33 Stat. 2122, 2131).
as follow s:                                        year.                                                 (b) A p p lication for restoration . On
                                                       (b) Can ad ian or British vessels or            ap p lication of a Con su l Gen eral, Con su l,
§ 252.2 Revocation of conditional landing           tu gboats. An alien crew m an n eed n ot be
permits; removal.                                                                                      Vice-Con su l, or Con su lar-Agen t of th e
                                                    p resen ted for in sp ection if th e alien         Sp an ish or Greek Govern m en t, m ad e in
   (a) Revocation an d rem oval wh ile              crew m an :
vessel is in th e Un ited S tates. A                                                                   w ritin g p u rsu an t to Article XXIV of th e
                                                       (1) Serves aboard a Great Lakes vessel          treaty, or Article XIII of th e Con ven tion ,
crew m an w h ose lan d in g p erm it is            of Can ad ian or British registry or aboard
su bject to revocation p u rsu an t to section                                                         resp ectively, stip u latin g for th e
                                                    a tu gboat of Can ad ian or British registry       restoration of crew m en d esertin g,
252(b) of th e Act m ay be taken in to              arrivin g at a Un ited States p ort-of-en try
cu stod y by an y im m igration officer                                                                statin g th at th e p erson n am ed th erein
                                                    from Can ad a;                                     h as d eserted from a sh ip of w ar of th at
w ith ou t a w arran t of arrest an d be               (2) Seeks ad m ission for a p eriod of
tran sferred to th e vessel of arrival, if th e                                                        govern m en t, w h ile in an y p ort of th e
                                                    less th an 29 d ays;                               Un ited States, an d on p roof by th e
vessel is in an y p ort in th e Un ited States         (3) Has, d u rin g th e cu rren t calen d ar
an d h as n ot d ep arted foreign sin ce th e                                                          exh ibition of th e register, crew list, or
                                                    year, been in sp ected an d ad m itted by an
crew m an w as issu ed h is or h er                                                                    official d ocu m en ts of th e vessel, or a
                                                    im m igration officer as a m em ber of th e
con d ition al lan d in g p erm it. Deten tion                                                         cop y or extract th erefrom , d u ly certified ,
                                                    crew of th e sam e vessel or tu gboat, or
an d rem oval of th e crew m an sh all be at                                                           th at th e p erson n am ed belon ged , at th e
                                                    of an y oth er vessel or tu gboat of th e
th e exp en se of th e tran sp ortation lin e on                                                       tim e of d esertion , to th e crew of su ch
                                                    sam e com p an y;
w h ich th e crew m an arrived . Rem oval                                                              vessel, su ch p erson sh all be taken in to
                                                       (4) Is eith er a British or Can ad ian
m ay be effected on th e vessel of arrival                                                             cu stod y by an y im m igration officer
                                                    citizen or is in p ossession of a valid
or, if th e m aster of th e vessel h as                                                                w ith ou t a w arran t of arrest. Written
                                                    Form I–95 p reviou sly issu ed to h im or
requ ested in w ritin g, by altern ate m ean s                                                         n otification of ch arges sh all be served
                                                    h er as a m em ber of th e crew of th e sam e
if rem oval on th e vessel of arrival is                                                               on th e alien w h en h e or sh e is taken in to
                                                    vessel or tu gboat, or of an y vessel or
im p ractical.                                                                                         cu stod y or as soon as p ractical
                                                    tu gboat of th e sam e com p an y;
   (b) Revocation an d rem oval after                                                                  th ereafter.
                                                       (5) Does n ot requ est or requ ire lan d in g
vessel h as d ep arted th e Un ited S tates. A      p rivileges in th e Un ited States beyon d            (c) Ex am in ation . With in a reason able
crew m an w h o w as gran ted lan d in g            th e tim e th e vessel or tu gboat w ill be in     p eriod of tim e after th e arrest, th e alien
p rivileges p rior to Ap ril 1, 1997, an d          p ort; an d ,                                      sh all be accord ed an exam in ation by th e
w h o h as n ot d ep arted foreign on th e             (6) Will d ep art to Can ad a w ith th e        d istrict d irector, actin g d istrict d irector,
vessel of arrival, or on an oth er vessel or        vessel or tu gboat.                                or th e d ep u ty d istrict d irector h avin g
aircraft if su ch p erm ission w as gran ted           138. Section 252.4 is revised to read           ju risd iction over th e p lace of arrest. Th e
p u rsu an t to § 252.1(f), is su bject to          as follow s:                                       alien sh all be in form ed th at h e or sh e
rem oval p roceed in gs u n d er section 240                                                           m ay h ave th e assistan ce of or be
of th e Act as an alien d ep ortable                § 252.4 Permanent landing permit and               rep resen ted by a cou n sel or
p u rsu an t to section 237(a)(1)(C)(i) of th e     identification card.                               rep resen tative of h is or h er ch oice
Act. A crew m an w h o w as gran ted                   A Form I–184 is valid u n til revoked .         qu alified u n d er 8 CFR p art 292 w ith ou t
lan d in g p rivileges on or after Ap ril 1,        It sh all be revoked w h en an im m igration       exp en se to th e Govern m en t, an d th at h e
1997, an d w h o h as n ot d ep arted foreign       officer fin d s th at th e crew m an is in th e    or sh e m ay p resen t su ch evid en ce in h is
on th e vessel of arrival, or on an oth er          Un ited States in w illfu l violation of th e      or h er beh alf as m ay be relevan t to th is
vessel or aircraft if su ch p erm ission w as       term s an d con d ition s of h is or h er          p roceed in g. If, u p on th e com p letion of
gran ted p u rsu an t to § 252.1(f), sh all be      p erm ission to lan d , or th at h e or sh e is    su ch exam in ation , it is d eterm in ed th at:
rem oved from th e Un ited States w ith ou t        in ad m issible to th e Un ited States. On            (1) Th e in d ivid u al sou gh t by th e
a h earin g. In eith er case, if th e alien is      revocation , th e Form I–184 sh all be             Sp an ish or Greek au th orities h ad

                                                                                                                                  AR00514
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 133 of 350 PageID 4726
                      Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                            511

d eserted from a Sp an ish or Greek sh ip            in th at cou n try on accou n t of race,          p en d in g (in clu d in g an y p eriod w h en an
of w ar in a Un ited States p ort;                   religion , n ation ality, m em bersh ip in a      ad m in istrative ap p eal or ju d icial review
   (2) Th e in d ivid u al actu ally arrested        p articu lar social grou p , or p olitical        is p en d in g) an d sh all exp ire on a
an d d etain ed is th e p erson sou gh t;            op in ion , is eligible to ap p ly for asylu m    sp ecified d ate;
   (3) Th e in d ivid u al is n ot a citizen of      or w ith h old in g of rem oval u n d er 8 CFR    *       *      *       *     *
th e Un ited States; an d                            p art 208. Service officers sh all take              (12) [Reserved ]
   (4) Th e in d ivid u al h ad n ot p reviou sly    p articu lar care to en su re th e p rovision s
been arrested for th e sam e cau se an d set                                                           *       *      *       *     *
                                                     of § 208.5(b) of th is ch ap ter regard in g         (18) An alien again st w h om a fin al
at liberty becau se h e or sh e h ad been            sp ecial d u ties tow ard alien s aboard          ord er of d ep ortation or rem oval exists
d etain ed for m ore th an 3 m on th s, or           certain vessels are closely follow ed .           an d w h o is released on an ord er of
m ore th an 2 m on th s in th e case of a            *      *       *     *     *                      su p ervision u n d er th e au th ority
d eserter from a Greek sh ip of w ar, from
                                                                                                       con tain ed in section 241(a)(3) of th e Act
th e d ay of h is or h er arrest w ith ou t th e     PART 274A—CONTROL OF                              m ay be gran ted em p loym en t
Sp an ish or Greek au th orities h avin g            EMPLOYMENT OF ALIENS                              au th orization in th e d iscretion of th e
fou n d an op p ortu n ity to sen d h im or h er
                                                       142. Th e au th ority citation for p art        d istrict d irector on ly if th e alien can n ot
h om e, th e in d ivid u al sh all be served
                                                     274a con tin u es to read as follow s:            be rem oved d u e to th e refu sal of all
w ith a cop y of th e fin d in gs, from w h ich
                                                                                                       cou n tries d esign ated by th e alien or
n o ap p eal sh all lie, an d be su rren d ered        Authority: 8 U.S.C. 1101, 1103, 1324a; 8        u n d er section 241 of th e Act to receive
forth w ith to th e Sp an ish or Greek               CFR p art 2.
                                                                                                       th e alien , or becau se th e rem oval of th e
au th orities if th ey are p rep ared to                143. Section 274a.12 is am en d ed by:         alien is oth erw ise im p racticable or
rem ove h im or h er from th e Un ited                  a. Revisin g p aragrap h s (a)(10) an d        con trary to th e p u blic in terest.
States. On w ritten requ est of th e                 (12);                                             Ad d ition al factors w h ich m ay be
Sp an ish or Greek au th orities, th e                  b. Revisin g p aragrap h s (c)(8) an d (10);   con sid ered by th e d istrict d irector in
in d ivid u al sh all be d etain ed , at th eir         c. Rem ovin g an d reservin g p aragrap h      ad ju d icatin g th e ap p lication for
exp en se, for a p eriod n ot exceed in g 3          (c)(12); an d by                                  em p loym en t au th orization in clu d e, bu t
m on th s or 2 m on th s, resp ectively, from           d . Revisin g p aragrap h (c)(18), to read     are n ot lim ited to, th e follow in g:
th e d ay of arrest to afford op p ortu n ity to     as follow s:                                         (i) Th e existen ce of econ om ic
arran ge for h is or h er d ep artu re from th e                                                       n ecessity to be em p loyed ;
Un ited States.                                      § 274a.12 Classes of aliens authorized to
                                                     accept employment.
                                                                                                          (ii) Th e existen ce of a d ep en d en t
   (d ) T im ely d ep artu re n ot effected . If                                                       sp ou se an d / or ch ild ren in th e Un ited
th e Sp an ish au th orities d elay in sen d in g       (a) * * *                                      States w h o rely on th e alien for su p p ort;
th e in d ivid u al h om e for m ore th an 3            (10) An alien gran ted w ith h old in g of     an d
m on th s, or if th e Greek au th orities d elay     d ep ortation or rem oval for th e p eriod of        (iii) Th e an ticip ated len gth of tim e
in sen d in g th e in d ivid u al h om e for m ore   tim e in th at statu s, as evid en ced by an      before th e alien can be rem oved from
th an 2 m on th s, from th e d ay of h is or         em p loym en t au th orization d ocu m en t       th e Un ited States.
h er arrest, th e in d ivid u al sh all be d ealt    issu ed by th e Service;
                                                                                                       *       *      *       *     *
w ith as an y oth er alien u n law fu lly in         *       *      *     *      *
th e Un ited States u n d er th e rem oval              (12) An alien gran ted Tem p orary             PART 286—IMMIGRATION USER FEE
p rovision s of th e Act, as am en d ed .            Protected Statu s u n d er section 244 of
   (e) Com m ission of crim e. If th e               th e Act for th e p eriod of tim e in th at         144. Th e au th ority citation for p art
in d ivid u al h as com m itted an y crim e or       statu s, as evid en ced by an em p loym en t      286 con tin u es to read as follow s:
offen se in th e Un ited States, h e or sh e         au th orization d ocu m en t issu ed by th e           Authority: 8 U.S.C. 1103, 1356; 8 CFR p art
sh all n ot be p laced at th e d isp osal of th e    Service; or                                       2.
con su l u n til after th e p rop er tribu n al                                                          145. In § 286.9, p aragrap h (b)(3) is
                                                     *       *      *     *      *
h avin g ju risd iction in h is or h er case            (c) * * *                                      revised to read as follow s:
sh all h ave p ron ou n ced sen ten ce, an d            (8) An alien w h o h as filed a com p lete
su ch sen ten ce sh all h ave been execu ted .       ap p lication for asylu m or w ith h old in g     § 286.9 Fee for processing applications
                                                                                                       and issuing documentation at land border
PART 253—PAROLE OF ALIEN                             of d ep ortation or rem oval p u rsu an t to 8    Ports-of-Entry.
CREWMEN                                              CFR p art 208, w h ose ap p lication h as n ot
                                                     been d ecid ed , an d w h o is eligible to        *      *       *    *      *
  140. Th e au th ority citation for p art                                                                (b) * * *
                                                     ap p ly for em p loym en t au th orization
                                                                                                          (3) A Mexican n ation al in p ossession
253 is revised to read as follow s:                  u n d er § 208.7 of th is ch ap ter becau se
                                                                                                       of a valid n on resid en t alien bord er
  Authority: 8 U.S.C. 1103, 1182, 1282, 1283,        th e 150-d ay p eriod set forth in th at
                                                                                                       crossin g card or n on im m igran t B–1/ B–2
1285; 8 CFR p art 2.                                 section h as exp ired . Em p loym en t
                                                                                                       visa w h o is requ ired to be issu ed Form
                                                     au th orization m ay be gran ted accord in g
  141. In § 253.1, p aragrap h (f) is                                                                  I–94, Arrival/ Dep artu re Record ,
                                                     to th e p rovision s of § 208.7 of th is
revised to read as follow s:                                                                           p u rsu an t to § 235.1(f) of th is ch ap ter,
                                                     ch ap ter in in crem en ts to be d eterm in ed
                                                                                                       m u st rem it th e requ ired fee for issu an ce
§ 253.1 Parole.                                      by th e Com m ission er an d sh all exp ire
                                                                                                       of Form I–94 u p on d eterm in ation of
*      *      *      *      *                        on a sp ecified d ate;
                                                                                                       ad m issibility.
   (f) Crewm an , stowaway, or alien                 *       *      *     *      *
                                                                                                       *      *       *    *      *
rem ovable u n d er section 235(c) allegin g            (10) An alien w h o h as filed an
p ersecu tion . An y alien crew m an ,               ap p lication for su sp en sion of                PART 287—FIELD OFFICERS;
stow aw ay, or alien rem ovable u n d er             d ep ortation u n d er section 243 of th e Act    POWERS AND DUTIES
section 235(c) of th e Act w h o alleges             or can cellation of rem oval p u rsu an t to
th at h e or sh e can n ot retu rn to h is or h er   section 240A of th e Act. Em p loym en t            146. Th e au th ority citation for p art
cou n try of n ation ality or last h abitu al        au th orization sh all be gran ted in             287 con tin u es to read as follow s:
resid en ce (if n ot a n ation al of an y            in crem en ts n ot exceed in g on e year            Authority: 8 U.S.C. 1103, 1182, 1225, 1226,
cou n try) becau se of fear of p ersecu tion         d u rin g th e p eriod th e ap p lication is      1251, 1252, 1357; 8 CFR p art 2.


                                                                                                                                   AR00515
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 134 of 350 PageID 4727
512                  Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

  147. Section 287.3 is revised to read             § 287.4 Subpoena.                                       (v) Ad ju d ication s officers;
as follow s:                                        *       *      *      *     *                           (vi) Su p ervisory an d m an agerial
                                                       (d ) In vok in g aid of cou rt. If a w itn ess    p erson n el w h o are resp on sible for
§ 287.3 Disposition of cases of aliens                                                                   su p ervisin g th e activities of th ose
arrested without warrant.
                                                    n eglects to ap p ear an d testify as d irected
                                                    by th e su bp oen a served u p on h im or h er       officers listed above; an d
   (a) Ex am in ation . An alien arrested           in accord an ce w ith th e p rovision s of              (vii) Im m igration officers w h o n eed
w ith ou t a w arran t of arrest u n d er th e      th is section , th e officer or im m igration        th e au th ority to arrest alien s u n d er
au th ority con tain ed in section 287(a)(2)        ju d ge issu in g th e su bp oen a sh all requ est   section 287(a)(2) of th e Act in ord er to
of th e Act w ill be exam in ed by an               th e Un ited States Attorn ey for th e               effectively accom p lish th eir in d ivid u al
officer oth er th an th e arrestin g officer. If    d istrict in w h ich th e su bp oen a w as           m ission s an d w h o are d esign ated ,
n o oth er qu alified officer is read ily           issu ed to rep ort su ch n eglect or refu sal        in d ivid u ally or as a class, by th e
available an d th e takin g of th e alien           to th e Un ited States District Cou rt an d          Com m ission er.
before an oth er officer w ou ld en tail            to requ est su ch cou rt to issu e an ord er            (2) A rrests of p erson s u n d er section
u n n ecessary d elay, th e arrestin g officer,     requ irin g th e w itn ess to ap p ear an d          287(a)(4) of th e A ct for felon ies
if th e con d u ct of su ch exam in ation is a      testify an d to p rod u ce th e books, p ap ers,     regu latin g th e ad m ission or rem oval of
p art of th e d u ties assign ed to h im or h er,   or d ocu m en ts d esign ated in th e                alien s. Th e follow in g im m igration
m ay exam in e th e alien .                         su bp oen a.                                         officers w h o h ave su ccessfu lly
   (b) Determ in ation of p roceed in gs. If           149. In § 287.5, p aragrap h s (b) th rou gh      com p leted basic im m igration law
th e exam in in g officer is satisfied th at        (f) are revised to read as follow s:                 en forcem en t train in g are h ereby
th ere is p rim a facie evid en ce th at th e                                                            au th orized an d d esign ated to exercise
arrested alien w as en terin g, attem p tin g       § 287.5 Exercise of power by immigration             th e arrest p ow er con ferred by section
to en ter, or is p resen t in th e Un ited          officers.                                            287(a)(4) of th e Act an d in accord an ce
States in violation of th e im m igration           *       *      *     *     *                         w ith § 287.8(c):
law s, th e exam in in g officer w ill refer th e      (b) Power an d au th ority to p atrol th e           (i) Bord er p atrol agen ts, in clu d in g
case to an im m igration ju d ge for fu rth er      bord er. Th e follow in g im m igration              aircraft p ilots;
in qu iry in accord an ce w ith 8 CFR p arts        officers w h o h ave su ccessfu lly                     (ii) Sp ecial agen ts;
235, 239, or 240, ord er th e alien                 com p leted basic im m igration law                     (iii) Dep ortation officers;
rem oved as p rovid ed for in section               en forcem en t train in g are h ereby                   (iv) Im m igration in sp ectors;
235(b)(1) of th e Act an d § 235.3(b) of            au th orized an d d esign ated to exercise              (v) Ad ju d ication s officers;
th is ch ap ter, or take w h atever oth er          th e p ow er to p atrol th e bord er con ferred         (vi) Su p ervisory an d m an agerial
action m ay be ap p rop riate or requ ired          by section 287(a)(3) of th e Act:                    p erson n el w h o are resp on sible for
u n d er th e law s or regu lation s ap p licable      (1) bord er p atrol agen ts, in clu d in g        su p ervisin g th e activities of th ose
to th e p articu lar case.                          aircraft p ilots;                                    officers listed above; an d
                                                       (2) Sp ecial agen ts;                                (vii) Im m igration officers w h o n eed
   (c) N otification s an d in form ation .
                                                       (3) Im m igration in sp ectors (seap ort          th e au th ority to arrest p erson s u n d er
Excep t in th e case of an alien su bject to
                                                    op eration s on ly);                                 section 287(a)(4) of th e Act in ord er to
th e exp ed ited rem oval p rovision s of
                                                       (4) Ad ju stm en ts officers an d                 effectively accom p lish th eir in d ivid u al
section 235(b)(1)(A) of th e Act, all alien s
                                                    d ep ortation officers w h en in th e                m ission s an d w h o are d esign ated ,
arrested w ith ou t w arran t an d p laced in
                                                    u n iform of an im m igration in sp ector            in d ivid u ally or as a class, by th e
form al p roceed in gs u n d er section 238 or
                                                    an d p erform in g in sp ection s or                 Com m ission er w ith th e ap p roval of th e
240 of th e Act w ill be ad vised of th e
                                                    su p ervisin g oth er im m igration                  Dep u ty Attorn ey Gen eral.
reason s for h is or h er arrest an d th e righ t
                                                    in sp ectors p erform in g in sp ection s               (3) A rrests of p erson s u n d er section
to be rep resen ted at n o exp en se to th e
                                                    (seap ort op eration s on ly);                       287(a)(5)(A ) of th e A ct for an y offen se
Govern m en t. Th e exam in in g officer w ill         (5) Su p ervisory an d m an agerial               again st th e Un ited S tates. Th e follow in g
p rovid e th e alien w ith a list of th e           p erson n el w h o are resp on sible for             im m igration officers w h o h ave
available free legal services p rovid ed by         su p ervisin g th e activities of th ose             su ccessfu lly com p leted basic
organ ization s an d attorn eys qu alified          officers listed above; an d                          im m igration law en forcem en t train in g
u n d er 8 CFR p art 3 an d organ ization s            (6) Im m igration officers w h o n eed th e       are h ereby au th orized an d d esign ated to
recogn ized u n d er § 292.2 of th is ch ap ter     au th ority to p atrol th e bord er u n d er         exercise th e arrest p ow er con ferred by
th at are located in th e d istrict w h ere th e    section 287(a)(3) of th e Act in ord er to           section 287(a)(5)(A) of th e Act in
h earin g w ill be h eld . Th e exam in in g        effectively accom p lish th eir in d ivid u al       accord an ce w ith § 287.8(c):
officer sh all n ote on Form I–862 th at            m ission s an d w h o are d esign ated ,                (i) Bord er p atrol agen ts, in clu d in g
su ch a list w as p rovid ed to th e alien .        in d ivid u ally or as a class, by th e              aircraft p ilots;
Th e officer w ill also ad vise th e alien          Com m ission .                                          (ii) Sp ecial agen ts;
th at an y statem en t m ad e m ay be u sed            (c) Power an d au th ority to arrest. (1)            (iii) Dep ortation officers;
again st h im or h er in a su bsequ en t            A rrests of alien s u n d er section 287(a)(2)          (iv) Im m igration in sp ectors
p roceed in g.                                      of th e A ct for im m igration violation s.          (p erm an en t fu ll-tim e im m igration
   (d ) Cu stod y p roced u res. Un less            Th e follow in g im m igration officers w h o        in sp ectors on ly);
volu n tary d ep artu re h as been gran ted         h ave su ccessfu lly com p leted basic                  (v) Ad ju d ication s officers w h en in th e
p u rsu an t to su bp art C of 8 CFR p art 240,     im m igration law en forcem en t train in g          u n iform of an im m igration in sp ector
a d eterm in ation w ill be m ad e w ith in 24      are h ereby au th orized an d d esign ated to        an d p erform in g in sp ection s or
h ou rs of th e arrest w h eth er th e alien        exercise th e arrest p ow er con ferred by           su p ervisin g oth er im m igration
w ill be con tin u ed in cu stod y or released      section 287(a)(2) of th e Act an d in                in sp ectors p erform in g in sp ection s;
on bon d or recogn izan ce an d w h eth er a        accord an ce w ith § 287.8(c):                          (vi) Su p ervisory an d m an agerial
n otice to ap p ear an d w arran t of arrest as        (i) Bord er p atrol agen ts, in clu d in g        p erson n el w h o are resp on sible for
p rescribed in 8 CFR p arts 236 an d 239            aircraft p ilots;                                    su p ervisin g th e activities of th ose
w ill be issu ed .                                     (ii) Sp ecial agen ts;                            officers listed above; an d
   148. In § 287.4, p aragrap h (d ) is                (iii) Dep ortation officers;                         (vii) Im m igration officers w h o n eed
revised to read as follow s:                           (iv) Im m igration in sp ectors;                  th e au th ority to arrest p erson s u n d er

                                                                                                                                    AR00516
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                           Page 135 of 350 PageID 4728
                     Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                             513

section 287(a)(5)(A) of th e Act in ord er          Act u n til su ch tim e as h e or sh e h as            (d ) Power an d au th ority to con d u ct
to effectively accom p lish th eir                  been certified by th e Director of                  search es. Th e follow in g im m igration
in d ivid u al m ission s an d w h o are            Train in g as su ccessfu lly com p letin g a        officers w h o h ave su ccessfu lly
d esign ated , in d ivid u ally or as a class, by   train in g cou rse en com p assin g su ch           com p leted basic im m igration law
th e Com m ission er w ith th e ap p roval of       arrests an d th e stan d ard s for                  en forcem en t train in g are h ereby
th e Dep u ty Attorn ey Gen eral.                   en forcem en t activities as d efin ed in           au th orized an d d esign ated to exercise
   (4) A rrests of p erson s u n d er section       § 287.8. Su ch certification sh all be valid        th e p ow er to con d u ct search es con ferred
287(a)(5)(B) of th e A ct for an y felon y. (i)     for th e d u ration of th e im m igration           by section 287(c) of th e Act:
Section 287(a)(5)(B) of th e Act                    officer’s con tin u ou s em p loym en t, u n less      (1) Bord er p atrol agen ts, in clu d in g
au th orizes d esign ated im m igration             it is su sp en d ed or revoked by th e              aircraft p ilots;
officers, as listed in p aragrap h (c)(4)(iii)      Com m ission er or th e Com m ission er’s              (2) Sp ecial agen ts;
of th is section , to arrest p erson s,             d esign ee for ju st cau se.                           (3) Dep ortation officers;
w ith ou t w arran t, for an y felon y                 (5) A rrests of p erson s u n d er section          (4) Im m igration in sp ectors;
cogn izable u n d er th e law s of th e Un ited     274(a) of th e A ct wh o brin g in ,                   (5) Ad ju d ication s officers;
States if:                                          tran sp ort, or h arbor certain alien s, or            (6) Su p ervisory an d m an agerial
   (A) Th e im m igration officer h as              in d u ce th em to en ter.                          p erson n el w h o are resp on sible for
reason able grou n d s to believe th at th e           (i) Section 274(a) of th e Act au th orizes      su p ervisin g th e activities of th ose
p erson to be arrested h as com m itted or          d esign ated im m igration officers, as             officers listed above; an d
is com m ittin g su ch a felon y;                   listed in p aragrap h (c)(5)(ii) of th is              (7) Im m igration officers w h o n eed th e
   (B) Th e im m igration officer is                section , to arrest p erson s w h o brin g in ,     au th ority to con d u ct search es u n d er
p erform in g d u ties relatin g to th e            tran sp ort, or h arbor alien s, or in d u ce       section 287(c) of th e Act in ord er to
en forcem en t of th e im m igration law s at       th em to en ter th e Un ited States in              effectively accom p lish th eir in d ivid u al
th e tim e of th e arrest;                          violation of law . Wh en m akin g an arrest,        m ission s an d w h o are d esign ated ,
   (C) Th ere is a likelih ood of th e p erson      th e d esign ated im m igration officer sh all      in d ivid u ally or as a class, by th e
escap in g before a w arran t can be                ad h ere to th e p rovision s of th e               Com m ission er.
obtain ed of h is or h er arrest; an d              en forcem en t stan d ard govern in g th e             (e) Power an d au th ority to ex ecu te
   (D) Th e im m igration officer h as been         con d u ct of arrests in § 287.8(c).                warran ts. (1) S earch warran ts. Th e
certified as su ccessfu lly com p letin g a            (ii) Th e follow in g im m igration officers     follow in g im m igration officers w h o
train in g p rogram th at covers su ch              w h o h ave su ccessfu lly com p leted basic        h ave su ccessfu lly com p leted basic
arrests an d th e stan d ard s w ith resp ect to    im m igration law en forcem en t train in g         im m igration law en forcem en t train in g
th e en forcem en t activities of th e Service      are au th orized an d d esign ated to               are h ereby au th orized an d d esign ated to
as d efin ed in § 287.8.                            exercise th e arrest p ow er con ferred by          exercise th e p ow er con ferred by section
   (ii) Th e follow in g im m igration officers     section 274(a) of th e Act:                         287(a) of th e Act to execu te a search
w h o h ave su ccessfu lly com p leted basic           (A) Bord er p atrol agen ts, in clu d in g       w arran t:
im m igration law en forcem en t train in g         aircraft p ilots;                                      (i) Bord er p atrol agen ts, in clu d in g
are h ereby au th orized an d d esign ated to          (B) Sp ecial agen ts;                            aircraft p ilots;
exercise th e arrest p ow er con ferred by             (C) Dep ortation officers;                          (ii) Sp ecial agen ts;
section 287(a)(5)(B) of th e Act an d in               (D) Im m igration in sp ectors;                     (iii) Su p ervisory an d m an agerial
accord an ce w ith § 287.8(c):                         (E) Ad ju d ication s officers w h en in th e    p erson n el w h o are resp on sible for
   (A) Bord er p atrol agen ts, in clu d in g       u n iform of an im m igration in sp ector           su p ervisin g th e activities of th ose
aircraft p ilots;                                   an d p erform in g in sp ection s or                officers listed above; an d
   (B) Sp ecial agen ts;                            su p ervisin g oth er im m igration                    (iv) Im m igration officers w h o n eed th e
   (C) Dep ortation officers;                       in sp ectors p erform in g in sp ection s;          au th ority to execu te search w arran ts
   (D) Im m igration in sp ectors                      (F) Su p ervisory an d m an agerial              u n d er section 287(a) of th e Act in ord er
(p erm an en t fu ll-tim e im m igration            p erson n el w h o are resp on sible for            to effectively accom p lish th eir
in sp ectors on ly);                                su p ervisin g th e activities of th ose            in d ivid u al m ission s an d w h o are
   (E) Ad ju d ication s officers w h en in th e    officers listed above; an d                         d esign ated , in d ivid u ally or as a class, by
u n iform of an im m igration in sp ector              (G) Im m igration officers w h o n eed th e      th e Com m ission er w ith th e ap p roval of
an d p erform in g in sp ection s or                au th ority to arrest p erson s u n d er section    th e Dep u ty Attorn ey Gen eral.
su p ervisin g oth er im m igration                 274(a) of th e Act in ord er to effectively            (2) Issu an ce of arrest warran ts for
in sp ectors p erform in g in sp ection s;          accom p lish th eir in d ivid u al m ission s       im m igration violation s. A w arran t of
   (F) Su p ervisory an d m an agerial              an d w h o are d esign ated , in d ivid u ally or   arrest m ay be issu ed on ly by th e
p erson n el w h o are resp on sible for            as a class, by th e Com m ission er w ith th e      follow in g im m igration officers:
su p ervisin g th e activities of th ose            ap p roval of th e Dep u ty Attorn ey                  (i) District d irectors (excep t foreign );
officers listed above; an d                         Gen eral.                                              (ii) Dep u ty d istrict d irectors (excep t
   (G) Im m igration officers w h o n eed th e         (6) Cu stod y an d tran sp ortation of           foreign );
au th ority to arrest p erson s u n d er section    p reviou sly arrested p erson s. In ad d ition         (iii) Assistan t d istrict d irectors for
287(a)(5)(B) of th e Act in ord er to               to th e au th ority to arrest p u rsu an t to a     in vestigation s;
effectively accom p lish th eir in d ivid u al      w arran t of arrest in p aragrap h (e)(2)(i) of        (iv) Dep u ty assistan t d istrict d irectors
m ission s an d w h o are d esign ated ,            th is section , d eten tion en forcem en t          for in vestigation s;
in d ivid u ally or as a class, by th e             officers w h o h ave su ccessfu lly                    (v) Assistan t d istrict d irectors for
Com m ission er w ith th e ap p roval of th e       com p leted basic im m igration law                 d ep ortation ;
Dep u ty Attorn ey Gen eral.                        en forcem en t train in g are h ereby                  (vi) Dep u ty assistan t d istrict d irectors
   (iii) Notw ith stan d in g th e                  au th orized an d d esign ated to take an d         for d ep ortation ;
au th orization an d d esign ation set forth        m ain tain cu stod y of an d tran sp ort an y          (vii) Assistan t d istrict d irectors for
in p aragrap h (c)(4)(ii) of th is section , n o    p erson w h o h as been arrested by an              exam in ation s;
im m igration officer is au th orized to            im m igration officer p u rsu an t to                  (viii) Dep u ty assistan t d istrict
m ake an arrest for an y felon y u n d er th e      p aragrap h s (c)(1) th rou gh (c)(5) of th is      d irectors for exam in ation s;
au th ority of section 287(a)(5)(B) of th e         section .                                              (ix) Officers in ch arge (excep t foreign );

                                                                                                                                   AR00517
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                          Page 136 of 350 PageID 4729
514                   Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

   (x) Assistan t officers in ch arge (excep t         (iv) Su p ervisory an d m an agerial             rem ovin g th e alien . Th e d etain er is a
foreign );                                          p erson n el w h o are resp on sible for            requ est th at su ch agen cy ad vise th e
   (xi) Ch ief p atrol agen ts;                     su p ervisin g th e activities of th ose            Service, p rior to release of th e alien , in
   (xii) Dep u ty ch ief p atrol agen ts;           officers listed above; an d                         ord er for th e Service to arran ge to
   (xiii) Associate ch ief p atrol agen ts;            (v) Im m igration officers w h o n eed th e      assu m e cu stod y, in situ ation s w h en
   (xiv) Assistan t ch ief p atrol agen ts;         au th ority to execu te w arran ts of arrest        gain in g im m ed iate p h ysical cu stod y is
   (xv) Patrol agen ts in ch arge;                  for n on -im m igration violation s u n d er        eith er im p racticable or im p ossible.
   (xvi) Th e Assistan t Com m ission er,           section 287(a) of th e Act in ord er to                (b) A u th ority to issu e d etain ers. Th e
In vestigation s;                                   effectively accom p lish th eir in d ivid u al      follow in g officers are au th orized to
   (xvii) In stitu tion al Hearin g Program         m ission s an d w h o are d esign ated ,            issu e d etain ers:
Directors;                                          in d ivid u ally or as a class, by th e                (1) Bord er p atrol agen ts, in clu d in g
   (xviii) Area Port Directors;                     Com m ission er w ith th e ap p roval of th e       aircraft p ilots;
   (xix) Port Directors; or                         Dep u ty Attorn ey Gen eral.                           (2) Sp ecial agen ts;
   (xx) Dep u ty Port Directors.                       (f) Power an d au th ority to carry                 (3) Dep ortation officers;
   (3) S ervice of warran t of arrests for          firearm s. Th e follow in g im m igration              (4) Im m igration in sp ectors;
im m igration violation s. Th e follow in g         officers w h o h ave su ccessfu lly                    (5) Ad ju d ication s officers;
im m igration officers w h o h ave                  com p leted basic im m igration                        (6) Su p ervisory an d m an agerial
su ccessfu lly com p leted basic                    en forcem en t train in g are h ereby               p erson n el w h o are resp on sible for
im m igration law en forcem en t train in g         au th orized an d d esign ated to exercise          su p ervisin g th e activities of th ose
are h ereby au th orized an d d esign ated to       th e p ow er con ferred by section 287(a) of        officers listed above; an d
exercise th e p ow er p u rsu an t to section       th e Act to carry firearm s p rovid ed th at           (7) Im m igration officers w h o n eed th e
287(a) of th e Act to execu te w arran ts of        th ey are in d ivid u ally qu alified by            au th ority to issu e d etain ers u n d er
arrest for ad m in istrative im m igration          train in g an d exp erien ce to h an d le an d      section 287(d )(3) of th e Act in ord er to
violation s issu ed u n d er section 236 of         safely op erate th e firearm s th ey are            effectively accom p lish th eir in d ivid u al
th e Act or to execu te w arran ts of               p erm itted to carry, m ain tain p roficien cy      m ission s an d w h o are d esign ated
crim in al arrest issu ed u n d er th e             in th e u se of su ch firearm s, an d ad h ere      in d ivid u ally or as a class, by th e
au th ority of th e Un ited States:                 to th e p rovision s of th e en forcem en t         Com m ission er.
   (i) Bord er p atrol agen ts, in clu d in g                                                              (c) A vailability of record s. In ord er for
                                                    stan d ard govern in g th e u se of force in
aircraft p ilots;                                                                                       th e Service to accu rately d eterm in e th e
                                                    § 287.8(a):
   (ii) Sp ecial agen ts;                              (1) Bord er p atrol agen ts, in clu d in g       p rop riety of issu in g a d etain er, servin g
   (iii) Dep ortation officers;                     aircraft p ilots;                                   a n otice to ap p ear, or takin g cu stod y of
   (iv) Deten tion en forcem en t officers             (2) Sp ecial agen ts;                            an alien in accord an ce w ith th is section ,
(w arran ts of arrest for ad m in istrative            (3) Dep ortation officers;                       th e crim in al ju stice agen cy requ estin g
im m igration violation s on ly);                      (4) Deten tion en forcem en t officers;          su ch action or in form in g th e Service of
   (v) Im m igration in sp ectors;                     (5) Im m igration in sp ectors;                  a con viction or act th at ren d ers an alien
   (vi) Ad ju d ication s officers w h en in           (6) Ad ju d ication s officers w h en in th e    in ad m issible or rem ovable u n d er an y
th e u n iform of an im m igration in sp ector      u n iform of an im m igration in sp ector           p rovision of law sh all p rovid e th e
an d p erform in g in sp ection s or                an d p erform in g in sp ection s or                Service w ith all d ocu m en tary record s
su p ervisin g oth er im m igration                 su p ervisin g oth er im m igration                 an d in form ation available from th e
in sp ectors p erform in g in sp ection s;          in sp ectors p erform in g in sp ection s;          agen cy th at reason ably relates to th e
   (vii) Su p ervisory an d m an agerial               (7) Su p ervisory an d m an agerial              alien ’s statu s in th e Un ited States, or
p erson n el w h o are resp on sible for            p erson n el w h o are resp on sible for            th at m ay h ave an im p act on con d ition s
su p ervisin g th e activities of th ose            su p ervisin g th e activities of th ose            of release.
officers listed above; an d                         officers listed above; an d                            (d ) T em p orary d eten tion at S ervice
   (viii) Im m igration officers w h o n eed           (8) Im m igration officers w h o n eed th e      requ est. Up on a d eterm in ation by th e
th e au th ority to execu te arrest w arran ts      au th ority to carry firearm s u n d er section     Service to issu e a d etain er for an alien
for im m igration violation s u n d er section      287(a) of th e Act in ord er to effectively         n ot oth erw ise d etain ed by a crim in al
287(a) of th e Act in ord er to effectively         accom p lish th eir in d ivid u al m ission s       ju stice agen cy, su ch agen cy sh all
accom p lish th eir in d ivid u al m ission s       an d w h o are d esign ated , in d ivid u ally or   m ain tain cu stod y of th e alien for a
an d w h o are d esign ated , in d ivid u ally or   as a class, by th e Com m ission er w ith th e      p eriod n ot to exceed 48 h ou rs,
as a class, by th e Com m ission er, for            ap p roval of th e Dep u ty Attorn ey               exclu d in g Satu rd ays, Su n d ays, an d
w arran ts of arrest for ad m in istrative          Gen eral.                                           h olid ays in ord er to p erm it assu m p tion
im m igration violation s, an d w ith th e             150. Section 287.7 is revised to read            of cu stod y by th e Service.
ap p roval of th e Dep u ty Attorn ey               as follow s:                                           (e) Fin an cial resp on sibility for
Gen eral, for w arran ts of crim in al arrest.                                                          d eten tion . No d etain er issu e as a resu lt
   (4) S ervice of warran t of arrests for          § 287.7 Detainer provisions under section           of a d eterm in ation m ad e u n d er th is
n on -im m igration violation s. Th e               287(b)(3) of the Act.                               ch ap ter sh all in cu r an y fiscal obligation
follow in g im m igration officers w h o               (a) Detain ers in gen eral. Detain ers are       on th e p art of th e Service, u n til actu al
h ave su ccessfu lly com p leted basic              issu ed p u rsu an t to section s 236 an d 287      assu m p tion of cu stod y by th e Service,
im m igration law en forcem en t train in g         of th e Act an d th is ch ap ter. An y              excep t as p rovid ed in p aragrap h (d ) of
are h ereby au th orized an d d esign ated to       au th orized Service official m ay at an y          th is section .
exercise th e p ow er to execu te w arran ts        tim e issu e a Form I–247, Im m igration
of crim in al arrest for n on -im m igration        Detain er-Notice of Action , to an y oth er         PART 299—IMMIGRATION FORMS
violation s issu ed u n d er th e au th ority of    Fed eral, State, or local law en forcem en t          151. Th e au th ority citation for p art
th e Un ited States:                                agen cy. A d etain er serves to ad vise             299 con tin u es to read as follow s:
   (i) Bord er p atrol agen ts, in clu d in g       an oth er law en forcem en t agen cy th at th e
aircraft p ilots;                                   Service seeks cu stod y of an alien                      Authority: 8 U.S.C. 1101, 1103; 8 CFR p art
   (ii) Sp ecial agen ts;                           p resen tly in th e cu stod y of th at agen cy,     2.
   (iii) Dep ortation officers;                     for th e p u rp ose of arrestin g an d                   152. Section 299.1 is am en d ed by:

                                                                                                                                    AR00518
       Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                          Page 137 of 350 PageID 4730
                               Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                                                   515

   a. Revisin g th e en tries for Form s ‘‘I–                             b. Rem ovin g th e en tries for Form s ‘‘I–    701’’, ‘‘I–770’’, ‘‘I–771’’, ‘‘I–826’’, ‘‘I–
147’’, ‘‘I–205’’, ‘‘I–246’’, ‘‘I–247’’, ‘‘I–                           122’’, ‘‘I–221’’, ‘‘I–259C’’, ‘‘I–290A’’, an d    827A’’, ‘‘I–827B’’, ‘‘I–860’’, ‘‘I–862’’, an d
259’’, ‘‘I–284’’, ‘‘I–286’’, ‘‘I–291’’, ‘‘I–                           ‘‘I–444’’, an d by                                ‘‘I–863’’, in p rop er n u m erical sequ en ce,
296’’, ‘‘I–310’’, ‘‘I–408’’, ‘‘I–426’’, ‘‘I–                              c. Ad d in g th e en tries for Form s ‘‘I–     to th e listin g of form s, to read as
541’’, ‘‘I–589’’, ‘‘I–775’’, ‘‘I–851’’, an d                           94T’’, ‘‘I–99’’, ‘‘I–148’’, ‘‘I–160’’, ‘‘I–       follow s:
‘‘I–851A’’;                                                            210’’, ‘‘I–213’’, ‘‘I–217’’, ‘‘I–220A’’, ‘‘I–
                                                                       220B’’, ‘‘I–241’’, ‘‘I–261’’, ‘‘I–270’’, ‘‘I–     § 299.1 Prescribed forms.
                                                                       275’’, ‘‘I–294’’, ‘‘I–407’’, ‘‘I–546’’, ‘‘I–      *       *    *       *   *

                         Form No.                                   Edition date                                             Title


           *                                 *                          *                    *                   *                        *                  *
I–94T ..........................................................       09–22–87    Arrival-Departure Record (Transit without visa).

            *                                 *                         *                    *                  *                         *                  *
I–99 ............................................................      04–01–97    Notice of Revocation and Penalty.

           *                                 *                          *                     *                  *                        *                  *
I–147 ..........................................................       04–01–97    Notice of Temporary Inadmissibility to U.S.
I–148 ..........................................................       04–01–97    Notice of Permanent Inadmissibility.

           *                                 *                          *                    *                    *                       *                  *
I–160 ..........................................................       04–01–97    Notice of Parole/Lookout Intercept.

           *                                 *                          *                    *                    *                       *                  *
I–205 ..........................................................       04–01–97    Warrant of Removal.
I–210 ..........................................................       04–01–97    Voluntary Departure Notice.

           *                                 *                          *                    *                   *                        *                  *
I–213 ..........................................................       04–01–97    Record of Deportable/Inadmissible Alien.
I–217 ..........................................................       04–01–97    Information for Travel Document or Passport.
I–220A .......................................................         04–01–97    Order of Release on Recognizance.
I–220B .......................................................         04–01–97    Order of Supervision.

           *                                 *                          *                    *                  *                   *                        *
I–241 ..........................................................       04–01–97    Request for Travel Document to Country Designated by Alien.

           *                                 *                          *                     *                  *                    *                      *
I–246 ..........................................................       04–01–97    Application for Stay of Removal.
I–247 ..........................................................       04–01–97    Immigration Detainer—Notice of Action.
I–259 ..........................................................       04–01–97    Notice to Detain, Deport, Remove, or Present Aliens.

           *                                 *                          *                     *                 *                         *                  *
I–261 ..........................................................       04–01–97    Additional Charges of Removability.

           *                                 *                          *                     *                     *                   *              *
I–270 ..........................................................       04–01–97    Request for Consent to Return Person to Canada.
I–275 ..........................................................       04–01–97    Withdrawal of Application/Consular Notification.
I–284 ..........................................................       04–01–97    Notice to Transportation Line Regarding Deportation and Detention Expenses of
                                                                                     Detained Alien.
I–286 ..........................................................       04–01–97    Notification to Alien of Conditions of Release or Detention.

           *                                 *                          *                    *                     *                 *                       *
I–291 ..........................................................       04–01–97    Decision on Application for Status as Permanent Resident.

           *                                 *                          *                    *                  *                   *                    *
I–294 ..........................................................       04–01–97    Notice of Country to Which Deportation has been Directed and Penalty for Reentry
                                                                                    without Permission.
I–296 ..........................................................       04–01–97    Notice to Alien Ordered Removed.

           *                                 *                          *                    *                   *              *                   *
I–310 ..........................................................       04–01–97    Bond for Payment of Sums and Fines Imposed under Immigration and Nationality
                                                                                     Act (Term or Single Entry).

           *                                 *                          *                     *                   *                   *                      *
I–407 ..........................................................       04–01–97    Abandonment by Alien of Status as Lawful Permanent Resident.
I–408 ..........................................................       04–01–97    Application to Pay Off or Discharge Alien Crewman.

           *                                 *                          *                    *                   *                       *            *
I–426 ..........................................................       04–01–97    Immediate and Continuous Transit Agreement Between a Transportation Line and
                                                                                     United States of America (special direct transit procedure).

           *                                 *                          *                    *                     *                    *                 *
I–541 ..........................................................       04–01–97    Order of Denial of Application for Extension of Stay or Student Employment or Stu-
                                                                                     dent Transfer.


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       Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                             Page 138 of 350 PageID 4731
516                            Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les

                        Form No.                                    Edition date                                                                Title


           *                                 *                            *                         *                 *                                          *                         *
I–546 ..........................................................         04–01–97         Order to Appear—Deferred Inspection.

           *                                 *                            *                          *                  *                    *                                             *
I–589 ..........................................................         04–01–97         Application for Asylum and Withholding of Removal.

           *                                 *                            *                         *                  *                                         *                         *
I–701 ..........................................................         04–01–97         Detainee Transfer Worksheet.

           *                                 *                            *                         *                   *                                        *                         *
I–770 ..........................................................         04–01–97         Notice of Rights and Request for Disposition.
I–771 ..........................................................         04–01–97         Bond Computation Worksheet.
I–775 ..........................................................         04–01–97         Visa Waiver Pilot Program Agreement.

           *                                 *                            *                         *                                 *                          *                         *
I–826 ..........................................................         04–01–97         Notice of Rights.
I–827A .......................................................           04–01–97         Request for Disposition.

           *                                 *                            *                          *                     *                  *                                            *
I–827B .......................................................           04–01–97         Request for Disposition.
I–851 ..........................................................         04–01–97         Notice of Intent to Issue Final Administrative Removal Order.
I–851A .......................................................           04–01–97         Final Administrative Removal Order.

           *                                 *                            *                         *                     *                                      *                         *
I–860 ..........................................................         04–01–97         Notice and Order of Expedited Removal.
I–862 ..........................................................         04–01–97         Notice to Appear.
I–863 ..........................................................         04–01–97         Notice of Referral to Immigration Judge.

              *                              *                             *                            *                             *                          *                         *

      153. Section 299.5 is am en d ed by:
      a. Rem ovin g th e en try for Form ‘‘I–259C’’; an d by
      b. Revisin g th e en tries for Form s ‘‘I–246’’ an d ‘‘I–589’’, an d to read as follow s:
§ 299.5 Display of control numbers.
                                 *                                               *                          *                     *                        *

                                                                                                                                                                                        Currently as-
                      INS form No.                                                                                 INS form title                                                       signed OMB
                                                                                                                                                                                         control no.


           *                                 *                           *                    *                             *                                 *                            *
I–246 ..........................................................   Application for Stay of Removal ..................................................................................     1115–0055

           *                                 *                           *                    *                  *                              *                                          *
I–589 ..........................................................   Application for Asylum and Withholding of Removal ..................................................                   1115–0086

              *                              *                             *                            *                             *                          *                         *



PART 316—GENERAL                                                         p reviou sly issu ed ord ers of exclu sion or                      § 318.1 Warrant of arrest.
REQUIREMENTS FOR                                                         d ep ortation ) term in ates th e ap p lican t’s                      For th e p u rp oses of section 318 of th e
NATURALIZATION                                                           statu s as a law fu l p erm an en t resid en t                     Act, a n otice to ap p ear issu ed u n d er 8
                                                                         an d , th erefore, d isru p ts th e con tin u ity of               CFR p art 239 (in clu d in g a ch argin g
  154. Th e au th ority citation for p art                               resid en ce for p u rp oses of th is p art.                        d ocu m en t issu ed to com m en ce
316 is revised to read as follow s:                                      *       *     *      *       *                                     p roceed in gs u n d er section s 236 or 242
  Authority: 8 U.S.C. 1103, 1181, 1182, 1443,                                                                                               of th e Act p rior to Ap ril 1, 1997) sh all
1447; 8 CFR p art 2.                                                     PART 318—PENDING REMOVAL                                           be regard ed as a w arran t of arrest.
                                                                         PROCEEDINGS
  155. Section 316.5 is am en d ed by                                                                                                       PART 329—SPECIAL CLASSES OF
revisin g p aragrap h (c)(3) to read as                                    156. Th e h ead in g for p art 318 is                            PERSONS WHO MAY BE
follow s:                                                                revised as set forth above.                                        NATURALIZED: NATURALIZATION
§ 316.5 Residence in the United States.                                    157. Th e au th ority citation for p art                         BASED ON ACTIVE DUTY SERVICE IN
*       *     *     *     *
                                                                         318 is revised to read as follow s:                                THE UNITED STATES ARMED FORCES
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   (c) * * *
                                                                         8 CFR p art 2.                                                     HOSTILITIES.
   (3) Rem oval an d retu rn . An y
d ep artu re from th e Un ited States w h ile                              158. Section 318.1 is revised to read                              159. Th e au th ority citation for p art
u n d er an ord er of rem oval (in clu d in g                            as follow s:                                                       329 is revised to read as follow s:

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                       Federal Register / Vol. 62, No. 2 / Frid ay, Jan u ary 3, 1997 / Prop osed Ru les                            517

  Authority: 8 U.S.C. 1103, 1440, 1443; 8       (e) * * *                                        Dated : Decem ber 24, 1996.
CFR p art 2.                                    (3) Th e ap p lican t m ay be n atu ralized   Janet Reno,
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revisin g p aragrap h (e)(3) to read as      p u rsu an t to 8 CFR p art 239 (in clu d in g   [FR Doc. 96–33166 Filed 12–27–96; 12:10
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                                             com m en ce p roceed in gs u n d er section s    BILLING CODE 4410–10–M
§ 329.2 Eligibility.                         236 or 242 of th e Act p rior to Ap ril 1,
*     *     *      *      *                  1997) exists.




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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 105-1Filed
                                162-1     Filed 09/15/21Page
                                             09/02/22     Page 1 of 6
                                                             140    350PageID 3248
                                                                         PageID 4733




                     EXHIBIT A



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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 105-1Filed
                                162-1     Filed 09/15/21Page
                                             09/02/22     Page 2 of 6
                                                             141    350PageID 3249
                                                                         PageID 4734



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION


                                             )
  STATE OF TEXAS,                            )
  STATE OF MISSOURI,                         )
                                             )
        Plaintiffs,                          )
                                             )
        v.                                   )       Civil Action No. 2:21-cv-00067-Z
                                             )
  JOSEPH R. BIDEN, JR.,                      )
  in his official capacity as                )
  President of the United States, et al.,    )
                                             )
        Defendants.                          )
                                             )



                           DECLARATION OF BLAS NUÑEZ-NETO

        I, Blas Nuñez-Neto, pursuant to 28 U.S.C. § 1746, and based upon my personal

 knowledge, and documents and information made known or available to me from official records

 and reasonably relied upon in the course of my employment, hereby declare as follows:

 1. I am the Chief Operating Officer at U.S. Customs and Border Protection (CBP), within the

 Department of Homeland Security (DHS), and have been in this role since March 5, 2021. Since

 August 24, 2021, I have been serving as the Vice Chair for the Secretary of Homeland Security’s

 Southwest Border Taskforce. I also previously served at DHS as an Advisor to CBP

 Commissioner Gil Kerlikowske from January 12, 2015 to January 16, 2017.

 2. Pursuant to this Court’s August 13, 2021, order, DHS has taken a number of steps to

 reimplement the Migrant Protection Protocols (MPP). These steps include (1) engaging with the

 Government of Mexico (GOM); (2) creating an interagency task force; (3) initiating the



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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 105-1Filed
                                162-1     Filed 09/15/21Page
                                             09/02/22     Page 3 of 6
                                                             142    350PageID 3250
                                                                         PageID 4735



 processes required to rebuild needed infrastructure and reorganize resources; and (4) reviewing

 and updating MPP related policies in light of Title 42 and COVID-19.

 3. Most importantly, DHS and the Department of State (DOS) are holding diplomatic

 engagements with the Government of Mexico (GOM) and have already held several high-level

 meetings to advance negotiations related to restarting MPP. Because the U.S. Government

 cannot implement MPP without GOM’s concurrence, these negotiations—which are ongoing—

 are critical.

 4. Though the specific details of ongoing diplomatic engagements are sensitive, at this point

 GOM has not yet agreed to accept individuals returned to Mexico under the court-ordered restart

 of MPP. Prior to implementation, our two governments must reach agreement on a number of

 foundational matters, to include: the demographic make-up of individuals who can be returned to

 Mexico pursuant to MPP; in what circumstances and locations returns and reentry for court-

 related matters can occur; how many individuals can be enrolled in given locations; and what

 kind of support these individuals will receive while in Mexico. All of these topics, and others,

 are being actively discussed with the GOM.

 5. DHS is not waiting for these negotiations to conclude, however, before taking steps to

 reimplement MPP. DHS has created an interagency task force comprised of the various DHS

 components involved in MPP as well as the Executive Office for Immigration Review (EOIR) at

 the Department of Justice (DOJ) and DOS. The task force is meeting regularly to quickly and

 efficiently rebuild the infrastructure and reapportion the staffing required to reimplement MPP.

 6. The task force is, among other things, coordinating with EOIR regarding dockets and

 management of removal proceedings. Before individuals can be placed into MPP, they must be

 placed into removal proceedings, which is done by issuing the charging document (the notice to



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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 105-1Filed
                                162-1     Filed 09/15/21Page
                                             09/02/22     Page 4 of 6
                                                             143    350PageID 3251
                                                                         PageID 4736



 appear) that ideally sets a hearing date. EOIR is, as a result, working to make space available on

 immigration court dockets to schedule hearings for individuals in MPP. These ongoing efforts

 will allow the government to be able to rapidly implement MPP once an agreement is reached

 with GOM.

 7. Restarting MPP requires operational adjustments. DHS is taking steps to rebuild the

 infrastructure needed for MPP and redeploy resources as needed. Importantly, MPP requires

 space near the border to hold immigration court proceedings. Although there are some

 immigration courts near the border, under the previous iteration of MPP these were not sufficient

 to meet the program’s needs. To supplement the existing courts, DHS utilized soft-sided

 Immigration Hearing Facilities (IHFs) in Laredo and Brownsville, Texas. These IHFs, however,

 were largely dismantled and repurposed to facilitate processing at the ports of entry (POEs) when

 MPP was terminated. These IHFs now need to be restructured and rebuilt built to accommodate

 court proceedings, and these new facilities must be designed and constructed with robust

 mitigation measures for COVID-19. In addition, the POEs will need to find another space to

 process the migrants currently being processed in the repurposed facilities in order to not

 adversely impact POE operations.

 8. DHS has identified funds to contract for the IHFs, which will cost approximately $14.1

 million to construct and $10.5 million per month to operate. In line with the actions taken by the

 previous Administration, DHS plans to execute the contract for the IHFs as soon as an agreement

 is reached with GOM. 1 DHS estimates that once the contracting process has been completed the




 1
   During the previous administration, the IHFs were not built until after the June 7, 2019 joint declaration between
 the U.S. Government and the Government Of Mexico. The June 7th agreement permitted further expansion of
 MPP.


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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 105-1Filed
                                162-1     Filed 09/15/21Page
                                             09/02/22     Page 5 of 6
                                                             144    350PageID 3252
                                                                         PageID 4737



 building of the IHFs and the installation of necessary information technology will take

 approximately 30 days.

 9. Among other efforts, the Task Force is reviewing MPP-related policies and procedures in

 light of two developments that were not at issue when MPP was initiated: first, the ongoing risk

 posed by COVID-19, and second, the continued role that DHS plays in enforcing the Center of

 Disease Control’s (CDC’s) Title 42 Order, which temporarily prohibits the entry of certain

 noncitizens traveling from Canada or Mexico into the United States. Both of these developments

 require updates to past protocols and practices, as well as updated guidance to the workforce.

 10. The current COVID-19 pandemic greatly affects how MPP is reimplemented. In March

 2020, immigration court proceedings were paused indefinitely because of COVID-19. DHS is

 currently reviewing the necessary and critical measures to be taken at each step of MPP

 processing to protect our officers, communities, and the migrants from the spread of COVID-19

 (e.g., face coverings, social distancing, disinfecting, testing, vaccines, etc.). Given these

 protocols, DHS is evaluating how many people can safely be processed for court hearings on a

 daily basis, which will in turn affect the setting of court dates and issuance of the requisite

 Notices to Appear. These changed circumstances require updating of internal guidance and

 procedures, developing necessary health protocols, and putting plans in place to provide this

 updated information to third parties, including the noncitizens who will be placed into MPP.

 Lastly, as noted above, the IHF facilities must include COVID mitigation measures in their

 redesign.

 11. In addition, when MPP was first implemented, DHS was not implementing the CDC’s Title

 42 public health order, which restricts the entry of non-citizens into the United States for public

 health reasons and takes precedence over the use of Title 8 authorities (such as expedited



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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 105-1Filed
                                162-1     Filed 09/15/21Page
                                             09/02/22     Page 6 of 6
                                                             145    350PageID 3253
                                                                         PageID 4738



 removal or MPP returns) at the land border. DHS is actively assessing the interplay of this

 authority with the reimplementation of MPP and developing appropriate guidance to the field to

 clarify this interplay. Importantly, individuals who are subject to Title 42 will continue to be

 expelled when MPP is reimplemented. However, the Title 42 order has always included

 exceptions for humanitarian reasons, and DHS has been working with non-governmental

 partners to identify individuals who meet specified vulnerability criteria that merit such

 exceptions from Title 42. In other cases, individuals who are covered by Title 42 cannot be

 expelled because of the GOM does not accept the return of certain nationalities or demographics

 at certain parts of the border. There is no guarantee that the GOM will accept via MPP those

 whom it has refused to allow to be expelled pursuant to Title 42.

 12. Those individuals who are not covered by, are exempted from, or cannot be expelled

 pursuant to Title 42 are put into Title 8 removal proceedings.. DHS also has the discretion to

 place certain inadmissible noncitizens into expedited removal. DHS intends to continue the

 exercise of its pre-existing policies and practices as it continues to work in good faith to re-

 implement MPP.

 13. These actions demonstrate that DHS has been working, and will continue to work, in good

 faith to reimplement the MPP, as required by the court’s injunction.

 I declare under penalty of perjury that the foregoing is true and correct to the best of

 my knowledge, information and belief. Executed on this 15th day of September, 2021




                                          _________________________________________
                                          Blas Nuñez-Neto
                                          Vice Chair, Southwest Border Taskforce
                                          Department of Homeland Security
                                          Chief Operating Officer
                                          U.S. Customs and Border Protection

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  Case
Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 110-1Filed
                                162-1     Filed 10/14/21Page
                                             09/02/22     Page 1 of 9
                                                             146    350PageID 3327
                                                                         PageID 4739




                      EXHIBIT 1



                                                                          AR00528
  Case
Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 110-1Filed
                                162-1     Filed 10/14/21Page
                                             09/02/22     Page 2 of 9
                                                             147    350PageID 3328
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION


                                              )
  STATE OF TEXAS,                             )
  STATE OF MISSOURI,                          )
                                              )
         Plaintiffs,                          )
                                              )
         v.                                   )       Civil Action No. 2:21-cv-00067-Z
                                              )
  JOSEPH R. BIDEN, JR.,                       )
  in his official capacity as                 )
  President of the United States, et al.,     )
                                              )
         Defendants.                          )
                                              )



                           DECLARATION OF BLAS NUÑEZ-NETO

         I, Blas Nuñez-Neto, pursuant to 28 U.S.C. § 1746, and based upon my personal

 knowledge, and documents and information made known or available to me from official records

 and reasonably relied upon in the course of my employment, hereby declare as follows:

         1.      I am the Acting Assistant Secretary for Border and Immigration Policy as of

 October 1, 2021. My permanent role is Chief Operating Officer at U.S. Customs and Border

 Protection (CBP), within the Department of Homeland Security (DHS), which I began on March

 5, 2021. Since August 24, 2021, I have been concurrently serving as the Vice Chair for the

 Secretary of Homeland Security’s Southwest Border Taskforce. I also previously served at DHS

 as an Advisor to CBP Commissioner Gil Kerlikowske from January 12, 2015 to January 16,

 2017.




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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 110-1Filed
                                162-1     Filed 10/14/21Page
                                             09/02/22     Page 3 of 9
                                                             148    350PageID 3329
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        2.      I have read and am familiar with the declaration of Mark Morgan, the former

 Acting CBP Commissioner. I also read and am familiar with the Plaintiffs’ Motion to Enforce

 Permanent Injunction and for Expedited Discovery, filed Sept. 23, 2021.



 I. Continued Compliance with Court Order

        3.      Over the past month, DHS has continued to make substantial progress as it works

 in good faith to reimplement the Migrant Protection Protocols (MPP). The Department has,

 among other things: engaged in a number of high-level and ongoing virtual and in-person

 discussions with the Government of Mexico (GOM); continued to finalize the operational plans

 that will be required to quickly reimplement MPP; worked closely with the Department of

 Justice and other interagency partners to ensure that the immigration courts are prepared to hear

 the cases of those subject to MPP on a timely basis; and issued the contracts required to rebuild

 soft-sided Immigration Hearing Facilities (IHFs) in Laredo and Brownsville, Texas. As a result

 of this progress, and dependent on the independent decisions made by the sovereign GOM, DHS

 anticipates being in a position to reimplement MPP in mid-November.

 A. Discussions with Mexico

        4.      DHS, along with the Department of State (DOS), has, since August 2021, been

 engaged in high-level discussions to coordinate a wide range of border management and

 migration issues as part of a bilateral U.S.- Mexico working group. In conjunction with those

 efforts, DHS has had multiple virtual and in-person high-level discussions with the GOM about

 DHS’s planned reimplementation of MPP.

        5.      Critically, and as described in my prior declaration on September 15, 2021, the

 U.S. Government cannot unilaterally implement MPP without an independent decision by the



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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 110-1Filed
                                162-1     Filed 10/14/21Page
                                             09/02/22     Page 4 of 9
                                                             149    350PageID 3330
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 GOM to accept individuals that the United States wishes to send to Mexico. As a sovereign

 nation, Mexico decides who it allows to cross its borders. In the prior implementation of MPP,

 for example, the GOM only accepted the return of individuals from Spanish-speaking countries

 and Brazil; it did not generally accept the return of Haitians, or other nationals from other non-

 Spanish-speaking countries, unless they were family members of an individual that the GOM

 accepted.

        6.      Therefore, before DHS can begin sending individuals back to Mexico, the United

 States needs Mexico’s concurrence, as well as a shared understanding about key details of how

 MPP will be reimplemented, including, for example: where and what time such entries into

 Mexico will be permitted; how many individuals and what demographics will be permitted per

 day at each location; and what nationalities will be accepted for return to Mexico.

        7. Mexico’s decision to accept individuals returned pursuant to MPP was needed before

 the program was initiated in 2019, and, because the previous program was terminated, it is

 needed again now. This is true whether the U.S. seeks to re-implement border-wide, as DHS

 prefers in order to avoid pushing migratory flows from one part of the border to another, or

 whether it seeks to adopt a phased approach to reimplementation. Both require a unilateral

 decision by Mexico to accept those individuals the United States seeks to return to return to

 Mexico—that decision by the GOM has yet to be made.

        8.      In the context of the ongoing discussions, the GOM has made clear that it expects

 to see substantial improvements in how MPP is reimplemented before it can make its decision.

 The GOM has stated it would not decide to accept MPP enrollees unless and until its concerns

 about how MPP was previously implemented are addressed. The GOM has identified a number

 of improvements that it deems critical, including the following key areas of concern:



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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 110-1Filed
                                162-1     Filed 10/14/21Page
                                             09/02/22     Page 5 of 9
                                                             150    350PageID 3331
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        (i) Length of time for Case Adjudication / Clarity about Timing of Hearings

        9.      The GOM expressed significant concerns about the lengthy delays in the

 adjudication of immigration proceedings under the previous implementation of MPP and has

 made clear that, in order to accept returns under the program, it needs assurances that

 proceedings will generally be concluded within six months of an individual’s return to Mexico

 and the initiation of the individual’s case. The GOM similarly made clear that it is critical that

 any individuals awaiting court hearings in Mexico receive timely and accurate information about

 hearing dates and times and other information about their cases.

        (ii) Access to Counsel

        10.     The GOM made clear that enhancing opportunities for MPP enrollees to secure

 adequate access to counsel is a critical issue that needs to be addressed before it could decide to

 accept MPP enrollees into Mexico.

        (iii) Accounting for Vulnerability:

        11.     The GOM expressed concern that, under the previous MPP, DHS returned

 particularly vulnerable individuals to Mexico, and that this placed an undue burden on the

 services provided by local communities in Mexico. In particular, the GOM raised concerns

 about certain populations being enrolled in MPP, including particularly elderly or sick

 individuals, as well as other populations, such as LGBTQI individuals. GOM made clear that it

 expects the reimplementation of MPP to address these concerns.

        (iv) Times and Locations of Returns.




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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 110-1Filed
                                162-1     Filed 10/14/21Page
                                             09/02/22     Page 6 of 9
                                                             151    350PageID 3332
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        12.     The GOM also expressed concern that under the previous implementation of

 MPP, individuals were returned to Mexico at locations and times of the day that made it difficult

 for the GOM officials to adequately receive them in a safe and orderly manner. It expects that, if

 the GOM decides to accept such returns, DHS will better coordinate the locations and times of

 day that individuals are returned to Mexico.

        13.     Based on these discussions, DHS is finalizing a plan for the reimplementation of

 MPP that takes into account these concerns, which it will be communicating to the GOM in the

 coming days. The GOM — which has repeatedly emphasized that, as a sovereign nation,

 Mexico is not subject to the Court’s jurisdiction — will need to independently assess the plan to

 ensure it adequately addresses their concerns. The GOM will then make an independent decision

 as to whether it is prepared to accept for entry into Mexico the individuals that the USG seeks to

 return under MPP.



 B. The U.S. Government’s Ongoing Efforts

        14.     However, consistent with its obligation to comply in good faith with the Court’s

 Order, DHS is not waiting for the GOM’s decision to put in place what is needed to restart MPP.

 To the contrary, DHS has made significant progress since we last reported to the Court,

 including taking the following key steps to begin reimplementing MPP around the middle of

 November, subject to GOM’s response to the reimplementation plan and a decision to accept

 returns.

        15.     First, DHS issued a task order on October 13, 2021, under an existing contract, to

 rebuild the soft-sided Immigration Hearing Facilities (IHFs) in Laredo and Brownsville, Texas.

 These facilities will take about 30 days to reconstruct at a cost of approximately $14.1 million to



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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 110-1Filed
                                162-1     Filed 10/14/21Page
                                             09/02/22     Page 7 of 9
                                                             152    350PageID 3333
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 rebuild and $10.5 million per month to operate. In my prior declaration, I indicated that DHS did

 not intend to initiate these contracts until the GOM decided to accept returns. However, after

 reviewing the substantial progress that has been made in the discussions with the GOM over the

 past month, DHS believes that it makes sense to proceed with contracting now despite the lack of

 a final decision by GOM. This will ensure that DHS is ready to begin implementing the program

 across the entire border in a timely fashion, even as we await the GOM’s unilateral decision

 about if, when, and where it will accept returns.

         16.     Second, as noted in my previous declaration, the USG stood up an interagency

 task force, comprising DHS, the Department of Justice (DOJ), the Department of Health and

 Human Services (HHS), and DOS, to manage and oversee the reimplementation of MPP. This

 interagency taskforce draws on the expertise of a number of career officials who were previously

 involved in standing up and implementing MPP, includes a large number of working groups that

 are addressing specific components of the reimplementation, and is working daily to ensure that

 the policies and processes are in place to be ready to begin reimplementation in mid-November.

         17.     Among other things, the task force is working with DOJ’s Executive Office for

 Immigration Review (EOIR) to ensure that there is sufficient space available on immigration

 court dockets so that hearings for individuals in MPP can be done in a timely manner subsequent

 to enrollment. This is to address a key concern identified by the GOM, which, as noted above,

 has expressed its expectation that cases would generally be adjudicated within six months after

 the case is initiated.

          18.    Third, as noted in my previous declaration, the current COVID-19 pandemic

 greatly affects how MPP can be reimplemented. In response to the unprecedented effects of the

 global pandemic, the government began postponing immigration court proceedings for MPP



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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 110-1Filed
                                162-1     Filed 10/14/21Page
                                             09/02/22     Page 8 of 9
                                                             153    350PageID 3334
                                                                         PageID 4746



 enrollees in March 2020, and ultimately paused them indefinitely in July 2020—significantly

 before the termination at issue in this case. Although the government developed guidelines for

 restarting court hearings during the pandemic, those plans were never implemented. Moreover,

 the unexpected emergence of the highly contagious Delta variant this past year is a significant

 complicating factor that requires updates to these guidelines. DHS, as a result, is continuing to

 review the measures needed to ensure that these hearings can take place in a manner that protects

 government personnel, our communities, and the migrants themselves from the spread of

 COVID-19. As part of this process, DHS is working with interagency partners, including EOIR

 and the Centers for Disease Control and Prevention (CDC) at HHS, to evaluate how many people

 can safely be processed for court hearings on a daily basis, which will in turn affect the setting of

 court dates and issuance of the requisite Notices to Appear. DHS is also working to update

 guidance, protocols, and communication plans to ensure that these protections are implemented

 effectively. All of this work is currently being finalized in order to ensure a timely

 reimplementation of the program.




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Case    2:21-cv-00067-ZDocument
     2:21-cv-00067-Z     Document 110-1Filed
                                162-1     Filed 10/14/21Page
                                             09/02/22     Page 9 of 9
                                                             154    350PageID 3335
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 II. Conclusion

        19.       In sum, we have made great progress and are, as a result, ready to begin

 reimplementing MPP in mid-November, subject to the GOM’s independent decision to accept

 those that the USG seeks to return. Critically, DHS and DOS have sufficiently advanced

 discussions with the GOM to the point that we will shortly finalize and communicate to GOM a

 plan for reimplementation that addresses the concerns they have identified. DHS has also taken

 all the necessary steps to reimplement MPP—including contracting for the IHFs, working to

 establish robust COVID-19 protocols, and updating policies and guidelines. These actions

 demonstrate that DHS has been working diligently, and will continue to work as expeditiously as

 possible, to reimplement MPP in good faith, as required by the Court’s injunction.

        I declare under penalty of perjury that the foregoing is true and correct to the

 best of my knowledge, information and belief. Executed on this 14th day of October

 2021




                                          _________________________________________
                                          Blas Nuñez-Neto
                                          Acting Assistant Secretary
                                          Border and Immigration Policy
                                          Department of Homeland Security
                                          Chief Operating Officer
                                          U.S. Customs and Border Protection




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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 155 of 350 PageID 4748

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 157 of 350 PageID 4750

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 158 of 350 PageID 4751

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 160 of 350 PageID 4753

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 161 of 350 PageID 4754

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 164 of 350 PageID 4757

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 165 of 350 PageID 4758

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 166 of 350 PageID 4759

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 167 of 350 PageID 4760

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 168 of 350 PageID 4761

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 169 of 350 PageID 4762

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 170 of 350 PageID 4763

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 171 of 350 PageID 4764

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 172 of 350 PageID 4765

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 173 of 350 PageID 4766

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 174 of 350 PageID 4767

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 175 of 350 PageID 4768

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 176 of 350 PageID 4769

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 177 of 350 PageID 4770

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 178 of 350 PageID 4771

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 179 of 350 PageID 4772

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 180 of 350 PageID 4773

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 181 of 350 PageID 4774

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 182 of 350 PageID 4775

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 183 of 350 PageID 4776

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 184 of 350 PageID 4777

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          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 185 of 350 PageID 4778

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                                                                Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations                                               33829

                                            to $44.00 per ton of assessable olives.                  the marketing order. In addition, the                 List of Subjects in 7 CFR Part 932
                                            The Committee unanimously                                Committee’s December 11, 2018 meeting                   Olives, Marketing agreements,
                                            recommended 2019 expenditures of                         was widely publicized throughout the                  Reporting and recordkeeping
                                            $1,628,923 and an assessment rate of                     production area and all interested                    requirements.
                                            $44.00 per ton of assessable olives. The                 persons were invited to attend the
                                                                                                                                                             For the reasons set forth in the
                                            recommended assessment rate of $44.00                    meeting and participate in Committee
                                            is $20.00 higher than the 2018 rate. The                                                                       preamble, 7 CFR part 932 is amended as
                                                                                                     deliberations on all issues.
                                            quantity of assessable olives for the                                                                          follows:
                                                                                                        In accordance with the Paperwork
                                            2019 Fiscal year is 17,953 tons. The                     Reduction Act of 1995, (44 U.S.C.                     PART 932—OLIVES GROWN IN
                                            $44.00 rate should provide $789,932 in                   chapter 35), the marketing order’s                    CALIFORNIA
                                            assessment revenue. The higher                           information collection requirements
                                            assessment rate is needed because                        have been previously approved by OMB                  ■ 1. The authority citation for 7 CFR
                                            annual receipts for the 2018 crop year                   and assigned OMB No. 0581–0178                        part 932 continues to read as follows:
                                            are 17,953 tons compared to 90,188 tons                  Vegetable and Specialty Crops. No                       Authority: 7 U.S.C. 601–674.
                                            for the 2017 crop year. Olives are an                    changes in those requirements because
                                            alternate-bearing crop, with a small crop                of this action are necessary. Should any              ■ 2. Section 932.230 is revised to read
                                            followed by a large crop. Income                         changes become necessary, they would                  as follows:
                                            derived from the $44.00 per ton                          be submitted to OMB for approval.                     § 932.230    Assessment rate.
                                            assessment rate, along with funds from                      This final rule imposes no additional
                                            the authorized reserve and interest                                                                              On and after January 1, 2019, an
                                                                                                     reporting or recordkeeping requirements               assessment rate of $44.00 per ton is
                                            income, should be adequate to meet this                  on either small or large California olive
                                            fiscal year’s expenses.                                                                                        established for California olives.
                                                                                                     handlers. As with all Federal marketing
                                               The major expenditures                                order programs, reports and forms are                   Dated: July 11, 2019.
                                            recommended by the Committee for the                     periodically reviewed to reduce                       Bruce Summers,
                                            2019 fiscal year include $713,900 for                    information requirements and                          Administrator, Agricultural Marketing
                                            program administration, $513,500 for                     duplication by industry and public                    Service.
                                            marketing activities, $343,523 for                       sector agencies. USDA has not                         [FR Doc. 2019–15061 Filed 7–15–19; 8:45 am]
                                            research, and $58,000 for inspection                     identified any relevant Federal rules                 BILLING CODE 3410–02–P
                                            equipment. Budgeted expenses for these                   that duplicate, overlap, or conflict with
                                            items during the 2018 fiscal year were                   this final rule.
                                            $401,200 for program administration,
                                                                                                        AMS is committed to complying with                 DEPARTMENT OF HOMELAND
                                            $973,500 for marketing activities,
                                                                                                     the E-Government Act, to promote the                  SECURITY
                                            $297,777 for research, and $77,000 for
                                                                                                     use of the internet and other
                                            inspection equipment. The Committee                                                                            8 CFR Part 208
                                                                                                     information technologies to provide
                                            deliberated on many of the expenses,
                                                                                                     increased opportunities for citizen                   RIN 1615–AC44
                                            weighed the relative value of various
                                                                                                     access to Government information and
                                            programs or projects, and increased
                                                                                                     services, and for other purposes.                     DEPARTMENT OF JUSTICE
                                            their expenses for marketing and
                                            research activities.                                        A proposed rule concerning this
                                               Prior to arriving at this budget and                  action was published in the Federal                   Executive Office for Immigration
                                            assessment rate, the Committee                           Register on April 24, 2019 (84 FR                     Review
                                            considered information from various                      17089). Copies of the proposed rule
                                            sources including the Committee’s                        were provided to all California olive                 8 CFR Parts 1003 and 1208
                                            executive, marketing, inspection, and                    handlers. The proposal was also made
                                                                                                                                                           [EOIR Docket No. 19–0504; A.G. Order No.
                                            research subcommittees. Alternate                        available through the internet by USDA                4488–2019]
                                            expenditure levels were discussed by                     and the Office of the Federal Register. A
                                                                                                     30-day comment period ending May 24,                  RIN 1125–AA91
                                            these groups, based upon the relative
                                            value of various projects to the olive                   2019, was provided for interested
                                                                                                     persons to respond to the proposal. No                Asylum Eligibility and Procedural
                                            industry. The assessment rate of $44.00                                                                        Modifications
                                            per ton of assessable olives was derived                 comments were received. Accordingly,
                                            by considering anticipated expenses, the                 no changes will be made to the rule as                AGENCY: Executive Office for
                                            low volume of assessable olives, and a                   proposed.                                             Immigration Review, Department of
                                            late season freeze.                                         A small business guide on complying                Justice; U.S. Citizenship and
                                               A review of NASS information                          with fruit, vegetable, and specialty crop             Immigration Services, Department of
                                            indicates that the average producer                      marketing agreements and orders may                   Homeland Security.
                                            price for the 2017 crop year was $974.00                 be viewed at: http://www.ams.usda.gov/                ACTION: Interim final rule; request for
                                            per ton. Therefore, utilizing the                        rules-regulations/moa/small-businesses.               comment.
                                            assessment rate of $44.00 per ton, the                   Any questions about the compliance
                                            assessment revenue for the 2019 fiscal                   guide should be sent to Richard Lower                 SUMMARY: The Department of Justice and
                                            year as a percentage of total producer                   at the previously-mentioned address in                the Department of Homeland Security
                                            revenue would be approximately 4.52                      the FOR FURTHER INFORMATION CONTACT                   (‘‘DOJ,’’ ‘‘DHS,’’ or collectively, ‘‘the
                                            percent.                                                 section.                                              Departments’’) are adopting an interim
                                               This action increases the assessment                     After consideration of all relevant                final rule (‘‘interim rule’’ or ‘‘rule’’)
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                                            obligation imposed on handlers which                     material presented, including the                     governing asylum claims in the context
                                            are minimal and uniform on all                           information and recommendation                        of aliens who enter or attempt to enter
                                            handlers. Some of the additional costs                   submitted by the Committee and other                  the United States across the southern
                                            may be passed on to producers.                           available information, it is hereby found             land border after failing to apply for
                                            However, these costs would be offset by                  that this rule will tend to effectuate the            protection from persecution or torture
                                            the benefits derived by the operation of                 declared policy of the Act.                           while in a third country through which

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                                            33830               Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations

                                            they transited en route to the United                    Office for Immigration Review, 5107                   INFORMATION’’ in the first paragraph
                                            States. Pursuant to statutory authority,                 Leesburg Pike, Suite 2616, Falls Church,              of your comment and precisely and
                                            the Departments are amending their                       VA 22041. To ensure proper handling,                  prominently identify the confidential
                                            respective regulations to provide that,                  please reference EOIR Docket No. 19–                  business information of which you seek
                                            with limited exceptions, an alien who                    0504 on your correspondence. This                     redaction. If a comment has so much
                                            enters or attempts to enter the United                   mailing address may be used for paper,                confidential business information that it
                                            States across the southern border after                  disk, or CD–ROM submissions.                          cannot be effectively redacted, all or
                                            failing to apply for protection in a third                  • Hand Delivery/Courier: Lauren                    part of that comment may not be posted
                                            country outside the alien’s country of                   Alder Reid, Assistant Director, Office of             on www.regulations.gov. Personally
                                            citizenship, nationality, or last lawful                 Policy, Executive Office for Immigration              identifiable information and
                                            habitual residence through which the                     Review, 5107 Leesburg Pike, Suite 2616,               confidential business information
                                            alien transited en route to the United                   Falls Church, VA 22041. Contact                       provided as set forth above will be
                                            States is ineligible for asylum. This                    Telephone Number (703) 305–0289 (not                  placed in the public docket file of DOJ’s
                                            basis for asylum ineligibility applies                   a toll-free call).                                    Executive Office for Immigration
                                            only prospectively to aliens who enter                   FOR FURTHER INFORMATION CONTACT:                      Review (‘‘EOIR’’), but not posted online.
                                            or arrive in the United States on or after               Lauren Alder Reid, Assistant Director,                To inspect the public docket file in
                                            the effective date of this rule. In                      Office of Policy, Executive Office for                person, you must make an appointment
                                            addition to establishing a new                           Immigration Review, 5107 Leesburg                     with EOIR. Please see the FOR FURTHER
                                            mandatory bar for asylum eligibility for                 Pike, Suite 2616, Falls Church, VA                    INFORMATION CONTACT paragraph above
                                            aliens who enter or attempt to enter the                 22041. Contact Telephone Number (703)                 for the contact information specific to
                                            United States across the southern border                 305–0289 (not a toll-free call).                      this rule.
                                            after failing to apply for protection from               SUPPLEMENTARY INFORMATION:                            II. Purpose of This Interim Rule
                                            persecution or torture in at least one
                                            third country through which they                         I. Public Participation                                  As discussed further below, asylum is
                                            transited en route to the United States,                                                                       a discretionary immigration benefit that
                                                                                                        Interested persons are invited to                  generally can be sought by eligible
                                            this rule would also require asylum                      participate in this rulemaking by
                                            officers and immigration judges to apply                                                                       aliens who are physically present or
                                                                                                     submitting written data, views, or                    arriving in the United States,
                                            this new bar on asylum eligibility when                  arguments on all aspects of this rule.
                                            administering the credible-fear                                                                                irrespective of their status, as provided
                                                                                                     The Departments also invite comments                  in section 208 of the INA, 8 U.S.C. 1158.
                                            screening process applicable to                          that relate to the potential economic or              Congress, however, has provided that
                                            stowaways and aliens who are subject to                  federalism effects that might result from             certain categories of aliens cannot
                                            expedited removal under section                          this rule. To provide the most assistance             receive asylum and has further
                                            235(b)(1) of the Immigration and                         to the Departments, comments should                   delegated to the Attorney General and
                                            Nationality Act. The new bar                             reference a specific portion of the rule;             the Secretary of Homeland Security
                                            established by this regulation does not                  explain the reason for any                            (‘‘Secretary’’) the authority to
                                            modify withholding or deferral of                        recommended change; and include data,                 promulgate regulations establishing
                                            removal proceedings. Aliens who fail to                  information, or authority that supports               additional bars on eligibility to the
                                            apply for protection in a third country                  the recommended change. Comments                      extent consistent with the asylum
                                            of transit may continue to apply for                     received will be considered and                       statute, as well as the authority to
                                            withholding of removal under the                         addressed in the process of drafting the              establish ‘‘any other conditions or
                                            Immigration and Nationality Act                          final rule.                                           limitations on the consideration of an
                                            (‘‘INA’’) and deferral of removal under                     All comments submitted for this                    application for asylum’’ that are
                                            regulations issued pursuant to the                       rulemaking should include the agency                  consistent with the INA. See INA
                                            legislation implementing U.S.                            name and EOIR Docket No. 19–0504.                     208(b)(2)(C), (d)(5)(B), 8 U.S.C.
                                            obligations under Article 3 of the                       Please note that all comments received                1158(b)(2)(C), (d)(5)(B). This interim
                                            Convention against Torture and Other                     are considered part of the public record              rule will limit aliens’ eligibility for this
                                            Cruel, Inhuman or Degrading Treatment                    and made available for public                         discretionary benefit if they enter or
                                            or Punishment.                                           inspection at www.regulations.gov. Such               attempt to enter the United States across
                                            DATES:                                                   information includes personally                       the southern land border after failing to
                                               Effective date: This rule is effective                identifiable information (such as a                   apply for protection in at least one third
                                            July 16, 2019.                                           person’s name, address, or any other                  country through which they transited en
                                               Submission of public comments:                        data that might personally identify that              route to the United States, subject to
                                            Written or electronic comments must be                   individual) that the commenter                        limited exceptions.
                                            submitted on or before August 15, 2019.                  voluntarily submits.                                     The United States has experienced a
                                            Written comments postmarked on or                           If you want to submit personally                   dramatic increase in the number of
                                            before that date will be considered                      identifiable information as part of your              aliens encountered along or near the
                                            timely. The electronic Federal Docket                    comment, but do not want it to be                     southern land border with Mexico. This
                                            Management System will accept                            posted online, you must include the                   increase corresponds with a sharp
                                            comments prior to midnight eastern                       phrase ‘‘PERSONALLY IDENTIFIABLE                      increase in the number, and percentage,
                                            standard time at the end of that day.                    INFORMATION’’ in the first paragraph                  of aliens claiming fear of persecution or
                                            ADDRESSES: You may submit comments,                      of your comment and precisely and                     torture when apprehended or
                                            identified by EOIR Docket No. 19–0504,                   prominently identify the information of               encountered by DHS. For example, over
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                                            by one of the following methods:                         which you seek redaction.                             the past decade, the overall percentage
                                               • Federal eRulemaking Portal: http://                    If you want to submit confidential                 of aliens subject to expedited removal
                                            www.regulations.gov. Follow the                          business information as part of your                  and referred, as part of the initial
                                            instructions for submitting comments.                    comment, but do not want it to be                     screening process, for a credible-fear
                                               • Mail: Lauren Alder Reid, Assistant                  posted online, you must include the                   interview on claims of a fear of return
                                            Director, Office of Policy, Executive                    phrase ‘‘CONFIDENTIAL BUSINESS                        has jumped from approximately 5

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                                                                Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations                                                33831

                                            percent to above 40 percent. The                         numbers of asylum applications being                  diplomatic negotiations with Mexico
                                            number of cases referred to DOJ for                      filed: More than 436,000 of the currently             and the Northern Triangle countries
                                            proceedings before an immigration                        pending immigration cases include an                  (Guatemala, El Salvador, and Honduras)
                                            judge has also risen sharply, more than                  asylum application. But a large majority              regarding migration issues in general,
                                            tripling between 2013 and 2018. These                    of the asylum claims raised by those                  related measures employed to control
                                            numbers are projected to continue to                     apprehended at the southern border are                the flow of aliens into the United States
                                            increase throughout the remainder of                     ultimately determined to be without                   (such as the recently implemented
                                            Fiscal Year (‘‘FY’’) 2019 and beyond.                    merit. The strain on the immigration                  Migrant Protection Protocols 1), and the
                                            Only a small minority of these                           system from those meritless cases has                 urgent need to address the humanitarian
                                            individuals, however, are ultimately                     been extreme and extends to the judicial              and security crisis along the southern
                                            granted asylum.                                          system. The INA provides many                         land border between the United States
                                               The large number of meritless asylum                  asylum-seekers with rights of appeal to               and Mexico.
                                            claims places an extraordinary strain on                 the Article III courts of the United                     In sum, this rule provides that, with
                                            the nation’s immigration system,                         States. Final disposition of asylum                   limited exceptions, an alien who enters
                                            undermines many of the humanitarian                      claims, even those that lack merit, can               or arrives in the United States across the
                                            purposes of asylum, has exacerbated the                  take years and significant government                 southern land border is ineligible for the
                                            humanitarian crisis of human                             resources to resolve, particularly where              discretionary benefit of asylum unless
                                            smuggling, and affects the United States’                Federal courts of appeals grant stays of              he or she applied for and received a
                                            ongoing diplomatic negotiations with                     removal when appeals are filed. See De                final judgment denying protection in at
                                            foreign countries. This rule mitigates the               Leon v. INS, 115 F.3d 643 (9th Cir.                   least one third country through which
                                            strain on the country’s immigration                      1997).                                                he or she transited en route to the
                                            system by more efficiently identifying                      The rule’s bar on asylum eligibility for           United States. The alien would,
                                            aliens who are misusing the asylum                       aliens who fail to apply for protection               however, remain eligible to apply for
                                            system to enter and remain in the                        in at least one third country through                 statutory withholding of removal and
                                            United States rather than legitimately                   which they transit en route to the                    for deferral of removal under the CAT.
                                            seeking urgent protection from                           United States also aims to further the                   In order to alleviate the strain on the
                                            persecution or torture. Aliens who                       humanitarian purposes of asylum. It                   U.S. immigration system and more
                                            transited through another country where                  prioritizes individuals who are unable                effectively provide relief to those most
                                            protection was available, and yet did                    to obtain protection from persecution                 in need of asylum—victims of a severe
                                            not seek protection, may fall within that                elsewhere and individuals who are                     form of trafficking and refugees who
                                            category.                                                victims of a ‘‘severe form of trafficking             have no other option—this rule
                                               Apprehending the great number of                      in persons’’ as defined by 8 CFR 214.11,              incorporates the eligibility bar on
                                            aliens crossing illegally into the United                many of whom do not volitionally                      asylum into the credible-fear screening
                                            States and processing their credible-fear                transit through a third country to reach              process applicable to stowaways and
                                            and asylum claims consumes an                            the United States. By deterring meritless             aliens placed in expedited removal
                                            inordinate amount of resources of the                    asylum claims and de-prioritizing the                 proceedings.
                                            Departments. DHS must surveil,                           applications of individuals who could                 III. Background
                                            apprehend, screen, and process the                       have obtained protection in another
                                            aliens who enter the country. DHS must                   country, the Departments seek to ensure               A. Joint Interim Rule
                                            also devote significant resources to                     that those refugees who have no                          The Attorney General and the
                                            detain many aliens pending further                       alternative to U.S.-based asylum relief               Secretary publish this joint interim rule
                                            proceedings and to represent the United                  or have been subjected to an extreme                  pursuant to their respective authorities
                                            States in immigration court proceedings.                 form of human trafficking are able to                 concerning asylum determinations.
                                            The large influx of aliens also consumes                 obtain relief more quickly.                              The Homeland Security Act of 2002
                                            substantial resources of DOJ, whose                         Additionally, the rule seeks to curtail            (‘‘HSA’’), Public Law 107–296, as
                                            immigration judges adjudicate aliens’                    the humanitarian crisis created by                    amended, transferred many functions
                                            claims and whose officials are                           human smugglers bringing men,                         related to the execution of Federal
                                            responsible for prosecuting and                          women, and children across the                        immigration law to the newly created
                                            maintaining custody over those who                       southern border. By reducing the                      DHS. The HSA charged the Secretary
                                            violate Federal criminal law. Despite                    incentive for aliens without an urgent or             ‘‘with the administration and
                                            DOJ deploying close to double the                        genuine need for asylum to cross the                  enforcement of this chapter and all
                                            number of immigration judges as in                       border—in the hope of a lengthy asylum                other laws relating to the immigration
                                            2010 and completing historic numbers                     process that will enable them to remain               and naturalization of aliens,’’ 8 U.S.C.
                                            of cases, currently more than 900,000                    in the United States for years, typically             1103(a)(1), and granted the Secretary the
                                            cases are pending before the                             free from detention and with work                     power to take all actions ‘‘necessary for
                                            immigration courts. This represents an                   authorization, despite their statutory                carrying out’’ the provisions of the INA,
                                            increase of more than 100,000 cases (or                  ineligibility for relief—the rule aims to             id. at 1103(a)(3). The HSA also
                                            a greater than 13 percent increase in the                reduce human smuggling and its tragic                 transferred to DHS some responsibility
                                            number of pending cases) since the start                 effects.                                              for affirmative asylum applications, i.e.,
                                            of FY 2019. And this increase is on top                     Finally, the rule aims to aid the
                                                                                                                                                           applications for asylum made outside
                                            of an already sizeable jump over the                     United States in its negotiations with
                                                                                                                                                           the removal context. See 6 U.S.C.
                                            previous five years in the number of                     foreign nations on migration issues.
                                                                                                                                                           271(b)(3). That authority has been
                                            cases pending before immigration                         Addressing the eligibility for asylum of
                                                                                                                                                           delegated within DHS to U.S.
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                                            judges. From the end of FY 2013 to the                   aliens who enter or attempt to enter the
                                                                                                                                                           Citizenship and Immigration Services
                                            close of FY 2018, the number of pending                  United States after failing to seek
                                                                                                                                                           (‘‘USCIS’’). USCIS asylum officers
                                            cases more than doubled, increasing                      protection in at least one third country
                                            nearly 125 percent.                                      through which they transited en route to                1 See Notice of Availability for Policy Guidance
                                               That increase is owing, in part, to the               the United States will better position the            Related to Implementation of the Migrant Protection
                                            continued influx of aliens and record                    United States as it engages in ongoing                Protocols, 84 FR 6811 (Feb. 28, 2019).


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                                            33832               Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations

                                            determine in the first instance whether                  for certain Federal means-tested benefits             asylum’’ established by a regulation that
                                            an alien’s affirmative asylum                            on a preferential basis compared to most              is ‘‘consistent with’’ section 208 of the
                                            application should be granted. See 8                     legal permanent residents); INA 316(a),               INA, see INA 208(b)(2)(C), 8 U.S.C.
                                            CFR 208.4(b), 208.9.                                     8 U.S.C. 1427(a) (describing                          1158(b)(2)(C). The asylum applicant
                                               But the HSA retained authority over                   requirements for the naturalization of                bears the burden of establishing that the
                                            certain individual immigration                           lawful permanent residents).                          bar at issue does not apply. 8 CFR
                                            adjudications (including those related to                   Aliens applying for asylum must                    1240.8(d); see also, e.g., Rendon v.
                                            defensive asylum applications) for DOJ,                  establish that they meet the definition of            Mukasey, 520 F.3d 967, 973 (9th Cir.
                                            under EOIR and subject to the direction                  a ‘‘refugee,’’ that they are not subject to           2008) (applying 8 CFR 1240.8(d) in the
                                            and regulation of the Attorney General.                  a bar to the granting of asylum, and that             context of the aggravated felony bar to
                                            See 6 U.S.C. 521; 8 U.S.C. 1103(g). Thus,                they merit a favorable exercise of                    asylum); Chen v. U.S. Att’y Gen., 513
                                            immigration judges within DOJ continue                   discretion. INA 208(b)(1), 240(c)(4)(A), 8            F.3d 1255, 1257 (11th Cir. 2008)
                                            to adjudicate all asylum applications                    U.S.C. 1158(b)(1), 8 U.S.C.                           (applying 8 CFR 1240.8(d) in the context
                                            made by aliens during the removal                        1229a(c)(4)(A); see Moncrieffe v. Holder,             of the persecutor bar); Gao v. U.S. Att’y
                                            process (defensive asylum applications),                 569 U.S. 184, 187 (2013) (describing                  Gen., 500 F.3d 93, 98 (2d Cir. 2007)
                                            and they also review affirmative asylum                  asylum as a form of ‘‘discretionary relief            (same).
                                            applications referred by USCIS to the                    from removal’’); Delgado v. Mukasey,                     Because asylum is a discretionary
                                            immigration court. See INA 101(b)(4), 8                  508 F.3d 702, 705 (2d Cir. 2007)                      benefit, those aliens who are statutorily
                                            U.S.C. 1101(b)(4); 8 CFR 1208.2; Dhakal                  (‘‘Asylum is a discretionary form of                  eligible for asylum (i.e., those who meet
                                            v. Sessions, 895 F.3d 532, 536–37 (7th                   relief . . . . Once an applicant has                  the definition of ‘‘refugee’’ and are not
                                            Cir. 2018) (describing affirmative and                   established eligibility . . . it remains              subject to a mandatory bar) are not
                                            defensive asylum processes). The Board                   within the Attorney General’s discretion              entitled to it. After demonstrating
                                            of Immigration Appeals (Board), also                     to deny asylum.’’). Because asylum is a               eligibility, aliens must further meet their
                                            within DOJ, hears appeals from certain                   discretionary form of relief from                     burden of showing that the Attorney
                                            decisions by immigration judges. 8 CFR                   removal, the alien bears the burden of
                                                                                                                                                           General or Secretary should exercise his
                                            1003.1(b)–(d). Asylum-seekers may                        showing both eligibility for asylum and
                                                                                                                                                           or her discretion to grant asylum. See
                                            appeal certain Board decisions to the                    why the Attorney General or Secretary
                                                                                                                                                           INA 208(b)(1)(A), 8 U.S.C. 1158(b)(1)(A)
                                            Article III courts of the United States.                 should exercise the discretion to grant
                                                                                                                                                           (the ‘‘Secretary of Homeland Security or
                                            See INA 242(a), 8 U.S.C. 1252(a).                        relief. See INA 208(b)(1), 240(c)(4)(A), 8
                                               The HSA also provided ‘‘[t]hat                                                                              the Attorney General may grant asylum
                                                                                                     U.S.C. 1158(b)(1), 1229a(c)(4)(A)(ii); 8
                                            determination and ruling by the                                                                                to an alien’’ who applies in accordance
                                                                                                     CFR 1240.8(d); see Romilus v. Ashcroft,
                                            Attorney General with respect to all                                                                           with the required procedures and meets
                                                                                                     385 F.3d 1, 8 (1st Cir. 2004).
                                            questions of law shall be controlling.’’                    Section 208 of the INA provides that,              the definition of a ‘‘refugee’’). The
                                            INA 103(a)(1), 8 U.S.C. 1103(a)(1). This                 in order to apply for asylum, an                      asylum statute’s grant of discretion ‘‘[i]s
                                            broad division of functions and                          applicant must be ‘‘physically present’’              a broad delegation of power, which
                                            authorities informs the background of                    or ‘‘arriving’’ in the United States, INA             restricts the Attorney General’s
                                            this interim rule.                                       208(a)(1), 8 U.S.C. 1158(a)(1).                       discretion to grant asylum only by
                                                                                                     Furthermore, to obtain asylum, the alien              requiring the Attorney General to first
                                            B. Legal Framework for Asylum                                                                                  determine that the asylum applicant is
                                                                                                     must demonstrate that he or she meets
                                               Asylum is a form of discretionary                     the statutory definition of a ‘‘refugee,’’            a ‘refugee.’ ’’ Komarenko v. INS, 35 F.3d
                                            relief under section 208 of the INA, 8                   INA 208(b)(1)(A), 8 U.S.C. 1158(b)(1)(A),             432, 436 (9th Cir. 1994), overruled on
                                            U.S.C. 1158, that generally, if granted,                 and is not subject to an exception or bar,            other grounds by Abebe v. Mukasey, 554
                                            keeps an alien from being subject to                     INA 208(b)(2), 8 U.S.C. 1158(b)(2); 8                 F.3d 1203 (9th Cir. 2009) (en banc) (per
                                            removal, creates a path to lawful                        CFR 1240.8(d). The alien bears the                    curiam). Immigration judges and asylum
                                            permanent resident status and U.S.                       burden of proof to establish that he or               officers exercise that delegated
                                            citizenship, and affords a variety of                    she meets these criteria. INA                         discretion on a case-by-case basis.
                                            other benefits, such as allowing certain                 208(b)(1)(B)(i), 8 U.S.C. 1158(b)(1)(B)(i);           C. Establishing Bars to Asylum
                                            alien family members to obtain lawful                    8 CFR 1240.8(d).
                                            immigration status derivatively. See R–                     For an alien to establish that he or she              The availability of asylum has long
                                            S–C v. Sessions, 869 F.3d 1176, 1180                     is a ‘‘refugee,’’ the alien generally must            been qualified both by statutory bars
                                            (10th Cir. 2017); see also, e.g., INA                    be someone who is outside of his or her               and by administrative discretion to
                                            208(c)(1)(A), (C), 8 U.S.C. 1158(c)(1)(A),               country of nationality and ‘‘is unable or             create additional bars. Those bars have
                                            (C) (asylees cannot be removed subject                   unwilling to return to . . . that country             developed over time in a back-and-forth
                                            to certain exceptions and can travel                     because of persecution or a well-                     process between Congress and the
                                            abroad with prior consent); INA                          founded fear of persecution on account                Attorney General. The original asylum
                                            208(c)(1)(B), (d)(2), 8 U.S.C.                           of race, religion, nationality,                       statute, as set out in the Refugee Act of
                                            1158(c)(1)(B), (d)(2) (asylees shall be                  membership in a particular social group,              1980, Public Law 96–212, simply
                                            given work authorization; asylum                         or political opinion.’’ INA 101(a)(42)(A),            directed the Attorney General to
                                            applicants may be granted work                           8 U.S.C. 1101(a)(42)(A). In addition, if              ‘‘establish a procedure for an alien
                                            authorization 180 days after the filing of               evidence indicates that one or more of                physically present in the United States
                                            their applications); INA 208(b)(3), 8                    the grounds for mandatory denial may                  or at a land border or port of entry,
                                            U.S.C. 1158(b)(3) (allowing derivative                   apply, see INA 208(b)(2)(A)(i)–(vi), 8                irrespective of such alien’s status, to
                                            asylum for an asylee’s spouse and                        U.S.C. 1158(b)(2)(A)(i)–(vi), an alien                apply for asylum, and the alien may be
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                                            unmarried children); INA 209(b), 8                       must show not only that he or she does                granted asylum in the discretion of the
                                            U.S.C. 1159(b) (allowing the Attorney                    not fit within one of the statutory bars              Attorney General if the Attorney
                                            General or Secretary to adjust the status                to granting asylum but also that he or                General determines that such alien is a
                                            of an asylee to that of a lawful                         she is not subject to any ‘‘additional                refugee’’ within the meaning of the INA.
                                            permanent resident); 8 CFR 209.2; 8                      limitations and conditions . . . under                See 8 U.S.C. 1158(a) (1982); see also INS
                                            U.S.C. 1612(a)(2)(A) (asylees are eligible               which an alien shall be ineligible for                v. Cardoza-Fonseca, 480 U.S. 421, 427–

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                                                                Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations                                                 33833

                                            29 (1987) (describing the 1980                           of the INA, 8 U.S.C. 1158, to include the             crimes (beyond aggravated felonies)
                                            provisions).                                             asylum provisions in effect today:                    through case-by-case adjudication. See,
                                               In the 1980 implementing regulations,                 Among other things, Congress                          e.g., Delgado v. Holder, 648 F.3d 1095,
                                            the Attorney General, in his discretion,                 designated three categories of aliens                 1106 (9th Cir. 2011) (en banc) (finding
                                            established several mandatory bars to                    who, with limited exceptions, are                     that Congress’s decisions over time to
                                            granting asylum that were modeled on                     ineligible to apply for asylum: (1) Aliens            amend the particularly serious crime bar
                                            the mandatory bars to eligibility for                    who can be removed to a safe third                    by statute did not call into question the
                                            withholding of deportation under the                     country pursuant to a bilateral or                    Board’s additional authority to name
                                            then-existing section 243(h) of the INA.                 multilateral agreement; (2) aliens who                serious crimes via case-by-case
                                            See Refugee and Asylum Procedures, 45                    failed to apply for asylum within one                 adjudication); Ali v. Achim, 468 F.3d
                                            FR 37392, 37392 (June 2, 1980). Those                    year of arriving in the United States; and            462, 468–69 (7th Cir. 2006) (relying on
                                            regulations required denial of an asylum                 (3) aliens who have previously applied                the absence of an explicit statutory
                                            application if it was determined that (1)                for asylum and had the application                    mandate that the Attorney General
                                            the alien was ‘‘not a refugee within the                 denied. Public Law 104–208, div. C, sec.              designate ‘‘particular serious crimes’’
                                            meaning of section 101(a)(42)’’ of the                   604(a); see INA 208(a)(2)(A)–(C), 8                   only via regulation). Congress likewise
                                            INA, 8 U.S.C. 1101(a)(42); (2) the alien                 U.S.C. 1158(a)(2)(A)–(C). Congress also               authorized the Attorney General to
                                            had been ‘‘firmly resettled in a foreign                 adopted six mandatory bars to granting                designate by regulation offenses that
                                            country’’ before arriving in the United                  asylum, which largely tracked the pre-                constitute ‘‘a serious nonpolitical crime
                                            States; (3) the alien ‘‘ordered, incited,                existing asylum regulations. These bars               outside the United States prior to the
                                            assisted, or otherwise participated in the               prohibited asylum for (1) aliens who                  arrival of the alien in the United States.’’
                                            persecution of any person on account of                  ‘‘ordered, incited, or otherwise                      Public Law 104–208, div. C, sec. 604(a);
                                            race, religion, nationality, membership                  participated’’ in the persecution of                  see INA 208(b)(2)(A)(iii), (B)(ii), 8 U.S.C.
                                            in a particular group, or political                      others on account of a protected ground;              1158(b)(2)(A)(iii), (B)(ii).2
                                            opinion’’; (4) the alien had ‘‘been                      (2) aliens convicted of a ‘‘particularly                 Congress further provided the
                                            convicted by a final judgment of a                       serious crime’’ in the United States; (3)             Attorney General with the authority, by
                                            particularly serious crime’’ and                         aliens who committed a ‘‘serious                      regulation, to ‘‘establish additional
                                            therefore constituted ‘‘a danger to the                  nonpolitical crime outside the United                 limitations and conditions, consistent
                                            community of the United States’’; (5)                    States’’ before arriving in the United                with [section 208 of the INA], under
                                            there were ‘‘serious reasons for                         States; (4) aliens who are a ‘‘danger to              which an alien shall be ineligible for
                                            considering that the alien ha[d]                         the security of the United States’’; (5)              asylum under paragraph (1).’’ Public
                                            committed a serious nonpolitical crime                   aliens who are inadmissible or                        Law 104–208, div. C, sec. 604(a); see
                                            outside the United States prior to the                   removable under a set of specified                    INA 208(b)(2)(C), 8 U.S.C. 1158(b)(2)(C).
                                            arrival of the alien in the United States’’;             grounds relating to terrorist activity; and           As the Tenth Circuit has recognized,
                                            or (6) there were ‘‘reasonable grounds                   (6) aliens who have ‘‘firmly resettled in             ‘‘the statute clearly empowers’’ the
                                            for regarding the alien as a danger to the               another country prior to arriving in the              Attorney General and the Secretary to
                                            security of the United States.’’ See 45 FR               United States.’’ Public Law 104–208,                  ‘‘adopt[ ] further limitations’’ on asylum
                                            at 37394–95.                                             div. C, sec. 604(a); see INA                          eligibility. R–S–C, 869 F.3d at 1187 &
                                               In 1990, the Attorney General                                                                               n.9. By allowing the creation by
                                                                                                     208(b)(2)(A)(i)–(vi), 8 U.S.C.
                                            substantially amended the asylum                                                                               regulation of ‘‘additional limitations and
                                                                                                     1158(b)(2)(A)(i)–(vi). Congress further
                                            regulations while retaining the                                                                                conditions,’’ the statute gives the
                                                                                                     added that aggravated felonies, defined
                                            mandatory bars for aliens who (1)                                                                              Attorney General and the Secretary
                                                                                                     in 8 U.S.C. 1101(a)(43), would be
                                            persecuted others on account of a                                                                              broad authority in determining what the
                                            protected ground; (2) were convicted of                  considered ‘‘particularly serious
                                                                                                                                                           ‘‘limitations and conditions’’ should be.
                                            a particularly serious crime in the                      crime[s].’’ Public Law 104–208, div. C,
                                                                                                                                                           The additional limitations on eligibility
                                            United States; (3) firmly resettled in                   sec. 604(a); see INA 201(a)(43), 8 U.S.C.
                                                                                                                                                           must be established ‘‘by regulation,’’
                                            another country; or (4) presented                        1101(a)(43).
                                                                                                                                                           and must be ‘‘consistent with’’ the rest
                                            reasonable grounds to be regarded as a                      Although Congress enacted specific                 of section 208 of the INA. INA
                                            danger to the security of the United                     bars to asylum eligibility, that statutory            208(b)(2)(C), 8 U.S.C. 1158(b)(2)(C).
                                            States. See Asylum and Withholding of                    list is not exhaustive. Congress, in                     Thus, the Attorney General has
                                            Deportation Procedures, 55 FR 30674,                     IIRIRA, expressly authorized the                      previously invoked section 208(b)(2)(C)
                                            30683 (July 27, 1990); see also Yang v.                  Attorney General to expand upon two of                of the INA to limit eligibility for asylum
                                            INS, 79 F.3d 932, 936–39 (9th Cir. 1996)                 those exceptions—the bars for                         based on a ‘‘fundamental change in
                                            (upholding firm-resettlement bar);                       ‘‘particularly serious crimes’’ and                   circumstances’’ and on the ability of an
                                            Komarenko, 35 F.3d at 436 (upholding                     ‘‘serious nonpolitical offenses.’’ While              applicant to safely relocate internally
                                            particularly-serious-crime bar),                         Congress prescribed that all aggravated               within the alien’s country of nationality
                                            abrogated on other grounds, Abebe v.                     felonies constitute particularly serious              or of last habitual residence. See
                                            Mukasey, 554 F.3d 1203 (9th Cir. 2009)                   crimes, Congress further provided that                Asylum Procedures, 65 FR 76121, 76126
                                            (en banc). In the Immigration Act of                     the Attorney General may ‘‘designate by               (Dec. 6, 2000). More recently, the
                                            1990, Congress added an additional                       regulation offenses that will be                      Attorney General and Secretary invoked
                                            mandatory bar to applying for or being                   considered’’ a ‘‘particularly serious                 section 208(b)(2)(C) to limit eligibility
                                            granted asylum for ‘‘an[y] alien who has                 crime,’’ the perpetrator of which                     for asylum for aliens subject to a bar on
                                            been convicted of an aggravated felony.’’                ‘‘constitutes a danger to the community               entry under certain presidential
                                            Public Law 101–649, sec. 515 (1990).                     of the United States.’’ Public Law 104–               proclamations. See Aliens Subject to a
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                                               In the Illegal Immigration Reform and                 208, div. C, sec. 604(a); see INA                     Bar on Entry Under Certain Presidential
                                            Immigrant Responsibility Act of 1996                     208(b)(2)(A)(ii), (B)(ii), 8 U.S.C.
                                            (‘‘IIRIRA’’), Public Law 104–208, div. C,                1158(b)(2)(A)(ii), (B)(ii). Courts and the              2 These provisions continue to refer only to the

                                            and the Antiterrorism and Effective                      Board have long held that this grant of               Attorney General, but the Departments interpret the
                                                                                                                                                           provisions to also apply to the Secretary by
                                            Death Penalty Act of 1996, Public Law                    authority also authorizes the Board to                operation of the HSA, Public Law 107–296. See 6
                                            104–132, Congress amended section 208                    identify additional particularly serious              U.S.C. 552; 8 U.S.C. 1103(a)(1).


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                                            33834               Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations

                                            Proclamations; Procedures for                            countries. See Sall v. Gonzales, 437 F.3d             (1998); 8 CFR 1208.13(c); 8 CFR
                                            Protection Claims, 83 FR 55934 (Nov. 9,                  229, 233 (2d Cir. 2006); Matter of A–G–               1208.3(b), see also 8 CFR 1208.16(c) and
                                            2018).3 The courts have also viewed                      G–, 25 I&N Dec. 486, 503 (BIA 2011); see              1208.17.
                                            section 208(b)(2)(C) as conferring broad                 also 8 U.S.C. 1158(a)(2)(A) (providing                   Those forms of protection bar an
                                            discretion, including to render aliens                   that aliens who may be removed,                       alien’s removal to any country where
                                            ineligible for asylum based on fraud.                    pursuant to a bilateral or multilateral               the alien would ‘‘more likely than not’’
                                            See R–S–C, 869 F.3d at 1187; Nijjar v.                   agreement, to a safe third country may                face persecution or torture, meaning that
                                            Holder, 689 F.3d 1077, 1082 (9th Cir.                    not apply for asylum, and further                     the alien would face a clear probability
                                            2012) (noting that fraud can be ‘‘one of                 demonstrating the intention of Congress               that his or her life or freedom would be
                                            the ‘additional limitations . . . under                  to afford asylum protection only to                   threatened on account of a protected
                                            which an alien shall be ineligible for                   those applicants who cannot seek                      ground or a clear probability of torture.
                                            asylum’ that the Attorney General is                     effective protection in third countries).             8 CFR 1208.16(b)(2), (c)(2); see
                                            authorized to establish by regulation’’).                The concern with avoiding such forum-                 Kouljinski v. Keisler, 505 F.3d 534, 544
                                               Section 208(d)(5) of the INA, 8 U.S.C.                shopping has only been heightened by                  (6th Cir. 2007); Sulaiman v. Gonzales,
                                            1158(d)(5), also establishes certain                     the dramatic increase in aliens entering              429 F.3d 347, 351 (1st Cir. 2005). Thus,
                                            procedures for consideration of asylum                   or arriving in the United States along                if an alien proves that it is more likely
                                            applications. But Congress specified                     the southern border after transiting                  than not that the alien’s life or freedom
                                            that the Attorney General ‘‘may provide                  through one or more third countries                   would be threatened on account of a
                                            by regulation for any other conditions or                where they could have sought                          protected ground, but is denied asylum
                                            limitations on the consideration of an                   protection, but did not. See infra at 33–             for some other reason—for instance,
                                            application for asylum,’’ so long as                     41; Kalubi v. Ashcroft, 364 F.3d 1134,                because of a statutory exception, an
                                            those limitations are ‘‘not inconsistent                 1140 (9th Cir. 2004) (noting that forum-              eligibility bar adopted by regulation, or
                                            with this chapter.’’ INA 208(d)(5)(B), 8                 shopping might be ‘‘part of the totality              a discretionary denial of asylum—the
                                            U.S.C. 1158(d)(5)(B).                                    of circumstances that sheds light on a                alien nonetheless may be entitled to
                                               In sum, the current statutory                         request for asylum in this country’’).                statutory withholding of removal if not
                                            framework leaves the Attorney General                    While under the current regulatory                    otherwise barred from that form of
                                            (and, after the HSA, also the Secretary)                 regime the firm-resettlement bar applies              protection. INA 241(b)(3)(A), 8 U.S.C.
                                            significant discretion to adopt                          only in circumstances in which offers of              1231(b)(3)(A); 8 CFR 208.16, 1208.16;
                                            additional bars to asylum eligibility. As                permanent status have been extended by                see also Garcia v. Sessions, 856 F.3d 27,
                                            noted above, when creating mandatory                     third countries, see 8 CFR 208.15,                    40 (1st Cir. 2017) (‘‘[W]ithholding of
                                            bars to asylum eligibility in the IIRIRA,                1208.15, the additional bar created by                removal has long been understood to be
                                            Congress simultaneously delegated the                    this rule also seeks—like the firm-                   a mandatory protection that must be
                                            authority to create additional bars in                   resettlement bar—to deny asylum                       given to certain qualifying aliens, while
                                            section 1158(b)(2)(C). Public Law 104–                   protection to those persons effectively               asylum has never been so understood.’’).
                                            208, sec. 604 (codified at 8 U.S.C.                      choosing among several countries where                Likewise, an alien who establishes that
                                            1158(b)(2)). Pursuant to this broad                      avenues to protection from return to                  he or she will more likely than not face
                                            delegation of authority, the Attorney                    persecution are available by waiting                  torture in the country of removal will
                                            General and the Secretary have in the                    until they reach the United States to                 qualify for CAT protection. See 8 CFR
                                            past acted to protect the integrity of the               apply for protection. See Sall, 437 F.3d              208.16(c), 208.17(a), 1208.16(c),
                                            asylum system by limiting eligibility for                at 233. Thus, the rule is well within the             1208.17(a). In contrast to the more
                                            those who do not truly require this                      authority conferred by section                        generous benefits available through
                                            country’s protection, and do so again                    208(b)(2)(C).                                         asylum, statutory withholding and CAT
                                            here. See, e.g., 83 FR at 55944; 65 FR at                                                                      protection do not: (1) Prohibit the
                                            76126.                                                   D. Other Forms of Protection                          Government from removing the alien to
                                               In promulgating this rule, the                           Aliens who are not eligible to apply               a third country where the alien would
                                            Departments rely on the broad authority                  for or receive a grant of asylum, or who              not face the requisite probability of
                                            granted by 8 U.S.C. 1158(b)(2)(C) to                     are denied asylum on the basis of the                 persecution or torture (even in the
                                            protect the ‘‘core regulatory purpose’’ of               Attorney General’s or the Secretary’s                 absence of an agreement with that third
                                            asylum law by prioritizing applicants                    discretion, may nonetheless qualify for               country); (2) create a path to lawful
                                            ‘‘with nowhere else to turn.’’ Matter of                 protection from removal under other                   permanent resident status and
                                            B–R–, 26 I&N Dec. 119, 122 (BIA 2013)                    provisions of the immigration laws. A                 citizenship; or (3) afford the same
                                            (internal quotation marks omitted)                       defensive application for asylum that is              ancillary benefits (such as derivative
                                            (explaining that, in light of asylum law’s               submitted by an alien in removal                      protection for family members) and
                                            ‘‘core regulatory purpose,’’ several                     proceedings is deemed an application                  access to Federal means-tested public
                                            provisions of the U.S. Code ‘‘limit an                   for statutory withholding of removal                  benefits. See R–S–C, 869 F.3d at 1180.
                                            alien’s ability to claim asylum in the                   under section 241(b)(3) of the INA, 8
                                            United States when other safe options                    U.S.C. 1231(b)(3). See 8 CFR                          E. Implementation of International
                                            are available’’). Such prioritization is                 208.30(e)(2)–(4); 8 CFR 1208.16(a). And               Treaty Obligations
                                            consistent with the purpose of the                       an immigration judge may also consider                  The framework described above is
                                            statutory firm-resettlement bar (8 U.S.C.                an alien’s eligibility for withholding and            consistent with certain U.S. obligations
                                            1158(b)(2)(A)(vi)), which likewise was                   deferral of removal under regulations                 under the 1967 Protocol relating to the
                                            implemented to limit the availability of                 issued pursuant to the implementing                   Status of Refugees (‘‘Refugee Protocol’’),
                                            asylum for those who are seeking to                      legislation regarding U.S. obligations                which incorporates Articles 2–34 of the
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                                            choose among a number of safe                            under Article 3 of the Convention                     1951 Convention relating to the Status
                                                                                                     against Torture and Other Cruel,                      of Refugees (‘‘Refugee Convention’’), as
                                              3 This rule is currently subject to a preliminary
                                                                                                     Inhuman or Degrading Treatment or                     well as U.S. obligations under Article 3
                                            injunction against its enforcement. See East Bay         Punishment (‘‘CAT’’). See Foreign                     of the CAT. Neither the Refugee
                                            Sanctuary Covenant v. Trump, 354 F. Supp. 3d
                                            1094, 1115, 1121 (N.D. Cal. 2018), on remand from        Affairs Reform and Restructuring Act of               Protocol nor the CAT is self-executing
                                            909 F.3d 1219 (9th Cir. 2018).                           1998, Public Law 105–277, sec. 2242(b)                in the United States. See Khan v.

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                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                   Page 193 of 350 PageID 4786
                                                                Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations                                          33835

                                            Holder, 584 F.3d 773, 783 (9th Cir.                      Article 31(1) of the Refugee Convention.              an alien who enters or attempts to enter
                                            2009) (‘‘[T]he [Refugee] Protocol is not                 Mejia, 866 F.3d at 588; Cazun, 856 F.3d               the United States across the southern
                                            self-executing.’’); Auguste v. Ridge, 395                at 257 & n.16. Courts have also rejected              border after failing to apply for
                                            F.3d 123, 132 (3d Cir. 2005) (the CAT                    the argument that Article 28 of the                   protection from persecution or torture in
                                            ‘‘was not self-executing’’). These treaties              Refugee Convention, governing the                     at least one third country outside the
                                            are not directly enforceable in U.S. law,                issuance of international travel                      alien’s country of citizenship,
                                            but some of their obligations have been                  documents for refugees ‘‘lawfully                     nationality, or last lawful habitual
                                            implemented by domestic legislation.                     staying’’ in a country’s territory,                   residence through which he or she
                                            For example, the United States has                       mandates that every person who might                  transited en route to the United States,
                                            implemented the non-refoulement                          qualify for statutory withholding must                this rule would also modify certain
                                            provisions of these treaties—i.e.,                       also be granted asylum. R–S–C, 869 F.3d               aspects of the process for screening fear
                                            provisions prohibiting the return of an                  at 1188; Garcia, 856 F.3d at 42.                      claims asserted by such aliens who are
                                            individual to a country where he or she                                                                        subject to expedited removal under
                                            would face persecution or torture—                       IV. Regulatory Changes
                                                                                                                                                           section 235(b)(1) of the INA, 8 U.S.C.
                                            through the withholding of removal                       A. Limitation on Eligibility for Asylum               1225(b)(1). Under current procedures,
                                            provisions at section 241(b)(3) of the                   for Aliens Who Enter or Attempt To                    aliens subject to expedited removal may
                                            INA and the CAT regulations, rather                      Enter the United States Across the                    avoid being removed by making a
                                            than through the asylum provisions at                    Southern Land Border After Failing To                 threshold showing of a credible fear of
                                            section 208 of the INA. See Cardoza-                     Apply for Protection in at Least One                  persecution or torture at an initial
                                            Fonseca, 480 U.S. at 440–41; Foreign                     Country Through Which They Transited                  screening interview. At present, those
                                            Affairs Reform and Restructuring Act of                  En Route to the United States                         aliens are often released into the interior
                                            1998 at sec. 2242(b); 8 CFR 208.16(b)–                                                                         of the United States pending
                                                                                                        Pursuant to section 208(b)(2)(C) of the
                                            (c), 208.17–208.18; 1208.16(b)–(c),                                                                            adjudication of such claims by an
                                            1208.17–1208.18. Limitations on the                      INA, 8 U.S.C. 1158(b)(2)(C), the
                                                                                                     Departments are revising 8 CFR                        immigration court in removal
                                            availability of asylum that do not affect                                                                      proceedings under section 240 of the
                                            the statutory withholding of removal or                  208.13(c) and 8 CFR 1208.13(c) to add
                                                                                                     a new mandatory bar to eligibility for                INA, especially if those aliens travel as
                                            protection under the CAT regulations                                                                           family units. Once an alien is released,
                                            are consistent with these provisions. See                asylum for an alien who enters or
                                                                                                     attempts to enter the United States                   adjudications can take months or years
                                            R–S–C, 869 F.3d at 1188 & n. 11; Cazun                                                                         to complete because of the increasing
                                            v. U.S. Att’y Gen., 856 F.3d 249, 257 &                  across the southern border, but who did
                                                                                                     not apply for protection from                         volume of claims and the need to
                                            n.16 (3d Cir. 2017); Ramirez-Mejia v.                                                                          expedite cases in which aliens have
                                            Lynch, 813 F.3d 240, 241 (5th Cir. 2016).                persecution or torture where it was
                                                                                                     available in at least one third country               been detained. The Departments expect
                                               Courts have rejected arguments that                                                                         that a substantial proportion of aliens
                                            the Refugee Convention, as                               outside the alien’s country of
                                                                                                     citizenship, nationality, or last lawful              subject to a third-country-transit asylum
                                            implemented, requires that every                                                                               eligibility bar would be subject to
                                            qualified refugee receive asylum. For                    habitual residence through which he or
                                                                                                     she transited en route to the United                  expedited removal, since approximately
                                            example, the Supreme Court has made                                                                            234,534 aliens in FY 2018 who
                                            clear that Article 34, which concerns the                States, such as in Mexico via that
                                                                                                     country’s robust protection regime. The               presented at a port of entry or were
                                            assimilation and naturalization of                                                                             apprehended at the border were referred
                                            refugees, is precatory and not                           bar would be subject to several limited
                                                                                                     exceptions, for (1) an alien who                      to expedited-removal proceedings. The
                                            mandatory, and, accordingly, does not
                                                                                                     demonstrates that he or she applied for               procedural changes within expedited
                                            mandate that all refugees be granted
                                                                                                     protection from persecution or torture in             removal would be confined to aliens
                                            asylum. See Cardoza-Fonseca, 480 U.S.
                                                                                                     at least one of the countries through                 who are ineligible for asylum because
                                            at 441. Section 208 of the INA reflects
                                                                                                     which the alien transited en route to the             they are subject to a regulatory bar for
                                            that Article 34 is precatory and not
                                                                                                     United States, and the alien received a               contravening the new mandatory third-
                                            mandatory, and accordingly does not
                                                                                                     final judgment denying the alien                      country-transit asylum eligibility bar
                                            provide that all refugees shall receive
                                                                                                     protection in such country; (2) an alien              imposed by the present rule.
                                            asylum. See id.; see also R–S–C, 869
                                            F.3d at 1188; Mejia v. Sessions, 866 F.3d                who demonstrates that he or she                          1. Under existing law, expedited-
                                            573, 588 (4th Cir. 2017); Cazun, 856                     satisfies the definition of ‘‘victim of a             removal procedures—streamlined
                                            F.3d at 257 & n. 16; Garcia, 856 F.3d at                 severe form of trafficking in persons’’               procedures for expeditiously reviewing
                                            42; Ramirez-Mejia, 813 F.3d at 241. As                   provided in 8 CFR 214.11; or (3) an                   claims and removing certain aliens—
                                            noted above, Congress has also                           alien who has transited en route to the               apply to those individuals who arrive at
                                            recognized the precatory nature of                       United States through only a country or               a port of entry or those who have
                                            Article 34 by imposing various statutory                 countries that were not parties to the                entered illegally and are encountered by
                                            exceptions and by authorizing the                        1951 Convention relating to the Status                an immigration officer within 100 miles
                                            creation of new bars to asylum                           of Refugees, the 1967 Protocol, or the                of the border and within 14 days of
                                            eligibility through regulation.                          CAT.                                                  entering. See INA 235(b), 8 U.S.C.
                                               Courts have likewise rejected                            In all cases the burden would remain               1225(b); Designating Aliens For
                                            arguments that other provisions of the                   with the alien to establish eligibility for           Expedited Removal, 69 FR 48877, 48880
                                            Refugee Convention require every                         asylum consistent with current law,                   (Aug. 11, 2004). To be subject to
                                            refugee to receive asylum. For example,                  including—if the evidence indicates                   expedited removal, an alien must also
                                            courts have held, in the context of                      that a ground for mandatory denial                    be inadmissible under section
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                                            upholding the bar on eligibility for                     applies—the burden to prove that a                    212(a)(6)(C) or (a)(7) of the INA, 8 U.S.C.
                                            asylum in reinstatement proceedings                      ground for mandatory denial of the                    1182(a)(6)(C) or (a)(7), meaning that the
                                            under section 241(a)(5) of the INA, 8                    asylum application does not apply. 8                  alien has either tried to procure
                                            U.S.C. 1231(a)(5), that limiting the                     CFR 1240.8(d).                                        documentation through
                                            ability to apply for asylum does not                        In addition to establishing a new                  misrepresentation or lacks such
                                            constitute a prohibited ‘‘penalty’’ under                mandatory bar for asylum eligibility for              documentation altogether. Thus, an

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                                            33836               Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations

                                            alien encountered in the interior of the                 report, ‘‘[t]he credible-fear standard                asylum are not necessarily eligible for
                                            United States who entered the country                    [wa]s designed to weed out non-                       statutory withholding or CAT
                                            after the publication of this rule                       meritorious cases so that only                        protection.
                                            imposing the third-country-transit bar                   applicants with a likelihood of success                  Current regulations instruct USCIS
                                            and who is not otherwise amenable to                     will proceed to the regular asylum                    adjudicators and immigration judges to
                                            expedited removal would be placed in                     process.’’ H.R. Rep. No. 104–69, at 158.              treat an alien’s request for asylum in
                                            proceedings under section 240 of the                        If the asylum officer determines that              expedited-removal proceedings under
                                            INA.                                                     the alien lacks a credible fear, then the             section 1225(b) as a request for statutory
                                               Section 235(b)(1) of the INA, 8 U.S.C.                alien may request review by an                        withholding and CAT protection as
                                            1225(b)(1), prescribes procedures in the                 immigration judge. INA                                well. See 8 CFR 208.13(c)(1),
                                            expedited-removal context for screening                  235(b)(1)(B)(iii)(III), 8 U.S.C.                      208.30(e)(2)–(4), 1208.13(c)(1),
                                            an alien’s eligibility for asylum. When                  1225(b)(1)(B)(iii)(III). If the immigration           1208.16(a). In the context of expedited-
                                            these provisions were being debated in                   judge concurs with the asylum officer’s               removal proceedings, ‘‘credible fear of
                                            1996, the House Judiciary Committee                      negative credible-fear determination,                 persecution’’ is defined to mean a
                                            expressed particular concern that                        then the alien shall be removed from the              ‘‘significant possibility’’ that the alien
                                            ‘‘[e]xisting procedures to deny entry to                 United States without further review by               ‘‘could establish eligibility for asylum,’’
                                            and to remove illegal aliens from the                    either the Board or the courts. INA                   not the CAT or statutory withholding.
                                            United States are cumbersome and                         235(b)(1)(B)(iii)(I), (b)(1)(C), 8 U.S.C.             INA 235(b)(1)(B)(v), 8 U.S.C.
                                            duplicative,’’ and that ‘‘[t]he asylum                   1225(b)(1)(B)(iii)(I), (b)(1)(C); INA                 1225(b)(1)(B)(v). Regulations
                                            system has been abused by those who                      242(a)(2)(A)(iii), (e)(5), 8 U.S.C.                   nevertheless have generally provided
                                            seek to use it as a means of ‘backdoor’                  1252(a)(2)(A)(iii), (e)(5). By contrast, if           that aliens in expedited removal should
                                            immigration.’’ H.R. Rep. No. 104–469,                    the asylum officer or immigration judge               be subject to the same process and
                                            pt. 1, at 107 (1996). The Committee                      determines that the alien has a credible              screening standard for considering
                                            accordingly described the purpose of                     fear—i.e., ‘‘a significant possibility . . .          statutory withholding of removal claims
                                            expedited removal and related                            that the alien could establish eligibility            under INA 241(b)(3), 8 U.S.C.
                                            procedures as ‘‘streamlin[ing] rules and                 for asylum,’’ INA 235(b)(1)(B)(v), 8                  1231(b)(3), and claims for protection
                                            procedures in the Immigration and                        U.S.C. 1225(b)(1)(B)(v)—then the alien,               under the CAT regulations, as they are
                                            Nationality Act to make it easier to deny                under current regulations, is placed in               for asylum claims. See 8 CFR
                                            admission to inadmissible aliens and                     section 240 proceedings for a full                    208.30(e)(2)–(4).
                                            easier to remove deportable aliens from                  hearing before an immigration judge,                     Thus, when the former Immigration
                                            the United States.’’ Id. at 157; see Am.                 with appeal available to the Board and                and Naturalization Service provided for
                                            Immigration Lawyers Ass’n v. Reno, 18                    review in the Federal courts of appeals,              claims for statutory withholding of
                                            F. Supp. 2d 38, 41 (D.D.C. 1998), aff’d,                 see INA 235(b)(1)(B)(ii), (b)(2)(A), 8                removal and CAT protection to be
                                            199 F.3d 1352 (D.C. Cir. 2000) (rejecting                U.S.C. 1225(b)(1)(B)(ii), (b)(2)(A); INA              considered in the same expedited-
                                            several constitutional challenges to                     242(a), 8 U.S.C. 1252(a); 8 CFR                       removal proceedings as asylum, the
                                            IIRIRA and describing the expedited-                     208.30(e)(5), 1003.1.                                 result was that if an alien showed that
                                            removal process as a ‘‘summary removal                      By contrast, section 235 of the INA is             there was a significant possibility of
                                            process for adjudicating the claims of                   silent regarding procedures for the                   establishing eligibility for asylum and
                                            aliens who arrive in the United States                   granting of statutory withholding of                  was therefore referred for removal
                                            without proper documentation’’).                         removal and CAT protection; indeed,                   proceedings under section 240 of the
                                               Congress thus provided that aliens                    section 235 predates the legislation                  INA, any potential statutory
                                            ‘‘inadmissible under [8 U.S.C.]                          directing implementation of U.S.                      withholding and CAT claims the alien
                                            1182(a)(6)(C) or 1182(a)(7)’’ shall be                   obligations under Article 3 of the CAT.               might have had were referred as well.
                                            ‘‘removed from the United States                         See Foreign Affairs Reform and                        This was done on the assumption that
                                            without further hearing or review unless                 Restructuring Act of 1998 at sec. 2242(b)             it would not ‘‘disrupt[] the streamlined
                                            the alien indicates either an intention to               (requiring implementation of the CAT);                process established by Congress to
                                            apply for asylum under [8 U.S.C. 1158]                   IIRIRA at sec. 302 (revising section 235              circumvent meritless claims.’’
                                            or a fear of persecution.’’ INA                          of the INA to include procedures for                  Regulations Concerning the Convention
                                            235(b)(1)(A)(i), 8 U.S.C. 1225(b)(1)(A)(i);              dealing with inadmissible aliens who                  Against Torture, 64 FR 8478, 8485 (Feb.
                                            see INA 235(b)(1)(A)(ii), 8 U.S.C.                       intend to apply for asylum). The legal                19, 1999). But while the INA authorizes
                                            1225(b)(1)(A)(ii) (such aliens shall be                  standards for ultimately meeting the                  the Attorney General and Secretary to
                                            referred ‘‘for an interview by an asylum                 statutory standards for asylum on the                 provide for consideration of statutory
                                            officer’’). On its face, the statute refers              merits versus statutory withholding or                withholding and CAT claims together
                                            only to proceedings to establish                         CAT protection are also different.                    with asylum claims or other matters that
                                            eligibility for an affirmative grant of                  Asylum requires an applicant to                       may be considered in removal
                                            asylum, not to statutory withholding of                  ultimately establish a ‘‘well-founded                 proceedings, the INA does not mandate
                                            removal or CAT protection against                        fear’’ of persecution, which has been                 that approach, see Foti v. INS, 375 U.S.
                                            removal to a particular country.                         interpreted to mean a ‘‘reasonable                    217, 229–30 & n.16 (1963), or that they
                                               An alien referred for a credible-fear                 possibility’’ of persecution—a ‘‘more                 be considered in the same manner.
                                            interview must demonstrate a ‘‘credible                  generous’’ standard than the ‘‘clear                     Since 1999, regulations also have
                                            fear,’’ defined as a ‘‘significant                       probability’’ of persecution or torture               provided for a distinct ‘‘reasonable fear’’
                                            possibility, taking into account the                     standard that applies to statutory                    screening process for certain aliens who
                                            credibility of the statements made by                    withholding or CAT protection. See INS                are categorically ineligible for asylum
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                                            the alien in support of the alien’s claim                v. Stevic, 467 U.S. 407, 425, 429–30                  and can thus make claims only for
                                            and such other facts as are known to the                 (1984); Santosa v. Mukasey, 528 F.3d                  statutory withholding or CAT
                                            officer, that the alien could establish                  88, 92 & n.1 (1st Cir. 2008); compare 8               protection. See 8 CFR 208.31.
                                            eligibility for asylum under [8 U.S.C.                   CFR 1208.13(b)(2)(i)(B), with 8 CFR                   Specifically, if an alien is subject to
                                            1158].’’ INA 235(b)(1)(B)(v), 8 U.S.C.                   1208.16(b)(2), (c)(2). As a result,                   having a previous order of removal
                                            1225(b)(1)(B)(v). According to the House                 applicants who establish eligibility for              reinstated or is a non-permanent

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                                       VerDate Sep<11>2014   16:49 Jul 15, 2019   Jkt 247001   PO 00000   Frm 00010   Fmt 4700   Sfmt 4700   E:\FR\FM\16JYR1.SGM   16JYR1
                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                   Page 195 of 350 PageID 4788
                                                                Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations                                          33837

                                            resident alien subject to an                             transit eligibility bar, but who express a            the asylum officer would apply the
                                            administrative order of removal                          fear of return or seek statutory                      long-established reasonable-fear
                                            resulting from an aggravated felony                      withholding or CAT protection. The                    standard to assess whether further
                                            conviction, then he or she is                            Attorney General and Secretary have                   proceedings on a possible statutory
                                            categorically ineligible for asylum. See                 broad authority to implement the                      withholding or CAT protection claim
                                            id. § 208.31(a), (e). Such an alien can be               immigration laws, see INA 103, 8 U.S.C.               are warranted. If the asylum officer
                                            placed in withholding-only proceedings                   1103, including by establishing                       determined that the alien had not
                                            to adjudicate his statutory withholding                  regulations, see INA 103(a)(3), 8 U.S.C.              established the requisite reasonable fear,
                                            or CAT claims, but only if he first                      1103(a)(3), and to regulate ‘‘conditions              the alien then could seek review of that
                                            establishes a ‘‘reasonable fear’’ of                     or limitations on the consideration of an             decision from an immigration judge
                                            persecution or torture through a                         application for asylum,’’ id.                         (just as the alien may under existing 8
                                            screening process that tracks the                        1158(d)(5)(B). Furthermore, the                       CFR 208.30 and 208.31), and would be
                                            credible-fear process. See id. § 208.31(c),              Secretary has the authority—in his ‘‘sole             subject to removal only if the
                                            (e).                                                     and unreviewable discretion,’’ the                    immigration judge agreed with the
                                               To establish a reasonable fear of                     exercise of which may be ‘‘modified at                negative reasonable-fear finding.
                                            persecution or torture, an alien must                    any time’’—to designate additional                    Conversely, if either the asylum officer
                                            establish a ‘‘reasonable possibility that                categories of aliens that will be subject             or the immigration judge determined
                                            [the alien] would be persecuted on                       to expedited-removal procedures, so                   that the alien cleared the reasonable-fear
                                            account of his or her race, religion,                    long as the designated aliens have not                threshold, the alien would be put in
                                            nationality, membership in a particular                  been admitted or paroled nor                          section 240 proceedings, just like aliens
                                            social group or political opinion, or a                  continuously present in the United                    who receive a positive credible-fear
                                            reasonable possibility that he or she                    States for two years. INA                             determination for asylum. Employing a
                                            would be tortured in the country of                      235(b)(1)(A)(iii), 8 U.S.C.                           reasonable-fear standard in this context,
                                            removal.’’ Id. § 208.31(c). ‘‘This . . .                 1225(b)(1)(A)(iii). The Departments have              for this category of ineligible aliens,
                                            screening process is modeled on the                      frequently invoked these authorities to               would be consistent with DOJ’s
                                            credible-fear screening process, but                     establish or modify procedures affecting              longstanding rationale that ‘‘aliens
                                            requires the alien to meet a higher                      aliens in expedited-removal                           ineligible for asylum,’’ who could only
                                            screening standard.’’ Regulations                        proceedings, as well as to adjust the                 be granted statutory withholding of
                                            Concerning the Convention Against                        categories of aliens subject to particular            removal or CAT protection, should be
                                            Torture, 64 FR at 8485; see also Garcia                  procedures within the expedited-                      subject to a different screening standard
                                            v. Johnson, No. 14–CV–01775, 2014 WL                     removal framework.                                    that would correspond to the higher bar
                                            6657591, at *2 (N.D. Cal. Nov. 21, 2014)                    This rule does not change the                      for actually obtaining these forms of
                                            (describing the aim of the regulations as                credible-fear standard for asylum                     protection. See Regulations Concerning
                                            providing ‘‘fair and efficient                           claims, although the regulation would                 the Convention Against Torture, 64 FR
                                            procedures’’ in reasonable-fear                          expand the scope of the inquiry in the                at 8485 (‘‘Because the standard for
                                            screening that would comport with U.S.                   process. An alien who is subject to the               showing entitlement to these forms of
                                            international obligations).                              third-country-transit bar and                         protection . . . is significantly higher
                                               Significantly, when establishing the                  nonetheless has entered the United                    than the standard for asylum[,] . . . the
                                            reasonable-fear screening process, DOJ                   States along the southern land border                 screening standard adopted for initial
                                            explained that the two affected                          after the effective date of this rule                 consideration of withholding and
                                            categories of aliens should be screened                  creating the bar would be ineligible for              deferral requests in these contexts is
                                            based on the higher reasonable-fear                      asylum and would thus not be able to                  also higher.’’).
                                            standard because, ‘‘[u]nlike the broad                   establish a ‘‘significant possibility . . .              3. The screening process established
                                            class of arriving aliens who are subject                 [of] eligibility for asylum under section             by the interim rule accordingly will
                                            to expedited removal, these two classes                  1158.’’ INA 235(b)(1)(B)(v), 8 U.S.C.                 proceed as follows. For an alien subject
                                            of aliens are ineligible for asylum,’’ and               1225(b)(1)(B)(v). Consistent with section             to expedited removal, DHS will
                                            may be entitled only to statutory                        235(b)(1)(B)(iii)(III) of the INA, the alien          ascertain whether the alien seeks
                                            withholding of removal or CAT                            could still obtain review from an                     protection, consistent with INA
                                            protection. Regulations Concerning the                   immigration judge regarding whether                   235(b)(1)(A)(ii), 8 U.S.C.
                                            Convention Against Torture, 64 FR at                     the asylum officer correctly determined               1225(b)(1)(A)(ii). All such aliens will
                                            8485. ‘‘Because the standard for                         that the alien was subject to a limitation            continue to go before an asylum officer
                                            showing entitlement to these forms of                    or suspension on entry imposed by the                 for screening, consistent with INA
                                            protection (a clear probability of                       third-country-transit bar. Further,                   235(b)(1)(B), 8 U.S.C. 1225(b)(1)(B). The
                                            persecution or torture) is significantly                 consistent with section 235(b)(1)(B) of               asylum officer will ask threshold
                                            higher than the standard for asylum (a                   the INA, if the immigration judge                     questions to elicit whether an alien is
                                            well-founded fear of persecution), the                   reversed the asylum officer’s                         ineligible for a grant of asylum pursuant
                                            screening standard adopted for initial                   determination, the alien could assert the             to the third-country-transit bar. If there
                                            consideration of withholding and                         asylum claim in section 240                           is a significant possibility that the alien
                                            deferral requests in these contexts is                   proceedings.                                          is not subject to the eligibility bar (and
                                            also higher.’’ Id.                                          Aliens determined to be ineligible for             the alien otherwise demonstrates that
                                               2. Drawing on the established                         asylum by virtue of falling subject to the            there is a significant possibility that he
                                            framework for considering whether to                     third-country-transit bar, however,                   or she can establish eligibility for
                                            grant withholding of removal or CAT                      would still be screened, but in a manner              asylum), then the alien will have
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                                            protection in the reasonable-fear                        that reflects that their only viable claims           established a credible fear.
                                            context, this interim rule establishes a                 could be for statutory withholding or                    If, however, an alien lacks a
                                            bifurcated screening process for aliens                  CAT protection pursuant to 8 CFR                      significant possibility of eligibility for
                                            subject to expedited removal who are                     208.30(e)(2)–(4) and 1208.16. After                   asylum because of the third-country-
                                            ineligible for asylum by virtue of falling               determining the alien’s ineligibility for             transit bar, then the asylum officer will
                                            subject to this rule’s third-country-                    asylum under the credible-fear standard,              make a negative credible-fear finding.

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                                       VerDate Sep<11>2014   16:49 Jul 15, 2019   Jkt 247001   PO 00000   Frm 00011   Fmt 4700   Sfmt 4700   E:\FR\FM\16JYR1.SGM   16JYR1
                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                   Page 196 of 350 PageID 4789
                                            33838               Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations

                                            The asylum officer will then apply the                   persecution, followed by further review               could be processed and removed more
                                            reasonable-fear standard to assess the                   of any denial of their asylum                         quickly, often without requiring
                                            alien’s claims for statutory withholding                 application before the Board and the                  detention or lengthy court proceedings.
                                            of removal or CAT protection.                            courts of appeals.                                    Moreover, apprehension numbers in
                                               An alien subject to the third-country-                                                                      past years often reflected individuals
                                            transit asylum eligibility bar who clears                B. Anticipated Effects of the Rule
                                                                                                                                                           being apprehended multiple times over
                                            the reasonable-fear screening standard                      When the expedited procedures were                 the course of a given year.
                                            will be placed in section 240                            first implemented approximately two                      In recent years, the United States has
                                            proceedings, just as an alien who clears                 decades ago, very few aliens within                   seen a large increase in the number and
                                            the credible-fear standard will be. In                   those proceedings claimed a fear of                   proportion of inadmissible aliens
                                            those proceedings, the alien will also                   persecution. Since then, the numbers                  subject to expedited removal who claim
                                            have an opportunity to raise whether                     have dramatically increased. In FY                    a fear of persecution or torture and are
                                            the alien was correctly identified as                    2018, USCIS received 99,035 credible-                 subsequently placed into removal
                                            subject to the third-country-transit                     fear claims, a 175 percent increase from              proceedings before an immigration
                                            ineligibility bar to asylum, as well as                  five years earlier and a 1,883 percent                judge. This is particularly true for non-
                                            other claims. If an immigration judge                    increase from ten years earlier. FY 2019              Mexican aliens, who now constitute the
                                            determines that the alien was                            is on track to see an even greater                    overwhelming majority of aliens
                                            incorrectly identified as subject to the                 increase in claims, with more than                    encountered along the southern border
                                            third-country-transit bar, the alien will                35,000 credible-fear claims received in               with Mexico, and the overwhelming
                                            be able to apply for asylum. Such aliens                 the first four months of the fiscal year.             majority of aliens who assert claims of
                                            can appeal the immigration judge’s                       This unsustainable, increased burden on               fear. But while the number of non-
                                            decision in these proceedings to the                     the U.S. immigration system also                      Mexican aliens encountered at the
                                            Board and then seek review from a                        extends to DOJ: Immigration courts                    southern border has dramatically
                                            Federal court of appeals.                                received over 162,000 asylum                          increased, a substantial number of such
                                               Conversely, an alien who is found to                  applications in FY 2018, a 270 percent                aliens failed to apply for asylum or
                                            be subject to the third-country-transit                  increase from five years earlier.                     refugee status in Mexico—despite the
                                            asylum eligibility bar and who does not                     This dramatic increase in credible-                availability of a functioning asylum
                                            clear the reasonable-fear screening                      fear claims has been complicated by a                 system.
                                            standard can obtain review of both of                    demographic shift in the alien                           In May of FY 2017, DHS recorded
                                            those determinations before an                           population crossing the southern border               7,108 enforcement actions with non-
                                            immigration judge, just as immigration                   from Mexican single adult males to                    Mexican aliens along the southern
                                            judges currently review negative                         predominantly Central American family                 border—which accounted for roughly 36
                                            credible-fear and reasonable-fear                        units and unaccompanied alien minors.                 percent of all enforcement actions along
                                            determinations. If the immigration judge                 Historically, aliens coming unlawfully                the southern border that month. In May
                                            finds that either determination was                      to the United States along the southern               of FY 2018, DHS recorded 32,477
                                            incorrect, then the alien will be placed                 land border were predominantly                        enforcement actions with non-Mexican
                                            into section 240 proceedings. In                         Mexican single adult males who                        aliens along the southern border—
                                            reviewing the determinations, the                        generally were removed or who                         which accounted for roughly 63 percent
                                            immigration judge will decide de novo                    voluntarily departed within 48 hours if               of that month’s enforcement actions
                                            whether the alien is subject to the third-               they had no legal right to stay in the                along the southern border. And in May
                                            country-transit asylum eligibility bar. If,              United States. As of January 2019, more               of FY 2019, DHS recorded 121,151
                                            however, the immigration judge affirms                   than 60 percent are family units and                  enforcement actions with non-Mexican
                                            both determinations, then the alien will                 unaccompanied alien children; 60                      aliens along the southern border—
                                            be subject to removal without further                    percent are non-Mexican. In FY 2017,                  which accounted for approximately 84
                                            appeal, consistent with the existing                     CBP apprehended 94,285 family units                   percent of enforcement actions along the
                                            process under section 235 of the INA. In                 from the Northern Triangle countries at               southern border that month.
                                            short, aliens subject to the third-                      the southern land border. Of those                    Accordingly, the number of enforcement
                                            country-transit asylum eligibility bar                   family units, 99 percent remained in the              actions involving non-Mexican aliens
                                            will be processed through existing                       country (as of January 2019). And, while              increased by more than 1,600 percent
                                            procedures by DHS and EOIR in                            Mexican single adults who are not                     from May FY 2017 to May FY 2019, and
                                            accordance with 8 CFR 208.30 and                         legally eligible to remain in the United              the percentage of enforcement actions at
                                            1208.30, but will be subject to the                      States may be immediately repatriated                 the southern land border involving non-
                                            reasonable-fear standard as part of those                to Mexico, it is more difficult to                    Mexican aliens increased from 36
                                            procedures with respect to their                         expeditiously repatriate family units                 percent to 84 percent. Overall, southern
                                            statutory withholding and CAT                            and unaccompanied alien children not                  border non-Mexican enforcement
                                            protection claims.                                       from Mexico or Canada. And the long                   actions in FY 2017 totaled 233,411; they
                                               4. The above process will not affect                  and arduous journey of children to the                increased to 298,503 in FY 2018; and, in
                                            the process in 8 CFR 208.30(e)(5) (to be                 United States brings with it a great risk             the first eight months of FY 2019
                                            redesignated as 8 CFR 208.30(e)(5)(i)                    of harm that could be relieved if                     (through May) they already total
                                            under this rule) for certain existing                    individuals were to more readily avail                524,446.
                                            statutory bars to asylum eligibility.                    themselves of legal protection from                      This increase corresponds to a
                                            Under that regulatory provision, many                    persecution in a third country closer to              growing trend over the past decade, in
                                            aliens who appear to fall within an                      the child’s country of origin.                        which the overall percentage of all
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                                            existing statutory bar, and thus appear                     Even though the overall number of                  aliens subject to expedited removal who
                                            to be ineligible for asylum, can                         apprehensions of illegal aliens was                   are referred for a credible-fear interview
                                            nonetheless be placed in section 240                     relatively higher two decades ago than                by DHS jumped from approximately 5
                                            proceedings and have their asylum                        it is today (around 1.6 million in 2000),             percent to above 40 percent. The total
                                            claim adjudicated by an immigration                      given the demographic of aliens arriving              number of aliens referred by DHS for
                                            judge, if they establish a credible fear of              to the United States at that time, they               credible-fear screening increased from

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                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                     Page 197 of 350 PageID 4790
                                                                Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations                                                     33839

                                            fewer than 5,000 in FY 2008 to more                         The rule also aims to further the                     claims, the interim final rule would
                                            than 99,000 in FY 2018. The percentage                   humanitarian purposes of asylum by                       encourage those fleeing genuine
                                            of aliens who receive asylum remains                     prioritizing individuals who are unable                  persecution to seek protection as soon
                                            small. In FY 2018, DHS asylum officers                   to obtain protection from persecution                    as possible and dissuade those with
                                            found over 75 percent of interviewed                     elsewhere and individuals who have                       non-viable claims, including aliens
                                            aliens to have a credible fear of                        been victims of a ‘‘severe form of                       merely seeking employment, from
                                            persecution or torture and referred them                 trafficking in persons’’ as defined by 8                 further overburdening the Nation’s
                                            for proceedings before an immigration                    CFR 214.11,6 many of whom do not                         immigration system.
                                            judge within EOIR under section 240 of                   volitionally transit through a third                       Many of the aliens who wait to seek
                                            the INA. In addition, EOIR immigration                   country to reach the United States.7 By                  asylum until they arrive in the United
                                            judges overturn about 20 percent of the                  deterring meritless asylum claims and                    States transit through not just one
                                            negative credible-fear determinations                    de-prioritizing the applications of                      country, but multiple countries in
                                            made by asylum officers, finding those                   individuals who could have sought                        which they may seek humanitarian
                                            aliens also to have a credible fear. Such                protection in another country before                     protection. Yet they do not avail
                                            aliens are referred to immigration judges                reaching the United States, the                          themselves of that option despite their
                                            for full hearings on their asylum claims.                Departments seek to ensure that those                    claims of fear of persecution or torture
                                               But many aliens who receive a                         asylees who need relief most urgently                    in their home country. Under these
                                            positive credible-fear determination                     are better able to obtain it.                            circumstances, it is reasonable to
                                            never file an application for asylum.                       The interim rule would further this                   question whether the aliens genuinely
                                            From FY 2016 through FY 2018,                            objective by restricting the claims of                   fear persecution or torture, or are simply
                                            approximately 40 percent of aliens who                   aliens who, while ostensibly fleeing                     economic migrants seeking to exploit
                                            received a positive credible-fear                        persecution, chose not to seek                           our overburdened immigration system
                                            determination failed to file an asylum                   protection at the earliest possible                      by filing a meritless asylum claim as a
                                            application. And of those who did                        opportunity. An alien’s decision not to                  way of entering, remaining, and legally
                                            proceed to file asylum applications,                     apply for protection at the first available              obtaining employment in the United
                                            relatively few established that they                     opportunity, and instead wait for the                    States.9
                                            should be granted such relief. From FY                   more preferred destination of the United                   All seven countries in Central
                                            2016 through FY 2018, among aliens                       States, raises questions about the                       America plus Mexico are parties to both
                                            who received a positive credible-fear                    validity and urgency of the alien’s claim                the Refugee Convention and the Refugee
                                            determination, only 12,062 aliens 4—an                   and may mean that the claim is less                      Protocol. Moreover, Mexico has
                                            average of 4,021 per year—were granted                   likely to be successful.8 By barring such                expanded its capacity to adjudicate
                                            asylum (14 percent of all completed                                                                               asylum claims in recent years, and the
                                            asylum cases, and about 36 percent of                       6 ‘‘Severe form of trafficking in persons means sex
                                                                                                                                                              number of claims submitted in Mexico
                                            asylum cases decided on the merits).5                    trafficking in which a commercial sex act is
                                                                                                     induced by force, fraud, or coercion, or in which
                                                                                                                                                              has increased. In 2016, the Mexican
                                            The many cases that lack merit occupy                    the person induced to perform such act is under the      government received 8,789 asylum
                                            a large portion of limited docket time                   age of 18 years; or the recruitment, harboring,          applications. In 2017, it received 14,596.
                                            and absorb scarce government                             transportation, provision, or obtaining of a person      In 2018, it received 29,623 applications.
                                            resources, exacerbating the backlog and                  for labor or services through the use of force, fraud,
                                                                                                     or coercion for the purpose of subjection to
                                                                                                                                                              And in just the first three months of
                                            diverting attention from other                           involuntary servitude, peonage, debt bondage, or         2019, Mexico received 12,716 asylum
                                            meritorious cases. Indeed, despite DOJ                   slavery.’’ 8 CFR 214.11. Determinations made with
                                            deploying the largest number of                          respect to this exception will not be binding on         countries or arrived in the United States directly
                                            immigration judges in history and                        Federal departments or agencies in subsequent            from his country, whether orderly refugee
                                                                                                     determinations of eligibility for T or U                 procedures were in fact available to help him in any
                                            completing historic numbers of cases, a                  nonimmigrant status under section 101(a)(15)(T) or       country he passed through, and whether he made
                                            significant backlog remains. There are                   (U) of the Act or for benefits or services under 22      any attempts to seek asylum before coming to the
                                            more than 900,000 pending cases in                       U.S.C. 7105 or 8 U.S.C. 1641(c)(4).                      United States.’’ Consistent with the reasoning in
                                            immigration courts, at least 436,000 of                     7 This rule does not provide for a categorical        Pula, this rule establishes that an alien who failed
                                            which include an asylum application.                     exception for unaccompanied alien children               to request asylum in a country where it was
                                                                                                     (‘‘UAC’’), as defined in 6 U.S.C. 279(g)(2). The         available is not eligible for asylum in the United
                                               Apprehending and processing this                      Departments recognize that UAC are exempt from           States. Even though the Board in Pula indicated that
                                            growing number of aliens who cross                       two of three statutory bars to applying for asylum:      a range of factors is relevant to evaluating
                                            illegally into the United States and                     The ‘‘safe third country’’ bar and the one-year filing   discretionary asylum relief under the general
                                            invoke asylum procedures consumes an                     deadline, see INA 208(a)(2)(E), 8 U.S.C.                 statutory asylum provision, the INA also authorizes
                                                                                                     1158(a)(2)(E). Congress, however, did not exempt         the establishment of additional limitations to
                                            ever-increasing amount of resources of                   UAC from the bar on filing successive applications       asylum eligibility by regulation—beyond those
                                            DHS, which must surveil, apprehend,                      for asylum, see INA 208(a)(2)(C), 8 U.S.C.               embedded in the statute. See INA 208(b)(2)(C), 8
                                            screen, and process the aliens who enter                 1158(a)(2)(C), the various bars to asylum eligibility    U.S.C. 1158(b)(2)(C). This rule uses that authority
                                            the country and must represent the U.S.                  in INA 208(b)(2)(A), 8 U.S.C. 1158(b)(2)(A), or the      to establish one of the factors specified as relevant
                                                                                                     bars, like this one, established pursuant to the         in Pula as the foundation of a new categorical
                                            Government in cases before immigration                   Departments’ authorities under INA 208(b)(2)(C), 8       asylum bar. This rule’s prioritization of the third-
                                            judges, the Board, and the U.S. Courts                   U.S.C. 1158(b)(2)(C). But UAC, like others subject       country-transit factor, considered as just one of
                                            of Appeals. The interim rule seeks to                    to this rule, will be able to apply for withholding      many factors in Pula, is justified, as explained
                                            ameliorate these strains on the                          of removal under INA section 241(b)(3), 8 U.S.C.         above, by the increased numbers and changed
                                                                                                     1231(b)(3), or the CAT regulations. UAC will not be      nature of asylum claims in recent years.
                                            immigration system.                                      returned to the transit country for consideration of        9 Economic migrants are not eligible for asylum.
                                                                                                     these protection claims.                                 See, e.g., In re: Brenda Leticia Sonday-Chavez, No.
                                              4 These numbers are based on data generated by            8 Indeed, the Board has previously held that this     A–7–969, 2017 WL 4946947, at *1 (BIA Sept. 7,
                                            EOIR on April 12, 2019.                                  is a relevant consideration in asylum applications.      2017) (‘‘[E]conomic reasons for coming to the
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                                              5 Completed cases include both those in which an       In Matter of Pula, 19 I&N Dec. 467, 473–74 (BIA          United States . . . would generally not render an
                                            asylum application was filed and those in which an       1987), the Board stated that ‘‘in determining            alien eligible for relief from removal.’’); see also
                                            application was not filed. Cases decided on the          whether a favorable exercise of discretion is            Sale v. Haitian Centers Council Inc., 509 U.S. 155,
                                            merits include only those completed cases in which       warranted’’ for an applicant under the asylum            161–62 & n.11 (1993); Hui Zhuang v. Gonzales, 471
                                            an asylum application was filed and the                  statute, INA 208(a), 8 U.S.C. 1158(2)(a), ‘‘[a]mong      F.3d 884, 890 (8th Cir. 2006) (‘‘Fears of economic
                                            immigration judge granted or denied that                 those factors which should be considered are             hardship or lack of opportunity do not establish a
                                            application.                                             whether the alien passed through any other               well-founded fear of persecution.’’).


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                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                   Page 198 of 350 PageID 4791
                                            33840               Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations

                                            applications, putting Mexico on track to                 a third-country national seeks asylum in              V. Regulatory Requirements
                                            receive more than 50,000 asylum                          a member state other than the state of
                                                                                                                                                           A. Administrative Procedure Act
                                            applications by the end of 2019 if that                  first entry into the EU, that state may
                                            quarterly pace continues. Instead of                     transfer the asylum-seeker back to the                1. Good Cause Exception
                                            availing themselves of these available                   state of first safe entry. Id. at 2.                     While the Administrative Procedure
                                            protections, many aliens transiting                                                                            Act (‘‘APA’’) generally requires agencies
                                                                                                        This rule also seeks to curtail the
                                            through Central America and Mexico                                                                             to publish notice of a proposed
                                                                                                     humanitarian crisis created by human
                                            decide not to seek protection, likely                                                                          rulemaking in the Federal Register for
                                            based upon a preference for residing in                  smugglers bringing men, women, and
                                                                                                     children across the southern border. By               a period of public comment, it provides
                                            the United States. The United States has                                                                       an exception ‘‘when the agency for good
                                            experienced an overwhelming surge in                     reducing a central incentive for aliens
                                                                                                     without a genuine need for asylum to                  cause finds . . . that notice and public
                                            the number of non-Mexican aliens                                                                               procedure thereon are impracticable,
                                            crossing the southern border and                         cross the border—the hope of a lengthy
                                                                                                                                                           unnecessary, or contrary to the public
                                            seeking asylum. This overwhelming                        asylum process that will enable them to
                                                                                                                                                           interest.’’ 5 U.S.C. 553(b)(B). That
                                            surge and its accompanying burden on                     remain in the United States for years                 exception relieves agencies of the
                                            the United States has eroded the                         despite their statutory ineligibility for             notice-and-comment requirement in
                                            integrity of our borders, and it is                      relief—the rule aims to reduce human                  emergency situations, or in
                                            inconsistent with the national interest to               smuggling and its tragic effects.                     circumstances where ‘‘the delay created
                                            provide a discretionary benefit to those                    Finally, as discussed further below,               by the notice and comment
                                            who choose not to seek protection at the                 this rule will facilitate ongoing                     requirements would result in serious
                                            first available opportunity.                             diplomatic negotiations with Mexico                   damage to important interests.’’ Woods
                                               The interim final rule also is in                     and the Northern Triangle countries                   Psychiatric Inst. v. United States, 20 Cl.
                                            keeping with the efforts of other liberal                regarding general migration issues,                   Ct. 324, 333 (1990), aff’d, 925 F.2d 1454
                                            democracies to prevent forum-shopping                    related measures employed to control                  (Fed. Cir. 1991); see also United States
                                            by directing asylum-seekers to present                   the flow of aliens (such as the Migrant               v. Dean, 604 F.3d 1275, 1279 (11th Cir.
                                            their claims in the first safe country in                Protection Protocols), and the                        2010); Nat’l Fed’n of Federal Emps. v.
                                            which they arrive. In 1990, European                     humanitarian and security crisis along                Nat’l Treasury Emps. Union, 671 F.2d
                                            states adopted the Dublin Regulation in                  the southern land border between the                  607, 611 (D.C. Cir. 1982). Agencies have
                                            response to an asylum crisis as refugees                 United States and Mexico.                             previously relied on that exception in
                                            and economic migrants fled                                                                                     promulgating immigration-related
                                            communism at the end of the Cold War;                       In sum, the rule would bar asylum for              interim rules.10 Furthermore, DHS has
                                            it came into force in 1997. See                          any alien who has entered or attempted                relied on that exception as additional
                                            Convention Determining the State                         to enter the United States across the                 legal justification when issuing orders
                                            Responsible for Examining Applications                   southern border and who has failed to                 related to expedited removal—a context
                                            for Asylum Lodged in One of the                          apply for protection from persecution or              in which Congress explicitly recognized
                                            Member States of the European                            torture in at least one country outside               the need for dispatch in addressing large
                                            Communities, 1997 O.J. (C 254). The                      the alien’s country of citizenship,                   volumes of aliens by giving the
                                            United Nations High Commission for                       nationality, or last lawful habitual                  Secretary significant discretion to
                                            Refugees praised the Dublin                              residence through which the alien                     ‘‘modify at any time’’ the classes of
                                            Regulation’s ‘‘commendable efforts to                    transited en route to the United States,              aliens who would be subject to such
                                            share and allocate the burden of review                  unless the alien demonstrates that the                procedures. See INA 235(b)(1)(A)(iii)(I),
                                            of refugee and asylum claims.’’ See UN                   alien only transited through countries                8 U.S.C. 1225(b)(1)(A)(iii)(I).11
                                            High Comm’r for Refugees, UNHCR                          that were not parties to the 1951 United
                                            Position on Conventions Recently                         Nations Convention relating to the
                                                                                                                                                             10 See, e.g., Visas: Documentation of

                                            Concluded in Europe (Dublin and                                                                                Nonimmigrants Under the Immigration and
                                                                                                     Status of Refugees, the 1967 Protocol                 Nationality Act, as Amended, 81 FR 5906, 5907
                                            Schengen Conventions), 3 Eur. Series 2,                  Relating to the Status of Refugees, or the            (Feb. 4, 2016) (interim rule citing good cause to
                                            385 (1991). Now in its third iteration,                  CAT, or the alien was a victim of ‘‘a                 immediately require additional documentation from
                                            the Dublin III Regulation sets asylum                                                                          certain Caribbean agricultural workers to avoid ‘‘an
                                                                                                     severe form of trafficking in persons’’ as            increase in applications for admission in bad faith
                                            criteria and protocol for the European
                                                                                                     defined by 8 CFR 214.11.                              by persons who would otherwise have been denied
                                            Union (‘‘EU’’). It instructs that asylum                                                                       visas and are seeking to avoid the visa requirement
                                            claims ‘‘shall be examined by a single                      Such a rule would ensure that the                  and consular screening process during the period
                                            Member State.’’ Regulation (EU) No 604/                  ever-growing influx of meritless asylum               between the publication of a proposed and a final
                                            2013 of the European Parliament and of                   claims do not further overwhelm the                   rule’’); Suspending the 30-Day and Annual
                                                                                                                                                           Interview Requirements From the Special
                                            the Council of 26 June 2013,                             country’s immigration system, would                   Registration Process for Certain Nonimmigrants, 68
                                            Establishing the Criteria and                            promote the humanitarian purposes of                  FR 67578, 67581 (Dec. 2, 2003) (interim rule
                                            Mechanisms for Determining the                           asylum by speeding relief to those who                claiming the good cause exception for suspending
                                            Member State Responsible for                                                                                   certain automatic registration requirements for
                                                                                                     need it most (i.e., individuals who have              nonimmigrants because ‘‘without [the] regulation
                                            Examining an Application for                             no alternative country where they can                 approximately 82,532 aliens would be subject to 30-
                                            International Protection Lodged in One                   escape persecution or torture or who are              day or annual re-registration interviews’’ over a six-
                                            of the Member States by a Third-                         victims of a severe form of trafficking               month period).
                                                                                                                                                             11 See, e.g., Eliminating Exception to Expedited
                                            Country National or a Stateless Person                   and thus did not volitionally travel                  Removal Authority for Cuban Nationals Arriving by
                                            (Recast), 2013 O.J. (L 180) 31, 37.                      through a third country to reach the                  Air, 82 FR 4769, 4770 (Jan. 17, 2017) (identifying
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                                            Typically, for irregular migrants seeking                United States), would help curtail the                the APA good cause factors as additional
                                            asylum, the member state by which the                    humanitarian crisis created by human                  justification for issuing an immediately effective
                                            asylum applicant first entered the EU                                                                          expedited removal order because the ability to
                                                                                                     smugglers, and would aid U.S.                         detain certain Cuban nationals ‘‘while admissibility
                                            ‘‘shall be responsible for examining the                 negotiations on migration issues with                 and identity are determined and protection claims
                                            application for international                                                                                  are adjudicated, as well as to quickly remove those
                                                                                                     foreign countries.
                                            protection.’’ Id. at 40. Generally, when                                                                       without protection claims or claims to lawful status,


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                                                                 Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations                                         33841

                                               The Departments have concluded that                   travel to and enter the United States                 immigration system as a result of a
                                            the good cause exceptions in 5 U.S.C.                    during the period between the                         variety of factors, including the
                                            553(b)(B) and (d)(3) apply to this rule.                 publication of a proposed and a final                 significant proportion of aliens who are
                                            Notice and comment on this rule, along                   rule.’’ Id. DHS found that ‘‘[s]uch a                 initially found to have a credible fear
                                            with a 30-day delay in its effective date,               surge would threaten national security                and therefore are referred to full
                                            would be impracticable and contrary to                   and public safety by diverting valuable               hearings on their asylum claims; the
                                            the public interest. The Departments                     Government resources from                             huge volume of claims; a lack of
                                            have determined that immediate                           counterterrorism and homeland security                detention space; and the resulting high
                                            implementation of this rule is essential                 responsibilities. A surge could also have             rate of release into the interior of the
                                            to avoid a surge of aliens who would                     a destabilizing effect on the region, thus            United States of aliens with a positive
                                            have strong incentives to seek to cross                  weakening the security of the United                  credible-fear determination, many of
                                            the border during pre-promulgation                       States and threatening its international              whom then abscond without pursuing
                                            notice and comment or during the 30-                     relations.’’ Id. DHS concluded that ‘‘a               their asylum claims. Recent initiatives
                                            day delay in the effective date under 5                  surge could result in significant loss of             to track family unit cases revealed that
                                            U.S.C. 553(d). As courts have                            human life.’’ Id.; accord, e.g.,                      close to 82 percent of completed cases
                                            recognized, smugglers encourage                          Designating Aliens for Expedited                      have resulted in an in absentia order of
                                            migrants to enter the United States                      Removal, 69 FR 48877 (Aug. 11, 2004)                  removal. A large additional influx of
                                            based on changes in U.S. immigration                     (noting similar destabilizing incentives              aliens who intend to enter unlawfully or
                                            policy, and in fact ‘‘the number of                      for a surge during a delay in the                     who lack proper documentation to enter
                                            asylum seekers entering as families has                  effective date); Visas: Documentation of              this country, all at once, would
                                            risen’’ in a way that ‘‘suggests a link to               Nonimmigrants Under the Immigration                   exacerbate the existing border crisis.
                                            knowledge of those policies.’’ East Bay                  and Nationality Act, as Amended, 81 FR                This concern is particularly acute in the
                                            Sanctuary Covenant v. Trump, 354 F.                      5906, 5907 (Feb. 4, 2016) (finding the                current climate in which illegal
                                            Supp. 3d 1094, 1115 (N.D. Cal. 2018). If                 good cause exception applicable                       immigration flows fluctuate
                                            this rule were published for notice and                  because of similar short-run incentive                significantly in response to news events.
                                            comment before becoming effective,                       concerns).                                            This interim final rule is thus a practical
                                            ‘‘smugglers might similarly                                 DOJ and DHS raised similar concerns                means to address the time-sensitive
                                            communicate the Rule’s potentially                       and drew similar conclusions in the                   influx of aliens and avoid creating an
                                            relevant change in U.S. immigration                      November 2018 joint interim final rule                even larger short-term influx. An
                                            policy, albeit in non-technical terms,’’                 that limited eligibility for asylum for               extended notice-and-comment
                                            and the risk of a surge in migrants                      aliens, subject to a bar on entry under               rulemaking process would be
                                            hoping to enter the country before the                   certain presidential proclamations. See               impracticable and self-defeating for the
                                            rule becomes effective supports a                        83 FR at 55950. These same concerns                   public.
                                            finding of good cause under 5 U.S.C.                     would apply to an even greater extent to
                                                                                                     this rule. Pre-promulgation notice and                2. Foreign Affairs Exemption
                                            553. See id.
                                               This determination is consistent with                 comment, or a delay in the effective                     Alternatively, the Departments may
                                            the historical view of the agencies                      date, would be destabilizing and would                forgo notice-and-comment procedures
                                            regulating in this area. DHS concluded                   jeopardize the lives and welfare of                   and a delay in the effective date because
                                            in January 2017 that it was imperative                   aliens who could surge to the border to               this rule involves a ‘‘foreign affairs
                                            to give immediate effect to a rule                       enter the United States before the rule               function of the United States.’’ 5 U.S.C.
                                            designating Cuban nationals arriving by                  took effect. The Departments’                         553(a)(1), and proceeding through
                                            air as eligible for expedited removal                    experience has been that when public                  notice and comment may ‘‘provoke
                                            because ‘‘pre-promulgation notice and                    announcements are made regarding                      definitely undesirable international
                                                                                                     changes in our immigration laws and                   consequences,’’ City of New York v.
                                            comment would . . . . endanger[ ]
                                                                                                     procedures, there are dramatic increases              Permanent Mission of India to United
                                            human life and hav[e] a potential
                                                                                                     in the numbers of aliens who enter or                 Nations, 618 F.3d 172, 201 (2d Cir.
                                            destabilizing effect in the region.’’
                                                                                                     attempt to enter the United States along              2010) (quoting the description of the
                                            Eliminating Exception to Expedited
                                                                                                     the southern border. See East Bay                     purpose of the foreign affairs exception
                                            Removal Authority for Cuban Nationals
                                                                                                     Sanctuary Covenant, 354 F. Supp. 3d at                in H.R. Rep. No. 79–1980, 69th Cong.,
                                            Arriving by Air, 82 FR 4769, 4770 (Jan.
                                                                                                     1115 (citing a newspaper article                      2d Sess. 257 (1946)). The flow of aliens
                                            17, 2017). DHS cited the prospect that
                                                                                                     suggesting that such a rush to the border             across the southern border, unlawfully
                                            ‘‘publication of the rule as a proposed
                                                                                                     occurred due to knowledge of a pending                or without appropriate travel
                                            rule, which would signal a significant
                                                                                                     regulatory change in immigration law).                documents, directly implicates the
                                            change in policy while permitting                                                                              foreign policy and national security
                                                                                                     Thus, there continues to be an ‘‘urgent
                                            continuation of the exception for Cuban                                                                        interests of the United States. See, e.g.,
                                                                                                     need to deter foreign nationals from
                                            nationals, could lead to a surge in                                                                            Exec. Order 13767 (Jan. 25, 2017)
                                                                                                     undertaking dangerous border crossings,
                                            migration of Cuban nationals seeking to                                                                        (discussing the important national
                                                                                                     and thereby prevent the needless deaths
                                                                                                     and crimes associated with human                      security and foreign affairs-related
                                            is a necessity for national security and public
                                            safety’’); Designating Aliens For Expedited              trafficking and alien smuggling                       interests associated with securing the
                                            Removal, 69 FR 48877, 48880 (Aug. 11, 2004)              operations.’’ 69 FR at 48878.                         border); Presidential Memorandum on
                                            (identifying the APA good cause factors as                  Furthermore, an additional surge of                Additional Measures to Enhance Border
                                            additional justification for issuing an immediately      aliens who sought to enter via the                    Security and Restore Integrity to Our
                                            effective order to expand expedited removal due to
                                            ‘‘[t]he large volume of illegal entries, and attempted
                                                                                                     southern border prior to the effective                Immigration System (Apr. 29, 2019)
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                                            illegal entries, and the attendant risks to national     date of this rule would be destabilizing              (‘‘This strategic exploitation of our
                                            security presented by these illegal entries,’’ as well   to the region, as well as to the U.S.                 Nation’s humanitarian programs
                                            as ‘‘the need to deter foreign nationals from            immigration system. The massive                       undermines our Nation’s security and
                                            undertaking dangerous border crossings, and
                                            thereby prevent the needless deaths and crimes
                                                                                                     increase in aliens arriving at the                    sovereignty.’’); see also, e.g., Malek-
                                            associated with human trafficking and alien              southern border who assert a fear of                  Marzban v. INS, 653 F.2d 113, 115–16
                                            smuggling operations’’).                                 persecution is overwhelming our                       (4th Cir. 1981) (finding that a regulation

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                                       VerDate Sep<11>2014   16:49 Jul 15, 2019   Jkt 247001   PO 00000   Frm 00015   Fmt 4700   Sfmt 4700   E:\FR\FM\16JYR1.SGM   16JYR1
                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                   Page 200 of 350 PageID 4793
                                            33842               Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations

                                            requiring the expedited departure of                     otherwise received refuge and reach the               foreign affairs function and good cause
                                            Iranians from the United States in light                 U.S. border, which has little present                 exceptions to the notice and comment
                                            of the international hostage crisis clearly              capacity to provide assistance. Cf. East              requirements of the APA’’).
                                            related to foreign affairs and fell within               Bay Sanctuary Covenant v. Trump, 909                     Invoking the APA’s foreign affairs
                                            the notice-and-comment exception).                       F.3d 1219, 1252 (9th Cir. 2018)                       exception is also consistent with past
                                               This rule will facilitate ongoing                     (‘‘Hindering the President’s ability to               rulemakings. In 2016, for example, in
                                            diplomatic negotiations with foreign                     implement a new policy in response to                 response to diplomatic developments
                                            countries regarding migration issues,                    a current foreign affairs crisis is the type          between the United States and Cuba,
                                            including measures to control the flow                   of ‘definitely undesirable international              DHS changed its regulations concerning
                                            of aliens into the United States (such as                consequence’ that warrants invocation                 flights to and from the island via an
                                            the Migrant Protection Protocols), and                   of the foreign affairs exception.’’).                 immediately effective interim final rule.
                                            the urgent need to address the current                   Addressing this crisis will be more                   Flights to and From Cuba, 81 FR 14948,
                                            humanitarian and security crisis along                   effective and less disruptive to long-                14952 (Mar. 21, 2016). In a similar vein,
                                            the southern land border between the                     term U.S. relations with Mexico and the               DHS and the State Department recently
                                            United States and Mexico. See City of                    Northern Triangle countries the sooner                provided notice that they were
                                            New York, 618 F.3d at 201 (finding that                  that this interim final rule is in place to           eliminating an exception to expedited
                                            rules related to diplomacy with a                        help address the enormous flow of                     removal for certain Cuban nationals.
                                            potential impact on U.S. relations with                  aliens through these countries to the                 The notice explained that the change in
                                            other countries fall within the scope of                 southern U.S. border. Cf. Am. Ass’n of                policy was consistent with the foreign
                                            the foreign affairs exemption). Those                    Exps. & Imps.-Textile & Apparel Grp.,                 affairs exception for rules subject to
                                            ongoing discussions relate to proposals                  751 F.2d at 1249 (‘‘The timing of an                  notice-and-comment requirements
                                            for how these other countries could                      announcement of new consultations or                  because the change was central to
                                            increase efforts to help reduce the flow                 quotas may be linked intimately with                  ongoing negotiations between the two
                                            of illegal aliens north to the United                    the Government’s overall political                    countries. Eliminating Exception To
                                            States and encourage aliens to seek                      agenda concerning relations with                      Expedited Removal Authority for Cuban
                                            protection at the safest and earliest                    another country.’’); Rajah, 544 F.3d at               Nationals Encountered in the United
                                            point of transit possible.                               438 (finding that the notice-and-                     States or Arriving by Sea, 82 FR 4902,
                                               Those negotiations would be                           comment process can be ‘‘slow and                     4904–05 (Jan. 17, 2017).
                                            disrupted if notice-and-comment                          cumbersome,’’ which can negatively
                                            procedures preceded the effective date                                                                         B. Regulatory Flexibility Act
                                                                                                     impact efforts to secure U.S. national
                                            of this rule—provoking a disturbance in                  interests, thereby justifying application               The Regulatory Flexibility Act, 5
                                            domestic politics in Mexico and the                      of the foreign affairs exemption); East               U.S.C. 601 et seq., as amended by the
                                            Northern Triangle countries, and                                                                               Small Business Regulatory Enforcement
                                                                                                     Bay Sanctuary Covenant, 909 F.3d at
                                            eroding the sovereign authority of the                                                                         Fairness Act of 1996, requires an agency
                                                                                                     1252–53 (9th Cir. 2018) (suggesting that
                                            United States to pursue the negotiating                                                                        to prepare and make available to the
                                                                                                     reliance on the exemption is justified
                                            strategy it deems to be most appropriate                                                                       public a regulatory flexibility analysis
                                                                                                     where the Government ‘‘explain[s] how
                                            as it engages its foreign partners. See,                                                                       that describes the effect of the rule on
                                                                                                     immediate publication of the Rule,
                                            e.g., Am. Ass’n of Exps. & Imps.-Textile                                                                       small entities (i.e., small businesses,
                                                                                                     instead of announcement of a proposed
                                            & Apparel Grp. v. United States, 751                                                                           small organizations, and small
                                                                                                     rule followed by a thirty-day period of
                                            F.2d 1239, 1249 (Fed. Cir. 1985) (the                                                                          governmental jurisdictions). A
                                                                                                     notice and comment’’ is necessary in
                                            foreign affairs exemption facilitates                                                                          regulatory flexibility analysis is not
                                                                                                     light of the Government’s foreign affairs
                                            ‘‘more cautious and sensitive                                                                                  required when a rule is exempt from
                                            consideration of those matters which so                  efforts).
                                                                                                                                                           notice-and-comment rulemaking.
                                            affect relations with other Governments                     The United States and Mexico have
                                            that . . . public rulemaking provisions                  been engaged in ongoing discussions                   C. Unfunded Mandates Reform Act of
                                            would provoke definitely undesirable                     regarding both regional and bilateral                 1995
                                            international consequences’’ (internal                   approaches to asylum. This interim final                 This interim final rule will not result
                                            quotation marks omitted)). During a                      rule will strengthen the ability of the               in the expenditure by state, local, and
                                            notice-and-comment process, public                       United States to address the crisis at the            tribal governments, in the aggregate, or
                                            participation and comments may impact                    southern border and therefore facilitate              by the private sector, of $100 million or
                                            and potentially harm the goodwill                        the likelihood of success in future                   more in any one year, and it will not
                                            between the United States and Mexico                     negotiations. This rule thus supports the             significantly or uniquely affect small
                                            and the Northern Triangle countries—                     President’s foreign policy with respect               governments. Therefore, no actions were
                                            actors with whom the United States                       to Mexico and the Northern Triangle                   deemed necessary under the provisions
                                            must partner to ensure that refugees can                 countries in this area and is exempt                  of the Unfunded Mandates Reform Act
                                            more effectively find refuge and safety                  from the notice-and-comment and                       of 1995.
                                            in third countries. Cf. Rajah v. Mukasey,                delayed-effective-date requirements in 5
                                            544 F.3d 427, 437–38 (2d Cir. 2008)                      U.S.C. 553. See Am. Ass’n of Exps. &                  D. Congressional Review Act
                                            (‘‘[R]elations with other countries might                Imps.-Textile & Apparel Grp., 751 F.2d                   This interim final rule is not a major
                                            be impaired if the government were to                    at 1249 (noting that the foreign affairs              rule as defined by section 804 of the
                                            conduct and resolve a public debate                      exception covers agency actions ‘‘linked              Congressional Review Act. 5 U.S.C. 804.
                                            over why some citizens of particular                     intimately with the Government’s                      This rule will not result in an annual
                                            countries were a potential danger to our                 overall political agenda concerning                   effect on the economy of $100 million
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                                            security.’’).                                            relations with another country’’);                    or more; a major increase in costs or
                                               In addition, the longer that the                      Yassini v. Crosland, 618 F.2d 1356,                   prices; or significant adverse effects on
                                            effective date of the interim rule is                    1361 (9th Cir. 1980) (because an                      competition, employment, investment,
                                            delayed, the greater the number of                       immigration directive ‘‘was                           productivity, innovation, or on the
                                            people who will pass through third                       implementing the President’s foreign                  ability of United States-based
                                            countries where they may have                            policy,’’ the action ‘‘fell within the                companies to compete with foreign-

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                                       VerDate Sep<11>2014   16:49 Jul 15, 2019   Jkt 247001   PO 00000   Frm 00016   Fmt 4700   Sfmt 4700   E:\FR\FM\16JYR1.SGM   16JYR1
                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                   Page 201 of 350 PageID 4794
                                                                Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations                                            33843

                                            based companies in domestic and                          Regulatory Amendments                                 under 22 U.S.C. 7105 or 8 U.S.C.
                                            export markets.                                          DEPARTMENT OF HOMELAND                                1641(c)(4).
                                                                                                     SECURITY                                              ■ 3. In § 208.30, revise the section
                                            E. Executive Order 12866, Executive
                                                                                                                                                           heading, the first sentence of paragraph
                                            Order 13563, and Executive Order                           Accordingly, for the reasons set forth              (e)(2), and paragraphs (e)(3) and (5) to
                                            13771 (Regulatory Planning and Review)                   in the preamble, the Secretary of                     read as follows:
                                                                                                     Homeland Security amends 8 CFR part
                                               This rule is not subject to Executive                 208 as follows:                                       § 208.30 Credible fear determinations
                                            Order 12866 as it implicates a foreign                                                                         involving stowaways and applicants for
                                            affairs function of the United States                    PART 208—PROCEDURES FOR                               admission who are found inadmissible
                                            related to ongoing discussions with                      ASYLUM AND WITHHOLDING OF                             pursuant to section 212(a)(6)(C) or 212(a)(7)
                                            potential impact on a set of specified                   REMOVAL                                               of the Act, whose entry is limited or
                                            international relationships. As this is                                                                        suspended under section 212(f) or 215(a)(1)
                                                                                                     ■ 1. The authority citation for part 208              of the Act, or who failed to apply for
                                            not a regulatory action under Executive                                                                        protection from persecution in a third
                                            Order 12866, it is not subject to                        continues to read as follows:
                                                                                                                                                           country where potential relief is available
                                            Executive Order 13771.                                     Authority: 8 U.S.C. 1101, 1103, 1158,               while en route to the United States.
                                                                                                     1226, 1252, 1282; Title VII of Public Law
                                            F. Executive Order 13132 (Federalism)                    110–229; 8 CFR part 2.                                *       *     *     *      *
                                                                                                                                                              (e) * * *
                                              This rule will not have substantial                    ■ 2. Section 208.13 is amended by                        (2) Subject to paragraph (e)(5) of this
                                            direct effects on the States, on the                     adding paragraphs (c)(4) and (5) to read              section, an alien will be found to have
                                            relationship between the national                        as follows:                                           a credible fear of persecution if there is
                                            government and the States, or on the                     § 208.13   Establishing asylum eligibility.           a significant possibility, taking into
                                            distribution of power and                                                                                      account the credibility of the statements
                                                                                                     *       *    *     *     *
                                            responsibilities among the various                          (c) * * *                                          made by the alien in support of the
                                            levels of government. Therefore, in                         (4) Additional limitation on eligibility           alien’s claim and such other facts as are
                                            accordance with section 6 of Executive                   for asylum. Notwithstanding the                       known to the officer, the alien can
                                            Order 13132, it is determined that this                  provisions of § 208.15, any alien who                 establish eligibility for asylum under
                                            rule does not have sufficient federalism                 enters, attempts to enter, or arrives in              section 208 of the Act or for
                                            implications to warrant the preparation                  the United States across the southern                 withholding of removal under section
                                            of a federalism summary impact                           land border on or after July 16, 2019,                241(b)(3) of the Act. * * *
                                                                                                     after transiting through at least one                    (3) Subject to paragraph (e)(5) of this
                                            statement.
                                                                                                     country outside the alien’s country of                section, an alien will be found to have
                                            G. Executive Order 12988 (Civil Justice                  citizenship, nationality, or last lawful              a credible fear of torture if the alien
                                            Reform)                                                  habitual residence en route to the                    shows that there is a significant
                                                                                                     United States, shall be found ineligible              possibility that he or she is eligible for
                                              This rule meets the applicable                                                                               withholding of removal or deferral of
                                                                                                     for asylum unless:
                                            standards set forth in sections 3(a) and                    (i) The alien demonstrates that he or              removal under the Convention Against
                                            3(b)(2) of Executive Order 12988.                        she applied for protection from                       Torture, pursuant to § 208.16 or
                                                                                                     persecution or torture in at least one                § 208.17.
                                            H. Paperwork Reduction Act
                                                                                                     country outside the alien’s country of                *       *     *     *      *
                                              This rule does not propose new, or                     citizenship, nationality, or last lawful                 (5)(i) Except as provided in this
                                            revisions to existing, ‘‘collection[s] of                habitual residence through which the                  paragraph (e)(5)(i) or paragraph (e)(6) of
                                            information’’ as that term is defined                    alien transited en route to the United                this section, if an alien is able to
                                            under the Paperwork Reduction Act of                     States, and the alien received a final                establish a credible fear of persecution
                                            1995, Public Law 104–13, 44 U.S.C.                       judgment denying the alien protection                 but appears to be subject to one or more
                                            chapter 35, and its implementing                         in such country;                                      of the mandatory bars to applying for, or
                                            regulations, 5 CFR part 1320.                               (ii) The alien demonstrates that he or             being granted, asylum contained in
                                                                                                     she satisfies the definition of ‘‘victim of           section 208(a)(2) and 208(b)(2) of the
                                            List of Subjects                                         a severe form of trafficking in persons’’             Act, or to withholding of removal
                                            8 CFR Part 208                                           provided in 8 CFR 214.11; or                          contained in section 241(b)(3)(B) of the
                                                                                                        (iii) The only countries through which             Act, the Department of Homeland
                                              Administrative practice and                            the alien transited en route to the                   Security shall nonetheless place the
                                            procedure, Aliens, Immigration,                          United States were, at the time of the                alien in proceedings under section 240
                                            Reporting and recordkeeping                              transit, not parties to the 1951 United               of the Act for full consideration of the
                                            requirements.                                            Nations Convention relating to the                    alien’s claim, if the alien is not a
                                                                                                     Status of Refugees, the 1967 Protocol                 stowaway. If the alien is a stowaway,
                                            8 CFR Part 1003                                          Relating to the Status of Refugees, or the            the Department shall place the alien in
                                                                                                     United Nations Convention against                     proceedings for consideration of the
                                              Administrative practice and
                                                                                                     Torture and Other Cruel, Inhuman or                   alien’s claim pursuant to § 208.2(c)(3).
                                            procedure, Aliens, Immigration, Legal                                                                             (ii) If the alien is found to be an alien
                                                                                                     Degrading Treatment or Punishment.
                                            services, Organization and functions                        (5) Non-binding determinations.                    described in § 208.13(c)(3), then the
                                            (Government agencies).                                   Determinations made with respect to                   asylum officer shall enter a negative
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                                            8 CFR Part 1208                                          paragraph (c)(4)(ii) of this section are              credible fear determination with respect
                                                                                                     not binding on Federal departments or                 to the alien’s intention to apply for
                                              Administrative practice and                            agencies in subsequent determinations                 asylum. The Department shall
                                            procedure, Aliens, Immigration,                          of eligibility for T or U nonimmigrant                nonetheless place the alien in
                                            Reporting and recordkeeping                              status under section 101(a)(15)(T) or (U)             proceedings under section 240 of the
                                            requirements.                                            of the INA or for benefits or services                Act for full consideration of the alien’s

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                                       VerDate Sep<11>2014   18:03 Jul 15, 2019   Jkt 247001   PO 00000   Frm 00017   Fmt 4700   Sfmt 4700   E:\FR\FM\16JYR1.SGM   16JYR1
                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                   Page 202 of 350 PageID 4795
                                            33844               Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations

                                            claim for withholding of removal under                   1254a, 1255, 1324d, 1330, 1361, 1362; 28              provisions of 8 CFR 208.15, any alien
                                            section 241(b)(3) of the Act, or for                     U.S.C. 509, 510, 1746; sec. 2 Reorg. Plan No.         who enters, attempts to enter, or arrives
                                            withholding or deferral of removal                       2 of 1950; 3 CFR, 1949–1953 Comp., p. 1002;           in the United States across the southern
                                                                                                     section 203 of Pub. L. 105–100, 111 Stat.
                                            under the Convention Against Torture,                                                                          land border on or after July 16, 2019,
                                                                                                     2196–200; sections 1506 and 1510 of Pub. L.
                                            if the alien establishes, respectively, a                106–386, 114 Stat. 1527–29, 1531–32; section          after transiting through at least one
                                            reasonable fear of persecution or torture.               1505 of Pub. L. 106–554, 114 Stat. 2763A–             country outside the alien’s country of
                                            However, if an alien fails to establish,                 326 to –328.                                          citizenship, nationality, or last lawful
                                            during the interview with the asylum                     ■ 5. In § 1003.42, revise paragraph (d) to            habitual residence en route to the
                                            officer, a reasonable fear of either                     read as follows:                                      United States, shall be found ineligible
                                            persecution or torture, the asylum                                                                             for asylum unless:
                                            officer will provide the alien with a                    § 1003.42 Review of credible fear                        (i) The alien demonstrates that he or
                                            written notice of decision, which will be                determination.                                        she applied for protection from
                                            subject to immigration judge review                      *      *      *     *     *                           persecution or torture in at least one
                                            consistent with paragraph (g) of this                       (d) Standard of review. (1) The                    country outside the alien’s country of
                                            section, except that the immigration                     immigration judge shall make a de novo                citizenship, nationality, or last lawful
                                            judge will review the reasonable fear                    determination as to whether there is a                habitual residence through which the
                                            findings under the reasonable fear                       significant possibility, taking into                  alien transited en route to the United
                                            standard instead of the credible fear                    account the credibility of the statements             States and the alien received a final
                                            standard described in paragraph (g) and                  made by the alien in support of the                   judgment denying the alien protection
                                            in 8 CFR 1208.30(g).                                     alien’s claim and such other facts as are             in such country;
                                               (iii) If the alien is found to be an alien            known to the immigration judge, that                     (ii) The alien demonstrates that he or
                                            described as ineligible for asylum in                    the alien could establish eligibility for             she satisfies the definition of ‘‘victim of
                                            § 208.13(c)(4), then the asylum officer                  asylum under section 208 of the Act or                a severe form of trafficking in persons’’
                                            shall enter a negative credible fear                     withholding under section 241(b)(3) of                provided in 8 CFR 214.11; or
                                            determination with respect to the alien’s                the Act or withholding or deferral of                    (iii) The only country or countries
                                            application for asylum. The Department                   removal under the United Nations                      through which the alien transited en
                                            shall nonetheless place the alien in                     Convention Against Torture and Other                  route to the United States were, at the
                                            proceedings under section 240 of the                     Cruel, Inhuman or Degrading Treatment                 time of the transit, not parties to the
                                            Act for consideration of the alien’s                     or Punishment.                                        1951 United Nations Convention
                                            claim for withholding of removal under                      (2) If the alien is determined to be an            relating to the Status of Refugees, the
                                            section 241(b)(3) of the Act, or for                     alien described in 8 CFR 208.13(c)(3) or              1967 Protocol, or the United Nations
                                            withholding or deferral of removal                       1208.13(c)(3) and is determined to lack               Convention against Torture and Other
                                            under the Convention Against Torture,                    a reasonable fear under 8 CFR                         Cruel, Inhuman or Degrading Treatment
                                            if the alien establishes, respectively, a                208.30(e)(5)(ii), the immigration judge               or Punishment.
                                            reasonable fear of persecution or torture.               shall first review de novo the                           (5) Non-binding determinations.
                                            The scope of review shall be limited to                  determination that the alien is described             Determinations made with respect to
                                            a determination of whether the alien is                  in 8 CFR 208.13(c)(3) or 1208.13(c)(3)                paragraph (c)(4)(ii) of this section are
                                            eligible for withholding or deferral of                  prior to any further review of the                    not binding on Federal departments or
                                            removal, accordingly. However, if an                     asylum officer’s negative determination.              agencies in subsequent determinations
                                            alien fails to establish, during the                        (3) If the alien is determined to be an            of eligibility for T or U nonimmigrant
                                            interview with the asylum officer, a                     alien described as ineligible for asylum              status under section 101(a)(15)(T) or (U)
                                            reasonable fear of either persecution or                 in 8 CFR 208.13(c)(4) or 1208.13(c)(4)                of the Act or for benefits or services
                                            torture, the asylum officer will provide                 and is determined to lack a reasonable                under 22 U.S.C. 7105 or 8 U.S.C.
                                            the alien with a written notice of                       fear under 8 CFR 208.30(e)(5)(iii), the               1641(c)(4).
                                            decision, which will be subject to                       immigration judge shall first review de               ■ 8. In § 1208.30, revise the section
                                            immigration judge review consistent                      novo the determination that the alien is              heading and paragraph (g)(1) to read as
                                            with paragraph (g) of this section,                      described as ineligible for asylum in 8               follows:
                                            except that the immigration judge will                   CFR 208.13(c)(4) or 1208.13(c)(4) prior               § 1208.30 Credible fear determinations
                                            review the reasonable fear findings                      to any further review of the asylum                   involving stowaways and applicants for
                                            under the reasonable fear standard                       officer’s negative determination.                     admission who are found inadmissible
                                            instead of the credible fear standard                    *      *      *     *     *                           pursuant to section 212(a)(6)(C) or 212(a)(7)
                                            described in paragraph (g) and in 8 CFR                                                                        of the Act, whose entry is limited or
                                            1208.30(g).                                              PART 1208—PROCEDURES FOR                              suspended under section 212(f) or 215(a)(1)
                                            *       *      *     *     *                             ASYLUM AND WITHHOLDING OF                             of the Act, or who failed to apply for
                                                                                                     REMOVAL                                               protection from persecution in a third
                                            DEPARTMENT OF JUSTICE                                                                                          country where potential relief is available
                                                                                                     ■ 6. The authority citation for part 1208             while en route to the United States.
                                              Accordingly, for the reasons set forth
                                            in the preamble, the Attorney General                    continues to read as follows:                         *      *    *     *     *
                                            amends 8 CFR parts 1003 and 1208 as                        Authority: 8 U.S.C. 1101, 1103, 1158,
                                                                                                                                                              (g) * * *
                                                                                                                                                              (1) Review by immigration judge of a
                                            follows:                                                 1226, 1252, 1282; Title VII of Public Law
                                                                                                     110–229.                                              mandatory bar finding. (i) If the alien is
                                            PART 1003—EXECUTIVE OFFICE FOR                           ■ 7. In § 1208.13, add paragraphs (c)(4)
                                                                                                                                                           determined to be an alien described in
                                            IMMIGRATION REVIEW                                       and (5) to read as follows:                           8 CFR 208.13(c)(3) or 1208.13(c)(3) and
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                                                                                                                                                           is determined to lack a reasonable fear
                                            ■ 4. The authority citation for part 1003                § 1208.13    Establishing asylum eligibility.         under 8 CFR 208.30(e)(5), the
                                            continues to read as follows:                            *     *    *    *     *                               immigration judge shall first review de
                                              Authority: 5 U.S.C. 301; 6 U.S.C 521; 8                  (c) * * *                                           novo the determination that the alien is
                                            U.S.C. 1101, 1103, 1154, 1155, 1158, 1182,                 (4) Additional limitation on eligibility            described in 8 CFR 208.13(c)(3) or
                                            1226, 1229, 1229a, 1229b, 1229c, 1231,                   for asylum. Notwithstanding the                       1208.13(c)(3). If the immigration judge

                                                                                                                                                                                    AR00584
                                       VerDate Sep<11>2014   18:03 Jul 15, 2019   Jkt 247001   PO 00000   Frm 00018   Fmt 4700   Sfmt 4700   E:\FR\FM\16JYR1.SGM   16JYR1
                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                   Page 203 of 350 PageID 4796
                                                                Federal Register / Vol. 84, No. 136 / Tuesday, July 16, 2019 / Rules and Regulations                                         33845

                                            finds that the alien is not described in                 DEPARTMENT OF TRANSPORTATION                          FAA–2018–0984 in the Federal Register
                                            8 CFR 208.13(c)(3) or 1208.13(c)(3), then                                                                      (83 FR 60382; November 26, 2018)
                                            the immigration judge shall vacate the                   Federal Aviation Administration                       establishing four new restricted areas,
                                            order of the asylum officer, and DHS                                                                           R–3803C, R–3803D, R–3803E, and R–
                                            may commence removal proceedings                         14 CFR Part 73                                        3803F, and making minor technical
                                            under section 240 of the Act. If the                     [Docket No. FAA–2018–0984; Airspace                   amendments to the R–3803A and R–
                                            immigration judge concurs with the                       Docket No. 18–ASW–8]                                  3803B descriptions for improved
                                            credible fear determination that the                                                                           operational efficiency and
                                                                                                     RIN 2120–AA66                                         administrative standardization in
                                            alien is an alien described in 8 CFR
                                                                                                                                                           support of hazardous U.S. Army force-
                                            208.13(c)(3) or 1208.13(c)(3), the                       Expansion of R–3803 Restricted Area                   on-force and force-on-target training
                                            immigration judge will then review the                   Complex; Fort Polk, LA                                activities. Interested parties were
                                            asylum officer’s negative decision                                                                             invited to participate in this rulemaking
                                                                                                     AGENCY: Federal Aviation
                                            regarding reasonable fear made under 8                                                                         effort by submitting written comments
                                                                                                     Administration (FAA), DOT.
                                            CFR 208.30(e)(5) consistent with                                                                               on the proposal. Two comments were
                                                                                                     ACTION: Final rule.
                                            paragraph (g)(2) of this section, except                                                                       received.
                                            that the immigration judge will review                   SUMMARY: This action expands the R–
                                            the findings under the reasonable fear                                                                         Discussion of Comments
                                                                                                     3803 restricted area complex in central
                                            standard instead of the credible fear                    Louisiana by establishing four new                       While supportive of the U.S. Army’s
                                            standard described in paragraph (g)(2).                  restricted areas, R–3803C, R–3803D, R–                need to train as they fight, the first
                                               (ii) If the alien is determined to be an              3803E, and R–3803F, and makes minor                   commenter noted that modern general
                                                                                                     technical amendments to the existing R–               aviation aircraft have longer flight
                                            alien described as ineligible for asylum
                                                                                                     3803A and R–3803B legal descriptions                  endurance today, making timely
                                            in 8 CFR 208.13(c)(4) or 1208.13(c)(4)
                                                                                                     for improved operational efficiency and               NOTAM publication of restricted area
                                            and is determined to lack a reasonable                                                                         activations necessary for effective flight
                                            fear under 8 CFR 208.30(e)(5), the                       administrative standardization. The
                                                                                                     restricted area establishments and                    planning. To overcome the possibility of
                                            immigration judge shall first review de                                                                        the restricted areas being activated with
                                            novo the determination that the alien is                 amendments support U.S. Army Joint
                                                                                                     Readiness Training Center training                    no advance notification, the commenter
                                            described as ineligible for asylum in 8                                                                        recommended adding ‘‘at least 4 hours
                                                                                                     requirements at Fort Polk for military
                                            CFR 208.13(c)(4) or 1208.13(c)(4). If the                                                                      in advance’’ to the ‘‘By NOTAM’’ time
                                                                                                     units preparing for overseas
                                            immigration judge finds that the alien is                deployment.                                           of designation proposed for the R–
                                            not described as ineligible for asylum in                                                                      3803A, R–3803C, and R–3803D
                                            8 CFR 208.13(c)(4) or 1208.13(c)(4), then                DATES: Effective date: 0901 UTC,                      restricted areas. Additionally, the
                                            the immigration judge shall vacate the                   September 13, 2019.                                   commenter requested the effective date
                                            order of the asylum officer, and DHS                     FOR FURTHER INFORMATION CONTACT:                      of the proposed restricted areas, if
                                            may commence removal proceedings                         Colby Abbott, Airspace Policy Group,                  approved, coincide with the next update
                                            under section 240 of the Act. If the                     Office of Airspace Services, Federal                  of the Houston Sectional Aeronautical
                                            immigration judge concurs with the                       Aviation Administration, 800                          Chart.
                                            credible fear determination that the                     Independence Avenue SW, Washington,                      It is FAA policy that when NOTAMs
                                            alien is an alien described as ineligible                DC 20591; telephone: (202) 267–8783.                  are issued to activate special use
                                                                                                     SUPPLEMENTARY INFORMATION:                            airspace, the NOTAMs should be issued
                                            for asylum in 8 CFR 208.13(c)(4) or
                                                                                                                                                           as far in advance as feasible to ensure
                                            1208.13(c)(4), the immigration judge                     Authority for This Rulemaking                         the widest dissemination of the
                                            will then review the asylum officer’s
                                                                                                       The FAA’s authority to issue rules                  information to airspace users. The FAA
                                            negative decision regarding reasonable                   regarding aviation safety is found in                 acknowledges that the addition of the
                                            fear made under 8 CFR 208.30(e)(5)                       Title 49 of the United States Code.                   ‘‘at least 4 hours in advance’’ provision
                                            consistent with paragraph (g)(2) of this                 Subtitle I, Section 106 describes the                 to the proposed ‘‘By NOTAM’’ time of
                                            section, except that the immigration                     authority of the FAA Administrator.                   designation, as recommended by the
                                            judge will review the findings under the                 Subtitle VII, Aviation Programs,                      commenter, would contribute to
                                            reasonable fear standard instead of the                  describes in more detail the scope of the             ensuring the widest dissemination of
                                            credible fear standard described in                      agency’s authority. This rulemaking is                the restricted areas being activated to
                                            paragraph (g)(2).                                        promulgated under the authority                       effected airspace users. As such, the
                                            *       *     *     *      *                             described in Subtitle VII, Part A,                    FAA adopts the commenter’s
                                                                                                     Subpart I, Section 40103. Under that                  recommendation to amend the time of
                                              Approved:
                                                                                                     section, the FAA is charged with                      designation for R–3803A, R–3803C, and
                                              Dated: July 12, 2019.                                  prescribing regulations to assign the use             R–3803D to reflect ‘‘By NOTAM issued
                                            Kevin K. McAleenan,                                      of the airspace necessary to ensure the               at least 4 hours in advance.’’
                                            Acting Secretary of Homeland Security.                   safety of aircraft and the efficient use of              Additionally, the establishment of R–
                                              Approved:                                              airspace. This regulation is within the               3803C, R–3803D, R–3803E, and R–
                                                                                                     scope of that authority as it establishes             3803F, and the minor technical
                                              Dated: July 12, 2019.
                                                                                                     restricted area airspace at Fort Polk, LA,            amendments to the existing R–3803A
                                            William P. Barr,                                                                                               and R–3803B legal descriptions are
                                                                                                     to enhance aviation safety and
                                            Attorney General.                                        accommodate essential U.S. Army                       being made effective to coincide with
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                                            [FR Doc. 2019–15246 Filed 7–15–19; 8:45 am]              hazardous force-on-force and force-on-                the upcoming Houston Sectional
                                            BILLING CODE 4410–30–P; 9111–97–P                        target training activities.                           Aeronautical Chart date.
                                                                                                                                                              The second commenter raised aerial
                                                                                                     History                                               access concerns of the area in which the
                                                                                                       The FAA published a notice of                       new restricted areas were proposed to
                                                                                                     proposed rulemaking for Docket No.                    be established. The commenter stated

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                                       VerDate Sep<11>2014   16:49 Jul 15, 2019   Jkt 247001   PO 00000   Frm 00019   Fmt 4700   Sfmt 4700   E:\FR\FM\16JYR1.SGM   16JYR1
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 204 of 350 PageID 4797




 Fiscal Year 2020 Enforcement Lifecycle Report
 DECEMBER 2020




 OFFICE OF IMMIGRATION STATISTICS
 MARC R. ROSENBLUM AND HONGWEI ZHANG




                                                                       AR00586
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                       Page 205 of 350 PageID 4798



 Summary
 U.S. Customs and Border Protection (CBP), the Department of Homeland Security (DHS)
 Component responsible for securing U.S. borders, apprehended 2.8 million aliens between ports
 of entry along the Southwest Border between Fiscal Year 2014 and 2019 and found an additional
 725,000 aliens inadmissible at Southwest Border ports of entry.1 This report updates previous
 Office of Immigration Statistics (OIS) efforts to link administrative records across DHS and
 Department of Justice (DOJ) data systems and to describe the end-to-end enforcement lifecycle
 (OIS 2019). OIS’ Enforcement Lifecycle methodology matches each unique border encounter to
 its associated final or most current enforcement outcome. This 2020 Enforcement Lifecycle
 Report describes the final or most current outcomes, as of March 31, 2020, associated with the
 3.5 million Southwest Border encounters occurring between 2014 and 2019.
 Overall, 59 percent of the 3.5 million Southwest Border encounters between 2014 and 2019 had
 been resolved through a final outcome of repatriation or relief/protection from removal as of the
 end of 2020 Q2. Repatriations accounted for 51 percent of encounters (or 1.8 million) versus 49
 percent (or 1.7 million) of encounters that had no confirmed departure, including 8.1 percent that
 had been granted relief or other protection from removal (284,000 encounters).
 The 2014 to 2019 period coincides with shifts in the demographic characteristics of aliens
 encountered at the Southwest Border. The bulk of encounters shifted from aliens from Mexico to
 aliens from the Northern Triangle countries of Central America (El Salvador, Guatemala, and
 Honduras); from aliens who do not seek humanitarian protection to aliens who seek asylum or
 otherwise claim a fear of being returned to their home countries (“asylum seekers”); and from
 adults traveling without children (“single adults”) to parents or legal guardians and children
 traveling together (“family unit aliens,” or FMUA) and children traveling alone
 (“unaccompanied alien children,” or UAC).
 These changes are noteworthy, in part, because of dramatic differences in enforcement outcomes
 across these sub-groups, as this report shows. Most encounters of aliens from Mexico, single
 adults, and non-asylum seekers were fully resolved (i.e., either repatriated or granted relief)
 relatively quickly; however, most encounters of aliens from countries other than Mexico, FMUA
 and UAC, and asylum seekers remained in an unresolved status (i.e., still being processed by
 DHS or DOJ or subject to an unexecuted order of removal) even years after their initial
 encounter. Among encounters that had been resolved as of March 31, 2020, aliens from Mexico,
 single adults, and non-asylum seekers were much more likely to have been repatriated than were
 aliens from countries other than Mexico or the Northern Triangle, UACs, and asylum seekers, all
 of whom who were somewhat more likely to have been granted relief. These differences overlap
 with similar disparities in enforcement outcomes as a function of whether and how consistently
 aliens were held in detention following their initial encounters.
 Section 1 of this report summarizes OIS’ Enforcement Lifecycle methodology. Sections 2 and 3
 describe the 2014 to 2019 Southwest Border enforcement cohorts and summarize high-level
 enforcement outcomes as of March 31, 2020. Section 4 reports on outcomes by country of origin.


 1 Throughout this report, years refer to fiscal years. This report describes enforcement events, not individual aliens, so aliens

 apprehended or found inadmissible multiple times between 2014 and 2019 are counted multiple times in the report. Data in the
 body of the report are rounded to the nearest thousand (or to the nearest hundred thousand for figures over 1 million); for detailed
 data tables see Appendices A and B.

                                                                                                                                     1

                                                                                                                          AR00587
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                     Page 206 of 350 PageID 4799



 Section 5 reports on outcomes by family status. Section 6 reports on outcomes by whether the
 alien made a fear claim at some point in the enforcement process.

 Methodology
 For historic reasons, DHS data systems are siloed, and the immigration enforcement system is
 highly complex, spanning multiple DHS Components as well as part of DOJ. An alien who is
 encountered at the Southwest Border may touch a dozen or more stand-alone data systems as
 they claim a fear of return to their home country, are booked into Immigration and Customs
 Enforcement (ICE) custody, appear before an immigration judge, and are eventually either
 repatriated or granted relief or some other form of protection from removal. Given the challenges
 of linking records across these different systems, traditional DHS reports are limited to separate
 subsets of the overall enforcement process: how many aliens were apprehended or found
 inadmissible; how many were booked into or booked out of ICE detention; and, how many were
 removed, returned, or granted relief?

 The key innovation behind the OIS Enforcement Lifecycle is that OIS links records across the
 multiple data systems aliens may touch during the course of their enforcement process, providing
 a more complete view of the end-to-end immigration enforcement system. OIS calls the resulting
 integrated, person-level data the                     Source Datasets included in the Flow Dataset
 “Flow Dataset,” because it captures
 how aliens flow through the            ● USCIS Affirmative Asylum             ● ICE ERO Final Book-Outs
                                        ● USCIS Asylum Pre-Screening           ● ICE Removals & Returns
 immigration enforcement process.       Officer (APSO)
 Currently, the Flow Dataset            ● USCIS Employment                     ● ICE HSI Administrative &
 combines data from 19 different        Authorization Document (EAD)           Criminal Arrests
                                        ● USCIS Deferred Action for            ● CBP OFO Inadmissibles
 source systems central to the          Child Arrivals (DACA)                  ● CBP USBP Apprehensions
 immigration enforcement process        ● USCIS Legal Permanent                ● DHS OIS Removals & Returns
 (see text box). OIS matches records Residents (LPR)                           ● DOJ EOIR Bonds
                                        ● ICE ERO Charging Documents           ● DOJ EOIR Schedule
 by using individual and event          Issued                                 ● DOJ EOIR Appeals
 identifiers from the different source ● ICE ERO Administrative Arrests ● DOJ EOIR Proceedings
 systems and assigns a new person-      ● ICE ERO Initial Book-Ins             ● DOJ EOIR Case Information
 level identifier to each unique
 individual appearing in one or more of the source datasets. OIS also converts non-standardized
 data into a common format based on data standards gathered and published by the DHS
 Immigration Data Integration Initiative. OIS sorts the matched records by unique individual and
 date, yielding a comprehensive, integrated person-centric dataset that includes one row for each
 in-scope event.

 The unit of analysis for the Enforcement Lifecycle methodology is defined as an “event cycle.”
 An event cycle consists of an initial enforcement action and all subsequent reportable events
 associated with the subject alien. Many aliens are encountered at the border and repatriated on
 multiple occasions. In these cases, the aliens have more than one initial enforcement action and
 they pass through multiple event cycles. All of the data in this report are event- and event cycle-
 based, meaning an alien with multiple Southwest Border encounters is counted multiple times
 toward the total numbers of initial encounters and the numbers of final or most current
 enforcement outcomes.



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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                    Page 207 of 350 PageID 4800



 Working with DHS and DOJ subject matter experts, OIS uses the Flow Dataset to map
 Component administrative data into 129 distinct enforcement events. For purposes of the
 Enforcement Lifecycle Analysis, OIS groups events into three categories: “initial enforcement
 actions,” “final enforcement outcomes,” and “interim enforcement outcomes”:
     •    Initial enforcement actions include U.S. Border Patrol (USBP) apprehensions and Office
          of Field Operations (OFO) inadmissibility determinations. These events are “initial” in
          the sense that they initiate a process that may lead to a repatriation or to relief/protection
          from removal.
     •    Final enforcement outcomes include confirmed repatriations (removals or returns), grants
          of relief or other forms of protection from removal, findings of non-removability, and
          CBP re-encounters of aliens believed to have departed the country of their own accord.2
          These events are “final” in that they represent a durable resolution to an initial
          enforcement action.
     •    Interim enforcement outcomes encompass all other reportable enforcement events,
          including book-ins to ICE detention facilities, U.S. Citizenship and Immigration Services
          (USCIS) credible fear screenings, applications for immigration benefits, and DOJ
          Executive Office for Immigration Review (EOIR) hearings, among others. These interim
          outcomes provide important information about aliens’ paths through the immigration
          enforcement system, but they do not represent start- or end-points of an enforcement
          process.
 For each event cycle, OIS’ Enforcement Lifecycle algorithm matches the initial enforcement
 action to its associated final enforcement action if one exists, or to the most current interim
 enforcement action if the encounter remains in unresolved status. In most cases, interim actions
 are identified as most current if they are the latest event (by calendar date) in an enforcement
 encounter’s event cycle. When multiple interim events occur on the same day and in certain
 other scenarios, OIS identifies the most current enforcement outcome based on which event takes
 logical precedence in the DHS and DOJ enforcement processes.3
 OIS uses the Enforcement Lifecycle methodology to answer four main questions about groups of
 aliens encountered at the Southwest Border. First, fundamentally, for any such group of aliens,
 what is their final or most current enforcement outcome? OIS groups outcomes to align with
 different points in the enforcement process, including aliens being processed by DHS or DOJ for
 possible removal, aliens subject to a final order of removal, aliens who have been repatriated,
 and aliens who have been granted relief or some other protection from removal. OIS’ standard
 Enforcement Lifecycle table sorts the outcomes of Southwest Border encounters into these four
 large categories and 19 sub-categories. Appendix A provides a detailed listing of the specific
 outcomes that comprise each of the four main Enforcement Lifecycle outcomes.


 2 OIS defines a CBP re-encounter as a case in which an alien is encountered more than once by CBP without an intervening

 removal or return. OIS assumes the alien departed of their own accord during the intervening period. A re-encounter is both a
 final enforcement outcome and a second initial enforcement action.
 3
   For example, a DOJ final order of removal, which is considered an interim outcome unless and until it is executed, would take
 precedence over an application for an immigration benefit or other status even if the application occurs later in time.

                                                                                                                                   3

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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                    Page 208 of 350 PageID 4801



 As noted above, while traditional DHS reporting focuses on enforcement (or benefits) events
 occurring in a given year, Enforcement Lifecycle reporting represents a snapshot of final or most
 current events as of the date of the analysis. Thus, while this report examines Southwest Border
 encounters for each year 2014 to 2019, all results are based on final or most current outcomes as
 of the end of 2020 Q2 (March 31, 2020).
 A second, related question concerns what share of initial enforcement actions are “resolved”
 versus “unresolved.” Resolved encounters include those with final enforcement outcomes. These
 encounters have resulted in an alien being repatriated or being granted some form of relief or
 other protection from removal, so their enforcement event cycle is complete.4 (An alien who, for
 whatever reason, is subsequently re-apprehended is the subject of an additional event cycle, as
 noted above.)
 Initial enforcement actions that lack a final outcome are unresolved. Most unresolved event
 cycles fall into two main sub-categories:5
     •     Aliens being processed for removal. These event cycles include aliens being processed by
           DHS who do not have records in EOIR’s case management system, aliens with removal
           proceedings pending before EOIR, and aliens subject to an EOIR removal order that is
           pending additional DOJ action (i.e., because the case is subject to a motion to reopen or
           reconsider or because the case has been appealed to the Board of Immigration Appeals
           (BIA)).
     •     Aliens subject to an unexecuted final order or offer of voluntary departure. These event
           cycles include aliens who have been ordered removed (in person or in absentia) or
           accepted an offer of voluntary departure but who have not been repatriated or confirmed
           their exit from the country.
 Third, what share of initial enforcement actions have resulted in an alien being repatriated or
 otherwise departing the United States and what share have resulted in no confirmed departure?
 For the purposes of this analysis, repatriations include removals, returns, voluntary departures,




 4
   Repatriations include removals, returns, and re-encounters. Throughout this report relief from removal includes both formal
 relief and certain other forms of permanent or temporary protection from removal, including: granting of affirmative asylum;
 Special Immigrant Juvenile status; cancelation of removal; LPR status granted by DHS or EOIR; a T, S, or U visa; withholding
 of removal; Convention Against Torture protection; termination of EOIR proceedings; Temporary Protected Status; DHS
 prosecutorial discretion; EOIR conditional grants of relief; and people found to be U.S. citizens or lawfully present aliens not
 subject to removal. See Appendix A for further details. Aliens subject to temporary forms of relief such as withholding of
 removal may be reclassified if the temporary relief is revoked or the alien is subject to additional enforcement outcomes on the
 same event trip. Note that aliens who remain in Mexico while their removal proceedings are ongoing pursuant to the Migration
 Protection Protocols program are not counted among repatriations since they have not been removed or returned, and their
 enforcement cycles remain unresolved.
 5 About 2 percent of all enforcement encounters are unresolved but do not fall into these two categories. These other unresolved

 encounters include aliens paroled into the United States who have not been granted a lawful status (1 percent) and encounters for
 which no updated enforcement outcome data are available (1 percent). Encounters are coded as “no subsequent event” if OIS is
 unable to match the initial encounter to any additional enforcement action or form of relief. These cases may result from data
 errors or errors in OIS’ record-matching.

                                                                                                                                 4

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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                     Page 209 of 350 PageID 4802



 and re-encounters. No confirmed departure includes encounters resulting in aliens being granted
 relief or other protection from removal as well as all encounters that remain unresolved.6
 Resolved versus unresolved and repatriated versus no confirmed departure represent two distinct
 dimensions of how the immigration enforcement system operates (see Table 1). The first of these
 questions essentially gets at how well or how quickly the system produces durable results; and
 the second of these questions gets at the substantive impact of its results.


 Table 1: Primary Enforcement Lifecycle Statuses and Events
         Status Following an
                                              Repatriated                                 No Confirmed Departure
          Initial Encounter
                                                                                          Granted relief or other
                                                                                          protection from removal:
                                                                                          • Special Immigrant Juvenile
                                                                                              status or asylum
                                              Repatriated                                 • Cancellation of removal
                                              • Removed
                 Resolved                                                                 • LPR status
                                              • Returned
                                                                                          • T, S, or U visa
                                              • Re-encountered
                                                                                          • Withholding of removal or
                                                                                              Convention Against Torture
                                                                                              protection
                                                                                          • Other form or relief
                                                                                          Being Processed for Possible
                                                                                          Removal:
                                                                                          • Being processed by DHS
                                                                                              but no record of EOIR
                                                                                              proceedings
                                                                                          • In EOIR proceedings
                                                                                          • Subject to an EOIR decision
                                                                                              that has been
               Unresolved                     N/A
                                                                                              reopened/reconsidered or
                                                                                              appealed to the Board of
                                                                                              Immigration Appeals

                                                                                          Subject to an EOIR final order
                                                                                          or grant of voluntary departure
                                                                                          that has not been executed




 6 As a practical matter, “no confirmed departure” may be interpreted to mean that the alien likely remains in the United States.

 An unknown share of aliens with no confirmed departure may have departed the United States without notifying DHS.

                                                                                                                                    5

                                                                                                                       AR00591
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                      Page 210 of 350 PageID 4803



 A fourth overarching question focuses exclusively on the subset of resolved encounters and asks:
 what share of resolved encounters have been repatriated versus granted relief or other protection
 from removal? Especially for certain groups of border encounters (i.e., those for which large
 shares of encounters remain unresolved), focusing exclusively on resolved encounters rather than
 the broader cohort may provide more insight into the substantive outcomes of immigration
 enforcement.

 The 2014 to 2019 Southwest Border Enforcement Cohorts
 CBP completed 3.5 million initial enforcement actions along the Southwest Border between
 2014 and 2019, including 2.8 million USBP apprehensions and 725,000 OFO inadmissibility
 determinations. Total encounters (apprehensions plus inadmissibility determinations) were
 relatively stable between 2014 and 2018, ranging between an annual low of 417,000 and a high
 of 571,000, before increasing sharply to 980,000 in 2019. The demographics of border
 encounters shifted notably from Mexicans to aliens from the Northern Triangle, from single
 adults to family units, and to more aliens seeking to claim asylum. The number of aliens younger
 than 18 years of age has risen as well, particularly among those younger than 13 years of age,
 most of whom arrived within family units.

 Figure 1.
 Southwest Border Encounters by Nationality: FY 2014 to 2019
  300,000


  250,000


  200,000


  150,000


  100,000


   50,000


         0
                  2014              2015           2016         2017           2018     2019

                           Mexico      Guatemala     Honduras    El Salvador   Other

 Source: OIS Statistical Immigration Data.

 Figure 1 depicts Southwest Border encounters by nationality. One noteworthy pair of trends
 since 2014 has been a slight decline in the number of Mexican nationals encountered at the
 border and a pronounced increase in the number of encounters from the Northern Triangle
 countries of Guatemala, Honduras, and El Salvador. Encounters of Mexican nationals fell 16
 percent from 285,000 in 2014 to 239,000 in 2019. Conversely, encounters of Guatemalans more
 than tripled over the same period from 85,000 to 270,000; encounters of Hondurans more than

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                                                                                          AR00592
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                      Page 211 of 350 PageID 4804



 doubled from 96,000 to 261,000; and encounters of El Salvadorans increased by just over a third
 from 68,000 to 92,000. Aliens from countries other than Mexico and the three Northern Triangle
 countries also more than tripled in this period, from 37,000 to 118,000, with most of the increase
 consisting of Haitians (through 2017) and Cubans (through 2019).
 These contrasting trends are even more pronounced when analyzed proportionally. Viewed this
 way, Mexicans dropped from 97 percent of all encounters from 2000 to 2004 and 87 percent
 from 2005 to 2013 to 50 percent of all encounters in 2014 and just 24 percent of all encounters in
 2019. Meanwhile, Guatemala’s share of encounters rose from 15 percent in 2014 to 28 percent in
 2019 and Honduras’s share rose from 17 percent to 27 percent, while El Salvador’s dropped
 from 12 percent to 9.4 percent. Together, encounters with aliens from the three Northern
 Triangle countries increased from 44 percent to 64 percent of total encounters between 2014 and
 2019.
 Figure 2.
 Southwest Border Encounters by Family Type: FY 2014 to 2019
  600,000

  500,000

  400,000

  300,000

  200,000

  100,000

        0
                 2014            2015           2016            2017           2018            2019

                                         Single Adult   FMUA      UAC

 Source: OIS Statistical Immigration Data.
 Note: FMUA data are limited to USBP apprehensions for 2013–2015; later years include both USBP and OFO.

 Figure 2 depicts the breakdown of 2014 to 2019 Southwest Border encounters into single adults;
 FMUAs, which include each individual in a group of a parent or legal guardian traveling with
 one or more minor children; and UACs, defined as minor children traveling without a parent or
 legal guardian. A second set of noteworthy trends concerns changes among these demographic
 groups during this period, including a 14 percent decline in single adult encounters from 431,000
 in 2014 to 372,000 in 2019; a 686 percent increase in FMUAs from 67,000 in 2014 to 527,000 in
 2019; and an 11 percent increase in UACs from 73,000 in 2014 to 81,000 in 2019. As a result,




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                                                                                                  AR00593
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                   Page 212 of 350 PageID 4805



 single adults fell from 76 percent of encounters in 2014 to 38 percent in 2019 while FMUAs
 increased from 12 percent to 54 percent during the same period.7
 The shift from single adults to a larger number of FMUA and UAC was accompanied by a shift
 toward younger aliens. In particular, the number of encounters of aliens under 18 years old
 almost tripled from 125,000 in 2014 to 356,000 in 2019, increasing from 22 percent of all
 encounters in 2014 to 36 percent in 2019. All other age groups saw more modest growth in their
 numbers of encounters and accounted for smaller shares of encounters in 2019 than in 2014.
 Within the under-18 grouping, encounters of children under 6 years old more than quadrupled
 from 25,000 in 2014 to 102,000 in 2019, while encounters of children between 6 and 12 years
 old nearly did so as well, from 29,000 in 2014 to 115,000 in 2019. In contrast, the number of
 children ages 13 to 17 years old only nearly doubled from 70,000 in 2014 to 138,000 in 2019.8
 These shifts caused the median age of encountered minors to drop from 14 years old to 10 years
 old between 2014 and 2019.
 Figure 3.
 Southwest Border Encounters by Fear Claim: FY 2014 to 2019
  1,000,000
    900,000
    800,000
    700,000
    600,000
    500,000
    400,000
    300,000
    200,000
    100,000
            0
                      2014               2015              2016              2017              2018               2019

                                                  No Fear Claim        Fear Claim

 Source: OIS Statistical Immigration Data.

 Figure 3 depicts a third noteworthy recent trend in Southwest Border encounters: the rising share
 through 2018 of aliens who claimed a fear of return to their home countries following an
 apprehension or determination of inadmissibility. The number of encounters resulting in a fear
 claim increased from 60,000 in 2014 (10 percent of encounters in 2014) to 108,000 in 2018 (21
 percent of encounters in 2018). The number of fear claims showed a further modest increase to

 7 OFO began collecting FMUA data in March 2016; as a result, reported FMUA counts are biased downward for 2013–2015.

 Southwest Border encounters appear to have fallen sharply back to 2017 and 2018 levels in FY 2020, a period beyond the scope
 of this report.
 8
   Overall, 4 percent of encounters under age5 arrived as UACs versus 96 percent that arrived within family units; 19 percent of
 encounters between ages 6 and 12 arrived as UACs versus 81 percent that arrived within family units; and 72 percent of
 encounters between ages 13 and 17 arrive as UACs versus 28 percent that arrived within family units.

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                                                                                                                     AR00594
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                   Page 213 of 350 PageID 4806



 115,000 in 2019 while falling to 12 percent of encounters.9 Overall, 520,000 Southwest Border
 encounters resulted in fear claims between 2014 and 2019, 15 percent of all Southwest Border
 encounters during this period.

 High-Level Outcomes
 Overall, 59 percent of 3.5 million apprehensions or findings of inadmissibility along the
 Southwest Border between 2014 and 2019 had been resolved through a final outcome of
 repatriation or relief/protection from removal as of the end of 2020 Q2 (See Appendix A).
 Repatriations accounted for 51 percent of encounters (or 1.8 million), versus 49 percent (or 1.7
 million) of encounters that had no confirmed departure, including 8.1 percent that had been
 granted relief or other protection from removal (284,000 encounters). Restricting attention to
 border encounters that had been resolved, 86 percent resulted in repatriation and 14 percent led
 to relief or other protection from removal.
 The majority (83 percent) of the 1.8 million repatriations were removals, which accounted for 76
 percent of resolved encounters (and 43 percent of all encounters). The next largest share of
 repatriations (13 percent) were returns, which accounted for 12 percent of resolved encounters
 (and 6.9 percent of all encounters).10
 The largest share (40 percent) of those granted relief were granted LPR status by DHS,
 accounting for 5.5 percent of resolved encounters (and 3.3 percent of all encounters). The next
 largest share (22 percent) of those granted relief had their EOIR proceedings terminated,
 accounting for 3.0 percent of resolved encounters (and 1.8 percent of all encounters).
 The largest share (74 percent) of unresolved encounters were still being processed by DHS or
 EOIR (accounting for 30 percent of all encounters), and the next largest share (22 percent) were
 encounters with unexecuted final orders of removal or voluntary departure (accounting for 9.0
 percent of all encounters).11




 9 This figure includes fear claims made at any point following a CBP encounter; 30 percent of fear claims between 2014 and

 2019 occurred after aliens were released from CBP into ICE custody. About 92 percent of fear claims during this period were
 credible fear claims by aliens subject to expedited removal, and 7.8 percent were reasonable fear claims by aliens subject to
 reinstatement of a removal order or subject to administrative removal because they were aggravated felons.
 10
    About 2 percent of all encounters were aliens encountered at the border twice without an intervening removal or return; OIS
 assumes that these “re-encounters” departed the United States following the first border encounter without notifying DHS and
 counts them as departures.
 11 The remaining 2 percent of encounters were paroled into the United States with no subsequent change in status or were unable

 to be matched to subsequent enforcement outcomes.

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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                   Page 214 of 350 PageID 4807



 Figure 4.
 Southwest Border Encounters by Enforcement Outcomes: FY 2014 to 2019




 Source: OIS Statistical Immigration Data.
 Note: Outcomes are current as of March 31, 2020.

 Figure 4 depicts enforcement outcomes as of the end of 2020 Q2 for aliens encountered at the
 Southwest Border each year from 2014 to 2019 (see Appendix B for a more detailed
 breakdown). Because many enforcement encounters take months or years to be resolved,
 outcomes differ partly—but not exclusively—as a function of how much time has elapsed since a
 cohort of aliens was initially encountered.12 Thus, a relatively large share (66 percent) of the
 980,000 encounters in 2019 remained unresolved at the end of 2020 Q2. Most of the 1.4 million
 unresolved encounters in 2019 were still being processed for removal (83 percent), while an
 additional 15 percent had unexecuted final orders of removal or voluntary departure. Of the 34
 percent of the 980,000 encounters in 2019 that had been resolved by 2020 Q2, 94 percent had
 been repatriated versus 5.6 percent that had been granted relief.
 For each earlier cohort of encounters, the additional time elapsed between the initial encounter
 and the reporting date is associated with a smaller share of aliens still being processed and larger
 proportions having been repatriated, issued a final order, or granted relief. For the 2014 cohort of
 571,000 encounters, for example, most encounters had been resolved (79 percent) by the end of
 2020 Q2, and only 20 percent were still being processed or had unexecuted removal orders or
 unexecuted voluntary departures.




 12
   Not all variation in enforcement outcomes between cohorts is a function of time elapsed, as the demographic characteristics
 and specific enforcement histories of each cohort also differ.

                                                                                                                                 10

                                                                                                                     AR00596
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                         Page 215 of 350 PageID 4808



 Enforcement Outcomes by Nationality
 Figure 5: Enforcement Outcomes by Country or Region and Year of Initial Encounter:
 FY 2014 to 2019




 Source: OIS Statistical Immigration Data.
 Note: Outcomes are current as of March 31, 2020. “NTC” refers to Northern Triangle Countries.

 Figure 5 depicts variation in final or most current enforcement outcomes by country or region
 and by year (see Appendix B for a more detailed breakdown).
 As Figure 5 illustrates, the vast majority (90 percent) of 1.4 million encounters of Mexican
 nationals between 2014 and 2019 had been resolved by the end of 2020 Q2, ranging from 95
 percent of the 285,000 encounters in 2014 to 83 percent of the 239,000 encounters in 2019.
 Overall, 88 percent of Mexican encounters between 2014 and 2019 had resulted in repatriations
 by 2020 Q2 versus 12 percent with no confirmed departure, including 1.8 percent of Mexican
 encounters resulting in some form or relief from removal. Very few Mexican encounters (6.0
 percent) were still being processed, ranging from 2.6 percent of 2014 encounters to 13 percent of
 2019 encounters. Mexicans had a relatively high proportion of encounters leading to parole (2.2
 percent of Mexican encounters over this period). And Mexican encounters were notably unlikely
 to result in unexecuted final orders or offers of voluntary departure: just 1.5 percent over the
 entire period.
 Just over a third (36 percent) of the 1.7 million encounters of aliens from the Northern Triangle
 were resolved by the end of 2020 Q2, ranging from 61 percent of the 248,000 encounters in 2014
 to 18 percent of the 623,000 encounters in 2019. Among all Northern Triangle encounters during
 this period, 28 percent had been repatriated and 72 percent had no confirmed departure,
 including 7.6 percent granted some form of relief from removal. A total of 64 percent of all
 Northern Triangle encounters over this period remained unresolved, including 48 percent that



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                                                                                                 AR00597
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 216 of 350 PageID 4809



 were still being processed by DHS or DOJ for removal and 16 percent with unexecuted final
 orders of removal or offers of voluntary departure.
 Almost half (49 percent) of the 370,000 encounters of aliens from countries other than Mexico or
 the Northern Triangle between 2014 and 2019 were resolved by the end of 2020 Q2, ranging
 from 73 percent of the 37,000 encounters in 2014 to 17 percent of the 118,000 encounters in
 2019. Encounters of aliens from these other countries had been repatriated 14 percent of the time
 while 86 percent of these encounters had no confirmed departure, including 35 percent that had
 been granted relief. A total of 51 percent of all encounters for aliens from countries other than
 Mexico or the Northern Triangle encountered over this period remained unresolved, including 42
 percent still being processed and 7.5 percent with unexecuted final orders or offers of voluntary
 departure.
 Comparing across the three sets of countries between 2014 and 2019, encounters of aliens from
 Mexico had the highest rate of resolution (90 percent) as of the end of 2020 Q2, followed by
 encounters from countries other than Mexico or the Northern Triangle (49 percent), with
 encounters for those from the Northern Triangle having the lowest rate of resolution (36
 percent). Setting aside unresolved encounters and focusing exclusively on encounters with final
 outcomes, Mexicans had the highest rate of repatriation/lowest rate of relief from removal (98
 percent repatriated; 2 percent granted relief), followed by aliens from the Northern Triangle (79
 repatriated; 21 percent granted relief) and aliens from all other countries (29 percent repatriated;
 71 percent granted relief).




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                                                                                            AR00598
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                    Page 217 of 350 PageID 4810



 Enforcement Outcomes by Family Status
 Figure 6 depicts variation in final or most current enforcement outcomes by family status
 (FMUAs, UACs, or single adults) and by year (see Appendix B for a more detailed breakdown).
 Mexican and Canadian UACs are excluded from this portion of the analysis because U.S. law
 includes special provisions for unaccompanied children from non-contiguous countries.13
 Figure 6.
 Enforcement Outcomes by Family Status and Year of Initial Encounte
                                                           Encounter: FY 2014 to 2019




 Source: OIS Statistical Immigration Data.
 Note: Outcomes are current as of March 31, 2020. UAC excludes contiguous countries.

 The vast majority (85 percent) of the 2.1 million encounters of single adults between 2014 and
 2019 had been resolved by the end of 2020 Q2, ranging from 89 percent of the 431,000
 encounters in 2014 to 76 percent of the 372,000 encounters in 2019. Among all single adult
 encounters, 78 percent had been repatriated versus 22 percent with no confirmed departure,
 including 7.2 percent that had been granted relief. A total of 15 percent of encounters of single
 adults over this period remained unresolved, including 11 percent that were still being processed
 at the end of 2020 Q2, ranging from 6.7 percent of single adult encounters in 2014 to 19 percent
 of single adult encounters in 2019. Just 2.9 percent of single adult encounters over the entire
 period had resulted in an unexecuted final order of removal or voluntary departure.
 Just over a tenth (11 percent) of the 1 million FMUA encounters between 2014 and 2019 were
 resolved by the end of 2020 Q2, ranging from 24 percent of the 67,000 encounters in 2014 to 5.9
 percent of the 527,000 encounters in 2019. Among FMUA encounters, just 6.1 percent had been

 13
   In general, the Trafficking Victims Protection Reauthorization Act of 2008 prevents the immediate return of UACs from non-
 contiguous countries and allows them to make an affirmative asylum claim before an asylum officer and to appear before an
 immigration judge to seek relief or other protection from removal. UACs from Mexico or Canada who are not found to be
 victims of severe trafficking and who are considered able to make an informed decision to return to their country of citizenship
 may be offered voluntary return by CBP. A total of 79,055 Mexican and five Canadian UAC encounters occurred between 2014
 and 2019, and a high percentage (88 percent) resulted in such returns. Among the remainder, 3.6 percent were removed or re-
 encountered, 2.5 percent were granted relief or other protection from removal, 4.5 percent were being processed as of 2020 Q2,
 and 0.9 percent had received unexecuted orders of removal or offers of voluntary departure.

                                                                                                                               13

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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22               Page 218 of 350 PageID 4811



 repatriated versus 94 percent with no confirmed departure, including 4.7 percent granted relief. A
 total of 89 percent of FMUA encounters over this period remained unresolved, including 67
 percent of all encounters between 2014 and 2019 that were still being processed by DHS or DOJ
 as of 2020 Q2. Twenty percent of all FMUA encounters had received an unexecuted final order
 of removal or offer of voluntary departure.
 Almost a third (32 percent) of the 290,000 encounters of UACs from non-contiguous countries
 between 2014 and 2019 were resolved by the end of 2020 Q2, ranging from 58 percent of the
 56,000 encounters in 2014 to 4.5 percent of the 67,000 encounters in 2019. Among all non-
 contiguous UAC encounters, 4.3 percent had been repatriated versus 96 percent with no
 confirmed departure, including 28 percent granted some form of relief or other protection from
 removal. A total of 68 percent of non-contiguous UAC encounters remained unresolved,
 including 52 percent that were still being processed by DHS or DOJ. Sixteen percent of all non-
 contiguous UAC encounters had received an unexecuted final order of removal or voluntary
 departure.
 Comparing across the three sub-groups, encounters of single adults had the highest rate of
 resolution (85 percent) as of the end of 2020 Q2 followed by UACs from non-contiguous
 countries (32 percent), with encounters for FMUAs having the lowest rate of resolution (11
 percent). Outcomes also differed substantially across these groups. For encounters that had been
 resolved, single adults had the highest rate of repatriation (92 percent; 8.5 percent relief),
 followed by FMUAs (56 percent repatriation; 44 percent relief) and UACs from non-contiguous
 countries (13 percent repatriations; 87 percent relief).




                                                                                                14

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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                          Page 219 of 350 PageID 4812



 Enforcement Outcomes by Fear Claims
 Figure 7 breaks down final or most current enforcement outcomes by whether or not the alien
 made a fear claim (see Appendix B for a more detailed breakdown).14
 Figure 7.
 Enforcement
         ment Outcomes by Fear Claim and Year of Initial Encounter: FY 2014 to 2019




 Source: OIS Statistical Immigration Data.
 Note: Outcomes are current as of March 31, 2020.

 The majority (64 percent) of the 3 million encounters of aliens between 2014 and 2019 that did
 not involve fear claims had been resolved by the end of 2020 Q2 (ranging from 82 percent of the
 511,000 encounters in 2014 to 34 percent of the 864,000 encounters in 2019). Slightly more than
 half of non-fear encounters (55 percent) over this period had been repatriated by 2020 Q2 versus
 45 percent with no confirmed departure, including 8.1 percent that had been granted some form
 of relief or protection from removal. A total of 36 percent of non-fear encounters remained
 unresolved, including 27 percent that were still being processed for removal and 8.2 percent with
 unexecuted final orders of removal or offers of voluntary departure.
 The ratio of resolved versus unresolved encounters was exactly reversed for Southwest Border
 encounters resulting in fear claims (520,000), with just over a third (36 percent) of encounters
 resolved and 64 percent unresolved. Among encounters with fear claims, just 28 percent had
 been repatriated, with the rest having no confirmed departure, including 8.0 percent of

 14
   This section of the report analyzes outcomes by whether aliens made a fear claim, not by whether they sought
 asylum or some other form of humanitarian relief. Some aliens who initially claim fear never make an asylum claim
 because their fear claim is not found credible/reasonable, because they abandon their effort, or because they seek
 some form of relief or protection from removal other than asylum, among other reasons. And some aliens seek
 asylum or other relief before EOIR without first making a fear claim because they are issued a Notice to Appear
 (NTA) after their border encounter rather without ever being placed in expedited removal. Many FMUAs
 encountered since 2014 have fallen into the latter category because large numbers of family arrivals have
 overwhelmed the Department’s family detention capacity, and when detention facilities are unavailable CBP may
 release people with NTAs rather than holding them for ER processing.

                                                                                                                15

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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                        Page 220 of 350 PageID 4813



 encounters that had been granted relief or other protection from removal. Half (50 percent) of
 encounters over this period involving a fear claim were still being processed at the end of 2020
 Q2, ranging from 34 percent of the 60,000 encounters in 2014 to 60 percent of the 115,000
 encounters in 2019. Just 13 percent of aliens encountered over the entire period who claimed fear
 had an unexecuted final order of removal or voluntary departure.
 While the absolute proportions of encounters resulting in relief or other protection from removal
 were similar across the non-fear claim and fear claim encounters (8.1 percent of 3 million non-
 fear claim encounters and 8.0 percent of 520,000 fear claim encounters), these groups differed
 somewhat when accounting for differences in the share of encounters that remained unresolved.
 Restricting attention to the 2.1 million encounters that had been resolved, the 185,000 encounters
 of aliens making fear claims were somewhat more likely to have been granted relief (23 percent
 relief; 77 percent repatriation) than the 1.9 million encounters of aliens not making fear claims
 (13 percent relief; 87 percent repatriation).
 Table 2.
 Most Current Outcomes for Fear Claimants by Year of Initial Encounter: FY 2014 to 2019
                                                                                          TOTAL
            MOST CURRENT OUTCOMES
                                                            2014      2015      2016       2017       2018      2019      Total
 Total Encounters                                           570,832   446,060   560,432     416,645   522,626   979,729 3,496,324
                1
  Fear Claims                                                59,871    54,797   104,692     77,319    107,826   115,371   519,876
   EOIR cases2                                               48,667    45,605    89,277     64,790     87,107    82,310   417,756
     Being Processed3                                        17,717    18,950    46,740     36,921     52,301    50,588   223,217
     Being Processed as Share of EOIR cases                   36.4%     41.6%     52.4%      57.0%      60.0%     61.5%     53.4%
                                                        4
     Asylum Granted or other EOIR Relief from Removal         8,080     6,727     9,858      5,460      7,036     3,511    40,672
     Asylum/Relief as Share of EOIR cases                     16.6%     14.8%     11.0%       8.4%       8.1%      4.3%      9.7%
                       5
     Removal Orders                                          22,870    19,928    32,679     22,409     27,770    28,211   153,867
     Removal Orders as Share of EOIR cases                    47.0%     43.7%     36.6%      34.6%      31.9%     34.3%     36.8%
 Source: OIS Statistical Immigration Data.
 Note: Outcomes are current as of March 31, 2020.
 1
   Fear claims include credible and reasonable fear at any time following an initial encounter, including individuals
 who claimed fear at the time of apprehension but who have no record of a fear determination, possibly because they
 withdrew their claim.
 2
   EOIR cases include aliens with EOIR case-started dates.
 3
   Includes aliens in proceedings whose cases have been closed and are not on an active docket.
 4
   Asylum granted or other relief from removal includes withholding of removal, protection under the Convention
 Against Torture, Special Immigrant Juvenile status, cancelation of removal, EOIR termination, or other status.
 5
   Removal orders include completed repatriations and unexecuted orders of removal or grants of voluntary
 departure.

 Table 2 provides additional detail on enforcement outcomes for the population claiming fear. As
 noted above, the proportion of border encounters involving a fear claim more than doubled from
 10 percent in 2014 to 21 percent in 2018. The total number of fear claims reached its highest
 number ever (115,000) in 2019, even while falling back to 12 percent of total encounters (also
 see Figure 3). The third row of the table reports the subset of fear claims resulting in EOIR
 cases—typically because of a positive USCIS credible or reasonable fear determination, but
 these cases also include negative fear determinations that are vacated by EOIR.



                                                                                                                              16

                                                                                                                       AR00602
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 221 of 350 PageID 4814



 The remaining rows of Table 2 describe the final or most current status for this subset of cases
 with fear claims. Not surprisingly, the 2019 cohort has the largest share of cases (62 percent) still
 being processed, and the share being processed drops in each preceding cohort, falling to a still-
 high 36 percent for 2014 encounters. Comparing outcomes by year of encounter suggests that
 EOIR asylum cases that are completed quickly are much more likely to result in removal orders,
 but that cases completed over longer periods of time yield more grants of asylum. Thus, for the
 82,000 fear claims resulting in EOIR cases out of the 2019 border encounters, 28,000 (34
 percent) resulted in removal orders by 2020 Q2, versus just 3,500 (4.3 percent) cases resulting in
 grants of asylum or other relief from removal. In the case of the 2014 cohort, 49,000 EOIR cases
 yielded 23,000 (47 percent) removal orders versus 8,000 (17 percent) resulting in grants of
 asylum or other relief from removal. Not all of the variation between cohorts is a function of
 time elapsed since the demographic characteristics and enforcement histories of each cohort
 differ, as noted above.

 Conclusion
 This 2019 Enforcement Lifecycle Analysis describes the final or most current outcomes of about
 3.5 million Southwest Border encounters occurring between 2014 and 2019 as of March 31,
 2020. It offers a very different lens into the enforcement process than our usual production
 tables. From 2014 to 2019, the demographic characteristics of aliens encountered at the
 Southwest Border have shifted away from single Mexican adult non-asylum seekers to Northern
 Triangle FMUA and UAC asylum seekers.
 Encounters with these different groups tend to lead to different paths through the enforcement
 system, both in terms of whether and how quickly encounters are resolved and what resolution is
 reached: Encounters with Mexicans tend to lead to repatriations; encounters with Central
 Americans tend to remain unresolved; and encounters with nationals from countries other than
 Mexico or the Northern Triangle tend (on average) to lead to relief. Encounters with single adults
 tend to quickly lead to repatriations, while encounters with FMUAs and non-contiguous UACs
 tend to remain unresolved. Encounters with aliens who do not claim a fear of return to their
 home countries tend to be repatriated, while those who claim fear are more likely to remain in
 the United States and some eventually get relief.
 Some of these disparities in enforcement outcomes reflect differences in detention practices.
 Overall, 42 percent of aliens encountered in 2014 – 2019 remained continuously in DHS custody
 between their initial encounter and a final enforcement outcome (or had no final outcome but
 still remained in custody as of March 31, 2020). For these encounters, aliens were repatriated 98
 percent of the time, with 0.5 percent resulting in relief or other protection from removal and 1.5
 percent remaining unresolved as of March 31, 2020. Just 1 percent of continuously detained
 encounters resulted in unexecuted removal orders. In contrast, aliens who were never detained
 following their initial encounters were repatriated 30 percent of the time, with 15 percent granted
 relief and 55 percent unresolved. The largest share of these encounters were still being processed
 (40 percent), while 11 percent were subject to unexecuted removal orders, including 10 percent
 subject to in absentia orders. The detention pattern yielding the greatest share of unresolved
 cases were encounters initially placed in detention but then released prior to a final enforcement

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                                                                                            AR00603
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                Page 222 of 350 PageID 4815



 outcome. These “partially detained” encounters resulted in repatriations just 3 percent of the time
 and relief just 12 percent of the time, with 85 percent still unresolved, including 18 percent with
 unexecuted removal orders (14 percent in absentia orders) (see Appendix B).
 Differences in enforcement practices overlap with and contribute to the other factors analyzed in
 this report. For example, Mexican nationals (67 percent) were much more likely than Northern
 Triangle (27 percent) and other (14 percent) nationals to be continuously detained, a fact partly
 reflecting the large share of Mexicans repatriated by CBP within a day or two of their initial
 encounters. Similarly, a plurality (45 percent) of encounters of aliens not making fear claims
 resulted in continuous detentions (and a large number of repatriations), while the majority of
 encounters resulting in fear claims (68 percent) were initially detained but released prior to a
 final enforcement outcome (i.e., partially detained, and mainly unresolved). Differences were
 greatest in the breakdown by family status, partly driven by Department policies and legal
 frameworks and judicial decisions covering these populations. In particular, encounters of single
 adults resulted in continuous detentions 64 percent of the time, versus 4 percent for FMUAs and
 for non-contiguous UACs; most FMUAs (50.1 percent) were never detained, while most non-
 contiguous UACs (76 percent) were partially detained.
 The findings in this report are important in light of the changing demographics of who has
 arrived at the border since 2014—though less so during the pandemic—and they make more
 concrete some of the policy conversations around enforcement and resource priorities at the
 border. OIS is working to extend the flow back in time, and this should offer additional insight
 into how outcomes differ for cases resolved quickly versus those that take more time to resolve.




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                                                                                          AR00604
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                   Page 223 of 350 PageID 4816



 Appendix A.

               MOST RECENT OUTCOMES
                                                                                      TOTAL
                                                        2014       2015       2016        2017       2018       2019       Total
 Total Encounters                                   570,832    446,060    560,432     416,645    522,626    979,729 3,496,324
 Repatriations                                       380,870    294,306    306,225     227,098    273,332    310,111   1,791,942
  Removals                                           309,498    250,189    263,003     184,850    228,030    250,465   1,486,035
     Expedited                                       179,785    142,872    145,669     102,219    128,580    141,855     840,980
     Reinstatement                                   119,455     98,805    108,929      76,467     92,613     98,323     594,592
     Administrative removals                             977        892        781         589        565        628       4,432
     Other removals1                                   9,281      7,620      7,624       5,575      6,272      9,659      46,031
  Returns                                             63,367     36,183     34,847      32,578     32,874     41,408     241,257
                2
  Re-encounters                                        8,005      7,934      8,375       9,670     12,428     18,238      64,650
 No confirmed departure                              189,962    151,754    254,207     189,547    249,294    669,618   1,704,382
  Being processed                                     64,244     51,767    113,013     109,445    170,705    543,562   1,052,736
     Being processed by DHS                           19,421     11,805     28,024      29,112     48,133    237,075     373,570
     In EOIR proceedings3                             11,630     10,270     34,082      43,303     72,751    232,434    404,470
     EOIR case completed - additional DOJ action4     33,193     29,692     50,907      37,030     49,821     74,053    274,696
  Final order/voluntary departure                     49,176     31,055     50,498      36,980     49,329     96,428    313,466
     Unexecuted removal orders                        47,231     29,628     48,739      36,039     48,206     94,758    304,601
        In absentia                                   36,646     21,471     35,248      29,409     39,665     75,633    238,072
        Not in absentia                               10,585      8,157     13,491       6,630      8,541     19,125     66,529
     Unexecuted voluntary departures                   1,945      1,427      1,759         941      1,123      1,670      8,865
  Relief                                              67,482     61,910     81,814      34,966     19,138     18,235    283,545
    SIJ or affirmative asylum                         11,124      9,394     20,146      10,356      5,236      1,380     57,636
     LPR status granted by DHS                        18,941     31,801     42,114      15,534      3,950      1,458    113,798
    EOIR relief5                                       9,560      8,350      9,124       4,175      5,472      5,596     42,277
    EOIR termination                                  25,215     10,608      8,567       3,822      4,025      9,667     61,904
     Other6                                            2,642      1,757      1,863       1,079        455        134      7,930
  Parole                                               4,043      4,598      5,387       5,722      6,446      7,525     33,721
  No Subsequent Event7                                 5,017      2,424      3,495       2,434      3,676      3,868     20,914
 Source: DHS Office of Immigration Statistics Enforcement Lifecycle.
 Notes: Results based on source data as of March 31, 2020 and OIS Enforcement Lifecycle methodology as of
 August 31, 2020. Encounters include USBP apprehensions and OFO inadmissibility determinations on the
 Southwest Border. Columns present results by year of encounter, with all data reflecting final or most current
 enforcement outcomes as of March 31, 2020. Table is event-based, so aliens encountered on multiple occasions
 appear in the table multiple times.
 1
   Other removals include those executed pursuant to an INA §240 proceeding.
 2
   Includes aliens encountered more than once by CBP without a known intervening removal or return. OIS assumes
 the alien departed of their own accord during the intervening period.
 3
   Includes aliens in proceedings whose cases have been closed and are not on an active docket.
 4
   Includes aliens subject to a final order or other EOIR case completion who are subject to a motion to reopen or
 reconsider or who appeal their case to the Board of Immigration Appeals.
 5
   Includes aliens granted relief including, but not limited to, asylum and other forms of relief from removal. This
 category also includes withholding of removal and protection under the Convention Against Torture even though
 they are not technically forms of relief.
 6
   Includes aliens granted cancelation of removal, DHS prosecutorial discretion, T visas, S visas, U visas, Temporary
 Protected Status, and EOIR conditional grants, as well as people found to be U.S. citizens or lawfully present aliens
 not subject to removal.
 7
   Initial enforcement action cannot be linked to a subsequent enforcement outcome; may result from data errors,
 missing identifier data, and/or because the alien awaits further processing.




                                                                                                                             19

                                                                                                                  AR00605
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22               Page 224 of 350 PageID 4817



 Appendix B

 OIS’ standard Enforcement Lifecycle table sorts the outcomes of Southwest Border encounters
 into four large categories and a total of 19 sub-categories and provides breakouts by country of
 citizenship, family status, and fear claim, among other factors. This appendix can be found at
 https://www.dhs.gov/immigration-statistics/special-reports.




                                                                                                20

                                                                                         AR00606
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 225 of 350 PageID 4818
                                                              Federal Register / Vol. 85, No. 57 / Tuesday, March 24, 2020 / Rules and Regulations                                               16559

                                           they meet the criteria of the CAA.                      Business Regulatory Enforcement                       Subpart UU—Vermont
                                           Accordingly, this action merely                         Fairness Act of 1996, generally provides
                                           approves state law as meeting Federal                   that before a rule may take effect, the               ■ 2. Revise § 62.11485 to read as
                                           requirements and does not impose                        agency promulgating the rule must                     follows:
                                           additional requirements beyond those                    submit a rule report, which includes a                § 62.11485 Identification of Plan—negative
                                           imposed by state law. For that reason,                  copy of the rule, to each House of the                declaration.
                                           this action:                                            Congress and to the Comptroller General                 On September 10, 2019 the State of
                                              • Is not a significant regulatory action             of the United States. EPA will submit a               Vermont Department of Environmental
                                           subject to review by the Office of                      report containing this action and other               Conservation submitted a letter
                                           Management and Budget under                             required information to the U.S. Senate,              certifying no Municipal Solid Waste
                                           Executive Orders 12866 (58 FR 51735,                    the U.S. House of Representatives, and                Landfills subject to 40 CFR part 60
                                           October 4, 1993) and 13563 (76 FR 3821,                 the Comptroller General of the United                 Subpart Cf operate within the State’s
                                           January 21, 2011);                                      States prior to publication of the rule in
                                              • Is not an Executive Order 13771                                                                          jurisdiction.
                                                                                                   the Federal Register. A major rule
                                           regulatory action because this action is                                                                      [FR Doc. 2020–06171 Filed 3–23–20; 8:45 am]
                                                                                                   cannot take effect until 60 days after it
                                           not significant under Executive Order                   is published in the Federal Register.                 BILLING CODE 6560–50–P
                                           12866;                                                  This action is not a ‘‘major rule’’ as
                                              • Does not impose an information                     defined by 5 U.S.C. 804(2).
                                           collection burden under the provisions                                                                        DEPARTMENT OF HEALTH AND
                                                                                                      Under section 307(b)(1) of the Clean               HUMAN SERVICES
                                           of the Paperwork Reduction Act (44                      Air Act, petitions for judicial review of
                                           U.S.C. 3501 et seq.);                                   this action must be filed in the United
                                              • Is certified as not having a                                                                             42 CFR Part 71
                                                                                                   States Court of Appeals for the
                                           significant economic impact on a                        appropriate circuit by May 26, 2020.                  [Docket No. CDC–2020–0033]
                                           substantial number of small entities                    Filing a petition for reconsideration by              RIN 0920–AA76
                                           under the Regulatory Flexibility Act (5                 the Administrator of this final rule does
                                           U.S.C. 601 et seq.);                                    not affect the finality of this action for            Control of Communicable Diseases;
                                              • Does not contain any unfunded                                                                            Foreign Quarantine: Suspension of
                                                                                                   the purposes of judicial review nor does
                                           mandate or significantly or uniquely                                                                          Introduction of Persons Into United
                                                                                                   it extend the time within which a
                                           affect small governments, as described                                                                        States From Designated Foreign
                                                                                                   petition for judicial review may be filed,
                                           in the Unfunded Mandates Reform Act                                                                           Countries or Places for Public Health
                                                                                                   and shall not postpone the effectiveness
                                           of 1995 (Pub. L. 104–4);                                                                                      Purposes
                                                                                                   of such rule or action. This action may
                                              • Does not have Federalism
                                                                                                   not be challenged later in proceedings to             AGENCY: Centers for Disease Control and
                                           implications as specified in Executive
                                                                                                   enforce its requirements (See section                 Prevention (CDC), Department of Health
                                           Order 13132 (64 FR 43255, August 10,
                                                                                                   307(b)(2)).                                           and Human Services (HHS).
                                           1999);
                                              • Is not an economically significant                    Parties with objections to this direct             ACTION: Interim final rule with request
                                           regulatory action based on health or                    final rule are encouraged to file a                   for comments.
                                           safety risks subject to Executive Order                 comment in response to the parallel
                                           13045 (62 FR 19885, April 23, 1997);                    notice of proposed rulemaking for this                SUMMARY: The Centers for Disease
                                              • Is not a significant regulatory action             action published in the proposed rules                Control and Prevention (CDC) within
                                           subject to Executive Order 13211 (66 FR                 section of this issue of the Federal                  the U.S. Department of Health and
                                           28355, May 22, 2001);                                   Register, rather than file an immediate               Human Services (HHS) issues this
                                              • Is not subject to requirements of                  petition for judicial review of this direct           interim final rule with request for
                                           Section 12(d) of the National                           final rule, so that the EPA can withdraw              comments to amend its Foreign
                                           Technology Transfer and Advancement                     this direct final rule and address                    Quarantine Regulations. This interim
                                           Act of 1995 (15 U.S.C. 272 note) because                comment(s) in the final rulemaking.                   final rule provides a procedure for CDC
                                           application of those requirements would                 List of Subjects in 40 CFR Part 62                    to suspend the introduction of persons
                                           be inconsistent with the Clean Air Act;                                                                       from designated countries or places, if
                                           and                                                       Environmental protection,                           required, in the interest of public health.
                                              • Does not provide EPA with the                      Administrative practice and procedure,                DATES:
                                           discretionary authority to address, as                  Air pollution control, Intergovernmental                 Effective date: This interim final rule
                                           appropriate, disproportionate human                     relations, Reporting and recordkeeping                is effective on 11:59 p.m. EDT on March
                                           health or environmental effects, using                  requirements.                                         20th, 2020.
                                           practicable and legally permissible                       Dated: March 18, 2020.                                 Comment date: Written comments are
                                           methods, under Executive Order 12898                    Dennis Deziel,                                        invited and must be submitted on or
                                           (59 FR 7629, February 16, 1994).                                                                              before 30 days from the date of
                                                                                                   Regional Administrator, EPA Region 1.
                                              In addition, this rule is not approved                                                                     publication of this interim final rule in
                                           to apply on any Indian reservation land                   Part 62 of chapter I, title 40 of the               the Federal Register.
                                           or in any other area where EPA or an                    Code of Federal Regulations is amended                   Expiration date: Unless extended after
                                           Indian tribe has demonstrated that a                    as follows:                                           consideration of submitted comments,
                                           tribe has jurisdiction. In those areas of                                                                     this interim final rule will cease to be
                                           Indian country, the rule does not have                  PART 62—APPROVAL AND                                  in effect on the earlier of (1) one year
                                           tribal implications and will not impose                 PROMULGATION OF STATE PLAN                            from the publication of this interim final
lotter on DSKBCFDHB2PROD with RULES




                                           substantial direct costs on tribal                      FOR DESIGNATED FACILITIES AND                         rule, or (2) when the HHS Secretary
                                           governments or preempt tribal law as                    POLLUTANTS                                            determines there is no longer a need for
                                           specified by Executive Order 13175 (65                                                                        this interim final rule. The Secretary
                                                                                                   ■ 1. The authority citation for part 62               will publish a document in the Federal
                                           FR 67249, November 9, 2000).
                                              The Congressional Review Act, 5                      continues to read as follows:                         Register announcing the expiration
                                           U.S.C. 801 et seq., as added by the Small                 Authority: 42 U.S.C. 7401 et seq.                   date.

                                                                                                                                                                                    AR00607
                                      VerDate Sep<11>2014   15:59 Mar 23, 2020   Jkt 250001   PO 00000   Frm 00041   Fmt 4700   Sfmt 4700   E:\FR\FM\24MRR1.SGM   24MRR1
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                   Page 226 of 350 PageID 4819
                                           16560              Federal Register / Vol. 85, No. 57 / Tuesday, March 24, 2020 / Rules and Regulations

                                           ADDRESSES: You may submit comments,                     Services (HHS), is amending the                         logistical challenges, consumed
                                           identified by Docket No. CDC–2020–                      regulations that implement section 362                  disproportionate agency resources, and
                                           0033, by the following method:                          of the Public Health Service (PHS) Act,                 taken CDC personnel away from other
                                             • Federal eRulemaking Portal: http://                 42 U.S.C. 265, as part of its response to               critical parts of the domestic and
                                           www.regulations.gov. Follow the                         Coronavirus Disease 2019 (COVID–19).                    international response to COVID–19. To
                                           instructions for submitting comments.                   Section 362 provides that if the                        continue to respond promptly and
                                             Instructions: All submissions received                Secretary 1 ‘‘determines that by reason                 effectively to the public health
                                           must include the agency name and                        of the existence of any communicable                    emergency presented by COVID–19,
                                           docket number or Regulatory                             disease in a foreign country there is                   CDC needs a more efficient regulatory
                                           Information Number (RIN) for this                       serious danger of the introduction of                   mechanism to exercise its section 362
                                           rulemaking. All comments received will                  such disease into the United States, and                authority and suspend the introduction
                                           be posted without change to http://                     that this danger is so increased by the                 of persons who would otherwise pose a
                                           regulations.gov, including any personal                 introduction of persons or property from                serious danger of introduction of
                                           information provided. For access to the                 such country that a suspension of the                   COVID–19 into the United States.
                                           docket to read background documents                     right to introduce such persons and                        Even though COVID–19 is present in
                                           or comments received, go to http://                     property is required in the interest of                 certain locations within the United
                                           www.regulations.gov.                                    the public health,’’ he has the authority,              States, the suspension of the
                                             Any comment that is submitted will                    in accordance with regulations                          introduction of persons into the United
                                           be shared with the Department of                        approved by the President,2 ‘‘to                        States may be required in the interest of
                                           Homeland Security and the Department                    prohibit, in whole or in part, the                      public health to avert the danger of
                                           of State, and will also be made available               introduction of persons and property                    further introduction of the disease into
                                           to the public. Comments must be                         from such countries or places as he shall               the same or other locations in the
                                           identified by RIN 0920–AA76. Because                    designate in order to avert such danger,                United States. For example,
                                           of staff and resource limitations, all                  and for such period of time as he may                   hypothetically, the introduction of
                                           comments must be submitted                              deem necessary for such purpose.’’ PHS                  COVID–19 into the United States would
                                           electronically to www.regulations.gov.                  Act 362, 42 U.S.C. 265. Pursuant to a                   occur if two infected persons
                                           Follow the ‘‘Submit a comment’’                         delegation of the Secretary’s authority,                disembarked in a large metropolitan city
                                           instructions.                                           the CDC Director has promulgated                        in the Midwest from an international
                                             Warning: Do not include any                           regulations under section 362 to                        flight. Another vector for further
                                           personally identifiable information                     suspend the introduction of property                    introduction of COVID–19 into the
                                           (such as name, address, or other contact                into the United States. Current                         United States would be a group of two
                                           information) or confidential business                   regulations, however, only address                      infected persons who entered that
                                           information that you do not want                        suspension of the introduction of                       Midwestern state by land after crossing
                                           publicly disclosed. All comments may                    property into the United States and the                 the border from Canada. Suspension of
                                           be posted on the internet and can be                    procedures to quarantine or isolate                     the introduction of those two persons
                                           retrieved by most internet search                       persons. That is, current regulations                   into the United States at the land border
                                           engines. No deletions, modifications, or                permit CDC to quarantine or isolate                     would mitigate the serious and
                                           redactions will be made to comments                     persons entering the United States, but                 increased danger of further introduction
                                           received.                                               they do not address the suspension of                   of COVID–19 in the United States. The
                                             Inspection of Public Comments: All                    the introduction of persons into the                    same public health analysis would
                                           comments received before the close of                   United States under section 362.                        apply if two infected persons walked
                                           the comment period are available for                       CDC’s experience with COVID–19 is                    across the land border from Canada into
                                           viewing by the public, including                        that, under some circumstances,                         a Northeastern State.
                                           personally identifiable or confidential                 quarantine or isolation is not a viable
                                                                                                   solution for protecting the public health               Past Experience With Migration and
                                           business information that is included in
                                                                                                   from the introduction of a                              Communicable Disease
                                           a comment.
                                           FOR FURTHER INFORMATION CONTACT: Kyle                   communicable disease from another                          International travel and migration
                                           McGowan, Office of the Chief of Staff,                  country. For example, the arrival in U.S.               play a significant role in the global
                                           Centers for Disease Control and                         ports of cruise ships with numerous                     transmission of infectious biological
                                           Prevention, 1600 Clifton Road NE, MS                    passengers requiring quarantine or                      agents or their toxic products that pose
                                           H21–10, Atlanta, GA 30329. Telephone:                   isolation has presented complex                         risks for vulnerable populations.3
                                           404–498–7000; email: cdcregulations@                                                                            Travelers can serve as unwitting vectors
                                           cdc.gov.
                                                                                                     1 The statute assigns this authority to the Surgeon
                                                                                                                                                           of disease, and thereby increase the risk
                                                                                                   General of the Public Health Service. However,          of communicable disease transmission
                                           SUPPLEMENTARY INFORMATION: The IFR is                   Reorganization Plan No. 3 of 1966 abolished the
                                                                                                   Office of the Surgeon General and transferred all       and of the introduction of
                                           organized as follows:                                   statutory powers and functions of the Surgeon           communicable disease into the United
                                           Table of Contents                                       General and other officers of the Public Health         States. The risk increases when travelers
                                                                                                   Service and of all agencies of or in the Public
                                                                                                   Health Service to the Secretary of Health,
                                                                                                                                                           are in congregate settings, such as
                                           I. Background
                                           II. Statutory Authority                                 Education, and Welfare, now the Secretary of
                                                                                                   Health and Human Services, 31 FR 8855, 80 Stat.           3 See, e.g., Institute of Medicine (US) Forum on
                                           III. Provisions of New § 71.40
                                                                                                   1610 (June 25, 1966), see also Public Law 96–88,        Microbial Threats, ‘‘Infectious Disease Movement in
                                           IV. Request for Comment                                 509(b), 93 Stat. 695 (codified at 20 U.S.C. 3508(b)).   a Borderless World: Workshop Summary,’’ National
                                           V. Rationale for Issuance of an Interim Final           References in the PHS Act to the Surgeon General        Academies Press (US); 2010, available at https://
                                                 Rule With Immediate Effectiveness                 are to be read in light of the transfer of statutory    www.ncbi.nlm.nih.gov/books/NBK45728/
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                                           VI. Regulatory Impact Analysis                          functions and re-designation. Although the Office of    (hereinafter ‘‘Infectious Disease Movement in a
                                                                                                   the Surgeon General was re-established in 1987, the     Borderless World’’); Wilson, ME. Travel and the
                                           I. Background                                           Secretary of HHS has retained the authorities           Emergence of Infectious Diseases. Emerging
                                                                                                   previously held by the Surgeon General.                 Infectious Diseases. 1995;1(2):39–46. doi:10.3201/
                                              The Centers for Disease Control and                    2 Executive Order 13295 assigned the functions of     eid0102.950201; Tatem, A.J., Rogers, D.J. & Hay, S.
                                           Prevention (CDC), a component of the                    the President under section 362 to the Secretary of     Global Transport Networks and Infectious Disease
                                           U.S. Department of Health and Human                     HHS.                                                    Spread. Adv. Parasitology 62, 293–343 (2006).


                                                                                                                                                                                       AR00608
                                      VerDate Sep<11>2014   15:59 Mar 23, 2020   Jkt 250001   PO 00000   Frm 00042   Fmt 4700   Sfmt 4700   E:\FR\FM\24MRR1.SGM    24MRR1
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 227 of 350 PageID 4820
                                                              Federal Register / Vol. 85, No. 57 / Tuesday, March 24, 2020 / Rules and Regulations                                                16561

                                           carriers (i.e., ships, aircraft, trains, and            Indeed, it appears that the virus may at              disease transmission in congregate
                                           road vehicles) or terminals with shared                 times be transmitted by persons who are               settings such as carriers or terminals,
                                           sitting, sleeping, eating, or recreational              asymptomatic. As discussed below,                     which may, in turn, result in a danger
                                           areas, all of which are conducive to                    COVID–19 is also more likely to cause                 of disease transmission in contiguous
                                           disease transmission.4                                  death in high-risk individuals.                       areas.9
                                              The speed and far reach of global                      In addition, global travel has                         Unfortunately, at this time, there is no
                                           travel were factors in prior outbreaks                  increased dramatically since prior                    vaccine that can prevent infection with
                                           that expanded to numerous continents.                   infectious disease outbreaks. By 2018,                COVID–19, nor are there therapeutics
                                           Examples include: The H1N1 influenza                    international visitations to the U.S.                 for those who become infected.
                                           pandemic in 2009; severe acute                          totaled over 20 million more per year                 Treatment is currently limited to
                                           respiratory syndrome (SARs)                             than in 2009, when the 2009 H1N1                      supportive (or palliative) care to manage
                                           coronavirus in 2003; tuberculosis;                      pandemic occurred, and 10 million                     symptoms while the body fights off the
                                           measles; Middle East Respiratory                        more per year than in 2014, when the                  disease. Hospitalization may be required
                                           Syndrome (MERS-CoV) in 2012; and                        Ebola Virus Disease outbreak occurred.8               in severe cases and mechanical
                                           Ebola Virus Disease in 2014 and 2018.5                  These differences make the availability               respiratory support may be needed in
                                           All of these high-consequence diseases                  of an efficient mechanism for exercising              the most severe cases. The ease of
                                           posed significant public health risks,                  the section 362 authority all the more                COVID–19 transmission presents a risk
                                           especially given the compressed                         important to the protection of the public             of a surge in hospitalizations for
                                           timeframes in which the outbreaks                       health going forward.                                 COVID–19, which would limit hospital
                                           occurred.                                                                                                     capacity available to treat other serious
                                              For example, the Federal response to                 The Current Outbreak of COVID–19                      conditions.
                                           the H1N1 influenza pandemic in 2009                        COVID–19 is a communicable disease                    Testing is available to confirm
                                           would have benefitted from the                          caused by a novel (new) coronavirus,                  suspected cases of COVID–19 infection.
                                           availability of an efficient mechanism                  SARS–CoV–2, that was first identified                 Testing generally requires specimens
                                           for suspending the introduction of                      as the cause of an outbreak of                        collected from the nose, throat, or lungs;
                                           persons into the United States. The                     respiratory illness that began in Wuhan,              such specimens can only be analyzed in
                                           initial cases of H1N1 occurred in                       Hubei Province, People’s Republic of                  a laboratory setting. However,
                                           Mexico, before the first confirmed cases                China (‘‘PRC’’). The virus is thought to              commercial test results are typically
                                           in the United States. Retrospective                     be transmitted primarily by person-to-                available within three to four days.
                                           research findings in Mexico indicated                   person contact through respiratory                    Currently, the time required to obtain
                                           that transmission of the virus in Mexico                droplets produced when an infected                    test results—coupled with the
                                           involved person-to-person spread with                   person coughs or sneezes. It may also be              incubation period of the disease—makes
                                           multiple generations of transmission.6                  transmitted through contact with                      it impracticable to confirm whether
                                              Like 2009 H1N1, COVID–19 is a                        surfaces or objects. While much is still              each person moving into the United
                                           pandemic. But the new coronavirus is                    unknown about the transmission of                     States is infected with COVID–19 at the
                                           more infectious than 2009 H1N1.7                        COVID–19, asymptomatic transmission                   time of the movement. Widespread,
                                                                                                   may also occur.                                       compulsory Federal quarantines or
                                              4 E.g., https://wwwnc.cdc.gov/travel/yellowbook/        Manifestations of severe disease have              isolations of such persons pending test
                                           2020/travel-by-air-land-sea/cruise-ship-travel          included severe pneumonia, acute                      results are impracticable due to the
                                           (noting that the ‘‘often crowded, semi-enclosed
                                           environments onboard ships can facilitate the
                                                                                                   respiratory distress syndrome (ARDS),                 numbers of persons involved, logistical
                                           spread of person-to-person, foodborne, or               septic shock, and multi-organ failure.                challenges, and CDC resource and
                                           waterborne diseases’’); CDC, ‘‘Interim US Guidance      According to the World Health                         personnel constraints.
                                           for Risk Assessment and Public Health Management        Organization (WHO), as of March 17,                      On January 30, 2020, the Director
                                           of Persons with Potential Coronavirus Disease 2019
                                           (COVID–19) Exposures: Geographic Risk and
                                                                                                   2020, approximately 4.1% of reported                  General of WHO declared that the
                                           Contacts of Laboratory-confirmed Cases,’’ Updated       COVID–19 cases have resulted in death                 outbreak of COVID–19 is a Public
                                           March 7, 2020, available at https://www.cdc.gov/        globally. This mortality rate is higher               Health Emergency of International
                                           coronavirus/2019-ncov/php/risk-assessment.html.         among seniors or those with                           Concern under the International Health
                                              5 Infectious Disease Movement in a Borderless
                                                                                                   compromised immune systems. Older                     Regulations.10 The following day, the
                                           World (noting that ‘‘swine-origin H1N1 has spread
                                           globally, its movement hastened by global air           adults and people who have severe                     Secretary of HHS declared COVID–19 a
                                           travel’’ and [i]t is easy to see how travelers could    chronic medical conditions like                       public health emergency under the PHS
                                           play a key role in the global epidemiology of           hypertension, heart, lung, or kidney                  Act.11 On March 11, 2020, the WHO
                                           infections that are transmitted from person to          disease are also at higher risk for more              declared COVID–19 a pandemic. On
                                           person, such as HIV, SARS, tuberculosis, influenza,
                                           and measles’’) (citing Hufnagel L, Brockmann D,         serious COVID–19 illness. Early data                  March 13, 2020, the President issued a
                                           Geisel T. Forecast and Control of Epidemics in a        suggest older people are twice as likely
                                           Globalized World. Proceedings of the National           to have serious COVID–19 illness.                       9 See supra n.4; see also CDC, Travelers from

                                           Academy of Sciences. 2004;101(42):15124–15129).            As of March 17, 2020, there were over              Countries with Widespread Sustained (Ongoing)
                                              6 https://www.cdc.gov/h1n1flu/cdcresponse.htm.                                                             Transmission Arriving in the United States,
                                              7 See generally, CDC, ‘‘2009 H1N1 Pandemic
                                                                                                   179,100 cases of COVID–19 globally in                 available at https://www.cdc.gov/coronavirus/2019-
                                           Timeline,’’ available at https://www.cdc.gov/flu/       over 150 locations (including countries),             ncov/travelers/after-travel-precautions.html.
                                           pandemic-resources/2009-pandemic-timeline.html;         resulting in over 7,425 deaths; more                    10 Statement on the second meeting of the

                                           Van Kerkhove, Maria D et al. Estimating age-            than 4,225 cases have been identified in              International Health Regulations (2005) Emergency
                                           specific cumulative incidence for the 2009                                                                    Committee regarding the outbreak of novel
                                                                                                   the United States, with new cases being               coronavirus (2019–nCoV) (January 30, 2020),
                                           influenza pandemic: A meta-analysis of
                                           A(H1N1)pdm09 serological studies from 19                reported daily and with at least 75                   available at https://www.who.int/news-room/detail/
                                           countries. Influenza and Other Respiratory Viruses      deaths due to the disease. Continued                  30-01-2020-statement-on-the-second-meeting-of-
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                                           vol. 7,5 (2013): 872–86, available at https://          introduction into the United States of                the-international-health-regulations-(2005)-
                                           www.ncbi.nlm.nih.gov/pmc/articles/PMC5781221/;                                                                emergency-committee-regarding-the-outbreak-of-
                                                                                                   persons from foreign countries where                  novel-coronavirus-(2019-ncov).
                                           CDC, Interim Clinical Guidance for Management of
                                           Patients with Confirmed Coronavirus Disease             COVID–19 exists presents a danger of                    11 HHS, ‘‘Determination that a Public Health

                                           (COVID–19), available at https://www.cdc.gov/                                                                 Emergency Exists,’’ available at https://
                                           coronavirus/2019-ncov/hcp/clinical-guidance-              8 https://travel.trade.gov/outreachpages/           www.phe.gov/emergency/news/healthactions/phe/
                                           management-patients.html.                               download_data_table/Fast_Facts_2018.pdf.              Pages/2019-nCoV.aspx.


                                                                                                                                                                                     AR00609
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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 228 of 350 PageID 4821
                                           16562              Federal Register / Vol. 85, No. 57 / Tuesday, March 24, 2020 / Rules and Regulations

                                           Proclamation on Declaring a National                    that U.S. citizens should not travel by               should the public health require it. In
                                           Emergency Concerning the Novel                          cruise ship at this time. On March 16,                issuing orders pursuant to this interim
                                           Coronavirus Disease (COVID–19)                          2020, the Federal government                          final rule, CDC would coordinate with
                                           Outbreak.12 As of March 16, 2020, all 50                announced guidelines recommending                     the Secretary of State in order to ensure
                                           states and several local and territorial                that the public should avoid                          compliance with the international legal
                                           jurisdictions declared states of                        discretionary travel; discretionary                   obligations of the United States and to
                                           emergency.                                              shopping trips; social visits; gatherings             take due account of U.S. national and
                                              Global efforts to slow disease                       in groups of more than 10 people; and                 security interests.
                                           transmission have included sweeping                     eating or drinking at bars, restaurants,
                                           measures to limit travel and exposure to                and food courts. Numerous States and                  Other Public Health Risks
                                           COVID–19. A number of countries, such                   cities have gone further and shut down
                                           as Russia, Australia, the Philippines,                                                                           Beyond the current COVID–19
                                                                                                   restaurants, bars, nightclubs, and
                                           Japan, and Israel, have imposed                         theaters. On March 18, 2020, the United               pandemic, the suspension authority is
                                           stringent restrictions on travelers who                 States and Canada announced plans to,                 also critical to CDC because there is
                                           have recently been to the PRC. On                       by mutual consent, close the U.S.-                    always a risk of another emerging, or re-
                                           March 17, 2020, the European Union                      Canadian border to nonessential travel.               emerging, communicable disease that
                                           approved a plan to ban all nonessential                    The COVID–19 pandemic highlights                   may harm the American public. One
                                           travel into its bloc for a minimum of 30                why CDC needs an efficient regulatory                 such risk is pandemic influenza (as
                                           days. Many countries are asking persons                 mechanism to suspend the introduction                 opposed to seasonal influenza), which
                                           to self-quarantine for 14 days (a period                of persons who would otherwise                        occurs when a novel, or new, influenza
                                           estimated to encompass the incubation                   increase the serious danger of the                    virus strain spreads over a wide
                                           period for the disease) following return                introduction of a communicable disease                geographic area and affects an
                                           from foreign countries or places with                   into the United States. Section 212(f) of             exceptionally high proportion of the
                                           sustained community transmission.                       the Immigration and Nationality Act                   population. In such circumstances, the
                                              The President has exercised his                      (‘‘INA’’) applies to the ‘‘entry’’ of aliens,         strain of virus is new, there is usually
                                           authority in section 212(f) of the                      but section 362 instead provides the                  no available vaccine, and humans do
                                           Immigration and Nationality Act                         authority to prohibit the ‘‘introduction’’            not typically have immunity to the
                                           (‘‘INA’’), 8 U.S.C. 1182(f), to suspend                 of persons into the United States.                    virus, often resulting in a more severe
                                           entry into the United States of certain                 Despite the unprecedented global efforts              illness. The severity and unpredictable
                                           foreign nationals who have recently                     at mitigating or slowing the                          nature of an influenza pandemic
                                           visited PRC (excluding the Special                      transmission of COVID–19, cases of                    requires public health systems to
                                           Administrative Regions of Hong Kong                     COVID–19 have rapidly propagated and                  prepare constantly for the next
                                           and Macau), the Islamic Republic of                     multiplied, crossing international                    occurrence. Whenever a new strain of
                                           Iran, the Schengen Area (comprised of                   borders with ease. As of March 17, 2020,              influenza virus appears, or a major
                                           26 countries in Europe), the United                     CDC reported that 229 of the confirmed                change to a preexisting virus occurs,
                                           Kingdom (excluding overseas territories                 cases of COVID–19 in the United States                individuals may have little or no
                                           outside of Europe), and the Republic of                 with an established source of exposure                immunity, which can lead to a
                                           Ireland, within 14 days preceding their                 were travel-related as opposed to                     pandemic when the virus passes easily
                                           entry or attempted entry into the United                community transmission, accounting for                from human to human and causes
                                           States due to concerns of person-to-                    almost half of the 474 cases with an                  serious illness or death. The most recent
                                           person transmission of COVID–19. CDC                    established source of exposure; another
                                           has issued Level 3 Travel Health Notices                                                                      influenza pandemics include H1N1 in
                                                                                                   3,752 cases remain under investigation.
                                           recommending that travelers avoid all                                                                         2009–2010, the 1968–1969 Hong Kong
                                                                                                   As of March 14, 2020, travelers from
                                           nonessential travel to PRC (excluding                                                                         Flu, the 1957–1958 Asian Flu, and the
                                                                                                   Japan have exported at least 20 COVID–
                                           the Special Administrative Regions of                   19 cases to eight countries. As of March              1918–1919 Spanish Flu.
                                           Hong Kong and Macau), the Islamic                       14, 2020, travelers from the Islamic                     It is difficult to predict the impact that
                                           Republic of Iran, the Republic of Korea,                Republic of Iran have exported at least               another emerging, or re-emerging,
                                           and the Schengen Area. The U.S.                         145 COVID–19 cases to 17 other                        communicable disease would have on
                                           Department of State has issued a Global                 countries, as reported by the WHO, and                the U.S. public health system. The 2009
                                           Level 3 Health Advisory directing U.S.                  travelers from the Schengen Area have                 H1N1 pandemic caused between
                                           citizens to reconsider all travel abroad                exported 624 COVID–19 cases to 70                     100,000 and 600,000 deaths
                                           due to the global impact of COVID–19                    countries, including to the United                    worldwide,13 while the 1918–1919
                                           and Level 4 Travel Advisories (Do Not                   States. In the near future, persons                   Spanish Flu was estimated to have
                                           Travel) for PRC (excluding the Special                  traveling from other foreign countries                caused over 50 million deaths
                                           Administrative Regions of Hong Kong                     and jurisdictions may compound the                    worldwide.14 Although advances in
                                           and Macau), Iran, and certain regions of                serious danger of further introduction of             health care quality have greatly
                                           Italy. In addition, CDC has                             COVID–19 into the United States.                      improved since 1918, the dramatic
                                           recommended that travelers,                                To summarize, CDC knows that                       increases in global mobility in the 21st
                                           particularly those with underlying                      COVID–19 infection transmits easily,                  century have increased the rate at which
                                           health conditions, avoid all cruise ship                spreads quickly through global travel,                a communicable disease can spread.
                                           travel worldwide. The U.S. Department                   and can have a high mortality rate for                Modern pandemics, spread through
                                           of State has similarly issued guidance                  some of the most vulnerable members of                international travel, can engulf the
                                                                                                   society. At this time, there is no vaccine,           world in three months or less.
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                                             12 ‘‘Proclamation on Declaring a National             therapeutic, or rapid testing for the                 Moreover, pandemics can last from 12
                                           Emergency Concerning the Novel Coronavirus              disease. CDC needs a robust, efficient
                                           Disease (COVID–19) Outbreak,’’ March 13, 2020,          mechanism for exercising its authority                  13 https://www.cdc.gov/flu/pandemic-resources/
                                           available at https://www.whitehouse.gov/
                                           presidential-actions/proclamation-declaring-
                                                                                                   under section 362 and other applicable                2009-h1n1-pandemic.html.
                                           national-emergency-concerning-novel-coronavirus-        authorities to suspend the introduction                 14 https://www.cdc.gov/flu/pandemic-resources/

                                           disease-covid-19-outbreak/.                             of persons into the United States,                    1918-pandemic-h1n1.html.


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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                    Page 229 of 350 PageID 4822
                                                               Federal Register / Vol. 85, No. 57 / Tuesday, March 24, 2020 / Rules and Regulations                                           16563

                                           to 18 months and are not considered                     Section 365 provides that it shall be the                country (or one or more political
                                           one-time events.                                        duty of designated customs officers and                  subdivisions or regions thereof) or place
                                             The introduction of another emerging,                 of Coast Guard officers to aid in the                    that a suspension of the introduction of
                                           or re-emerging, communicable disease                    enforcement of quarantine rules and                      such persons into the United States is
                                           into the United States is always a risk.                regulations.17 Section 367 authorizes                    required in the interest of the public
                                           The PHS Act section 362 suspension                      the application of certain sections of the               health.
                                           authority would be critical to any effort               PHS Act and promulgated regulations                         Section 71.40(b) sets forth definitions
                                           by CDC and its Federal, State, and local                (including penalties and forfeitures for                 of several terms used in § 71.40. CDC
                                           partners to contain or mitigate the risk.               violations of such sections and                          defines the ‘‘introduction into the
                                           CDC expects to mitigate the risk in the                 regulations) to air navigation and                       United States of persons’’ from a foreign
                                           future by issuing a Final Rule, after                   aircraft to such extent and upon such                    country (or one or more political
                                           considering comments, to implement a                    conditions as deemed necessary for                       subdivisions or regions thereof) or
                                           permanent regulatory structure                          safeguarding public health.18                            place’’ as the movement of a person
                                           regarding the potential suspension of                                                                            from a foreign country (or one or more
                                           introduction of persons into the United                 III. Provisions of New § 71.40                           political subdivisions or regions thereof)
                                           States in the event a serious danger of                    This interim final rule will implement                or a place, or series of foreign countries
                                           the introduction of communicable                        section 362 and other applicable                         or places, into the United States so as to
                                           disease arises in the future.                           provisions of the PHS Act to enable the                  bring the person into contact with
                                                                                                   CDC Director to suspend the                              others in the United States, or so as to
                                           II. Statutory Authority                                 introduction of persons into the United                  cause the contamination of property in
                                              The primary legal authority                          States consistent with the statute and                   the United States, in a manner that the
                                           supporting this rulemaking is section                   applicable law.                                          Director determines to present a risk of
                                           362 of the PHS Act, which is codified                      Section 71.40(a) sets forth the                       transmission of the communicable
                                           at 42 U.S.C. 265. Under section 362, the                statutory requirements for the CDC                       disease to persons or property, even if
                                           Secretary 15 has the authority—if he                    Director to suspend the introduction of                  the communicable disease has already
                                           were to determine that the existence of                 persons into the United States. The                      been introduced, transmitted, or is
                                           a communicable disease in a foreign                     provision establishes that the CDC                       spreading within the United States.
                                           country creates a serious danger of the                 Director may prohibit the introduction                      Section 362 refers to the
                                           introduction of such disease into the                   into the United States of persons from                   ‘‘introduction of persons’’ from foreign
                                           United States, and that this danger is                  designated foreign countries (or one or                  countries. CDC defines ‘‘introduction
                                           increased by the introduction of persons                more political subdivisions and regions                  into the United States of persons’’ from
                                           or property from such country such that                 thereof) or places, only for such period                 a foreign country (including one or more
                                           suspension of introduction is necessary                 of time that the Director deems                          political subdivisions or regions thereof)
                                           to protect the public health—to                         necessary for the public health, by                      or place to clarify that ‘‘introduction’’
                                           suspend, in accordance with regulations                 issuing an order in which the Director                   can encompass those who have
                                           approved by the President,16 such                       determines that:                                         physically crossed a border of the
                                           introduction for determined periods of                     (1) By reason of the existence of any                 United States and are in the process of
                                           time.                                                   communicable disease in a foreign                        moving into the interior in a manner the
                                              In addition to section 362, other                    country (or one or more political                        Director determines to present a risk of
                                           sections of the PHS Act are relevant to                 subdivisions or regions thereof) or                      transmission of a communicable
                                           this rulemaking, including section 311,                 place, there is serious danger of the                    disease. This additional mechanism to
                                           42 U.S.C. 243; section 361, 42 U.S.C.                   introduction of such communicable                        halt the travel of such persons and
                                           264; section 365, 42 U.S.C. 268; and                    disease into the United States, and                      rapidly moving them outside the United
                                           section 367, 42 U.S.C. 270. Section 311                    (2) This danger is so increased by the                States constitutes preventing their
                                           authorizes the Secretary to accept State                introduction of persons from such                        ‘‘introduction’’ into the United States
                                           and local assistance in the enforcement                                                                          for purposes of § 71.40.
                                                                                                      17 The terms ‘‘officer of the customs’’ and
                                           of quarantine rules and regulations and                                                                             Similarly, Section 362 refers to the
                                                                                                   ‘‘customs officer’’ are defined by statute to mean,
                                           to assist States and their political                    ‘‘any officer of the United States Customs Service
                                                                                                                                                            ‘‘introduction of [a communicable
                                           subdivisions in the control of                          of the Treasury Department (also hereinafter             disease] into the United States.’’ CDC
                                           communicable diseases. Section 361                      referred to as the ‘‘Customs Service’’) or any           defines ‘‘serious danger of the
                                           authorizes the Secretary to make and                    commissioned, warrant, or petty officer of the Coast     introduction of such communicable
                                                                                                   Guard, or any agent or other person, including
                                           enforce such regulations that in the                    foreign law enforcement officers, authorized by law      disease into the United States’’ to mean
                                           Secretary’s judgment are necessary to                   or designated by the Secretary of the Treasury to        the potential for introduction of vectors
                                           prevent the introduction, transmission,                 perform any duties of an officer of the Customs          of the communicable disease into the
                                                                                                   Service.’’ 19 U.S.C. 1401(i). Although this provision    United States, even if persons or
                                           or spread of communicable diseases                      refers to the Secretary of the Treasury, the
                                           from foreign countries into the United                  Homeland Security Act transferred to the Secretary       property in the United States are already
                                           States. It also permits the                             of Homeland Security all ‘‘the functions, personnel,     infected or contaminated with the
                                           ‘‘apprehension, detention, or                           assets, and liabilities of . . . the United States       communicable disease. CDC establishes
                                                                                                   Customs Service of the Department of the Treasury,
                                           conditional release of individuals’’ in                 including the functions of the Secretary of the
                                                                                                                                                            this definition to clarify that, even if
                                           order to prevent the ‘‘introduction,                    Treasury relating thereto . . . [,]’’ 6 U.S.C. 203(1),   persons or property (e.g. animals) in the
                                           transmission, or spread’’ of such                       such that reference to the Secretary of the Treasury     United States are already infected or
                                                                                                   should be read to reference the Secretary of             contaminated with a communicable
                                           communicable diseases as may be                         Homeland Security.
                                           specified from time to time in Executive                   18 HHS quarantine authorities also apply to
                                                                                                                                                            disease in some localities, the potential
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                                           Orders of the President upon the                        vessels. See, e.g., PHS Act 364 (providing for           for introduction of additional vectors
                                           recommendation of the Secretary, in                     quarantine stations at anchorages and vessel             that would introduce, transmit, or
                                           consultation with the Surgeon General.                  quarantine inspections), 366 (providing for bills of     spread the disease in the same or
                                                                                                   health for vessels, authorizing issuance of
                                                                                                   regulations applicable to vessels, and certificate of
                                                                                                                                                            different localities can present a serious
                                             15 See supra at n.1.
                                                                                                   a quarantine officer before a vessel can enter any       danger of the introduction of the disease
                                             16 See supra at n.2.                                  U.S. port to discharge cargo or land passengers).        into the United States. Suspension of

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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 230 of 350 PageID 4823
                                           16564              Federal Register / Vol. 85, No. 57 / Tuesday, March 24, 2020 / Rules and Regulations

                                           the introduction of persons into the                    the head of the other applicable                      Section 553(b) requires that, unless the
                                           United States may be required, in the                   department or agency, shall explain in                rule falls within one of the enumerated
                                           interest of public health, to avert the                 the order the procedures and standards                exemptions, HHS must publish a notice
                                           increased danger that results from                      by which any authorities or officers or               of proposed rulemaking in the Federal
                                           further introduction, transmission, or                  agents are expected to aid in the                     Register that provides interested
                                           spread of the disease within the United                 enforcement of the order, to the extent               persons an opportunity to submit
                                           States.                                                 that they are permitted to do so under                written data, views, or arguments, prior
                                              Finally, for purposes of this section,               their existing legal authorities.                     to finalization of regulatory
                                           CDC defines the term ‘‘place’’ to include                  Section 71.40(e) provides that this                requirements. Section 553(b)(3)(B) of the
                                           any location specified by the Director,                 section does not apply to members of                  APA authorizes a department or agency
                                           including any carrier, whatever the                     the armed forces of the United States                 to dispense with the prior notice and
                                           carrier’s nationality. CDC does this in                 and associated personnel for whom the                 opportunity for public comment
                                           order to remove all doubt that when this                Secretary of Defense provides assurance               requirement when the agency, for ‘‘good
                                           interim final rule refers to ‘‘place,’’ it              to the Director that the Secretary of                 cause,’’ finds that notice and public
                                           refers not just to territory within or                  Defense, through measures such as                     comment thereon are impracticable,
                                           outside of a country, but also to carriers,             quarantine, isolation, or other measures              unnecessary, or contrary to the public
                                           as that term is defined in 42 CFR 71.1,                 maintaining control over such                         interest. In addition, because this
                                           whatever the carrier’s nationality.                     individuals, is preventing the risk of                interim final rule represents a critical
                                              CDC will establish the requirement to                transmission of a communicable disease                part of the dialogue between the United
                                           suspend the introduction of persons                     to persons or property in the United                  States and the Governments of Mexico
                                           into the United States from certain                     States. CDC includes this exception                   and Canada in preventing the spread of
                                           designated places for certain periods of                because the Secretary of Defense has                  COVID–19 along our shared borders, it
                                           time by means of an order executed by                   authority and means to prevent the                    involves a ‘‘foreign affairs function of
                                           the CDC Director. In § 71.40(c), CDC                    introduction of a communicable disease                the United States.’’ 5 U.S.C. 553(a)(1).
                                           describes the required contents of such                 into the United States from his                          As noted above, the United States and
                                           order. In any § 71.40 order, the CDC                    personnel returning from foreign                      numerous other countries have taken
                                           Director must designate:                                countries. Therefore, this interim final              unprecedented measures to try to
                                              • The foreign countries (or one or                   rule need not apply to Department of                  contain or slow the transmission or
                                           more designated political subdivisions                  Defense personnel.                                    spread of COVID–19. Such public health
                                           or regions thereof) or places from which                   Although section 362 applies to                    actions, especially the actions by the
                                           the introduction of persons is being                    ‘‘persons,’’ this interim final rule will             President and the Secretary, have
                                           suspended.                                              not apply to U.S. citizens or lawful                  slowed the introduction and
                                              • The period of time or circumstances                permanent residents. Congress provided                transmission of the disease into the
                                           under which the introduction of any                     CDC with the authority to prohibit the                United States, which has benefitted the
                                           persons or class of persons into the                    introduction of persons who would                     public health, preserved limited public
                                           United States is being suspended.                       increase a serious danger of introducing              and private resources, and given the
                                              • The conditions under which that                    into the United States a communicable                 U.S. public health system additional
                                           prohibition on introduction should be                   disease, when required in the interest of             time to implement further measures to
                                           effective in whole or in part, including                the public health. CDC believes that, at              protect and support the public.
                                           any relevant exceptions that the CDC                    present, quarantine, isolation, and                      Nevertheless, these measures have not
                                           Director determines are appropriate.                    conditional release, in combination with              completely stopped global travelers, and
                                              CDC might at times rely on (1) State                 other authorities, while not perfect                  other persons crossing from one country
                                           and local authorities who agree to help                 solutions, can mitigate any transmission              into another country, from spreading
                                           implement orders issued pursuant to                     or spread of COVID–19 caused by the                   COVID–19 across national boundaries
                                           § 71.40, or (2) other Federal agencies to               introduction of U.S. citizens or lawful               and around the globe. The introduction
                                           implement and execute the orders                        permanent residents into the United                   of persons from foreign countries with
                                           issued under this section. Accordingly,                 States. Section 71.40(f) therefore                    COVID–19 outbreaks is continuing to
                                           in § 71.40(d), CDC establishes that,                    explains that this interim final rule shall           cause the introduction of COVID–19
                                           before issuing any § 71.40 order, CDC                   not apply to U.S. citizens and lawful                 into disparate locations within the
                                           may coordinate with the appropriate                     permanent residents. Determining the                  United States. The suspension authority
                                           State and local authorities or other                    appropriate protections for U.S. citizens             is therefore critical to slowing the
                                           Federal agency (or agencies). If the order              and lawful permanent aliens requires a                introduction of COVID–19 into such
                                           will be implemented in whole or in part                 complex balancing of numerous                         disparate locations within the United
                                           by State and local authorities under 42                 interests and would benefit from                      States. The United States is in a phase
                                           U.S.C. 243(a), the Director’s order may                 additional consideration and public                   where suspending the introduction of
                                           explain the procedures and standards by                 comment. HHS does not want such                       persons from certain countries or places
                                           which those State or local authorities                  concerns to delay the issuance of this                may be required in the interest of the
                                           are expected to aid in the order’s                      interim final rule, which would enable                public health, because it could still
                                           enforcement. Similarly, if the order will               the CDC Director to issue orders that                 materially reduce the transmission and
                                           be implemented in whole or in part by                   would have the effect of slowing the                  spread of COVID–19 in the United
                                           designated customs officers (including                  introduction, transmission, and spread                States. Because persons can have
                                           officers of the Department of Homeland                  of COVID–19 in the United States.                     COVID–19 and be asymptomatic at the
                                           Security with U.S. Customs and Border                                                                         time of introduction into the United
                                                                                                   V. Rationale for Issuance of an Interim
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                                           Protection who exercise the authorities                                                                       States, and because the completion of
                                           of customs officers) or the United States               Final Rule With Immediate                             testing for COVID–19 may take three to
                                           Coast Guard under 42 U.S.C. 268(b), or                  Effectiveness                                         four days, it is impracticable to confirm
                                           another Federal department or agency,                     Agency rulemaking is governed by                    who is infected with COVID–19 and
                                           the CDC Director, in coordination with                  section 553 of the Administrative                     who is not infected with COVID–19 as
                                           the Secretary of Homeland Security or                   Procedure Act (APA) (5 U.S.C. 553).                   persons move into the United States.

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                                      VerDate Sep<11>2014   15:59 Mar 23, 2020   Jkt 250001   PO 00000   Frm 00046   Fmt 4700   Sfmt 4700   E:\FR\FM\24MRR1.SGM   24MRR1
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 231 of 350 PageID 4824
                                                              Federal Register / Vol. 85, No. 57 / Tuesday, March 24, 2020 / Rules and Regulations                                                   16565

                                           Similarly, Federal quarantines or                       any one year, or adversely and                        Id. If the agency head has not waived
                                           isolations of all such persons pending                  materially affecting a sector of the                  the requirements for a regulatory
                                           test results would be impracticable due                 economy, productivity, competition,                   flexibility analysis in accordance with
                                           to the numbers of persons involved,                     jobs, the environment, public health or               the RFA’s waiver provision, and no
                                           logistical challenges, and CDC resource                 safety, or State, local, or tribal                    other RFA exception applies, the agency
                                           and personnel constraints.                              governments or communities (also                      must prepare the regulatory flexibility
                                              In addition, whereas section 212(f) of               referred to as ‘‘economically                         analysis and publish it in the Federal
                                           the INA applies to the ‘‘entry’’ of aliens,             significant’’); (2) creating a serious                Register at the time of promulgation or,
                                           section 362 applies to the                              inconsistency or otherwise interfering                if the rule is promulgated in response to
                                           ‘‘introduction’’ of persons into the                    with an action taken or planned by                    an emergency that makes timely
                                           United States. Therefore, although                      another agency; (3) materially altering               compliance impracticable, within 180
                                           212(f) has been effective in slowing the                the budgetary impacts of entitlement                  days of publication of the final rule. 5
                                           transmission or spread of COVID–19 in                   grants, user fees, or loan programs or the            U.S.C. 604(a), 608(b).19
                                           the United States, section 362 provides                 rights and obligations of recipients                     This interim final rule establishes a
                                           CDC with a mechanism tied specifically                  thereof; or (4) raising novel legal or                regulatory mechanism for the exercise of
                                           to persons who increase the danger of                   policy issues arising out of legal                    the PHS Act section 362 suspension
                                           introducing COVID–19 into the United                    mandates, the President’s priorities, or              authority, which directly applies against
                                           States.                                                 the principles set forth in the Executive             persons and not State, local, or tribal
                                              Given the national emergency caused                  Order. This interim final rule is                     governments, or the private sector.
                                           by COVID–19, it would be impracticable                  economically significant for the                      Accordingly, HHS and CDC believe that
                                           and contrary to the public health—and,                  purposes of Executive Orders 12866 and                this interim final rule would likely
                                           by extension, the public interest—to                    13563. CDC, however, is proceeding                    impact only persons, and that it would,
                                           delay these implementing regulations                    under the emergency provision at                      therefore, not have a significant
                                           until a full public notice-and-comment                  Executive Order 12866 Section                         economic impact on a substantial
                                           process is completed.                                   6(a)(3)(D) based on the need to move                  number of small entities. In addition, for
                                              Pursuant to 5 U.S.C. 553(b)(3)(B), and               expeditiously during the current public               the reasons set forth in this document
                                           for the reasons stated above, HHS                       health emergency to limit the number of               pertaining to the COVID–19 outbreak,
                                           therefore concludes that there is good                  new cases of COVID–19.                                the Secretary finds that this interim
                                           cause to dispense with prior public                                                                           final rule is being promulgated in
                                                                                                      The Regulatory Flexibility Act (RFA)               response to an emergency that makes
                                           notice and the opportunity to comment                   generally requires that when an agency
                                           on this rule before finalizing this rule.                                                                     timely compliance with the provisions
                                                                                                   issues a proposed rule, or a final rule               of section 604 impracticable. CDC will
                                           For the same reasons, HHS has                           pursuant to section 553(b) of the APA or
                                           determined, consistent with section                                                                           assess the potential impacts—including
                                                                                                   another law, the agency must prepare a                economic effects—of this action on all
                                           553(d) of the APA, that there is good                   regulatory flexibility analysis that meets
                                           cause to make this interim final rule                                                                         small entities. Based on that assessment,
                                                                                                   the requirements of the RFA and                       the Secretary will either certify that the
                                           effective immediately upon filing at the                publish such analysis in the Federal
                                           Office of the Federal Register.                                                                               rule will not have a significant
                                                                                                   Register. 5 U.S.C. 603, 604. Specifically,            economic impact on a substantial
                                           IV. Request for Comment                                 the RFA normally requires agencies to                 number of small entities or publish a
                                                                                                   describe the impact of a rulemaking on                final regulatory flexibility analysis.
                                              HHS requests comment on all aspects                  small entities by providing a regulatory
                                           of this interim final rule, including its               impact analysis. Such analysis must                   Unfunded Mandates Reform Act
                                           likely costs and benefits and the impacts               address the consideration of regulatory                  Section 202 of the Unfunded
                                           that it is likely to have on the public                 options that would lessen the economic                Mandates Reform Act of 1995
                                           health, as compared to the current                      effect of the rule on small entities. The             (Unfunded Mandates Act) (2 U.S.C.
                                           requirements under 42 CFR part 71.                      RFA defines a ‘‘small entity’’ as (1) a               1532) requires that covered agencies
                                           VI. Regulatory Impact Analysis                          proprietary firm meeting the size                     prepare a budgetary impact statement
                                                                                                   standards of the Small Business                       before promulgating a rule that includes
                                           Executive Orders 12866 and 13563 and                    Administration (SBA); (2) a nonprofit                 any Federal mandate that may result in
                                           Regulatory Flexibility Act                              organization that is not dominant in its              the expenditure by State, local, and
                                              Executive Orders 12866 and 13563                     field; or (3) a small government                      tribal governments, in the aggregate, or
                                           direct agencies to assess all costs and                 jurisdiction with a population of less                by the private sector, of $100 million in
                                           benefits of available regulatory                        than 50,000. 5 U.S.C. 601(3)–(6). Except              1995 dollars, updated annually for
                                           alternatives and, if regulation is                      for such small government jurisdictions,              inflation. Currently, that threshold is
                                           necessary, to select regulatory                         neither State nor local governments are               approximately $154 million. If a
                                           approaches that maximize net benefits                   ‘‘small entities.’’ Similarly, for purposes
                                           (including potential economic,                          of the RFA, individual persons are not                   19 An agency head may delay the completion of

                                           environmental, and public health and                    small entities. The requirement to                    the regulatory impact analysis requirements for a
                                                                                                                                                         period of not more than 180 days after the date of
                                           safety effects; distributive impacts; and               conduct a regulatory impact analysis                  publication in the Federal Register of a final rule
                                           equity). Executive Order 13563                          does not apply if the head of the agency              by publishing in the Federal Register, not later than
                                           emphasizes the importance of                            ‘‘certifies that the rule will not, if                such date of publication, a written finding, with
                                           quantifying both costs and benefits,                    promulgated, have a significant                       reasons therefor, that the final rule is being
                                                                                                                                                         promulgated in response to an emergency that
                                           reducing costs, harmonizing rules, and                  economic impact on a substantial                      makes timely compliance with such requirements
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                                           promoting flexibility. Section 3(f) of                  number of small entities.’’ 5 U.S.C.                  impracticable. If the agency has not prepared a final
                                           Executive Order 12866 defines a                         605(b). The agency must, however,                     regulatory analysis within 180 days from the date
                                           ‘‘significant regulatory action’’ as an                 publish the certification in the Federal              of publication of the final rule, the RFA provides
                                                                                                                                                         that the rule shall lapse and have no effect and shall
                                           action that is likely to result in a                    Register at the time of publication of the            not be re-promulgated until a final regulatory
                                           regulation (1) having an annual effect on               rule, ‘‘along with a statement providing              flexibility analysis has been completed by the
                                           the economy of $100 million or more in                  the factual basis for such certification.’’           agency. 5 U.S.C. 608(b).


                                                                                                                                                                                       AR00613
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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 232 of 350 PageID 4825
                                           16566              Federal Register / Vol. 85, No. 57 / Tuesday, March 24, 2020 / Rules and Regulations

                                           budgetary impact statement is required,                 enforces. HHS/CDC has attempted to                      For the reasons set forth in the
                                           section 205 of the Unfunded Mandates                    use plain language in promulgating this               preamble, the Department of Health and
                                           Act also requires covered agencies to                   interim final rule, consistent with the               Human Services, on behalf of the
                                           identify and consider a reasonable                      Federal Plain Writing Act guidelines.                 Centers for Disease Control and
                                           number of regulatory alternatives before                                                                      Prevention, amends 42 CFR part 71 as
                                                                                                   Congressional Review Act
                                           promulgating a rule. HHS has                                                                                  follows:
                                           determined that this interim final rule is                 The Congressional Review Act defines
                                           not expected to result in expenditures                  a ‘‘major rule’’ as ‘‘any rule that the               PART 71—FOREIGN QUARANTINE
                                           by State, local, and tribal governments,                Administrator of the Office of
                                                                                                                                                         ■ 1. The authority citation for part 71
                                           or by the private sector, of $154 million               Information and Regulatory Affairs
                                           or more in any one year because it only                                                                       continues to read as follows:
                                                                                                   (OIRA) of the Office of Management and
                                           establishes a regulatory mechanism for                  Budget finds has resulted in or is likely               Authority: Secs. 215 and 311 of the Public
                                           the exercise of the PHS Act section 362                 to result in—(A) an annual effect on the              Health Service (PHS) Act, as amended (42
                                           suspension authority, which applies                     economy of $100,000,000 or more; (B) a                U.S.C. 216, 243); secs. 361–369, PHS Act, as
                                                                                                                                                         amended (42 U.S.C. 264–272).
                                           against persons and not State, local, or                major increase in costs or prices for
                                           tribal governments, or the private sector.              consumers, individual industries,                     ■ 2. Add § 71.40 to Subpart D of part 71
                                           Accordingly, HHS has not prepared a                     Federal, State, or local government                   to read as follows:
                                           budgetary impact statement or                           agencies, or geographic regions; or (C)
                                                                                                                                                         § 71.40 Prohibiting the introduction of
                                           specifically addressed the regulatory                   significant adverse effects on                        persons from designated foreign countries
                                           alternatives considered.                                competition, employment, investment,                  and places into the United States.
                                           National Environmental Policy Act                       productivity, innovation, or on the                      (a) The Director may prohibit the
                                           (NEPA)                                                  ability of United States-based                        introduction into the United States of
                                                                                                   enterprises to compete with foreign-                  persons from designated foreign
                                             HHS has determined that the                           based enterprises in domestic and
                                           amendments to 42 CFR part 71 will not                                                                         countries (or one or more political
                                                                                                   export markets.’’ 5 U.S.C. 804(2). This               subdivisions and regions thereof) or
                                           have a significant impact on the human                  Office of Information and Regulatory
                                           environment.                                                                                                  places, only for such period of time that
                                                                                                   Affairs has determined that this interim              the Director deems necessary for the
                                           Executive Order 12988: Civil Justice                    final rule is a major rule for purposes of            public health, by issuing an order in
                                           Reform                                                  the Congressional Review Act. As this                 which the Director determines that:
                                                                                                   rule is promulgated under the ‘‘good                     (1) By reason of the existence of any
                                             HHS has reviewed this rule under                      cause’’ exemption of the Administrative
                                           Executive Order 12988 on Civil Justice                                                                        communicable disease in a foreign
                                                                                                   Procedure Act, there is not a delay in its            country (or one or more political
                                           Reform and has determined that this                     effective date under the Congressional
                                           interim final rule meets the standard in                                                                      subdivisions or regions thereof) or place
                                                                                                   Review Act.                                           there is serious danger of the
                                           the Executive Order.
                                                                                                   Assessment of Federal Regulation and                  introduction of such communicable
                                           Executive Order 13132: Federalism                                                                             disease into the United States; and
                                                                                                   Policies on Families
                                              This interim final rule has been                                                                              (2) This danger is so increased by the
                                           reviewed under Executive Order 13132,                     Section 654 of the Treasury and                     introduction of persons from such
                                           Federalism. Under 42 U.S.C. 264(e),                     General Government Appropriations                     country (or one or more political
                                           Federal public health regulations do not                Act of 1999 requires Federal                          subdivisions or regions thereof) or place
                                           preempt State or local public health                    departments and agencies to determine                 that a suspension of the introduction of
                                           regulations, except in the event of a                   whether a proposed policy or regulation               such persons into the United States is
                                           conflict with the exercise of Federal                   could affect family well-being. If the                required in the interest of the public
                                           authority. Other than to restate this                   determination is affirmative, then the                health.
                                           statutory provision, this rulemaking                    Department or agency must prepare an                     (b) For purposes of this section:
                                           does not alter the relationship between                 impact assessment to address criteria                    (1) Introduction into the United States
                                           the Federal government and State/local                  specified in the law. HHS has                         of persons from a foreign country (or
                                           governments as set forth in 42 U.S.C.                   determined that this interim final rule               one or more political subdivisions or
                                           264. The longstanding provision on                      will not have an impact on family well-               regions thereof) or place means the
                                           preemption in the event of a conflict                   being, as defined in the Act.                         movement of a person from a foreign
                                           with Federal authority (42 CFR 70.2) is                 Paperwork Reduction Act of 1995                       country (or one or more political
                                           left unchanged by this rulemaking.                                                                            subdivisions or regions thereof) or
                                           Furthermore, there are no provisions in                   In accordance with the Paperwork                    place, or series of foreign countries or
                                           this regulation that impose direct                      Reduction Act of 1995 (44 U.S.C. Ch.                  places, into the United States so as to
                                           compliance costs on State and local                     3506; 5 CFR 1320 Appendix A.1), HHS                   bring the person into contact with
                                           governments. Therefore, HHS believes                    has reviewed this interim final rule and              persons in the United States, or so as to
                                           that the interim final rule does not                    has determined that there are no new                  cause the contamination of property in
                                           warrant additional analysis under                       collections of information contained                  the United States, in a manner that the
                                           Executive Order 13132.                                  therein.                                              Director determines to present a risk of
                                                                                                   List of Subjects in 42 CFR Part 71                    transmission of a communicable disease
                                           Plain Language Act of 2010                                                                                    to persons or property, even if the
                                             Under the Plain Language Act of 2010                    Apprehension, Communicable                          communicable disease has already been
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                                           (Pub. L. 111–274, October 13, 2010),                    diseases, Conditional release, CDC, Ill               introduced, transmitted, or is spreading
                                           executive Departments and Agencies are                  person, Isolation, Non-invasive, Public               within the United States;
                                           required to use plain language in                       health emergency, Public health                          (2) Serious danger of the introduction
                                           documents that explain to the public                    prevention measures, Qualifying stage,                of such communicable disease into the
                                           how to comply with a requirement the                    Quarantine, Quarantinable                             United States means the potential for
                                           Federal Government administers or                       communicable disease.                                 introduction of vectors of the

                                                                                                                                                                                  AR00614
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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 233 of 350 PageID 4826
                                                              Federal Register / Vol. 85, No. 57 / Tuesday, March 24, 2020 / Rules and Regulations                                              16567

                                           communicable disease into the United                       (f) This section shall not apply to U.S.           program who are not subject to travel
                                           States, even if persons or property in the              citizens and lawful permanent                         restrictions.
                                           United States are already infected or                   residents.                                              The U.S. Department of Homeland
                                           contaminated with the communicable                                                                            Security (DHS) is implementing the
                                                                                                   Alex M. Azar II,
                                           disease; and                                                                                                  Order. The Order also does not apply
                                                                                                   Secretary, Department of Health and Human             where a designated customs officer of
                                              (3) The term ‘‘Place’’ includes any                  Services.
                                           location specified by the Director,                                                                           DHS determines, based on the totality of
                                                                                                   [FR Doc. 2020–06238 Filed 3–20–20; 4:15 pm]
                                           including any carrier, as that term is                                                                        the circumstances, including
                                           defined in 42 CFR 71.1, whatever the
                                                                                                   BILLING CODE 4163–18–P                                consideration of significant law
                                           carrier’s nationality.                                                                                        enforcement, officer and public safety,
                                              (c) In any order issued under this                                                                         humanitarian, and public health
                                                                                                   DEPARTMENT OF HEALTH AND                              interests, that the Order should not be
                                           section, the Director shall designate the               HUMAN SERVICES
                                           foreign countries (or one or more                                                                             applied to a specific person otherwise
                                           political subdivisions or regions thereof)              42 CFR Part 71                                        subject to the order.
                                                                                                                                                           Finally, the Order does not apply to
                                           or places; the period of time or
                                                                                                   Order Suspending Introduction of                      members of the armed forces of the
                                           circumstances under which the
                                                                                                   Persons From a Country Where a                        United States and associated personnel
                                           introduction of any persons or class of
                                                                                                   Communicable Disease Exists                           for whom the Secretary of Defense
                                           persons into the United States shall be
                                                                                                                                                         provides assurance to the Director that
                                           suspended; and the conditions under                     AGENCY: Centers for Disease Control and               the Secretary of Defense, through
                                           which that prohibition on introduction,                 Prevention (CDC), Department of Health                measures such as quarantine, isolation,
                                           in whole or in part, shall be effective,                and Human Services (HHS).                             or other measures for maintaining
                                           including any relevant exceptions that
                                                                                                   ACTION: Notification of order.                        control over such individuals, is
                                           the Director determines are appropriate.
                                                                                                                                                         preventing the risk of transmission of
                                              (d) Before issuing any order under                   SUMMARY: This document is to inform
                                                                                                                                                         COVID–19 to others in the United
                                           this section, the Director may coordinate               the public that the Director of the                   States.
                                           with State and local authorities and                    Centers for Disease Control and
                                           other Federal departments or agencies                   Prevention, an agency of the Department                 Dated: March 20, 2020.
                                           as he deems appropriate in his                          of Health and Human Services, has                     Alex M. Azar II,
                                           discretion.                                             issued an Order suspending the                        Secretary, Department of Health and Human
                                                                                                   introduction of persons into the United               Services.
                                              (1) If the order will be implemented
                                           in whole or in part by State and local                  States.                                               [FR Doc. 2020–06241 Filed 3–20–20; 4:15 pm]
                                           authorities who have agreed to do so                    DATES: Effective date: The Order                      BILLING CODE P

                                           under 42 U.S.C. 243(a), then the                        referenced in this document is effective
                                           Director may explain in the order the                   on 11:59 p.m. EDT on March 20th, 2020.
                                           procedures and standards by which                       FOR FURTHER INFORMATION CONTACT: Kyle                 FEDERAL COMMUNICATIONS
                                           those authorities are expected to aid in                McGowan, Office of the Chief of Staff,                COMMISSION
                                           the enforcement of the order.                           Centers for Disease Control and
                                                                                                   Prevention, 1600 Clifton Road NE, MS                  47 CFR Parts 25, 73, and 76
                                              (2) If the order will be implemented
                                           in whole or in part by designated                       H21–10, Atlanta, GA 30329. Telephone:                 [MB Docket Nos. 17–317, 17–105; FCC 19–
                                           customs officers (including officers of                 404–498–7000; email: cdcregulations@                  69; FRS 16539]
                                           the Department of Homeland Security                     cdc.gov.
                                           with U.S. Customs and Border                                                                                  Carriage Election Notification
                                                                                                   SUPPLEMENTARY INFORMATION: The CDC                    Procedures
                                           Protection, who exercise the authorities                Director (Director) has issued an Order
                                           of customs officers) or Coast Guard                     pursuant to section 362 of the Public                 AGENCY: Federal Communications
                                           officers under 42 U.S.C. 268(b), or                     Health Service Act, 42 U.S.C. 265. The                Commission.
                                           another Federal department or agency,                   Order suspends the introduction of                    ACTION: Final rule; announcement of
                                           then the Director shall, in coordination                certain persons into the United States                compliance date.
                                           with the Secretary of Homeland                          because the Director has determined
                                           Security or other applicable Federal                    that the existence of Coronavirus                     SUMMARY: In this document, the
                                           department or agency head, explain in                   Disease 2019 (COVID–19) in certain                    Commission announces that the Office
                                           the order the procedures and standards                  foreign countries creates a serious                   of Management and Budget (OMB) has
                                           by which any authorities or officers or                 danger of the introduction of the disease             approved the information collections
                                           agents are expected to aid in the                       into the United States, and the danger                associated with the carriage election
                                           enforcement of the order, to the extent                 is so increased by the introduction of                procedures adopted in the
                                           that they are permitted to do so under                  persons from the foreign countries that               Commission’s 2019 CEN Order, FCC 19–
                                           their existing legal authorities.                       a temporary suspension of the                         69, and that compliance with the
                                              (e) This section does not apply to                   introduction of such persons is                       modified rules is now required. This
                                           members of the armed forces of the                      necessary to protect the public health.               document is consistent with the 2019
                                           United States and associated personnel                  The Order is posted on the website for                CEN Order, FCC 19–69, which states
                                           for whom the Secretary of Defense                       the Centers for Disease Control and                   that the Commission will publish a
                                           provides assurance to the Director that                 Prevention. It will be submitted to the               document in the Federal Register
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                                           the Secretary of Defense, through                       Federal Register for publication.                     announcing a compliance date for the
                                           measures such as quarantine, isolation,                    The Order does not apply to U.S.                   modified rule sections and revise the
                                           or other measures maintaining control                   citizens, lawful permanent residents,                 rule accordingly.
                                           over such individuals, is preventing the                persons from foreign countries who                    DATES: Compliance date: Compliance
                                           risk of transmission of a communicable                  hold valid travel documents, or persons               with 47 CFR 25.701, 73.3526, 73.3527,
                                           disease into the United States.                         from foreign countries in the visa waiver             76.64, and 76.66(d), published at 84 FR

                                                                                                                                                                                    AR00615
                                      VerDate Sep<11>2014   15:59 Mar 23, 2020   Jkt 250001   PO 00000   Frm 00049   Fmt 4700   Sfmt 4700   E:\FR\FM\24MRR1.SGM   24MRR1
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 234 of 350 PageID 4827
                                           28198               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           DEPARTMENT OF HOMELAND                                  the end of November 22, 2021. The                        D. Joint Issuance of the Final Rule
                                           SECURITY                                                amendments to title 20 of the Code of                 III. Discussion
                                                                                                   Federal Regulations in this rule are                     A. Statutory Determination
                                           8 CFR Parts 214 and 274a                                effective from May 25, 2021 through                      B. Numerical Increase and Allocation of up
                                                                                                                                                               to 22,000 Visas
                                           [CIS No. 2689–21]                                       September 30, 2021, except for 20 CFR                    C. Returning Workers
                                                                                                   655.68 which is effective from May 25,                   D. Returning Worker Exemption for up to
                                           RIN 1615–AC72                                           2021 through September 30, 2024.                            6,000 Visas for Nationals of Guatemala,
                                                                                                      The Office of Foreign Labor                              El Salvador, and Honduras (Northern
                                           DEPARTMENT OF LABOR                                     Certification within the U.S. Department                    Triangle Countries)
                                                                                                   of Labor will be accepting comments in                   E. Business Need Standard—Irreparable
                                           Employment and Training                                 connection with the new information                         Harm and FY 2021 Attestation
                                           Administration                                          collection Form ETA–9142B–CAA–4                          F. Portability
                                                                                                   associated with this rule until July 26,                 G. COVID–19 Worker Protections
                                           20 CFR Part 655                                                                                                  H. DHS Petition Procedures
                                                                                                   2021.                                                    I. DOL Procedures
                                           [DOL Docket No. ETA–2021–0005]                          ADDRESSES: You may submit written                     IV. Statutory and Regulatory Requirements
                                                                                                   comments on the new information                          A. Administrative Procedure Act
                                           RIN 1205–AC07
                                                                                                   collection Form ETA–9142B–CAA–4,                         B. Executive Orders 12866 (Regulatory
                                                                                                   identified by Regulatory Information                        Planning and Review) and 13563
                                           Exercise of Time-Limited Authority To                                                                               (Improving Regulation and Regulatory
                                           Increase the Fiscal Year 2021                           Number (RIN) 1205–AC07 electronically
                                                                                                   by the following method:                                    Review)
                                           Numerical Limitation for the H–2B                                                                                C. Regulatory Flexibility Act
                                           Temporary Nonagricultural Worker                           Federal eRulemaking Portal: http://                   D. Unfunded Mandates Reform Act of 1995
                                           Program and Portability Flexibility for                 www.regulations.gov. Follow the                          E. Small Business Regulatory Enforcement
                                           H–2B Workers Seeking To Change                          instructions on the website for                             Fairness Act of 1996
                                           Employers                                               submitting comments.                                     F. Executive Order 13132 (Federalism)
                                                                                                      Instructions: Include the agency’s                    G. Executive Order 12988 (Civil Justice
                                           AGENCY: U.S. Citizenship and                            name and the RIN 1205–AC07 in your                          Reform)
                                           Immigration Services (USCIS),                           submission. All comments received will                   H. Congressional Review Act
                                           Department of Homeland Security                         become a matter of public record and                     I. National Environmental Policy Act
                                           (DHS) and Employment and Training                       will be posted without change to http://                 J. Paperwork Reduction Act
                                           Administration and Wage and Hour                        www.regulations.gov. Please do not                    I. Executive Summary
                                           Division, U.S. Department of Labor                      include any personally identifiable
                                           (DOL).                                                  information or confidential business                  FY 2021 H–2B Supplemental Cap
                                           ACTION: Temporary rule.                                 information you do not want publicly                     With this temporary final rule (TFR),
                                                                                                   disclosed.                                            the Secretary of Homeland Security,
                                           SUMMARY: The Secretary of Homeland                                                                            following consultation with the
                                                                                                   FOR FURTHER INFORMATION CONTACT:
                                           Security, in consultation with the                                                                            Secretary of Labor, is authorizing the
                                           Secretary of Labor, is exercising his                   Regarding 8 CFR parts 214 and 274a:
                                                                                                   Charles L. Nimick, Chief, Business and                immediate release of an additional
                                           time-limited Fiscal Year (FY) 2021                                                                            22,000 H–2B visas through the end of
                                           authority and increasing the numerical                  Foreign Workers Division, Office of
                                                                                                   Policy and Strategy, U.S. Citizenship                 FY 2021, subject to certain conditions.
                                           limitation on H–2B nonimmigrant visas                                                                         The 22,000 visas are divided into two
                                           to authorize the issuance of no more                    and Immigration Services, Department
                                                                                                   of Homeland Security, 5900 Capital                    allocations, as follows:
                                           than 22,000 additional visas through the                                                                         • 16,000 visas limited to returning
                                           end of the second half of FY 2021 to                    Gateway Drive, Camp Springs, MD
                                                                                                   20746; telephone 240–721–3000 (not a                  workers, regardless of country of
                                           those businesses likely to suffer                                                                             nationality, in other words, those
                                           irreparable harm, as attested by the                    toll-free call).
                                                                                                     Regarding 20 CFR part 655 and Form                  workers who were issued H–2B visas or
                                           employer on a new attestation form. In                                                                        held H–2B status in fiscal years 2018,
                                           addition to making additional visas                     ETA–9142B–CAA–4: Brian D.
                                                                                                   Pasternak, Administrator, Office of                   2019, or 2020; and
                                           available under the FY 2021 time-                                                                                • 6,000 visas initially reserved for
                                           limited authority, DHS is exercising its                Foreign Labor Certification,
                                                                                                   Employment and Training                               nationals of the Northern Triangle
                                           general H–2B regulatory authority to                                                                          countries as attested by the petitioner
                                           temporarily provide portability                         Administration, Department of Labor,
                                                                                                   200 Constitution Ave NW, Room N–                      (regardless of whether such nationals
                                           flexibility by allowing H–2B workers                                                                          are returning workers). However, if all
                                           who are already in the United States to                 5311, Washington, DC 20210, telephone
                                                                                                   (202) 693–8200 (this is not a toll-free               6,000 visas reserved for nationals of the
                                           begin work immediately after an H–2B                                                                          Northern Triangle countries are not
                                           petition (supported by a valid temporary                number).
                                                                                                     Individuals with hearing or speech                  allocated by July 8, 2021, USCIS will
                                           labor certification) is received by USCIS,                                                                    announce by July 23, 2021, on its
                                           and before it is approved.                              impairments may access the telephone
                                                                                                   numbers above via TTY by calling the                  website, that such unused Northern
                                           DATES: The amendments to title 8 of the                                                                       Triangle country visas will be made
                                                                                                   toll-free Federal Information Relay
                                           Code of Federal Regulations in this rule                Service at 1–877–889–5627 (TTY/TDD).                  available to employers regardless of the
                                           are effective from May 25, 2021 through                                                                       beneficiary’s country of nationality,
                                                                                                   SUPPLEMENTARY INFORMATION:
                                           May 28, 2024, although DHS will not                                                                           subject to the returning worker
                                           approve any H–2B petition under the                     Table of Contents                                     limitation.
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                                           provisions related to the supplemental                                                                           To qualify for the FY 2021
                                                                                                   I. Executive Summary
                                           numerical allocation after September 30,                II. Background
                                                                                                                                                         supplemental cap, eligible petitioners
                                           2021, and the provisions related to                        A. Legal Framework                                 must:
                                           portability are only available to                          B. H–2B Numerical Limitations Under the               • Meet all existing H–2B eligibility
                                           petitioners and H–2B nonimmigrant                            INA                                              requirements, including obtaining an
                                           workers initiating employment through                      C. FY 2021 Omnibus                                 approved temporary labor certification

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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 235 of 350 PageID 4828
                                                               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                                    28199

                                           (TLC) from DOL before filing the Form                   upon the request of DHS or DOL, as well               requires that ‘‘[t]he question of
                                           I–129, Petition for Nonimmigrant                        as fully cooperate with any compliance                importing any alien as [an H–2B]
                                           Worker, with USCIS;                                     reviews such as audits. Both DHS and                  nonimmigrant . . . in any specific case
                                              • Submit an attestation affirming,                   DOL intend to conduct a significant                   or specific cases shall be determined by
                                           under penalty of perjury, that the                      number of post-adjudication audits to                 [DHS],1 after consultation with
                                           employer will likely suffer irreparable                 ascertain compliance with the                         appropriate agencies of the
                                           harm if it cannot employ the requested                  attestation requirements of this TFR.                 Government.’’ INA section 214(c)(1), 8
                                           H–2B workers, and that it is seeking to                    Falsifying information in attestation(s)           U.S.C. 1184(c)(1). The INA generally
                                           employ returning workers only, unless                   can result not only in penalties relating             charges the Secretary of Homeland
                                           the H–2B worker is a Northern Triangle                  to perjury, but can also result in, among             Security with the administration and
                                           national and counted towards the 6,000                  other things, a finding of fraud or willful           enforcement of the immigration laws,
                                           cap (during such time as when the                       misrepresentation; denial or revocation               and provides that the Secretary ‘‘shall
                                           Northern Triangle cap reservation                       of the H–2B petition requesting                       establish such regulations . . . and
                                           allocation is applicable); and                          supplemental workers; debarment by                    perform such other acts as he deems
                                              • Agree to comply with all applicable                DOL and DHS from the H–2 program;                     necessary for carrying out his authority’’
                                           labor and employment laws, including                    and may subject petitioner/employer to                under the INA. See INA section
                                           health and safety laws pertaining to                    other criminal penalties.                             103(a)(1), (3), 8 U.S.C. 1103(a)(1), (3);
                                           COVID–19, as well as any rights to time                    The authority to approve H–2B                      see also 6 U.S.C. 202(4) (charging the
                                           off or paid time off to obtain COVID–19                 petitions under the FY 2021                           Secretary with ‘‘[e]stablishing and
                                           vaccinations, and notify the workers in                 supplemental cap expires on September                 administering rules . . . governing the
                                           a language understood by the worker, as                 30, 2021.                                             granting of visas or other forms of
                                           necessary or reasonable, of equal access                                                                      permission . . . to enter the United
                                           of nonimmigrants to COVID–19                            H–2B Portability                                      States to individuals who are not a
                                           vaccines and vaccination distribution                      In addition to exercising time limited             citizen or an alien lawfully admitted for
                                           sites.                                                  authority to make additional H–2B visas               permanent residence in the United
                                              Employers filing an H–2B petition 45                 available in FY 2021, DHS is providing                States’’). With respect to nonimmigrants
                                           or more days after the certified start date             additional flexibilities to H–2B                      in particular, the INA provides that
                                           on the TLC, must attest to engaging in                  petitioners under its general                         ‘‘[t]he admission to the United States of
                                           the following additional steps to recruit               programmatic authority by allowing                    any alien as a nonimmigrant shall be for
                                           U.S. workers:                                           nonimmigrant workers in the United                    such time and under such conditions as
                                              • No later than 1 business day after                 States in valid H–2B status to begin                  the [Secretary] may by regulations
                                           filing the petition, place a new job order              work with a new employer after an H–                  prescribe.’’ INA section 214(a)(1), 8
                                           with the relevant State Workforce                       2B petition (supported by a valid TLC)                U.S.C. 1184(a)(1); see also INA section
                                           Agency (SWA) for at least 15 calendar                   is filed and before the petition is                   274A(h)(1) and (3), 8 U.S.C. 1324a(h)(1)
                                           days;                                                   approved generally for a period of up to              and (3) (prohibiting employment of
                                              • Contact the nearest American Job                   60 days. However, such employment                     noncitizen 2 not authorized for
                                           Center serving the geographic area                      authorization would end 15 days after                 employment). The Secretary may
                                           where work will commence and request                    USCIS denies the H–2B petition or such                designate officers or employees to take
                                           staff assistance in recruiting qualified                petition is withdrawn. This H–2B                      and consider evidence concerning any
                                           U.S. workers;                                           portability ends 180 days after the                   matter which is material or relevant to
                                              • Contact the employer’s former U.S.                 effective date of this rule, in other                 the enforcement of the INA. INA
                                           workers, including those the employer                   words, after the date this rule is                    sections 287(a)(1), (b), 8 U.S.C.
                                           furloughed or laid off beginning on                     published in the Federal Register.                    1357(a)(1), (b) and INA section
                                           January 1, 2019, and until the date the                                                                       235(d)(3), 8 U.S.C. 1225(d)(3).
                                           H–2B petition is filed, disclose the                    II. Background                                           Finally, under section 101 of HSA, 6
                                           terms of the job order and solicit their                A. Legal Framework                                    U.S.C. 111(b)(1)(F), a primary mission of
                                           return to the job;                                                                                            DHS is to ‘‘ensure that the overall
                                              • Provide written notification of the                   The Immigration and Nationality Act                economic security of the United States
                                           job opportunity to the bargaining                       (INA), as amended, establishes the H–2B               is not diminished by efforts, activities,
                                           representative for the employer’s                       nonimmigrant classification for a                     and programs aimed at securing the
                                           employees in the occupation and area of                 nonagricultural temporary worker                      homeland.’’
                                           employment, or post notice of the job                   ‘‘having a residence in a foreign country                DHS regulations provide that an H–2B
                                           opportunity at the anticipated worksite                 which he has no intention of                          petition for temporary employment in
                                           if there is no bargaining representative;               abandoning who is coming temporarily                  the United States must be accompanied
                                           and                                                     to the United States to perform . . .                 by an approved TLC from the U.S.
                                              • Hire any qualified U.S. worker who                 temporary [non-agricultural] service or
                                           applies or is referred for the job                      labor if unemployed persons capable of                   1 As of March 1, 2003, in accordance with section

                                           opportunity until the later of either (1)               performing such service or labor cannot               1517 of Title XV of the Homeland Security Act of
                                                                                                                                                         2002 (HSA), Public Law 107–296, 116 Stat. 2135,
                                           the date on which the last H–2B worker                  be found in this country.’’ INA section               any reference to the Attorney General in a provision
                                           departs for the place of employment, or                 101(a)(15)(H)(ii)(b), 8 U.S.C.                        of the Immigration and Nationality Act describing
                                           (2) 30 days after the last date of the SWA              1101(a)(15)(H)(ii)(b). Employers must                 functions which were transferred from the Attorney
                                           job order posting.                                      petition the Department of Homeland                   General or other Department of Justice official to the
                                                                                                                                                         Department of Homeland Security by the HSA
                                              Petitioners filing H–2B petitions                    Security (DHS) for classification of                  ‘‘shall be deemed to refer to the Secretary’’ of
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                                           under the FY 2021 supplemental cap                      prospective temporary workers as H–2B                 Homeland Security. See 6 U.S.C. 557 (2003)
                                           must retain documentation of                            nonimmigrants. INA section 214(c)(1), 8               (codifying HSA, Title XV, sec. 1517); 6 U.S.C. 542
                                           compliance with the attestation                         U.S.C. 1184(c)(1). Generally, DHS must                note; 8 U.S.C. 1551 note.
                                                                                                                                                            2 For purposes of this discussion, the
                                           requirements for 3 years from the date                  approve this petition before the                      Departments use the term ‘‘noncitizen’’ colloquially
                                           the TLC was approved, and must                          beneficiary can be considered eligible                to be synonymous with the term ‘‘alien’’ as it is
                                           provide the documents and records                       for an H–2B visa. In addition, the INA                used in the Immigration and Nationality Act.


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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                    Page 236 of 350 PageID 4829
                                           28200               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           Department of Labor (DOL), issued                       petition for an H–2B nonimmigrant                        an H–2B worker who was previously
                                           pursuant to regulations established at 20               worker. INA section 214(c)(14)(A), 8                     counted against the annual H–2B cap
                                           CFR part 655, or from the Guam                          U.S.C. 1184(c)(14)(A). The INA                           during a designated period of time. For
                                           Department of Labor if the workers will                 expressly authorizes DHS to delegate                     example, Congress designated that
                                           be employed on Guam. 8 CFR                              certain enforcement authority to DOL.                    returning workers for FY 2016 needed to
                                           214.2(h)(6)(iii)(A) and (C) through (E),                INA section 214(c)(14)(B), 8 U.S.C.                      have been counted against the cap
                                           (h)(6)(iv)(A); see also INA section                     1184(c)(14)(B); see also INA section                     during FY 2013, 2014, or 2015.6 DHS
                                           103(a)(6), 8 U.S.C. 1103(a)(6). The TLC                 103(a)(6), 8 U.S.C. 1103(a)(6). DHS has                  and the Department of State (DOS)
                                           serves as DHS’s consultation with DOL                   delegated its authority under INA                        worked together to confirm that all
                                           with respect to whether a qualified U.S.                section 214(c)(14)(A)(i), 8 U.S.C.                       workers requested under the returning
                                           worker is available to fill the petitioning             1184(c)(14)(A)(i) to DOL. See DHS,                       worker provision in fact were eligible
                                           H–2B employer’s job opportunity and                     Delegation of Authority to DOL under                     for exemption from the annual cap (in
                                           whether a foreign worker’s employment                   Section 214(c)(14)(A) of the INA (Jan.                   other words, were issued an H–2B visa
                                           in the job opportunity will adversely                   16, 2009); see also 8 CFR 214.2(h)(6)(ix)                or provided H–2B status during one of
                                           affect the wages and working conditions                 (stating that DOL may investigate                        the prior 3 fiscal years) and were
                                           of similarly-employed U.S. workers. See                 employers to enforce compliance with                     otherwise eligible for H–2B
                                           INA section 214(c)(1), 8 U.S.C.                         the conditions of, among other things,                   classification.
                                           1184(c)(1); 8 CFR 214.2(h)(6)(iii)(A) and               an H–2B petition and a DOL-approved                         Because of the strong demand for H–
                                           (D).                                                    TLC). This enforcement authority has                     2B visas in recent years, the statutorily-
                                              In order to determine whether to issue               been delegated within DOL to the Wage                    limited semi-annual visa allocation, the
                                           a TLC, the Departments have                             and Hour Division (WHD), and is                          DOL regulatory requirement that
                                           established regulatory procedures under                 governed by regulations at 29 CFR part                   employers apply for a TLC 75 to 90 days
                                           which DOL certifies whether a qualified                 503.                                                     before the start date of work,7 and the
                                           U.S. worker is available to fill the job                                                                         DHS regulatory requirement that all H–
                                           opportunity described in the employer’s                 B. H–2B Numerical Limitations Under                      2B petitions be accompanied by an
                                           petition for a temporary nonagricultural                the INA                                                  approved TLC,8 employers that wish to
                                           worker, and whether a foreign worker’s                     The INA sets the annual number of                     obtain visas for their workers under the
                                           employment in the job opportunity will                  noncitizens who may be issued H–2B                       semi-annual allotment must act early to
                                           adversely affect the wages or working                   visas or otherwise provided H–2B                         receive a TLC and file a petition with
                                           conditions of similarly employed U.S.                   nonimmigrant status to perform                           U.S. Citizenship and Immigration
                                           workers. See 20 CFR part 655, subpart                   temporary nonagricultural work at                        Services (USCIS). As a result, DOL
                                           A. The regulations establish the process                66,000, to be distributed semi-annually                  typically sees a significant spike in TLC
                                           by which employers obtain a TLC and                     beginning in October and April. See                      applications from employers seeking to
                                           the rights and obligations of workers                   INA sections 214(g)(1)(B) and (g)(10), 8                 hire H–2B temporary or seasonal
                                           and employers.                                          U.S.C. 1184(g)(1)(B) and (g)(10). With                   workers prior to the United States’
                                              Once the petition is approved, under                 certain exceptions, described below, up                  warm weather months. For example, in
                                           the INA and current DHS regulations,                    to 33,000 noncitizens may be issued H–                   FY 2021, based on TLC applications
                                           H–2B workers do not have employment                     2B visas or provided H–2B                                filed during the 3-day filing window of
                                           authorization outside of the validity                   nonimmigrant status in the first half of                 January 1 through 3, 2021, DOL’s Office
                                           period listed on the approved petition                  a fiscal year, and the remaining annual                  of Foreign Labor Certification (OFLC)
                                           unless otherwise authorized, and the                    allocation, including any unused                         received requests to certify 96,641
                                           workers are limited to employment with                  nonimmigrant H–2B visas from the first                   worker positions for start dates of work
                                           the H–2B petitioner. See 8 U.S.C.                       half of a fiscal year, will be available for             on April 1, 2021.9 USCIS, in turn,
                                           1184(c)(1), 8 CFR 274a.12(b)(9). An                     employers seeking to hire H–2B workers                   received sufficient H–2B petitions to
                                           employer or U.S. agent generally may                    during the second half of the fiscal                     reach the second half of the fiscal year
                                           submit a new H–2B petition, with a                      year.4 If insufficient petitions are
                                           new, approved TLC, to USCIS to request                  approved to use all H–2B numbers in a                       6 See Consolidated Appropriations Act, 2016,

                                           an extension of H–2B nonimmigrant                                                                                Public Law 114–113, div. F, tit. V, sec 565.
                                                                                                   given fiscal year, the unused numbers                       7 20 CFR 655.15(b).
                                           status for the validity of the TLC or for               cannot be carried over for petition                         8 See 8 CFR 214.2(h)(5)(i)(A).
                                           a period of up to 1 year. 8 CFR                         approvals for employment start dates                        9 DOL announcement on January 7, 2021. See
                                           214.2(h)(15)(ii)(C). Except as provided                 beginning on or after the start of the                   https://www.foreignlaborcert.doleta.gov/ (last
                                           for in this rule, and except for certain                next fiscal year.                                        accessed on April 9, 2021). For historical context,
                                           professional athletes being traded                         In FYs 2005, 2006, 2007, and 2016,                    with the FY 2020 statutory cap, DOL announced on
                                                                                                                                                            January 6, 2020 that it received requests to certify
                                           among organizations,3 H–2B workers                      Congress exempted H–2B workers                           99,362 worker positions for start dates of work on
                                           seeking to extend their status with a                   identified as returning workers from the                 April 1, 2020. On February 26, 2020, USCIS
                                           new employer may not begin                              annual H–2B cap of 66,000.5 A                            announced that it had received a sufficient number
                                           employment with the new employer                        returning worker is defined by statute as                of petitions to reach the congressionally mandated
                                                                                                                                                            H–2B cap for FY 2020. On February 18, 2020, the
                                           until the new H–2B petition is                                                                                   number of beneficiaries listed on petitions received
                                           approved.                                                  4 The Federal Government’s fiscal year runs from
                                                                                                                                                            by USCIS surpassed the total number of remaining
                                              The INA also authorizes DHS to                       October 1 of the prior year through September 30         H–2B visas available against the H–2B cap for the
                                                                                                   of the year being described. For example, fiscal year    second half of FY 2020. In accordance with
                                           impose appropriate remedies against an                  2021 is from October 1, 2020, through September          regulations, USCIS determined it was necessary to
                                           employer for a substantial failure to                   30, 2021.                                                use a computer generated process, commonly
                                           meet the terms and conditions of                           5 INA section 214(g)(9)(A), 8 U.S.C. 1184(g)(9)(A),   known as a lottery, to ensure the fair and orderly
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                                           employing an H–2B nonimmigrant                          see also Consolidated Appropriations Act, 2016,          allocation of H–2B visa numbers to meet, but not
                                           worker, or for a willful                                Public Law 114–113, div. F, tit. V, sec 565; John        exceed, the remainder of the FY 2020 cap. 8 CFR
                                                                                                   Warner National Defense Authorization Act for            214.2(h)(8)(vii). On February 20, 2020, USCIS
                                           misrepresentation of a material fact in a               Fiscal Year 2007, Public Law 109–364, div. A, tit.       conducted a lottery to randomly select petitions
                                                                                                   X, sec. 1074, (2006); Save Our Small and Seasonal        from those received on February 18, 2020. As a
                                             3 See 8 CFR 214.2(h)(6)(vii) and 8 CFR                Businesses Act of 2005, Public Law 109–13, div. B,       result, USCIS assigned all petitions selected in the
                                           274a.12(b)(9).                                          tit. IV, sec. 402.                                       lottery the receipt date of February 20, 2020.


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                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 237 of 350 PageID 4830
                                                                 Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                                 28201

                                           statutory cap by February 12, 2021.10                     that ‘‘the Secretary of Homeland                     pursuant to the FY 2017 supplemental
                                           This early date continues to reflect an                   Security, after consultation with the                cap increase.15 In FY 2018, USCIS
                                           ongoing trend of higher H–2B demand                       Secretary of Labor, and upon the                     received petitions for more than 15,000
                                           in the second half of the fiscal year                     determination that the needs of                      beneficiaries during the first 5 business
                                           compared to the statutorily authorized                    American businesses cannot be satisfied              days of filing for the supplemental cap,
                                           level. Congress, in recognition of this                   in [FY] 2021 with U.S. workers who are               and held a lottery on June 7, 2018. The
                                           increased demand: (1) Allowed for                         willing, qualified, and able to perform              total number of H–2B workers approved
                                           additional H–2B workers through the                       temporary nonagricultural labor,’’ may               toward the FY 2018 supplemental cap
                                           FY 2016 reauthorization of the returning                  increase the total number of noncitizens             increase was 15,788.16 The vast majority
                                           worker cap exemption; 11 and (2) for the                  who may receive an H–2B visa in FY                   of the H–2B petitions received under the
                                           last 5 fiscal years authorized                            2021 by not more than the highest                    FY 2017 and FY 2018 supplemental
                                           supplemental caps under section 543 of                    number of H–2B nonimmigrants who                     caps requested premium processing 17
                                           Division F of the Consolidated                            participated in the H–2B returning                   and were adjudicated within 15
                                           Appropriations Act, 2017, Public Law                      worker program in any fiscal year in                 calendar days.
                                           115–31 (FY 2017 Omnibus); section 205                     which returning workers were exempt                     On May 8, 2019, DHS and DOL jointly
                                           of Division M of the Consolidated                         from the H–2B numerical limitation.13                published a temporary final rule
                                           Appropriations Act, 2018, Public Law                      The Secretary of Homeland Security has               authorizing an increase of up to 30,000
                                           115–141 (FY 2018 Omnibus); section                        consulted with the Secretary of Labor,               additional H–2B visas for the remainder
                                           105 of Division H of the Consolidated                     and this rule implements the authority               of FY 2019. The additional visas were
                                           Appropriations Act, 2019, Public Law                      contained in section 105.                            limited to returning workers who had
                                           116–6 (FY 2019 Omnibus); section 105                         As noted above, since FY 2017,                    been counted against the H–2B cap or
                                           of Division I of the Further Consolidated                 Congress has enacted a series of public              were otherwise granted H–2B status in
                                           Appropriations Act, 2020, Public Law                      laws providing the Secretary of                      the previous 3 fiscal years, and for those
                                           116–94 (FY 2020 Omnibus); 12 and                          Homeland Security with the                           businesses that attested to a level of
                                           section 105 of Division O of the                          discretionary authority to increase the              need such that, if they did not receive
                                           Consolidated Appropriations Act, 2021,                    H–2B cap beyond that set forth in                    all of the workers requested on the Form
                                           Public Law 116–260 (FY 2021                               section 214 of the INA. The previous                 I–129, they were likely to suffer
                                           Omnibus), which is discussed below.                       four statutory provisions were                       irreparable harm, in other words, suffer
                                                                                                     materially identical to section 105 of the           a permanent and severe financial loss.18
                                           C. FY 2021 Omnibus                                        FY 2021 Omnibus. During each fiscal                  The Secretary determined that limiting
                                             On December 27, 2020, then-President                    year from FY 2017 through FY 2019, the               returning workers to those who were
                                           Donald Trump signed the FY 2021                           Secretary of Homeland Security, after                issued an H–2B visa or granted H–2B
                                           Omnibus which contains a provision,                       consulting with the Secretary of Labor,              status in the past 3 fiscal years was
                                           section 105 of Division O (section 105),                  determined that the needs of some                    appropriate, as it mirrored the standard
                                           permitting the Secretary of Homeland                      American businesses could not be                     that Congress designated in previous
                                           Security, under certain circumstances                     satisfied in such year with U.S. workers             returning worker provisions. On June 5,
                                           and after consultation with the                           who were willing, qualified, and able to             2019, approximately 30 days after the
                                           Secretary of Labor, to increase the                       perform temporary nonagricultural                    supplemental visas became available,
                                           number of H–2B visas available to U.S.                    labor. On the basis of these                         USCIS announced that it received
                                           employers, notwithstanding the                            determinations, on July 19, 2017, and                sufficient petitions filed pursuant to the
                                           otherwise-established statutory                           May 31, 2018, DHS and DOL jointly                    FY 2019 supplemental cap increase.
                                           numerical limitation set forth in the                     published temporary final rules for FY               USCIS did not conduct a lottery for the
                                           INA. Specifically, section 105 provides                   2017 and FY 2018, respectively, each of              FY 2019 supplemental cap increase. The
                                                                                                     which allowed an increase of up to                   total number of H–2B workers approved
                                              10 On February 24, 2021, USCIS announced that          15,000 additional H–2B visas for those               towards the FY 2019 supplemental cap
                                           it had received a sufficient number of petitions to       businesses that attested that if they did            increase was 32,666.19 The vast majority
                                           reach the congressionally mandated H–2B cap for           not receive all of the workers requested
                                           the second half of FY 2021. See https://                  on the Petition for a Nonimmigrant                      15 USCIS data pulled from the Computer Linked
                                           www.uscis.gov/news/alerts/h-2b-cap-reached-for-
                                           second-half-of-fy-2021 (Feb. 24, 2021). On February       Worker (Form I–129), they were likely                Application Information Management System
                                           12, 2021, the number of beneficiaries listed on           to suffer irreparable harm, in other                 (CLAIMS3) database, available at https://
                                           petitions received by USCIS surpassed the total           words, suffer a permanent and severe                 www.dhs.gov/publication/dhsuscispia-016-
                                           number of remaining H–2B visas available against                                                               computer-linked-application-information-
                                                                                                     financial loss.14 A total of 12,294 H–2B             management-system-claims-3-and, on Mar. 15,
                                           the H–2B statutory cap for the second half of FY
                                           2021. In accordance with regulations, USCIS
                                                                                                     workers were approved for H–2B                       2021.
                                           determined it was necessary to use a computer-            classification under petitions filed                    16 The number of approved workers exceeded the

                                           generated process, commonly known as a lottery, to                                                             number of additional visas authorized for FY 2018
                                           ensure the fair and orderly allocation of H–2B visa         13 The highest number of returning workers in      to allow for the possibility that some approved
                                           numbers to meet, but not exceed, the remainder of         any such fiscal year was 64,716, which represents    workers would either not seek a visa or admission,
                                           the FY 2021 cap. 8 CFR 214.2(h)(8)(vii). On               the number of beneficiaries covered by H–2B          would not be issued a visa, or would not be
                                           February 17, 2021, USCIS conducted a lottery to           returning worker petitions that were approved for    admitted to the United States. USCIS data pulled
                                           randomly select petitions from those received on          FY 2007. DHS also considered using an alternative    from CLAIMS3 on Mar. 15, 2021.
                                           February 12, 2021. As a result, USCIS assigned all                                                                17 Premium processing allows for expedited
                                                                                                     approach, under which DHS measured the number
                                           petitions selected in the lottery the receipt date of     of H–2B returning workers admitted at the ports of   processing for an additional fee. See INA 286(u), 8
                                           February 17, 2021.                                        entry (66,792 for FY 2007).                          U.S.C. 1356(u).
                                              11 INA section 214(g)(9)(a), 8 U.S.C. 1184(g)(9)(a),     14 Temporary Rule, Exercise of Time-Limited           18 Temporary Rule, Exercise of Time-Limited

                                           as revised by the Consolidated Appropriations Act         Authority To Increase the Fiscal Year 2017           Authority To Increase the Fiscal Year 2019
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                                           of 2016 (Pub. L. 114–113). This program expired on        Numerical Limitation for the H–2B Temporary          Numerical Limitation for the H–2B Temporary
                                           September 30, 2016.                                       Nonagricultural Worker Program, 82 FR 32987,         Nonagricultural Worker Program, 84 FR 20005,
                                              12 DHS, after consulting with DOL, did not             32998 (July 19, 2017); Temporary Rule, Exercise of   20021 (May 8, 2019).
                                           publish a temporary final rule supplementing the          Time-Limited Authority To Increase the Fiscal Year      19 The number of approved workers exceeded the

                                           H–2B cap for FY 2020 pursuant to the Further              2018 Numerical Limitation for the H–2B Temporary     number of additional visas authorized for FY 2019
                                           Consolidated Appropriations Act, 2020, Public Law         Nonagricultural Worker Program, 83 FR 24905,         to allow for the possibility that some approved
                                           116–94.                                                   24917 (May 31, 2018).                                                                          Continued



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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 238 of 350 PageID 4831
                                           28202               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           of these petitions requested premium                    DHS and DOL each have authority to                      The Secretary of Homeland Security
                                           processing and were adjudicated within                  independently issue rules implementing                has also determined that for certain
                                           15 calendar days.                                       their respective duties under the H–2B                employers, additional recruitment steps
                                              Although Congress provided the                       program,26 the Departments are                        are necessary to confirm that there are
                                           Secretary of Homeland Security with                     implementing section 105 in this                      no qualified U.S. workers available for
                                           the discretionary authority to increase                 manner to ensure there can be no                      the positions. In addition, the Secretary
                                           the H–2B cap in FY 2020, the Secretary                  question about the authority underlying               of Homeland Security has determined
                                           did not exercise that authority. DHS                    the administration and enforcement of                 that the supplemental visas will be
                                           initially intended to exercise its                      the temporary cap increase. This                      limited to returning workers, with the
                                           authority and, on March 4, 2020,                        approach is consistent with rules                     exception that up to 6,000 of the 22,000
                                           announced that it would make available                  implementing DOL’s general                            visas will be exempt from the returning
                                           35,000 supplemental H–2B visas for the                  consultative role under INA section                   worker requirement and will be
                                           second half of fiscal year.20 On March                  214(c)(1), 8 U.S.C. 1184(c)(1), and                   reserved for H–2B workers who are
                                           13, 2020, then-President Trump                          delegated functions under INA sections                nationals of Guatemala, Honduras, or El
                                           declared a National Emergency                           103(a)(6) and 214(c)(14)(B), 8 U.S.C.                 Salvador (the Northern Triangle
                                           concerning COVID–19, a communicable                     1103(a)(6), 1184(c)(14)(B).27                         countries).28 The 6,000 H–2B visas are
                                           disease caused by the coronavirus                                                                             reserved for nationals of the Northern
                                           SARS–CoV–2.21 On April 2, 2020, DHS                     III. Discussion                                       Triangle countries to further the
                                           announced that the rule to increase the                 A. Statutory Determination                            objectives of E.O. 14010, which among
                                           H–2B cap was on hold due to economic                                                                          other initiatives, instructs the Secretary
                                           circumstances, and no additional H–2B                      Following consultation with the                    of Homeland Security and the Secretary
                                           visas would be released until further                   Secretary of Labor, the Secretary of                  of State to implement measures to
                                           notice.22 DHS also noted that the                       Homeland Security has determined that                 enhance access to visa programs for
                                           Department of State had suspended                       the needs of some U.S. employers                      individuals from the Northern
                                           routine visa services.23 As explained in                cannot be satisfied in FY 2021 with U.S.              Triangle.29 This decision supports the
                                           further detail below, although the                      workers who are willing, qualified, and               President’s vision of expanding lawful
                                           COVID–19 public health emergency is                     able to perform temporary                             pathways for protection and
                                           still in effect, DHS believes that it is                nonagricultural labor. In accordance                  opportunity for individuals from the
                                           appropriate to increase the H–2B cap                    with section 105 of the FY 2021                       Northern Triangle.30
                                           coupled with additional protections (for                Omnibus, the Secretary of Homeland                      Similar to the temporary final rule for
                                           example, post-adjudication audits,                      Security has determined that it is                    the FY 2019 supplemental cap, the
                                           investigations, and compliance checks),                 appropriate, for the reasons stated                   Secretary of Homeland Security has also
                                           for FY 2021 based on the demand for H–                  below, to raise the numerical limitation              determined to limit the supplemental
                                           2B workers in the second half of FY                     on H–2B nonimmigrant visas up to                      visas to H–2B returning workers, in
                                           2021, recent and continuing economic                    22,000 additional visas for those                     other words, workers who were issued
                                           growth, the improving job market and                    American businesses that attest to a                  H–2B visas or were otherwise granted
                                           increased visa processing by the                        level of need such that, if they do not               H–2B status in FY 2018, 2019, or
                                           Department of State.                                    receive the workers under the cap                     2020,31 unless the employer indicates
                                                                                                   increase, they are likely to suffer                   on the new attestation form that it is
                                           D. Joint Issuance of This Final Rule                                                                          requesting workers who are nationals of
                                                                                                   irreparable harm, in other words, suffer
                                             As they did in FY 2017, FY 2018, and                  a permanent and severe financial loss.                the Northern Triangle countries and
                                           FY 2019, the Departments have                           These businesses must retain                          who are therefore counted towards the
                                           determined that it is appropriate to                    documentation, as described below,                    6,000 allotment regardless of whether
                                           jointly issue this temporary rule.24 The                supporting this attestation.                          they are new or returning workers. If the
                                           determination to issue the temporary                       DHS and DOL intend to conduct a                    6,000 returning worker exemption cap
                                           rule jointly follows conflicting court                  significant number of random audits                   for Northern Triangle nationals has been
                                           decisions concerning DOL’s authority to                 during the period of temporary need to
                                           independently issue legislative rules to                verify compliance with H–2B program
                                                                                                                                                           28 These conditions and limitations are not

                                           carry out its consultative and delegated                                                                      inconsistent with sections 214(g)(3) (‘‘first in, first
                                                                                                   requirements, including the irreparable               out’’ H–2B processing) and (g)(10) (fiscal year H–
                                           functions pertaining to the H–2B                        harm standard as well as other key                    2B allocations) because noncitizens covered by the
                                           program under the INA.25 Although                       worker protection provisions                          special allocation under section 105 of the FY 2021
                                                                                                                                                         Omnibus are not ‘‘subject to the numerical
                                                                                                   implemented through this rule. If an                  limitations of [section 214(g)(1).]’’ See, e.g., INA
                                           workers would either not seek a visa or admission,
                                           would not be issued a visa, or would not be             employer’s documentation does not                     section 214(g)(3); INA section 214(g)(10); FY 2021
                                           admitted to the United States. USCIS data pulled        establish the likelihood of irreparable               Omnibus div. O, sec. 105 (‘‘Notwithstanding the
                                                                                                                                                         numerical limitation set forth in section 214(g)(1)(B)
                                           from CLAIMS3 on Mar. 15, 2021.                          harm, or if the employer fails to provide             of the [INA]. . . .’’).
                                              20 DHS to Improve Integrity of Visa Program for
                                                                                                   evidence demonstrating irreparable                      29 See Section 3(c) of E.O. 14010, Creating a
                                           Foreign Workers, March 5, 2020, https://
                                           www.dhs.gov/news/2020/03/05/dhs-improve-
                                                                                                   harm or comply with the audit process,                Comprehensive Regional Framework To Address
                                           integrity-visa-program-foreign-workers.                 this may be considered a substantial                  the Causes of Migration, To Manage Migration
                                                                                                                                                         Throughout North and Central America, and To
                                              21 Proclamation 9994 of Mar. 13, 2020, Declaring     violation resulting in an adverse agency              Provide Safe and Orderly Processing of Asylum
                                           a National Emergency Concerning the Coronavirus         action on the employer, including                     Seekers at the United States Border, signed
                                           Disease (COVID–19) Outbreak, 85 FR 15337 (Mar.          revocation of the petition and/or TLC or              February 2, 2021. https://www.govinfo.gov/content/
                                           18, 2020).                                                                                                    pkg/FR-2021-02-05/pdf/2021-02561.pdf.
                                              22 https://twitter.com/DHSgov/status/                program debarment.
                                                                                                                                                           30 Id.
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                                           1245745115458568192?s=20.                                                                                       31 For purposes of this rule, these returning
                                              23 Id.                                               H–2B Aliens in the United States, 80 FR 24042,        workers could have been H–2B cap exempt or
                                              24 82 FR 32987 (Jul. 19, 2017); 83 FR 24905 (May     24045 (Apr. 29, 2015).                                extended H–2B status in FY 2018, 2019, or 2020.
                                           31, 2018); 84 FR 20005 (May 8, 2019).                      26 See Outdoor Amusement Bus. Ass’n, 983 F.3d
                                                                                                                                                         Additionally they may have been previously
                                              25 See Outdoor Amusement Bus. Ass’n v. Dep’t of      at 684–89.                                            counted against the annual H–2B cap of 66,000
                                           Homeland Sec., 983 F.3d 671 (4th Cir. 2020); see           27 See 8 CFR 214.2(h)(6)(iii)(A) and (C),          visas during FY 2018, 2019, or 2020, or the
                                           also Temporary Non-Agricultural Employment of           (h)(6)(iv)(A).                                        supplemental caps in FY 2018 or FY 2019.


                                                                                                                                                                                       AR00620
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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 239 of 350 PageID 4832
                                                                Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                         28203

                                           reached and visas remain available                      workers because the statutory cap has                  of any such increase, has broad
                                           under the returning worker cap, the                     been reached.35                                        discretion, following consultation with
                                           petition would be rejected and any fees                    The Secretary of Homeland Security                  the Secretary of Labor, to identify the
                                           submitted returned to the petitioner. In                and the Secretary of Labor heard from                  business needs that are most relevant,
                                           such a case, a petitioner may continue                  many trade unions and worker                           while bearing in mind the need to
                                           to request workers who are nationals of                 advocates who opposed raising the cap.                 protect U.S. workers. Within that
                                           one of the Northern Triangle countries,                 They argued that the unemployment                      context, for the below reasons, the
                                           but the petitioner must file a new Form                 rate remains high. In particular, they                 Secretary of Homeland Security has
                                           I–129 petition, with fee, and attest that               provided evidence that the                             determined to allow an overall increase
                                           these noncitizens will be returning                     unemployment rate for summer-related                   of 22,000 additional visas solely for the
                                                                                                   occupations, such as landscaping                       businesses facing permanent, severe
                                           workers, in other words, workers who
                                                                                                   workers, restaurant workers,                           potential losses.
                                           were issued H–2B visas or were
                                                                                                   construction workers and others, for                      First, DHS interprets section 105’s
                                           otherwise granted H–2B status in FY                     which businesses were pressing for an                  reference to ‘‘the needs of American
                                           2018, 2019, or 2020. If the 6,000                       increase in visas, exceeds the national                businesses’’ as describing a need
                                           returning worker exemption cap for                      average in unemployment.36 They also                   different from the need ordinarily
                                           nationals of the Northern Triangle                      pointed to what they consider                          required of employers in petitioning for
                                           countries remains unfilled by July 8,                   weaknesses in the labor market test, and               an H–2B worker. Under the generally
                                           2021, USCIS will announce on its                        stated that some H–2B employers have                   applicable H–2B program, each
                                           website that the remaining visas will be                violated labor laws, including                         individual H–2B employer must
                                           made available to the general public, but               requirements in the H–2B program.                      demonstrate that it has a temporary
                                           the petitioner must file a new Form                        After considering the full range of                 need for the services or labor for which
                                           I–129 petition and attest that these                    evidence and diverse points of view, the               it seeks to hire H–2B workers. See 8 CFR
                                           noncitizens will be returning workers.                  Secretary of Homeland Security has                     214.2(h)(6)(ii), 20 CFR 655.6. The use of
                                              The Secretary of Homeland Security’s                 deemed it appropriate to take action to                the phrase ‘‘needs of American
                                           determination to increase the numerical                 avoid irreparable harm to businesses                   businesses,’’ which is not found in INA
                                           limitation is based, in part, on the                    that were unable to obtain H–2B                        section 101(a)(15)(H)(ii)(b), 8 U.S.C.
                                           conclusion that some businesses are                     workers under the statutory cap,                       1101(a)(15)(H)(ii)(b), or the regulations
                                           likely to suffer irreparable harm in the                including potential wage and job losses                governing the standard H–2B cap,
                                           absence of a cap increase. Congress has                 by their U.S. workers, as well as other                authorizes the Secretary of Homeland
                                                                                                   adverse downstream economic effects.37                 Security in allocating additional H–2B
                                           expressed concern with the
                                                                                                   At the same time, the Secretary of                     visas under section 105 to require that
                                           unavailability of H–2B visas for
                                                                                                   Homeland Security believes it is                       employers establish a need above and
                                           employers that need workers to start late
                                                                                                   appropriate to condition receipt of                    beyond the normal standard under the
                                           in the fiscal year.32 In addition,
                                                                                                   supplemental visas on adherence to                     H–2B program, that is, an inability to
                                           members of Congress have sent                           additional worker protections,                         find sufficient qualified U.S. workers
                                           numerous letters to the Secretaries of                  particularly because of current national               willing and available to perform
                                           Homeland Security and Labor about the                   unemployment rates, as discussed                       services or labor and that the
                                           needs of some U.S. businesses for H–2B                  below.                                                 employment of the H–2B worker will
                                           workers (after the statutory cap for the                   The decision to afford the benefits of              not adversely affect the wages and
                                           second half of the fiscal year has been                 this temporary cap increase to U.S.                    working conditions of U.S. workers, see
                                           reached) and about the potentially                      businesses that need workers to avoid                  8 CFR 214.2(h)(6)(i)(A). DOL concurs
                                           negative impact on state and local                      irreparable harm and that will comply                  with this interpretation.
                                           economies if the cap is not increased.33                with additional worker protections,                       Second, the approach set forth in this
                                           U.S. businesses, chambers of commerce,                  rather than applying the cap increase to               rule limits the increase in a way that is
                                           employer organizations, and state and                   any and all businesses seeking                         similar to the implementation of the
                                           local elected officials have also written               temporary workers, is consistent with                  supplemental caps in fiscal years 2017,
                                           to the DHS and Labor Secretaries to                     section 105 of the FY 2021 Omnibus, as                 2018, and 2019, and provides
                                           express their concerns with the                         explained below. The Secretary of                      protections against adverse effects on
                                           unavailability of H–2B visas after the                  Homeland Security, in implementing                     U.S. workers that may result from a cap
                                           statutory cap has been reached.34 DHS                   section 105 and determining the scope                  increase. Although there is not enough
                                           held a stakeholder listening session on                                                                        time to conduct a more full and formal
                                           April 8, 2021, during and after which                     35 USCIS expects to post a recording of the
                                                                                                                                                          quantitative analysis of such adverse
                                                                                                   stakeholder listening engagement on its Electronic     effects, the Secretary has determined
                                           numerous small and seasonal business                    Reading Room, at https://www.uscis.gov/records/
                                           owners described the challenges they                    electronic-reading-room.                               that in the particular circumstances
                                           face absent the ability to secure H–2B                    36 See: Department of Labor, Bureau of Labor         presented here, it is appropriate, within
                                                                                                   Statistics, Labor Force Statistics from the Current    the limits discussed below, to tailor the
                                                                                                   Population Survey, Table A–30, available at https://   availability of this temporary cap
                                             32 In the Joint Explanatory Statement for the FY
                                                                                                   www.bls.gov/web/empsit/cpseea30.htm. According
                                           2018 DHS Consolidated Appropriations Act (Public        to the March 2021 Current Population Survey, the       increase to those businesses likely to
                                           Law 115–141), for example, Congress directed DHS,       unemployment rate for construction and                 suffer irreparable harm, in other words,
                                           in consultation with DOL, to report on options to       landscaping workers was 9.5 percent and 9.9            those facing permanent and severe
                                           improve the accessibility of H–2B visas for             percent, respectively, whereas the national
                                           employers that need workers to start late in the                                                               financial loss.
                                                                                                   unemployment rate was 6.2 percent.
                                           season. DHS submitted the report to Congress on           37 See, e.g., Impacts of the H–2B Visa Program for
                                                                                                                                                             As noted above, to address the
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                                           June 7, 2019. Congress made a similar request in the    Seasonal Workers on Maryland’s Seafood Industry        increased, and, in some cases, imminent
                                           Joint Explanatory Statement for the FY 2020 DHS         and Economy, Maryland Department of Agriculture        need for H–2B workers, for FY 2021, the
                                           Further Consolidated Appropriations Act (Public
                                           Law 116–94).
                                                                                                   Seafood Marketing Program and Chesapeake Bay           Secretary of Homeland Security has
                                                                                                   Seafood Industry Association (March 2, 2020),
                                             33 See the docket for this rulemaking for access to
                                                                                                   available at https://mda.maryland.gov/documents/
                                                                                                                                                          determined that employers may petition
                                           these letters.                                          2020-H2B-Impact-Study.pdf (last visited May 7,         for supplemental visas on behalf of up
                                             34 Id.                                                2021).                                                 to 16,000 workers who were issued an

                                                                                                                                                                                 AR00621
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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 240 of 350 PageID 4833
                                           28204                Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           H–2B visa or were otherwise granted H–                   these workers have generally followed                relatively small numbers of individuals
                                           2B status in FY 2018, 2019, or 2020.38                   immigration law in good faith and                    from the three Northern Triangle
                                           The last 3 fiscal years’ temporal                        demonstrated their willingness to return             countries who were previously granted
                                           limitation in the returning worker                       home after they have completed their                 H–2B visas in recent years.42 Absent
                                           definition in this temporary rule mirrors                temporary labor or services or their                 this exemption, there may be
                                           the temporal limitation Congress                         period of authorized stay, which is a                insufficient workers from these
                                           imposed in previous returning worker                     condition of H–2B status. The returning              countries, which means that the rule
                                           statutes.39 Such workers (in other                       worker condition therefore provides a                might thereby fail to achieve its
                                           words, those who recently participated                   basis to believe that H–2B workers                   intended policy objective, in other
                                           in the H–2B program) have previously                     under this cap increase will again abide             words, to provide additional temporary
                                           obtained H–2B visas and therefore have                   by the terms and conditions of their                 foreign workers for U.S. employers that
                                           been vetted by DOS, would have                           visa. The returning worker condition                 may suffer irreparable harm absent these
                                           departed the United States after their                   also benefits employers that seek to re-             workers, while also enhancing access to
                                           authorized period of stay as generally                   hire known and trusted workers who                   the H–2B visa classification for
                                           required by the terms of their                           have a proven positive employment                    individuals from the Northern Triangle
                                           nonimmigrant admission, and therefore                    track record while previously employed               countries.
                                           may obtain their new visas through DOS                   as workers in this country. While the                   Finally, this rule provides that
                                           and begin work more expeditiously.40                     Departments recognize that the                       employers seeking H–2B visas for
                                           DOS has informed DHS that, in general,                   returning worker requirement may limit               nationals of the Northern Triangle
                                           H–2B visa applicants who are able to                     to an extent the flexibility of employers            countries exempt from the returning
                                           demonstrate clearly that they have                       that might wish to hire non-returning                worker requirement must file their
                                           previously abided by the terms of their                  workers, the requirement provides an                 petitions with USCIS no later than July
                                           status granted by DHS have a higher                      important safeguard against H–2B                     8, 2021. If fewer petitions are received
                                           success rate when applying to renew                      abuse, which DHS considers to be a                   than needed to reach the 6,000
                                           their H–2B visas, as compared with the                   significant consideration.                           allocation by July 8, 2021, the remaining
                                           overall visa applicant pool from a given                    In allocating up to 6,000 H–2B visas              visas will be made available to returning
                                           country. For that reason, some consular                  to nationals of the Northern Triangle                workers, irrespective of their country of
                                           sections waive the in-person interview                   countries while making the remaining                 origin. USCIS will announce the
                                           requirement for H–2B applicants whose                    up to 16,000 H–2B initially available                availability and filing period for such
                                           visa expired within a specific timeframe                 visas available to qualified returning               remaining visas on its website,
                                           and who otherwise meet the strict                        workers, irrespective of their country of            uscis.gov, no later than July 23, 2021.
                                           limitations set out under INA section                    nationality, this rule strikes a balance             DHS believes that making any
                                           222(h), 8 U.S.C. 1202(h). We note that                   between furthering the U.S. foreign                  remaining visas available to returning
                                           DOS has, in response to the COVID–19                     policy interests of creating a                       workers after July 8, 2021 will provide
                                           pandemic, expanded interview waivers                     comprehensive framework—of which                     sufficient opportunity for their use by
                                           to some first-time H–2 applicants 41                     this allocation is one piece—to address              nationals of Northern Triangle countries
                                           potentially allowing some such                           and manage migration from the                        and also help ensure that supplemental
                                           applicants to be processed with                          Northern Triangle and addressing the                 H–2B visas do not go unused if there is
                                           increased efficiency. However, there is                  needs of certain H–2B employers at risk              insufficient demand from employers
                                           no indication that this temporary, short-                of suffering from irreparable harm. The              seeking or able to employ nationals of
                                           term measure will necessarily affect the                 United States has strong foreign policy              Northern Triangle countries.
                                           overall success rates of applicants,                     interests in initially allocating up to                 For all petitions filed under this rule
                                           which DOS has indicated is higher for                    6,000 supplemental visas only to                     and the H–2B program, generally,
                                           returning workers who can demonstrate                    nationals of the Northern Triangle                   employers must establish, among other
                                           prior compliance with the program.                       countries and exempting such persons                 requirements, that insufficient qualified
                                             Limiting the supplemental cap to                       from the returning worker requirement.               U.S. workers are available to fill the
                                           returning workers is beneficial because                  The Secretary of Homeland Security has               petitioning H–2B employer’s job
                                                                                                    determined that both the 6,000                       opportunity and that the foreign
                                             38 DHS believes that this temporal limitation is
                                                                                                    limitation and the exemption from the                worker’s employment in the job
                                           appropriate even though H–2B visa issuances and          returning worker requirement for
                                           admissions were lower in FY 2020 than in previous                                                             opportunity will not adversely affect the
                                           years, likely due to the impacts of COVID–19 as          nationals of the Northern Triangle                   wages or working conditions of
                                           DHS believes that there will still be a sufficient       countries is beneficial in light of                  similarly-employed U.S. workers. INA
                                           number of returning workers available to U.S.            President Biden’s February 2, 2021 E.O.              section 214(c)(1), 8 U.S.C. 1184(c)(1); 8
                                           employers to use the 16,000 additional visas             14010, which instructed the Secretary of
                                           authorized by this rule.                                                                                      CFR 214.2(h)(6)(iii)(A) and (D); 20 CFR
                                             39 Consolidated Appropriations Act, 2016, Public       Homeland Security and the Secretary of               655.1. To meet this standard of
                                           Law 114–113, div. F, tit. V, sec 565; John Warner        State to implement measures to enhance               protection for U.S. workers and, in order
                                           National Defense Authorization Act for Fiscal Year       access for individuals of the Northern               to be eligible for additional visas under
                                           2007, Public Law 109–364, div. A, tit. X, sec. 1074,     Triangle countries to visa programs, as
                                           (2006); Save Our Small and Seasonal Businesses                                                                this rule, employers must have applied
                                           Act of 2005, Public Law. 109–13, div. B, tit. IV, sec.   appropriate and consistent with                      for and received a valid TLC in
                                           402.                                                     applicable law. In response to this                  accordance with 8 CFR
                                             40 Non-returning workers cannot meet the               executive order, DHS seeks to promote                214.2(h)(6)(iv)(A) and (D) and 20 CFR
                                           statutory criteria under INA section 222(h)(1)(B) for    and improve safety, security, and
                                           an interview waiver. The previous review of an
                                           applicant’s qualifications and current evidence of       economic stability throughout the                      42 DOS issued a combined total of approximately
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                                           lawful travel to the United States will generally lead   region, and work with these countries to             26,600 H–2B visas to nationals of the Northern
                                           to a shorter processing time of a renewal                stem the flow of irregular migration in              Triangle countries from FY 2015 through FY 2020,
                                           application.                                             the region and enhance access to visa                combined, approximately 4,400 per year. DOS
                                             41 DOS, Important Announcement on H2 Visas,                                                                 Monthly NIV Issuances by Nationality and Visa
                                           https://travel.state.gov/content/travel/en/News/
                                                                                                    programs.                                            Class; https://travel.state.gov/content/travel/en/
                                           visas-news/important-announcement-on-h2-                    The exemption from the returning                  legal/visa-law0/visa-statistics/nonimmigrant-visa-
                                           visas.html (last updated Mar. 26, 2020).                 worker requirement recognizes the                    statistics.html (last visited April 11, 2021).


                                                                                                                                                                                     AR00622
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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 241 of 350 PageID 4834
                                                               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                                   28205

                                           part 655, subpart A. Under DOL’s H–2B                   economic conditions; the increased                     the time remaining in FY 2021. On the
                                           regulations, TLCs are valid only for the                demand for supplemental visas from FY                  basis of these considerations, DHS
                                           period of employment certified by DOL                   2017 to FY 2019; H–2B returning worker                 determined that it would be appropriate
                                           and expire on the last day of authorized                data; the amount of time remaining for                 to make additional visas available and
                                           employment. 20 CFR 655.55(a).                           employers to hire and obtain H–2B                      to limit the supplemental cap to up to
                                             In order to have a valid TLC,                         workers in the fiscal year; congressional              22,000. The Secretary further
                                           therefore, the employment start date on                 concerns such as the one demonstrated                  considered the objectives of E.O. 14010,
                                           the employer’s H–2B petition must not                   by the FY 2018 and FY 2020 Joint                       which among other initiatives, instructs
                                           be different from the employment start                  Explanatory Statements where Congress                  the Secretary of Homeland Security and
                                           date certified by DOL on the TLC. See                   directed DHS, in consultation with                     the Secretary of State to implement
                                           8 CFR 214.2(h)(6)(iv)(D). Under                         DOL, to consider options that would                    measures to enhance access to visa
                                           generally applicable DHS regulations,                   help address the unavailability of H–2B                programs for individuals from the
                                           the only exception to this requirement                  visas for late-season employers; and the
                                           applies when an employer files an                                                                              Northern Triangle, and determined that
                                                                                                   objectives of E.O. 14010. DHS believes
                                           amended visa petition, accompanied by                                                                          reserving up to 6,000 of the up to 22,000
                                                                                                   the numerical increase both addresses
                                           a copy of the previously approved TLC                   the needs of U.S. businesses and, as                   additional visas and exempting this
                                           and a copy of the initial visa petition                 explained in more detail below, furthers               number from the returning worker
                                           approval notice, at a later date to                     the foreign policy interests of the United             requirement would be appropriate.
                                           substitute workers as set forth under 8                 States. Additional provisions address                     In past years, the number of
                                           CFR 214.2(h)(6)(viii)(B). This rule also                the need to protect workers, such as                   beneficiaries covered by H–2B petitions
                                           requires additional recruitment for                     informing them of access to COVID–19                   filed exceeded the number of additional
                                           certain petitioners, as discussed below.                vaccines and requiring additional                      visas allocated under the two most
                                             In sum, this rule increases the FY                    recruitment efforts.                                   recent supplemental caps. In FY 2018,
                                           2021 numerical limitation by up to                         Section 105 of the FY 2021 Omnibus                  USCIS received petitions for
                                           22,000 visas, but also restricts the                    sets the highest number of H–2B                        approximately 29,000 beneficiaries
                                           availability of those additional visas by               returning workers who were exempt                      during the first 5 business days of filing
                                           prioritizing only the most significant                  from the cap in certain previous years                 for the 15,000 supplemental cap. USCIS
                                           business needs, and limiting eligibility                as the maximum limit for any increase                  therefore conducted a lottery on June 7,
                                           to H–2B returning workers, unless the                   in the H–2B numerical limitation for FY
                                                                                                                                                          2018, to randomly select petitions that
                                           worker is a national of one of the                      2021.44 Consistent with the statute’s
                                           Northern Triangle countries counted                                                                            would be accepted under the
                                                                                                   reference to H–2B returning workers, in
                                           towards the 6,000 allocation that are                                                                          supplemental cap. Of the petitions that
                                                                                                   determining the appropriate number by
                                           exempt from the returning worker                        which to increase the H–2B numerical                   were selected, USCIS issued approvals
                                           limitation. These provisions are each                   limitation, the Secretary of Homeland                  for 15,672 beneficiaries.45 In FY 2019,
                                           described in turn below.                                Security focused on the number of visas                USCIS received sufficient petitions for
                                                                                                   allocated to such workers in years in                  the 30,000 supplemental cap on June 5,
                                           B. Numerical Increase and Allocation of                                                                        2019, but did not conduct a lottery to
                                           up to 22,000 Visas                                      which Congress enacted returning
                                                                                                   worker exemptions from the H–2B                        randomly select petitions that would be
                                             The increase of up to 22,000 visas will               numerical limitation. During each of the               accepted under the supplemental cap.
                                           help address the urgent needs of eligible               years the returning worker provision                   Of the petitions received, USCIS issued
                                           employers for additional H–2B workers                   was in force, U.S. employers’ standard                 approvals for 32,717 beneficiaries.46
                                           for the remainder of FY 2021.43 The                     business needs for H–2B workers                           Available data clearly indicate a need
                                           determination to allow up to 22,000                     exceeded the statutory 66,000 cap. The                 for supplemental H–2B visas in FY
                                           additional H–2B visas reflects a                        highest number of H–2B returning
                                           balancing of a number of factors                                                                               2021. As noted above, in FY 2021, based
                                                                                                   workers approved was 64,716 in FY                      on TLC applications filed during the 3-
                                           including the demand for H–2B visas for                 2007. In setting the number of
                                           the second half of FY 2021; current                                                                            day filing window of January 1 through
                                                                                                   additional H–2B visas to be made                       3, 2021, DOL’s Office of Foreign Labor
                                                                                                   available during FY 2021, DHS
                                              43 In contrast with section 214(g)(1) of the INA,                                                           Certification (OFLC) received requests
                                                                                                   considered this number, overall
                                           8 U.S.C. 1184(g)(1), which establishes a cap on the                                                            to certify 96,641 worker positions, from
                                           number of individuals who may be issued visas or        indications of increased need, the
                                                                                                                                                          5,377 H–2B applications, for start dates
                                           otherwise provided H–2B status, and section             availability of U.S. workers during this
                                           214(g)(10) of the INA, 8 U.S.C. 1184(g)(10)             period of high unemployment, as
                                                                                                                                                             45 USCIS recognizes it may have received
                                           (emphasis added), which imposes a first half of the     discussed below, Congress’s prior
                                           fiscal year cap on H–2B issuance with respect to the                                                           petitions for more than 29,000 supplemental H–2B
                                           number of individuals who may be issued visas or        direction that DHS review options for                  workers if the cap had not been exceeded within
                                           are accorded [H–2B] status’’ (emphasis added),          addressing the problem of unavailability               the first 5 days of opening. However, DHS estimates
                                           section 105 only authorizes DHS to increase the         of H–2B visas for businesses that need                 that not all of the 29,000 workers requested under
                                           number of available H–2B visas. Accordingly, DHS                                                               the FY 2018 supplemental cap would have been
                                                                                                   workers to start work late in a                        approved and/or issued visas. For instance,
                                           will not permit individuals authorized for H–2B
                                           status pursuant to an H–2B petition approved under      semiannual period of availability, and                 although DHS approved petitions for 15,672
                                           section 105 to change to H–2B status from another                                                              beneficiaries under the FY 2018 cap increase, the
                                           nonimmigrant status. See INA section 248, 8 U.S.C.        44 During fiscal years 2005 to 2007, and 2016,       Department of State data shows that as of January
                                           1258; see also 8 CFR part 248. If a petitioner files    Congress enacted ‘‘returning worker’’ exemptions to    15, 2019, it issued only 12,243 visas under that cap
                                           a petition seeking H–2B workers in accordance with      the H–2B visa cap, allowing workers who were           increase. Similarly, DHS approved petitions for
                                           this rule and requests a change of status on behalf     counted against the H–2B cap in one of the three       12,294 beneficiaries under the FY 2017 cap
                                           of someone in the United States, the change of          preceding fiscal years not to be counted against the   increase, but the Department of State data shows
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                                           status request will be denied, but the petition will    upcoming fiscal year cap. Save Our Small and           that it issued only 9,160 visas.
                                           be adjudicated in accordance with applicable DHS        Seasonal Businesses Act of 2005, Public Law 109–          46 The number of approved workers exceeded the

                                           regulations. Any noncitizen authorized for H–2B         13, Sec. 402 (May 11, 2005); John Warner National      number of additional visas authorized for FY 2018
                                           status under the approved petition would need to        Defense Authorization Act, Public Law 109–364,         and FY 2019 to allow for the possibility that some
                                           obtain the necessary H–2B visa at a consular post       Sec. 1074 (Oct. 17, 2006); Consolidated                approved workers would either not seek a visa or
                                           abroad and then seek admission to the United            Appropriations Act of 2016, Public Law 114–113,        admission, would not be issued a visa, or would not
                                           States in H–2B status at a port of entry.               Sec. 565 (Dec. 18, 2015).                              be admitted to the United States.


                                                                                                                                                                                       AR00623
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                                           28206                Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           of work on April 1, 2021.47 USCIS, in                   believes that it is appropriate to issue              occupations are more susceptible to job
                                           turn, received sufficient H–2B petitions                additional H–2B visas for the remainder               instability and labor market variability.
                                           to reach the second half of the fiscal                  of FY 2021. While the economic impacts                Amongst the occupations most
                                           year statutory cap by February 12,                      of COVID–19 continue to be felt, real                 commonly associated with the H–2B
                                           2021.48 This is similar to the level of                 gross domestic product (GDP) grew                     program, the unemployment rate has
                                           demand in FY 2020, when OFLC                            significantly in the third and fourth                 displayed a wide degree of variance.
                                           received requests to certify 99,362                     quarters of 2020.56 Economists project                Whereas the pre-pandemic
                                           worker positions for start dates of work                that this economic growth will continue               unemployment rate for the U.S. was 3.5
                                           on April 1, 2020,49 and USCIS received                  throughout FY 2021 and beyond.57                      percent, the unemployment rate across
                                           sufficient H–2B petitions to reach the                  Similarly, the unemployment rate,                     the top 25 occupations most commonly
                                           second half of the fiscal year statutory                while still not at pre-pandemic levels,               associated with the H–2B program sat at
                                           cap by February 18, 2020.50 On March                    improved from 14.7 percent in April                   6.82 percent.63 Currently the average
                                           4, 2020, DHS announced that it would                    2020 58 to 6.0 percent in March 2021.                 unemployment rate across these
                                           make available 35,000 supplemental H–                   (Note, however, that higher                           occupations is 8.93 percent. The current
                                           2B visas for the second half of fiscal                  unemployment in the top H–2B                          unemployment rate for Landscaping and
                                           year.51 However, on March 13, 2020,                     occupations remains.59)                               Groundskeeping Workers (the single
                                           then-President Trump declared a                            In March 2020, the U.S. labor market               largest occupation that uses the H–2B
                                           National Emergency concerning the                       was severely affected by the onset of the             program) is 7.8 percent, followed by
                                           COVID–19 outbreak to control the                        COVID–19 pandemic, pushing the                        Amusement and Recreation Attendants
                                           spread of the virus in the United                       national unemployment rate to near                    at 9.3 percent, and 7.1 percent for Meat,
                                           States.52 On April 2, 2020, DHS                         record levels and resulting in millions               Poultry, and Fish Cutters.64
                                           announced that the rule to increase the                 of U.S. workers being displaced from                     From March 2020 through March
                                           H–2B cap was on hold due to economic                    work. At the beginning of March 2020,                 2021, approximately 1 million U.S.
                                           circumstances, and no additional H–2B                   the national unemployment rate was 3.5                workers have been displaced across
                                           visas would be released until further                   percent with an estimated 5.8 million                 occupations that are predominantly
                                           notice.53 DHS also noted that DOS had                   people categorized as unemployed.60                   used in the H–2B program.65 Because of
                                           suspended routine visa services.54                      This continued a 6-month trend of the                 the higher unemployment rate of these
                                              Although the public health emergency                 unemployment rate sitting at or below                 occupations for U.S. workers, there is an
                                           due to COVID–19 still exists,55 DHS                     3.5 percent. However, by the end of                   increased likelihood that more U.S.
                                                                                                   April 2020, the unemployment rate                     workers could be available to work in
                                              47 DOL announcement on January 7, 2021. See
                                                                                                   increased from 4.4 percent to a peak of               H–2B jobs. The Departments
                                           https://www.foreignlaborcert.doleta.gov/ (last                                                                acknowledge that it is challenging to
                                           accessed on February 24, 2021).                         14.7 percent. The 10.3 percent increase
                                              48 On February 24, 2021, USCIS announced that        in the unemployment rate is the largest               extrapolate, from national
                                           it had received a sufficient number of petitions to     recorded month-to-month increase in                   unemployment rates in occupations,
                                           reach the congressionally mandated H–2B cap for         the rate and coincided with total                     precise estimates regarding the
                                           the second half of FY 2021. See https://
                                                                                                   employment declining 20.5 million in                  availability of U.S. workers for any
                                           www.uscis.gov/news/alerts/h-2b-cap-reached-for-                                                               particular job opportunity and in any
                                           second-half-of-fy-2021 (Feb. 24, 2021). On February     April 2020.61 As of April 2021, the U.S.
                                           12, 2021, the number of beneficiaries listed on         unemployment rate sat at 6.0 percent.                 particular geographic area. The
                                           petitions received by USCIS surpassed the total         While this is a considerable decline                  additional procedures contained in this
                                           number of remaining H–2B visas available against
                                                                                                   from the prior year’s rate, it remains 2.5            rule, including the attestation
                                           the H–2B statutory cap for the second half of FY                                                              requirements and DOL procedures,
                                           2021. In accordance with regulations, USCIS             percent above the pre-pandemic
                                           determined it was necessary to use a computer-          unemployment rate, and the number of                  provide appropriate protections for U.S.
                                           generated process, commonly known as a lottery, to      unemployed persons is currently 9.7                   workers within the context of that
                                           ensure the fair and orderly allocation of H–2B visa
                                                                                                   million people which is 4 million                     uncertainty.
                                           numbers to meet, but not exceed, the remainder of                                                                Finally, while DOS temporarily
                                           the FY 2021 cap. 8 CFR 214.2(h)(8)(vii). On             people higher than it was at the
                                                                                                                                                         suspended routine immigrant and
                                           February 17, 2021, USCIS conducted a lottery to         beginning of March 2020. A February
                                           randomly select petitions from those received on                                                              nonimmigrant visa services at all U.S.
                                                                                                   2021 Congressional Budget Office
                                           February 12, 2021. As a result, USCIS assigned all                                                            Embassies and Consulates on March 20,
                                                                                                   outlook of the labor market projects that
                                           petitions selected in the lottery the receipt date of                                                         2020, it subsequently announced a
                                           February 17, 2021.                                      a full recovery to pre-pandemic levels of
                                                                                                                                                         phased resumption of visa services 66
                                              49 DOL announcement on January 6, 2020. OFLC         employment could take in excess of 3                  and indicated it would continue
                                           Conducts Randomization Process on H–2B                  years.62
                                           Applications Requesting an April 1, 2020, Work             Typically H–2B occupations are                        63 See https://www.bls.gov/web/empsit/
                                           Start Date, https://flag.dol.gov/announcements/01-
                                           06-2020.                                                cyclical jobs, and U.S. workers in these              cpseea30.htm. The unemployment rates for the top
                                              50 H–2B Cap Reached for Second Half of FY2020,                                                             25 H–2B occupations were obtained by identifying
                                           Feb. 26, 2020, https://www.uscis.gov/news/alerts/h-       56 https://www.bea.gov/news/glance.                 the top occupations based on OFLC performance
                                           2b-cap-reached-for-second-half-of-fy2020.                 57 https://www.bloomberg.com/news/articles/         data.
                                                                                                                                                            64 See 2021 Q2 OFLC Performance data: https://
                                              51 DHS to Improve Integrity of Visa Program for      2021-02-12/charting-the-global-economy-u-s-
                                           Foreign Workers, March 5, 2020, https://                growth-forecasts-upgraded.                            www.dol.gov/sites/dolgov/files/ETA/oflc/pdfs/H-
                                           www.dhs.gov/news/2020/03/05/dhs-improve-                  58 https://www.bls.gov/opub/ted/2020/               2B_Disclosure_Data_FY2021_Q2.xlsx and OFLC
                                                                                                                                                         2021 Q2 Selected statistics https://www.dol.gov/
                                           integrity-visa-program-foreign-workers.                 unemployment-rate-rises-to-record-high-14-point-7-
                                                                                                                                                         sites/dolgov/files/ETA/oflc/pdfs/H-2B_Selected_
                                              52 Proclamation 9994 of Mar. 13, 2020, Declaring     percent-in-april-2020.htm
                                                                                                     59 Department of Labor, Bureau of Labor
                                                                                                                                                         Statistics_FY2021_Q2.pdf
                                           a National Emergency Concerning the Coronavirus                                                                  65 See https://www.bls.gov/web/empsit/
                                           Disease (COVID–19) Outbreak, 85 FR 15337 (Mar.          Statistics, The Employment Situation, March 2021.
                                                                                                                                                         cpseea30.htm. The number of displaced workers
                                           18, 2020).                                              Available at https://www.bls.gov/news.release/        within the most commonly held H–2B occupations
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                                              53 https://twitter.com/DHSgov/status/                archives/empsit_04022021.htm.                         were obtained by identifying the top occupations
                                           1245745115458568192?s=20.                                 60 https://www.bls.gov/news.release/archives/
                                                                                                                                                         based on OFLC performance data and comparing
                                              54 Id.                                               empsit_03062020.pdf.                                  those occupations to unemployment data from BLS.
                                              55 See HHS Renewal of Determination That A             61 https://www.bls.gov/news.release/archives/          66 DOS, Suspension of Routine Visa Services,

                                           Public Health Emergency Exists, https://                empsit_05082020.pdf.                                  https://travel.state.gov/content/travel/en/News/
                                           www.phe.gov/emergency/news/healthactions/phe/             62 https://www.cbo.gov/system/files/2021-02/        visas-news/suspension-of-routine-visa-services.html
                                           Pages/COVID-15April2021.aspx (Apr. 15, 2021).           56965-Economic-Outlook.pdf.                           (last updated July 22, 2020).


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                                                                Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                         28207

                                           processing H–2 cases as much as                          public of the dates that USCIS has                   will be sufficient numbers of returning
                                           possible, as permitted by post resources                 received the necessary number of                     workers to meet the needs of employers
                                           and local government restrictions, and                   petitions (the ‘‘final receipt dates’’) for          and fully utilize the additional 16,000
                                           expanded the categories of H–2 visa                      each of these scenarios. The day the                 visas, and thus the temporal limitation
                                           applicants whose applications can be                     public is notified will not control the              remains appropriate. Returning workers
                                           adjudicated without an in-person                         final receipt dates. Moreover, USCIS                 have previously obtained H–2B visas
                                           interview.67 In addition, Presidential                   may randomly select, via computer-                   and therefore been vetted by DOS,
                                           Proclamation 10052, which temporarily                    generated selection, from among the                  would have departed the United States
                                           suspended the entry of certain                           petitions received on the final receipt              after their authorized period of stay as
                                           nonimmigrants, including certain H–2B                    date the remaining number of petitions               generally required by the terms of their
                                           nonimmigrants, expired on March 31,                      deemed necessary to generate the                     nonimmigrant admission, and therefore
                                           2021.68 Given the level of demand for                    numerical limit of approvals for each of             may have a higher likelihood of success
                                           H–2B workers, the continued and                          the scenarios involving numerical                    in obtaining their new visas through
                                           projected economic recovery, the                         limitations to the supplemental cap.                 DOS, possibly without a required
                                           continued and projected job growth, and                  USCIS may, but will not necessarily,                 interview, and begin work more
                                           the resumption of visa processing                        conduct a lottery if: The 16,000                     expeditiously.
                                           services and the expiration of the                       supplemental cap visas for returning                    To ensure compliance with the
                                           suspension of entry of H–2B                              workers is reached before September 15,              requirement that additional visas only
                                           nonimmigrants, DHS believes it is                        2021; the 6,000 visas limited to                     be made available to returning workers,
                                           appropriate to release additional visas at               nationals of the Northern Triangle                   petitioners seeking H–2B workers under
                                           this time. Further, DHS believes that                    countries is reached before July 8, 2021;            the supplemental cap will be required to
                                           22,000 is an appropriate number of visas                 or the cap for any remaining visas from              attest that each employee requested or
                                           for the reasons discussed above.                         the Northern Triangle allotment made                 instructed to apply for a visa under the
                                              Finally, recognizing the high demand                  available to returning workers regardless            FY 2021 supplemental cap was issued
                                           for H–2B visas, it is plausible that the                 of the country of nationality, is reached            an H–2B visa or otherwise granted
                                           additional H–2B allocations provided in                  before September 15, 2021. Finally,                  H–2B status in FY 2018, 2019, or 2020,
                                           this rule will be reached prior to the end               similar to the processes applicable to               unless the H–2B worker is a national of
                                           of the fiscal year. Specifically, the                    the H–2B statutory cap, if the final                 one of the Northern Triangle countries
                                           following scenarios may still occur:                     receipt date is any of the first 5 business          and is counted towards the 6,000 cap.
                                              • The 16,000 supplemental cap visas                   days on which petitions subject to the               This attestation will serve as prima facie
                                           limited to returning workers that will be                applicable numerical limit may be                    initial evidence to DHS that each
                                           immediately available for employers                      received (in other words, if the                     worker, unless a national of one of the
                                           will be reached before September 15,                     numerical limit is reached on any one                Northern Triangle countries who is
                                           2021.                                                    of the first 5 business days that filings            counted against the 6,000 cap, meets the
                                              • The 6,000 supplemental cap visas                    can be made), USCIS will randomly                    returning worker requirement. DHS and
                                           limited to nationals of the Northern                     apply all of the numbers among the                   DOS retain the right to review and
                                           Triangle countries will be reached                       petitions received on any of those 5                 verify that each beneficiary is in fact a
                                           before July 8, 2021.                                     business days.                                       returning worker any time before and
                                              • The cap for any remaining visas                                                                          after approval of the petition or visa.
                                           from the Northern Triangle allotment                     C. Returning Workers                                 DHS has authority to review and verify
                                           made available to returning workers                         Similar to the temporary increase in              this attestation during the course of an
                                           after July 8, 2021,regardless of the                     FY 2019, the Secretary of Homeland                   audit or investigation.
                                           country of nationality, will be reached                  Security has determined that the
                                           before September 15, 2021.                               supplemental visas should be granted to              D. Returning Worker Exemption for up
                                              DHS regulation, 8 CFR                                 returning workers from the past 3 fiscal             to 6,000 Visas for Nationals of
                                           214.2(h)(6)(x)(E), reaffirms the use of the              years, in order to meet the immediate                Guatemala, El Salvador, and Honduras
                                           processes that are in place when H–2B                    need for H–2B workers, unless the                    (Northern Triangle Countries)
                                           numerical limitations under INA section                  H–2B worker is a national of one of the                As described above, the Secretary of
                                           214(g)(1)(B) or (g)(10), 8 U.S.C.                        Northern Triangle countries and is                   Homeland Security has determined that
                                           1184(g)(1)(B) or (g)(10), are reached, as                counted towards the separate 6,000 cap               up to 6,000 additional H–2B visas will
                                           applicable to each of the scenarios                      for such workers. The Secretary has                  be limited to workers who are nationals
                                           described above that involve numerical                   determined that, for purposes of this                of one of the Northern Triangle
                                           limitations of the supplemental cap.                     program, H–2B returning workers                      countries. These 6,000 visas will be
                                           Specifically, for each of the scenarios                  include those individuals who were                   exempt from the returning worker
                                           mentioned above, DHS will monitor                        issued an H–2B visa or were otherwise                requirement. If the 6,000 visa limit has
                                           petitions received, and make projections                 granted H–2B status in FY 2018, 2019,                been reached and the 16,000 cap has
                                           of the number of petitions necessary to                  or 2020. As discussed above, the                     not, petitioners may continue to request
                                           achieve the projected numerical limit of                 Secretary determined that limiting                   workers who are nationals of one of the
                                           approvals. USCIS will also notify the                    returning workers to those who were                  Northern Triangle countries, but these
                                                                                                    issued an H–2B visa or granted H–2B                  noncitizens must be specifically
                                              67 DOS, Expansion of Interview Waiver Eligibility,
                                                                                                    status in the past three fiscal years is             requested as returning workers who
                                           https://travel.state.gov/content/travel/en/News/         appropriate as it mirrors the standard               were issued H–2B visas or were
                                           visas-news/expansion-of-interview-waiver-
                                           eligibility.html (last updated Mar. 11, 2021); DOS,      that Congress designated in previous                 otherwise granted H–2B status in FY
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                                           Important Announcement on H2 Visas, https://             returning worker provisions. DHS                     2018, 2019, or 2020. Alternatively, if the
                                           travel.state.gov/content/travel/en/News/visas-news/      acknowledges that H–2B visa issuances                returning worker exemption cap
                                           important-announcement-on-h2-visas.html (last            and admissions were lower in the                     initially reserved for nationals from the
                                           updated Mar. 26, 2020).
                                              68 https://travel.state.gov/content/travel/en/News/   second half of FY 2021 than in recent                Northern Triangle remains unfilled on
                                           visas-news/update-on-presidential-proclamation-          fiscal years, likely as a result of COVID–           July 8, 2021, the remaining H–2B visas
                                           10052.html                                               19. However, DHS believes that there                 will be made available to workers

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                                           28208               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           irrespective of their home country, but                 safe and lawful immigration to the                         temporary service or labor, and does not
                                           these noncitizens must be returning                     United States.                                             address the harm a petitioner may face
                                           workers. USCIS will announce the                          Similar to the discussion above                          in the absence of such workers; the
                                           availability of the remainder of the                    regarding returning workers, DOS will                      attestation addresses this question. The
                                           allocation on the USCIS website at                      work with the relevant countries to                        attestation must be submitted directly to
                                           uscis.gov no later than July 23, 2021.                  facilitate consular interviews, as                         USCIS, together with Form I–129, the
                                              DHS has determined that reserving                    required,70 and channels for reporting                     approved and valid TLC, and any other
                                           6,000 supplemental H–2B visas for                       incidents of fraud and abuse within the                    necessary documentation. As in the
                                           nationals of the Northern Triangle                      H–2 programs. Further, each country’s                      rules implementing the FY 2017, FY
                                           countries—a number significantly                        own consular networks will maintain                        2018, and FY 2019 temporary cap
                                           higher than the average annual number                   contact with the workers while in the                      increases, employers will be required to
                                           of visas issued to such persons in the                  United States and ensure the workers                       complete the new attestation form
                                           past 6 fiscal years—will encourage U.S.                 know their rights and responsibilities                     which can be found at: https://
                                           employers who face a likelihood of                      under the U.S. immigration laws, which                     www.foreignlaborcert.doleta.gov/
                                           irreparable harm to seek out workers                    are all valuable protections to the                        form.cfm.72
                                           from such countries, while, at the same                 immigration system, U.S. employers,                           The attestation form will serve as
                                           time, increase interest among nationals                 U.S. workers, and workers entering the                     prima facie initial evidence to DHS that
                                           of the Northern Triangle countries                      country on H–2 visas.                                      the petitioner’s business is likely to
                                           seeking temporary employment in the                       Nothing in this rule will limit the                      suffer irreparable harm. Any petition
                                           United States. DOS issued a combined                    authority of DHS or DOS to deny,                           requesting H–2B workers under the FY
                                           total of approximately 26,600 H–2B                      revoke, or take any other lawful action                    2021 supplemental cap that is received
                                           visas to nationals of the Northern                      with respect to an H–2B petition or visa                   lacking the requisite attestation form
                                           Triangle countries from FY 2015                         application at any time before or after                    may be, as applicable, rejected in
                                           through FY 2020, an average of                          approval of the H–2B petition or visa                      accordance with 8 CFR 103.2(a)(7)(ii) or
                                           approximately 4,400 per year.69 As                      application.                                               denied in accordance with 8 CFR
                                           previously stated, DHS has determined                   E. Business Need Standard—Irreparable                      103.2(b)(8)(ii). Although this regulation
                                           that the additional increase will not                   Harm and FY 2021 Attestation                               does not require submission of evidence
                                           only provide U.S. businesses who have                                                                              at the time of filing of the petition, other
                                                                                                      To file any H–2B petition under this                    than an attestation, the employer must
                                           been unable to find qualified and
                                                                                                   rule during the remainder of FY 2021,                      have such evidence on hand and ready
                                           available U.S. workers with potential
                                                                                                   petitioners must meet all existing H–2B                    to present to DHS or DOL at any time
                                           workers, but also promote lawful
                                                                                                   eligibility requirements, including                        starting with the date of filing the I–129
                                           immigration and lawful employment
                                                                                                   having an approved, valid, and                             petition, through the prescribed
                                           authorization for Northern Triangle                     unexpired TLC. See 8 CFR 214.2(h)(6)
                                           nationals.                                                                                                         document retention period discussed
                                                                                                   and 20 CFR part 655, subpart A. In                         below. In fact, the Departments intend
                                              While DHS reiterates the importance
                                                                                                   addition, the petitioner must submit an                    to select a significant number of
                                           of limiting the general supplemental cap
                                                                                                   attestation to USCIS in which the                          petitions approved for audit
                                           exclusively to returning workers, for the
                                                                                                   petitioner affirms, under penalty of                       examination to verify compliance with
                                           reasons stated previously, the Secretary
                                                                                                   perjury, that it meets the business need                   program requirements, including the
                                           has determined that the exemption from
                                                                                                   standard. Under that standard, the                         irreparable harm standard and
                                           the returning worker requirement for
                                                                                                   petitioner must be able to establish that,                 recruitment provisions implemented
                                           nationals of the Northern Triangle
                                                                                                   if it does not receive all of the workers                  through this rule. Failure to provide
                                           countries is beneficial for the following
                                                                                                   requested under the cap increase,71 it is                  evidence demonstrating irreparable
                                           reasons. It strikes a balance between
                                                                                                   likely to suffer irreparable harm, that is,                harm or to comply with the audit
                                           furthering the U.S. foreign policy
                                                                                                   permanent and severe financial loss.                       process may be considered a substantial
                                           interests of expanding access to lawful
                                                                                                   The TLC process focuses on establishing                    violation resulting in an adverse agency
                                           pathways in the United States for
                                                                                                   whether a petitioner has a temporary                       action on the employer, including
                                           Northern Triangle nationals and
                                                                                                   need for workers and whether there are                     revocation of the petition and/or TLC or
                                           addressing the needs of certain H–2B
                                                                                                   U.S. workers who are able, willing,                        program debarment. Similarly, failure to
                                           employers at risk of suffering from
                                                                                                   qualified, and available to perform the                    cooperate with any compliance review,
                                           irreparable harm. This policy initiative
                                           would also support the strategies for the                                                                          evaluation, verification, or inspection
                                           region described in E.O. 14010, which
                                                                                                      70 As noted previously, some consular sections
                                                                                                                                                              conducted by DHS or DOL as required
                                                                                                   waive the in-person interview requirement for H–           by 8 CFR 214.2(h)(6)(x)(B)(2)(vi) and
                                           directs DHS to implement efforts to                     2B applicants whose prior visa expired within a
                                           expand access to lawful immigration to                  specific timeframe and who otherwise meet the              (vii), respectively, may constitute a
                                                                                                   strict limitations set out under INA section 222(h),       violation of the terms and conditions of
                                           the United States, including visa                       8 U.S.C. 1202(h) and, as an effort to reduce the risk      an approved petition and lead to
                                           programs, as appropriate and consistent                 of COVID–19 transmission, DOS recently expanded            petition revocation under 8 CFR
                                           with the law through both protection-                   the ability of consular officers to waive the in-
                                                                                                                                                              214.2(h)(11)(iii)(A)(3).
                                           related and non-protection related                      person interview requirement for individuals
                                                                                                                                                                 In addition to the statement regarding
                                                                                                   applying for a nonimmigrant visa in the same
                                           programs. The availability of workers                   classification. DOS, Expansion of Interview Waiver         the irreparable harm standard, the
                                           from the Northern Triangle countries                    Eligibility, https://travel.state.gov/content/travel/en/
                                           may help provide U.S. employers with                    News/visas-news/expansion-of-interview-waiver-               72 This portion of the temporary rule does not
                                           additional labor from neighboring                       eligibility.html (last updated Mar. 11, 2021).             apply to workers who have already been counted
                                                                                                      71 An employer may request fewer workers on the
                                           countries who are committed to working                                                                             under the fiscal year 2021 H–2B statutory cap
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                                                                                                   H–2B petition than the number of workers listed on         (66,000). Further, this portion of the rule does not
                                           with the United States and also promote                 the TLC. See Instructions for Petition for                 apply to noncitizens who are exempt from the fiscal
                                                                                                   Nonimmigrant Worker, providing that ‘‘the total            year 2021 H–2B statutory cap, including those who
                                             69 DOS Monthly NIV Issuances by Nationality and       number of workers you request on the petition must         are extending their stay in H–2B status.
                                           Visa Class; https://travel.state.gov/content/travel/    not exceed the number of workers approved by the           Accordingly, petitioners who are filing on behalf of
                                           en/legal/visa-law0/visa-statistics/nonimmigrant-        Department of Labor or Guam Department of Labor,           such workers are not subject to the attestation
                                           visa-statistics.html (last visited April 11, 2021).     if required, on the temporary labor certification.’’       requirement.


                                                                                                                                                                                           AR00626
                                      VerDate Sep<11>2014   19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00012   Fmt 4701    Sfmt 4700   E:\FR\FM\25MYR2.SGM      25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 245 of 350 PageID 4838
                                                               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                           28209

                                           attestation submitted to USCIS will also                recruitment required under this rule for              relevant tax records, employment
                                           state that the employer meets all other                 a period of 3 years. See new 20 CFR                   records, or other similar documents
                                           eligibility criteria for the available visas,           655.68. Although the employer must                    showing hours worked and payroll
                                           including the returning worker                          have such documentation on hand at                    comparisons from prior years to current
                                           requirement, unless exempt because the                  the time it files the petition, the                   year;
                                           H–2B worker is a national of one of the                 Departments have determined that, if                     (3) Evidence showing the number of
                                           Northern Triangle countries who is                      employers were required to submit the                 workers needed in the previous three
                                           counted against the 6,000 visas reserved                attestation form to DOL before filing a               seasons (FY 2018, 2019 and 2020) to
                                           for such workers; will comply with all                  petition with DHS, the attendant delays               meet the employer’s need as compared
                                           assurances, obligations, and conditions                 would render any visas unlikely to                    to those currently employed. Such
                                           of employment set forth in the                          satisfy the needs of American                         evidence must indicate the dates of their
                                           Application for Temporary Employment                    businesses given processing timeframes                employment, and their hours worked
                                           Certification (Form ETA 9142B and                       and the time remaining in this fiscal                 (for example, payroll records) and
                                           appendices) certified by DOL for the job                year. However, as noted above, the                    evidence showing the number of H–2B
                                           opportunity (which serves as the TLC);                  Departments will be conducting audits,                workers requested under this rule, the
                                           will conduct additional recruitment of                  investigations and/or post-adjudication               number of workers it claims are needed,
                                           U.S. workers in accordance with the                     compliance reviews on a significant                   the workers’ actual dates of employment
                                           requirements of this rule and discussed                 number of H–2B petitions. As part of                  and hours worked;
                                           further below; and will document and                    that process, USCIS may issue a request                  (4) Evidence that the petitioner is
                                           retain evidence of such compliance.                     for additional evidence, a notice of                  reliant on obtaining a certain number of
                                           Because the attestation will be                         intent to revoke, or a revocation notice,             workers to operate, based on the nature
                                           submitted to USCIS as initial evidence                  based on the review of such                           and size of the business, such as
                                           with Form I–129, DHS considers the                      documentation, and DOL’s OFLC and                     documentation showing the number of
                                           attestation to be evidence that is                      WHD will be able to review this                       workers it has needed to maintain its
                                           incorporated into and a part of the                     documentation and enforce the                         operations in the past, or will need
                                           petition consistent with 8 CFR                          attestations during the course of an                  prospectively, including but not limited
                                           103.2(b)(1). Accordingly, a petition may                audit examination or investigation. See               to; a detailed business plan, copies of
                                           be denied or revoked, as applicable,                    8 CFR 103.2(b) or 8 CFR 214.2(h)(11).                 purchase orders or other requests for
                                           based on or related to statements made                     In accordance with the attestation                 good and services, or other reliable
                                           in the attestation, including but not                   requirements, under which petitioners                 forecast of its need for workers; and/or
                                                                                                   attest that they meet the irreparable                    (5) With respect to satisfying the
                                           limited to the following grounds: (1)
                                                                                                   harm standard, that they are seeking to               returning worker requirement, evidence
                                           Because the employer failed to
                                                                                                   employ only returning workers (unless                 that the employer requested and/or
                                           demonstrate employment of all of the
                                                                                                   exempt as described above), and they                  instructed that each of the workers
                                           requested workers as required under the                                                                       petitioned by the employer in
                                           irreparable harm standard; and (2) the                  meet the document retention
                                                                                                   requirements at new 20 CFR 655.68, the                connection with this temporary rule
                                           employer failed to demonstrate that it                                                                        were issued H–2B visas or otherwise
                                           requested and/or instructed that each                   petitioner must retain documents and
                                                                                                   records fulfilling their responsibility to            granted H–2B status in FY 2018, 2019,
                                           worker petitioned for was a returning                                                                         or 2020, unless the H–2B worker is a
                                                                                                   demonstrate compliance with this rule
                                           worker, or a national of one of the                                                                           national of one of the Northern Triangle
                                                                                                   for 3 years from the date of the
                                           Northern Triangle countries, as required                                                                      countries counted towards the 6,000
                                                                                                   attestation, and must provide the
                                           by this rule. Any denial or revocation on                                                                     cap. Such evidence would include, but
                                                                                                   documents and records upon the
                                           such basis, however, would be                                                                                 is not limited to, a date-stamped written
                                                                                                   request of DHS or DOL. Supporting
                                           appealable under 8 CFR part 103,                                                                              communication from the employer to its
                                                                                                   evidence may include, but is not limited
                                           consistent with DHS regulations and                                                                           agent(s) and/or recruiter(s) that instructs
                                                                                                   to, the following types of
                                           existing USCIS procedures.                                                                                    the agent(s) and/or recruiter(s) to only
                                                                                                   documentation:
                                              It is the view of the Secretaries of                    (1) Evidence that the business has                 recruit and provide instruction
                                           Homeland Security and Labor that                        suffered or will suffer permanent and                 regarding an application for an H–2B
                                           requiring a post-TLC attestation to                     severe financial loss due to the inability            visa to those foreign workers who were
                                           USCIS is the most practical approach,                   to meet financial or existing contractual             previously issued an H–2B visa or
                                           given the time remaining in FY 2021                     obligations without all of the H–2B                   granted H–2B status in FY 2018, 2019,
                                           and the need to assemble the necessary                  workers, including evidence of                        or 2020.
                                           documentation. In addition, the                         contracts, reservations, orders, or other                These examples are not exhaustive,
                                           employer is required to retain                          business arrangements that have been or               nor will they necessarily establish that
                                           documentation, which must be                            would be cancelled absent the requested               the business meets the irreparable harm
                                           provided upon request by DHS or DOL,                    H–2B workers, and evidence                            or returning worker standards;
                                           supporting the new attestations                         demonstrating an inability to pay debts/              petitioners may retain other types of
                                           regarding (1) the irreparable harm                      bills;                                                evidence they believe will satisfy these
                                           standard, (2) the returning worker                         (2) Evidence that the business has                 standards. When an approved petition is
                                           requirement, or, alternatively,                         suffered or will suffer permanent and                 selected for audit examination or
                                           documentation supporting that the                       severe financial loss during the period               investigation, DHS or DOL will review
                                           H–2B worker(s) requested is a national                  of need, as compared to the period of                 all evidence available to it to confirm
                                           of one of the Northern Triangle                         need in prior years, such as financial                that the petitioner properly attested to
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                                           countries who is counted against the                    statements (including profit/loss                     DHS that their business would likely
                                           6,000 cap (which may be satisfied by the                statements) comparing the present                     suffer irreparable harm and that they
                                           separate Form I–129 that employers are                  period of need to prior years; bank                   petitioned for and employed only
                                           required to file for such workers in                    statements, tax returns, or other                     returning workers, unless the H–2B
                                           accordance with this rule) and (3) a                    documents showing evidence of current                 worker is a national of one of the
                                           recruitment report for any additional                   and past financial condition; and                     Northern Triangle countries counted

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                                      VerDate Sep<11>2014   19:46 May 24, 2021   Jkt 253001   PO 00000   Frm 00013   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM   25MYR2
                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                         Page 246 of 350 PageID 4839
                                           28210                 Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           towards the 6,000 cap. If DHS                             classification. As in all cases, the                     subsequent to such lawful admission,
                                           subsequently finds that the evidence                      burden rests with the petitioner to                      and must currently hold valid H–2B
                                           does not support the employer’s                           establish eligibility by a preponderance                 status. Since every H–2B petition must
                                           attestations, DHS may deny or, if the                     of the evidence. INA section 291, 8                      be accompanied by an approved TLC,
                                           petition has already been approved,                       U.S.C. 1361. Matter of Chawathe, 25                      all H–2B petitioners must have
                                           revoke the petition at any time                           l&N Dec. 369, 375–76 (AAO 2010).                         completed a test of the U.S. labor
                                           consistent with existing regulatory                       Accordingly, as noted above, where the                   market, as a result of which DOL
                                           authorities. DHS may also, or                             petition lacks initial evidence, such as                 determined that there were no qualified
                                           alternatively, notify DOL. In addition,                   a properly completed attestation, DHS                    U.S. workers available to fill these
                                           DOL may independently take                                may, as applicable, reject the petition in               temporary positions.
                                           enforcement action, including by,                         accordance with 8 CFR 103.2(a)(7)(ii) or                    This provision mirrors temporary
                                           among other things, debarring the                         deny the petition in accordance with 8                   flexibilities that DHS has used
                                           petitioner from the H–2B program for                      CFR 103.2(b)(8)(ii). Further, where the                  previously to improve employer access
                                           not less than 1 year or more than 5 years                 initial evidence submitted with the                      to noncitizen workers during the
                                           from the date of the final agency                         petition contains inconsistencies or is                  COVID–19 pandemic.76 In the context of
                                           decision, which also disqualifies the                     inconsistent with other evidence in the                  this rule, DHS believes this flexibility
                                           debarred party from filing any labor                      petition and the underlying TLC, DHS                     will help some U.S. employers address
                                           certification applications or labor                       may issue a Request for Evidence,                        the challenges related to the limitations
                                           condition applications with DOL for the                   Notice of Intent to Deny, or Denial in                   imposed by the cap, as well as due to
                                           same period set forth in the final                        accordance with 8 CFR 103.2(b)(8). In                    the ongoing disruptions caused by the
                                           debarment decision. See, e.g., 20 CFR                     addition, where it is determined that an                 COVID–19 pandemic. The pandemic
                                           655.73; 29 CFR 503.20, 503.24.73                          H–2B petition filed pursuant to the FY                   has resulted in a variety of travel
                                              To the extent that evidence reflects a                 2021 Omnibus was granted erroneously,                    restrictions and visa processing
                                           preference for hiring H–2B workers over                   the H–2B petition approval may be                        limitations to mitigate the spread of
                                           U.S. workers, an investigation by other                   revoked. See 8 CFR 214.2(h)(11).                         COVID–19.
                                           agencies enforcing employment and                            Because of the particular                                In addition to resulting in a
                                           labor laws, such as the Immigrant and                     circumstances of this regulation, and                    devastating loss of life, the worldwide
                                           Employee Rights Section (IER) of the                      because the attestation and other                        pandemic of COVID–19 has impacted
                                           Department of Justice’s Civil Rights                      requirements of this rule play a vital                   the United States in myriad ways,
                                           Division, may be warranted. See INA                       role in achieving the purposes of this                   disrupting daily life, travel, and the
                                           section 274B, 8 U.S.C. 1324b                              rule, DHS and DOL intend that the                        operation of individual businesses and
                                           (prohibiting certain types of                             attestation requirement, DOL                             the economy at large. On January 31,
                                           employment discrimination based on                                                                                 2020, the Secretary of the U.S.
                                                                                                     procedures, and other aspects of this
                                           citizenship status or national origin).                                                                            Department of Health and Human
                                                                                                     rule be non-severable from the
                                           Moreover, DHS and DOL may refer                                                                                    Services (HHS) declared a public health
                                                                                                     remainder of the rule, including the
                                           potential discrimination to IER pursuant                                                                           emergency dating back to January 27,
                                                                                                     increase in the numerical allocations.75
                                           to applicable interagency agreements.                                                                              2020, under section 319 of the Public
                                                                                                     Thus, in the event the attestation
                                           See IER, Partnerships, https://                                                                                    Health Service Act (42 U.S.C. 247d).77
                                                                                                     requirement or any other part of this
                                           www.justice.gov/crt/partnerships (last                                                                             This determination that a public health
                                                                                                     rule is enjoined or held invalid, the
                                           visited Apr. 9, 2021). In addition, if                                                                             emergency exists due to COVID–19 has
                                                                                                     remainder of the rule, with the
                                           members of the public have information                                                                             subsequently been renewed five times:
                                                                                                     exception of the retention requirements
                                           that a participating employer may be                                                                               On April 21, 2020, on July 23, 2020, on
                                                                                                     being codified in 20 CFR 655.68, is also                 October 2, 2020, on January 7, 2021, and
                                           abusing this program, DHS invites them                    intended to cease operation in the
                                           to notify USCIS by completing the                                                                                  most recently on April 15, 2021,
                                                                                                     relevant jurisdiction, without prejudice                 effective April 21, 2021.78 On March 13,
                                           online fraud tip form, https://                           to workers already present in the United
                                           www.uscis.gov/report-fraud/uscis-tip-                                                                              2020, then-President Trump declared a
                                                                                                     States under this regulation, as                         National Emergency concerning the
                                           form (last visited Apr. 9, 2021).74                       consistent with law.
                                              DHS, in exercising its statutory
                                           authority under INA section                               G. Portability                                              76 On May 14, 2020, DHS published a temporary

                                                                                                                                                              final rule in the Federal Register to amend certain
                                           101(a)(15)(H)(ii)(b), 8 U.S.C.                               As an additional option for employers                 H–2B requirements to help H–2B petitioners
                                           1101(a)(15)(H)(ii)(b), and section 105 of                 that cannot find U.S. workers this rule                  seeking workers to perform temporary
                                           the FY 2021 Omnibus, is responsible for                   allows petitioners to hire immediately                   nonagricultural services or labor essential to the
                                           adjudicating eligibility for H–2B                                                                                  U.S. food supply chain. 85 FR 28843 (May 14,
                                                                                                     certain H–2B workers that are already                    2020). In addition, on April 20, 2020, DHS issued
                                              73 Pursuant to the statutory provisions governing
                                                                                                     present in the United States in H–2B                     a temporary final rule which, among other
                                                                                                     status without waiting for approval of a                 flexibilities, allowed H–2A workers to change
                                           enforcement of the H–2B program, INA section                                                                       employers and begin work before USCIS approved
                                           214(c)(14), 8 U.S.C. 1184(c)(14), a violation exists      new H–2B petition. Specifically, the                     the new H–2A petition for the new employer. 85 FR
                                           under the H–2B program where there has been a             rule allows H–2B nonimmigrant                            21739. DHS has subsequently extended that
                                           willful misrepresentation of a material fact in the       workers to begin new employment with                     portability provision for H–2A workers through two
                                           petition or a substantial failure to meet any of the                                                               additional temporary final rules, on August 20,
                                           terms and conditions of the petition. A substantial
                                                                                                     a new H–2B employer or agent upon                        2020, and December 18, 2020, which have been
                                           failure is a willful failure to comply that constitutes   USCIS’ receipt of a timely, non-frivolous                effective for H–2A petitions that were received on
                                           a significant deviation from the terms and                H–2B petition. The H–2B nonimmigrant                     or after August 19, 2020 through December 17,
                                           conditions. See, e.g., 29 CFR 503.19.                     worker must have been lawfully                           2020, and on or after December 18, 2020 through
                                              74 DHS may publicly disclose information                                                                        June 16, 2021, respectively. 85 FR 51304 and 85 FR
                                                                                                     admitted to the United States, must not
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                                           regarding the H–2B program consistent with                                                                         82291.
                                           applicable law and regulations. For information           have worked without authorization                           77 HHS, Determination of Public Health

                                           about DHS disclosure of information contained in                                                                   Emergency, 85 FR 7316 (Feb. 7, 2020).
                                           a system of records, see https://www.dhs.gov/               75 The Departments’ intentions with respect to            78 See HHS Renewal of Determination That A

                                           system-records-notices-sorns. Additional general          non-severability extend to all features of this rule     Public Health Emergency Exists, https://
                                           information about DHS privacy policy generally can        other than the portability provision, which is           www.phe.gov/emergency/news/healthactions/phe/
                                           be accessed at https://www.dhs.gov/policy.                described in the section below.                          Pages/COVID-15April2021.aspx (Apr. 15, 2021).


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                                      VerDate Sep<11>2014    19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00014    Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM     25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                    Page 247 of 350 PageID 4840
                                                               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                                      28211

                                           COVID–19 outbreak to control the                        Further Consolidated Appropriations                      future impacts of COVID–19 variants,
                                           spread of the virus in the United                       Act (Public Law 116–94), Congress                        continuing limited vaccine access for
                                           States.79 The proclamation declared that                directed DHS to provide options to                       certain groups (including in H–2B
                                           the emergency began on March 1, 2020.                   improve the H–2A and H–2B visa                           workers’ home countries), and
                                           DOS temporarily suspended routine                       programs, to include options that would                  uncertainty regarding the duration of
                                           immigrant and nonimmigrant visa                         protect worker rights.83 DHS has                         vaccine-gained immunity and how
                                           services at all U.S. Embassies and                      determined that providing H–2B                           effective currently approved vaccines
                                           Consulates on March 20, 2020, and                       nonimmigrant workers with the                            are in responding to COVID–19
                                           subsequently announced a phased                         flexibility of being able to begin work                  variants.85 DHS will continue to
                                           resumption of visa services in which it                 with a new H–2B petitioner                               monitor the evolving health crisis
                                           would continue to provide emergency                     immediately and avoid a potential job                    caused by COVID–19 and may address
                                           and mission critical visa services and                  loss or loss of income while the new H–                  it in future rules.
                                           resume routine visa services as local                   2B petition is pending, provides some
                                                                                                                                                            H. COVID–19 Worker Protections
                                           conditions and resources allowed.80                     certainty to H–2B workers who have
                                           Based on the importance of the H–2A                     maintained their status but may have                        It is the policy of DHS and its Federal
                                           temporary agricultural worker and H–2B                  found themselves in situations that                      partners to support equal access to the
                                           temporary nonagricultural worker                        warrant a change in employers.84                         COVID–19 vaccines and vaccine
                                           programs, DOS indicated it would                        Providing that flexibility is also                       distribution sites, irrespective of an
                                           continue processing H–2A and H–2B                       equitable and fair.                                      individuals’ immigration status.86 This
                                           cases to the extent possible, as                           Portability for H–2B workers provides                 policy promotes fairness and equity (see
                                           permitted by post resources and local                   these noncitizens with the option of not                 Executive Order 13563). Accordingly,
                                           government restrictions, and expanded                   having to worry about job loss or loss of                DHS and DOL encourage all
                                           the categories of H–2 visa applicants                   income between the time they leave a                     individuals, regardless of their
                                           whose applications can be adjudicated                   current employer and while they await                    immigration status, to receive the
                                           without an in-person interview.81 As                    approved employment with a new U.S.                      COVID–19 vaccine. U.S. Immigration
                                           recently as April 6, 2021, however, DOS                 employer or agent. DHS believes this                     and Customs Enforcement (ICE) and
                                           noted the COVID–19 pandemic                             flexibility and job portability not only                 U.S. Customs and Border Protection do
                                           continues to have a severe adverse                      protects H–2B workers but also provides                  not conduct enforcement operations at
                                           impact on routine visa services for                     an alternative to H–2B petitioners who                   or near vaccine distribution sites or
                                                                                                   have not been able to find U.S. workers                  clinics. Consistent with ICE’s long-
                                           embassies and consulates around the
                                                                                                   and who have not been able to obtain                     standing sensitive locations policy, ICE
                                           world.82
                                                                                                   H–2B workers subject to the statutory or                 does not and will not carry out
                                              Further, due to the possibility that
                                                                                                   supplemental caps who have the skills                    enforcement operations at or near health
                                           some H–2B workers may be unavailable
                                                                                                   to perform the job duties. In that sense                 care facilities, such as hospitals,
                                           due to visa processing delays or may
                                                                                                   as well, it is equitable and fair.                       doctors’ offices, accredited health
                                           become unavailable due to COVID–19
                                                                                                      DHS is making this flexibility                        clinics, and emergent or urgent care
                                           related illness or a legitimate fear of
                                                                                                   available for a 180-day period in order                  facilities, except in the most
                                           contracting COVID–19 under current
                                                                                                   to provide stability for H–2B employers                  extraordinary of circumstances.
                                           conditions, U.S. employers that have                                                                                This TFR reflects that policy by
                                                                                                   amidst uncertainties surrounding the
                                           approved H–2B petitions or who will be                                                                           providing as follows:
                                                                                                   COVID–19 pandemic. This period is
                                           filing H–2B petitions in accordance with                                                                            Supplemental H–2B Visas: With
                                                                                                   justified especially given the possible
                                           this rule might not receive all of the                                                                           respect to petitioners who wish to
                                           workers requested to fill the temporary                    83 The Joint Explanatory Statement accompanying       qualify to receive supplemental H–2B
                                           positions.                                              the Fiscal Year (FY) 2020 Department of Homeland         visas pursuant to the FY 2021 Omnibus,
                                              DHS is strongly committed not only to                Security (DHS) Further Consolidated                      the Departments are using the DOL
                                           protecting U.S. workers and helping                     Appropriations Act (Public Law 116–94) states,           Form ETA–9142–B–CAA–4 to support
                                           U.S. businesses receive the documented                  ‘‘H–2A and H–2B Visa Program Processes.—Not
                                                                                                   later than 120 days after the date of enactment of       equal access to vaccines in two ways.
                                           and work-authorized workers to perform                  this Act, DHS, the Department of Labor, the              First, the Departments are requiring
                                           temporary nonagricultural services or                   Department of State, and the United States Digital       such petitioners to attest on the DOL
                                           labor that they need, but also to                       Service are directed to report on options to improve     Form ETA–9142–B–CAA–4 that,
                                           protecting the rights and interests of                  the execution of the H–2A and H–2B visa programs,
                                                                                                   including: processing efficiencies; combatting           consistent with such petitioners’
                                           H–2B workers (consistent with                           human trafficking; protecting worker rights; and         obligations under generally applicable
                                           Executive Order 13563 and in particular                 reducing employer burden, to include the                 H–2B regulations, they will comply
                                           its reference to ‘‘equity,’’ ‘‘fairness,’’ and          disadvantages imposed on such employers due to           with all Federal, State, and local
                                           ‘‘human dignity’’). In the FY 2020 DHS                  the current semiannual distribution of H–2B visas
                                                                                                   on October 1 and April 1 of each fiscal year. USCIS      employment-related laws and
                                                                                                   is encouraged to leverage prior year materials
                                              79 Proclamation 9994 of Mar. 13, 2020, Declaring                                                                85 See, About Variants of the Virus that Causes
                                                                                                   relating to the issuance of additional H–2B visas, to
                                           a National Emergency Concerning the Coronavirus         include previous temporary final rules, to improve       COVID–19, Centers for Disease Control and
                                           Disease (COVID–19) Outbreak, 85 FR 15337 (Mar.          processing efficiencies.’’                               Prevention, last updated April 2, 2021. https://
                                           18, 2020).                                                 84 The National Action Plan to Combat Human           www.cdc.gov/coronavirus/2019-ncov/transmission/
                                              80 DOS, Suspension of Routine Visa Services,
                                                                                                   Trafficking, Priority Action 1.6.3, at p. 20–21 (2020)   variant.html, Key Things to Know About COVID–
                                           https://travel.state.gov/content/travel/en/News/        (Stating that ‘‘[w]orkers sometimes find themselves      19 Vaccines, https://www.cdc.gov/coronavirus/
                                           visas-news/suspension-of-routine-visa-services.html     in abusive work situations, but because their            2019-ncov/vaccines/keythingstoknow.html?s_
                                           (last updated July 22, 2020).                           immigration status is dependent on continued             cid=10499:what%20is%20the
                                              81 DOS, Important Announcement on H2 Visas,                                                                   %20covid%20vaccine:sem.ga:p:RG:
                                                                                                   employment with the employer in whose name the
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                                           https://travel.state.gov/content/travel/en/News/        visa has been issued, workers may be left with few       GM:gen:PTN:FY21 (Last visited April 14, 2021).
                                           visas-news/important-announcement-on-h2-                options to leave that situation.’’ By providing the        86 See DHS Statement on Equal Access to COVID–
                                           visas.html (last updated Mar. 26, 2020).                option of changing employers without risking job         19 Vaccines and Vaccine Distribution Sites, https://
                                              82 DOS, Visa Services Operating Status Update,       loss or a loss of income through the publication of      www.dhs.gov/news/2021/02/01/dhs-statement-
                                           https://travel.state.gov/content/travel/en/News/        this rule, DHS believes that H–2B workers may be         equal-access-covid-19-vaccines-and-vaccine-
                                           visas-news/visa-services-operating-status-              more likely to leave abusive work situations, and        distribution-sites (Feb. 1, 2021), (accessed Apr. 28,
                                           update.html (last updated, Apr. 6, 2021).               thereby are afforded greater worker protections.)        2021).


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                                      VerDate Sep<11>2014   19:46 May 24, 2021   Jkt 253001   PO 00000   Frm 00015   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM      25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 248 of 350 PageID 4841
                                           28212               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           regulations, including health and safety                weather after the shot.’’ 87 Consistent               limited to qualifying applicants,
                                           laws and laws related to COVID–19                       with the President’s statement, the                   particularly when such petitions request
                                           worker protections and any right to time                Departments strongly urge, but do not                 unnamed beneficiaries or are relied
                                           off or paid time off for COVID–19                       require, that all employers seeking H–2B              upon for subsequent requests to
                                           vaccination. See new 8 CFR                              workers under either the Supplemental                 substitute beneficiaries in accordance
                                           214.2(h)(6)(x)(B)(2)(iii) and 20 CFR                    Cap or portability sections of the TFR,               with 8 CFR 214.2(h)(6)(viii). The
                                           655.64(a)(4). Second, the Departments                   make every effort to ensure that all their            attestations must be filed on Form ETA–
                                           are requiring such petitioners to also                  workers, including nonimmigrant                       9142–B–CAA–4, Attestation for
                                           attest that they will notify any H–2B                   workers, be afforded an opportunity to                Employers Seeking to Employ H–2B
                                           workers approved under the                              take the time off needed to get receive               Nonimmigrants Workers Under Section
                                           supplemental cap, in a language                         their COVID–19 vaccinations, as well as               105 of Division O of the Further
                                           understood by the worker, as necessary                  time off, with pay, to recover from any               Consolidated Appropriations Act, 2021
                                           or reasonable, that all persons in the                  temporary side effect.                                Public Law 116–260. See 20 CFR
                                           United States, including                                   As noted, Executive Order 13563                    655.64. A petitioner is required to retain
                                           nonimmigrants, have equal access to                     refers to fairness, equity, and human                 a copy of such attestations and all
                                           COVID–19 vaccines and vaccine                           dignity, and such efforts, on the part of             supporting evidence for 3 years from the
                                           distribution sites. Because the                         employers, would be consistent with                   date the associated TLC was approved,
                                           attestation will be submitted to USCIS                  those commitments.                                    consistent with 20 CFR 655.56 and 29
                                           as initial evidence with Form I–129,                       Petitioners otherwise are strongly                 CFR 503.17. See new 20 CFR 655.68.
                                           DHS considers the attestation to be                     encouraged to facilitate and provide                  Petitions submitted to DHS pursuant to
                                           evidence that is incorporated into and a                flexibilities, to the greatest extent                 the FY 2021 Omnibus will be processed
                                           part of the petition consistent with 8                  possible, to all workers who wish to                  in the order in which they were
                                           CFR 103.2(b)(1). Accordingly, a petition                receive COVID–19 vaccinations.                        received. Petitioners may also choose to
                                           may be denied or revoked, as                                                                                  request premium processing of their
                                                                                                   I. DHS Petition Procedures                            petitions under 8 CFR 103.7(e), which
                                           applicable, based on or related to
                                           statements made in the attestation,                        To petition for H–2B workers under                 allows for expedited processing for an
                                           including, but not limited to, because                  this rule, the petitioner must file a Form            additional fee.
                                                                                                   I–129 in accordance with applicable                      To encourage timely filing of any
                                           the employer violated an applicable
                                                                                                   regulations and form instructions, an                 petition seeking a visa under the FY
                                           employment-related law or regulation,
                                                                                                   unexpired TLC, and the attestation form               2021 Omnibus, DHS is notifying the
                                           or failed to notify workers regarding
                                                                                                   described above. All H–2B petitions                   public that the petition may not be
                                           equal access to COVID–19 vaccines and
                                                                                                   must state the nationality of all the                 approved by USCIS on or after October
                                           vaccine distribution sites.
                                                                                                   requested H–2B workers, whether                       1, 2021. See new 8 CFR 214.2(h)(6)(x).
                                              Other H–2B Employers: While there is                 named or unnamed, even if there are                   Petitions pending with USCIS that are
                                           no additional attestation with respect to               beneficiaries from more than one                      not approved before October 1, 2021
                                           H–2B petitioners that do not avail                      country. See 8 CFR 214.2(h)(2)(iii). If               will be denied and any fees will not be
                                           themselves of the supplemental H–2B                     filing multiple Forms I–129 based on                  refunded. See new 8 CFR 214.2(h)(6)(x).
                                           visas made available under this rule, the               the same TLC (for instance, one                          USCIS’s current processing goal for
                                           Departments remind all H–2B                             requesting returning workers and                      H–2B petitions filed via premium
                                           employers that they must comply with                    another requesting workers who are                    processing that can be adjudicated
                                           all Federal, State, and local                           nationals of one of the Northern                      without the need for further evidence
                                           employment-related laws and                             Triangle countries), each H–2B petition               (in other words, without a Request for
                                           regulations, including health and safety                must include a copy of the TLC and                    Evidence or Notice of Intent to Deny) is
                                           laws and laws related to COVID–19                       reference all previously-filed or                     15 days. USCIS intends to adjudicate
                                           worker protections and any right to time                concurrently filed petitions associated               petitions filed for standard processing
                                           off or paid time off for COVID–19                       with the same TLC. The total number of                within a reasonable period of time.88
                                           vaccination. Failure to comply with                     requested workers may not exceed the                  Given USCIS’ processing goals for
                                           such laws may be a basis for DHS to                     total number of workers indicated on                  premium processing, DHS believes that
                                           revoke the petition under 8 CFR                         the approved TLC. Petitioners seeking                 15 days from the end of the fiscal year
                                           214.2(h)(11). This obligation is also                   H–2B classification for Northern                      is the minimum time needed for
                                           reflected as a condition of H–2B                        Triangle country nationals under the                  petitions to be adjudicated, although
                                           portability under this rule. See new 8                  6,000 visas that are exempt from the                  USCIS cannot guarantee the time period
                                           CFR 214.2(h)(26)(iii)(C).                               returning worker provision must file a                will be sufficient in all cases. Therefore,
                                              Ensuring that the Departments                        separate Form I–129 for those Northern                if the increase in the H–2B numerical
                                           encourage employers to provide access                   Triangle country nationals only. See                  limitation to 22,000 visas has not yet
                                           to COVID–19 vaccines is consistent with                 new 8 CFR 214.2(h)(6)(x). Requiring the               been reached, USCIS will stop accepting
                                           the policies of the Biden                               filing of separate petitions to request               petitions received after September 15,
                                           Administration. President Biden, in his                 returning workers and to request                      2021. See new 8 CFR 214.2(h)(6)(x)(C).
                                           speech to Joint Session of Congress,                    workers who are Northern Triangle                     Such petitions will be rejected and the
                                           made the following statement: ‘‘[T]oday,                country nationals is necessary to ensure              filing fees will be returned.
                                           I’m announcing a program to address                     the operational capability to properly                   As with other Form I–129 filings, DHS
                                           [the issue of COVID vaccinations] . . .                 calculate and manage the respective                   encourages petitioners to provide a
                                           nationwide. I’m calling on every                        additional cap allocations and to ensure              duplicate copy of Form I–129 and all
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                                           employer, large and small, in every                     that all corresponding visa issuances are             supporting documentation at the time of
                                           state, to give employees the time off                                                                         filing if the beneficiary is seeking a
                                                                                                     87 See https://www.whitehouse.gov/briefing-room/
                                           they need, with pay, to get vaccinated                                                                          88 These processing goals are not binding on
                                                                                                   speeches-remarks/2021/04/21/remarks-by-
                                           and any time they need, with pay, to                    president-biden-on-the-covid-19-response-and-the-     USCIS; depending on the evidence presented,
                                           recover if they are feeling under the                   state-of-vaccinations-2/.                             actual processing times may vary.


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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 249 of 350 PageID 4842
                                                                Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                          28213

                                           nonimmigrant visa abroad. Failure to                    applicants and referrals only until                   conducted recruitment activity period
                                           submit a duplicate copy may cause a                     March 11, 2021.                                       applicable under 20 CFR 655.40(b).
                                           delay in the issuance of a visa to an                      In order to provide U.S. workers a                   The employer also must conduct
                                           otherwise eligible applicant.89                         realistic opportunity to pursue jobs for              additional recruitment steps during the
                                                                                                   which employers will be seeking foreign               period of time the SWA is actively
                                           J. DOL Procedures                                                                                             circulating the job order for intrastate
                                                                                                   workers under this rule, the
                                             As noted above, all employers are                     Departments have determined that if                   clearance. First, the employer must
                                           required to have an approved and valid                  employers file an I–129 petition 45 or                contact, by email or other electronic
                                           TLC from DOL in order to file a Form                    more days after their dates of need, they             means, the nearest American Job
                                           I–129 petition with DHS. See 8 CFR                      have not conducted recruitment                        Center(s) (AJC) offering business
                                           214.2(h)(6)(iv)(A) and (D). The                         recently enough for the Departments to                services and serving the area of
                                           standards and procedures governing the                  reasonably conclude that there are                    intended employment where work will
                                           submission and processing of                            currently an insufficient number of U.S.              commence to request staff assistance to
                                           Applications for Temporary                              workers who are qualified, willing, and               advertise and recruit U.S. workers for
                                           Employment Certification for employers                  available to perform the work absent                  the job opportunity. AJCs bring together
                                           seeking to hire H–2B workers are set                    taking additional, positive recruitment               a variety of programs providing a wide
                                           forth in 20 CFR part 655, subpart A.                    steps. The 45-day threshold for                       range of employment and training
                                           Employers with an approved TLC have                     additional recruitment identified in this             services for U.S. workers, including job
                                           conducted recruitment, as set forth in 20               rule reflects a timeframe between the                 search services and assistance for
                                           CFR 655.40 through 655.48, to                           end of the employer’s recruitment and                 prospective workers and recruitment
                                           determine whether U.S. workers are                      filing of the petition similar to that                services for employers through the
                                           qualified and available to perform the                  provided under the FY 2018 and FY                     Wagner-Peyser Program. Therefore,
                                           work for which H–2B workers are                         2019 H–2B supplemental cap rules.                     AJCs can offer assistance to employers
                                           sought.                                                    An employer who files an I–129                     with recruitment of U.S. workers, and
                                             In addition to the recruitment already                                                                      contact with local AJCs will facilitate
                                                                                                   petition under 8 CFR 214.2(h)(6)(x) less
                                           conducted in connection with a valid                                                                          contemporaneous and effective
                                                                                                   than 45 after the certified start date of
                                           TLC, in order to ensure the recruitment                                                                       recruitment activities that can broaden
                                                                                                   work on the TLC must submit the TLC
                                           has not become stale, employers that                                                                          dissemination of the employer’s job
                                                                                                   and a completed Form ETA–9142B–
                                           wish to obtain visas for their workers                                                                        opportunity through connections with
                                                                                                   CAA–4, but is not required to conduct
                                           under 8 CFR 214.2(h)(6)(x), and who file                                                                      other partner programs within the One-
                                                                                                   recruitment for U.S. workers beyond the
                                           an I–129 petition 45 or more days after                                                                       Stop System to locate qualified U.S.
                                                                                                   recruitment already conducted as a
                                           the certified start date of work on the                                                                       workers to fill the employer’s labor
                                                                                                   condition of certification. Only those
                                           TLC must conduct additional                                                                                   need. For example, the local AJC may
                                                                                                   employers with still-valid TLCs with a
                                           recruitment for U.S. workers. This is                                                                         contact community-based organizations
                                                                                                   start date of work that is 45 or more                 in the geographic area that serve
                                           particularly important this year as U.S.                days before the date they file a petition
                                           workers have begun to, and will                                                                               potentially qualified workers or, when a
                                                                                                   will be required to conduct recruitment               job opportunity is in an occupation or
                                           continue to, reenter the workforce as                   in addition to that conducted prior to
                                           they become vaccinated and the                                                                                industry that is traditionally or
                                                                                                   being granted labor certification and                 customarily unionized, the local AJC is
                                           COVID–19 emergency subsides.                            attest that the recruitment will be
                                             As noted in the 2015 H–2B Interim                                                                           well-positioned to identify and circulate
                                                                                                   conducted, as follows.                                the job order to appropriate union
                                           Final Rule, U.S. workers seeking                           The employer must place a new job
                                           employment in temporary or seasonal                                                                           offices, consistent with 20 CFR
                                                                                                   order for the job opportunity with the                655.33(b)(5). In addition, as a partner
                                           nonagricultural jobs typically do not                   State Workforce Agency (SWA) serving
                                           search for work months in advance, and                                                                        program in the One-Stop System, AJCs
                                                                                                   the area of intended employment no                    are connected with the state’s
                                           cannot make commitments about their                     later than the next business day after
                                           availability for employment far in                                                                            unemployment insurance program, thus
                                                                                                   submitting an I–129 petition for H–2B                 an employer’s connection with the AJC
                                           advance of the work start date. See 80                  workers to USCIS. The job order must
                                           FR 24041, 24061, 24071. Given that the                                                                        will help facilitate knowledge of the job
                                                                                                   contain the job assurances and contents               opportunity to U.S. workers actively
                                           temporary labor certification process                   set forth in 20 CFR 655.18 for                        seeking employment. When contacting
                                           generally begins 75 to 90 days in                       recruitment of U.S. workers at the place              the AJC(s), the employer must provide
                                           advance of the employer’s start date of                 of employment, and remain posted for                  staff with the job order number or, if the
                                           work, employer recruitment efforts                      at least 15 calendar days. The employer               job order number is unavailable, a copy
                                           typically occur between 40 and 60 days                  must also follow all applicable SWA                   of the job order.
                                           before that date with an obligation to                  instructions for posting job orders and                 To increase navigability and to make
                                           provide employment to any qualified                     receive applications in all forms                     the process as convenient as possible,
                                           U.S. worker who applies until 21 days                   allowed by the SWA, including online                  DOL offers an online service for
                                           before the date of need. Therefore,                     applications. The Departments have                    employers to locate the nearest local
                                           employers with TLCs containing a start                  concluded that keeping the job order                  AJC at https://www.careeronestop.org/
                                           date of work on April 1, 2021, likely                   posted for a period of 15 calendar days,              and by selecting the ‘‘Find Local Help’’
                                           conducted their positive recruitment                    during the period the employer is                     feature on the main homepage. This
                                           beginning around late-January and                       conducting the additional recruitment                 feature will navigate the employer to a
                                           ending around mid-February 2021, and                    steps explained below, will effectively               search function called ‘‘Find an
                                           continued to consider U.S. worker
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                                                                                                   ensure U.S. workers are apprised of the               American Job Center’’ where the city,
                                                                                                   job opportunity and are referred for                  state or zip code covering the
                                             89 Petitioners should note that under section 105,
                                                                                                   employment, if they are willing,                      geographic area where work will
                                           the H–2B numerical increase relates to the total
                                           number of noncitizens who may receive a visa
                                                                                                   qualified, and available to perform the               commence can be entered. Once entered
                                           under INA section 101(a)(15)(H)(ii)(b) in this fiscal   work. The 15 calendar day period also                 and the search function is executed, the
                                           year.                                                   is consistent with the employer-                      online service will return a listing of the

                                                                                                                                                                                 AR00631
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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 250 of 350 PageID 4843
                                           28214               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           name(s) of the AJC(s) serving that                      655.45(a), or if there is no bargaining               has gone stale, the Departments have
                                           geographic area as well as contact                      representative, post the job order in the             determined that a longer hiring period
                                           option(s) and an indication as to                       places and manner described in 20 CFR                 is necessary to approximate the hiring
                                           whether the AJC is a ‘‘comprehensive’’                  655.45(b).                                            period under normal recruitment
                                           or ‘‘affiliate’’ center. Employers must                    The requirements to contact former                 procedures and ensure that domestic
                                           contact an AJC that is labeled                          U.S. workers and provide notice to the                workers have access to these job
                                           ‘‘comprehensive center’’ as those offer                 bargaining representative or post the job             opportunities, consistent with the
                                           the full range of employment and                        order must be conducted in a language                 Departments’ mandate. Additionally,
                                           business services. As explained on the                  understood by the workers, as necessary               given the relatively brief period during
                                           locator website, many AJCs continue to                  or reasonable. This requirement would                 which additional recruitment will
                                           offer virtual or remote services due to                 apply, for example, in situations where               occur, additional time may be necessary
                                           the pandemic with physical office                       an employer has one or more employees                 for U.S. workers to have a meaningful
                                           locations temporarily closed for in-                    who do not speak English as their                     opportunity to learn about the job
                                           person and mail processing services.                    primary language and who have a                       opportunities and submit applications.
                                           Therefore, this rule requires that                      limited ability to read, write, speak, or                Although the hiring period may
                                           employers utilize available electronic                  understand English. This requirement                  require some employers to hire U.S.
                                           methods for the nearest AJC to meet the                 would allow those workers to make                     workers after the start of the contract
                                           contact and disclosure requirements in                  informed decisions regarding the job                  period, this is not unprecedented. For
                                           this rule.                                              opportunity, and is a reasonable                      example, in the H–2A program,
                                              Second, during the period of time the                interpretation of the recruitment                     employers have been required to hire
                                           SWA is actively circulating the job order               requirements in 20 CFR part 655,                      U.S. workers through 50 percent of the
                                           described in paragraph (a)(5)(i) for                    subpart A, in light of the need to ensure             contract period since at least 2010,90
                                           intrastate clearance, the employer must                 that the test of the U.S. labor market is             which ‘‘enhance[s] protections for U.S.
                                           make reasonable efforts to contact (by                  as comprehensive as possible.                         workers, to the maximum extent
                                           mail or other effective means) its former               Consistent with existing language                     possible, while balancing the potential
                                           U.S. workers that it employed in the                    requirements in the H–2B program                      costs to employers,’’ and is consistent
                                           occupation at the place of employment                   under 20 CFR 655.20(l), DOL intends to                with the Departments’ responsibility to
                                           (except those who were dismissed for                    broadly interpret the necessary or                    ensure that these job opportunities are
                                           cause or who abandoned the worksite)                    reasonable qualification, and apply an                available to U.S. workers.91 The
                                           during the period beginning January 1,                  exemption only in those situations                    Department acknowledges that hiring
                                           2019, until the date the I–129 petition                 where having the job order translated                 workers after the start of the contract
                                           required under 8 CFR 214.2(h)(6)(x) is                  into a particular language would both                 period imposes an additional cost on
                                           submitted. Among the employees the                      place an undue burden on an employer                  employers, but that cost can be
                                           employer must contact are those who                     and not significantly disadvantage the                lessened, in part, by the ability to
                                           have been furloughed or laid off during                 employee.                                             discharge the H–2B worker upon hiring
                                           this period. The employer must disclose                    The employer must hire any qualified               a U.S. worker. Additionally, this rule
                                           to its former employees the terms of the                U.S. worker who applies or is referred                permits employers to immediately hire
                                           job order, and solicit their return to the              for the job opportunity until either (1)              H–2B workers who are already present
                                           job. The contact and disclosures                        the date on which the last H–2B worker                in the United States without waiting for
                                           required by this paragraph must be                      departs for the place of employment, or               approval of an H–2B petition, which
                                           provided in a language understood by                    (2) 30 days after the last date on which              will reduce the potential for harm to
                                           the worker, as necessary or reasonable.                 the SWA job order is posted, whichever                H–2B workers as a result of
                                              Furloughed employees are employees                   is later. Additionally, consistent with 20            displacement by U.S. workers. See new
                                           the employer laid off (as the term is                   CFR 655.40(a), applicants may be                      8 CFR 214.2(h)(26). Most importantly, a
                                           defined in 20 CFR 655.5 and 29 CFR                      rejected only for lawful job-related                  longer hiring period will ensure that
                                           503.4), but the layoff is intended to last              reasons. Given that the employer, SWA,                available U.S. workers have a viable
                                           for a temporary period of time. This                    and AJC(s) will be actively engaged in                opportunity to apply for H–2B job
                                           recruitment step will help ensure notice                conducting recruitment and broader                    opportunities. Accordingly, the
                                           of the job opportunity is disseminated                  dissemination of the job opportunity                  Departments have determined that in
                                           broadly to U.S. workers who were laid                   during the period of time the job order               affording the benefits of this temporary
                                           off or furloughed during the COVID–19                   is active, this requirement provides an               cap increase to businesses that need
                                           outbreak and who may be seeking                         adequate period of time for U.S. workers              workers to avoid irreparable harm, it is
                                           employment as the economy begins to                     to contact the employer or SWA for                    necessary to ensure U.S. workers who
                                           recover in 2021. While this requirement                 referral to the employer and completion               may be seeking employment as the
                                           goes beyond the requirement at 20 CFR                   of the additional recruitment steps                   economy begins to recover in 2021 have
                                           655.43, the Departments believes it is                  described above. As explained above,                  sufficient time to apply for these jobs.
                                           appropriate given the evolving                          the Departments have determined that if                  Finally, as in the temporary rules
                                           conditions of the U.S. labor market, as                 employers file a petition 45 or more                  implementing the supplemental cap
                                           described above, and the increased                      days after their dates of need, they have             increases in prior years, employers must
                                           likelihood that qualified U.S. workers                  not conducted recruitment recently                    retain documentation demonstrating
                                           will make themselves available for these                enough for the Departments to                         compliance with the recruitment
                                           job opportunities.                                      reasonably conclude that there are                    requirements described above,
                                              Third, as the employer was required                  currently an insufficient number of U.S.              including placement of a new job order
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                                           to do when initially applying for its                   workers qualified, willing, and available
                                           labor certification, the employer must                  to perform the work absent additional                   90 Final Rule, Temporary Agricultural

                                           provide a copy of the job order to the                  recruitment.                                          Employment of H–2A Aliens in the United States,
                                                                                                                                                         75 FR 6884, 6921 (Feb. 12, 2010).
                                           bargaining representative for employees                    Because of the abbreviated timeline                  91 NPRM, Temporary Agricultural Employment of
                                           in the occupation and area of intended                  for the additional recruitment required               H–2A Aliens in the United States, 74 FR 45906,
                                           employment, consistent with 20 CFR                      for employers whose initial recruitment               45917 (Sept. 4, 2009); 75 FR at 6922.


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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 251 of 350 PageID 4844
                                                               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                           28215

                                           with the SWA, contact with AJCs,                        the requirements of the H–2B program.                 authority includes the authority to audit
                                           contact with former U.S. workers, and                   Subject to the exceptions described in 8              the veracity of any attestations made on
                                           compliance with § 655.45(a) or (b).                     CFR 103.2(b)(16), USCIS will provide                  Form ETA–9142B–CAA–4 and
                                           Employers must prepare and retain a                     petitioners with an opportunity to                    documentation supporting the
                                           recruitment report that describes these                 address any adverse information that                  attestations. However, DOL’s audit
                                           efforts and meets the requirements set                  may result from a USCIS compliance                    authority is independently authorized,
                                           forth in 20 CFR 655.48, including the                   review, verification, or site visit after a           and is not limited by the expiration date
                                           requirement to update the recruitment                   formal decision is made on a petition or              of this rule. In order to make certain that
                                           report throughout the recruitment and                   after the agency has initiated an adverse             the supplemental visa allocation is not
                                           hiring period set forth in paragraph                    action that may result in revocation or               subject to fraud or abuse, DHS will
                                           (a)(5)(v) of new 20 CFR 655.64.                         termination of an approval.                           share information regarding Forms
                                           Employers must maintain copies of the                      As previously noted, the Departments               ETA–9142B–CAA–4 with DOL,
                                           recruitment report, attestation, and                    have agreed to select a significant                   consistent with existing authorities.
                                           supporting documentation, as described                  number of approved petitions for audit                This information sharing will support
                                           above, for a period of 3 years from the                 examination to verify compliance with                 DOL’s identification of TLCs used to
                                           date that the TLC was approved,                         the irreparable harm standard and                     access the supplemental visa allocation
                                           consistent with the document retention                  additional employer conducted                         for closer examination of TLCs through
                                           requirements under 20 CFR 655.56.                       recruitment implemented through this                  the audit process.
                                           These requirements are similar to those                 rule. DOL’s OFLC already has the                         In accordance with the
                                           that apply to certain seafood employers                 authority under 20 CFR 655.70 to                      documentation retention requirements
                                           who stagger the entry of H–2B workers                   conduct audit examinations on                         in this rule, the petitioner must retain
                                           under 20 CFR 655.15(f).                                 adjudicated Applications for Temporary                documents and records proving
                                              DOL’s WHD has the authority to                       Employment Certification, including all               compliance with this rule, and must
                                           investigate the employer’s attestations,                appropriate appendices, and verify any                provide the documents and records
                                           as the attestations are a required part of              information supporting the employer’s                 upon request by DHS or DOL. Under
                                           the H–2B petition process under this                    attestations. OFLC uses audits of                     this rule, DOL will audit a significant
                                           rule and the attestations rely on the                   adjudicated Applications for Temporary                number of TLCs used to access the
                                           employer’s existing, approved TLC.                      Employment Certification, as authorized               supplemental visa allocation to ensure
                                           Where a WHD investigation determines                    by 20 CFR 655.70, to ensure employer                  employer compliance with attestations,
                                           that there has been a willful                           compliance with attestations made in its              including those regarding the
                                           misrepresentation of a material fact or a               Application for Temporary Employment                  irreparable harm standard and
                                           substantial failure to meet the required                Certification and to ensure the employer              additional employer conducted
                                           terms and conditions of the attestations,               has met all statutory and regulatory                  recruitment, required under this rule. In
                                           WHD may institute administrative                        criteria and satisfied all program                    the event of an audit, the OFLC CO will
                                           proceedings to impose sanctions and                     requirements. The OFLC certifying                     send a letter to the employer and, if
                                           remedies, including (but not limited to)                officer (CO) has sole discretion to                   appropriate, a copy of the letter to the
                                           assessment of civil money penalties;                    choose which Applications for                         employer’s attorney or agent, listing the
                                           recovery of wages due; make-whole                       Temporary Employment Certification                    documentation the employer must
                                           relief for any U.S. worker who has been                 will be audited. See 20 CFR 655.70(a).                submit and the date by which the
                                           improperly rejected for employment,                     Post adjudication audits can be used to               documentation must be sent to the CO.
                                           laid off, or displaced; and/or debarment                establish a record of employer                        During audits under this rule, the CO
                                           for 1 to 5 years. See 29 CFR 503.19,                    compliance or non-compliance with                     will request documentation necessary to
                                           503.20. This regulatory authority is                    program requirements and the                          demonstrate the employer conducted all
                                           consistent with WHD’s existing                          information gathered during the audit                 e recruitment steps required under this
                                           enforcement authority and is not limited                assists DOL in determining whether it                 rule and truthfully attested to the
                                           by the expiration date of this rule.                    needs to further investigate or debar an              irreparable harm the employer would
                                           Therefore, in accordance with the                       employer or its agent or attorney from                suffer if it does not receive all requested
                                           documentation retention requirements                    future labor certifications.                          workers under the cap increase,
                                           at new 20 CFR 655.68, the petitioner                       Under this rule, an employer may                   including documentation the employer
                                           must retain documents and records                       submit a petition to USCIS, including a               is required to retain under this rule. If
                                           evidencing compliance with this rule,                   valid TLC and Form ETA–9142B–CAA–                     necessary to complete the audit, the CO
                                           and must provide the documents and                      4, in which the employer attests to                   may request supplemental information
                                           records upon request by DHS or DOL.                     compliance with requirements for                      and/or documentation from the
                                              DHS has the authority to verify any                  access to the supplemental H–2B visas                 employer during the course of the audit
                                           information submitted to establish H–2B                 allocated through 8 CFR 214.2(h)(6)(x),               process. 20 CFR 655.70(c).
                                           eligibility at any time before or after the             including that its business is likely to                 Failure to comply in the audit process
                                           petition has been adjudicated by USCIS.                 suffer irreparable harm and that it will              may result in the revocation of the
                                           See, e.g., INA sections 103 and 214 (8                  conduct additional recruitment, if                    employer’s certification or in
                                           U.S.C. 1103, 1184); see also 8 CFR part                 necessary to refresh the TLC’s labor                  debarment, under 20 CFR 655.72 and
                                           103 and 8 CFR 214.2(h). DHS’                            market test. DHS and DOL consider                     655.73, respectively, or require the
                                           verification methods may include, but                   Form ETA–9142B–CAA–4 to be an                         employer to undergo assisted
                                           are not limited to, review of public                    appendix to the Application for                       recruitment in future filings of an
                                           records and information, contact via                    Temporary Employment Certification                    Application for Temporary Employment
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                                           written correspondence or telephone,                    and the attestations contained on the                 Certification, under 20 CFR 655.71.
                                           unannounced physical site inspections,                  Form ETA–9142B–CAA–4 and                              Where an audit examination or review
                                           and interviews. USCIS will use                          documentation supporting the                          of information from DHS or other
                                           information obtained through                            attestations to be evidence that is                   appropriate agencies determines that
                                           verification to determine H–2B                          incorporated into and a part of the                   there has been fraud or willful
                                           eligibility and assess compliance with                  approved TLC. Therefore, DOL’s audit                  misrepresentation of a material fact or a

                                                                                                                                                                                 AR00633
                                      VerDate Sep<11>2014   19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00019   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM   25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 252 of 350 PageID 4845
                                           28216               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           substantial failure to meet the required                1179 (D.C. Cir. 2004). Although the                   most recently on April 15, 2021
                                           terms and conditions of the attestations                good-cause exception is ‘‘narrowly                    effective on April 21, 2021.93 On March
                                           or failure to comply with the audit                     construed and only reluctantly                        13, 2020, then-President Trump
                                           examination process, OFLC may                           countenanced,’’ Tenn. Gas Pipeline Co.                declared a National Emergency
                                           institute appropriate administrative                    v. FERC, 969 F.2d 1141, 1144 (D.C. Cir.               concerning the COVID–19 outbreak,
                                           proceedings to impose sanctions on the                  1992), the Departments have                           retroactive to March 1, 2020, to control
                                           employer. Those sanctions may result in                 appropriately invoked the exception in                the spread of the virus in the United
                                           revocation of an approved TLC, the                      this case, for the reasons set forth below.           States.94 In response to the Mexican
                                           requirement that the employer undergo                      With respect to the supplemental                   government’s call to increase social
                                           assisted recruitment in future filings of               allocations provisions in 8 CFR 214.2                 distancing in that country, DOS
                                           an Application for Temporary                            and 20 CFR part 655, subpart A, the                   announced the temporary suspension of
                                           Employment Certification for a period of                Departments are bypassing advance                     routine immigrant and nonimmigrant
                                           up to 2 years, and/or debarment from                    notice and comment because of the                     visa services processed at the U.S.
                                           the H–2B program and any other foreign                  exigency created by section 105 of Div.               Embassy in Mexico City and all U.S.
                                           labor certification program administered                O of the FY 2021 Omnibus, which went                  consulates in Mexico beginning on
                                           by DOL for 1 to 5 years. See 29 CFR                     into effect on December 27, 2020, and                 March 18, 2020.95 DOS expanded the
                                           655.71, 655.72, 655.73. Additionally,                   expires on September 30, 2021, as well                temporary suspension of routine
                                           OFLC has the authority to provide any                   as rapidly evolving economic conditions               immigrant and nonimmigrant visa
                                           finding made or documents received                      and labor demand, as described above.                 services at all U.S. Embassies and
                                           during the course of conducting an                      USCIS received more than enough                       Consulates on March 20, 2020.96 On
                                           audit examination to DHS, WHD, IER, or                  petitions to meet the H–2B visa                       July 22, 2020, DOS indicated that
                                           other enforcement agencies. OFLC’s                      statutory cap for the second half of FY               embassies and consulates should
                                           existing audit authority is                             2021 on February 12, 2021, which is 6                 continue to provide emergency and
                                           independently authorized, and is not                    days earlier than when the statutory cap              mission critical visa services to the
                                           limited by the expiration date of this                  for the second half of FY 2020 was                    extent possible and could begin a
                                           rule. Therefore, in accordance with the                 reached. USCIS conducted a lottery on                 phased resumption of routine visa
                                           documentation retention requirements                    February 17, 2021, to randomly select a               services as local conditions and
                                           at new 20 CFR 655.68, the petitioner                    sufficient number of petitions to meet                resources allow.97 On March 26, 2020
                                           must retain documents and records                       the remainder of the statutory cap.                   DOS designated the H–2 programs as
                                           proving compliance with this rule, and                  USCIS rejected and returned the                       essential to the economy and food
                                           must provide the documents and                          petitions and associated filing fees to               security of the United States and a
                                           records upon request by DHS or DOL.                     petitioners that were not selected, as                national security priority; DOS
                                              Petitioners must also comply with any                well as all cap-subject petitions received            indicated that U.S. Embassies and
                                           other applicable laws, such as avoiding                 after February 12, 2021. Given high                   Consulates will continue to process
                                           unlawful discrimination against U.S.                    demand by American businesses for H–                  H–2 cases to the extent possible and
                                           workers based on their citizenship                      2B workers, rapidly evolving economic                 implemented a change in its procedures,
                                           status or national origin. Specifically,                conditions and labor demand, and the                  to include interview waivers.98 On
                                           the failure to recruit and hire qualified               short time remaining in the fiscal year               January 25, 2021, President Biden
                                           and available U.S. workers on account                   for U.S. employers to avoid the                       issued a Proclamation on the
                                           of such individuals’ national origin or                 economic harm described above, a                      Suspension of Entry as Immigrants and
                                           citizenship status may violate INA                      decision to undertake notice and                      Non-Immigrants of Certain Additional
                                           section 274B, 8 U.S.C. 1324b.                           comment rulemaking would likely delay                 Persons Who Pose a Risk of
                                                                                                   final action on this matter by weeks or               Transmitting Coronavirus Disease.99
                                           IV. Statutory and Regulatory                            months, and would, therefore, greatly                 The proclamation restricted entry into
                                           Requirements                                            complicate and indeed likely preclude                 the United States from European
                                                                                                   the Departments from successfully                     Schengen treaty countries, the United
                                           A. Administrative Procedure Act
                                                                                                   exercising the authority created by                   Kingdom (including territories outside
                                             This rule is issued without prior                     section 105.                                          of Europe), Ireland, Brazil, and South
                                           notice and opportunity to comment and                      The temporary portability and change
                                           with an immediate effective date                        of employer provisions in 8 CFR 214.2                    93 See HHS Renewal of Determination That A

                                           pursuant to the Administrative                          and 274a.12 are further supported by                  Public Health Emergency Exists, https://
                                           Procedure Act (APA). 5 U.S.C. 553(b)                    conditions created by the COVID–19                    www.phe.gov/emergency/news/healthactions/phe/
                                                                                                                                                         Pages/COVID-15April2021.aspx. (Apr. 15, 2021).
                                           and (d).                                                pandemic. On January 31, 2020, the                       94 President of the United States, Proclamation
                                                                                                   Secretary of Health and Human Services                9994 of March 13, 2020, Declaring a National
                                           1. Good Cause To Forgo Notice and
                                                                                                   declared a public health emergency                    Emergency Concerning the Coronavirus Disease
                                           Comment Rulemaking                                                                                            (COVID–19) Outbreak, 85 FR 15337 (Mar. 18, 2020).
                                                                                                   under section 319 of the Public Health
                                                                                                                                                            95 DOS, Suspension of Routine Visa Services,
                                              The APA, 5 U.S.C. 553(b)(B),                         Service Act in response to COVID–19
                                                                                                                                                         https://travel.state.gov/content/travel/en/News/
                                           authorizes an agency to issue a rule                    retroactive to January 27, 2020.92 This               visas-news/suspension-of-routine-visa-services.html
                                           without prior notice and opportunity to                 determination that a public health                    (last updated Mar. 20, 2020).
                                           comment when the agency, for good                       emergency exists due to COVID–19 has                     97 https://travel.state.gov/content/travel/en/News/

                                           cause, finds that those procedures are                  subsequently been renewed five times:                 visas-news/suspension-of-routine-visa-services.html
                                                                                                                                                            98 https://travel.state.gov/content/travel/en/News/
                                           ‘‘impracticable, unnecessary, or contrary               On April 21, 2020, on July 23, 2020, on
                                                                                                                                                         visas-news/important-announcement-on-h2-
                                           to the public interest.’’ Among other                   October 2, 2020, January 7, 2021, and                 visas.html (Last visited on Apr. 21, 2021).
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                                           things, the good cause exception for                                                                             99 Proclamation 10143 of January 25, 2021, 86 FR

                                           forgoing notice and comment                                92 HHS, Determination that a Public Health         7467 (Jan. 28, 2021). https://www.whitehouse.gov/
                                           rulemaking ‘‘excuses notice and                         Emergency Exists, https://www.phe.gov/emergency/      briefing-room/presidential-actions/2021/01/25/
                                                                                                   news/healthactions/phe/Pages/2019-nCoV.aspx           proclamation-on-the-suspension-of-entry-as-
                                           comment in emergency situations, or                     (last visited Apr. 20, 2021). See also HHS,           immigrants-and-non-immigrants-of-certain-
                                           where delay could result in serious                     Determination of Public Health Emergency, 85 FR       additional-persons-who-pose-a-risk-of-transmitting-
                                           harm.’’ Jifry v. FAA, 370 F.3d 1174,                    7316 (Feb. 7, 2020).                                  coronavirus-disease/.


                                                                                                                                                                                       AR00634
                                      VerDate Sep<11>2014   19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00020   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM   25MYR2
                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                 Page 253 of 350 PageID 4846
                                                               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                           28217

                                           Africa—countries where COVID–19                         and comment to prevent ‘‘serious                      benefits. Executive Order 13563
                                           variants originated or were identified as               economic harm to the H–2B                             emphasizes the importance of
                                           present.100 On January 28, 2021, DOS                    community,’’ including U.S. employers,                quantifying both costs and benefits;
                                           reaffirmed the importance of the H–2                    associated U.S. workers, and related                  reducing costs; simplifying and
                                           programs by making a national interest                  professional associations, that could                 harmonizing rules; and promoting
                                           designation for certain H–2 travelers                   result from ongoing uncertainty over the              flexibility through approaches that
                                           from South Africa.101 On April 19, 2021,                status of the numerical limitation, in                preserve freedom of choice (including
                                           Customs and Border Protection                           other words, the effective termination of             through ‘‘provision of information in a
                                           announced an extension of certain land                  the program through the remainder of                  form that is clear and intelligible’’). It
                                           border restrictions between U.S. and                    FY 2021. See Bayou Lawn & Landscape                   also allows consideration of equity,
                                           Canada, and U.S. and Mexico to May 21,                  Servs. v. Johnson, 173 F. Supp. 3d 1271,              fairness, distributive impacts, and
                                           2021.102                                                1285 & n.12 (N.D. Fla. 2016). The                     human dignity, even if some or all of
                                              In addition to travel restrictions and               Departments note that this action is                  these are difficult or impossible to
                                           impacts of the pandemic on visa                         temporary in nature, see id.,103 and                  quantify.
                                           services, as discussed elsewhere in this                includes appropriate conditions to                       This rule is a ‘‘significant regulatory
                                           rule, current efforts to curb the                       ensure that it affects only those                     action,’’ although not an economically
                                           pandemic in the United States and                       businesses most in need, and also                     significant regulatory action since it
                                           worldwide have been partially                           protects H–2B and U.S. workers.                       does not meet the threshold of $100
                                           successful, however, with the                                                                                 million in annual economic effects,
                                           emergence of COVID–19 variants;                         2. Good Cause To Proceed With an                      under section 3(f)(1) of Executive Order
                                           different rates of vaccination in some                  Immediate Effective Date                              12866. Accordingly, the Office of
                                           countries and regions; and other                           The APA also authorizes agencies to                Management and Budget has reviewed
                                           uncertainties associated with the                       make a rule effective immediately, upon               this regulation.
                                           evolving pandemic situation, DHS                        a showing of good cause, instead of
                                                                                                                                                         Summary
                                           anticipates that H–2B employers may                     imposing a 30-day delay. 5 U.S.C.
                                           need additional flexibilities, beyond                   553(d)(3). The good cause exception to                   With this temporary final rule (TFR),
                                           supplemental visa numbers, to meet all                  the 30-day effective date requirement is              DHS is authorizing the immediate
                                           of their labor needs, particularly if some              easier to meet than the good cause                    release of an additional 22,000 H–2B
                                           U.S. and H–2B workers become                            exception for foregoing notice and                    visas. By the authority given under the
                                           unavailable due to illness or other                     comment rulemaking. Riverbend Farms,                  Further Consolidated Appropriations
                                           restrictions related to the spread of                   Inc. v. Madigan, 958 F.2d 1479, 1485                  Act, 2021, Public Law 116–260 (FY
                                           COVID–19. Therefore, DHS is acting                      (9th Cir. 1992); Am. Fed’n of Gov’t                   2021 Omnibus), DHS is raising the H–
                                           expeditiously to put in place rules that                Emps., AFL–CIO v. Block, 655 F.2d                     2B cap by an additional 22,000 visas for
                                           will facilitate the continued                           1153, 1156 (D.C. Cir. 1981); U.S. Steel               the remainder of FY 2021 to businesses
                                           employment of H–2B workers already                      Corp. v. EPA, 605 F.2d 283, 289–90 (7th               that: (1) Show that there are an
                                           present in the United States. This action               Cir. 1979). An agency can show good                   insufficient number of U.S. workers to
                                           will help employers fill these critically               cause for eliminating the 30-day delayed              meet their needs in FY 2021; (2) attest
                                           necessary nonagricultural job openings                  effective date when it demonstrates                   that their businesses are likely to suffer
                                           and protect U.S. businesses’ economic                   urgent conditions the rule seeks to                   irreparable harm without the ability to
                                           investments in their operations.                        correct or unavoidable time limitations.              employ the H–2B workers that are the
                                              Courts have found ‘‘good cause’’                     U.S. Steel Corp., 605 F.2d at 290; United             subject of their petition, among other
                                           under the APA when an agency is                         States v. Gavrilovic, 511 F.2d 1099,                  commitments; and (3) petition for
                                           moving expeditiously to avoid                           1104 (8th Cir. 1977). For the same                    returning workers who were issued an
                                           significant economic harm to a program,                 reasons set forth above expressing the                H–2B visa or were otherwise granted H–
                                           program users, or an industry. Courts                   need for immediate action, we also                    2B status in FY 2018, 2019, or 2020,
                                           have held that an agency may use the                    conclude that the Departments have                    unless the H–2B worker is a national of
                                           good cause exception to address ‘‘a                     good cause to dispense with the 30-day                Guatemala, Honduras, and El Salvador
                                           serious threat to the financial stability of            effective date requirement.                           (the Northern Triangle countries).
                                           [a government] benefit program,’’ Nat’l                                                                       Additionally, up to 6,000 of the 22,000
                                           Fed’n of Fed. Emps. v. Devine, 671 F.2d                 B. Executive Orders 12866 (Regulatory                 visas may be granted to workers from
                                           607, 611 (D.C. Cir. 1982), or to avoid                  Planning and Review) and 13563                        the Northern Triangle countries who are
                                           ‘‘economic harm and disruption’’ to a                   (Improving Regulation and Regulatory                  exempt from the returning worker
                                           given industry, which would likely                      Review)                                               requirement. This TFR aims to prevent
                                           result in higher consumer prices, Am.                      Executive Orders 12866 and 13563                   irreparable harm to certain U.S.
                                           Fed’n of Gov’t Emps. v. Block, 655 F.2d                 direct agencies to assess the costs and               businesses by allowing them to hire
                                           1153, 1156 (D.C. Cir. 1981).                            benefits of available regulatory                      additional H–2B workers within FY
                                              Consistent with the above authorities,               alternatives and, if regulation is                    2021.
                                           the Departments are bypassing notice                    necessary, to proceed (to the extent                     The estimated total costs to
                                                                                                   permitted by law) only if the benefits                petitioners ranges from $10,192,963 to
                                             100 Id.
                                                                                                   justify the costs and to select (again to             $26,063,006. The estimated total cost to
                                             101 https://travel.state.gov/content/travel/en/
                                                                                                   the extent permitted by law) the                      the Federal Government is $467,820.
                                           News/visas-news/national-interest-exception-for-
                                           certain-h-2-travelers-from-south-africa.html (Jan.      regulatory approach that maximizes net                DHS estimates that the total cost of this
                                           28, 2021).                                                                                                    rule ranges from $10,660,783 to
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                                             102 See Temporary Restriction of Travelers              103 Because the Departments have issued this rule   $26,530,826. The benefits of this rule
                                           Crossing US-Canada and Mexico Land Borders for          as a temporary final rule, this rule—with the sole    are diverse, though some of them are
                                           Non-Essential Purposes, https://help.cbp.gov/s/         exception of the document retention                   difficult to quantify. They include:
                                           article/Article-1596?language=en_                       requirements—will be of no effect after September
                                           US#:∼:text=On%20March%2021%2C                           30, 2021, even if Congress includes an authority
                                                                                                                                                            (1) Employers benefit from this rule
                                           %202020%2C%20the,EDT%20on%20April%2021                  similar to section 105 in a subsequent act of         significantly through increased access to
                                           %2C%202021 (last visited on April 20, 2021).            Congress.                                             H–2B workers;

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                                      VerDate Sep<11>2014   19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00021   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM   25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 254 of 350 PageID 4847
                                           28218                Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                             (2) Customers and others benefit                      these provisions may occur beyond the                 El Salvador, is likely to provide
                                           directly or indirectly from that                        borders of the United States; 104                     multiple benefits in terms of U.S. policy
                                           increased access;                                         (4) Some American workers may                       with respect to the Northern Triangle;
                                             (3) H–2B workers benefit from this                    benefit to the extent that they do not                and
                                           rule significantly through obtaining jobs               lose jobs through the reduced or closed
                                                                                                                                                            (6) The Federal Government benefits
                                           and earning wages, potential ability to                 business activity that might occur if
                                           port and earn additional wages, and                                                                           from increased evidence regarding
                                                                                                   fewer H–2B workers were available;
                                           increased information on COVID–19                         (5) The existence of a lawful pathway,              attestations. Table 1 provides a
                                           and vaccination distribution. DHS                       for the 6,000 visas set aside for new                 summary of the provisions in this rule
                                           recognizes that some of the effects of                  workers from Guatemala, Honduras, and                 and some of their impacts.

                                                                            TABLE 1—SUMMARY OF THE TFR’S PROVISIONS AND ECONOMIC IMPACT
                                                                                   Changes resulting from the                                                                 Expected benefits of the
                                                   Current provision                                                   Expected costs of the provisions of the TFR
                                                                                     provisions of the TFR                                                                     provisions of the TFR

                                           —The current statutory cap lim-       —The amended provisions               —The total estimated cost to file Form I–129        —Form I–129 petitioners
                                            its H–2B visa allocations to          will allow for an additional          by human resource specialists is approxi-           would be able to hire tem-
                                            66,000 workers a year.                22,000 H–2B temporary                 mately $1,344,810. The total estimated              porary workers needed to
                                                                                  workers. Up to 6,000 of the           cost to file Form I–129 and Form G–28 will          prevent their businesses
                                                                                  22,000 additional visas will          range from approximately $1,545,882 if              from suffering irreparable
                                                                                  be reserved for workers               filed by in-house lawyers to approximately          harm.
                                                                                  who are nationals of Guate-           $2,148,647 if filed by outsourced lawyers.         —Businesses that are de-
                                                                                  mala, Honduras, and El                The total estimated cost associated with fil-       pendent on the success of
                                                                                  Salvador and will be ex-              ing additional petitions ranges from                other businesses that are
                                                                                  empt from the returning               $2,890,692 to $3,493,457 depending on               dependent on H–2B work-
                                                                                  worker requirement.                   the filer.                                          ers would be protected from
                                                                                                                                                                            the repercussions of local
                                                                                                                                                                            business failures.
                                                                                                                                                                           —Some American workers
                                                                                                                                                                            may benefit to the extent
                                                                                                                                                                            that they do not lose jobs
                                                                                                                                                                            through the reduced or
                                                                                                                                                                            closed business activity that
                                                                                                                                                                            might occur if fewer H–2B
                                                                                                                                                                            workers were available.
                                                                                                                       —The total estimated costs associated with
                                                                                                                        filing Form I–907 if it is filed with Form I–
                                                                                                                        129 is $2,863,603 if filed by human re-
                                                                                                                        source specialists. The total estimated
                                                                                                                        costs associated with filing Form I–907
                                                                                                                        would      range      from      approximately
                                                                                                                        $2,259,184 if filed by an in-house lawyer to
                                                                                                                        approximately $2,322,317 if filed by an
                                                                                                                        outsourced lawyer. The total estimated
                                                                                                                        costs associated with requesting premium
                                                                                                                        processing ranges from approximately
                                                                                                                        $5,122,787 to approximately $5,185,920.
                                                                                                                       —DHS may incur additional adjudication
                                                                                                                        costs as more applicants file Form I–129.
                                                                                                                        However, these additional costs to USCIS
                                                                                                                        are expected to be covered by the fees
                                                                                                                        paid for filing the form, which have been
                                                                                                                        accounted for in costs to petitioners.
                                                                                 —Petitioners will be required         —The total estimated cost to petitioners to         —Form ETA–9142–B–CAA–4
                                                                                  to fill out the newly created         complete and file Form ETA–9142–B–                  will serve as initial evidence
                                                                                  Form ETA–9142–B–CAA–4,                CAA–4 is approximately $1,370,719.                  to DHS that the petitioner
                                                                                  Attestation for Employers                                                                 meets the irreparable harm
                                                                                  Seeking to Employ H–2B                                                                    standard and returning
                                                                                  Nonimmigrant Workers                                                                      worker requirements.
                                                                                  Under Section 105 of Div.
                                                                                  O of the Consolidated Ap-
                                                                                  propriations Act, 2021.
                                                                                 —Petitioners would be re-             —The total estimated cost to petitioners to         —The additional round of re-
                                                                                  quired to conduct an addi-            conduct an additional round of recruitment          cruitment will ensure that a
                                                                                  tional round of recruitment.          is approximately $516,622.                          U.S. worker that is willing
                                                                                                                                                                            and able to fill the position
                                                                                                                                                                            is not replaced by a non-
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                                                                                                                                                                            immigrant worker.



                                            104 See, e.g., Arnold Brodbeck et al., Seasonal        Southeastern United States: The Impact of H–2B        Employment on Guatemalan Livelihoods, 31
                                           Migrant Labor in the Forest Industry of the                                                                   Society and Natural Resources 1012 (2018).


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                                      VerDate Sep<11>2014   19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00022   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM   25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 255 of 350 PageID 4848
                                                               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                                   28219

                                                                   TABLE 1—SUMMARY OF THE TFR’S PROVISIONS AND ECONOMIC IMPACT—Continued
                                                                                   Changes resulting from the                                                                  Expected benefits of the
                                                   Current provision                                                   Expected costs of the provisions of the TFR
                                                                                     provisions of the TFR                                                                      provisions of the TFR

                                                                                 —Employers of H–2B workers            —The total estimated cost to petitioners to         —Workers would be given in-
                                                                                  would be required to pro-             provide COVID–19 vaccines and vaccina-              formation about equal ac-
                                                                                  vide information about                tion distribution site information is approxi-      cess to vaccines and vac-
                                                                                  equal access to COVID–19              mately $1,743.                                      cination distribution.
                                                                                  vaccines and vaccination
                                                                                  distribution sites.
                                                                                 —An H–2B nonimmigrant with            —The total estimated cost to file Form I–129        —H–2B workers with a valid
                                                                                  a valid visa who is phys-             if filed by human resource specialists will         visa present in the United
                                                                                  ically present in the United          range      from   $0   to      approximately        States will be able to port to
                                                                                  States may port to another            $2,081,206. The total estimated costs to            another employer and po-
                                                                                  employer.                             file Form I–129 and Form G–28 ranges                tentially extend their stay
                                                                                                                        from $0 to approximately $2,393,077 if filed        and, therefore, earn addi-
                                                                                                                        by in-house lawyers and from $0 to ap-              tional wages.
                                                                                                                        proximately $5,095,792 if filed by                 —An H–2B worker with an
                                                                                                                        outsourced lawyers.                                 employer that is not com-
                                                                                                                                                                            plying with H–2B program
                                                                                                                                                                            requirements would have
                                                                                                                                                                            additional flexibility in
                                                                                                                                                                            porting to another employ-
                                                                                                                                                                            er’s certified position.
                                                                                                                                                                           —This provision would ensure
                                                                                                                                                                            employers will be able to
                                                                                                                                                                            hire the H–2B workers they
                                                                                                                                                                            need.
                                                                                                                       —The total estimated cost associated with fil-
                                                                                                                        ing Form I–907 if filed by human resource
                                                                                                                        specialists ranges from $0 to approximately
                                                                                                                        $4,431,409. The total estimated cost to file
                                                                                                                        Form I–907 ranges from $0 to approxi-
                                                                                                                        mately $3,497,990 if filed by in-house law-
                                                                                                                        yers and from $0 to approximately
                                                                                                                        $3,595,738 if filed by outsourced lawyers.
                                                                                                                        The total estimated costs associated with
                                                                                                                        this provision ranges from $0 to approxi-
                                                                                                                        mately $15,204,145.
                                                                                                                       —DHS may incur some additional adjudica-
                                                                                                                        tion costs as more petitioners file Form I–
                                                                                                                        129. However, these additional costs to
                                                                                                                        USCIS are expected to be covered by the
                                                                                                                        fees paid for filing the form, which have
                                                                                                                        been accounted for in costs to petitioners.
                                                                                 —DHS and DOL intend to                —Employers will have to comply with audits          —DOL and DHS audits will
                                                                                  conduct a significant num-            for an estimated total opportunity cost of          yield evidence of the effi-
                                                                                  ber of random audits during           time of $290,400.                                   cacy of attestations in en-
                                                                                  the period of temporary              —It is expected both DHS and DOL will be             forcing compliance with H–
                                                                                  need to verify compliance             able to shift resources to be able to con-          2B supplemental cap re-
                                                                                  with H–2B program require-            duct these audits without incurring addi-           quirements.
                                                                                  ments, including the irrep-           tional costs. However, the Departments will        —Conducting a significant
                                                                                  arable harm standard as               incur opportunity costs of time. The audits         number of audits will dis-
                                                                                  well as other key worker              are expected to take a total of approxi-            courage uncorroborated at-
                                                                                  protection provisions imple-          mately 6,000 hours and cost approximately           testations.
                                                                                  mented through this rule.             $467,820.
                                              Source: USCIS and DOL analysis.


                                           Background and Purpose of the                           (DOL); and (2) file Form I–129 with                   and in April (33,000).106 Any unused
                                           Proposed Rule                                           DHS. The temporary nature of the                      H–2B visas from the first half of the
                                                                                                   services or labor described on the                    fiscal year will be available for
                                             The H–2B visa classification program
                                           was designed to serve U.S. businesses                   approved TLC is subject to DHS review                 employers seeking to hire H–2B workers
                                           that are unable to find a sufficient                    during adjudication of Form I–129.105                 during the second half of the fiscal year.
                                           number of U.S. workers to perform                       The current INA statute sets the annual               However, any unused H–2B visas from
                                           nonagricultural work of a temporary or                  number of H–2B visas for workers                      one fiscal year do not carry over into the
                                                                                                   performing temporary nonagricultural                  next and will therefore not be made
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                                           seasonal nature. For a nonimmigrant
                                           worker to be admitted into the United                   work at 66,000 to be distributed semi-
                                           States under this visa classification, the              annually beginning in October (33,000)
                                           hiring employer is required to: (1)
                                           Receive a temporary labor certification                                                                         106 See 8 U.S.C. 1184(g)(1)(B), INA 214(g)(1)(B)

                                           (TLC) from the Department of Labor                       105 Revised effective 1/18/2009; 73 FR 78104.        and 8 U.S.C. 1184(g)(4), INA 214(g)(4).


                                                                                                                                                                                       AR00637
                                      VerDate Sep<11>2014   19:46 May 24, 2021   Jkt 253001   PO 00000   Frm 00023   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM   25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 256 of 350 PageID 4849
                                           28220                Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           available.107 Once the statutory H–2B                   program. More specifically, this rule                    Of the 5,507 certified Applications for
                                           visa cap limit has been reached,                        would affect those employers that can                  Temporary Employment Certification
                                           petitioners must wait until the next half               establish that their business is likely to             DOL issued, USCIS data shows that
                                           of the fiscal year, or the beginning of the             suffer irreparable harm because they                   2,104 H–2B petitions for 36,792
                                           next fiscal year, for additional visas to               cannot employ the H–2B returning                       positions with approved certifications
                                           become available.                                       workers requested on their petition in                 were already filed toward the second
                                             On Dec 27, 2020, the President signed                 this fiscal year, without the exercise of              semi-annual cap of 33,000 visas.110
                                           the FY 2021 Omnibus that contains a                     authority that is the subject of this rule.            Therefore, we estimate that
                                           provision (Sec. 105 of Div. O) permitting               Due to the temporary nature of this rule               approximately 3,558 Applications for
                                           the Secretary of Homeland Security,                     and the limited time left for these                    Temporary Employment Certification
                                           under certain circumstances, to increase                additional visas to become available,                  may be filed towards the FY 2021
                                           the number of H–2B visas available to                   DHS believes that it is reasonable to                  supplemental cap. This number is based
                                           U.S. employers, notwithstanding the                     assume that eligible petitioners for these             on 5,507 (total certified) ¥ 2,104
                                           established statutory numerical                         additional 22,000 visas will generally be              (certified and already submitted under
                                           limitation. After consulting with the                   those employers that have already                      the second semi-annual cap) and 155
                                           Secretary of Labor, the Secretary of the                completed the steps to receive an
                                                                                                                                                          (Applications for Temporary
                                           Homeland Security has determined it is                  approved TLC prior to the issuance of
                                           appropriate to exercise his discretion                                                                         Employment Certification that are still
                                                                                                   this rule.
                                           and raise the H–2B cap by up to an                        This rule would also have additional                 being processed by DOL), and therefore
                                           additional 22,000 visas for the                         impacts on the population of H–2B                      represents a reasonable estimate of the
                                           remainder of FY 2021 for those                          employers and workers presently in the                 pool of potential petitions that may
                                           businesses who would qualify under                      United States by permitting some H–2B                  request additional H–2B workers under
                                           certain circumstances.                                  workers to port to another certified                   this rule, in other words, under the FY
                                             These businesses must attest that they                employer. These H–2B workers would                     2021 supplemental cap. USCIS
                                           will likely suffer irreparable harm if the              continue to earn wages and gaining                     recognizes that some employers would
                                           requested H–2B visas are not granted.                   employers would continue to obtain                     have to submit two Forms I–129 if they
                                           The Secretary has determined that                       necessary workers.                                     choose to request H–2B workers under
                                           initially up to 16,000 of the 22,000 these                                                                     both the returning worker and Northern
                                           supplemental visas will be limited to                   Population That Will File a Form I–129,                Triangle Countries cap. At this time,
                                           specified H–2B returning workers for                    Petition for a Nonimmigrant Worker                     USCIS cannot predict how many
                                           nationals of any country. Specifically,                   According to DOL OFLC’s                              employers will choose to take advantage
                                           these individuals must be workers who                   certification data for FY 2021, as of                  of this set-aside, and therefore recognize
                                           were issued H–2B visas or were                          April 15, 2021, about 6,172 TLCs for                   that the number of petitions may be
                                           otherwise granted H–2B status in fiscal                 107,654 H–2B positions were received                   underestimated. Additionally, due to
                                           years 2018, 2019, or 2020. The Secretary                with expected work start dates between                 the timing of the availability of these
                                           has also determined that up to 6,000 of                 April 1 and September 30, 2021. DOL                    additional 22,000 visas, USCIS assumes
                                           the 22,000 additional visas will be                     OFLC has approved 5,507 certifications                 there will not be additional TLCs filed
                                           reserved for workers who are nationals                  for 97,627 H–2B positions and is still                 with the DOL.
                                           of Guatemala, Honduras, and El                          reviewing the remaining 155 TLC
                                           Salvador, and that these 6,000 workers                  requests for 2,227 H–2B positions. DOL                 Population That Files Form G–28,
                                           will be exempt from the returning                       OFLC has denied, withdrawn, rejected,                  Notice of Entry of Appearance as
                                           worker requirement. Once the 6,000-                     or returned 510 certifications for 7,800               Attorney or Accredited Representative
                                           visa limit has been reached, a petitioner               H–2B positions.108 However, many of
                                           may continue to request H–2B visas for                  these certified worker positions have                    If an attorney or accredited
                                           workers who are nationals of                            already been filled under the semi-                    representative submits Form I–129 on
                                           Guatemala, Honduras, and El Salvador,                   annual cap of 33,000 and, for                          behalf of the petitioner, Form G–28,
                                           but these workers must be returning                     approximately 10 percent of the worker                 Notice of Entry of Appearance as
                                           workers. If the 6,000 exemption cap for                 positions certified and still under                    Attorney or Accredited Representative,
                                           nationals of the Northern Triangle                      review by DOL, employers indicated on                  must accompany the Form I–129
                                           countries remains unfilled by July 8,                   the Form ETA–9142B their intention to                  submission.111 Using data from FY 2016
                                           2021, USCIS will announce that the                      employ some or all of the H–2B workers                 to FY 2020, we estimate that
                                           remaining visas will be made available                  under the application who will be                      approximately 43.59 percent of Form I–
                                           to employers with TLCs that comply                      exempt from the statutory visa cap. The                129 petitions will be filed by a lawyer
                                           with the provisions of this rule but the                number of approved and pending                         or accredited representative (Table 2).
                                           petitioner must file a new Form I–129                   certifications is 5,662 for 99,854 H–2B                Table 2 shows the percentage of Form
                                           petition and attest that these noncitizens              positions.109                                          I–129 H–2B petitions that were
                                           will be returning workers.                                                                                     accompanied by a Form G–28. We
                                                                                                     108 As of April 15, 2021, DOL OFLC had denied
                                                                                                                                                          estimate that 1,551 Form I–129 and
                                           Population                                              163 applications for 2,161 positions and rejected 28
                                                                                                                                                          Form G–28 will be filed by in-house or
                                                                                                   applications for 360 positions. Employers had
                                             This rule would affect those                          withdrawn 312 applications for 5,161 positions and     outsourced lawyers, and that 2,007
                                           employers that file Form I–129 on                       returned 7 applications for 118 positions. This        Form I–129 will be filed by human
                                           behalf of nonimmigrant workers they                     totals 510 applications for 7,800 positions either     resources (HR) specialists.112
                                                                                                   denied, rejected, withdrawn, or returned.
                                           seek to hire under the H–2B visa                          109 Calculation: 5,507 approved certifications +
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                                                                                                                                                            110 USCIS, Office of Performance and Quality,
                                                                                                   155 pending certifications = 5,662 approved and
                                             107 A Temporary Labor Certification (TLC)             pending certifications.                                Data pulled on April 21, 2021.
                                                                                                                                                            111 USCIS, Filing Your Form G–28, https://
                                           approved by the Department of Labor must                  Calculation: 97,627 positions associated with
                                           accompany an H–2B petition. The employment start        approved certification + 2,227 positions associated    www.uscis.gov/forms/filing-your-form-g-28.
                                           date stated on the petition must match the start date   with pending certifications = 99,854 positions           112 Calculation: 3,558 estimated additional

                                           listed on the TLC. See 8 CFR 214.2(h)(6)(iv)(A) and     associated with approved and pending                   petitions * 43.59 percent of petitions filed by a
                                           (D).                                                    certifications.                                        lawyer = 1551 petitions (rounded) filed by a lawyer.


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                                      VerDate Sep<11>2014   19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00024   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM   25MYR2
                                                  Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                            Page 257 of 350 PageID 4850
                                                                        Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                                                                    28221

                                                   TABLE 2—FORM I–129 H–2B PETITION RECEIPTS THAT WERE ACCOMPANIED BY A FORM G–28, FY 2016–2020
                                                                                                                                                                                                                                        Percent of
                                                                                                                                                                                                  Number of                             Form I–129
                                                                                                                                                                                                  Form I–129       Total Number           H–2B
                                                                                                                                                                                                 H–2B petitions    of Form I–129
                                                                                                           Fiscal year                                                                                                                   petitions
                                                                                                                                                                                                 accompanied       H–2B petitions      accompanied
                                                                                                                                                                                                  by a Form           received          by a Form
                                                                                                                                                                                                     G–28                                  G–28

                                           2016 .............................................................................................................................................             2,795              6,527               42.82
                                           2017 .............................................................................................................................................             2,615              6,112               42.78
                                           2018 .............................................................................................................................................             2,626              6,148               42.71
                                           2019 .............................................................................................................................................             3,335              7,461               44.70
                                           2020 .............................................................................................................................................             2,434              5,422               44.89

                                                 2016–2020 Total ...................................................................................................................                     13,805             31,670               43.59
                                              Source: USCIS Claims3 database, queried using the SMART utility by the USCIS Office of Policy and Strategy on April 8, 2021.


                                           Population That Files Form I–907,                                           Form I–129 H–2B petitions that were                                         rule. Based on this historical data,
                                           Request for Premium Processing Service                                      filed with a Form I–907. USCIS                                              USCIS estimates that 3,322 Forms I–907
                                             Employers may use Form I–907,                                             estimates that approximately 93.37                                          will be filed with the Forms I–129 as a
                                           Request for Premium Processing                                              percent of Form I–129 H–2B petitioners                                      result of this rule.113 We estimate that
                                           Service, to request faster processing of                                    will also file a Form I–907 requesting                                      1,448 Forms I–907 will be filed by in-
                                           their Form I–129 petitions for H–2B                                         premium processing, though this could                                       house or outsourced lawyers and 1,874
                                           visas. Table 3 shows the percentage of                                      be higher because of the timing of this                                     will be filed by HR specialists.114

                                                   TABLE 3—FORM I–129 H–2B PETITION RECEIPTS THAT WERE ACCOMPANIED BY A FORM I–907, FY 2016–2020
                                                                                                                                                                                                   Number of                            Percent of
                                                                                                                                                                                                                   Total Number
                                                                                                                                                                                                   Form I–129                           Form I–129
                                                                                                                                                                                                                   of Form I–129
                                                                                                                                                                                                     H–2B                                 H–2B
                                                                                                           Fiscal year                                                                                                  H–2B
                                                                                                                                                                                                    petitions                            petitions
                                                                                                                                                                                                                      petitions
                                                                                                                                                                                                  accompanied                          accompanied
                                                                                                                                                                                                                      received
                                                                                                                                                                                                 by Form I–907                        by Form I–907

                                           2016 .............................................................................................................................................             6,084              6,527               93.21
                                           2017 .............................................................................................................................................             5,932              6,112               97.05
                                           2018 .............................................................................................................................................             5,986              6,148               97.36
                                           2019 .............................................................................................................................................             7,227              7,461               96.86
                                           2020 .............................................................................................................................................             4,341              5,422               80.06

                                                 2016–2020 Total ...................................................................................................................                     29,570             31,670               93.37
                                              Source: USCIS Claims3 database, queried using the SMART utility by the USCIS Office of Policy and Strategy on April 8, 2021.


                                           Population That Files Form ETA–9142–                                        workers, comply with third party                                            TLCs seeking to hire H–2B workers. We
                                           B–CAA–4, Attestation for Employers                                          notification, and maintain required                                         use the population of 66,000 H–2B
                                           Seeking To Employ H–2B                                                      records, among other requirements. DOL                                      workers authorized by statute and
                                           Nonimmigrant Workers Under Section                                          estimates that each of the 3,558                                            22,000 additional H–2B workers
                                           105 of Division O of the Consolidated                                       petitioners will need to file a Form                                        authorized by this supplemental cap
                                           Appropriations Act, 2021 Public Law                                         ETA–9142–B–CAA–4 and comply with                                            regulation as a proxy for the H–2B
                                           116–260                                                                     its provisions.                                                             population that could be currently
                                                                                                                       Population Affected by the Portability                                      present in the United States.115 We use
                                             Petitioners seeking to take advantage                                                                                                                 the number of approved TLCs (5,507) to
                                                                                                                       Provision
                                           of the FY 2021 H–2B supplemental visa                                                                                                                   estimate the potential number of Form
                                           cap will need to file a Form ETA–9142–                                        The population affected by this                                           I–129 H–2B petitions that incur impacts
                                           B–CAA–4 attesting their business will                                       provision are nonimmigrants in H–2B                                         associated with this porting provision.
                                           suffer irreparable harm without the                                         status who are present in the United                                        USCIS is not able to predict an estimate
                                           ability to hire temporary nonimmigrant                                      States and the employers with valid                                         of what percentage of these approved

                                              Calculation: 3,558 estimated additional petitions                          Calculation: 3,322 additional Form I–907 ¥ 1448                           Customs and Border Protection (CBP). See
                                           ¥ 1,551 petitions filed by a lawyer = 2,007                                 additional Form I–907 filed by a lawyer = 1,874                             Characteristics of H–2B Nonagricultural Temporary
                                           petitions filed by an HR specialist.                                        additional Form I–907 filed by an HR specialist.                            Workers FY2020 Report to Congress at https://
                                              113 Calculation: 3,558 estimated additional
                                                                                                                         115 H–2B workers may have varying lengths in                              www.uscis.gov/sites/default/files/document/
                                                                                                                       time approved on their H–2B visas. This number                              reports/H-2B-FY20-Characteristics-Report.pdf.
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                                           petitions * 93.37 percent premium processing filing
                                                                                                                       may overestimate H–2B workers who have already                              USCIS assumes some of these workers, along with
                                           rate = 3,322 (rounded) additional Form I–907.                               completed employment and departed and may                                   current workers with a valid H–2B visa under the
                                              114 Calculation: 3,322 additional Form I–907 *
                                                                                                                       underestimate H–2B workers not reflected in the                             cap, could be eligible to port under this new
                                           43.59 percent of petitioners represented by a lawyer                        current cap and long-term H–2B workers. In                                  provision. USCIS does not know the exact number
                                           = 1,448 (rounded) additional Form I–907 filed by                            FY2020, 346 requests for change of status to H–2B                           of H–2B workers who would be eligible to port at
                                           a lawyer.                                                                   were approved by USCIS and 3,505 crossings of                               this time but uses the cap and supplemental cap
                                                                                                                       visa-exempt H–2B workers were processed by                                  allocations as a possible proxy for this population.


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                                      VerDate Sep<11>2014         19:01 May 24, 2021           Jkt 253001      PO 00000        Frm 00025        Fmt 4701       Sfmt 4700       E:\FR\FM\25MYR2.SGM          25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                     Page 258 of 350 PageID 4851
                                           28222                Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           TLCs will file petitions for H–2B                               and the remainder (56.41 percent) will            compensation for an outsourced lawyer
                                           workers who would port under this                               be filed by an HR specialist or                   is $178.98 per hour.122 If a lawyer
                                           provision. Therefore, USCIS presents a                          equivalent occupation. DHS presents               submits Form I–129 on behalf of the
                                           sensitivity analysis in Table 4 based on                        estimated costs for HR specialists filing         petitioner, Form G–28 must accompany
                                           the percentage of employers with                                Form I–129 petitions and an estimated             the Form I–129 petition.123 DHS
                                           approved TLCs that could file a Form I–                         range of costs for in-house lawyers or            estimates the time burden to complete
                                           129 H–2B petition in order to obtain an                         outsourced lawyers filing Form I–129              and submit Form G–28 for a lawyer is
                                           H–2B worker under the porting                                   petitions.                                        50 minutes (0.83 hour, rounded).124 For
                                           provision.                                                         To estimate the total opportunity cost         this analysis, DHS adds the time to
                                                                                                           of time to HR specialists who complete            complete Form G–28 to the opportunity
                                             TABLE 4—SENSITIVITY ANALYSIS OF                               and file Form I–129, DHS uses the mean            cost of time to lawyers for filing Form
                                              FORM I–129 H–2B PETITIONS FILED hourly wage rate of HR specialists of                                          I–129 on behalf of a petitioner. This
                                              ON BEHALF OF H–2B WORKERS $33.38 as the base wage rate.
                                                                                                                                               117 If
                                                                                                                                                             results in a time burden of 5.17 hours
                                              WHO MAY BE ELIGIBLE TO PORT                                  petitioners     hire an  in-house   or            for in-house lawyers and outsourced
                                                                                                           outsourced lawyer to file Form I–129 on           lawyers to complete Form G–28 and
                                                                                           Estimated       their behalf, DHS uses the mean hourly            Form I–129.125 Therefore, the total
                                                                                           number of       wage rate of $71.59 as the base wage              opportunity cost of time per petition for
                                                                                            approved       rate.118 Using the most recent Bureau of          an HR specialist to complete and file
                                                                                          Form I–129       Labor Statistics (BLS) data, DHS                  Form I–129 is approximately $210.06,
                                           Percent of Form I–129 H–2B H–2B                       petitions
                                           petitions that may be filed on                 that  may   be   calculated a benefits-to-wage multiplier          for an in-house lawyer to complete and
                                            behalf of workers eligible to                                  of 1.45 to estimate the full wages to             file Forms I–129 and G–28 is about
                                                                                             filed on
                                                              port                          behalf of      include benefits such as paid leave,              $536.70, and for an outsourced lawyer
                                                                                             workers       insurance, and retirement.119 DHS                 to complete and file is approximately
                                                                                             eligible
                                                                                              to port      multiplied the average hourly U.S. wage           $925.33.126 The total cost, including
                                                                                                           rate for HR specialists and for in-house          filing fee and opportunity costs of time,
                                           0 ............................................                0 lawyers by the benefits-to-wage                   per petitioner to file Form I–129 is
                                           5 ............................................              275 multiplier of 1.45 to estimate the full           approximately $670.06 if HR specialists
                                           25 ..........................................            1,377 cost of employee wages. The total                  file, $996.70 if an in-house lawyer files,
                                           50 ..........................................            2,754 compensation for an HR specialist is
                                                                                                                                                             and $1,385.33 if an outsourced lawyer
                                           75 ..........................................            4,130 $48.40 per hour, and the total
                                           95 ..........................................            5,232                                                    files the form.127
                                           100 ........................................             5,507
                                                                                                           compensation for an in-house lawyer is
                                                                                                           $103.81 per hour.120 In addition, DHS             Cost to Petitioners
                                             Source: USCIS Analysis.                                       recognizes that an entity may not have              As mentioned in Section 3, the
                                           Population Affected by the Audits                               in-house lawyers and seek outside                 estimated population impacted by this
                                                                                                           counsel to complete and file Form I–129           rule is 3,558 eligible petitioners who are
                                             DHS and DOL each intend to conduct on behalf of the petitioner. Therefore,                                      projected to apply for the additional
                                           250 audits of employers hiring H–2B                             DHS presents a second wage rate for               22,000 H–2B visas for the remainder of
                                           workers under this FY2021 H–2B                                  lawyers labeled as outsourced lawyers.            FY 2021, with 6,000 of the additional
                                           supplemental cap rule. The                                      DHS recognizes that the wages for                 visas reserved for employers that will
                                           determination of which employers are                            outsourced attorneys may be much                  petition for workers who are nationals
                                           audited will be mostly random, though                           higher than in-house attorneys and
                                           the agencies will coordinate so that no                         therefore uses a higher compensation-to-          information received in public comment to that
                                           employer is audited by both DOL and                             wage multiplier of 2.5 for outsourced             rule. We believe the explanation and methodology
                                           DHS. Therefore, a total of 500 audits on                        attorneys.121 DHS estimates the total             used in the Final Small Entity Impact Analysis
                                           employers who petition for H–2B                                                                                   remains sound for using 2.5 as a multiplier for
                                                                                                                                                             outsourced labor wages in this rule, see page G–4
                                           workers under this TFR will be                                    117 U.S. Department of Labor, Bureau of Labor
                                                                                                                                                             [September 1, 2015] [https://www.regulations.gov/
                                           conducted by the Federal Government.                            Statistics, ‘‘May 2020 National Occupational      document/ICEB-2006-0004-0921].
                                                                                                   Employment and Wage Statistics’’ Human                      122 Calculation: Average hourly wage rate of
                                           Cost-Benefit Analysis                                   Resources Specialist (13–1071), Mean Hourly Wage,         lawyers × benefits-to-wage multiplier for
                                                                                                   available at https://www.bls.gov/oes/2020/may/oes_
                                              The provisions of this rule require the              nat.htm#13-0000 (accessed April 9, 2021).
                                                                                                                                                             outsourced lawyer = $71.59 × 2.5 = $178.98.
                                                                                                                                                               123 USCIS, Filing Your Form G–28, https://
                                           submission of a Form I–129 H–2B                           118 U.S. Department of Labor, Bureau of Labor
                                                                                                                                                             www.uscis.gov/forms/filing-your-form-g-28.
                                           petition. The costs for this form include               Statistics. ‘‘May 2020 National Occupational                124 Id.
                                           filing costs and the opportunity cost of                Employment and Wage Estimates’’ Lawyers (23–                125 Calculation: 0.83 hours to file Form G–28 +
                                                                                                   1011), Mean Hourly Wage, available at https://
                                           time to complete and submit the form.                   www.bls.gov/oes/2020/may/oes_nat.htm#23-0000              4.34 hours to file Form I–129 = 5.17 hours to file
                                           The current filing fee for Form I–129 is                (accessed April 9, 2021).                                 both forms.
                                           $460 and the estimated time to complete                   119 Calculation: $38.60 mean Total Employee
                                                                                                                                                               126 Calculation if an HR specialist files Form I–

                                           and file Form I–129 for H–2B                            Compensation per hour for civilian workers/$26.53         129: $48.40 × 4.34 hours = $210.06 (rounded).
                                                                                                   mean Wages and Salaries per hour for civilian                Calculation if an in-house lawyer files Forms I–
                                           classification is 4.34 hours.116 The                                                                              129 and G–28: $103.81 × 5.17 hours = $536.70
                                                                                                   workers = 1.45 benefits-to-wage multiplier. See
                                           application must be filed by a U.S.                     Economic News Release, Bureau of Labor Statistics,        (rounded).
                                           employer, a U.S. agent, or a foreign                    U.S. Department of Labor, Table 1. Employer Costs            Calculation if an outsourced lawyer files Forms
                                           employer filing through the U.S. agent.                 for Employee Compensation by ownership, Civilian          I–129 and G–28: $178.98 × 5.17 hours = $925.33
                                           DHS estimates that 43.59 percent of                     workers, available at https://www.bls.gov/                (rounded).
                                                                                                   news.release/pdf/ecec.pdf (accessed April 9, 2021).         127 Calculation if an HR specialist files Form I–
                                           Form I–129 H–2B petitions will be filed                   120 Calculation for the total wage of an HR             129 and filing fee: $210.06 opportunity cost of time
                                           by an in-house or outsourced lawyer,
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                                                                                                   specialist: $33.38 × 1.45 = $48.40 (rounded).             + $460 filing fee = $670.06.
                                                                                                     Calculation for the total wage of an in-house             Calculation if an in-house lawyer files Forms I–
                                             116 The public reporting burden for this form is      lawyer: $71.59 × 1.45 = $103.81 (rounded).                129, G–28, and filing fee: $536.70 opportunity cost
                                           2.34 hours for Form I–129 and an additional 2.00          121 The DHS ICE ‘‘Safe-Harbor Procedures for            of time + $460 filing fee = $996.70.
                                           hours for H Classification Supplement, totaling 4.34    Employers Who Receive a No-Match Letter’’ used              Calculation if outsourced lawyer files Forms I–
                                           hours. See Form I–129 instructions at https://          a multiplier of 2.5 to convert in-house attorney          129, G–28 and filing fee: $925.33 opportunity cost
                                           www.uscis.gov/i-129.                                    wages to the cost of outsourced attorney based on         of time + $460 filing fee = $1,385.33.


                                                                                                                                                                                          AR00640
                                      VerDate Sep<11>2014   19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00026    Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM      25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                    Page 259 of 350 PageID 4852
                                                                Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                                     28223

                                           of the Northern Triangle countries who                  to complete and submit Form I–907 per                       Additionally, the form requires that
                                           are exempt from the returning worker                    petitioner is approximately $1,528.07                    petitioners assess and document
                                           requirement.                                            for HR specialists, $1,560.21 for in-                    supporting evidence for meeting the
                                                                                                   house lawyers, and $1,603.81 for                         irreparable harm standard, and retain
                                           Costs to Petitioners To File Form I–129
                                                                                                   outsourced lawyers.133                                   those documents and records, which we
                                           and Form G–28                                              As discussed above, DHS estimates                     assume will require the resources of a
                                              As discussed above, DHS estimates                    that an additional 1,874 Form I–907 will                 financial analyst (or another equivalent
                                           that an additional 2,007 petitions will                 be filed by HR specialists and an                        occupation). Using the same
                                           be filed by HR specialists using Form I–                additional 1,448 Form I–907 will be                      methodology previously described for
                                           129 and an additional 1,551 petitions                   filed lawyers. DHS estimates the total                   wages, the total wage per hour for a
                                           will be filed by lawyers using Form I–                  cost of Form I–907 filed by HR                           financial analyst is $67.37.138 DOL
                                           129 and Form G–28. DHS estimates the                    specialists is about $2,863,603                          estimates the time burden for these tasks
                                           total cost to file Form I–129 petitions if              (rounded).134 DHS estimates total cost to                is at least 4 hours, and 1 hour for
                                           filed by HR specialists is $1,344,810                   file Form I–907 filed by lawyers range                   gathering and retaining documents and
                                           (rounded).128 DHS estimates total cost to               from about $2,259,184 (rounded) for                      records. Therefore, the total opportunity
                                           file Form I–129 petitions and Form G–                   only in-house lawyers to $2,322,317                      cost of time for a financial analyst to
                                           28 if filed by lawyers will range from                  (rounded) for only outsourced                            assess, document, and retain supporting
                                           $1,545,882 (rounded) if only in-house                   lawyers.135 The estimated total cost to                  evidence is approximately $336.85.139
                                           lawyers file these forms to $2,148,647                  file Form I–907 range from $5,122,787                       As discussed previously, DHS
                                           (rounded) if only outsourced lawyers                    and $5,185,920.136                                       believes that the estimated 3,558
                                           file them.129 Therefore, the estimated                                                                           remaining certifications for the latter
                                           total cost to file Form I–129 and Form                  Cost To File Form ETA–9142–B–CAA–
                                                                                                   4                                                        half of FY 2021 would include potential
                                           G–28 range from $2,890,692 and                                                                                   employers that might request to employ
                                           $3,493,457.130                                             Form ETA–9142–B–CAA–4 is an
                                                                                                                                                            H–2B workers under this rule. This
                                                                                                   attestation form that includes recruiting
                                           Costs To File Form I–907                                                                                         number of certifications is a reasonable
                                                                                                   requirements, the irreparable harm
                                             Employers may use Form I–907 to                                                                                proxy for the number of employers that
                                                                                                   standard, and document retention
                                           request premium processing of Form I–                                                                            may need to review and sign the
                                                                                                   obligations. DOL estimates the time
                                           129 petitions for H–2B visas. The filing                                                                         attestation. Using this estimate for the
                                                                                                   burden for completing and signing the
                                           fee for Form I–907 for H–2B petitions is                                                                         total number of certifications, we
                                                                                                   form is 0.25 hour, 0.25 hours for
                                           $1,500 and the time burden for                                                                                   estimate the opportunity cost of time for
                                                                                                   retaining records, and 0.5 hours to
                                           completing the form is 35 minutes (0.58                                                                          completing the attestation for HR
                                                                                                   comply with the returning workers’
                                           hour).131 Using the wage rates                          attestation, for a total time burden of 1                specialists is approximately $172,207
                                           established previously, the opportunity                 hour. Using the total wage per hour for                  and for financial analysts is about
                                           cost of time to file Form I–907 is                      an HR specialist ($48.40), the                           $1,198,512.140 The total cost is
                                           approximately $28.07 for an HR                          opportunity cost of time for an HR                       estimated to be approximately
                                           specialist, $60.21 for an in-house                      specialist to complete the attestation                   $1,370,719.141
                                           lawyer, and $103.81 for an outsourced                   form, and notify third parties, and retain               Cost to Conduct Recruitment
                                           lawyer.132 Therefore, the total filing cost             records relating to the returning worker
                                                                                                                                                              An employer that files Form ETA–
                                                                                                   requirements, is approximately
                                                                                                                                                            9142B–CAA–4 and the I–129 petition 45
                                             128 Calculation: $670.06 opportunity costs for HR
                                                                                                   $48.40.137
                                           specialist plus filing fees * 2,007 Form I–129 filed                                                             or more days after the certified start date
                                           by HR specialists = $1,344,810(rounded) total cost         133 Calculation if an HR specialist files: $28.07 +   of work must conduct additional
                                           of Form I–129 filed by HR specialists.
                                              129 Calculation: $996.70 opportunity costs for in-
                                                                                                   $1,500 = $1,528.07.
                                                                                                                                                               138 Calculation: $46.46 (average per hour wage for
                                           house lawyers plus filing fees * 1,551 Form I–129          Calculation if an in-house lawyer files: $60.21 +
                                                                                                   $1,500 = $1,560.21.                                      a financial analyst, based on BLS wages) × 1.45
                                           and Form G–28 filed by in-house lawyers =                                                                        (benefits-to-wage multiplier) = $67.37. U.S.
                                           $1,545,882(rounded) total cost of Form I–129 and           Calculation if outsourced lawyer files: $103.81 +
                                                                                                   $1,500 = $1,603.81.                                      Department of Labor, Bureau of Labor Statistics,
                                           Form G–28 filed by in-house lawyers.                                                                             ‘‘May 2020 National Occupational Employment and
                                                                                                      134 Calculation: $1,528.07 opportunity costs for
                                              Calculation: $1,385.33 opportunity costs for                                                                  Wage Statistics’’ Financial and Investment
                                           outsourced lawyers plus filing fees * 1,551 Form I–     HR specialist plus filing fees * 1,874 Form I–907
                                                                                                   filed by HR specialists = $2,863,603 (rounded) total     Analysts, Financial Risk Specialists, and Financial
                                           129 and Form G–28 filed by outsourced lawyers =                                                                  Specialists, All Other (13–2098): https://
                                                                                                   cost of Form I–907 filed by HR specialists.
                                           $2,148,647(rounded) total cost of Form I–129 and           135 Calculation: $1,560.21 opportunity costs for      www.bls.gov/oes/2020/may/oes_nat.htm#13-0000
                                           Form G–28 filed by outsourced lawyers.                                                                           (accessed April 9, 2021).
                                              130 Calculation: $1,344,810 total cost of Form I–
                                                                                                   in-house lawyers plus filing fees * 1,448 Form I–
                                                                                                                                                               139 Calculation: $67.37 (fully loaded hourly wage
                                                                                                   907 filed by in-house lawyers = $2,259,184
                                           129 filed by HR specialists + $1,545,882 total cost     (rounded) total cost of Form I–907 filed by in-house     for a financial analyst) × 5 hours (time burden for
                                           of Form I–129 and Form G–28 filed by in-house           lawyers.                                                 assessing, documenting and retention of supporting
                                           lawyers = $2,890,692 estimated total costs to file                                                               evidence demonstrating the employer is likely to
                                                                                                      Calculation: $1,603.81 opportunity costs for
                                           Form I–129 and G–28                                                                                              suffer irreparable harm) = $336.85.
                                                                                                   outsourced lawyers plus filing fees * 1,448 Form I–
                                              Calculation: $1,344,810 total cost of Form I–129     907 filed by outsourced lawyers = $2,322,317                140 Calculations: Cost for HR Specialists: $48.40
                                           filed by HR specialists + $2,148,647 total cost of      (rounded) total cost of Form I–907 filed by              opportunity cost of time for an HR specialist to
                                           Form I–129 and G–28 filed by outsourced lawyers         outsourced lawyers.                                      comply with attestation requirements * 3,558
                                           = $3,493,457 estimated total costs to file Form I–         136 Calculation: $2,863,603 total cost of Form I–     estimated additional petitions = $172,207(rounded)
                                           129 and G–28                                            907 filed by HR specialists + $2,259,184 total cost      total cost for HR specialists to comply with
                                              131 See Form I–907 instructions at https://
                                                                                                   of Form I–907 filed by in-house lawyers =                attestation requirements.
                                           www.uscis.gov/i-907.                                    $5,122,787 estimated total costs to file Form I–907.        Calculation: $336.85 opportunity cost of time for
                                              132 Calculation for opportunity cost of time if an
                                                                                                      Calculation: $2,863,603 total cost of Form I–129      a financial analyst to comply with attestation
                                           HR specialist files Form I–907: $48.40 × 0.58 hours     filed by HR specialists + $2,322,317 total cost of       requirements * 3,558 estimated additional petitions
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                                           = $28.07(rounded).                                      Form I–907 filed by outsourced lawyers =                 = $1,198,512(rounded) for financial analysts to
                                              Calculation for opportunity cost of time if an in-   $5,185,920 estimated total costs to file Form I–907.     comply with attestation requirements.
                                           house lawyer files Form I–907: $103.81 × 0.58              137 Calculation: $48.40 opportunity cost of time         141 Calculation: $172,207 total cost for HR
                                           hours= $60.21(rounded).                                 for HR specialist × 1-hour time burden for the new       specialist to comply with attestation requirement +
                                              Calculation for opportunity cost of time if an       attestation form and notifying third parties and         $1,198,512 total cost for financial analysts to
                                           outsourced lawyer files Form I–907: $178.98 × 0.58      retaining records related to the returning worker        comply with attestation requirements = $1,370,719
                                           hours = $103.81(rounded).                               requirements = $48.40.                                   total cost to comply with attestation requirements.


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                                      VerDate Sep<11>2014   19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00027   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM      25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                      Page 260 of 350 PageID 4853
                                           28224                Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           recruitment of U.S. workers. This                       distribution sites. We assume that                       TABLE 5—NUMBERS OF FORM I–129
                                           consists of placing a new job order with                employers will provide a printed                          H–2B PETITIONS THAT MAY BE
                                           the State Workforce Agency, contacting                  notification to inform their employees                    FILED ON BEHALF OF H–2B WORK-
                                           the American Job Center, and contacting                 and that printing and posting the                         ERS THAT CHOOSE TO PORT BY HR
                                           laid-off workers. Employers must place                  notification can be done during the
                                           a new job order for the job opportunity
                                                                                                                                                             SPECIALISTS AND LAWYERS
                                                                                                   normal course of business. Given that
                                           with the State Workforce Agency                         the regulatory text associated with this                                                      Numbers of
                                           (SWA). DOL estimates that it would take                                                                                              Numbers of
                                                                                                   provision is less than 150 words, we                    Percent of           Form I–129       Form I–129
                                           up to one hour to satisfy this                          expect that an employer would only                      approved            H–2B petitions   H–2B petitions
                                           requirement.                                                                                                                                           and Form
                                                                                                   need to post a one-page notification,                     TLCs               filed by HR
                                              Employers are required to make                                                                                                                     G–28 filed
                                                                                                                                                                                 specialists
                                                                                                   even if the notification is in multiple                                                       by lawyers
                                           reasonable efforts to contact, by mail or
                                                                                                   languages. The printing cost associated
                                           other effective means, their former U.S.                                                                       0 ................               0                0
                                           workers, including those workers who                    with posting the notification (assuming
                                                                                                                                                          5 ................             155              120
                                           were furloughed and laid off, beginning                 that the notification is written) is $0.49             25 ..............              777              600
                                           January 1, 2019. Employers must also                    per posting.144 The estimated total cost               50 ..............            1,554            1,200
                                           disclose the terms of the job order to                  to petitioners to print copies is                      75 ..............            2,330            1,800
                                           these workers as required by the rule.                  approximately $1,743 (rounded).145                     95 ..............            2,951            2,281
                                                                                                                                                          100 ............             3,106            2,401
                                           DOL estimates that it would take up to                  Cost of the Portability Provision
                                           one hour to contact and provide the                                                                               Source: USCIS Analysis.
                                           disclosure to displaced U.S. workers.                      Petitioners seeking to hire H–2B                       Previously, we estimated that about
                                              During the period of time the SWA is                 nonimmigrants who are currently                        93.37 percent of Form I–129 H–2B
                                           actively circulating the job order,                     present in the United States with a valid              petitions are filed with Form I–907 for
                                           employers must contact, by email or                     H–2B visa would need to file a Form                    premium processing. For this provision,
                                           other available electronic means, the                   I–129 which includes paying the                        we estimate that 5,142 Form I–129 H–
                                           nearest local American Job Center (AJC)                 associated fee as discussed above. Also                2B petitions will be filed with premium
                                           in order to request staff assistance                    previously discussed, we assume that                   processing Forms I–907.146 Table 6
                                           advertising and recruiting qualified U.S.               all employers with an approved TLC—                    presents a sensitivity analysis of the
                                           workers for the job opportunity, and to                 5,507—would be able to file a petition                 numbers of Forms I–907 that may be
                                           provide to the AJC the unique                                                                                  filed by HR specialists and lawyers
                                                                                                   under this provision. As discussed
                                           identification number associated with                                                                          under this portability provision.
                                                                                                   previously, if a petitioner is represented
                                           the job order placed with the SWA. DOL
                                           estimates that it would take up to one                  by a lawyer, the lawyer must file Form
                                                                                                   G–28; if premium processing is desired,                  TABLE 6—NUMBERS OF FORM I–907
                                           hour to satisfy this requirement.
                                              DOL estimates the total time burden                  a petitioner must file Form I–907 and                     FILED WITH FORM I–129 H–2B PE-
                                           for activities related to conducting                    pay the associated fee. We expect these                   TITIONS ON BEHALF OF H–2B
                                           recruitment is 3 hours. Assuming this                   actions to be performed by an HR                          WORKERS THAT CHOOSE TO PORT
                                           work will be done by an HR specialist                   specialist, in-house lawyer, or an                        BY HR SPECIALISTS AND LAWYERS
                                           or an equivalent occupation, the                        outsourced lawyer. Moreover, as
                                           estimated cost to each petitioner is                    previously estimated, we expect that                                         Numbers of       Numbers of
                                                                                                                                                           Percent of           Form I–907       Form I–907
                                           approximately $145.20.142 Using the                     about 43.59 percent of these Form I–129                 approved             filed by HR        filed by
                                           3,558 as the estimated number of                        petitions will be filed by an in-house or                 TLCs                specialists       lawyers
                                           petitioners, the estimated total cost of                outsourced lawyer. We do not have an
                                           this provision is approximately                         estimate of the percentage of H–2B                     0 ................               0                0
                                           $516,622.143 It is possible that if U.S.                workers that may choose to port under                  5 ................             145              112
                                           employees apply for these positions,                                                                           25 ..............              725              560
                                                                                                   this provision and therefore we do not                 50 ..............            1,451            1,120
                                           H–2B employers may incur some costs                     know the numbers of petitions that may                 75 ..............            2,176            1,681
                                           associated with reviewing applications,                 be filed with USCIS. Therefore, Table 5                95 ..............            2,755            2,130
                                           interviewing, vetting, and hiring                       presents a sensitivity analysis of the                 100 ............             2,900            2,242
                                           applicants who are referred to H–2B                     number of Forms I–129 H–2B petitions
                                           employers by the recruiting activities                                                                            Source: USCIS Analysis.
                                                                                                   that may be filed under this provision
                                           required by this rule. However, DOL is                  by an HR specialist and the number of                     As previously discussed, the
                                           unable to quantify the impact.                          Forms I–129 H–2B petitions and                         estimated cost for an HR specialist to
                                                                                                                                                          file a Form I–129 is approximately
                                           Cost of the COVID Protection Provision                  accompanying Forms G–28 that may be
                                                                                                                                                          $670.06 and the estimated cost for an
                                              Employers must notify employees, in                  filed by an in-house or outsourced
                                                                                                                                                          HR specialist to file a Form I–907 is
                                           a language understood by the worker, as                 lawyer.
                                                                                                                                                          about $1,528.07. Table 7 presents a
                                           necessary or reasonable, that all persons                                                                      sensitivity analysis of costs resulting
                                           in the United States, including                                                                                from HR specialists filing Form I–129,
                                           nonimmigrants, have equal access to                                                                            Form I–907, and the estimated total
                                           COVID–19 vaccines and vaccine                                                                                  cost. The ‘‘Cost for HR Specialist Filing
                                                                                                                                                          Form I–129’’ column multiplies the
                                             142 Calculation: $48.40 hourly opportunity cost of
                                                                                                                                                          values in the ‘‘Form I–129 Petitions
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                                           time for an HR specialist * 3-hour time burden =
                                           $145.20 per petitioner cost to conduct additional                                                              Filed by HR Specialists’’ column from
                                                                                                     144 Cost to make copies $0.49. See https://
                                           recruitment.
                                             143 Calculation: 3,558 estimated number of            www.fedex.com/en-us/office/copy-and-print-               146 Calculation: 5,507 estimated number of

                                           petitioners * $145.20 per petitioner cost to conduct    services.html (accessed April 21, 2021).               approved petitioners * 93.37 percent premium
                                                                                                     145 Calculation: $0.49 per posting * 3,558
                                           additional recruitment = $516,622 (rounded) total                                                              processing filing rate = 5,142 (rounded) additional
                                           cost to conduct additional recruitment.                 petitioners = $1,743 cost of notifications copies.     Forms I–907.


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                                      VerDate Sep<11>2014   19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00028   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM      25MYR2
                                                   Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                              Page 261 of 350 PageID 4854
                                                                        Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                                                                28225

                                           Table 5 by $670.06, the estimated cost                                        Form I–907’’ column multiplies the                                          the estimated cost for an HR specialist
                                           for an HR specialist to file a Form I–129.                                    values in the ‘‘Form I–907 Filed by HR                                      for an HR specialist to file a Form I–907.
                                           The ‘‘Costs for HR Specialist Filing                                          Specialists’’ from Table 6 by $1,528.07,

                                                    TABLE 7—TOTAL COSTS FOR FILING FORM I–129 H–2B PETITIONS IF FILED BY HR SPECIALISTS ON BEHALF OF
                                                                                    WORKERS THAT CHOOSE TO PORT
                                                                                                                                                                                                     Total costs      Total costs       Total
                                                                                                                                                                                                         for HR           for HR
                                                                                                          Percent of                                                                                                                  estimated
                                                                                                                                                                                                     specialists      specialists
                                                                                                        Approved TLCs                                                                                                                costs for HR
                                                                                                                                                                                                     filing Form      filing Form     specialists
                                                                                                                                                                                                          I–129            I–907

                                           0 ...................................................................................................................................................                0                0              0
                                           5 ...................................................................................................................................................          103,859          221,570        325,429
                                           25 .................................................................................................................................................           520,637        1,107,852      1,628,489
                                           50 .................................................................................................................................................         1,041,273        2,217,232      3,258,505
                                           75 .................................................................................................................................................         1,561,240        3,325,085      4,886,325
                                           95 .................................................................................................................................................         1,977,347        4,209,838      6,187,185
                                           100 ...............................................................................................................................................          2,081,206        4,431,409      6,512,615
                                              Source: USCIS Analysis.


                                              As previously discussed, the                                               resulting from in-house lawyers filing                                      cost for an in-house lawyer to file a
                                           estimated cost for an in-house lawyer to                                      Form I–129, Form G–28, Form I–907,                                          Form I–129 and Form G–28. The ‘‘Costs
                                           file a Form I–129 petition and the                                            and the estimated total cost. The ‘‘Cost                                    for In-house Lawyer Filing Form I–907’’
                                           accompanying Form G–28 is                                                     for In-house Lawyer Filing Form I–129                                       column multiplies the values in the
                                           approximately 996.70 and the estimated                                        and Form G–28’’ column multiplies the                                       ‘‘Form I–907 by Lawyers’’ from Table 6
                                           cost for an in-house lawyer to file a                                         values in the ‘‘Form I–129 Petitions and                                    by 1,560.21, the estimated cost for an
                                           Form I–907 is about 1,560.21. Table 8                                         Form G–28 Filed by Lawyers’’ column                                         HR specialist for an HR specialist to file
                                           presents a sensitivity analysis of costs                                      from Table 5 by 996.70, the estimated                                       a Form I–907.

                                                 TABLE 8—TOTAL COSTS FOR FILING FORM I–129 H–2B PETITIONS IF FILED BY IN-HOUSE LAWYERS ON BEHALF OF
                                                                                  WORKERS THAT CHOOSE TO PORT
                                                                                                                                                                                                                                         Total
                                                                                                                                                                                                      Costs for        Costs for      estimated
                                                                                                                                                                                                       In-house         In-house         costs
                                                                                                          Percent of                                                                                     lawyer           lawyer       resulting
                                                                                                        Approved TLCs                                                                                filing Form      filing Form        from
                                                                                                                                                                                                     I–129 and             I–907      in-house
                                                                                                                                                                                                     Form G–28                          lawyer

                                           0 ...................................................................................................................................................               $0               $0             $0
                                           5 ...................................................................................................................................................          119,604          174,743        294,347
                                           25 .................................................................................................................................................           598,020          873,717      1,471,737
                                           50 .................................................................................................................................................         1,196,040        1,747,435      2,943,475
                                           75 .................................................................................................................................................         1,794,060        2,622,713      4,416,773
                                           95 .................................................................................................................................................         2,273,473        3,323,247      5,596,720
                                           100 ...............................................................................................................................................          2,393,077        3,497,990      5,891,067
                                              Source: USCIS Analysis.


                                             As previously discussed, the                                                costs resulting from outsourced lawyers                                     1,385.33, the estimated cost for an
                                           estimated cost for an outsourced lawyer                                       filing Form I–129, Form G–28, Form I–                                       outsourced lawyer to file a Form I–129
                                           to file a Form I–129 and the                                                  907, and the estimated total cost. The                                      and Form G–28. The ‘‘Costs for
                                           accompanying Form G–28 is                                                     ‘‘Costs for Outsourced Lawyer Filing                                        Outsourced Lawyer Filing Form I–907’’
                                           approximately 1,385.33 and the                                                Form I–129 and Form G–28’’ column                                           column multiplies the values in the
                                           estimated cost for an outsourced lawyer                                       multiplies the values in the ‘‘Form I–                                      ‘‘Form I–907 by Lawyers’’ from Table 6
                                           to file a Form I–907 is about 1,603.81.                                       129 Petitions and Form G–28 Filed by                                        by 1,603.81, the estimated cost for an
                                           Table 9 presents a sensitivity analysis of                                    Lawyers’’ column from Table 5 by                                            outsourced lawyer to file a Form I–907.
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                                      VerDate Sep<11>2014          19:01 May 24, 2021           Jkt 253001       PO 00000        Frm 00029        Fmt 4701       Sfmt 4700        E:\FR\FM\25MYR2.SGM        25MYR2
                                                   Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                              Page 262 of 350 PageID 4855
                                           28226                        Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                             TABLE 9—TOTAL COSTS FOR FILING FORM I–129 H–2B PETITIONS IF FILED BY OUTSOURCED LAWYERS ON BEHALF OF
                                                                               WORKERS THAT CHOOSE TO PORT
                                                                                                                                                                                                                                                     Total
                                                                                                                                                                                                       Costs for                 Costs for        estimated
                                                                                                                                                                                                      outsourced                outsourced           costs
                                                                                                           Percent of                                                                                     lawyer                  lawyer           resulting
                                                                                                         Approved TLCs                                                                                filing Form                  filing            from
                                                                                                                                                                                                      I–129 and                 Form I–907       outsourced
                                                                                                                                                                                                      Form G–28                                     lawyer

                                           0 ...................................................................................................................................................                    0                      0                0
                                           5 ...................................................................................................................................................              254,466                179,627          434,093
                                           25 .................................................................................................................................................             1,274,179                898,133        2,172,312
                                           50 .................................................................................................................................................             2,548,359              1,796,265        4,344,624
                                           75 .................................................................................................................................................             3,821,613              2,696,002        6,517,615
                                           95 .................................................................................................................................................             4,841,327              3,416,112        8,257,439
                                           100 ...............................................................................................................................................              5,095,792              3,595,738        8,691,530
                                              Source: USCIS Analysis.


                                             The total quantified costs for this                                         at least one worker will take advantage                                        those lost workers, that employer may
                                           provision range from 0 to 15,204,145                                          of this porting provision and therefore,                                       incur some additional search and
                                           and are presented in Table 10 below.                                          does not expect a 0 cost from this                                             replacement costs associated with this
                                           Though we present the sensitivity                                             provision. DHS recognizes that if an                                           provision.
                                           analysis as if no one will choose to port                                     employer that loses workers as a result
                                           to another employer, DHS expects that                                         of this provision chooses to replace

                                              TABLE 10—SENSITIVITY ANALYSIS OF TOTAL COSTS OF FORM I–129 H–2B PETITIONS TO HIRE H–2B WORKERS WHO
                                                                                         CHOOSE TO PORT
                                                                                                                                                                                                                                                    Range in
                                                                                                                                                                                                                                   Range in     costs from HR
                                                                                                                                                                                                                               costs from HR       specialists
                                                                                                                                                                                                                                  specialists         and
                                                                                                                                                                                                                                and in-house      outsourced
                                                                                                                                                                                                                                  lawyers to        lawyers
                                                                                                                        Percent of                                                                                                hire H–2B      to hire H–2B
                                                                                                                      Approved TLCs                                                                                             workers who      workers who
                                                                                                                                                                                                                               choose to port   choose to port
                                                                                                                                                                                                                                 (addition of     (addition of
                                                                                                                                                                                                                                 totals from      totals from
                                                                                                                                                                                                                                Table 7 and      Table 7 and
                                                                                                                                                                                                                                   Table 8)         Table 9)

                                           0 ...............................................................................................................................................................................               0                0
                                           5 ...............................................................................................................................................................................         619,776          759,522
                                           25 .............................................................................................................................................................................        3,100,226        3,800,801
                                           50 .............................................................................................................................................................................        6,201,980        7,603,129
                                           75 .............................................................................................................................................................................        9,303,098       11,403,940
                                           95 .............................................................................................................................................................................       11,783,905       14,444,624
                                           100 ...........................................................................................................................................................................        12,403,682       15,204,145
                                              Source: USCIS Analysis.


                                           Cost of Audits to Petitioners                                                 is 580.80 per audited employer.148                                             obtain a porting worker, and complying
                                             DHS and DOL will each conduct                                               Therefore, the total estimated cost to                                         with audits. The estimated total cost to
                                           audits on 250 separate employers of                                           employers to comply with audits is                                             file Form I–129 and an accompanying
                                           H–2B workers hired under this                                                 290,400.149                                                                    Form G–28 ranges from $2,890,692 to
                                           supplemental cap, for a total of 500                                          Estimated Total Costs to Petitioners                                           $3,493,457, depending on the filer. The
                                           employers. Employers will need to                                                                                                                            estimated total cost of filing Form I–907
                                           provide requested information to                                                 The monetized costs of this rule come                                       ranges from $5,122,787 to $5,185,920,
                                           comply with the audit. The expected                                           from filing and complying with Form I–                                         depending on the filer. The estimated
                                           time burden to comply with audits is                                          129, Form G–28, Form I–907, and Form                                           total cost of filing and complying with
                                           estimated to be 12 hours.147 We expect                                        ETA–9142–B–CAA–4, as well as                                                   Form ETA–9142–B–CAA–4 is about
                                           that providing these documents will be                                        contacting refreshing recruitment                                              $1,370,719. The estimated total cost of
                                           accomplished by an HR specialist or                                           efforts, posting notifications, filings to                                     conducting additional recruitment is
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                                           equivalent occupation. Given an hourly                                                                                                                       about $516,662. The estimated total cost
                                                                                                                           148 Calculation: 48.40 hourly opportunity cost of
                                           opportunity cost of time of 48.40, the                                                                                                                       of the COVID–19 protection provision is
                                                                                                                         time for an HR specialist * 12 hours to comply with
                                           estimated cost of complying with audits                                       an audit = 580.80 per audited employer.                                        approximately $1,743. The estimated
                                                                                                                           149 Calculation: 500 audited employers * 580.80                              cost of the portability provision ranges
                                             147 The number in hours for audits was provided                             opportunity cost of time to comply with an audit
                                           by the USCIS, Service Center Operations.                                      = 290,400.


                                                                                                                                                                                                                                          AR00644
                                      VerDate Sep<11>2014          19:46 May 24, 2021           Jkt 253001       PO 00000        Frm 00030        Fmt 4701        Sfmt 4700       E:\FR\FM\25MYR2.SGM                25MYR2
                                                 Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 263 of 350 PageID 4856
                                                                 Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                          28227

                                           from $0 to $15,204,145.150 The                           appropriations, it is expected that both               positioned to begin work more
                                           estimated total cost for employers to                    agencies will be able to shift resources               expeditiously with these employers.
                                           comply with audits is $290,400. The                      to be able to conduct these audits                     Moreover, employers may already be
                                           total estimated cost to petitioners ranges               without incurring additional costs. As                 familiar with returning workers as they
                                           from $10,192,963 to $26,063,006.151                      previously mentioned, the agencies will                have trained, vetted, and worked with
                                                                                                    conduct a total of 500 audits and each                 some of these returning workers in past
                                           Cost to the Federal Government
                                                                                                    audit is expected to take 12 hours. This               years. As such, limiting the
                                              The INA provides USCIS with the                       results in a total time burden of 6,000                supplemental visas to returning workers
                                           authority for the collection of fees at a                hours.153 USCIS anticipates that a                     would assist employers that are facing
                                           level that will ensure recovery of the                   Federal employee at a GS–13 Step 5                     irreparable harm.
                                           full costs of providing adjudication and                 salary will conduct these audits for each
                                           naturalization services, including                       agency. The base pay for a GS–13 Step                  Benefits to Workers
                                           administrative costs, and services                       5 in the Washington, DC locality area is
                                           provided without charge to certain                                                                                 The existence of this rule will benefit
                                                                                                    $117,516.154 The hourly wage for this
                                           applicants and petitioners.152 DHS notes                                                                        the workers who receive H–2B visas.
                                                                                                    salary is approximately $56.50.155 To
                                           USCIS establishes its fees by assigning                  estimate the total hourly compensation                 See Arnold Brodbeck et al., Seasonal
                                           costs to an adjudication based on its                    for these positions, we multiply the                   Migrant Labor in the Forest Industry of
                                           relative adjudication burden and use of                  hourly wage ($56.50) by the Federal                    the United States: The Impact of H–2B
                                           USCIS resources. Fees are established at                 benefits to wage multiplier of 1.38.156                Employment on Guatemalan
                                           an amount that is necessary to recover                   This results in an hourly opportunity                  Livelihoods, 31 Society & Natural
                                           these assigned costs such as clerical,                   cost of time of $77.97 for GS 13–5                     Resources 1012 (2018), and in particular
                                           officers, and managerial salaries and                    Federal employees in the Washington,                   this finding: ‘‘Participation in the H–2B
                                           benefits, plus an amount to recover                      DC locality pay area.157 The total                     guest worker program has become a
                                           unassigned overhead (for example,                        opportunity costs of time for Federal                  vital part of the livelihood strategies of
                                           facility rent, IT equipment and systems                  workers to conduct audits is estimated                 rural Guatemalan families and has had
                                           among other expenses) and immigration                    to be $467,820.158                                     a positive impact on the quality of life
                                           benefits provided without a fee charge.                                                                         in the communities where they live.
                                           Consequently, since USCIS immigration                    Benefits to Petitioners                                Migrant workers who were landless,
                                           fees are based on resource expenditures                     The inability to access H–2B workers                lived in isolated rural areas, had few
                                           related to the benefit in question, USCIS                for some entities may cause their                      economic opportunities, and who had
                                           uses the fee associated with an                          businesses to suffer irreparable harm.                 limited access to education or adequate
                                           information collection as a reasonable                   Temporarily increasing the number of                   health care, now are investing in small
                                           measure of the collection’s costs to                     available H–2B visas for this fiscal year              trucks, building roads, schools, and
                                           USCIS. DHS anticipates some additional                   may result in a cost savings, because it               homes, and providing employment for
                                           costs in adjudicating the additional                     will allow some businesses to hire the                 others in their home communities. . . .
                                           petitions submitted because of the                       additional labor resources necessary to                The impact has been transformative and
                                           increase in cap limitation for H–2B                      avoid such harm. Preventing such harm                  positive.’’
                                           visas. However, DHS expects these costs                  may ultimately preserve the jobs of                       Some provisions of this rule will
                                           to be fully recovered by the fees                        other employees (including U.S.                        benefit such workers in particular ways.
                                           associated with the forms, which have                    workers) at that establishment.                        The portability provision of this rule
                                           been accounted for under costs to                        Additionally, returning workers are                    will allow nonimmigrants with valid H–
                                           petitioners and serve as proxy of the                    likely to be very familiar with the H–2B
                                                                                                                                                           2B visas who are present in the United
                                           costs to the agency to adjudicate these                  process and requirements, and may be
                                                                                                                                                           States to transfer to a new employer
                                           forms.
                                              Both DOL and DHS intend to conduct                       153 Calculation: 12 hours to conduct an audit *
                                                                                                                                                           more quickly and potentially extend
                                           a significant number of random audits                    500 audits = 6,000 total hours to conduct audits.      their stay in the United States and,
                                           during the period of temporary need to
                                                                                                       154 U.S. Office of Personnel Management, Pay and    therefore, earn additional wages.
                                           verify compliance with H–2B program
                                                                                                    Leave, Salaries and Wages, For the Locality Pay area   Importantly, the rule will also increase
                                                                                                    of Washington-Baltimore-Arlington, DC–MD–VA–           information employees have about equal
                                           requirements, including the irreparable                  WV–PA, 2021. https://www.opm.gov/policy-data-
                                           harm standard as well as other key                       oversight/pay-leave/salaries-wages/salary-tables/      access to COVID–19 vaccinations and
                                           worker protection provisions                             21Tables/html/DCB.aspx (last accessed May 6,           vaccine distribution sites. DHS
                                           implemented through this rule. While
                                                                                                    2021).                                                 recognizes that some of the effects of
                                           most USCIS activities are funded
                                                                                                       155 Calculation: $117,516 GS 13–5 Washington,
                                                                                                                                                           these provisions may occur beyond the
                                                                                                    DC locality annual salary/2080 annual hours =
                                           through fees and DOL is funded through                   $56.50 (rounded).
                                                                                                                                                           borders of the United States.
                                                                                                       156 Calculation: $1,717,321 Full-time Permanent        Note as well that U.S. workers will
                                              150 The lower bound cost of $0 is only if none of     Salaries + $656,748 Civilian Personnel Benefits =      benefit in multiple ways. For example,
                                           the eligible workers choose to port under this           $2,374,069 Compensation.
                                                                                                                                                           the additional round of recruitment and
                                           provision, while the upper bound cost of                    $2,374,069 Compensation/$1,717,321 Full-time
                                           $15,204,145 is if every eligible worker chooses to       Permanent Salaries = 1.38 (rounded) Federal            U.S. worker referrals required by the
                                           port and every petitioner uses the more expensive        employee benefits to wage ratio.                       provisions of this rule will ensure that
                                           filing option of an outsourced lawyer. As shown in          https://www.uscis.gov/sites/default/files/          a U.S. worker who is willing and able
                                           Table 10, the range in costs if 50 percent of eligible   document/reports/USCIS_FY_2021_Budget_                 to fill the position is not displaced by
                                           workers choose to port with their petitioners using      Overview.pdf (last accessed May 6, 2021).
                                           an HR specialist or an outsourced lawyer to file            157 Calculation: $56.50 hourly wage for a GS 13–
                                                                                                                                                           a nonimmigrant worker. As noted, the
                                           would be from $6,201,980 to $7,603,129.                  5 in the Washington, DC locality area * 1.38 Federal   avoidance of irreparable harm that
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                                              151 Calculation of lower range: $2,890,692 +
                                                                                                    employee benefits to wage ratio = $77.97 hourly        would be suffered by employers unable
                                           $5,122,787 + $1,370,719 + $516,622 + $1,743 + $0         opportunity cost of time for a GS 13–5 federal         to secure sufficient workers, made
                                           + $290,400 = $10,192,963.                                employee in the Washington, DC locality area.          possible by this rule, could ensure that
                                              Calculation of upper range: $3,493,457 +                 158 Calculation: 6,000 hours to conduct audits *
                                           $5,185,920 + $1,370,719 + $516,622 + $1,743 +            $77.97 hourly opportunity cost of time = $467,820
                                                                                                                                                           U.S. workers do not lose their jobs,
                                           $15,204,145 + $290,400 = $26,063,006.                    total opportunity costs of time for Federal            which might otherwise be vulnerable if
                                              152 See INA section 286(m), 8 U.S.C. 1356(m).         employees to conduct audits.                           H–2B workers were not given visas.

                                                                                                                                                                                  AR00645
                                      VerDate Sep<11>2014    19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00031   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM   25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 264 of 350 PageID 4857
                                           28228                Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           C. Regulatory Flexibility Act                           Departments have not prepared a                       nonimmigrant visa program to increase
                                                                                                   statement under the Act.                              the numerical limitation on H–2B
                                              The Regulatory Flexibility Act, 5                                                                          nonimmigrant visas for the remainder of
                                           U.S.C. 601 et seq. (RFA), imposes                       E. Executive Order 13132 (Federalism)
                                                                                                                                                         FY 2021 based on the Secretary of
                                           certain requirements on Federal agency                    This rule does not have substantial                 Homeland Security’s determination, in
                                           rules that are subject to the notice and                direct effects on the States, on the                  consultation with the Secretary of
                                           comment requirements of the APA. See                    relationship between the National                     Labor, consistent with the FY 2021
                                           5 U.S.C. 603(a), 604(a). This temporary                 Government and the States, or on the                  Omnibus. It also allows H–2B
                                           final rule is exempt from notice and                    distribution of power and                             beneficiaries who are in the United
                                           comment requirements for the reasons                    responsibilities among the various                    States to change employers upon the
                                           stated above. Therefore, the                            levels of government. Therefore, in                   filing of a new H–2B petition and begin
                                           requirements of the RFA applicable to                   accordance with section 6 of Executive                to work for the new employer for a
                                           final rules, 5 U.S.C. 604, do not apply                 Order 13132, 64 FR 43255 (Aug. 4,                     period generally not to exceed 60 days
                                           to this temporary final rule.                           1999), this rule does not have sufficient             before the H–2B petition is approved by
                                           Accordingly, the Departments are not                    federalism implications to warrant the                USCIS.
                                           required to either certify that the                     preparation of a federalism summary                      DHS has determined that this rule
                                           temporary final rule would not have a                   impact statement.                                     clearly fits within categorical exclusion
                                           significant economic impact on a
                                                                                                   F. Executive Order 12988 (Civil Justice               A3(d) because it interprets or amends a
                                           substantial number of small entities nor
                                                                                                   Reform)                                               regulation without changing its
                                           conduct a regulatory flexibility analysis.
                                                                                                                                                         environmental effect. The amendments
                                                                                                     This rule meets the applicable
                                           D. Unfunded Mandates Reform Act of                                                                            to 8 CFR part 214 would authorize up
                                                                                                   standards set forth in sections 3(a) and
                                           1995                                                                                                          to an additional 22,000 visas for aliens
                                                                                                   3(b)(2) of Executive Order 12988, 61 FR
                                                                                                                                                         who may receive H–2B nonimmigrant
                                             The Unfunded Mandates Reform Act                      4729 (Feb. 5, 1996).
                                                                                                                                                         visas, of which 16,000 are for returning
                                           of 1995 (UMRA) is intended, among                       G. National Environmental Policy Act                  workers (persons issued H–2B visas or
                                           other things, to curb the practice of                                                                         were otherwise granted H–2B status in
                                           imposing unfunded Federal mandates                         DHS and its components analyze
                                                                                                   proposed actions to determine whether                 Fiscal Years 2018, 2019, or 2020). The
                                           on State, local, and tribal governments.                                                                      proposed amendments would also
                                           Title II of the Act requires each Federal               the National Environmental Policy Act
                                                                                                   (NEPA) applies to them and, if so, what               facilitate H–2B nonimmigrants to move
                                           agency to prepare a written statement                                                                         to new employment faster than they
                                           assessing the effects of any Federal                    degree of analysis is required. DHS
                                                                                                   Directive (Dir) 023–01 Rev. 01 and                    could if they had to wait for a petition
                                           mandate in a proposed rule, or final rule                                                                     to be approved. The amendment’s
                                           for which the agency published a                        Instruction Manual 023–01–001–01 Rev.
                                                                                                   01 (Instruction Manual) establish the                 operative provisions approving H–2B
                                           proposed rule that includes any Federal                                                                       petitions under the supplemental
                                           mandate that may result in $100 million                 procedures that DHS and its
                                                                                                   components use to comply with NEPA                    allocation would effectively terminate
                                           or more expenditure (adjusted annually                                                                        after September 30, 2021 for the cap
                                           for inflation) in any one year by State,                and the Council on Environmental
                                                                                                   Quality (CEQ) regulations for                         increase, and 180 days from the rule’s
                                           local, and tribal governments, in the                                                                         effective date for the portability
                                           aggregate, or by the private sector. This               implementing NEPA, 40 CFR parts 1500
                                                                                                   through 1508.                                         provision. DHS believes amending
                                           rule is exempt from the written                                                                               applicable regulations to authorize up to
                                           statement requirement because DHS did                      The CEQ regulations allow Federal
                                                                                                   agencies to establish, with CEQ review                an additional 22,000 H–2B
                                           not publish a notice of proposed                                                                              nonimmigrant visas will not result in
                                           rulemaking for this rule.                               and concurrence, categories of actions
                                                                                                   (‘‘categorical exclusions’’) which                    any meaningful, calculable change in
                                             In addition, this rule does not exceed                experience has shown do not                           environmental effect with respect to the
                                           the $100 million expenditure in any 1                   individually or cumulatively have a                   current H–2B limit or in the context of
                                           year when adjusted for inflation ($169.8                significant effect on the human                       a current U.S. population exceeding
                                           million in 2020 dollars),159 and this                   environment and, therefore, do not                    331,000,000 (maximum temporary
                                           rulemaking does not contain such a                      require an Environmental Assessment                   increase of 0.0066%).
                                           mandate. The requirements of Title II of                (EA) or Environmental Impact                             The amendment to applicable
                                           the Act, therefore, do not apply, and the               Statement (EIS). 40 CFR                               regulations is a stand-alone temporary
                                                                                                   1507.3(b)(1)(iii), 1508.4. The Instruction            authorization and not a part of any
                                             159 See U.S. Bureau of Labor Statistics, Historical
                                                                                                   Manual, Appendix A, Table 1 lists                     larger action, and presents no
                                           Consumer Price Index for All Urban Consumers
                                           (CPI–U): U.S. City Average, All Items, available at     Categorical Exclusions that DHS has                   extraordinary circumstances creating
                                           https://www.bls.gov/cpi/tables/supplemental-files/      found to have no such effect. Under                   the potential for significant
                                           historical-cpi-u-202103.pdf (last visited May 5,        DHS NEPA implementing procedures,                     environmental effects. Therefore, this
                                           2021).                                                  for an action to be categorically                     action is categorically excluded and no
                                             Calculation of inflation: (1) Calculate the average                                                         further NEPA analysis is required.
                                           monthly CPI–U for the reference year (1995) and the
                                                                                                   excluded, it must satisfy each of the
                                           most recent current year available (2020); (2)          following three conditions: (1) The                   H. Congressional Review Act
                                           Subtract reference year CPI–U from current year         entire action clearly fits within one or
                                           CPI–U; (3) Divide the difference of the reference       more of the categorical exclusions; (2)                 This temporary final rule is not a
                                           year CPI–U and current year CPI–U by the reference                                                            ‘‘major rule’’ as defined by the
                                           year CPI–U; (4) Multiply by 100 = [(Average
                                                                                                   the action is not a piece of a larger
                                           monthly CPI–U for 2020¥Average monthly CPI–U            action; and (3) no extraordinary                      Congressional Review Act, 5 U.S.C.
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                                           for 1995)/(Average monthly CPI–U for 1995)] * 100       circumstances exist that create the                   804(2), and thus is not subject to a 60-
                                           = [(258.811 ¥ 152.383)/152.383] * 100 = (106.428/       potential for a significant environmental             day delay in the rule becoming effective.
                                           152.383) *100 = 0.6984 * 100 = 69.84 percent = 69.8                                                           DHS will send this temporary final rule
                                           percent (rounded).
                                                                                                   effect. Instruction Manual, section
                                             Calculation of inflation-adjusted value: $100         V.B.2(a–c).                                           to Congress and to the Comptroller
                                           million in 1995 dollars * 1.698 = $169.8 million in        This rule temporarily amends the                   General under the Congressional Review
                                           2020 dollars.                                           regulations implementing the H–2B                     Act, 5 U.S.C. 801 et seq.

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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 265 of 350 PageID 4858
                                                               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                          28229

                                           I. Paperwork Reduction Act                              not required to respond to an                         collection of information, including the
                                                                                                   information collection, unless it is                  validity of the methodology and
                                           Attestation for Employers Seeking To
                                                                                                   approved by OMB under the PRA and                     assumptions used;
                                           Employ H–2B Nonimmigrants Workers
                                                                                                   displays a currently valid OMB Control                  • the quality, utility, and clarity of
                                           Under Section 105 of Division O of the
                                                                                                   Number. See 44 U.S.C. 3501 et seq. In                 the information to be collected; and
                                           Consolidated Appropriations Act, 2021                                                                           • the burden of the collection of
                                                                                                   addition, notwithstanding any other
                                           Public Law 116–260, Form ETA–9142–
                                                                                                   provisions of law, no person must                     information on those who are to
                                           B–CAA–4
                                                                                                   generally be subject to a penalty for                 respond, including through the use of
                                              The Paperwork Reduction Act (PRA),                   failing to comply with a collection of                appropriate automated, electronic,
                                           44 U.S.C. 3501 et seq., provides that a                 information that does not display a                   mechanical, or other technological
                                           Federal agency generally cannot                         valid OMB Control Number. See 5 CFR                   collection techniques or other forms of
                                           conduct or sponsor a collection of                      1320.5(a) and 1320.6.                                 information technology, for example,
                                           information, and the public is generally                   In accordance with the PRA, DOL is                 permitting electronic submission of
                                           not required to respond to an                           affording the public with notice and an               responses.
                                           information collection, unless it is                    opportunity to comment on the new                       The aforementioned information
                                           approved by OMB under the PRA and                       information collection, which is                      collection requirements are summarized
                                           displays a currently valid OMB Control                  necessary to implement the                            as follows:
                                           Number. In addition, notwithstanding                    requirements of this rule. The                          Agency: DOL–ETA.
                                           any other provisions of law, no person                  information collection activities covered               Type of Information Collection:
                                           shall generally be subject to penalty for               under a newly granted OMB Control                     Extension of an existing information
                                           failing to comply with a collection of                  Number 1205–NEW are required under                    collection.
                                           information that does not display a                     Section 105 of Division O of the FY                     Title of the Collection: Attestation for
                                           valid Control Number. See 5 CFR                         2021 Omnibus, which provides that                     Employers Seeking to Employ H–2B
                                           1320.5(a) and 1320.6. DOL has                           ‘‘the Secretary of Homeland Security,                 Nonimmigrants Workers Under Section
                                           submitted the Information Collection                    after consultation with the Secretary of              105 of Division O of the Consolidated
                                           Request (ICR) contained in this rule to                 Labor, and upon the determination that                Appropriations Act, 2021 Public Law
                                           OMB and obtained approval of a new                      the needs of American businesses                      116–260.
                                           form, Form ETA–9142B–CAA–4, using                       cannot be satisfied in [FY] 2021 with                   Agency Form Number: Form ETA–
                                           emergency clearance procedures                          U.S. workers who are willing, qualified,              9142–B–CAA–4.
                                           outlined at 5 CFR 1320.13. The                          and able to perform temporary                           Affected Public: Private Sector—
                                           Departments note that while DOL                         nonagricultural labor,’’ may increase the             businesses or other for-profits.
                                           submitted the ICR, both DHS and DOL                     total number of noncitizens who may                     Total Estimated Number of
                                           will use the information.                               receive an H–2B visa in FY 2021 by not                Respondents: 3,558.
                                              Petitioners will use the new Form                    more than the highest number of H–2B                    Average Responses per Year per
                                           ETA–9142B–CAA–4 to make                                 nonimmigrants who participated in the                 Respondent: 1.
                                           attestations regarding, for example,                    H–2B returning worker program in any                    Total Estimated Number of
                                           irreparable harm and returning worker                   fiscal year in which returning workers                Responses: 3,558.
                                           (unless exempt because the H–2B                         were exempt from the H–2B numerical                     Average Time per Response: 9 hours
                                           worker is a national of one of the                      limitation. As previously discussed in                per application.
                                           Northern Triangle countries who is                      the preamble of this rule, the Secretary                Total Estimated Annual Time Burden:
                                           counted against the 6,000 returning                     of Homeland Security, in consultation                 32,023 hours.
                                           worker exemption cap) described above.                  with the Secretary of Labor, has decided                Total Estimated Other Costs Burden:
                                           Petitioners will need to file the                       to increase the numerical limitation on               $0.
                                           attestation with DHS until it announces                 H–2B nonimmigrant visas to authorize                  Application for Premium Processing
                                           that the supplemental H–2B cap has                      the issuance of up to, but not more than,             Service, Form I–907
                                           been reached. In addition, the petitioner               an additional 22,000 visas through the
                                           will need to retain all documentation                   end of FY 2021 for certain H–2B                          The Paperwork Reduction Act (PRA),
                                           demonstrating compliance with this                      workers for U.S. businesses who attest                44 U.S.C. 3501 et seq., provides that a
                                           implementing rule, and must provide it                  that they will likely suffer irreparable              Federal agency generally cannot
                                           to DHS or DOL in the event of an audit                  harm. As with the previous                            conduct or sponsor a collection of
                                           or investigation.                                       supplemental rules, the Secretary has                 information, and the public is generally
                                              In addition to obtaining immediate                   determined that the additional visas                  not required to respond to an
                                           emergency approval, DOL is seeking                      will only be available for returning                  information collection, unless it is
                                           comments on this information                            workers, that is workers who were                     approved by OMB under the PRA and
                                           collection pursuant to 5 CFR 1320.13.                   issued H–2B visas or otherwise granted                displays a currently valid OMB Control
                                           Comments on the information collection                  H–2B status in FY 2018, 2019, or 2020,                Number. In addition, notwithstanding
                                           must be received by July 26, 2021. This                 unless the worker is one of the 6,000                 any other provisions of law, no person
                                           process of engaging the public and other                nationals of one of the Northern                      shall generally be subject to penalty for
                                           Federal agencies helps ensure that                      Triangle countries who are exempt from                failing to comply with a collection of
                                           requested data can be provided in the                   the returning worker requirement.                     information that does not display a
                                           desired format, reporting burden (time                     Commenters are encouraged to                       valid Control Number. See 5 CFR
                                           and financial resources) is minimized,                  discuss the following:                                1320.5(a) and 1320.6. Form I–907,
                                           collection instruments are clearly                         • Whether the proposed collection of               Application for Premium Processing
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                                           understood, and the impact of collection                information is necessary for the proper               Service, has been approved by OMB and
                                           requirements on respondents can be                      performance of the functions of the                   assigned OMB control number 1615–
                                           properly assessed. The PRA provides                     agency, including whether the                         0048. DHS is making no changes to the
                                           that a Federal agency generally cannot                  information will have practical utility;              Form I–907 in connection with this
                                           conduct or sponsor a collection of                         • the accuracy of the agency’s                     temporary rule implementing the time-
                                           information, and the public is generally                estimate of the burden of the proposed                limited authority pursuant to section

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                                      VerDate Sep<11>2014   19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00033   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM   25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 266 of 350 PageID 4859
                                           28230               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           105 of Division O, FY 2021 Omnibus                      1480; section 141 of the Compacts of Free             such workers in an H–2B petition that
                                           (which expires on September 30, 2021).                  Association with the Federated States of              is separate from H–2B petitions that
                                           However, USCIS estimates that this                      Micronesia and the Republic of the Marshall           request returning workers under
                                           temporary rule may result in                            Islands, and with the Government of Palau,            paragraph (h)(6)(x)(A)(1) and must
                                                                                                   48 U.S.C. 1901 note and 1931 note,
                                           approximately 3,332 additional filings                  respectively; 48 U.S.C. 1806; 8 CFR part 2;
                                                                                                                                                         declare that they are requesting these
                                           of Form I–907 in fiscal year 2021. The                  Pub. L. 115–218, 132 Stat. 1547 (48 U.S.C.            workers in the attestation required
                                           current OMB-approved estimate of the                    1806).                                                under 20 CFR 655.68(a)(1).
                                           number of annual respondents filing a                                                                         Notwithstanding § 248.2 of this chapter,
                                           Form I–907 is 319,301. USCIS has                        ■ 2. Effective May 25, 2021 through May               an alien may not change status to H–2B
                                           determined that the OMB-approved                        28, 2024, amend § 214.2 by:                           nonimmigrant under this paragraph
                                           estimate is sufficient to fully encompass               ■ a. Adding paragraph (h)(6)(x);                      (h)(6)(x)(A)(2).
                                           the additional respondents who will be                  ■ b. Adding reserved paragraph (h)(25);                  (i) Petitions submitted under this
                                           filing Form I–907 in connection with                    and                                                   paragraph (h)(6)(x)(A)(2) must be
                                           this temporary rule, which represents a                 ■ c. Adding paragraph (h)(26).                        received by July 8, 2021. H–2B petitions
                                           small fraction of the overall Form I–907                    The additions read as follows:                    under the supplemental allocation for
                                           population. Therefore, DHS is not                       § 214.2 Special requirements for
                                                                                                                                                         nationals of Northern Triangle countries
                                           changing the collection instrument or                   admission, extension, and maintenance of              received after that date will be rejected.
                                           increasing its burden estimates in                      status.                                                  (ii) If USCIS determines that it has
                                           connection with this temporary rule,                                                                          received fewer petitions by July 8, 2021
                                                                                                   *      *    *     *      *
                                           and is not publishing a notice under the                                                                      than needed to reach the USCIS
                                                                                                      (h) * * *
                                           PRA or making revisions to the                                                                                projections for the Northern Triangle
                                                                                                      (6) * * *
                                           currently approved burden for OMB                                                                             countries supplemental allocation in
                                                                                                      (x) Special requirements for
                                           control number 1615–0048.                                                                                     this paragraph (h)(6)(x)(A)(2), it will
                                                                                                   additional cap allocations under the
                                                                                                                                                         make the remainder of the allocation
                                           List of Subjects                                        Consolidated Appropriations Act, 2021,
                                                                                                                                                         available as a separate allocation
                                                                                                   Public Law 116–260—(A) Public Law
                                           8 CFR Part 214                                                                                                described in paragraph (h)(6)(x)(A)(3) of
                                                                                                   116–260—(1) Supplemental allocation
                                             Administrative practice and                                                                                 this section.
                                                                                                   for returning workers. Notwithstanding                   (3) Availability of remainder of
                                           procedure, Aliens, Cultural exchange                    the numerical limitations set forth in                supplemental allocation. If USCIS
                                           programs, Employment, Foreign                           paragraph (h)(8)(i)(C) of this section, for           determines that fewer petitions have
                                           officials, Health professions, Reporting                fiscal year 2021 only, the Secretary has              been received by July 8, 2021 than
                                           and recordkeeping requirements,                         authorized up to an additional 16,000                 needed to meet the additional allocation
                                           Students.                                               visas for aliens who may receive H–2B                 described in paragraph (h)(6)(x)(A)(2) of
                                           8 CFR Part 274a                                         nonimmigrant visas pursuant to section                this section, USCIS will make the
                                                                                                   105 of Division O of the Consolidated                 remainder of the allocation available as
                                             Administrative practice and                           Appropriations Act, 2021, Public Law
                                           procedure, Aliens, Employment,                                                                                a separate allocation to returning
                                                                                                   116–260. An alien may be eligible to                  workers as described in paragraph
                                           Penalties, Reporting and recordkeeping                  receive an H–2B nonimmigrant visa
                                           requirements.                                                                                                 (h)(6)(x)(A)(1) of this section and will
                                                                                                   under this paragraph (h)(6)(x)(A)(1) if               announce the availability of the
                                           20 CFR Part 655                                         she or he is a returning worker. The                  remainder of the allocation on the
                                                                                                   term ‘‘returning worker’’ under this                  USCIS website at uscis.gov no later than
                                             Administrative practice and
                                                                                                   paragraph (h)(6)(x)(A)(1) means a person              July 23, 2021. Such announcement, if
                                           procedure, Employment, Employment
                                                                                                   who was issued an H–2B visa or was                    made, will specify the date on which
                                           and training, Enforcement, Foreign
                                                                                                   otherwise granted H–2B status in fiscal               petitioners may begin to file H–2B
                                           workers, Forest and forest products,
                                                                                                   year 2018, 2019, or 2020.                             petitions under this paragraph
                                           Fraud, Health professions, Immigration,
                                                                                                   Notwithstanding § 248.2 of this chapter,              (h)(6)(x)(A)(3).
                                           Labor, Longshore and harbor work,
                                                                                                   an alien may not change status to H–2B                   (B) Eligibility. In order to file a
                                           Migrant workers, Nonimmigrant
                                                                                                   nonimmigrant under this paragraph                     petition with USCIS under this
                                           workers, Passports and visas, Penalties,
                                                                                                   (h)(6)(x)(A)(1).                                      paragraph (h)(6)(x), the petitioner must:
                                           Reporting and recordkeeping
                                                                                                      (2) Supplemental allocation for                       (1) Comply with all other statutory
                                           requirements, Unemployment, Wages,
                                                                                                   nationals of Guatemala, El Salvador,                  and regulatory requirements for H–2B
                                           Working conditions.
                                                                                                   and Honduras (Northern Triangle                       classification, including, but not limited
                                           Department of Homeland Security                         countries). Notwithstanding the                       to, requirements in this section, under
                                           8 CFR Chapter I                                         numerical limitations set forth in                    part 103 of this chapter, and under 20
                                                                                                   paragraph (h)(8)(i)(C) of this section, for           CFR part 655 and 29 CFR part 503; and
                                             For the reasons discussed in the joint                fiscal year 2021 only, and in addition to                (2) Submit to USCIS, at the time the
                                           preamble, chapter I of title 8 of the Code              the allocation described in paragraph                 employer files its petition, a U.S.
                                           of Federal Regulations is amended as                    (h)(6)(x)(A)(1) of this section, the                  Department of Labor attestation, in
                                           follows:                                                Secretary has authorized up to an                     compliance with this section and 20
                                                                                                   additional 6,000 aliens who are                       CFR 655.64, evidencing that:
                                           PART 214—NONIMMIGRANT CLASSES
                                                                                                   nationals of Guatemala, El Salvador, or                  (i) Without the ability to employ all of
                                           ■ 1. Effective May 25, 2021 through May                 Honduras (Northern Triangle countries)                the H–2B workers requested on the
                                           28, 2024, the authority citation for part               who may receive H–2B nonimmigrant                     petition filed pursuant to this paragraph
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                                           214 is revised to read as follows:                      visas pursuant to section 105 of Division             (h)(6)(x), its business is likely to suffer
                                                                                                   O of the Consolidated Appropriations                  irreparable harm (that is, permanent and
                                             Authority: 6 U.S.C. 202, 236; 8 U.S.C.
                                           1101, 1102, 1103, 1182, 1184, 1186a, 1187,              Act, 2021, Public Law 116–260. Such                   severe financial loss);
                                           1221, 1281, 1282, 1301–1305, 1357, and                  workers are not subject to the returning                 (ii) All workers requested and/or
                                           1372; sec. 643, Pub. L. 104–208, 110 Stat.              worker requirement in paragraph                       instructed to apply for a visa have been
                                           3009–708; Pub. L. 106–386, 114 Stat. 1477–              (h)(6)(x)(A)(1). Petitioners must request             issued an H–2B visa or otherwise

                                                                                                                                                                                 AR00648
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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 267 of 350 PageID 4860
                                                               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                            28231

                                           granted H–2B status in fiscal year 2018,                that it will not impede, interfere, or                (h)(6)(x)(A)(1), (2), or (3) may be
                                           2019, or 2020, unless the H–2B worker                   refuse to cooperate with an employee of               received (in other words, if any of the
                                           is a national of Guatemala, El Salvador,                the Secretary of the U.S. Department of               numerical limits described in paragraph
                                           or Honduras and is counted towards the                  Labor who is exercising or attempting to              (h)(6)(x)(A)(1), (2), or (3) is reached on
                                           6,000 cap described in paragraph                        exercise DOL’s audit or investigative                 any one of the first 5 business days that
                                           (h)(6)(x)(A)(2) of this section;                        authority pursuant to 20 CFR part 655,                filings can be made), USCIS will
                                              (iii) The employer will comply with                  subpart A, and 29 CFR 503.25.                         randomly apply all of the numbers
                                           all Federal, State, and local                              (C) Processing. USCIS will reject                  among the petitions received on any of
                                           employment-related laws and                             petitions filed pursuant to paragraph                 those 5 business days.
                                           regulations, including health and safety                (h)(6)(x)(A)(1) or (3) of this section that              (E) Sunset. This paragraph (h)(6)(x)
                                           laws and laws related to COVID–19                       are received after the applicable                     expires on October 1, 2021.
                                           worker protections, any right to time off               numerical limitation has been reached                    (F) Non-severability. The requirement
                                           or paid time off for COVID–19                           or after September 15, 2021, whichever                to file an attestation under paragraph
                                           vaccination, and that the employer will                 is sooner. USCIS will reject petitions                (h)(6)(x)(B)(2) of this section is intended
                                           notify any H–2B workers approved                        filed pursuant to paragraph                           to be non-severable from the remainder
                                           under the supplemental cap in                           (h)(6)(x)(A)(2) of this section that are              of this paragraph (h)(6)(x), including,
                                           paragraph (h)(6)(x)(A)(2) of this section,              received after the applicable numerical               but not limited to, the numerical
                                           in a language understood by the worker,                 limitation has been reached or after July             allocation provisions at paragraphs
                                           as necessary or reasonable, that all                    8, 2021, whichever is sooner. USCIS                   (h)(6)(x)(A)(1), (2), and (3) of this section
                                           persons in the United States, including                 will not approve a petition filed                     in their entirety. In the event that any
                                           nonimmigrants, have equal access to                     pursuant to this paragraph (h)(6)(x) on               part of this paragraph (h)(6)(x) is
                                           COVID–19 vaccines and vaccine                           or after October 1, 2021.                             enjoined or held to be invalid by any
                                           distribution sites;                                        (D) Numerical limitations under                    court of competent jurisdiction, the
                                              (iv) The employer will comply with                   paragraphs (h)(6)(x)(A)(1), (2), and (3) of           remainder of this paragraph (h)(6)(x) is
                                           obligations and additional recruitment                  this section. When calculating the                    also intended to be enjoined or held to
                                           requirements outlined in 20 CFR                         numerical limitations under paragraphs                be invalid in such jurisdiction, without
                                           655.64(a)(3) through (5);                               (h)(6)(x)(A)(1), (2), and (3) of this section         prejudice to workers already present in
                                              (v) The employer will provide                        as authorized under Public Law 116–                   the United States under this paragraph
                                           documentary evidence of the facts in                    260, USCIS will make numbers for each                 (h)(6)(x), as consistent with law.
                                           paragraphs (h)(6)(x)(B)(2)(i) through (iv)              allocation available to petitions in the
                                           of this section to DHS or DOL upon                      order in which the petitions subject to               *       *    *     *      *
                                           request; and                                            the respective limitation are received.                  (26) Change of employers and
                                              (vi) The employer will agree to fully                USCIS will make projections of the                    portability for H–2B workers. (i) This
                                           cooperate with any compliance review,                   number of petitions necessary to                      paragraph (h)(26) relates to H–2B
                                           evaluation, verification, or inspection                 achieve the numerical limit of                        workers seeking to change employers
                                           conducted by DHS, including an on-site                  approvals, taking into account historical             during the time period specified in
                                           inspection of the employer’s facilities,                data related to approvals, denials,                   paragraph (h)(26)(iv) of this section.
                                           interview of the employer’s employees                   revocations, and other relevant factors.              Notwithstanding paragraph (h)(2)(i)(D)
                                           and any other individuals possessing                    USCIS will monitor the number of                      of this section, an alien in valid H–2B
                                           pertinent information, and review of the                petitions (including the number of                    nonimmigrant status:
                                           employer’s records related to the                       workers requested when necessary)                        (A) Whose new petitioner files a non-
                                           compliance with immigration laws and                    received and will notify the public of                frivolous H–2B petition requesting an
                                           regulations, including but not limited to               the dates that USCIS has received the                 extension of the alien’s stay on or after
                                           evidence pertaining to or supporting the                necessary number of petitions (the                    May 25, 2021, is authorized to begin
                                           eligibility criteria for the FY 2021                    ‘‘final receipt dates’’) under paragraph              employment with the new petitioner
                                           supplemental allocations outlined in                    (h)(6)(x)(A)(1) or paragraphs                         after the petition described in this
                                           paragraph (h)(6)(x)(B) of this section, as              (h)(6)(x)(A)(2) and (3). The day the                  paragraph (h)(26) is received by USCIS
                                           a condition for the approval of the                     public is notified will not control the               and before the new H–2B petition is
                                           petition.                                               final receipt dates. When necessary to                approved, but no earlier than the start
                                              (vii) The employer must attest on                    ensure the fair and orderly allocation of             date indicated in the new H–2B
                                           Form ETA–9142–B–CAA–4 that it will                      numbers subject to the numerical                      petition; or
                                           fully cooperate with any audit,                         limitations in paragraphs (h)(6)(x)(A)(1),               (B) Whose new petitioner filed a non-
                                           investigation, compliance review,                       (2), and (3), USCIS may randomly select               frivolous H–2B petition requesting an
                                           evaluation, verification or inspection                  from among the petitions received on                  extension of the alien’s stay before May
                                           conducted by DOL, including an on-site                  the final receipt dates the remaining                 25, 2021 that remains pending on May
                                           inspection of the employer’s facilities,                number of petitions deemed necessary                  25, 2021, is authorized to begin
                                           interview of the employer’s employees                   to generate the numerical limit of                    employment with the new petitioner
                                           and any other individuals possessing                    approvals. This random selection will                 before the new H–2B petition is
                                           pertinent information, and review of the                be made via computer-generated                        approved, but no earlier than the start
                                           employer’s records related to the                       selection. Petitions subject to a                     date of employment indicated on the
                                           compliance with applicable laws and                     numerical limitation not randomly                     new H–2B petition.
                                           regulations, including but not limited to               selected or that were received after the                 (ii)(A) With respect to a new petition
                                           evidence pertaining to or supporting the                final receipt dates that may be                       described in paragraph (h)(26)(i)(A) of
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                                           eligibility criteria for the FY 2021                    applicable under paragraph                            this section, and subject to the
                                           supplemental allocations outlined in 20                 (h)(6)(x)(A)(1), (2), or (3) will be                  requirements of 8 CFR 274a.12(b)(30),
                                           CFR 655.64(a) and 655.68(a), as a                       rejected. If the final receipt date is any            the new period of employment
                                           condition for the approval of the H–2B                  of the first 5 business days on which                 described in paragraph (h)(26)(i) of this
                                           petition. The employer must further                     petitions subject to the applicable                   section may last for up to 60 days
                                           attest on Form ETA–9142–B–CAA–4                         numerical limits described in paragraph               beginning on the Received Date on Form

                                                                                                                                                                                  AR00649
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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 268 of 350 PageID 4861
                                           28232               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           I–797 (Notice of Action) or, if the start               May 25, 2021, and ends at the end of                  Department of Labor
                                           date of employment occurs after the                     November 22, 2021.                                    Employment and Training
                                           I–797 Received Date, for a period of up                 *   *     *     *    *                                Administration
                                           to 60 days beginning on the start date of
                                           employment indicated in the H–2B                        PART 274a—CONTROL OF                                  20 CFR Chapter V
                                           petition.                                               EMPLOYMENT OF ALIENS                                    Accordingly, for the reasons stated in
                                              (B) With respect to a new petition                                                                         the joint preamble, 20 CFR part 655 is
                                                                                                   ■ 3. The authority citation for part 274a
                                           described in paragraph (h)(26)(i)(B) of                                                                       amended as follows:
                                                                                                   continues to read as follows:
                                           this section, the new period of
                                           employment described in paragraph                         Authority: 8 U.S.C. 1101, 1103, 1105a,              PART 655—TEMPORARY
                                           (h)(26)(i) of this section may last for up              1324a; 48 U.S.C. 1806; 8 CFR part 2; Pub. L.          EMPLOYMENT OF FOREIGN
                                                                                                   101–410, 104 Stat. 890, as amended by Pub.            WORKERS IN THE UNITED STATES
                                           to 60 days beginning on the later of
                                                                                                   L. 114–74, 129 Stat. 599.
                                           either May 25, 2021 or the start date of
                                                                                                   ■ 4. Effective May 25, 2021 through May               ■ 5. The authority citation for part 655
                                           employment indicated in the H–2B
                                                                                                   28, 2024, amend § 274a.12 by adding                   continues to read as follows:
                                           petition.
                                              (C) With respect to either type of new               paragraph (b)(30) to read as follows:                   Authority: Section 655.0 issued under 8
                                                                                                                                                         U.S.C. 1101(a)(15)(E)(iii), 1101(a)(15)(H)(i)
                                           petition, if USCIS adjudicates the new                  § 274a.12 Classes of aliens authorized to             and (ii), 8 U.S.C. 1103(a)(6), 1182(m), (n), (p),
                                           petition before the expiration of this                  accept employment.                                    and (t), 1184(c), (g), and (j), 1188, and 1288(c)
                                           60-day period and denies the petition,                  *       *    *     *     *                            and (d); sec. 3(c)(1), Pub. L. 101–238, 103
                                           or if the new petition is withdrawn by                     (b) * * *                                          Stat. 2099, 2102 (8 U.S.C. 1182 note); sec.
                                           the petitioner before the expiration of                    (30)(i) Pursuant to 8 CFR 214.2(h)(26)             221(a), Pub. L. 101–649, 104 Stat. 4978, 5027
                                           the 60-day period, the employment                       and notwithstanding 8 CFR                             (8 U.S.C. 1184 note); sec. 303(a)(8), Pub. L.
                                           authorization associated with the filing                214.2(h)(2)(i)(D), an alien is authorized             102–232, 105 Stat. 1733, 1748 (8 U.S.C. 1101
                                           of that petition under 8 CFR                                                                                  note); sec. 323(c), Pub. L. 103–206, 107 Stat.
                                                                                                   to be employed no earlier than the start
                                           274a.12(b)(30) will automatically                                                                             2428; sec. 412(e), Pub. L. 105–277, 112 Stat.
                                                                                                   date of employment indicated in the                   2681 (8 U.S.C. 1182 note); sec. 2(d), Pub. L.
                                           terminate 15 days after the date of the                 H–2B petition and no earlier than May                 106–95, 113 Stat. 1312, 1316 (8 U.S.C. 1182
                                           denial decision or 15 days after the date               25, 2021, by a new employer that has                  note); 29 U.S.C. 49k; Pub. L. 107–296, 116
                                           on which the new petition is                            filed an H–2B petition naming the alien               Stat. 2135, as amended; Pub. L. 109–423, 120
                                           withdrawn. Nothing in this paragraph                    as a beneficiary and requesting an                    Stat. 2900; 8 CFR 214.2(h)(4)(i); 8 CFR
                                           (h)(26) is intended to alter the                        extension of stay for the alien, for a                214.2(h)(6)(iii); and sec. 6, Pub. L. 115–218,
                                           availability of employment                              period not to exceed 60 days beginning                132 Stat. 1547 (48 U.S.C. 1806).
                                           authorization related to professional                   on:                                                     Subpart A issued under 8 CFR 214.2(h).
                                           H–2B athletes who are traded between                       (A) The later of the ‘‘Received Date’’               Subpart B issued under 8 U.S.C.
                                           organizations pursuant to paragraph                     on Form I–797 (Notice of Action)                      1101(a)(15)(H)(ii)(a), 1184(c), and 1188; and 8
                                           (h)(6)(vii) of this section and 8 CFR                   acknowledging receipt of the petition, or             CFR 214.2(h).
                                           274a.12(b)(9).                                          the start date of employment indicated                  Subpart E issued under 48 U.S.C. 1806.
                                                                                                   on the new H–2B petition, for petitions                 Subparts F and G issued under 8 U.S.C.
                                              (iii) In addition to meeting all other
                                                                                                                                                         1288(c) and (d); sec. 323(c), Pub. L. 103–206,
                                           requirements in paragraph (h)(6) of this                filed on or after May 25, 2021; or
                                                                                                                                                         107 Stat. 2428; and 28 U.S.C. 2461 note, Pub.
                                           section for the H–2B classification, to                    (B) The later of May 25, 2021 or the
                                                                                                                                                         L. 114–74 at section 701.
                                           commence employment and be                              start date of employment indicated on                   Subparts H and I issued under 8 U.S.C.
                                           approved under this paragraph (h)(26):                  the new H–2B petition, for petitions that             1101(a)(15)(H)(i)(b) and (b)(1), 1182(n), (p),
                                              (A) The alien must have been in valid                are pending as of May 25, 2021.                       and (t), and 1184(g) and (j); sec. 303(a)(8),
                                           H–2B nonimmigrant status on or after                       (ii) If USCIS adjudicates the new                  Pub. L. 102–232, 105 Stat. 1733, 1748 (8
                                           May 25, 2021;                                           petition prior to the expiration of the               U.S.C. 1101 note); sec. 412(e), Pub. L. 105–
                                                                                                   60-day period in paragraph (b)(30)(i) of              277, 112 Stat. 2681; 8 CFR 214.2(h); and 28
                                              (B) The new H–2B petition must have                                                                        U.S.C. 2461 note, Pub. L. 114–74 at section
                                                                                                   this section and denies the new petition
                                           been—                                                                                                         701.
                                                                                                   for extension of stay, or if the petitioner
                                              (1) Pending as of May 25, 2021; or                   withdraws the new petition before the                   Subparts L and M issued under 8 U.S.C.
                                              (2) Received on or after May 25, 2021,                                                                     1101(a)(15)(H)(i)(c) and 1182(m); sec. 2(d),
                                                                                                   expiration of the 60-day period, the                  Pub. L. 106–95, 113 Stat. 1312, 1316 (8 U.S.C.
                                           but no later than November 22, 2021;                    employment authorization under this                   1182 note); Pub. L. 109–423, 120 Stat. 2900;
                                              (C) The petitioner must comply with                  paragraph (b)(30) will automatically                  and 8 CFR 214.2(h).
                                           all Federal, State, and local                           terminate upon 15 days after the date of
                                           employment-related laws and                             the denial decision or the date on which              ■ 6. Effective May 25, 2021 through
                                           regulations, including health and safety                the new petition is withdrawn. Nothing                September 30, 2021, add § 655.64 to
                                           laws, laws related to COVID–19 worker                   in this section is intended to alter the              read as follows:
                                           protections, and any right to time off or               availability of employment                            § 655.64 Special application filing and
                                           paid time off for COVID–19 vaccination;                 authorization related to professional                 eligibility provisions for Fiscal Year 2021
                                           and                                                     H–2B athletes who are traded between                  under the Consolidated Appropriations Act,
                                              (D) The petitioner may not impede,                   organizations pursuant to paragraph                   2021.
                                           interfere, or refuse to cooperate with an               (b)(9) of this section and 8 CFR                        (a) An employer filing a petition with
                                           employee of the Secretary of the U.S.                   214.2(h)(6)(vii).                                     USCIS under 8 CFR 214.2(h)(6)(x) to
                                           Department of Labor who is exercising                      (iii) Authorization to initiate                    request H–2B workers who will begin
                                                                                                   employment changes pursuant to 8 CFR
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                                           or attempting to exercise DOL’s audit or                                                                      employment on or after May 25, 2021,
                                           investigative authority under 20 CFR                    214.2(h)(26) and paragraph (b)(30)(i) of              through September 30, 2021, must meet
                                           part 655, subpart A, and 29 CFR 503.25.                 this section begins at 12 a.m. on May 25,             the following requirements:
                                              (iv) Authorization to initiate                       2021, and ends at the end of November                   (1) The employer must attest on Form
                                           employment changes pursuant to this                     22, 2021.                                             ETA–9142–B–CAA–4 that without the
                                           paragraph (h)(26) begins at 12 a.m. on                  *       *    *     *     *                            ability to employ all of the H–2B

                                                                                                                                                                                    AR00650
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                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 269 of 350 PageID 4862
                                                               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations                                             28233

                                           workers requested on the petition filed                 and remain posted for at least 15                     individuals possessing pertinent
                                           pursuant to 8 CFR 214.2(h)(6)(x), its                   calendar days;                                        information, and review of the
                                           business is likely to suffer irreparable                   (ii) During the period of time the SWA             employer’s records related to the
                                           harm (that is, permanent and severe                     is actively circulating the job order                 compliance with applicable laws and
                                           financial loss), and that the employer                  described in paragraph (a)(5)(i) of this              regulations, including but not limited to
                                           will provide documentary evidence of                    section for intrastate clearance, the                 evidence pertaining to or supporting the
                                           this fact to DHS or DOL upon request.                   employer must contact, by email or                    eligibility criteria for the FY 2021
                                              (2) The employer must attest on Form                 other available electronic means, the                 supplemental allocations outlined in
                                           ETA–9142–B–CAA–4 that each of the                       nearest comprehensive American Job                    this paragraph (a) and § 655.68(a), as a
                                           workers requested and/or instructed to                  Center offering business services and                 condition for the approval of the H–2B
                                           apply for a visa, whether named or                      serving the area of intended                          petition. Pursuant to this subpart and 29
                                           unnamed, on a petition filed pursuant to                employment where work will                            CFR 503.25, the employer will not
                                           8 CFR 214.2(h)(6)(x), have been issued                  commence, request staff assistance                    impede, interfere, or refuse to cooperate
                                           an H–2B visa or otherwise granted                       advertising and recruiting qualified U.S.             with an employee of the Secretary who
                                           H–2B status during one of the last three                workers for the job opportunity, and                  is exercising or attempting to exercise
                                           (3) fiscal years (fiscal year 2018, 2019,               provide the unique identification                     DOL’s audit or investigative authority.
                                           or 2020), unless the H–2B worker is a                   number associated with the job order                     (b) This section expires on October 1,
                                           national of Guatemala, El Salvador, or                  placed with the SWA or, if unavailable,               2021.
                                           Honduras and is counted towards the                     a copy of the job order;                                 (c) The requirements under paragraph
                                           6,000 cap described in 8 CFR                               (iii) During the period of time the                (a) of this section are intended to be
                                           214.2(h)(6)(x)(A)(2).                                   SWA is actively circulating the job order             non-severable from the remainder of
                                              (3) The employer must attest on Form                 described in paragraph (a)(5)(i) of this              this section; in the event that paragraph
                                           ETA–9142–B–CAA–4 that the employer                      section for intrastate clearance, the                 (a)(1), (2), (3), (4), or (5) of this section
                                           will comply with all the assurances,                    employer must contact (by mail or other               is enjoined or held to be invalid by any
                                           obligations, and conditions of                          effective means) its former U.S. workers,             court of competent jurisdiction, the
                                           employment set forth on its approved                    including those who have been                         remainder of this section is also
                                           Application for Temporary Employment                    furloughed or laid off, during the period             intended to be enjoined or held to be
                                           Certification.                                          beginning January 1, 2019, until the date             invalid in such jurisdiction, without
                                              (4) The employer must attest on Form                 the I–129 petition required under 8 CFR               prejudice to workers already present in
                                           ETA–9142–B–CAA–4 that it will                           214.2(h)(6)(x) is submitted, who were                 the United States under this part, as
                                           comply with all Federal, State, and local               employed by the employer in the                       consistent with law.
                                           employment-related laws and                             occupation at the place of employment                 ■ 7. Effective May 25, 2021 through
                                           regulations, including health and safety                (except those who were dismissed for                  September 30, 2024, add § 655.68 to
                                           laws and laws related to COVID–19                       cause or who abandoned the worksite),
                                                                                                                                                         read as follows:
                                           worker protections, any right to time off               disclose the terms of the job order, and
                                           or paid time off for COVID–19                           solicit their return to the job. The                  § 655.68 Special document retention
                                           vaccination, and that the employer will                 contact and disclosures required by this              provisions for Fiscal Years 2021 through
                                           notify any H–2B workers approved                        paragraph (a)(5)(iii) must be provided in             2024 under the Consolidated
                                           under the supplemental cap in 8 CFR                     a language understood by the worker, as               Appropriations Act, 2021.
                                           214.2(h)(6)(x)(A)(1) and (2), in a                      necessary or reasonable;                                 (a) An employer who files a petition
                                           language understood by the worker, as                      (iv) During the period of time the                 with USCIS to employ H–2B workers in
                                           necessary or reasonable, that all persons               SWA is actively circulating the job order             fiscal year 2021 under authority of the
                                           in the United States, including                         described in paragraph (a)(5)(i) of this              temporary increase in the numerical
                                           nonimmigrants, have equal access to                     section for intrastate clearance, the                 limitation under section 105 of Division
                                           COVID–19 vaccines and vaccine                           employer must engage in the                           O, Public Law 116–260 must maintain
                                           distribution sites.                                     recruitment of U.S. workers as provided               for a period of three (3) years from the
                                              (5) An employer that submits Form                    in § 655.45(a) and (b). The contact and               date of certification, consistent with 20
                                           ETA–9142B–CAA–4 and the I–129                           disclosures required by this paragraph                CFR 655.56 and 29 CFR 503.17, the
                                           petition 45 or more days after the                      (a)(5)(iv) must be provided in a language             following:
                                           certified start date of work, as shown on               understood by the worker, as necessary                   (1) A copy of the attestation filed
                                           its approved Application for Temporary                  or reasonable; and                                    pursuant to the regulations in 8 CFR
                                           Employment, must conduct additional                        (v) The employer must hire any                     214.2 governing that temporary
                                           recruitment of U.S. workers as follows:                 qualified U.S. worker who applies or is               increase;
                                              (i) Not later than the next business                 referred for the job opportunity until the               (2) Evidence establishing, at the time
                                           day after submitting the I–129 petition                 date on which the last H–2B worker                    of filing the I–129 petition, that
                                           for H–2B worker(s), the employer must                   departs for the place of employment, or               employer’s business is likely to suffer
                                           place a new job order for the job                       30 days after the last date on which the              irreparable harm (that is, permanent and
                                           opportunity with the State Workforce                    SWA job order is posted, whichever is                 severe financial loss), if it cannot
                                           Agency (SWA), serving the area of                       later. Consistent with § 655.40(a),                   employ H–2B nonimmigrant workers in
                                           intended employment. The employer                       applicants can be rejected only for                   fiscal year 2021;
                                           must follow all applicable SWA                          lawful job-related reasons.                              (3) Documentary evidence
                                           instructions for posting job orders and                    (6) The employer must attest on Form               establishing that each of the workers the
                                           receive applications in all forms                       ETA–9142–B–CAA–4 that it will fully                   employer requested and/or instructed to
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                                           allowed by the SWA, including online                    cooperate with any audit, investigation,              apply for a visa, whether named or
                                           applications (sometimes known as ‘‘self-                compliance review, evaluation,                        unnamed on a petition filed pursuant to
                                           referrals’’). The job order must contain                verification, or inspection conducted by              8 CFR 214.2(h)(6)(x), have been issued
                                           the job assurances and contents set forth               DOL, including an on-site inspection of               an H–2B visa or otherwise granted
                                           in § 655.18 for recruitment of U.S.                     the employer’s facilities, interview of               H–2B status during one of the last three
                                           workers at the place of employment,                     the employer’s employees and any other                (3) fiscal years (fiscal year 2018, 2019,

                                                                                                                                                                                  AR00651
                                      VerDate Sep<11>2014   19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00037   Fmt 4701   Sfmt 4700   E:\FR\FM\25MYR2.SGM   25MYR2
                                                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 270 of 350 PageID 4863
                                           28234               Federal Register / Vol. 86, No. 99 / Tuesday, May 25, 2021 / Rules and Regulations

                                           or 2020), unless the H–2B worker(s) is                  Honduras, as defined in 8 CFR                           (c) This section expires on October 1,
                                           a national of El Salvador, Guatemala, or                214.2(h)(6)(x)(A)(2); and                             2024.
                                           Honduras and is counted towards the                        (4) If applicable, proof of recruitment
                                                                                                   efforts set forth in § 655.64(a)(5)(i)                Alejandro N. Mayorkas,
                                           6,000 cap described in 8 CFR
                                                                                                   through (iv) and a recruitment report                 Secretary, U.S. Department of Homeland
                                           214.2(h)(6)(x)(A)(2). Alternatively, if                                                                       Security.
                                           applicable, employers must maintain                     that meets the requirements set forth in
                                                                                                   § 655.48(a)(1) through (4) and (7), and               Martin J. Walsh,
                                           documentary evidence that the workers
                                                                                                   maintained throughout the recruitment                 Secretary, U.S. Department of Labor.
                                           the employer requested and/or
                                           instructed to apply for visas are eligible              period set forth in § 655.64(a)(5)(v).                [FR Doc. 2021–11048 Filed 5–21–21; 11:15 am]
                                                                                                      (b) DOL or DHS may inspect the                     BILLING CODE 9111–97–P; 4510–FP–P
                                           nationals of El Salvador, Guatemala, or                 documents in paragraphs (a)(1) through
                                                                                                   (4) of this section upon request.
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                                                                                                                                                                                    AR00652
                                      VerDate Sep<11>2014   19:01 May 24, 2021   Jkt 253001   PO 00000   Frm 00038   Fmt 4701   Sfmt 9990   E:\FR\FM\25MYR2.SGM   25MYR2
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                                               42828                        Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices

                                               state, local and courtroom requirements                 ADDRESSES: Individuals seeking an                     • Email address
                                               and seek a commitment to adhere to                      appointment to the IPAC may send a                      At their option, candidates may
                                               those requirements. The requirements                    Statement of Interest by email to IPAC@               provide additional information for
                                               apply to all attorneys, assistants, parties,            frb.gov. The Statement of Interest                    consideration.
                                               and witnesses. The discussion will also                 contains only contact information.
                                               address who may enter the courtroom,                    Candidates also may choose to provide                 Qualifications
                                               when, and what safety measures, such                    additional information. Candidates may                  IPAC candidates should be insurance
                                               as masks and social distancing, must be                 send this information by email to IPAC@               experts. The Board provides equal
                                               implemented. No person may enter the                    frb.gov. The Privacy Act Statement for                appointment opportunity to all persons
                                               courtroom, or the witness room without                  IPAC Member Selection, which                          without regard to race, color, religion,
                                               the permission of the Judge. The Judge                  describes the purposes, authority,                    sex (including sexual orientation,
                                               may consider allowing persons who are                   effects of nondisclosure, and uses of this            gender identity, and pregnancy),
                                               not fully vaccinated to enter the                       information, can be found at https://                 national origin, age, disability, genetic
                                               courtroom, but they must wear masks                     www.federalreserve.gov/aboutthefed/                   information, or military service. In
                                               and practice social distancing.                         ipac-privacy.htm.                                     addition, the Board is committed to a
                                                  All court reporters will be notified                    Individuals also may mail Statements               diverse committee and seeks a diverse
                                               that they must be vaccinated.                           of Interest and any additional                        set of expert perspectives from the
                                                  The Judge may consider all factors, in               information to the Board of Governors of              various sectors of the U.S. insurance
                                               totality, in determining if a remote                    the Federal Reserve System, Attn:                     industry including life insurance,
                                               hearing will be held and who may be                     Insurance Policy Advisory Committee,                  property and casualty insurance and
                                               present for the hearing. No single factor               20th Street and Constitution Ave. NW,                 reinsurance, agents and brokers,
                                               is dispositive. These procedures shall be               Washington, DC 20551.                                 academics, consumer advocates, and
                                               in place until December 31, 2021, unless                                                                      experts on issues facing underserved
                                                                                                       FOR FURTHER INFORMATION CONTACT: Jan
                                               extended or modified by order. The                                                                            insurance communities and consumers.
                                                                                                       Bauer, Senior Insurance Policy Analyst,
                                               order shall be posted on the                                                                                  The Board also seeks relevant actuarial,
                                                                                                       (202) 475–7697 or Thomas Sullivan,
                                               Commission’s website                                                                                          legal, regulatory, and accounting
                                                                                                       Senior Associate Director, (202) 452–
                                               (www.fmshrc.gov) and the contents of                                                                          expertise, as well as expertise on lines
                                               the order will be published in a notice                 3000, Division of Supervision and
                                                                                                       Regulation; or IPAC@frb.gov.                          of business underwritten by its
                                               appearing in the Federal Register.                                                                            currently supervised population of
                                                  Authority: 30 U.S.C. 823; 29 CFR part                SUPPLEMENTARY INFORMATION: The
                                                                                                       Economic Growth, Regulatory Relief,                   insurance institutions.
                                               2700.                                                                                                           Members must be willing and able to
                                                                                                       and Consumer Protection Act
                                                 Dated: July 30, 2021.                                                                                       participate in conference calls and
                                                                                                       established at the Board an Insurance
                                               Sarah L. Stewart,                                                                                             prepare for and attend meetings in
                                                                                                       Policy Advisory Committee (IPAC) to
                                               Deputy General Counsel, Federal Mine Safety                                                                   person. Membership and attendance is
                                                                                                       advise the Board on international
                                               and Health Review Commission.                                                                                 not delegable.
                                                                                                       capital standards and other insurance
                                               [FR Doc. 2021–16661 Filed 8–4–21; 8:45 am]                                                                      By order of the Board of Governors of the
                                                                                                       matters. This notice advises individuals
                                               BILLING CODE 6735–01–P
                                                                                                       of the opportunity to be considered for               Federal Reserve System, acting through the
                                                                                                       appointment to the IPAC. To assist with               Director of the Division of Supervision and
                                                                                                                                                             Regulation under delegated authority.
                                                                                                       the appointment of IPAC members, the
                                               FEDERAL RESERVE SYSTEM                                  Board considers information submitted                 Ann Misback,
                                                                                                       by the candidate, public information,                 Secretary of the Board.
                                               Solicitation of Statements of Interest
                                                                                                       and any other relevant information the                [FR Doc. 2021–16669 Filed 8–4–21; 8:45 am]
                                               for Membership on the Insurance
                                                                                                       Board determines to consider.                         BILLING CODE P
                                               Policy Advisory Committee
                                                                                                       Council Size and Terms
                                               AGENCY: Board of Governors of the
                                               Federal Reserve System (Board).                            The IPAC has at most 21 members.                   DEPARTMENT OF HEALTH AND
                                               ACTION: Notice.                                         IPAC members serve staggered three-                   HUMAN SERVICES
                                                                                                       year terms. Members are appointed to
                                               SUMMARY: The Economic Growth,                           three-year terms unless the Board                     Centers for Disease Control and
                                               Regulatory Relief, and Consumer                         appoints a member to fill a vacant                    Prevention
                                               Protection Act established at the Board                 unexpired term. A member that is
                                               an Insurance Policy Advisory                            appointed to serve a three-year term                  Public Health Reassessment and Order
                                               Committee (IPAC). This notice advises                   begins his or her service on the first                Suspending the Right To Introduce
                                               individuals who wish to serve as IPAC                   January 1 occurring after his or her                  Certain Persons From Countries
                                               members of the annual opportunity to                    appointment. A member appointed to                    Where a Quarantinable Communicable
                                               be considered for the IPAC.                             fill an vacant unexpired term serves for              Disease Exists
                                               DATES: Individuals that submit a                        the remaining time of the term. The                   AGENCY: Centers for Disease Control and
                                               Statement of Interest that is received by               Board provides a nominal honorarium                   Prevention (CDC), Department of Health
                                               the Board from the first Monday in                      and reimburses members only for their                 and Human Services (HHS).
                                               August through the first Monday in                      actual travel expenses, subject to Board              ACTION: Notice.
                                               October of each year will be considered                 policy.
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                                               for appointments to the IPAC                                                                                  SUMMARY: The Centers for Disease
                                                                                                       Statement of Interest
                                               announced in the fourth calendar                                                                              Control and Prevention (CDC), a
                                               quarter of the same year. Statements of                   A Statement of Interest must contain                component of the Department of Health
                                               Interest received outside the period                    the following information:                            and Human Services (HHS), announces
                                               from the first Monday in August                         • Full name;                                          an Order to replace and supersede the
                                               through the first Monday in October                     • Address;                                            Order Suspending the Right to
                                               generally will not be considered.                       • Phone number; and                                   Introduce Certain Persons from

                                                                                                                                                                                        AR00653
                                          VerDate Sep<11>2014   17:07 Aug 04, 2021   Jkt 253001   PO 00000   Frm 00053   Fmt 4703   Sfmt 4703   E:\FR\FM\05AUN1.SGM   05AUN1
                                                    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                    Page 272 of 350 PageID 4865
                                                                             Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices                                                      42829

                                               Countries Where a Quarantinable                           along the U.S. land and adjacent coastal               U.S. DEPARTMENT OF HEALTH AND
                                               Communicable Disease Exists, issued on                    borders. In recognition of the specific                HUMAN SERVICES CENTERS FOR
                                               October 13, 2020 (‘‘October Order’’).                     COVID–19 mitigation measures                           DISEASE CONTROL AND
                                               Following an assessment of the current                    available in facilities providing care for             PREVENTION (CDC)
                                               status of the COVID–19 public health                      Unaccompanied Noncitizen Children                      Order Under Sections 362 & 365 of the
                                               emergency and the situation in                            (UC), CDC excepted UC from the                         Public Health Service Act
                                               congregate settings where noncitizens                     October Order 2 on July 16, 2021 (July
                                               seeking to enter the United States are                                                                           (42 U.S.C. 265, 268) and 42 CFR 71.40
                                                                                                         Exception) and continues that exception
                                               processed and held, CDC has                               herein.3 In addition, CDC is continuing                Public Health Reassessment and Order
                                               determined that an Order remains                          an exception for individuals on a case-                Suspending the Right To Introduce
                                               appropriate at this time for all ‘‘covered                                                                       Certain Persons From Countries Where
                                                                                                         by-case basis, based on the totality of
                                               noncitizens’’ as defined in the order.                                                                           a Quarantinable Communicable Disease
                                                                                                         the circumstances, and is incorporating
                                               Unaccompanied noncitizen children,                                                                               Exists
                                                                                                         an additional exception for programs
                                               already excepted under a July 16, 2021
                                                                                                         approved by the U.S. Department of                     Executive Summary
                                               order, remain excepted from the order’s
                                               coverage. In addition, CDC is continuing                  Homeland Security (DHS) that                             The Centers for Disease Control and
                                               an exception for individuals on a case-                   incorporate appropriate COVID–19                       Prevention (CDC), a component of the
                                               by-case basis, based on the totality of                   mitigation protocols as recommended                    U.S. Department of Health and Human
                                               the circumstances, and is incorporating                   by CDC.                                                Services (HHS), is hereby replacing and
                                               an additional exception for programs                        A copy of the Order is provided                      superseding the Order Suspending the
                                               approved by the U.S. Department of                        below, and a copy of the signed Order                  Right to Introduce Certain Persons from
                                               Homeland Security (DHS) that                              can be found at https://www.cdc.gov/                   Countries Where a Quarantinable
                                               incorporate appropriate COVID–19                          coronavirus/2019-ncov/downloads/                       Communicable Disease Exists, issued on
                                               mitigation protocols as recommended                                                                              October 13, 2020 (October Order). The
                                                                                                         CDC-Order-Suspending-Right-to-
                                               by CDC.                                                                                                          instant Order continues the suspension
                                                                                                         Introduce-_Final_8-2-21.pdf.
                                               DATES: This Order went into effect
                                                                                                                                                                of the right to introduce ‘‘covered
                                               August 2, 2021.                                                                                                  noncitizens,’’ as defined herein,4 into
                                                                                                                                                                the United States along the U.S. land
                                               FOR FURTHER INFORMATION CONTACT:
                                                                                                                                                                and adjacent coastal borders. In
                                               Tiffany Brown, Deputy Chief of Staff,                                                                            recognition of the specific COVID–19
                                               Centers for Disease Control and                           (regardless of their country of origin) who would
                                                                                                                                                                mitigation measures available in
                                               Prevention, 1600 Clifton Road NE, MS                      otherwise be introduced into a congregate setting in
                                                                                                                                                                facilities providing care for
                                               H21–10, Atlanta, GA 30329. Phone:                         a POE or U.S. Border Patrol station at or near the
                                                                                                         U.S. land and adjacent coastal borders subject to      Unaccompanied Noncitizen Children
                                               404–639–7000. Email: cdcregulations@                                                                             (UC), CDC excepted UC from the
                                                                                                         certain exceptions detailed below; this includes
                                               cdc.gov.                                                  noncitizens who do not have proper travel              October Order on July 16, 2021 (July
                                               SUPPLEMENTARY INFORMATION: CDC has                        documents, noncitizens whose entry is otherwise        Exception) and continues that exception
                                               determined that an Order under 42                         contrary to law, and noncitizens who are               herein.5 Following an assessment of the
                                               U.S.C. 265 remains necessary to protect                   apprehended at or near the border seeking to
                                                                                                         unlawfully enter the United States between POE.
                                                                                                                                                                current status of the COVID–19 public
                                               U.S. citizens, U.S. nationals, lawful                        2 Order Suspending the Right to Introduce Certain
                                                                                                                                                                health emergency and the situation in
                                               permanent residents, personnel and                        Persons from Countries Where a Quarantinable           congregate settings where noncitizens
                                               noncitizens at the ports of entry (POE)                   Communicable Disease Exists, 85 FR 65806 (Oct.         seeking to enter the United States are
                                               and U.S. Border Patrol stations, and                      16, 2020). The October Order replaced the Order        processed and held, CDC has
                                               destination communities in the United                     Suspending Introduction of Certain Persons from        determined that an Order remains
                                               States during the COVID–19 public                         Countries Where a Communicable Disease Exists,         appropriate at this time for all other
                                               health emergency. This Order reflects                     issued on March 20, 2020 (March Order) and             covered noncitizens as described herein.
                                               the current, highly dynamic conditions                    subsequently extended and amended. Notice of
                                                                                                                                                                As outlined below, CDC is continuing
                                                                                                         Order Under Sections 362 and 365 of the Public
                                               regarding COVID–19, including variants                                                                           an exception for individuals on a case-
                                                                                                         Health Service Act Suspending Introduction of
                                               of concern and levels of vaccination, as                  Certain Persons from Countries Where a                 by-case basis, based on the totality of
                                               well as evolving circumstances specific                   Communicable Disease Exists, 85 FR 17060 (Mar.         the circumstances, and is incorporating
                                               to the U.S. borders. As facts change,                     26, 2020); Extension of Order Under Sections 362       an additional exception for programs
                                               CDC may further modify the Order. This                    and 365 of the Public Health Service Act; Order        approved by the U.S. Department of
                                               Order will remain in place until either                   Suspending Introduction of Certain Persons From        Homeland Security (DHS) that
                                               the expiration of the Secretary of HHS’                   Countries Where a Communicable Disease Exists,
                                                                                                                                                                incorporate appropriate COVID–19
                                                                                                         85 FR 22424 (Apr. 22, 2020); Amendment and
                                               declaration that COVID–19 constitutes a                                                                          mitigation protocols as recommended
                                                                                                         Extension of Order Under Sections 362 and 365 of
                                               public health emergency, or the CDC                       the Public Health Service Act; Order Suspending        by CDC.
                                               Director determines that the danger of                    Introduction of Certain Persons from Countries           CDC has determined that an Order
                                               further introduction of COVID–19 into                     Where a Communicable Disease Exists, 85 FR 31503       under 42 U.S.C. 265 remains necessary
                                               the United States has declined such that                  (May 26, 2020).
                                               continuation of the Order is no longer                       3 Public Health Determination Regarding an            4 See infra Section III.A.

                                               necessary to protect public health,                       Exception for Unaccompanied Noncitizen Children          5 Public Health Determination Regarding an

                                               whichever occurs first. The                               from Order Suspending the Right to Introduce           Exception for Unaccompanied Noncitizen Children
                                                                                                                                                                from Order Suspending the Right to Introduce
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                                               circumstances necessitating the Order                     Certain Persons from Countries Where a
                                                                                                         Quarantinable Communicable Disease Exists,             Certain Persons from Countries Where a
                                               will be reassessed at least every 60 days.                Centers for Disease Control and Prevention, https://   Quarantinable Communicable Disease Exists,
                                               This Order continues the suspension of                    www.cdc.gov/coronavirus/2019-ncov/more/pdf/
                                                                                                                                                                Centers for Disease Control and Prevention, https://
                                               the right to introduce ‘‘covered                                                                                 www.cdc.gov/coronavirus/2019-ncov/more/pdf/
                                                                                                         NoticeUnaccompaniedChildren.pdf (July 16, 2021);       NoticeUnaccompaniedChildren.pdf (July 16, 2021);
                                               noncitizens,’’ 1 into the United States                   see 86 FR 38717 (July 22, 2021). The July Exception    see 86 FR 38717 (July 22, 2021). The July Exception
                                                                                                         relating to UC is hereby made a part of this Order     relating to UC is hereby made a part of this Order
                                                 1 The term ‘‘covered noncitizens’’ is defined as        and incorporated by reference as if fully set forth    and incorporated by reference as if fully set forth
                                               persons traveling from Canada or Mexico                   herein.                                                herein.


                                                                                                                                                                                               AR00654
                                          VerDate Sep<11>2014   17:07 Aug 04, 2021   Jkt 253001     PO 00000   Frm 00054   Fmt 4703   Sfmt 4703   E:\FR\FM\05AUN1.SGM   05AUN1
                                                    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                   Page 273 of 350 PageID 4866
                                               42830                        Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices

                                               to protect U.S. citizens, U.S. nationals,               virus. As part of U.S. government efforts               Order.11 The exception of UC from the
                                               lawful permanent residents, personnel                   to mitigate the introduction,                           October Order was confirmed with the
                                               and noncitizens at the ports of entry                   transmission, and spread of COVID–19,                   publication of the July Exception.12
                                               (POE) and U.S. Border Patrol stations,                  CDC issued an Order on October 13,                         POE and U.S. Border Patrol stations
                                               and destination communities in the                      2020 (October Order), replacing an                      are operated by U.S. Customs and
                                               United States during the COVID–19                       Order initially issued on March 20, 2020                Border Protection (CBP), an agency
                                               public health emergency. This Order                     (March Order),7 suspending the right to                 within DHS. The March and October
                                               reflects the current, highly dynamic                    introduce 8 certain persons into the                    Orders were intended to reduce the risk
                                               conditions regarding COVID–19,                          United States from countries or places                  of COVID–19 introduction,
                                               including variants of concern and levels                where the quarantinable communicable                    transmission, and spread in POE and
                                               of vaccination, as well as evolving                     disease exists in order to protect the                  U.S. Border Patrol stations by
                                               circumstances specific to the U.S.                      public health from an increase in risk of               significantly reducing the number and
                                               borders. As facts change, CDC may                       the introduction of COVID–19. The                       density of covered noncitizens held in
                                               further modify the Order. This Order                    October Order applied specifically to                   these congregate settings, thereby
                                               will remain in place until either the                   covered noncitizens who would                           reducing risks to U.S. citizens and
                                               expiration of the Secretary of HHS’                     otherwise be introduced into a                          residents, DHS/CBP personnel and
                                               declaration that COVID–19 constitutes a                 congregate setting in land or coastal                   noncitizens at the facilities, and the
                                               public health emergency, or the CDC                     POE or U.S. Border Patrol stations at or                healthcare systems in local communities
                                               Director determines that the danger of                  near the U.S. borders 9 with Canada and                 overall. Because of the congregate
                                               further introduction of COVID–19 into                   Mexico. On February 17, 2021, CDC                       nature of these facilities and the
                                               the United States has declined such that                published a notice announcing the                       sustained community transmission of
                                               continuation of the Order is no longer                  temporary exception of unaccompanied                    COVID–19, including the highly
                                               necessary to protect public health,                     noncitizen children (UC) 10 encountered                 transmissible B.1.617.2 (Delta) variant,
                                               whichever occurs first. The                             in the United States from the October                   in both the United States and migrants’
                                               circumstances necessitating the Order                                                                           countries of origin and transit, at this
                                               will be reassessed at least every 60 days.              causing, or have the potential to cause, a pandemic.    time, there continues to be a high risk
                                                                                                       See Exec. Order 13295, 68 FR 17255 (Apr. 4, 2003),      of COVID–19 outbreaks in these
                                               Outline of Reassessment and Order                       as amended by Exec. Order 13375, 70 FR 17299
                                                                                                                                                               facilities following the introduction of
                                                                                                       (Apr. 1, 2005) and Exec. Order 13674, 79 FR 45671
                                               I. Background                                           (July 31, 2014).                                        an infected person. Upon reassessment
                                                  A. Current Status of COVID–19 Public                    7 Order Suspending the Right to Introduce Certain    of the current situation with respect to
                                                     Health Emergency                                  Persons from Countries Where a Quarantinable            the pandemic and the situation at the
                                                  B. Public Health Factors Related to                  Communicable Disease Exists, 85 FR 65806 (Oct.          U.S. borders, CDC finds an Order under
                                                     COVID–19                                          16, 2020). The October Order replaced the Order
                                                                                                       Suspending Introduction of Certain Persons from         42 U.S.C. 265 for Single Adults (SA) 13
                                                  1. Manner of COVID–19 Transmission                                                                           and Family Units (FMU) 14 remains
                                                                                                       Countries Where a Communicable Disease Exists,
                                                  2. Emerging Variants of the SARS–CoV–2
                                                     Virus
                                                                                                       issued on March 20, 2020 (March Order), and             necessary at this time, as discussed in
                                                                                                       subsequently extended and amended. Notice of            detail below. CDC also recognizes the
                                                  3. Risks of COVID–19 Transmission                    Order Under Sections 362 and 365 of the Public
                                                     Specific To Congregate Settings                   Health Service Act Suspending Introduction of           availability of testing, vaccines, and
                                                  4. Availability of Testing, Vaccines, and            Certain Persons from Countries Where a                  other mitigation protocols can minimize
                                                     Other Mitigation Measures                         Communicable Disease Exists, 85 FR 17060 (Mar.          risk in this area. As the ability of DHS
                                                  5. Impact on U.S. Communities and                    26, 2020); Extension of Order Under Sections 362        facilities to employ mitigation measures
                                                     Healthcare Resources                              and 365 of the Public Health Service Act; Order
                                                                                                       Suspending Introduction of Certain Persons From         to address the COVID–19 public health
                                               II. Public Health Reassessment                                                                                  emergency increases, CDC anticipates
                                                                                                       Countries Where a Communicable Disease Exists,
                                                  A. Immigration Processing and Public                 85 FR 22424 (Apr. 22, 2020); Amendment and              additional lifting of restrictions.
                                                     Health Impacts                                    Extension of Order Under Sections 362 and 365 of
                                                  B. Public Health Assessment of Single                the Public Health Service Act; Order Suspending         A. Current Status of COVID–19 Public
                                                     Adults and Family Units                           Introduction of Certain Persons from Countries          Health Emergency
                                                  C. Comparison to Unaccompanied                       Where a Communicable Disease Exists, 85 FR 31503
                                                     Noncitizen Children                               (May 26, 2020).                                           Since late 2019, SARS–CoV–2, the
                                                  D. Summary of Findings                                  8 Suspension of the right to introduce means to
                                                                                                                                                               virus that causes COVID–19, has spread
                                               III. Legal Basis for the Order                          cause the temporary cessation of the effect of any      throughout the world, resulting in a
                                                                                                       law, rule, decree, or order pursuant to which a
                                               IV. Issuance and Implementation of the Order            person might otherwise have the right to be             pandemic. As of July 28, 2021, there
                                                  A. Covered Noncitizens                               introduced or seek introduction into the United         have been over 195 million confirmed
                                                  B. Exceptions                                        States. 42 CFR 71.40(b)(5).                             cases of COVID–19 globally, resulting in
                                                  C. APA, Review, and Termination                         9 When U.S. Customs and Border Protection
                                                                                                                                                               over 4.1 million deaths.15 The United
                                                                                                       (CBP) or the U.S. Department of Homeland Security
                                               I. Background                                           (DHS) partner agencies encounter noncitizens off          11 Notice of Temporary Exception from Expulsion
                                                  Coronavirus disease 2019 (COVID–19)                  the coast closely adjacent to the land borders, it
                                                                                                       transfers the noncitizens for processing in POE or      of Unaccompanied Noncitizen Children Pending
                                               is a quarantinable communicable                         U.S. Border Patrol stations closest to the encounter.   Forthcoming Public Health Determination, 86 FR
                                               disease 6 caused by the SARS–CoV–2                      Absent the October Order, such noncitizens would        9942 (Feb. 17, 2021).
                                                                                                                                                                 12 Supra note 2.
                                                                                                       be held in the same congregate settings and holding
                                                                                                                                                                 13 A single adult (SA) is any noncitizen adult 18
                                                 6 Quarantinable communicable diseases are any         facilities as any encounters along the land border,
                                               of the communicable diseases listed in Executive        resulting in similar public health concerns related     years or older who is not an individual in a ‘‘family
                                               Order, as provided under § 361 of the Public Health     to the introduction, transmission, and spread of        unit,’’ see infra note 11.
                                                                                                       COVID–19.                                                 14 An individual in a family unit (FMU) includes
                                               Service Act (42 U.S.C. 264). 42 CFR 71.1. The list
khammond on DSKJM1Z7X2PROD with NOTICES




                                               of quarantinable communicable diseases currently           10 As stated in the July Exception, CDC’s            any individual in a group of two or more
                                               includes cholera, diphtheria, infectious                understanding is that UC are a class of individuals     noncitizens consisting of a minor or minors
                                               tuberculosis, plague, smallpox, yellow fever, viral     similar to or the same as those individuals who         accompanied by their adult parent(s) or legal
                                               hemorrhagic fevers (Lassa, Marburg, Ebola,              would be considered ‘‘unaccompanied alien               guardian(s). Any statistics regarding FMU count the
                                               Crimean-Congo, South American, and others not yet       children’’ (see 6 U.S.C. 279) for purposes of HHS       number of individuals in a family unit rather than
                                               isolated or named), severe acute respiratory            Office of Refugee Resettlement custody, were DHS        counting the groups.
                                               syndromes (including Middle East respiratory            to make the necessary immigration determinations          15 Coronavirus disease (COVID–19) pandemic,

                                               syndrome and COVID–19), and influenza caused by         under Title 8 of the U.S. Code. 86 FR 38717, 38718      World Health Organization, https://
                                               novel or reemergent influenza viruses that are          at note 4.                                              covid19.who.int/ (last visited July 28, 2021).


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                                                    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                    Page 274 of 350 PageID 4867
                                                                             Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices                                                       42831

                                               States has reported over 34 million                      the U.S. government and CDC have                        recommends that all individuals,
                                               cases resulting in over 609,000 deaths                   implemented a number of COVID–19                        including those fully vaccinated,
                                               due to the disease 16 and is currently                   mitigation and response measures since                  continue to wear a well-fitted face mask
                                               averaging around 61,976 new cases of                     that time. Many of these mitigation                     in correctional and detention
                                               COVID–19 a day as of July 27, 2021 with                  measures have involved restrictions on                  facilities.25
                                               high community transmission.17                           international travel and migration.22
                                               Although several of the key indicators of                Other measures have focused on                          B. Public Health Factors Related to
                                               transmission and spread of COVID–19                      recommending and enforcing COVID–19                     COVID–19
                                               in the United States improved during                     mitigation efforts, including physical                     As directed by Executive Order,26
                                               the first half of 2021, variants of                      distancing and mask-wearing.23 Recent                   CDC conducted a comprehensive
                                               concern, particularly the more                           concerns regarding the spread of the
                                                                                                                                                                reassessment of the October Order to
                                               transmissible Delta variant, have driven                 Delta variant prompted CDC to release
                                                                                                                                                                determine whether the suspension of
                                               a stark increase in COVID–19 cases,                      updated guidance calling for vaccinated
                                                                                                                                                                the right to introduce certain persons
                                               hospitalizations, and deaths. COVID–19                   persons to wear a mask indoors in
                                                                                                                                                                into the United States remains necessary
                                               cases increased approximately 400%                       public when in an area of substantial or
                                                                                                                                                                in light of the current circumstances,
                                               between June 19 and July 28, 2021.18                     high transmission.24 Furthermore, CDC
                                                  Many countries have begun                                                                                     including the evolving understanding of
                                               widespread vaccine administration;                       emergency/news/healthactions/phe/Pages/2019-
                                                                                                                                                                the epidemiology of COVID–19 variants
                                               however, 78 countries continue to                        nCoV.aspx (last visited July 21, 2021). The public      and available mitigation measures
                                               experience high or substantial incidence                 health emergency determination has been                 including testing and vaccination.27 In
                                                                                                        subsequently renewed at 90-day intervals, most          conducting this reassessment, CDC
                                               rates (≥50 cases per 100,000 people in                   recently on July 28, 2021. See https://www.phe.gov/
                                               the last seven days) and 123 countries,                  emergency/news/healthactions/phe/Pages/COVID-           examined a number of public health
                                               including the United States, are                         19July2021.aspx (last visited July 28, 2021).           factors, and evaluated how these factors
                                               experiencing an increasing incidence of
                                                                                                           22 The President issued proclamations                impact POE and U.S. Border Patrol
                                               reported new cases.19 It is imperative
                                                                                                        suspending entry into the United States of              stations and the personnel and
                                                                                                        immigrants or nonimmigrants who were physically
                                               that individuals and communities stay                    present within a number of countries during the 14-
                                                                                                                                                                noncitizens in those facilities. CDC also
                                               vigilant and that vaccination and other                  day period preceding their entry or attempted entry     scrutinized whether the potential
                                               COVID–19 mitigation efforts are                          into the U.S. See Proclamation 9984 (Jan. 31, 2020);    impacts varied by category of
                                                                                                        Proclamation 9992 (Feb. 28, 2020); Proclamation         noncitizen: SA, FMU, and UC. In
                                               maintained. As the Delta variant                         10143 (Jan. 25, 2021); and Proclamation 10199 (Apr.
                                               continues to spread, both the United                     30, 2021). Since March 2020, Canada and Mexico          carrying out its reassessment, CDC
                                               States and Mexico are experiencing high                  have joined with the U.S. to restrict non-essential     evaluated the following public health
                                               or substantial incidence rates with 137.9                travel along land borders to prevent the                factors: (1) The manner of COVID–19
                                                                                                        introduction and spread of the virus that causes        transmission, including asymptomatic
                                               and 68.6 daily cases per 100,000                         COVID–19; these restrictions are in place until at
                                               persons over a seven-day average,                        least August 21, 2021. Notification of Temporary        and pre-symptomatic transmission; (2)
                                               respectively; in Canada, the incidence                   Travel Restrictions Applicable to Land Ports of         the emerging variants of the SARS–
                                               rate is 8.0. The United States saw a                     Entry and Ferries Service Between the U.S. and          CoV–2 virus; (3) the risks specific to the
                                                                                                        Canada, 86 FR 38556 (July 22, 2021); Notification       type of facility or congregate setting; (4)
                                               91.0% increase in new cases over the                     of Temporary Travel Restrictions Applicable to
                                               past week, Mexico experienced a 30.2%                    Land Ports of Entry and Ferries Service Between the     the availability of testing and vaccines
                                               increase in new cases. During the same                   U.S. and Mexico, 86 FR 38554 (July 22, 2021). CDC       and the applicability of other mitigation
                                               time period, the incidence rate in
                                                                                                        has also issued orders to mitigate risk of further      efforts; and (5) the impact on U.S.
                                                                                                        introducing and spreading SARS CoV–2 and its
                                               Canada increased by 14.8%.20                             variants into the United States. See Framework for
                                                                                                                                                                communities and healthcare resources.
                                                  COVID–19 was first declared a public                  Conditional Sailing and Initial Phase COVID–19          CDC views this public health
                                               health emergency in January 2020 21 and                  Testing Requirements for Protection of Crew, 85 FR      reassessment as setting forth a roadmap
                                                                                                        70153 (Nov. 4, 2020) (outlining the process for the     toward the safe resumption of normal
                                                                                                        phased resumption of cruise ship passenger
                                                  16 COVID Data Tracker, Centers for Disease
                                                                                                        operations); Requirement for Negative Pre-
                                                                                                                                                                processing of arriving noncitizens,
                                               Control and Prevention, https://covid.cdc.gov/           Departure COVID–19 Test Result or Documentation         taking into account COVID–19 concerns
                                               covid-data-tracker/#datatracker-home (last visited       of Recovery from COVID–19 for all Airline or Other      and immigration facilities’ ability to
                                               July 28, 2021).                                          Aircraft Passengers Arriving into the U.S. from Any
                                                  17 United States COVID–19 Cases, Deaths, and                                                                  implement mitigation measures.
                                                                                                        Foreign Country, 86 FR 7387 (Jan. 28, 2021); and
                                               Laboratory Testing (NAATs) by State, Territory, and      COVID–19 Travel Recommendations by
                                               Jurisdiction, Centers for Disease Control and                                                                    regardless of transmission level if they or someone
                                                                                                        Destination, Centers for Disease Control and
                                               Prevention, https://covid.cdc.gov/covid-data-                                                                    in their household is immunocompromised or at
                                                                                                        Prevention, https://www.cdc.gov/coronavirus/2019-
                                               tracker/#cases_community (last visited July 28,                                                                  increased risk for severe disease, or if someone in
                                                                                                        ncov/travelers/map-and-travel-notices.html#travel-
                                               2021).                                                                                                           their household is unvaccinated (including children
                                                                                                        1 (last updated July 26, 2021) (COVID–19-related
                                                  18 Christie A, Brooks JT, Hicks LA, et al. Guidance                                                           currently ineligible for vaccination)); see also infra
                                                                                                        travel recommendations, including 62 Level 4
                                               for Implementing COVID–19 Prevention Strategies                                                                  page 11, section 5 (discussion of ‘‘high’’ and
                                                                                                        Travel Health Notices for countries with very high
                                               in the Context of Varying Community Transmission         COVID–19 rates).                                        ‘‘substantial transmission’’).
                                                                                                                                                                   25 Interim Public Health Recommendations for
                                               Levels and Vaccination Coverage. MMWR Morb                  23 CDC’s Order requiring the wearing of face
                                               Mortal Wkly Rep. ePub: 27 July 2021. DOI: http://        masks by travelers while on a conveyance entering,      Fully Vaccinated People, Centers for Disease
                                               dx.doi.org/10.15585/mmwr.mm7030e2.                       traveling within, or departing the United States and    Control and Prevention, https://www.cdc.gov/
                                                  19 See Global Trends, Epidemic Curve trajectory
                                                                                                        in U.S. transportation hubs remains in place for all    coronavirus/2019-ncov/vaccines/fully-vaccinated-
                                               Classification, WHO, as reported at https://             travelers at indoor settings on public transportation   guidance.html (last updated May 28, 2021).
                                               covid.cdc.gov/covid-data-tracker/#global-trends                                                                     26 Exec. Order 14010, ‘‘Creating a Comprehensive
                                                                                                        conveyances and at transportation hubs, regardless
                                               (last visited July 28, 2021).                            of vaccination. Requirement for Persons to Wear         Regional Framework To Address the Causes of
                                                  20 Low/Moderate incidence describes <50 cases         Masks While on Conveyances and at Transportation        Migration, To Manage Migration Throughout North
khammond on DSKJM1Z7X2PROD with NOTICES




                                               per 100,000 people during the past 7 days.               Hubs, 86 FR 8025 (Feb. 3, 2021). See Requirement        and Central America, and To Provide Safe and
                                               Increasing or Decreasing incidence is based on the       for Face Masks on Public Transportation                 Orderly Processing of Asylum Seekers at the United
                                               percentage change in the number of cases reported        Conveyances and at Transportation Hubs, Centers         States Border,’’ 86 FR 8267 (Feb. 2, 2021).
                                               in the past 7 days compared to the 7 days prior to       for Disease Control and Prevention, https://               27 CDC’s reassessment of the public health

                                               that (Increasing: >0% change, Decreasing: <0%            www.cdc.gov/coronavirus/2019-ncov/travelers/face-       situation with respect to covered noncitizens and
                                               change).                                                 masks-public-transportation.html (last updated          border facilities relies upon information and data
                                                  21 Determination that a Public Health Emergency       June 10, 2021).                                         provided by DHS, CBP, and HHS’ Office of Refugee
                                               Exists, U.S. Department of Health and Human                 24 Supra note 15 (CDC also recommends fully          Resettlement, including information regarding those
                                               Services (Jan. 31, 2020), https://www.phe.gov/           vaccinated persons consider wearing a mask              entities’ policies and practices.


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                                                    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 275 of 350 PageID 4868
                                               42832                        Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices

                                               1. Manner of COVID–19 Transmission                      treatment occurs with greater frequency               transmissibility and more severe
                                                  SARS–CoV–2, the virus that causes                    in older adults and those with certain                disease, which may lead to higher
                                               COVID–19, spreads mainly from person-                   pre-existing conditions.31 Although                   incidence, hospitalization, and death
                                               to-person through respiratory fluids                    children can be infected with SARS–                   rates among exposed persons.37
                                               released during exhalation, such as                     CoV–2, get sick from COVID–19, and                    Furthermore, findings suggest variants
                                               when an infected person coughs,                         spread the virus to others, when                      may reduce levels of neutralization by
                                               sneezes, or talks. Exposure to these                    compared with adults, children and                    antibodies generated during previous
                                               respiratory fluids occurs in three                      adolescents who have COVID–19 are                     infection or vaccination, resulting in
                                               principal ways: (1) Inhalation of very                  more commonly asymptomatic or have                    reduced effectiveness of treatments or
                                               fine respiratory droplets and aerosol                   mild, non-specific symptoms. Children                 vaccines, or increased diagnostic
                                               particles, (2) deposition of respiratory                are less likely to develop severe illness             detection failures.38 The ultimate
                                               droplets and particles on exposed                       or die from COVID–19.32 They typically                concern is a variant that substantially
                                               mucous membranes in the mouth, nose,                    present with mild symptoms, if any, and               decreases the effectiveness of available
                                               or eye by direct splashes and sprays,                   have a good prognosis, recovering                     vaccines against severe or deadly
                                               and (3) touching mucous membranes                       within one to two weeks after disease                 disease.
                                               with hands that have been soiled either                 onset.33                                                 Currently, the Delta variant is the
                                               directly by virus-containing respiratory                                                                      predominant SARS–CoV–2 strain
                                                                                                       2. Emerging Variants of the SARS–CoV–                 circulating in the United States,
                                               fluids or indirectly by touching surfaces               2 Virus
                                               with virus on them.28 Spread is more                                                                          accounting for over 82% of cases as of
                                                                                                          Like all viruses, SARS–CoV–2                       July 17, 2021.39 Of critical significance
                                               likely when people are in close contact
                                                                                                       constantly changes through mutation as                for this Order, the Delta variant has
                                               with one another (within about 6 feet),
                                                                                                       it circulates, resulting in new virus                 demonstrated increased levels of
                                               especially in crowded or poorly
                                                                                                       variants over time.34 Unchecked                       transmissibility among unvaccinated
                                               ventilated indoor settings. Unvaccinated
                                                                                                       transmission of SARS–CoV–2 may                        persons and might increase the risk of
                                               persons with asymptomatic and pre-
                                                                                                       result in increased viral mutations and               vaccine breakthrough infections in the
                                               symptomatic infection are significant
                                                                                                       the emergence of new variants. New                    absence of other mitigation strategies.40
                                               contributors to community SARS–CoV–
                                                                                                       variants of SARS–CoV–2 have emerged                   For the unvaccinated, Delta remains a
                                               2 transmission and occurrence of
                                                                                                       globally,35 several of which have been                formidable threat and rates of infection
                                               COVID–19.29 Asymptomatic cases are
                                                                                                       identified as variants of concern,36                  of the Delta variant are growing more
                                               currently believed to represent roughly
                                                                                                       including the Alpha, Beta, Gamma, and                 rapidly in U.S. counties with lower
                                               30% of all COVID–19 infections and the
                                                                                                       Delta variants. These variants of concern             vaccination rates.41 Available evidence
                                               infectiousness of asymptomatic
                                                                                                       have evidence of an increase in                       suggests all three vaccines currently
                                               individuals is believed to be about 75%
                                               of the infectiousness of symptomatic                                                                          authorized for emergency use in the
                                               individuals. CDC’s current best estimate
                                                                                                          31 People at Increased Risk and Other People Who
                                                                                                                                                             United States provide significant
                                                                                                       Need to Take Extra Precautions, Centers for Disease   protection against variants circulating in
                                               is that 50% of infections are transmitted               Control and Prevention, https://www.cdc.gov/
                                               prior to symptom onset (pre-                            coronavirus/2019-ncov/need-extra-precautions/         the United States.42 However, a small
                                               symptomatic transmission).30 Although                   index.html (last updated Apr. 20, 2021).
                                                                                                          32 Science Brief: Transmission of SARS–CoV–2 in       37 Dougherty K, Mannell M, Naqvi O, Matson D,
                                               rare, as discussed below, breakthrough                  K–12 Schools and Early Care and Education             Stone J. SARS–CoV–2 B.1.617.2 (Delta) Variant
                                               infections may occur in vaccinated                      Programs—Updated, Centers for Disease Control         COVID–19 Outbreak Associated with a Gymnastics
                                               individuals. Due to the variety of source               and Prevention, https://www.cdc.gov/coronavirus/      Facility—Oklahoma, April–May 2021. MMWR
                                               of spread—transmission by                               2019-ncov/science/science-briefs/transmission_k_      Morb Mortal Wkly Rep 2021;70:1004–1007. DOI:
                                                                                                       12_schools.html (last updated July 9, 2021).          http://dx.doi.org/10.15585/mmwr.mm7028e2
                                               asymptomatic, pre-symptomatic,                             33 See Leeb RT, Price S, Sliwa S, et al. COVID–    (describing a B.1.617.2 (Delta) Variant COVID–19
                                               symptomatic, and vaccinated                             19 Trends Among School-Aged Children—United           outbreak associated with a gymnastics facility and
                                               individuals—testing is critical to                      States, March 1–September 19, 2020. MMWR Morb         finding that the Delta variant is highly transmissible
                                               identify those infected with COVID–19.                  Mortal Wkly Rep 2020;69:1410–1415. DOI: http://       in indoor sports settings and households, which
                                                                                                       dx.doi.org/10.15585/mmwr.mm6939e2; Leidman E,         might lead to increased incidence rates).
                                                  Among those who are not vaccinated,
                                                                                                       Duca LM, Omura JD, Proia K, Stephens JW, Sauber-         38 SARS–CoV–2 Variant Classifications and
                                               serious COVID–19 illness necessitating                  Schatz EK. COVID–19 Trends Among Persons Aged         Definitions, Centers for Disease Control and
                                                                                                       0–24 Years—United States, March 1–December 12,        Prevention, https://www.cdc.gov/coronavirus/2019-
                                                  28 Scientific Brief: SARS–CoV–2 Transmission,        2020. MMWR Morb Mortal Wkly Rep 2021;70:88–           ncov/variants/variant-info.html#Concern (last
                                               Centers for Disease Control and Prevention (May 7,      94. DOI: http://dx.doi.org/10.15585/                  updated June 29, 2021).
                                               2021), https://www.cdc.gov/coronavirus/2019-ncov/       mmwr.mm7003e1; Rankin DA, Talj R, Howard LM,             39 Variant Proportions, Centers for Disease

                                               science/science-briefs/sars-cov-2-transmission.html;    Halasa NB. Epidemiologic trends and                   Control and Prevention, https://covid.cdc.gov/
                                               Science Brief: SARS–CoV–2 and Surface (Fomite)          characteristics of SARS–CoV–2 infections among        covid-data-tracker/#variant-proportions (citing data
                                               Transmission for Indoor Community Environments,         children in the United States. Curr Opin Pediatr.     for the two-week interval ending July 17, 2021).
                                               Centers for Disease Control and Prevention (Apr. 5,     2021 Feb 1;33(1):114–121. doi: 10.1097/                  40 About Variants of the Virus that Causes

                                               2021), https://www.cdc.gov/coronavirus/2019-ncov/       MOP.0000000000000971. PMID: 33278112; PMCID:          COVID–19, Centers for Disease Control and
                                               more/science-and-research/surface-                      PMC8011299; and Castagnoli R, Votto M, Licari A,      Prevention, https://www.cdc.gov/coronavirus/2019-
                                               transmission.html.                                      et al. Severe Acute Respiratory Syndrome              ncov/variants/variant.html (last updated June 28,
                                                  29 Moghadas SM, Fitzpatrick MC, Sah P, et al. The    Coronavirus 2 (SARS–CoV–2) Infection in Children      2021).
                                               implications of silent transmission for the control     and Adolescents: A Systematic Review. JAMA               41 COVID Data Tracker Weekly Review,

                                               of COVID–19 outbreaks. Proc Natl Acad Sci U S A.        Pediatr. 2020;174(9):882–889. doi:10.1001/            Interpretive Summary for July 23, 2021, Centers for
                                               2020;117(30):17513–17515.10.1073/                       jamapediatrics.2020.1467.                             Disease Control and Prevention, https://
                                                                                                          34 About Variants of the Virus that Causes
                                               pnas.2008373117, available at https://                                                                        www.cdc.gov/coronavirus/2019-ncov/covid-data/
                                               www.ncbi.nlm.nih.gov/pubmed/32632012;                   COVID–19, Centers for Disease Control and             covidview/index.html (attributing rising numbers of
khammond on DSKJM1Z7X2PROD with NOTICES




                                               Johansson MA, Quandelacy TM, Kada S, et al.             Prevention, https://www.cdc.gov/coronavirus/2019-     COVID–19 cases in nearly 90% of U.S. jurisdictions
                                               SARS–CoV–2 Transmission From People Without             ncov/transmission/variant.html (last updated Apr.     to the rapid spread of the Delta variant).
                                               COVID–19 Symptoms. Johansson MA, et al. JAMA            2, 2021).                                                42 Science Brief: COVID–19 Vaccines and
                                               Netw Open. 2021 January4;4(1):e2035057. doi:               35 Abdool Karim SS, de Oliveira T. New SARS–
                                                                                                                                                             Vaccination, Centers for Disease Control and
                                               10.1001/jamanetworkopen.2020.35057.                     CoV–2 Variants—Clinical, Public Health, and           Prevention, https://www.cdc.gov/coronavirus/2019-
                                                  30 COVID–19 Pandemic Planning Scenarios,             Vaccine Implications [published online ahead of       ncov/science/science-briefs/fully-vaccinated-
                                               Centers for Disease Control and Prevention, https://    print, 2021 Mar 24]. N Engl J Med. 2021;10.1056/      people.html (last updated May 27, 2021). Other
                                               www.cdc.gov/coronavirus/2019-ncov/hcp/planning-         NEJMc2100362. doi:10.1056/NEJMc2100362.               vaccines, particularly the one manufactured by
                                               scenarios.html (last visited July 28, 2021).               36 Id.                                             AstraZeneca, show reduced efficacy against


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                                                    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                      Page 276 of 350 PageID 4869
                                                                             Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices                                                       42833

                                               proportion of people who are fully                       and community characteristics (e.g.,                      this, CDC strongly recommends
                                               vaccinated may become infected with                      ability to maintain physical distancing,                  vaccination against COVID–19 for
                                               the Delta variant (known as                              compliance with universal mask-use                        everyone who is eligible, including
                                               breakthrough infection); emerging                        policies, ability to properly ventilate,                  people who are incarcerated or detained
                                               evidence suggests that fully vaccinated                  proportion of staff and occupants                         and staff at correctional and detention
                                               persons who do become infected with                      vaccinated, numbers of those who are at                   facilities.51 CDC is discussing additional
                                               the Delta variant are at risk for                        increased risk for severe illness from                    guidance with DHS, highlighting the
                                               transmitting it to others.43                             COVID–19, the availability of resources                   key metrics to consider before
                                                  CDC continues to monitor the                          for broad-based vaccination, testing, and                 modifying COVID–19 prevention and
                                               situation and may adapt                                  outbreak response, and level of                           mitigation measures in facilities that
                                               recommendations based on the                             community transmission).47                                hold or detain migrants.52
                                               epidemiology of variants of concern.                        Congregate settings, particularly
                                               Given the transmissibility of variant                    detention facilities with limited ability                 4. Availability of Testing, Vaccines, and
                                               strains and the continued emergence of                   to provide adequate physical distancing                   Other Mitigation Measures
                                               new variants, ongoing monitoring of                      and cohorting, have a heightened risk of                     The potential for asymptomatic and
                                               vaccine effectiveness is needed to                       COVID–19 outbreaks.48 CDC has long                        pre-symptomatic transmission makes
                                               identify mutations that could render                     recognized the risks specific to such                     testing an essential part of COVID–19
                                               vaccines most commonly used in the                       settings, including homeless shelters,                    mitigation protocols. With the
                                               United States less effective against more                detention centers, schools, and                           additional testing capacity available
                                               transmissible variants.44                                workplaces and has provided a number                      through antigen tests, rapid testing can
                                                                                                        of guidance documents to address the                      be implemented to identify infected
                                               3. Risks of COVID–19 Transmission
                                                                                                        concerns in such spaces. Specifically,                    persons so they can be isolated until
                                               Specific to Congregate Settings
                                                                                                        CDC developed interim guidance for                        they no longer pose a risk of spreading
                                                  Given the manner of transmission,                     law enforcement agencies that have                        infections and their close contacts can
                                               including asymptomatic or pre-                           custodial authority for detained                          be identified and quarantined.53 Testing
                                               symptomatic transmission, the risk of                    populations, including civil and pre-                     is especially important in congregate
                                               spreading COVID–19 is particularly                       trial detention settings. Among the                       settings where even a single
                                               pronounced among those who are                           recommendations are physical                              asymptomatic case can trigger an
                                               unvaccinated, partially vaccinated, or                   distancing strategies, isolation of                       outbreak that may quickly exceed a
                                               vaccinated with less effective                           individuals with confirmed or                             facility’s capacity to isolate and
                                               vaccines.45 This risk is acutely present                 suspected COVID–19, quarantine of                         quarantine residents. Furthermore, if
                                               in congregate settings, where a number                   close contacts, cohorting of individuals                  personnel are infected or exposed, the
                                               of people reside, meet, or gather in close               when space is limited, testing,                           number of available staff members may
                                               proximity for either a limited or                        healthcare evaluations for individuals                    be reduced, further stressing facility
                                               extended period of time.46 Facilities                    with suspected COVID–19, clinical care                    operations. Testing facility residents
                                               must often carefully weigh the risks of                  as needed for individuals with                            and personnel can help facilitate
                                               increased transmission not only in the                   confirmed or suspected COVID–19, and                      prompt mitigation actions.
                                               facilities, but also in the local                        addressing specific considerations for                       COVID–19 vaccines are now widely
                                               community, due to secondary                              people who are at increased risk for                      available in the United States, and
                                               transmission. These congregate facilities                severe illness.49                                         vaccination is recommended for all
                                               must also consider individual facility                      Vaccine coverage in congregate                         people 12 years of age and up. Three
                                                                                                        settings varies and infection risk is                     COVID–19 vaccines are currently
                                               infection with certain variants but may still protect    greater where there is sustained
                                               against severe disease; at the time of the issuance                                                                authorized by the U.S. Food and Drug
                                               of this Order, the FDA has not authorized the            community transmission.50 In light of                     Administration (FDA) for emergency
                                               AstraZeneca COVID–19 vaccine for use in the                                                                        use: Two mRNA vaccines (produced by
                                               United States.                                              47 See Recommendations for Quarantine Duration
                                                                                                                                                                  Pfizer-BioNTech and Moderna) and one
                                                  43 Supra note 15.                                     in Correctional Facilities, Centers for Disease
                                                  44 See About Variants of the Virus that Causes        Control and Prevention, https://www.cdc.gov/              viral vector vaccine (produced by
                                               COVID–19, supra note 37.                                 coronavirus/2019-ncov/community/quarantine-
                                                  45 Vaccines with effectiveness of less than 50%       duration-correctional-facilities.html (last visited       DellaGrotta AL, Molina C, et al. Limited Secondary
                                               against wildtype strains of COVID–19 are                 July 28, 2021).                                           Transmission of SARS–CoV–2 in Child Care
                                               considered less effective.                                  48 Since March 31, 2020, the U.S. Federal Bureau       Programs—Rhode Island, June 1–July 31, 2020.
                                                  46 Notably, COVID–19 has disproportionately           of Prisons and state departments of corrections have      MMWR Morb Mortal Wkly Rep 2020;69:1170–1172.
                                               affected persons in congregate settings and high-        together recorded 416,854 COVID–19 cases among            DOI: http://dx.doi.org/10.15585/mmwr.mm6934e2.
                                               density workplaces. Studies conducted prior to the       residents and 108,945 cases among staff in                   51 COVID–19 Vaccine FAQs in Correctional and

                                               availability of vaccines showed that a single            correctional and detention facilities, resulting in       Detention Centers, Centers for Disease Control and
                                               introduction of SARS–CoV–2 into a facility can           2,911 deaths. Confirmed COVID–19 Cases and                Prevention, https://www.cdc.gov/coronavirus/2019-
                                               result in a widespread outbreak. Lehnertz NB, Wang       Deaths in U.S. Correctional and Detention Facilities      ncov/community/correction-detention/vaccine-
                                               X, Garfin J, Taylor J, Zipprich J, VonBank B, et al.     by State, Centers for Disease Control and                 faqs.html (last updated June 1, 2021).
                                               Transmission Dynamics of Severe Acute                    Prevention, https://covid.cdc.gov/covid-data-                52 See CDC memo to DHS ‘‘Considerations for

                                               Respiratory Syndrome Coronavirus 2 in High-              tracker/#correctional-facilities (last visited July 28,   modifying COVID–19 prevention and mitigation
                                               Density Settings, Minnesota, USA, March–June             2021).                                                    measures in Department of Homeland Security
                                                                                                           49 See Guidance for Correctional & Detention           migrant holding facilities in response to declining
                                               2020. Emerg Infect Dis. 2021;27(8):2052–2063.
                                               https://doi.org/10.3201/eid2708.204838. Whole            Facilities, Centers for Disease Control and               transmission,’’ Centers for Disease Control and
                                               genome sequencing of samples taken following an          Prevention, https://www.cdc.gov/coronavirus/2019-         Prevention (last updated June 11, 2021).
khammond on DSKJM1Z7X2PROD with NOTICES




                                               outbreak at a correctional facility demonstrated that    ncov/community/correction-detention/guidance-                53 See COVID–19 Testing and Diagnostics

                                               92.2% of the samples taken from patients were            correctional-detention.html (last updated June 9,         Working Group (TDWG). U.S. Department of Health
                                               genetically related, indicating that a single case had   2021).                                                    and Human Services, https://www.hhs.gov/
                                               likely led to the infection of 48 individuals.              50 Falk A, Benda A, Falk P, Steffen S, Wallace Z,      coronavirus/testing/testing-diagnostics-working-
                                               Similarly, phylogenetic analysis established that        H<eg TB. COVID–19 Cases and Transmission in 17            group/index.html (last visited July 28, 2021)
                                               29.6% of cases from an outbreak at a second              K–12 Schools—Wood County, Wisconsin, August               (defining the role of the COVID–19 TDWG, which
                                               correctional facility were closely related and           31–November 29, 2020. MMWR Morb Mortal Wkly               develops testing-related guidance and provides
                                               genetically identical, indicating that the index case    Rep 2021;70:136–140. DOI: http://dx.doi.org/              targeted investments to expand the available testing
                                               had led to the infection of approximately 60 others.     10.15585/mmwr.mm7004e3. See also Link-Gelles R,           supply and maximize testing capacity).


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                                                    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 277 of 350 PageID 4870
                                               42834                        Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices

                                               Johnson & Johnson/Janssen), each of                     practical constraints on implementation               metrics: New COVID–19 cases per
                                               which has been determined to be safe                    of mitigation measures in such facilities.            100,000 persons in the last 7 days and
                                               and effective against COVID–19. As of                   Outbreaks in these settings increase the              percentage of positive SARS–CoV–2
                                               July 28, 2021, over 163 million people                  serious danger of further introduction,               diagnostic nucleic acid amplification
                                               in the United States (57.6% of the                      transmission, and spread of COVID–19                  tests in the last 7 days. For each of these
                                               population 12 years or older) have been                 and variants into the country.                        metrics, CDC classifies transmission
                                               fully vaccinated and over 189 million                      CDC is aware of a rising number of                 values as low, moderate, substantial, or
                                               people in the United States (66.8% of                   breakthrough SARS–CoV–2 infections 58                 high. At the time of this Order’s
                                               the population 12 years or older) have                  in vaccinated individuals; even without               issuance, over 70% of the U.S. counties
                                               received at least one dose.54 After                     variants of concern, more vaccine                     along the U.S.-Mexico border were
                                               substantial vaccine uptake in the first                 breakthroughs are to be expected due to               classified as experiencing high or
                                               months of 2021, however, vaccination                    the rising number of vaccinated                       substantial levels of community
                                               uptake has plateaued, particularly in                   individuals. While the vaccines                       transmission.61 In areas of substantial or
                                               those under the age of 65 years.55 The                  currently authorized by the FDA are                   high transmission, CDC recommends
                                               combination of reduced vaccine uptake                   successful in mitigating severe illness               community leaders encourage
                                               and the extreme transmissibility of the                 from the highly transmissible Delta                   vaccination and universal masking in
                                               Delta variant has resulted in rising                    variant, infection and even mild to                   indoor public spaces in addition to
                                               numbers of COVID–19 cases, primarily                    moderate illness has been documented                  other layered prevention strategies to
                                               and disproportionately affecting the                    in a small percentage of vaccinated                   prevent further spread.
                                               unvaccinated population.                                persons.59 The emergence of these more                   Between March and June 2021, rates
                                                  The availability of COVID–19                         transmissible variants increases the                  of hospitalization due to COVID–19
                                               vaccines is rising globally but still                   urgency to expand vaccination coverage                decreased dramatically, easing long
                                               dwarfed by the rates of vaccination in                  for everyone and especially those in                  endured pressures on the U.S.
                                               the United States and a handful of other                densely populated congregate settings.60              healthcare system. However, in July
                                               countries.56 Countries of origin for the                Public health agencies and other                      2021, with the rise of the Delta variant,
                                               majority of incoming covered                            organizations must collaboratively                    the seven-day average for new hospital
                                               noncitizens have markedly lower                         monitor the status of the pandemic in                 admissions in the United States
                                               vaccination rates.57 Given this, the                    their communities. As widespread                      increased 35.8% over the prior seven-
                                               increased movement of typically                         vaccination efforts continue, ongoing                 day period.62 Rates of hospitalization
                                               unvaccinated covered noncitizens into                   use of the full panoply of mitigation                 are rising most sharply in areas with
                                               the United States presents a heightened                 measures is nevertheless especially                   low vaccination coverage.63 CDC
                                               risk of morbidity and mortality to this                 important in congregate settings and                  recommends continuous monitoring of
                                               population due to the congregate                        remains key to slowing introduction,                  the availability of staffed inpatient and
                                               holding facilities at the border and the                transmission, and spread of COVID–19.                 intensive care unit beds, as data on
                                                                                                                                                             usage of clinical care resources to
                                                                                                       5. Impact on U.S. Communities and
                                                                                                                                                             manage patients with COVID–19 reflect
                                                 54 COVID–19 Vaccinations in the United States,
                                                                                                       Healthcare Resources
                                               Centers for Disease Control and Prevention, https://                                                          underlying community disease
                                               covid.cdc.gov/covid-data-tracker/#vaccinations             COVID–19 cases are on the rise in                  incidence. This information can signal
                                               (last updated July 28, 2021).                           nearly 90% of U.S. jurisdictions, and                 when urgent implementation of layered
                                                  55 Diesel J, Sterrett N, Dasgupta S, et al. COVID–
                                                                                                       multiple outbreaks are occurring in                   prevention strategies might be necessary
                                               19 Vaccination Coverage Among Adults—United
                                               States, December 14, 2020–May 22, 2021. MMWR
                                                                                                       parts of the country that have low                    to prevent overloading local and
                                               Morb Mortal Wkly Rep 2021;70: 922–927. DOI:             vaccination coverage. A person’s risk for             regional health care systems. Strains on
                                               http://dx.doi.org/10.15585/mmwr.mm7025e1. The           SARS–CoV–2 infection is directly
                                               study found that the lowest vaccination coverage        related to the risk for exposure to                      61 Of the 22 U.S. counties along the U.S.-Mexico
                                               and the intent to be vaccinated among adults aged       infectious persons, which is largely                  border, 13 counties are experiencing high levels of
                                               18–24 years, non-Hispanic Black adults, and                                                                   community transmission (San Diego County, CA;
                                               individuals with less education, no insurance, and      determined by the extent of SARS–CoV–
                                                                                                                                                             Hidalgo County, NM; Presidio County, TX; Brewster
                                               lower household incomes. Concerns about vaccine         2 circulation in the surrounding                      County, TX; Terrell County, TX; Val Verde County,
                                               safety and effectiveness were commonly cited            community. Emerging evidence                          TX; Kinney County, TX; Maverick County, TX;
                                               barriers to vaccination. See also supra note 15         regarding the Delta variant finds that it             Webb County, TX; Zapata County, TX; Starr
                                               (finding that vaccine uptake has slowed nationally                                                            County, TX; Hidalgo County, TX; and Cameron
                                               with wide variation in coverage by state (range =       is more than two times as transmissible
                                                                                                                                                             County, TX) and four counties are experiencing
                                               33.9%–67.2%) and by county (range = 8.8%–               as the original strains of SARS–CoV–2                 substantial levels of community transmission
                                               89.0%)).                                                circulating at the start of the pandemic.             (Imperial County, CA; Pima County, AZ; Santa Cruz
                                                  56 See ‘‘PAHO Director calls for fair and broad
                                                                                                       In light of this, CDC recommends                      County, AZ; and Luna County, NM;). Five counties
                                               access to COVID–19 vaccines for Latin America and       assessing the level of community                      are experiencing moderate levels of community
                                               the Caribbean,’’ Pan American Health Organization,                                                            transmission (Yuma County, AZ; Cochise County,
                                               https://www.paho.org/en/news/7-7-2021-paho-             transmission using, at a minimum, two                 AZ; Dona Ana County, NM; El Paso County, TX;
                                               director-calls-fair-and-broad-access-covid-19-                                                                and Hudspeth County, TX). No counties along the
                                               vaccines-latin-america-and (July 7, 2021) (noting         58 A vaccine breakthrough infection is defined as   border are experiencing low levels of community
                                               the discrepancies in vaccine availability coverage      the detection of SARS–CoV–2 RNA or antigen in a       transmission. COVID–19 Integrated County View,
                                               among North, Central, and South American                respiratory specimen collected from a person ≥14      Centers for Disease Control and Prevention, https://
                                               countries).                                             days after receipt of all recommended doses of an     covid.cdc.gov/covid-data-tracker/#county-view (last
                                                  57 Thus far in 2021, Ecuador, El Salvador,           FDA-authorized COVID–19 vaccine. COVID–19             updated July 28, 2021).
                                               Guatemala, Honduras, and Mexico constitute the          Vaccine Breakthrough Infections Reported to CDC—         62 COVID Data Tracker Weekly Review,

                                               top five countries of origin for covered noncitizens.   United States, January 1–April 30, 2021. MMWR         Interpretive Summary for July 16, 2021, Centers for
khammond on DSKJM1Z7X2PROD with NOTICES




                                               Rates of vaccination for each country are as follows:   Morb Mortal Wkly Rep 2021;70:792–793. DOI:            Disease Control and Prevention, https://
                                               Ecuador: 11% fully vaccinated, 30% only partly          http://dx.doi.org/10.15585/mmwr.mm7021e3.             www.cdc.gov/coronavirus/2019-ncov/covid-data/
                                               vaccinated; El Salvador: 22% fully vaccinated, 17%        59 COVID–19 Vaccine Breakthrough Case               covidview/past-reports/07162021.html (last visited
                                               only partly vaccinated; Guatemala: 1.6% fully           Investigation and Reporting, Centers for Disease      July 28, 2021).
                                               vaccinated, 5.3% only partly vaccinated; Honduras:      Control and Prevention, https://www.cdc.gov/             63 COVID Data Tracker Weekly Review,

                                               1.8% fully vaccinated, 12% only partly vaccinated;      vaccines/covid-19/health-departments/                 Interpretive Summary for July 9, 2021, Centers for
                                               Mexico: 18% fully vaccinated, 14% only partly           breakthrough-cases.html (last updated July 15,        Disease Control and Prevention, https://
                                               vaccinated, https://ourworldindata.org/covid-           2021).                                                www.cdc.gov/coronavirus/2019-ncov/covid-data/
                                               vaccinations (last visited July 24, 2021).                60 Supra at note 55.                                covidview/past-reports/07092021.html.


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                                                    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                    Page 278 of 350 PageID 4871
                                                                            Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices                                                        42835

                                               critical care capacity can increase                     individuals to a CBP facility for intake                 hierarchy of controls.75 CBP has
                                               COVID–19 mortality while decreasing                     processing.69                                            invested in engineering upgrades, such
                                               the availability and use of health care                    CBP facilities are designed to provide                as installing plexiglass dividers in
                                               resources for non-COVID–19 related                      this short-term intake processing and                    facilities where physical distancing is
                                               medical care.64 Increased hospital                      are thus space-constrained.70 While                      not possible and enhancing ventilation
                                               admissions are forecasted in the coming                 undergoing intake processing under                       systems. All CBP facilities adhere to
                                               weeks as the Delta variant continues to                 Title 8 at CBP facilities, noncitizens are               CDC guidance for cleaning and
                                               predominate.65                                          regularly held in close proximity to one                 disinfection. Surgical masks are
                                                  The rapid spread of the highly                       another anywhere from several hours to                   provided to all persons in custody and
                                               transmissible Delta variant is leading to               several days. Depending on the outcome                   are changed at least daily and if or when
                                               worrisome trends in healthcare and                      of intake processing, a noncitizen is                    they become wet or soiled. Personal
                                               community resources. Signs of stress are                generally referred to the DHS’                           protective equipment (PPE) and
                                               already present in the southern regions                                                                          guidance are regularly provided to CBP
                                                                                                       Immigration and Customs Enforcement
                                               of the United States.66 Ultimately, the                                                                          personnel. Recognizing the value of
                                                                                                       (ICE), where they are often subject to
                                               flow of migration directly impacts not                                                                           vaccination, CBP is encouraging
                                                                                                       longer-term detention.71 72
                                               only border communities and regions,                                                                             vaccination among its workforce. All
                                               but also destination communities and                       Compared to CBP facilities, ICE
                                                                                                                                                                noncitizens brought into CBP custody
                                               the healthcare resources of both. In light              facilities have space allocations similar
                                                                                                                                                                are subject to health intake interviews,
                                               of this, the totality of the U.S.                       to traditional long-term correctional
                                                                                                                                                                including COVID–19 screening
                                               community transmission, health system                   facilities. Still, during migratory surges,
                                                                                                                                                                questions and temperature checks. If a
                                               capacity, and public health capacity, as                capacity constraints hinder CBP and ICE
                                                                                                                                                                noncitizen in custody displays
                                               well as local capacity to implement                     operations and facilities alike. If
                                                                                                                                                                symptoms of COVID–19 or has a known
                                               mitigation protocols, are important                     downstream ICE operations and
                                                                                                                                                                exposure, CBP facilitates referral to the
                                               considerations when reassessing the                     facilities reach capacity limits, ICE may
                                                                                                                                                                local healthcare system for testing.
                                               need for this Order.67                                  be unable to take custody of additional
                                                                                                                                                                Finally, in the event CBP decides to
                                                                                                       noncitizens in a timely manner. When
                                               II. Public Health Reassessment                                                                                   release a noncitizen prior to removal
                                                                                                       this movement of noncitizens from CBP
                                                                                                                                                                proceedings, the agency has coordinated
                                               A. Immigration Processing and Public                    to ICE custody is impeded or delayed,
                                                                                                                                                                with local governments and non-
                                               Health Impacts                                          noncitizens may remain in CBP’s
                                                                                                                                                                governmental organizations to arrange
                                                                                                       densely populated, short-term holding
                                                 Noncitizens arriving in the United                                                                             COVID–19 testing at release.76
                                                                                                       facilities for much longer periods. Of
                                               States who lack proper travel                                                                                       In addition to these mitigation
                                                                                                       note, the United States is currently
                                               documents, whose entry is otherwise                                                                              measures, enhanced physical distancing
                                                                                                       experiencing such a migratory surge of
                                               contrary to law, or who are                                                                                      and cohorting remain key to preventing
                                                                                                       noncitizens attempting to enter the
                                               apprehended at or near the border                                                                                transmission and spread of COVID–19,
                                                                                                       country at and between POE at the
                                               seeking to unlawfully enter the United                                                                           particularly in congregate settings. To
                                                                                                       southern border.73 DHS has already
                                               States between POE are normally                                                                                  address this, as the pandemic emerged,
                                                                                                       recorded more encounters this fiscal
                                               subject to initial immigration processing                                                                        CBP greatly reduced capacity in their
                                                                                                       year to date than the approximate
                                               by CBP in POE facilities and U.S. Border                                                                         holding facilities. While U.S. Border
                                                                                                       977,000 encounters in the whole of FY
                                               Patrol stations. Absent CDC’s issuance                                                                           Patrol facilities along the southern
                                                                                                       2019.74
                                               of an order under 42 U.S.C. 265                                                                                  border currently have a non-pandemic
                                               directing otherwise, immigration                           CBP has implemented a variety of
                                                                                                       mitigation efforts to prevent the spread                 total holding capacity of 14,553
                                               processing takes place pursuant to Title                                                                         individuals, implementation of
                                               8 of the U.S. Code. Although some                       of COVID–19 in POE and U.S. Border
                                                                                                       Patrol facilities based on the infection                 mitigation measures led to a 50–75%
                                               number of inadmissible noncitizens                                                                               reduction in holding capacity
                                               present at POE, the vast majority are                   prevention strategy referred to as the
                                                                                                                                                                depending on the design of a given
                                               encountered by CBP between POE.68                                                                                facility, resulting in COVID-constrained
                                               Upon such encounters, Border Patrol                       69 CBP facilities include POE, U.S. Border Patrol
                                                                                                                                                                holding capacity of 4,706.77 However,
                                                                                                       stations, and facilities managed by the Office of
                                               agents conduct an initial field                         Field Operations.                                        the current surge has caused CBP to
                                               assessment and transport the                              70 CBP facilities were designed for the immediate      exceed COVID-constrained capacity and
                                                                                                       processing of persons and are statutorily designated     routinely exceed its non-COVID
                                                 64 Supra note 15.                                     as short-term (less than 72 hours) holding facilities.
                                                  65 COVID–19 Forecasts: Hospitalizations, Centers     6 U.S.C. 211(m).
                                                                                                                                                                capacity.78 From July 3 to July 24, 2021,
                                               for Disease Control and Prevention, https://              71 FMU transferred to ICE custody are generally

                                               www.cdc.gov/coronavirus/2019-ncov/science/              held at a Family Staging Center (FSC). Following            75 Hierarchy of Controls, Centers for Disease

                                               forecasting/hospitalizations-forecasts.html (last       intake processing, UC are referred to the Office of      Control and Prevention, available at https://
                                               updated July 21, 2021).                                 Refugee Resettlement (ORR) within HHS’                   www.cdc.gov/niosh/topics/hierarchy/default.html
                                                  66 See COVID Data Tracker: New Hospital              Administration for Children and Families (ACF) for       (last visited July 6, 2021). The hierarchy of controls
                                               Admissions, https://covid.cdc.gov/covid-data-           care.                                                    is used as a means of determining how to
                                               tracker/#new-hospital-admissions (last updated July       72 While CBP policies regarding transfer and           implement feasible and effective control solutions.
                                               22, 2021) (showing HHS Regions 4, 6, and 9,             release decisions are the same across the Southwest      The hierarchy is outlined as: (1) Elimination
                                               encompassing all southern states, experiencing          Border, implementation varies based on local CBP         (physically remove the hazard); (2) Substitution
                                               increased rates of new admissions of COVID–19-          capacity, and ICE capacity.                              (replace the hazard); (3) Engineering Controls
                                               confirmed patients).                                      73 According to data from DHS, encounters at the       (isolate people from the hazard); (4) Administrative
khammond on DSKJM1Z7X2PROD with NOTICES




                                                  67 See Implementation of Mitigation Strategies for   southern border have been rising since April 2020        Controls (change the way people work); and (5) PPE
                                               Communities with Local COVID–19 Transmission,           due to several factors, including ongoing violence,      (protect people with Personal Protective
                                               Centers for Disease Control and Prevention, https://    insecurity, and famine in the Northern Triangle          Equipment).
                                                                                                                                                                   76 This is also true of ICE facilities.
                                               www.cdc.gov/coronavirus/2019-ncov/community/            countries of Central America (El Salvador,
                                               community-mitigation.html (last visited May 6,          Honduras, Guatemala).                                       77 Similarly, the operational holding capacity for

                                               2021).                                                    74 Southwest Land Border Encounters, U.S.              SA in ICE facilities was reduced by 30% from a
                                                  68 Fiscal year to date, 96% (1,076,242 of            Customs and Border Protection, available at https://     regular total capacity of 56,888 beds to 39,821 beds.
                                               1,119,204) of encounters of noncitizens occurred        www.cbp.gov/newsroom/stats/southwest-land-                  78 Non-COVID–19 holding capacity was exceeded

                                               between POE.                                            border-encounters (last visited July 28, 2021).          as recently as July 25, 2021.


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                                                    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                    Page 279 of 350 PageID 4872
                                               42836                        Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices

                                               CBP encountered an average of 3,573 SA                  generally about 2–3 days before being                      Even with the March and October
                                               and 2,479 FMU daily, over a 21-day                      released. FSC capacity is further limited                Orders in place, a significant percentage
                                               period, even with the CDC Order in                      by COVID–19 mitigation protocols.81                      of FMU were unable to be expelled
                                               place. This extreme population density                     Releasing FMU to communities                          pursuant to the order, given a range of
                                               and the resulting increased time spent                  necessitates robust testing, vaccination                 factors, including, most notably,
                                               in custody by noncitizens presents a                    where possible, and careful attention to                 restrictions imposed by foreign
                                               serious risk of increased COVID–19                      consequence management (e.g., facilities                 governments.83 For example, the
                                               transmission in CBP facilities.                         for isolation and quarantine). DHS has                   Mexican government has placed certain
                                                  CBP faces unique challenges in                       partnered with state and local agencies                  nationality- and demographic-specific
                                               implementing certain COVID–19                           and non-governmental organizations to                    restrictions on the individuals it will
                                               mitigation measures. All individuals                    facilitate COVID–19 testing of FMU                       accept for return via the Title 42
                                               encountered by U.S. Border Patrol must                  upon release from CBP custody.                           expulsion process. With limited
                                               be processed in CBP facilities. Not only                Pursuant to these arrangements, CBP                      exceptions, the Mexican government
                                               does this involve close and often                       generally transports FMU to release                      will only accept the return of Mexican
                                               continuing contact between CBP                          locations where partner agencies and                     and Northern Triangle nationals.
                                               personnel and noncitizens, but CBP is                   organizations are on-site to provide                     Moreover, along sections of the border,
                                               further constrained by requirements                     testing and facilitate consequence                       Mexican officials refuse to accept the
                                               separate noncitizens within its holding                 management. Although the                                 return of any non-Mexican family with
                                               facilities according to specific                        implementing partners and their                          children under the age of seven, greatly
                                               permutations.79 These cohorting                         capacities (including for consequence                    reducing DHS’ ability to expel FMU. In
                                               requirements significantly complicate                   management such as housing) vary, the                    addition, many countries impose travel
                                               CBP’s ability to address COVID–19-                      objectives are constant. These resources,                requirements, including COVID–19
                                               related risks, as CBP facility capacity to              however, are limited. They are already                   testing, consular interviews, and
                                               accommodate COVID–19 mitigation                         stretched thin, and certainly not                        identity verification that can delay
                                               protocols may not always align with the                 available for all FMU who would be                       repatriation. These added requirements
                                               makeup of the incoming population of                    processed under Title 8 in the absence                   often make prompt expulsion a practical
                                               noncitizens and the categorical                         of an order issued under 42 U.S.C. 265.                  impossibility. Conversely, DHS
                                               separations required of DHS.                            DHS has committed to supporting and,                     continues to be able to process the
                                                                                                       where possible, expanding these efforts,                 majority of SA under Title 42.84 In those
                                               Immigration Processing Under Title 8 of
                                                                                                       including exploring the incorporation of                 cases where Title 42 processing is not
                                               the U.S. Code
                                                                                                       vaccination into this model. CDC                         possible, SA and FMU are instead
                                                  The vast majority of noncitizens                     strongly supports DHS efforts that                       processed pursuant to Title 8.
                                               attempting to enter the United States                   include broad-based testing and                          Processing noncitizens and issuing a
                                               without proper travel documents are                     vaccination.                                             Notice to Appear under Title 8
                                               SA; SA account for 68% of overall CBP                                                                            processes takes approximately an hour
                                               encounters this fiscal year as of July 26,              Immigration Processing With an Order
                                                                                                       Under 42 U.S.C. 265                                      and a half to two hours per person.
                                               2021. Under normal Title 8 immigration                                                                           Conversely, processing an individual for
                                               processes, SA are transferred to ICE                      Following the issuance of the March                    expulsion under the CDC order takes
                                               custody pending removal proceedings.                    and October Orders, covered                              roughly 15 minutes and generally
                                               As noted above, absent expulsions                       noncitizens apprehended at or near U.S.                  happens outdoors.
                                               directed by an order under 42 U.S.C.                    borders, regardless of their country of                    The March and October Orders
                                               265, SA presenting at POE or attempting                 origin, generally were expelled to                       permitted noncitizens to be promptly
                                               entry between POE would be processed                    Mexico or Canada, whichever they                         returned to their country of origin,
                                               and held in CBP facilities while                        entered from, via the nearest POE, or to                 rather than being transferred to ICE
                                               awaiting transfer to ICE. Generally, CBP                their country of origin. Where possible,                 custody or released into the United
                                               only releases SA into U.S. communities                  SA and FMU eligible for expulsion                        States, resulting in noncitizens spending
                                               as a last resort, due to severe                         based on the March and October Orders                    shorter amounts of time in custody at
                                               overcrowding and when all possible                      have been processed pursuant to the                      CBP facilities. However, as the number
                                               detention options have been explored.                   Title 42 authority, unless a case-by-case                of noncitizens attempting to enter the
                                                  A smaller percentage, 23%, of                        exception was made by DHS.82                             United States has surged and as
                                               noncitizens encountered by CBP are                                                                               individuals cannot be expelled pursuant
                                               members of an FMU.80 As with SA, CBP                       81 The total capacity for these FSCs is 3,230.
                                                                                                                                                                to Title 42 given the restrictions in
                                               has limited capacity to hold FMU.                       However, due to COVID–19 mitigation protocols
                                                                                                                                                                place, the time in custody at CBP
                                               Under Title 8, due to court-ordered                     and family composition limitations, current
                                                                                                       operational capacity for the FSCs is approximately       facilities has increased for SA and FMU,
                                               restrictions that largely prohibit the                  2,400. In July 2021, due to an influx of single adults   even with the October Order in place.
                                               long-term detention of families, FMU                    at the SWB, ICE ceased intake of family units at one     As of July 29, 2021, the current average
                                               are generally released from DHS custody                 of the FSCs and began to transition the facility to
                                                                                                                                                                time in custody at CBP facilities for SA
                                               pending removal proceedings. Prior to                   hold single adults. With this transition, the
                                                                                                       remaining COVID-limited FSC capacity for family
                                               release, some FMU are transferred from                  units is approximately 1,800. Additionally, ICE has      by the prior Order and thus cannot be expelled
                                               CBP custody to Family Staging Centers                   procured 1,200 additional beds at Emergency              pursuant to Title 42. See 85 FR at 65807.
                                               (FSC) operated by ICE. Only a limited                   Family Staging Centers (EFSCs); this bed space is           83 Only 33% of FMU encountered fiscal year to

                                               number of FMU may be held in an FSC,                    not limited by family composition or COVID–19.           date have been expelled under Title 42 and this
khammond on DSKJM1Z7X2PROD with NOTICES




                                                                                                          82 Some countries have put in place limitations       percentage has fallen over time. In June 2021, only
                                               and time in custody for an FMU is                       that make expulsion pursuant to Title 42                 14% of FMU were expelled under Title 42, an
                                                                                                       inapplicable. The October Order excepted covered         average of approximately 300 per day.
                                                 79 For example, criminal cases must be held
                                                                                                       noncitizens ‘‘who must test negative for COVID–19           84 Fiscal year to date, 89% of SA have been
                                               separately from administrative cases, SA must be        before they are expelled to their home country’’ and     expelled under Title 42. This percentage has fallen
                                               separated by gender identity, FMU and UC must be        several countries refuse to accept the return of SA      slightly as the constraints on expelling individuals
                                               separated from SA, and all vulnerable individuals       and FMU and other individuals unless DHS first           have increased. In June 2021, 82% of SA were
                                               must be protected from harm.                            secures a negative test result for each individual to    expelled under Title 42, an average of over 3,000
                                                 80 Thus far this fiscal year, as of July 26, 2021.    be returned. These noncitizens are thus not covered      per day.


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                                          VerDate Sep<11>2014   17:07 Aug 04, 2021   Jkt 253001   PO 00000   Frm 00061   Fmt 4703   Sfmt 4703   E:\FR\FM\05AUN1.SGM     05AUN1
                                                     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                    Page 280 of 350 PageID 4873
                                                                             Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices                                                      42837

                                               not subject to expulsion under the                        immune, under-vaccinated, and non-                      public lags. Ensuring the continued
                                               October Order is 50 hours. FMU                            vaccinated persons). Mitigation                         availability of healthcare resources is a
                                               currently spend an average of 62 hours                    measures, especially testing and                        critical component of the federal
                                               in CBP custody prior to release or                        vaccination, must be considered for the                 government’s overall public health
                                               transfer to ICE. If the CDC Order were                    noncitizens being held, as well as for                  response to COVID–19.
                                               not in place, both SA and FMU time in                     facility personnel. On-site COVID–19                       Given the nature of COVID–19, there
                                               custody would likely increase                             testing for noncitizens at CBP holding                  is no zero-risk scenario, particularly in
                                               significantly.                                            facilities is very limited and the                      congregate settings and with variants as
                                                                                                         majority of testing takes place off-site.               transmissible as that of Delta in high
                                               B. Public Health Assessment of Single                                                                             circulation in the country. The ongoing
                                                                                                         For example, if a noncitizen is
                                               Adults and Family Units                                                                                           pandemic presents complex and
                                                                                                         transported to a community healthcare
                                                  Implementation of CDC’s March and                      facility for medical care, testing is                   dynamic challenges relating to public
                                               October Orders significantly reduced                      provided based on local protocols. Once                 health that limit DHS’ ability to process
                                               the length of time covered noncitizen                     transferred to ICE custody, testing for                 noncitizens safely under normal Title 8
                                               SA and FMU are held in congregate                         SA and FMU is more widely available.                    procedures. Processing a noncitizen
                                               settings at POE and U.S. Border Patrol                       Although COVID–19-related                            under Title 8 can take up to eight times
                                               stations, as well as in the ICE facilities                healthcare resources have substantially                 as long as processing a noncitizen under
                                               that subsequently hold noncitizens.85                     improved since the October Order was                    Title 42. Importantly, longer processing
                                               By reducing congestion in these                           issued, emerging variants and the                       times result in longer exposure times to
                                               facilities, the Orders have helped lessen                 potential for a future vaccine-resistant                a heightened risk of COVID–19
                                               the introduction, transmission, and                       variant mean the possible impacts on                    transmission for both noncitizens and
                                               spread of COVID–19 among border                           U.S. communities and local healthcare                   CBP personnel. Amid the ongoing
                                               facilities and into the United States                     resources in the event of a COVID–19                    migrant surge, both the COVID–19-
                                               while also decreasing the risk of                         outbreak at CBP facilities cannot be                    reduced capacity and higher non-COVID
                                               exposure to COVID–19 for DHS                              ignored. The introduction, transmission,                holding capacity limits have been
                                               personnel and others in the facilities.                   and spread of SARS–CoV–2—including                      exceeded in CBP facilities. Complete
                                               Implementation of the Orders has                          its variants—among covered noncitizens                  termination of any order under 42
                                               mitigated the potential erosion of DHS                    during processing and holding at                        U.S.C. 265 would increase the number
                                               operational capacity due to COVID–19                      congregate CBP settings remain a                        of noncitizens requiring processing
                                               outbreaks. The reduction in the number                    significant concern to the noncitizens,                 under Title 8, resulting in severe
                                               of SA and FMU held in these congregate                    CBP personnel, as well as the                           overcrowding and a high risk of COVID–
                                               settings continues to be a necessary                      community at large in light of                          19 transmission among those held in the
                                               mitigation measure as DHS moves                           transmission to unvaccinated                            facilities and the CBP workforce,
                                               towards the resumption of normal                          individuals and the potential for                       ultimately burdening the local
                                               border operations.                                        breakthrough cases. Of particular note,                 healthcare system.89
                                                  The availability of testing,                           POE and U.S. Border Patrol stations are                    All of this is of particular concern as
                                               vaccination, and other mitigation                         ill-equipped to manage an outbreak and                  the Delta variant continues to drive an
                                               measures 86 at migrant holding facilities                 these facilities are heavily reliant on                 increase in COVID–19 cases. While
                                               must also be considered. While                            local healthcare systems for the                        scientists learn more about Delta and
                                               downstream ICE facilities may have                        provision of more extensive medical                     other emerging variants, rigorous and
                                               greater ability to provide these                          services to noncitizens.87 Transfers to                 increased compliance with public
                                               measures, CBP cannot appropriately                        local healthcare systems for care could                 health mitigation strategies is essential
                                               execute consequence management                            strain local or regional healthcare                     to protect public health.90 Reducing the
                                               measures to minimize spread or                            resources. Reliance on healthcare                       further introduction, transmission, and
                                               transmission of COVID–19 within its                       resources in border and destination                     spread of these variants and future
                                               facilities. Space constraints, for                        communities may increase the pressure                   variants of concern into the United
                                               example, preclude implementation of                       on the U.S. healthcare system and                       States is key to defeating COVID–19.
                                               cohorting and consequence management
                                                                                                         supply chain during the current public                  CDC has concluded that SA and FMU
                                               such as quarantine and isolation.
                                                                                                         health emergency.88 Of note,                            should continue to be subject to the
                                               Covered noncitizens housed in
                                                                                                         hospitalization rates are once again                    Order at this time pending further
                                               congregate settings who may be infected
                                                                                                         soaring nationally as the Delta variant                 improvements in the public health
                                               with COVID–19 may ultimately increase
                                                                                                         spreads and the vaccination rate of the                 situation.
                                               community transmission rates in the
                                               United States, especially among                             87 See CBP Directive No. 2210–004, U.S. Customs
                                                                                                                                                                 C. Comparison to Unaccompanied
                                               susceptible populations (i.e., non-                       and Border Protection, https://www.cbp.gov/sites/       Noncitizen Children
                                                                                                         default/files/assets/documents/2019-Dec/CBP_              As discussed in the July Exception,
                                                  85 For example, when processing noncitizens            Final_Medical_Directive_123019.pdf (Dec. 30,
                                               under Title 8, prior to referral to ICE or release into   2019). Many of the U.S. Border Patrol stations and      UC are differently situated than SA and
                                               the community, CBP generally issues the noncitizen        POE facilities are located in remote areas and do not
                                               a ‘‘Notice to Appear’’ (also called an I–862), which      have ready access to local healthcare systems              89 Throughout the course of the COVID–19

                                               is a charging document that initiates removal             (which typically serve small, rural populations and     pandemic, CDC has observed numerous outbreaks
                                               proceedings against the noncitizen and may include        have limited resources). 85 FR 56424, 56433. See        in similar congregate settings. See FAQs for
                                               a court date or direct the noncitizen to report to an     also Abubakar I, Aldridge RW, Devakumar D, et al.       Correctional and Detention Facilities, Centers for
khammond on DSKJM1Z7X2PROD with NOTICES




                                               ICE office to receive a court date.                       The UCL-Lancet Commission on Migration and              Disease Control and Prevention, https://
                                                  86 See Interim Guidance on Management of               Health: the health of a world on the move. Lancet.      www.cdc.gov/coronavirus/2019-ncov/community/
                                               Coronavirus Disease 2019 (COVID–19) in                    2018;392(10164):2606–2654. doi:10.1016/S0140–           correction-detention/faq.html (last visited Apr. 15,
                                               Correctional and Detention Facilities, Centers for        6736(18)32114–7.                                        2021).
                                               Disease Control and Prevention, https://                    88 See COVID–19 State Profile Report—Combined            90 About Variants of the Virus that Causes

                                               www.cdc.gov/coronavirus/2019-ncov/community/              Set, HealthData.gov, https://healthdata.gov/            COVID–19, Centers for Disease Control and
                                               correction-detention/guidance-correctional-               Community/COVID-19-State-Profile-Report-                Prevention, https://www.cdc.gov/coronavirus/2019-
                                               detention.html#correctional-facilities (last visited      Combined-Set/5mth-2h7d (last updated July 28,           ncov/transmission/variant.html (last updated Apr.
                                               July 28, 2021).                                           2021).                                                  2, 2021).


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                                                    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                    Page 281 of 350 PageID 4874
                                               42838                        Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices

                                               FMU. The Government has greater                         modifying the availability of exceptions                 such an exception is consistent with its
                                               ability to care for UC while                            for individual SA and FMU in an order                    legal authorities and in the public
                                               implementing appropriate COVID–19                       under 42 U.S.C. 265, and reissuing an                    health interest.
                                               mitigation measures. ORR has                            order under 42 U.S.C. 265 for some or
                                                                                                                                                                II. Legal Basis for This Order Under
                                               established a robust network of care                    all UC); but for the reasons discussed
                                                                                                                                                                Sections 362 and 365 of the Public
                                               facilities that provide testing and                     herein, CDC finds that the continued
                                                                                                                                                                Health Service Act and 42 CFR 71.40
                                               medical care and institute COVID–19                     suspension of the right to introduce SA
                                               mitigation protocols, including                         and FMU under the terms set forth                           CDC is issuing this Order pursuant to
                                               vaccination for personnel and eligible                  herein, combined with the exception for                  sections 362 and 365 of the Public
                                               UC. In light of these considerations,                   UC, is appropriate at this time. This                    Health Service Act (42 U.S.C. 265, 268)
                                               there is very low likelihood that                       temporary suspension pending further                     and the implementing regulation at 42
                                               processing UC in accordance with                        improvements in the public health                        CFR 71.40. In accordance with these
                                               existing Title 8 procedures will result in              situation and greater ability to                         authorities, the CDC Director is
                                               undue strain on the U.S. healthcare                     implement COVID–19 mitigation                            permitted to prohibit, in whole or in
                                               system or healthcare resources.                         measures in migrant holding facilities                   part, the introduction into the United
                                               Moreover, UC released to a vetted                       will slow the influx of noncitizens into                 States of persons from designated
                                               sponsor or placed in a temporary or                     environments at higher risk for COVID–                   foreign countries (or one or more
                                               licensed ORR shelter do not pose a                      19 transmission and spread.                              political subdivisions or regions thereof)
                                               significant level of risk for COVID–19                     DHS has indicated a commitment to                     or places, only for such period of time
                                               spread into the community. UC are                       restoring border operations in a manner                  that the Director deems necessary to
                                               released only after having undergone                    that complies with applicable COVID–                     avert the serious danger of the
                                               testing, quarantine and/or isolation, and               19 mitigation protocols while also                       introduction of a quarantinable
                                               vaccination when possible, and their                    accounting for other public health and                   communicable disease, by issuing an
                                               sponsors are provided with appropriate                  humanitarian concerns. In light of                       Order in which the Director determines
                                               medical and public health direction.                    available mitigation measures, and with                  that:
                                               CDC thus finds that, at this time,91 there              DHS’ pledge to expand capacity in a                         (1) By reason of the existence of any
                                               is appropriate infrastructure in place to               COVID-safe manner similar to                             quarantinable communicable disease in
                                               protect the children, caregivers, and                   expansions undertaken by HHS and                         a foreign country (or one or more
                                               local and destination communities from                  ORR to address UC influx, CDC believes                   political subdivisions or regions thereof)
                                               elevated risk of COVID–19 transmission.                 that the gradual resumption of normal                    or place there is serious danger of the
                                               CDC believes the COVID–19-related                       border operations under Title 8 is                       introduction of such quarantinable
                                               public health concerns associated with                  feasible. With careful planning, this may                communicable disease into the United
                                               UC introduction can be adequately                       be initiated in a stepwise manner that                   States; and
                                               addressed without UC being subject to                   complies with COVID–19 mitigation                           (2) This danger is so increased by the
                                               this Order. As outlined in the July                     protocols. HHS and CDC intend to                         introduction of persons from such
                                               Exception and incorporated herein, CDC                  support DHS in this effort and continues                 country (or one or more political
                                               is fully excepting UC from this Order.                  to work with DHS to provide technical                    subdivisions or regions thereof) or place
                                               The number of UC entering the United                    guidance on COVID–19 mitigation                          that a suspension of the right to
                                               States is smaller than both the number                  strategies for their unique facilities and               introduce such persons into the United
                                               of SA 92 and of FMU. Whereas UC can                     populations.93 CDC understands that                      States is required in the interest of
                                               be excepted from the Order without                      DHS intends to continue exercising                       public health.94
                                               posing a significant public health risk,                case-by-case exceptions for individual                      CDC has authority under Section 362
                                               the same is not true of SA and FMU, as                  SA and FMU based on a totality of the                    and the implementing regulation to
                                               described above.                                        circumstances as CDC transitions away                    issue this Order to mitigate the further
                                                                                                       from this Order. CDC is also providing                   spread of COVID–19 disease, especially
                                               D. Summary of Findings                                  an additional exception to permit DHS                    as the need to prevent proliferation of
                                                 Upon review of the various public                     to except noncitizens participating in a                 COVID–19 disease related to SARS–
                                               health factors outlined above and in                    DHS-approved program that                                CoV–2 virus variants is heightened
                                               consideration of the circumstances at                   incorporates pre-processing COVID–19                     while vaccination efforts continue.
                                               DHS facilities, it is CDC’s assessment                  testing in Mexico of the noncitizens,                    Section 362 and the implementing
                                               that suspending the right to introduce                  prior to their safe and orderly entry to                 regulation provide the Director with a
                                               covered noncitizen SA and FMU who                       the U.S. via ports of entry. Based on the                public health tool to suspend
                                               would otherwise be held at POE and                      incorporation of relevant COVID–19                       introduction of persons not only to
                                               U.S. Border Patrol stations remains                     mitigation measures in such programs,                    prevent the introduction of a
                                               necessary as the United States continues                in consultation with CDC, CDC believes                   quarantinable communicable disease,
                                               to combat the COVID–19 public health                                                                             but also to aid in continued efforts to
                                               emergency. In making this                                  93 CDC has advised DHS on best practices with
                                                                                                                                                                mitigate spread of that disease.95
                                               determination, CDC has considered                       regard to testing noncitizens at the point they are         The term ‘‘introduction into the
                                                                                                       released to U.S. communities to await further
                                               various possible alternatives (including                immigration proceedings. In addition to enforcing
                                                                                                                                                                United States’’ is defined in 42 CFR
                                               but not limited to terminating the                      physical distancing (as practicable), mask-wearing,      71.40 as ‘‘the movement of a person
                                               application of an order under 42 U.S.C.                 and testing for both noncitizens and personnel alike     from a foreign country (or one or more
khammond on DSKJM1Z7X2PROD with NOTICES




                                               265 for some or all SA and FMU,                         in POE and U.S. Border Patrol stations, CDC advises      political subdivisions or regions thereof)
                                                                                                       vaccination of DHS/CBP personnel to further
                                                                                                       reduce the risk of COVID–19 introduction,                or place, or series of foreign countries or
                                                 91 This situation could change based on an
                                                                                                       transmission, and spread in facilities and               places, into the United States so as to
                                               increased influx of UC, changes in COVID–19             communities and protect the federal workforce.           bring the person into contact with
                                               infection dynamics among UC, or unforeseen              Widespread vaccination of federal employees and
                                               reductions in housing capacity.                                                                                  persons or property in the United States,
                                                                                                       other personnel in congregate settings at POE and
                                                 92 Note, the total number of SA encounters may        U.S. Border Patrol stations is another layer of the
                                                                                                                                                                 94 42 U.S.C. 265; 42 CFR 71.40.
                                               include repeat encounters with SA who attempt           strategy that will lead to the normalization of border
                                               entry again following expulsion.                        operations.                                               95 85 FR 56424 at 56425–26.




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                                          VerDate Sep<11>2014   17:07 Aug 04, 2021   Jkt 253001   PO 00000   Frm 00063   Fmt 4703   Sfmt 4703   E:\FR\FM\05AUN1.SGM    05AUN1
                                                    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                         Page 282 of 350 PageID 4875
                                                                                Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices                                                            42839

                                               in a manner that the Director determines                    movement into the United States, or                         As stated in 42 CFR 71.40, this Order
                                               to present a risk of transmission of a                      physically expelling from the United                     does not apply to U.S. citizens, U.S.
                                               quarantinable communicable disease to                       States some or all of the persons.’’ See                 nationals, lawful permanent residents,
                                               persons, or a risk of contamination of                      also 42 U.S.C. 265 (authorizing the                      members of the armed forces of the
                                               property with a quarantinable                               prohibition when the danger posed by                     United States and associated personnel
                                               communicable disease, even if the                           the communicable disease ‘‘is so                         if the Secretary of Defense provides
                                               quarantinable communicable disease                          increased by the introduction of persons                 assurance to the Director that the
                                               has already been introduced,                                from such country . . . or place that a                  Secretary of Defense has taken or will
                                               transmitted, or is spreading within the                     suspension of the right to introduce                     take measures such as quarantine or
                                               United States.’’ 42 CFR 71.40(b)(1).                        such persons into the United States is                   isolation, or other measures maintaining
                                               Similarly, the term ‘‘serious danger of                     required in the interest of public                       control over such individuals, to
                                               the introduction of such quarantinable                      health’’). Pursuant to that provision, this              prevent the risk of transmission of the
                                               communicable disease into the United                        Order permits expulsion of persons                       quarantinable communicable disease
                                               States’’ is defined as, ‘‘the probable                      covered by it, as did the prior Orders                   into the United States, and U.S.
                                               introduction of one or more persons                         issued under this authority.97 CDC                       government employees or contractors on
                                               capable of transmitting the                                 recognizes that expulsion is an                          orders abroad, or their accompanying
                                               quarantinable communicable disease                          extraordinary action but, as explained in                family members who are on their orders
                                               into the United States, even if persons                     the Final Rule, the power to expel is                    or are members of their household, if
                                               or property in the United States are                        critical where neither HHS/CDC, nor                      the Director receives assurances from
                                               already infected or contaminated with                       other Federal agencies, nor state or local               the relevant head of agency and
                                               the quarantinable communicable                              governments have the facilities and                      determines that the head of the agency
                                               disease.’’ 42 CFR 71.40(b)(3).                              personnel necessary to quarantine,                       or department has taken or will take
                                                  In promulgating § 71.40, CDC and                                                                                  measures such as quarantine or
                                                                                                           isolate, or conditionally release the
                                               HHS noted that ‘‘‘introduction’ does not                                                                             isolation, to prevent the risk of
                                                                                                           number of persons who would
                                               necessarily conclude the instant that a                                                                              transmission of a quarantinable
                                                                                                           otherwise increase the serious danger of
                                               person first steps onto U.S. soil. The                                                                               communicable disease into the United
                                                                                                           the introduction of a quarantinable
                                               introduction of a person into the United                                                                             States.102
                                                                                                           communicable disease into the United
                                               States can occur not only when a person
                                                                                                           States.98 In those situations, the rapid                    In addition, this Order does not apply
                                               first steps onto U.S. soil, but also when
                                                                                                           expulsion of persons from the United                     to those classes of persons excepted by
                                               a person on U.S. soil moves further into
                                                                                                           States may be the most effective public                  the CDC Director. Including exceptions
                                               the United States, and begins to come
                                                                                                           health measure that HHS/CDC can                          in the Order is consistent with Section
                                               into contact with persons or property in
                                                                                                           implement within the finite resources of                 362 and 42 CFR 71.40, which permit the
                                               ways that increase the risk of
                                                                                                           HHS/CDC and its Federal, State, and                      prohibition of introduction into the
                                               transmitting the quarantinable
                                                                                                           local partners.99                                        United States to be ‘‘in whole or in
                                               communicable disease.’’ 96 This
                                                                                                              As stated in the Final Rule for 42 CFR                part.’’ As explained in the Final Rule for
                                               language recognizes that many
                                               quarantinable communicable diseases,                        71.40, CDC ‘‘may, in its discretion,                     section 71.40, this language is intended
                                               including COVID–19, may be spread by                        consider a wide array of facts and                       to allow the Director to narrowly tailor
                                               infected individuals who are                                circumstances when determining what                      the use of the authority to what is
                                               asymptomatic and therefore unaware                          is required in the interest of public                    required in the interest of public
                                               that they are capable of transmitting the                   health in a particular situation . . .                   health.103 Pursuant to this capability,
                                               disease. Even when a communicable                           includ[ing]: the overall number of cases                 CDC is therefore excepting specific
                                               disease is already circulating within the                   of disease; any large increase in the                    categories of persons from the Order, as
                                               United States, prevention and                               number of cases over a short period of                   described herein.
                                               mitigation of continued transmission of                     time; the geographic distribution of                        As required by Section 362, this Order
                                               the virus is nevertheless a key public                      cases; any sustained (generational)                      will be in effect only for as long as it is
                                               health measure. In this case, although                      transmission; the method of disease                      needed to avert the serious danger of the
                                               COVID–19 has already been introduced                        transmission; morbidity and mortality                    introduction, transmission, and spread
                                               and is spreading within the United                          associated with the disease; the                         of COVID–19 into the United States and
                                               States, this Order serves as an important                   effectiveness of contact tracing; the                    will be terminated when the
                                               disease-mitigation tool to protect public                   adequacy of state and local healthcare                   continuation of the Order is no longer
                                               health. This is particularly true as new                    systems; and the effectiveness of state                  necessary to protect the public health.
                                               variants of the virus continue to emerge.                   and local public health systems and                      Finally, as directed by 42 CFR 71.40(c),
                                               By continuing to suspend the                                control measures.’’ 100 Other factors                    the Order sets out the following:
                                               introduction of persons from foreign                        noted in the Final Rule are the potential                   (1) The foreign countries (or one or
                                               countries into the United States, this                      for disease spread among persons held                    more political subdivisions or regions
                                               Order will help minimize the spread of                      in congregate settings, specifically                     thereof) or places from which the
                                               variants and their ability to accelerate                    during processing and holding at CBP                     introduction of persons is being
                                               disease transmission.                                       facilities, and the potential for disease                prohibited;
                                                  Section 71.40(b)(2) defines                              spread to the community at large.101                        (2) The period of time or
                                               ‘‘[p]rohibit, in whole or in part, the                                                                               circumstances under which the
khammond on DSKJM1Z7X2PROD with NOTICES




                                               introduction into the United States of                        97 See id. at 56425, 56433.
                                                                                                                                                                    introduction of any persons or class of
                                               persons’’ in Section 362 as ‘‘to prevent                      98 Id. at 56425, 56445–46.
                                                                                                                                                                    persons into the United States is being
                                               the introduction of persons into the                          99 Id. at 56425.
                                                                                                                                                                    prohibited;
                                               United States by suspending any right to                      100 Id. at 56444.
                                                                                                             101 Id. at 56434. Strain on healthcare systems was
                                               introduce into the United States,                                                                                    reduction of this strain as a result of CDC’s
                                                                                                           also cited as a factor in the Final Rule, specifically
                                               physically stopping or restricting                          the additional strain that noncitizen migrant            previously issued orders. Id. at 56431.
                                                                                                                                                                      102 42 CFR 71.40(e) and (f).
                                                                                                           healthcare needs may place on already
                                                 96 Id. at 56425.                                          overburdened systems; the Final Rule described the         103 85 FR 56424, 56444.




                                                                                                                                                                                                   AR00664
                                          VerDate Sep<11>2014       17:07 Aug 04, 2021   Jkt 253001   PO 00000   Frm 00064      Fmt 4703   Sfmt 4703   E:\FR\FM\05AUN1.SGM   05AUN1
                                                    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 283 of 350 PageID 4876
                                               42840                        Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices

                                                  (3) The conditions under which that                  variant—presented following the                       insufficient options for effective
                                               prohibition on introduction will be                     introduction of an infected person, as                mitigation, CDC finds the public health
                                               effective, in whole or in part, including               well as the benefits of reducing such                 justification for this Order is sustained
                                               any relevant exceptions that the Director               risks. I have also considered                         at this time.
                                               determines are appropriate;                             epidemiological information, including                   DHS has indicated that it is
                                                  (4) The means by which the                           the viral transmissibility and                        committed to restoring border
                                               prohibition will be implemented; and                    asymptomatic transmission of COVID–
                                                  (5) The serious danger posed by the                                                                        operations and facilitating arrivals to the
                                                                                                       19, the epidemiology and spread of                    United States in a manner that comports
                                               introduction of the quarantinable                       SARS–CoV–2 variants, the morbidity
                                               communicable disease in the foreign                                                                           with CDC’s recommended COVID–19
                                                                                                       and mortality associated with the                     mitigation protocols. Given the recent
                                               country or countries (or one or more                    disease for individuals in certain risk
                                               political subdivisions or regions thereof)                                                                    migrant surge, DHS believes that an
                                                                                                       categories, as well as public health                  incremental approach is the best way to
                                               or places from which the introduction of                concerns with crowding at border
                                               persons is being prohibited.                                                                                  recommence normal border operations
                                                                                                       facilities and resultant risk of                      while ensuring health and safety
                                               III. Issuance and Implementation of                     transmission of additional quarantinable              concerns are addressed. To this end,
                                               Order                                                   communicable diseases. I am issuing
                                                                                                                                                             DHS will work to establish safe,
                                                                                                       this Order to preserve the health and
                                                  Based on the foregoing public health                                                                       efficient, and orderly processes that are
                                                                                                       safety of U.S. citizens, U.S. nationals,
                                               reassessment, I hereby issue this Order                                                                       consistent with appropriate health and
                                                                                                       and lawful permanent residents, and
                                               pursuant to Sections 362 and 365 of the                                                                       safety protocols and the epidemiology of
                                                                                                       personnel and noncitizens in POE and
                                               Public Health Service (PHS) Act, 42                                                                           the COVID–19 pandemic, in
                                                                                                       U.S. Border Patrol stations by reducing
                                               U.S.C. 265, 268, and their implementing                                                                       consultation with CDC.
                                                                                                       the introduction, transmission, and
                                               regulations under 42 CFR part 71,104                                                                             CDC’s expectation is that although
                                                                                                       spread of the virus that causes COVID–
                                               which authorize the CDC Director to                                                                           this Order will continue with respect to
                                                                                                       19, including new and existing variants,
                                               suspend the right to introduce persons                                                                        SA and FMU, DHS will use case-by-case
                                                                                                       in congregate settings where covered
                                               into the United States when the Director                                                                      exceptions based on the totality of the
                                                                                                       noncitizens would otherwise be held
                                               determines that the existence of a                                                                            circumstances where appropriate to
                                                                                                       while undergoing immigration
                                               quarantinable communicable disease in                                                                         except individual SA and FMU in a
                                                                                                       processing, including at POE and U.S.
                                               a foreign country or place creates a                                                                          manner that gradually recommences
                                                                                                       Border Patrol stations at or near the U.S.
                                               serious danger of the introduction of                                                                         normal migration operations as COVID–
                                                                                                       land and adjacent coastal borders.
                                               such disease into the United States and                                                                       19 health and safety protocols and
                                               the danger is so increased by the                          Based on an assessment of the current
                                                                                                       COVID–19 epidemiologic landscape and                  capacity allows. DHS will consult with
                                               introduction of persons from the foreign                                                                      CDC to ensure that the standards for
                                               country or place that a temporary                       the U.S. government’s ongoing efforts to
                                                                                                       accommodate UC, CDC does not find                     such exceptions are consistent with
                                               suspension of the right of such                                                                               current CDC guidance and public health
                                               introduction is necessary to protect                    public health justification for this Order
                                                                                                       to apply with respect to UC, as outlined              recommendations. Based on this
                                               public health. This Order hereby                                                                              incorporation of relevant COVID–19
                                               replaces and supersedes the Order                       in the July Exception. Although CDC
                                                                                                       finds that, at this time, this Order                  mitigation measures, CDC believes it is
                                               Suspending the Right to Introduce                                                                             consistent with the legal authorities and
                                               Certain Persons from Countries Where a                  should be applicable to FMU, CDC notes
                                                                                                       that there are fewer FMU than SA                      in the public health interest to continue
                                               Quarantinable Communicable Disease
                                                                                                       unlawfully entering the United States                 the use of case-by-case exceptions as a
                                               Exists, issued on October 13, 2020
                                                                                                       and many FMU are already being                        step towards the resumption of normal
                                               (October Order) 105 and affirms and
                                                                                                       processed pursuant to Title 8 versus                  border operations under Title 8.
                                               incorporates the exception for UC
                                                                                                       Title 42 given a variety of practical and             Additionally, DHS is working in
                                               published in the July Exception, such
                                                                                                       other limitations on immediately                      coordination with nongovernmental
                                               that UC are excepted from this Order.106
                                                  This Order addresses the current                     expelling FMU. DHS has indicated that                 organizations, state and local health
                                               status of the COVID–19 public health                    it plans to continue to partner with state            departments, and other relevant
                                               emergency and ongoing public health                     and local agencies and                                facilitating organizations and entities as
                                               concerns, including virus transmission                  nongovernmental organizations to                      appropriate to develop DHS-approved
                                               dynamics, viral variants, mitigation                    provide testing, consequence                          processes that include pre-entry
                                               efforts, the public health risks inherent               management, and eventually                            COVID–19 testing. Additional public
                                               to high migration volumes, low                          vaccination to FMU who are determined                 health mitigation measures, such as
                                               vaccination rates among migrants, and                   to be eligible for Title 8 processing. CDC            maintaining physical distancing and use
                                               crowding of immigration facilities. In                  considers these efforts to be a critical              of masks, testing, and isolation and
                                               making this determination, I have                       risk reduction measure and encourages                 quarantine as appropriate, are included
                                               considered myriad facts, including the                  DHS to evaluate the potential expansion               in such processes. DHS has documented
                                               congregate nature of border facilities                  of such COVID–19 mitigation programs                  these processes and shared them with
                                               and the high risk for COVID–19                          for FMU such that they may be excepted                CDC. CDC has consulted with DHS to
                                               outbreaks—especially now with the                       from this Order in the future. Although               ensure that the processes appropriately
                                               predominant, more transmissible Delta                   vaccination programs are not available                address public health concerns and
                                                                                                       at this time, CDC encourages DHS to                   align with relevant CDC COVID–19
khammond on DSKJM1Z7X2PROD with NOTICES




                                                 104 Control of Communicable Diseases; Foreign         develop such programs as quickly as                   mitigation protocols. Based on these
                                               Quarantine: Suspension of the Right to Introduce        practicable. While the migration of SA                plans and processes, CDC believes it is
                                               and Prohibition of Introduction of Persons into         and FMU into the United States during                 consistent with legal authorities and in
                                               United States from Designated Foreign Countries or
                                               Places for Public Health Purposes, 85 FR 56424
                                                                                                       the COVID–19 public health emergency                  the public health interest to permit an
                                               (Sept. 11, 2020); 42 CFR 71.40.                         continues and given the inherent risks                exception for noncitizens in such DHS-
                                                 105 Supra note 4.                                     that accompany holding these groups in                approved processes to allow for safe and
                                                 106 Supra note 3.                                     crowded congregate settings with                      orderly entry into the United States.

                                                                                                                                                                                     AR00665
                                          VerDate Sep<11>2014   17:07 Aug 04, 2021   Jkt 253001   PO 00000   Frm 00065   Fmt 4703   Sfmt 4703   E:\FR\FM\05AUN1.SGM   05AUN1
                                                    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                  Page 284 of 350 PageID 4877
                                                                             Federal Register / Vol. 86, No. 148 / Thursday, August 5, 2021 / Notices                                               42841

                                               A. Covered Noncitizens                                  guidance and public health                            public health and continuation of this
                                                  This Order applies to persons                        recommendations.                                      Order is no longer necessary to protect
                                                                                                                                                             public health, whichever occurs first. At
                                               traveling from Canada or Mexico                         C. APA, Review, and Termination
                                                                                                                                                             least every 60 days, the CDC shall
                                               (regardless of their country of origin)                    This Order shall be immediately                    review the latest information regarding
                                               who would otherwise be introduced                       effective. I consulted with DHS and                   the status of the COVID–19 public
                                               into a congregate setting in a POE or                   other federal departments as needed                   health emergency and associated public
                                               U.S. Border Patrol station at or near the               before I issued this Order and requested              health risks, including migration
                                               U.S. land and adjacent coastal borders                  that DHS continue to aid in the                       patterns, sanitation concerns, and any
                                               subject to certain exceptions detailed                  enforcement of this Order because CDC                 improvement or deterioration of
                                               below; this includes noncitizens who do                 does not have the capability, resources,              conditions at the U.S. border, to
                                               not have proper travel documents,                       or personnel needed to do so.110 As part              determine whether the Order remains
                                               noncitizens whose entry is otherwise                    of the consultation, DHS developed                    necessary to protect public health. Upon
                                               contrary to law, and noncitizens who                    operational plans for implementing this               determining that the further
                                               are apprehended at or near the border                   Order. CDC has reviewed these plans                   introduction of COVID–19 into the
                                               seeking to unlawfully enter the United                  and finds them to be consistent with the              United States is no longer a serious
                                               States between POE. For purposes of                     language of this Order directing that                 danger to the public health necessitating
                                               this Order, I refer to persons covered by               covered noncitizens spend as little time              the continuation of this Order, I will
                                               the Order as ‘‘covered noncitizens.’’                   in congregate settings as practicable                 publish a notice in the Federal Register
                                               B. Exceptions                                           under the circumstances. In my view,                  terminating this Order. I retain the
                                                                                                       DHS’s assistance with implementing the                authority to modify or terminate the
                                                 This Order does not apply to the                      Order is necessary, as CDC’s other
                                               following:                                                                                                    Order, or its implementation, at any
                                                                                                       public health tools are not viable                    time as needed to protect public health.
                                                 • U.S. citizens, U.S. nationals, and                  mechanisms given CDC resource and
                                               lawful permanent residents; 107                         personnel constraints, the large numbers              Authority
                                                 • Members of the armed forces of the                  of covered noncitizens involved, and                    The authority for this Order is
                                               United States and associated personnel,                 the likelihood that covered noncitizens               Sections 362 and 365 of the Public
                                               U.S. government employees or                            do not have homes in the United                       Health Service Act (42 U.S.C. 265, 268)
                                               contractors on orders abroad, or their                  States.111                                            and 42 CFR 71.40.
                                               accompanying family members who are                        This Order is not a rule subject to
                                               on their orders or are members of their                                                                         Dated: August 3, 2021.
                                                                                                       notice and comment under the
                                               household, subject to required                                                                                Sherri Berger,
                                                                                                       Administrative Procedure Act (APA).
                                               assurances; 108                                         Even if it were, notice and comment and               Chief of Staff, Centers for Disease Control
                                                 • Noncitizens who hold valid travel                                                                         and Prevention.
                                                                                                       a delay in effective date are not required
                                               documents and arrive at a POE;                                                                                [FR Doc. 2021–16856 Filed 8–3–21; 4:15 pm]
                                                                                                       because there is good cause to dispense
                                                 • Noncitizens in the visa waiver                      with prior public notice and the                      BILLING CODE 4163–18–P
                                               program who are not otherwise subject                   opportunity to comment on this Order
                                               to travel restrictions and arrive at a POE;             and a delayed effective date. Given the
                                                 • Unaccompanied Noncitizen                                                                                  DEPARTMENT OF HEALTH AND
                                                                                                       public health emergency caused by
                                               Children; 109                                                                                                 HUMAN SERVICES
                                                                                                       COVID–19, it would be impracticable
                                                 • Noncitizens who would otherwise                     and contrary to public health practices               Centers for Medicare & Medicaid
                                               be subject to this Order, who are                       and the public interest to delay the                  Services
                                               permitted to enter the U.S. as part of a                issuing and effective date of this Order
                                               DHS-approved process, where the                         with respect to all covered noncitizens.              [Document Identifier: CMS–10148 and CMS–
                                               process approved by DHS has been                        In addition, this Order concerns ongoing              10784]
                                               documented and shared with CDC, and                     discussions with Canada and Mexico on                 Agency Information Collection
                                               includes appropriate COVID–19                           how best to control COVID–19                          Activities: Proposed Collection;
                                               mitigation protocols, per CDC guidance;                 transmission over our shared borders                  Comment Request
                                               and                                                     and therefore directly ‘‘involve[s] . . . a
                                                 • Persons whom customs officers                       . . . foreign affairs function of the                 AGENCY: Centers for Medicare &
                                               determine, with approval from a                         United States;’’ 112 thus, notice and                 Medicaid Services, Health and Human
                                               supervisor, should be excepted from                     comment and a delay in effective date                 Services (HHS).
                                               this Order based on the totality of the                 are not required.                                     ACTION: Notice.
                                               circumstances, including consideration                     This Order shall remain effective until
                                               of significant law enforcement, officer                 either the expiration of the Secretary of             SUMMARY: The Centers for Medicare &
                                               and public safety, humanitarian, and                    HHS’ declaration that COVID–19                        Medicaid Services (CMS) is announcing
                                               public health interests. DHS will                       constitutes a public health emergency,                an opportunity for the public to
                                               consult with CDC regarding the                          or I determine that the danger of further             comment on CMS’ intention to collect
                                               standards for such exceptions to help                   introduction, transmission, or spread of              information from the public. Under the
                                               ensure consistency with current CDC                     COVID–19 into the United States has                   Paperwork Reduction Act of 1995 (the
                                                                                                       ceased to be a serious danger to the                  PRA), federal agencies are required to
                                                                                                                                                             publish notice in the Federal Register
khammond on DSKJM1Z7X2PROD with NOTICES




                                                 107 42 CFR 71.40(f).
                                                 108 42 CFR 71.40(e)(1) and (3).                         110 42 U.S.C. 268; 42 CFR 71.40(d).                 concerning each proposed collection of
                                                 109 As excepted pursuant to the Public Health           111 CDC relies on the Department of Defense,        information (including each proposed
                                               Determination Regarding an Exception for                other federal agencies, and state and local           extension or reinstatement of an existing
                                               Unaccompanied Noncitizen Children from Order            governments to provide both logistical support and    collection of information) and to allow
                                               Suspending the Right to Introduce Certain Persons       facilities for federal quarantines. CDC lacks the
                                               from Countries Where a Quarantinable                    resources, manpower, and facilities to quarantine     60 days for public comment on the
                                               Communicable Disease Exists. 86 FR 38717 (July          covered noncitizens.                                  proposed action. Interested persons are
                                               22, 2021).                                                112 5 U.S.C. 553(a)(1).                             invited to send comments regarding our

                                                                                                                                                                                        AR00666
                                          VerDate Sep<11>2014   17:07 Aug 04, 2021   Jkt 253001   PO 00000   Frm 00066   Fmt 4703   Sfmt 4703   E:\FR\FM\05AUN1.SGM   05AUN1
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 285 of 350 PageID 4878




                                                                      AR00667
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 286 of 350 PageID 4879




                                                                      AR00668
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 287 of 350 PageID 4880




                                                                      AR00669
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 288 of 350 PageID 4881




                                                                      AR00670
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 289 of 350 PageID 4882




                                                                      AR00671
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 290 of 350 PageID 4883




                                                                      AR00672
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 291 of 350 PageID 4884




                                                                      AR00673
       Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                                                                    Page 292 of 350 PageID 4885

Overall, 41 percent of MPP cases resulted in a final enforcement disposition as of June 30, 2021, versus 35 percent of comparable non-MPP cases.(76)

See rows 8, 31, and 32.

Final or Most Current Outcomes, SW Border Encounters of MPP Enrollees and Comparable Cases
   Most Current Enforcement Outcome
                                                              MPP      Non-MPP
Total Encounters                                               67,694      596,801
Title 42 Expulsion                                                  5      125,714
 Removals                                                         658       10,321
Returns                                                            32          344
Re-encounters1                                                 22,192       18,039
Being processed                                                17,690      372,254
     Being processed by DHS                                       507      107,491
     In EOIR proceedings2                                       5,798      211,064
     EOIR case completed - additional DOJ action3              11,385       53,699
Final order/voluntary departure                                20,233       46,871
     Unexecuted removal orders                                 20,232       46,103
           In absentia                                         18,414       39,664
           Not in absentia                                      1,818        6,439
     Unexecuted voluntary departures                                1          768
Relief                                                            732       10,174
      SIJ or affirmative asylum                                    14        1,614
       LPR status granted by DHS                                   36        3,313
       EOIR relief4                                               677        5,080
       Other5                                                       5          167
EOIR termination                                                6,151        6,229
Parole                                                            -            269
No Subsequent Event6                                                1        6,586
              Additional Calculations                         MPP      Non-MPP
Completed Cases                                                27,812      206,508
Completed cases as share of total                                 41%          35%
Notes: "Non-MPP cases" are defined as non-Mexican single adults and family units who were apprehended along the SWB between January 25, 2019, and January 20, 2021, were not enrolled in MPP, and were not detained throughout the pendency of their proceedings. Data valid as of FY2021 Q3 (June 30, 2021).
1 Includes noncitizens encountered more than once by CBP without a known intervening removal or return. OIS assumes the noncitizen departed of their own accord during the intervening period.
2 Includes noncitizens in proceedings whose cases have been closed and are not on an active docket.
3 Includes noncitizens subject to a final order or other EOIR case completion who are subject to a motion to reopen or reconsider or who appeal their case to the Board of Immigration Appeals.
4 Includes noncitizens granted asylum and other forms of relief from removal. This category also includes withholding of removal and protection under the Convention Against Torture even though they are not technically forms of relief.
5 Includes noncitizens granted cancelation of removal, DHS prosecutorial discretion, T visas, S visas, U visas, Temporary Protected Status, and EOIR conditional grants, as well as people found to be U.S. citizens or lawfully present noncitizens not subject to removal.
6 Initial enforcement action cannot be linked to a subsequent enforcement outcome; may result from data errors, missing identifier data, and/or because the noncitizen awaits further processing.
Source: OIS analysis of Enforcement Lifecycle data.




                                                                                                                                                                                                                                                                                   AR00674
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                                                Page 293 of 350 PageID 4886

During that same period [1/25/2019 - 1/21/2021], CBP processed a total of 1.5 million SWB encounters, including approximately 1 million encounters processed under Title 8 authorities (including the 68,000 processed through MPP) and approximately 500,000 Title 42 expulsions.(24)

See row 34.

Southwest Border Encounters 1/25/2019-1/21/2021 by Title Authority

                                      CBP Encounters
   FY        Month          All                T42               T8
2019       1                  16,753                               16,753
           2                  76,543                               76,543
           3                103,730                              103,730
           4                109,413                              109,413
           5                144,113                              144,113
           6                104,310                              104,310
           7                  81,748                               81,748
           8                  62,608                               62,608
           9                  52,424                               52,424
2020       10                 45,139                               45,139
           11                 42,642                               42,642
           12                 40,563                               40,563
           1                  36,583                               36,583
           2                  36,686                               36,686
           3                  34,457             7,150             27,307
           4                  17,106            15,522              1,584
           5                  23,237            20,895              2,342
           6                  33,029            29,809              3,220
           7                  40,949            36,891              4,058
           8                  50,007            44,446              5,561
           9                  57,668            50,061              7,607
2021       10                 71,927            64,892              7,035
           11                 72,113            63,230              8,883
           12                 73,994            62,342             11,652
           1                  46,244            38,717              7,527
 Total                    1,473,986           433,955          1,040,031
Source: DHS Office of Immigration Statistics analysis of CBP data. Data re-pulled June 29, 2022.




                                                                                                                                                                                                                                                       AR00675
           Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                                                                                                                                                                                Page 294 of 350 PageID 4887
Overall, of the 67,694 cases of individuals enrolled in MPP,(77) 21,818 were subject to an in absentia order of removal at some point during their removal proceedings—32 percent of all individuals enrolled in MPP.(78) For comparable noncitizens who were not processed through MPP during that same time period and who were also not detained for the duration of their proceedings, the in absentia rate was 13 percent—about two-fifths the rate of the MPP group. (79)

See Rows 8, 32, 33, and 34.

Final or Most Current Outcomes, SW Border Encounters of MPP Enrollees and Comparable Cases
   Most Current Enforcement Outcome
                                                            MPP        Non-MPP
Total Encounters                                            67,694       596,801
Title 42 Expulsion                                               5       125,714
Removals                                                      658         10,321
Returns                                                        32            344
Re-encounters1                                              22,192        18,039
Being processed                                             17,690       372,254
       Being processed by DHS                                  507       107,491
        In EOIR proceedings2                                 5,798       211,064
        EOIR case completed - additional DOJ action3        11,385        53,699
Final order/voluntary departure                             20,233        46,871
        Unexecuted removal orders                           20,232        46,103
                 In absentia                                18,414        39,664
                 Not in absentia                             1,818         6,439
        Unexecuted voluntary departures                          1           768
Relief                                                        732         10,174
         SIJ or affirmative asylum                             14          1,614
         LPR status granted by DHS                             36          3,313
       EOIR relief4                                           677          5,080
       Other5                                                    5           167
EOIR termination                                             6,151         6,229
Parole                                                         -             269
No Subsequent Event6                                               1       6,586

               EOIR Case history
                                                              MPP      Non-MPP
DHS Referrals to EOIR                                         66,452       342,969
EOIR Absentia Orders Ever Issued                              21,818        43,188
Absentia orders ever issued as share of referrals to EOIR        33%           13%
Notes: "Non-MPP cases" are defined as non-Mexican single adults and family units who were apprehended along the SWB between January 25, 2019, and January 20, 2021, were not enrolled in MPP, and were not detained throughout the pendency of their proceedings. Data valid as of FY2021 Q3 (June 30, 2021).
1 Includes noncitizens encountered more than once by CBP without a known intervening removal or return. OIS assumes the noncitizen departed of their own accord during the intervening period.
2 Includes noncitizens in proceedings whose cases have been closed and are not on an active docket.
3 Includes noncitizens subject to a final order or other EOIR case completion who are subject to a motion to reopen or reconsider or who appeal their case to the Board of Immigration Appeals.
4 Includes noncitizens granted asylum and other forms of relief from removal. This category also includes withholding of removal and protection under the Convention Against Torture even though they are not technically forms of relief.
5 Includes noncitizens granted cancelation of removal, DHS prosecutorial discretion, T visas, S visas, U visas, Temporary Protected Status, and EOIR conditional grants, as well as people found to be U.S. citizens or lawfully present noncitizens not subject to removal.
6 Initial enforcement action cannot be linked to a subsequent enforcement outcome; may result from data errors, missing identifier data, and/or because the noncitizen awaits further processing.
Source: OIS analysis of Enforcement Lifecycle data.




                                                                                                                                                                                                                                                                                                                                                                                                                                         AR00676
                Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                                                                                                                                                                                                                                                                                                          Page 295 of 350 PageID 4888
Moreover an additional 6 151 MPP cases were terminated by the immigration court (80) Courts generally issued such orders in MPP cases when a noncitizen failed to appear but the immigration judge declined to issue an in absentia removal given concerns that the noncitizen did not have proper notice of how to attend his or her hearing (81) Including these cases brings the total number of cases of individuals in MPP that involved the issuance of an in absentia order of removal or termination to 27 969 (41 percent of all MPP cases and nearly three-and-a-half times higher than the in absentia rate for comparable noncitizens not enrolled in MPP) (82)

See rows 27 and 31-34

Final or Most Current Outcomes, SW Border Encounters of MPP Enrollees and Comparable Cases
  Most Current Enforcement Outcome
                                                           MPP        Non-MPP
Total Encounters                                          67,694       596,801
Title 42 Expulsion                                             5       125,714
Removals                                                     658           10 321
Returns                                                       32              344
Re-encounters1                                             22,192       18,039
Being processed                                            17,690      372,254
          Being processed by DHS                              507      107,491
           In EOIR proceedings2                             5,798      211,064
           EOIR case completed additional DOJ action       11 385          53 699
Final order/voluntary departure                            20,233          46,871
           Unexecuted removal orders                       20,232          46,103
                       In absentia                         18,414          39,664
                       Not in absentia                      1,818           6,439
           Unexecuted voluntary departures                      1             768
Relief                                                       732           10 174
            SIJ or affirmative asylum                         14            1,614
             LPR status granted by DHS                        36            3,313
          EOIR relief4                                       677            5,080
          Other5                                                5             167
EOIR termination                                            6,151           6,229
Parole                                                        -               269
No Subsequent Event6                                              1         6,586
            Additional Calculations                        MPP        Non-MPP
Referrals to EOIR                                          66,452      342,969
EOIR Absentia Orders Ever Issued                           21,818          43,188
Absentia Order Ever + Terminations (MPP only)              27,969     NA
Absentia + Terminations as share of referrals to EOIR            42%          13%
Notes: "Non-MPP cases" are defined as non-Mexican single adults and family units who were apprehended along the SWB between January 25, 2019, and January 20, 2021, were not enrolled in MPP, and were not detained throughout the pendency of their proceedings. Terminations are excluded from the percentage calculation for non-MPP cases in row 31. Data valid as of FY2021 Q3 (June 30, 2021).
1 Includes noncitizens encountered more than once by CBP without a known intervening removal or return. OIS assumes the noncitizen departed of their own accord during the intervening period.
2 Includes noncitizens in proceedings whose cases have been closed and are not on an active docket.
3 Includes noncitizens subject to a final order or other EOIR case completion who are subject to a motion to reopen or reconsider or who appeal their case to the Board of Immigration Appeals.
4 Includes noncitizens granted asylum and other forms of relief from removal. This category also includes withholding of removal and protection under the Convention Against Torture even though they are not technically forms of relief.
5 Includes noncitizens granted cancelation of removal, DHS prosecutorial discretion, T visas, S visas, U visas, Temporary Protected Status, and EOIR conditional grants, as well as people found to be U.S. citizens or lawfully present noncitizens not subject to removal.
6 Initial enforcement action cannot be linked to a subsequent enforcement outcome; may result from data errors, missing identifier data, and/or because the noncitizen awaits further processing.
Source: OIS analysis of Enforcement Lifecycle data.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     AR00677
         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                                                                                                                       Page 296 of 350 PageID 4889
DHS data reflect that only 732 individuals enrolled in MPP out of 67,694 cases were granted relief or protection from removal—a grant rate of just 1.1.(86) For the comparable set of non-MPP cases from the same time period, the relief-granted rate was nearly two-and-a-half times as high (2.7 percent).(87)

See rows 22 and 31-32.

Final or Most Current Outcomes, SW Border Encounters of MPP Enrollees and Comparable Cases
   Most Current Enforcement Outcome
                                                          MPP       Non-MPP
Total Encounters                                          67,694      596,801
Title 42 Expulsion                                             5      125,714
Removals                                                     658       10,321
Returns                                                       32          344
              1
Re-encounters                                             22,192        18,039
Being processed                                           17,690       372,254
      Being processed by DHS                                  507      107,491
       In EOIR proceedings2                                 5,798      211,064
       EOIR case completed - additional DOJ action3       11,385        53,699
Final order/voluntary departure                           20,233        46,871
       Unexecuted removal orders                          20,232        46,103
              In absentia                                 18,414        39,664
              Not in absentia                              1,818         6,439
       Unexecuted voluntary departures                         1           768
Relief                                                       732        10,174
        SIJ or affirmative asylum                             14         1,614
         LPR status granted by DHS                            36         3,313
       EOIR relief4                                          677         5,080
       Other5                                                      5          167
EOIR termination                                               6,151        6,229
Parole                                                           -            269
No Subsequent Event
                      6                                            1        6,586
              Additional Calculations                        MPP       Non-MPP
Relief + in-the-U.S. Terminations                           NA             16,403
Relief + in-the-U.S. Terminations as share of total             1.1%         2.7%
Notes: "Non-MPP cases" are defined as non-Mexican single adults and family units who were apprehended along the SWB between January 25, 2019, and January 20, 2021, were not enrolled in MPP, and were not detained throughout the pendency of their proceedings. Terminations are excluded from the percentage calculation for MPP cases in row 31. Data valid as of FY2021 Q3 (June 30, 2021).
1 Includes noncitizens encountered more than once by CBP without a known intervening removal or return. OIS assumes the noncitizen departed of their own accord during the intervening period.
2 Includes noncitizens in proceedings whose cases have been closed and are not on an active docket.
3 Includes noncitizens subject to a final order or other EOIR case completion who are subject to a motion to reopen or reconsider or who appeal their case to the Board of Immigration Appeals.
4 Includes noncitizens granted asylum and other forms of relief from removal. This category also includes withholding of removal and protection under the Convention Against Torture even though they are not technically forms of relief.
5 Includes noncitizens granted cancelation of removal, DHS prosecutorial discretion, T visas, S visas, U visas, Temporary Protected Status, and EOIR conditional grants, as well as people found to be U.S. citizens or lawfully present noncitizens not subject to removal.
6 Initial enforcement action cannot be linked to a subsequent enforcement outcome; may result from data errors, missing identifier data, and/or because the noncitizen awaits further processing.
Source: OIS analysis of Enforcement Lifecycle data.




                                                                                                                                                                                                                                                                                                                                                           AR00678
                      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Page 297 of 350 PageID 4890
To the contra ry, a n a na l ys i s of EOIR ca s e outcomes for Northern Tri a ngl e a s yl um-rel a ted cl a i ms ori gi na ti ng i n border encounters (i .e., a l l EOIR remova l proceedi ngs ori gi na ti ng wi th border encounters fol l owed by credi bl e fea r or rea s ona bl e fea r cl a i ms ) i n the yea rs l ea di ng up to MPP yi el ds a rel i ef-gra nted ra te of a bout 29 percent— s i gni fi ca ntl y hi gher tha n the 10 percent refl ected i n Depa rtment’s Ja nua ry 2019 s ta tement.

The 29% rel i ef gra nted ra te i s a n es ti ma te ba s ed on da ta a va i l a bl e a t the ti me. Note tha t i t i s not currentl y pos s i bl e to ca l cul a te a comprehens i ve rel i ef-gra nted ra te for ca s es encountered i n the yea rs pri or to the i ni ti a ti on of MPP beca us e mos t ca s es referred to EOIR rema i n i n proceedi ngs . Rel i ef-gra nted ra tes a re cons i s tentl y l ower i n the yea rs i mmedi a tel y fol l owi ng a n encounter (when hi gh numbers of peopl e referred to EOIR a re i s s ued in absentia orders or a ccept vol unta ry depa rture), a nd i ncrea s e over ti me (a fter peopl e ha ve ha d ti me to obta i n couns el a nd pres ent ca s es for rel i ef). The reported es ti ma te of "a bout 29 percent" i s ba s ed on 8-9 yea rs of obs erved EOIR outcome da ta for the 2013 a nd 2014 encounter cohorts a nd a ccounts for the pa ttern of i ncrea s i ng rel i e

                                                                                               EOIR Decision FY
Year of DHS Encounter                                 2013        2014        2015         2016        2017        2018        2019        2020        2021
cohort      EOIR Decision
2013        Final order/v oluntary departure          6 684      10 031       4 691       2 743       2 247        2 770       3 190       1 241         146
            Relief                                      819       2 544       3 501       2 638       1 574        1 405       1 018         644         159
                          Relief Rate                   11%         20%         43%         49%         41%          34%         24%         34%         52%
2014        Final order/v oluntary departure               .     13 806      24 421      11 425       8 289        7 732       8 128       3 768         418
            Relief                                         .        872       7 228       8 570       4 551        3 443       2 448       1 748         688
                          Relief Rate                                6%         23%         43%         35%          31%         23%         32%         62%
2015        Final order/v oluntary departure               .           .     13 127      16 878       8 315        7 192       7 356       3 285         414
            Relief                                         .           .      1 647       5 144       4 285        3 241       2 511       1 732         646
                          Relief Rate                                           11%         23%         34%          31%         25%         35%         61%
2016        Final order/v oluntary departure               .           .            .    13 204      24 879      19 550      18 763        8 535         897
            Relief                                         .           .            .     1 308       3 954        5 185       4 975       2 875       1 238
                          Relief Rate                                                        9%         14%          21%         21%         25%         58%
2017        Final order/v oluntary departure               .           .            .           .    13 317      19 179      19 280        8 234         677
            Relief                                         .           .            .           .       999        2 627       3 566       2 048         470
                          Relief Rate                                                                    7%          12%         16%         20%         41%
2018        Final order/v oluntary departure               .           .            .           .           .    12 673      40 865       18 327         625
            Relief                                         .           .            .           .           .      1 451       5 595       4 783         681
                          Relief Rate                                                                                10%         12%         21%         52%
2019        Final order/v oluntary departure               .           .            .           .           .           .    41 873       78 704       1 636
            Relief                                         .           .            .           .           .           .      8 941      12 134       1 782
                          Relief Rate                                                                                            18%         13%         52%
2020        Final order/v oluntary departure               .           .            .           .           .           .           .     11 093         534
            Relief                                         .           .            .           .           .           .           .      1 717         250
                          Relief Rate                                                                                                        13%         32%
2021        Final order/v oluntary departure               .           .            .           .           .           .           .           .         83
            Relief                                         .           .            .           .           .           .           .           .         11
                          Relief Rate                                                                                                                    12%
Notes : Rel i ef ra te i s defi ned a s gra nts of rel i ef di vi ded by the s um of rel i ef gra nts , remova l orders , a nd gra nts of vol unta ry depa rture; other forms of rel i ef (e.g., SIJ a pprova l , a dmi ni s tra ti ve cl os ures , DHS gra nts of LPR, S, T, or U vi s a s , etc.) a re not i ncl uded. Da ta va l i d a s of FY2021 Q3 (June 30, 2021).
Source: OIS a na l ys i s of Enforcement Li fecycl e da ta




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   AR00679
                     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 298 of 350 PageID 4891

ef-gra nted ra tes over ti me for s ubs equent yea rs .




                                                                                            AR00680
       Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                                                                    Page 299 of 350 PageID 4892

But the data also show that a significant share of individuals enrolled in MPP—33 percent as of June 30, 2021—were subsequently encountered attempting to reenter the country without inspection, rather than continuing to wait in Mexico for the resolution of their removal proceedings.(90)

See rows 12 and 31.

Final or Most Current Outcomes, SW Border Encounters of MPP Enrollees and Comparable Cases
   Most Current Enforcement Outcome
                                                              MPP      Non-MPP
Total Encounters                                               67,694      596,801
Title 42 Expulsion                                                  5      125,714
 Removals                                                         658       10,321
Returns                                                            32          344
Re-encounters1                                                 22,192       18,039
Being processed                                                17,690      372,254
     Being processed by DHS                                       507      107,491
     In EOIR proceedings2                                       5,798      211,064
     EOIR case completed - additional DOJ action3              11,385       53,699
Final order/voluntary departure                                20,233       46,871
     Unexecuted removal orders                                 20,232       46,103
           In absentia                                         18,414       39,664
           Not in absentia                                      1,818        6,439
     Unexecuted voluntary departures                                1          768
Relief                                                            732       10,174
      SIJ or affirmative asylum                                    14        1,614
       LPR status granted by DHS                                   36        3,313
       EOIR relief4                                               677        5,080
       Other5                                                       5          167
EOIR termination                                                6,151        6,229
Parole                                                            -            269
                       6                                            1        6,586
No Subsequent Event
              Additional Calculations                         MPP      Non-MPP
Re-encounters as a share of enrollments                           33%           3%
Notes: "Non-MPP cases" are defined as non-Mexican single adults and family units who were apprehended along the SWB between January 25, 2019, and January 20, 2021, were not enrolled in MPP, and were not detained throughout the pendency of their proceedings. Data valid as of FY2021 Q3 (June 30, 2021).
1 Includes noncitizens encountered more than once by CBP without a known intervening removal or return. OIS assumes the noncitizen departed of their own accord during the intervening period.
2 Includes noncitizens in proceedings whose cases have been closed and are not on an active docket.
3 Includes noncitizens subject to a final order or other EOIR case completion who are subject to a motion to reopen or reconsider or who appeal their case to the Board of Immigration Appeals.
4 Includes noncitizens granted asylum and other forms of relief from removal. This category also includes withholding of removal and protection under the Convention Against Torture even though they are not technically forms of relief.
5 Includes noncitizens granted cancelation of removal, DHS prosecutorial discretion, T visas, S visas, U visas, Temporary Protected Status, and EOIR conditional grants, as well as people found to be U.S. citizens or lawfully present noncitizens not subject to removal.
6 Initial enforcement action cannot be linked to a subsequent enforcement outcome; may result from data errors, missing identifier data, and/or because the noncitizen awaits further processing.
Source: OIS analysis of Enforcement Lifecycle data.




                                                                                                                                                                                                                                                                                   AR00681
      Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                                          Page 300 of 350 PageID 4893

This rate is more than two-and-a-half times higher than the historical average for recidivism (defined as re-encounters within 12 months of initial apprehension) of 14 percent for individuals processed under Title 8 authorities.(91)

The reported rate of 14 percent was based on an analysis of enocunters for FY 2014 - February 2020, prior to the implementation of Title 42 expulsions beginning in March 2020. For the entire period FY 2014 - FY 2021 the 12-month repeat encounter rate was 16 percent.

Southwest Border Enforcement Encounters by 12-Month Repeat vs. Unique Encounters and Encounter Rate, FY 2014 - FY 2021
Encounter Repeat          Unique                    12-Month Re-
Month       Encounters Encounters Total             encounter Rate
    Oct-13        9,818        30,021       39,839              25%
#########         8,643        27,940       36,583              24%
    Dec-13        7,782        26,787       34,569              23%
    Jan-14        7,716        25,622       33,338              23%
    Feb-14        8,644        32,169       40,813              21%
#########        10,924        44,624       55,548              20%
    Apr-14       11,582        45,877       57,459              20%
#########        11,131        55,639       66,770              17%
    Jun-14        9,435        54,915       64,350              15%
    Jul-14        8,706        37,914       46,620              19%
    Aug-14        7,681        29,610       37,291              21%
    Sep-14        6,923        24,564       31,487              22%
    Oct-14        7,362        26,108       33,470              22%
#########         6,828        23,613       30,441              22%
    Dec-14        6,784        24,099       30,883              22%
    Jan-15        5,978        21,033       27,011              22%
    Feb-15        6,367        23,616       29,983              21%
#########         7,536        28,303       35,839              21%
    Apr-15        6,847        28,224       35,071              20%
#########         6,967        30,311       37,278              19%
    Jun-15        6,433        28,778       35,211              18%
    Jul-15        5,718        28,717       34,435              17%
    Aug-15        5,882        31,116       36,998              16%
    Sep-15        5,880        30,973       36,853              16%
    Oct-15        6,243        32,731       38,974              16%
#########         5,978        33,771       39,749              15%
    Dec-15        6,152        38,697       44,849              14%
    Jan-16        5,187        24,453       29,640              18%
    Feb-16        5,487        26,481       31,968              17%
#########         6,988        33,355       40,343              17%
    Apr-16        7,633        37,595       45,228              17%
#########         7,962        40,798       48,760              16%
    Jun-16        6,769        35,800       42,569              16%
    Jul-16        5,984        37,261       43,245              14%
    Aug-16        6,476        41,468       47,944              14%
    Sep-16        7,137        44,680       51,817              14%
    Oct-16        8,072        53,376       61,448              13%
#########         7,300        51,652       58,952              12%
    Dec-16        6,026        46,178       52,204              12%
    Jan-17        5,276        34,717       39,993              13%
    Feb-17        4,239        18,378       22,617              19%
#########         2,814        12,692       15,506              18%
    Apr-17        2,623        11,917       14,540              18%
#########         3,216        15,510       18,726              17%
    Jun-17        3,271        17,158       20,429              16%
    Jul-17        3,391        19,993       23,384              15%
    Aug-17        3,976        24,452       28,428              14%
    Sep-17        4,073        24,892       28,965              14%
    Oct-17        4,625        28,375       33,000              14%
#########         4,645        32,571       37,216              12%
    Dec-17        4,501        34,202       38,703              12%
    Jan-18        4,598        29,237       33,835              14%
    Feb-18        4,924        30,064       34,988              14%
#########         6,578        41,925       48,503              14%
    Apr-18        6,910        42,474       49,384              14%
#########         6,232        43,990       50,222              12%
    Jun-18        4,990        36,615       41,605              12%
    Jul-18        4,886        33,031       37,917              13%
    Aug-18        5,448        39,104       44,552              12%
    Sep-18        5,540        42,919       48,459              11%
    Oct-18        6,151        52,772       58,923              10%
#########         5,549        55,068       60,617                9%
    Dec-18        4,439        54,637       59,076                8%
    Jan-19        4,794        51,710       56,504                8%
    Feb-19        5,946        68,964       74,910                8%
#########         7,366        94,621      101,987                7%
    Apr-19        7,860        99,827      107,687                7%
#########         9,624       132,822      142,446                7%
    Jun-19        8,261        94,731      102,992                8%
    Jul-19        6,956        73,425       80,381                9%
    Aug-19        7,539        53,529       61,068              12%
    Sep-19        8,774        42,044       50,818              17%
    Oct-19        8,542        35,073       43,615              20%
#########         8,114        33,095       41,209              20%
    Dec-19        7,795        31,497       39,292              20%
    Jan-20        7,886        27,642       35,528              22%
    Feb-20        7,834        27,744       35,578              22%
#########         5,891        20,677       26,568              22%
    Apr-20          300         1,172        1,472              20%
#########           435         1,668        2,103              21%
    Jun-20          765         2,147        2,912              26%
    Jul-20        1,052         2,702        3,754              28%
    Aug-20        1,611         3,580        5,191              31%
    Sep-20        2,058         5,163        7,221              29%
    Oct-20        1,902         4,739        6,641              29%
#########         2,138         6,366        8,504              25%
    Dec-20        3,042         8,218       11,260              27%
    Jan-21        2,889        10,652       13,541              21%
    Feb-21        4,385        21,757       26,142              17%
#########         7,087        56,302       63,389              11%
    Apr-21        7,287        58,234       65,521              11%
#########          8516         57996       66,512              13%
    Jun-21         8907         74451       83,358              11%
    Jul-21         9067        107404      116,471                8%
    Aug-21         8926        104650      113,576                8%
    Sep-21         4936         83572       88,508                6%
Total          588,341      3,613,736    4,202,077              14%
Notes: Total excludes adminstrative encounters (OFO parolees and certain OFO withdrawals of applications for admission and crew members); repeat encounters are defined as distinct individuals who had been previously encountered in the prior 12 months.
Source: OIS analysis of CBP data.




                                                                                                                                                                                                                                           AR00682
    Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                Page 301 of 350 PageID 4894

But from June 2019, when DHS announced that MPP would be fully implemented along the entire SWB, through September 2019, border encounters decreased rapidly, falling 50 percent in just three months.

Change from June 2019 - September 2019:                   -50%
           MPP             All
           Enrollments     encounters
   Jan-19               14       16,753
   Feb-19              157      76,543
  Mar-19               590     103,730
   Apr-19           2,650      109,413
  May-19            5,309      144,113
   Jun-19           4,698      104,310
    Jul-19         11,266       81,748
  Aug-19           12,024       62,608
   Sep-19           7,571       52,424
   Oct-19           4,858       45,139
  Nov-19            3,632       42,642
   Dec-19           3,090       40,563
   Jan-20           1,969       36,583
   Feb-20           1,756       36,686
  Mar-20            2,108       34,457
   Apr-20              172      17,106
  May-20               131      23,237
   Jun-20              207      33,029
    Jul-20             383      40,949
  Aug-20               852      50,007
   Sep-20           1,090       57,668
   Oct-20              641      71,927
  Nov-20               940      72,113
   Dec-20           1,127       73,994
   Jan-21              543      43,387

Source: OIS analysis of CBP administrative records.




                                                                                                                                                                                    AR00683
     Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                            Page 302 of 350 PageID 4895

And even at the height of MPP’s implementation in August 2019, it was not the Department’s primary enforcement tool; approximately 12,000 migrants were enrolled in MPP but more than 50,000 were processed under other Title 8 authorities.(98)

See row 12.
                                                                            MPP as % of
                                        Non-MPP    All          MPP as % of all
             MPP            All T8      T8         encounters T8            encounters
   Jan-19              14        16,753     16,739       16,753         0%          0%
  Feb-19              157        76,543     76,386      76,543          0%          0%
  Mar-19              590       103,730    103,140     103,730          1%          1%
  Apr-19            2,650       109,413    106,763     109,413          2%          2%
  May-19            5,309       144,113    138,804     144,113          4%          4%
   Jun-19           4,698       104,310     99,612     104,310          5%          5%
    Jul-19         11,266        81,748     70,482      81,748         14%         14%
  Aug-19           12,024        62,608     50,584      62,608         19%         19%
  Sep-19            7,571        52,424     44,853      52,424         14%         14%
  Oct-19            4,858        45,139     40,281      45,139         11%         11%
  Nov-19            3,632        42,642     39,010      42,642          9%          9%
  Dec-19            3,090        40,563     37,473      40,563          8%          8%
   Jan-20           1,969        36,583     34,614      36,583          5%          5%
  Feb-20            1,756        36,686     34,930      36,686          5%          5%
  Mar-20            2,108        27,307     25,199      34,457          8%          6%
  Apr-20              172         1,584      1,412      17,106         11%          1%
  May-20              131         2,342      2,211      23,237          6%          1%
   Jun-20             207         3,220      3,013      33,029          6%          1%
    Jul-20            383         4,058      3,675      40,949          9%          1%
  Aug-20              852         5,561      4,709      50,007         15%          2%
  Sep-20            1,090         7,607      6,517      57,668         14%          2%
  Oct-20              641         7,044      6,403      71,927          9%          1%
  Nov-20              940         8,889      7,949      72,113         11%          1%
  Dec-20            1,127        11,676     10,549      73,994         10%          2%
   Jan-21             543         7,061      6,518      43,387          8%          1%

Source: OIS analysis of CBP administrative records.




                                                                                                                                                                                                                           AR00684
         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                                                                                                          Page 303 of 350 PageID 4896
Notably, only 6.5 percent of noncitizens encountered along the SWB and processed through Title 8 were enrolled in MPP during the period it was in place. In no month when MPP was operating—including in August 2019, the month with the highest number of MPP enrollments—were more than one-in-five noncitizens encountered at the SWB and processed through Title 8 placed in MPP

                                                                  CBP Encounters
                                                                                                              % of Title 8 SWB
           MPP                                                                                                encounters that
           Enrollme All                                                                                       are MPP
           nts        encounters     FY      Month           All          T42             T8                  enrollments
   Jan-19         14       16,753 2019      1               16,753                       16,753                            0.1%
  Feb-19         157      76,543            2               76,543                       76,543                            0.2%
  Mar-19         590 103,730                3              103,730                     103,730                             0.6%
  Apr-19       2,650 109,413                4              109,413                     109,413                             2.4%
  May-19       5,309 144,113                5              144,113                     144,113                             3.7%
  Jun-19       4,698 104,310                6              104,310                     104,310                             4.5%
    Jul-19    11,266      81,748            7               81,748                       81,748                           13.8%
  Aug-19      12,024      62,608            8               62,608                       62,608                           19.2%
  Sep-19       7,571      52,424            9               52,424                       52,424                           14.4%
  Oct-19       4,858      45,139 2020       10              45,139                       45,139                           10.8%
  Nov-19       3,632      42,642            11              42,642                       42,642                            8.5%
  Dec-19       3,090      40,563            12              40,563                       40,563                            7.6%
   Jan-20      1,969      36,583            1               36,583                       36,583                            5.4%
  Feb-20       1,756      36,686            2               36,686                       36,686                            4.8%
  Mar-20       2,108      34,457            3               34,457         7,150         27,307                            7.7%
  Apr-20         172      17,106            4               17,106       15,522           1,584                           10.9%
  May-20         131      23,237            5               23,237       20,895           2,342                            5.6%
  Jun-20         207      33,029            6               33,029       29,809           3,220                            6.4%
    Jul-20       383      40,949            7               40,949       36,891           4,058                            9.4%
  Aug-20         852      50,007            8               50,007       44,446           5,561                           15.3%
  Sep-20       1,090      57,668            9               57,668       50,061           7,607                           14.3%
  Oct-20         641      71,927 2021       10              71,927       64,892           7,035                            9.1%
  Nov-20         940      72,113            11              72,113       63,230           8,883                           10.6%
  Dec-20       1,127      73,994            12              73,994       62,342          11,652                            9.7%
   Jan-21        543      43,387            1               46,244       38,717           7,527                            7.2%
             67,778 1,471,129 Total                      1,473,986      433,955 1,040,031                                  6.5%
Source: OIS analysis of CBP admin Source: DHS Office of Immigration Statistics analysis of CBP data. Data re-pulled June 29, 2022.


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                                                                                                                                                                                                                                                                                                                                         AR00685
       Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 304 of 350 PageID 4897
.110




                                                                              AR00686
          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                                                                                                                                                            Page 305 of 350 PageID 4898
From Fiscal Years 2013 to 2019, 43 percent of single adult and family unit members who were encountered at the SWB were either never placed in or released from detention during the pendency of their proceedings— almost 750,000 (21 percent) were never booked into ICE detention, and more than 770,000 (22 percent) were booked in for a period of time but released prior to the conclusion of their removal proceedings. (122)

See row 16.

Encounters by Detention History, Fiscal Years 2013-2021
Fiscal Year     Total              Continuous        Booked out prior to      Never Detained
                Encounters          Detention           final outcome

2013          448,433         365,717 82%            42,499     9%         40,217   9%
2014          497,292         346,916 70%            83,739     17%        66,637   13%
2015          400,731         266,451 66%            77,868     19%        56,412   14%
2016          492,626         281,108 57%            125,229    25%        86,289   18%
2017          366,581         205,624 56%            86,143     23%        74,814   20%
2018          460,388         247,219 54%            132,317    29%        80,852   18%
2019          851,368         282,514 33%            225,062    26%        343,792 40%
2020          210,623         138,542 66%            27,363     13%        44,718   21%
2021          525,193         52,340   10%           138,208    26%        334,645 64%
2013-2019     3,517,419       ######## 57%           772,857    22%        749,013 21%
2013-2021     4,253,235       ######## 51%           938,428    22%        ######## 27%
Non-MPP Cases 875,331         355,294 41%            183,186    21%        336,851 38%

Notes: Table includes single adults and individuals in family units encountered at the southwest border, excluding noncitizens enrolled in MPP and those expelled under Title 42 authority. Non-MPP cases cover the period between Jan. 25, 2019, and Jan. 20, 2021. Data re-pulled and valid as of April 23, 2022.
Source: OIS analysis of Enforcement Lifecycle data.




                                                                                                                                                                                                                                                                                                                                                                                                    AR00687
          Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                                                                                                                                                                  Page 306 of 350 PageID 4899
Even during the period that MPP was in effect from late January 2019 to January 20, 2021, 59 percent of single adults and individuals in family units encountered along the SWB and processed through non-MPP Title 8 authorities—more than 520,000 encounters—were never detained or were released from ICE custody during the duration of their proceedings; a full 38 percent (more than 330,000 individuals) were never booked into ICE detention at all. (123)

See row 18.

Encounters by Detention History, Fiscal Years 2013-2021
Fiscal Year     Total             Continuous        Booked out prior to     Never Detained
                Encounters         Detention          final outcome

2013          448,433        365,717 82%           42,499      9%         40,217    9%
2014          497,292        346,916 70%           83,739      17%        66,637    13%
2015          400,731        266,451 66%           77,868      19%        56,412    14%
2016          492,626        281,108 57%           125,229     25%        86,289    18%
2017          366,581        205,624 56%           86,143      23%        74,814    20%
2018          460,388        247,219 54%           132,317     29%        80,852    18%
2019          851,368        282,514 33%           225,062     26%        343,792 40%
2020          210,623        138,542 66%           27,363      13%        44,718    21%
2021          525,193        52,340    10%         138,208     26%        334,645 64%
2013-2019     3,517,419      1,995,549 57%         772,857     22%        749,013 21%
2013-2021     4,253,235      2,186,431 51%         938,428     22%        1,128,376 27%
Non-MPP Cases 875,331        355,294 41%           183,186     21%        336,851 38%

Notes: Table includes single adults and individuals in family units encountered at the southwest border, excluding noncitizens enrolled in MPP and those expelled under Title 42 authority. Non-MPP cases cover the period between Jan. 25, 2019, and Jan. 20, 2021. Data re-pulled and valid as of April 23, 2022.
Source: OIS analysis of Enforcement Lifecycle data.




                                                                                                                                                                                                                                                                                                                                                                                                              AR00688
       Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                                                                                     Page 307 of 350 PageID 4900

Encounters by Detention History, Fiscal Years 2013-2021
Fiscal Year     Total              Continuous        Booked out prior to      Never Detained
                Encounters          Detention          final outcome

2013          448,433         365,717 82%            42,499     9%         40,217    9%
2014          497,292         346,916 70%            83,739     17%        66,637    13%
2015          400,731         266,451 66%            77,868     19%        56,412    14%
2016          492,626         281,108 57%            125,229    25%        86,289    18%
2017          366,581         205,624 56%            86,143     23%        74,814    20%
2018          460,388         247,219 54%            132,317    29%        80,852    18%
2019          851,368         282,514 33%            225,062    26%        343,792 40%
2020          210,623         138,542 66%            27,363     13%        44,718    21%
2021          525,193         52,340    10%          138,208    26%        334,645 64%
2013-2019     3,517,419       1,995,549 57%          772,857    22%        749,013 21%
2013-2021     4,253,235       2,186,431 51%          938,428    22%        1,128,376 27%
Non-MPP Cases 875,331         355,294 41%            183,186    21%        336,851 38%

Notes: Table includes single adults and individuals in family units encountered at the southwest border, excluding noncitizens enrolled in MPP and those expelled under Title 42 authority. Non-MPP cases cover the period between Jan. 25, 2019, and Jan. 20, 2021. Data re-pulled and valid as of April 23, 2022.
Source: OIS analysis of Enforcement Lifecycle data.




                                                                                                                                                                                                                                                                                     AR00689
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22           Page 308 of 350 PageID 4901




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22            Page 309 of 350 PageID 4902
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         `'---                                2-



    border ports of entry in order to obtain parole and to document their physical
    presence in the United States.

    The January 29, 2002 memorandum established procedures for the processing
    of third -country nationals who present themselves at land border ports of entry
    and seek asylum in the United States. It instructed immigration inspectors to
    treat all such aliens as applicants for admission. Furthermore, the memorandum
    instructed them to place asylum-seekers at land border ports of entry into
    expedited removal proceedings and to detain them pending a final determination
    of credible fear in accordance with section 235(b)of the INA.

    Accordingly, immigration inspectors placed all Cubans found to be inadmissible
    under section 6)(
                  212(C)
                      a)(
                       or (7)of the INA at land border ports of entry into
    expedited removal proceedings, referred them for a credible fear interview, and
    detained them pending a final determination. Most Cubans interviewed by
    asylum officers were determined to have a credible fear of persecution or torture,
    placed in section 240 proceedings, and paroled until the date of their removal
    hearing before an immigration judge. With regard to natives and citizens of
    Cuba, this policy has resulted in an inefficient use of detention space at land
    border ports of entry.

    This memorandum amends the policy of the former INS in that it addresses
    circumstances in which expedited removal may not be appropriate for aliens
    eligible for relief under the Cuban Adjustment Act. Natives or citizens of Cuba
    who arrive at land border ports of entry should now be processed for section 240
    proceedings without lodging additional charges as required by 8 CFR § 235.3 for
    aliens of other nationalities. They may apply for adjustment of status under the
    Cuban Adjustment Act in section 240 proceedings or pursue their claim of
    asylum before the immigration judge. See Matter of Artiaas, 23 1 & N Dec. 99
    BIA 2001) holding
               (       that an Immigration Judge has jurisdiction to adjudicate an
    application for adjustment of status under the Cuban Adjustment Act).

    A native or citizen of Cuba may be paroled from the land border port of entry
    while awaiting section 240 proceedings provided three conditions have been met:
    1)CBP has firmly established the identity of the alien; 2)
                                                            ( CBP has conducted all
    available background checks; and (3)CBP determines that the alien does not
    pose a terrorist or criminal threat to the United States. Except in exceptional
    circumstances, a CBP Officer should not parole a native or citizen of Cuba into
    the United States for the sole purpose of applying for adjustment under the
    Cuban Adjustment Act without initiating section 240 proceedings.

    Pursuant to section 2)(
                        235(C)b)(     of the INA, a native or citizen of Cuba may also
    be returned to contiguous territory pending section 240 proceedings. A CBP
    Officer should consider this option only if: 1
                                                 ( )the alien can not demonstrate
    eligibility for the exercise of parole discretion; (2)the alien has valid immigration
    status in Canada or Mexico; 3    ( )Canadian or Mexican border officials express a



                                                                                     AR00691
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22           Page 310 of 350 PageID 4903
                                             3-



     willingness to accept the returning alien; and (4)the alien's claim of fear of
     persecution or torture does not relate to Canada or Mexico.


    The attached field guidance contains detailed instructions regarding the
    processing of natives or citizens of Cuba at land border ports of entry. In
     addition, it lays out procedures developed in the January 2002 memorandum for
     handling the withdrawal of an application for admission in lieu of initiating
     expedited removal proceedings.

    If you have any questions, please contact Linda Loveless, Director, Immigration
     Policy, at (202) 344 1438.
                          -

    S/William S. Heffelfinger III for

    Jayson P. Ahern




                                                                                      AR00692
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22           Page 311 of 350 PageID 4904


     ATTACHMENT


     Chapter a)
             17.15(of the Inspector's Field Manual is revised to read as
     follows:


     5)Aliens seekino asvlum at land border ports of entry

     Section 235(b)of the INA does not provide for an affirmative asylum application
     process at a port of entry. Therefore, an officer should consider an alien who
     arrives at a land border port-of entry
                                       -    and seeks asylum to be an applicant for
     admission by operation of law. The alien will most likely be inadmissible under
     section 7)(
              212(A)(
              i)      a)(    of the INA as an intending immigrant without proper
     documentation or under section 6)( 212(C)
                                             a)(    of the INA as an immigration
     violator with fraudulent documents. As a result, he or she will be subject to
     expedited removal proceedings.

     Except as noted below, the alien, if otherwise subject, should be placed in
     expedited removal proceedings, referred for a credible fear interview, and
     detained pending a final determination of a credible fear of persecution or torture.
     See INA § 1)(
               235(
               iii)(     b)(
                         B)(
                         IV);       8 CFR § b)(
                                              235.4)(
                                              ii).    3(       Once it has been
     determined that an alien has a credible fear of persecution or torture, DHS may
     continue to detain the alien or parole the alien from custody, as appropriate.

     6)Cuban asvlum seekers at land border Dorts of-
                                                 - entrv.

     Natives or citizens of Cuba arriving at land border ports of entry, whose
    immediate removal from the United States is highly unlikely, should be placed
    directly into section 240 proceedings in lieu of expedited removal, without lodging
    additional charges. These aliens may be paroled directly from the port of entry
    while awaiting removal proceedings if identity is firmly established, all available
     background checks are conducted, and the alien does not pose any terrorist or
    criminal threat. Pursuant to section 235(
                                         2)(b)(
                                            C)of the INA, they may also be
     returned to contiguous territory pending removal proceedings under section 240
    of the INA. This option should only be considered if the alien is not eligible for
    the exercise of parole discretion, the alien has valid status in Canada or Mexico,
    Canadian or Mexican border officials are willing to accept the alien back, and the
    claim of fear of persecution is unrelated to Canada or Mexico.

    An officer should not parole a native or citizen of Cuba from a land border port of
    entry for the sole purpose of allowing the alien to apply for adjustment under the
    Cuban Adjustment Act of 1966, Pub. L. 89 732,
                                             -    80 Stat. 1161 (1966),without
    initiating section 240 proceedings. The Cuban Adjustment Act (CAA)provides
    that any native or citizen of Cuba who has been admitted or paroled into the
    United States, and who is otherwise admissible as an immigrant, may adjust
    status to that of a lawful permanent resident after being physically present in the
    United States for at least one year. It does not, however, require an officer to



                                                                                   AR00693
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22            Page 312 of 350 PageID 4905
                                              5-



     parole a native or citizen of Cuba at a port of entry without regard to public
     safety. Therefore, an officer should grant parole to a native or citizen of Cuba
     only if the alien does not pose a criminal or terrorist threat to the United States.


     Chapter c)
             17.15(of the Inspector's Field Manual is revised to read as
     follows:


    c)Withdrawal of application for admission in lieu of an expedited removal order.

         DHS has the discretion to allow an inadmissible alien to voluntarily withdraw
         his or her application for admission and to depart the United States in
        accordance with section 4)  235(a)(    of the INA. This discretion applies to
        aliens subject to expedited removal, and should be applied carefully and
        consistently, since an officer's decision to allow withdrawal or issue a removal
        order is final. Officers should keep in mind that an order of expedited removal
        carries with it all the penalties of an order of removal issued by an immigration
        judge (including a bar to reentry of at least 5 years following removal pursuant
        to section i)).
                    212(
                    9)(       a)(
                              A)(

        Follow the guidelines contained in Chapter 17.2 to determine whether an
        alien's withdrawal of an application for admission or asylum claim best serves
        the interest of justice. An officer's decision to permit withdrawal of an
        application for admission must be properly documented by means of a Form
        1 -275,Withdrawal of Application for Admission Consular
                                                       /        Notification, to
        include the facts surrounding the voluntary withdrawal and the withdrawal of
        the asylum claim. In addition, an officer should prepare a new sworn
        statement, or an addendum to the original sworn statement on Form I-
        867A&B,covering the facts pertaining to the alien's withdrawal of the asylum
        claim.


        An alien may not be pressured into withdrawing his or her application for
        admission or asylum claim under any circumstances. An officer must provide
        adequate interpretation to ensure that the alien understands the expedited
        removal process and the effects of withdrawing an application for admission
        or an asylum claim. Furthermore, an asylum officer must be consulted before
        an alien who has expressed a fear of return to his or her home country may
        be permitted to withdraw an asylum claim.

        If an officer permits an alien to withdraw his or her application for admission
        and elects to return the alien to Canada or Mexico, the Form 1 -275 should
        indicate the alien's status in Canada or Mexico and the basis for
        determination of that status. This determination may be based on contacts
        with Canadian or Mexican authorities, stamps in the alien's passport, or other
        available documentation. The narrative on Form 1 -275 should also indicate




                                                                                    AR00694
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22          Page 313 of 350 PageID 4906
                                           6-



       that the alien has not expressed concern about returning to Canada or
       Mexico.


       If the alien expresses any concern or reluctance about returning to Canada or
       Mexico and wishes to pursue the asylum claim in the United States, the
       officer should advise the alien that he or she will be placed in the expedited
       removal process, unless subject to section 240 proceedings by statute,
       regulation, or policy, and will be detained pending the credible fear
       determination. The alien should not be given the Form 1 -589, Application for
       Asylum and for Withholding of Removal, nor should an affirmative asylum
       interview be scheduled at the port of entry.




                                                                                  AR00695
           Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                                                                  Page 314 of 350 PageID 4907
                               U.S. Customs and Border Protection (CBP) Drug Seizures
                               US Border Patrol (USBP) and Office of Field Operations (OFO)
                              Weight (lbs) and Count of Drug Seizure Events by Fiscal Year (FY)

View Seizures by:            Component                                   Fiscal Year                       Drug Type
   Drug Seizure Weight (lb.. All                                         All                               All
   Drug Seizure Events


Region Filter                      Land Filter                           Area of Responsibility
All                                All                                   All                                      Reset Filters


FY                   2019                   2020                         2021                    2022 (FYTD)

                                        FY Drug Seizure Weight (lbs) by Month
  150K




  100K




     50K



     0K
FY          OCT      NOV       DEC       JAN       FEB     MAR            APR       MAY       JUN       JUL       AUG     SEP       Total

2022        81,370   71,095                                                                                                        152,464
(FYTD)

2021        98,209   66,801    68,851   59,793    89,272   87,784        63,998     88,615   93,331    77,217   74,796    44,660   913,326



2020        65,721   87,751    93,490   61,884    61,400   146,029       54,615     77,602   118,989   78,449   120,824   92,495   1,059,249



2019        54,573   67,967    78,471   64,044    80,933   73,158        62,181     65,754   127,634   62,930   97,658    66,012   901,315



                        FY Comparison by Drug Type and Drug Seizure Weight (lbs)

Select drug type below or FY to filter:                                    Multiple values


                                           2021                                                                               319,447
 Marijuana
                                           2022 (FYTD)                     26,602

                                           2021                                                         190,861
 Methamphetamine
                                           2022 (FYTD)                            58,316

                                           2021                                         97,638
 Cocaine
                                           2022 (FYTD)                9,690

                                           2021                          11,201
 Fentanyl
                                           2022 (FYTD)               2,158

                                           2021                      5,400
 Heroin
                                           2022 (FYTD)               277

                                           2021                                                           202,820
 Khat (Catha Edulis)
                                           2022 (FYTD)                       38,214

                                           2021                          10,848
 Ketamine
                                           2022 (FYTD)               6,556

                                           2021                      1,201
 Ecstasy
                                           2022 (FYTD)               204

                                           2021                      38
 LSD
                                           2022 (FYTD)               3

                                           2021                                     73,872
 Other Drugs*
                                           2022 (FYTD)                   10,446




Source: USBP and OFO Official year end reporting for FY19-FY21. USBP and OFO month end reporting for FY22 to date.
Data is current as of 12/3/2021.
Note: The Methamphetamine drug type includes both Methamphetamine and Crystal Methamphetamine.
*Other Drugs category for OFO includes but is not limited to: Amphetamine, Ephedrine, Hashish, Marijuana Plants, Opium,
Oxycodone (Oxycontin), Precursor Chemicals, Prescription, Chemical, & Other Uncategotized Drugs. For a full list please
contact CBP Media Relations.
*Other Drugs category for USBP inculdes: All drugs seized by USBP except Cocaine, Fentanyl, Heroin, Marijuana,
Methamphetamine, and Ecstasy




                                                                                                                                                                 AR00696
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                     Secretary
                                                                  Page 315   of 350 PageID 4908
                                                                        U.S. Department of Homeland Security
                                                                        Washington, DC 20528




                                       June 12, 2019


 MEMORANDUM FOR:               David P. Pekoske
                               Senior Official Performing the Duties of the Deputy Secretary

 FROM:                          evin . McAleenan
                               Acting Secretary

 SUBJECT:                      Review of Migrant Protection Protocols Policy and Implementation


 As Acting Secretary, it is my priority that our enforcement of the law is done with integrity,
 transparency, and respect for all people we encounter. In light of the ongoing humanitarian and
 border security crisis along the Southwest Border, we are employing all of the legal tools
 provided by Congress, including the provision of the Immigration and Nationality Act that
 provides that migrants who are inadmissible to the United States may remain in Mexico during
 the pendency of their removal proceedings. The Department has carefully crafted a policy regime
 to lawfully implement what we have called the Migrant Protection Protocols, and has done so to
 protect those involved from harm as well as provide for due process under the law. As we move
 forward with the expansion of MPP, I request that you form a committee of senior leaders in the
 Department to do a top-down review of MPP’s policies and implementation strategy, and provide
 overall recommendations to increase the effectiveness of the program.

 I ask you to chair the committee and include senior leaders from the Office of Management, the
 Office of Civil Rights and Civil Liberties, the Office of General Counsel, the Privacy Office, the
 Judge Advocate General and Chief Counsel Office, U.S. Coast Guard, and any other senior
 leader that you deem appropriate. While some of these entities were involved with the planning
 and implementation of MPP, committee members should have had little to no involvement
 developing policy or with implementing MPP to date.

 In order to ensure a thorough review, the committee is advised to conduct interviews with subject
 matter experts from the Office of Strategy, Policy, and Plans, and employees from DHS
 operational components with first-hand knowledge and experience of the program’s
 implementation. Headquarters and operational components are directed to fully comply with the
 committee’s requests for interviews and supporting documents. John Gountanis will act as
 Headquarters’ liaison and will provide support to the committee as needed.

 Given the urgency of this matter, I look forward to reviewing the committee’s summary of
 findings and recommendations for improvement within 30 days of the committee’s formation
 and initial meeting. Thank you in advance for your work on this review and associated
 recommendations for improvement.


                                                                                            AR00697
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                 Secretary
                                                                              Page 316   of 350 PageID 4909
                                                                                      U.S. Department of Homeland Security
                                                                                      Washington, DC 20528




                                              November 8, 2019

 MEMORANDUM FOR:                     Acting Commissioner
                                     U.S. Customs and Border Protection

                                     Acting Director
                                     U.S. Immigration and Customs Enforcement

                                     Acting Director
                                     U.S. Citizenship and Immigration Services

 FROM:                               Kevin K. McAleenan
                                     Acting Secretary

 SUBJECT:                            Review of Migrant Protection Protocols Policy and
                                     Implementation - Final Recommendations


 As Acting Secretary, it is my priority that our enforcement of the law is done with integrity,
 transparency, and respect for all people we encounter. With this in mind, earlier this year I
 directed the Acting Deputy Secretary to form a committee of senior leaders in the Department to
 conduct a top-down review of MPP’s policies and implementation strategy, and provide overall
 recommendations to increase the effectiveness of the program. It is critical to the success of this
 program that we periodically review our policies and procedures.

 The Acting Deputy Secretary convened a group of dedicated officials who did not have
 involvement in the implementation of MPP. These officials reviewed relevant policy and
 implementation documentation, conducted multiple interviews, and participated in site visits at
 various locations where MPP is implemented. The committee produced a number of thoughtful
 recommendations that highlighted areas where the program may become more effective and
 efficient, while maintaining the integrity of the program and safeguarding the rights of aliens
 who are in removal proceedings. I am grateful to the committee for their efforts.

 I find that these detailed recommendations fall into three categories:

     1. Screening, Processing, and Assessing the Amenability of Aliens for MPP;
     2. Facilitating Access to Counsel and Safeguards Throughout the MPP Process; and
     3. Fear Screenings, Information Sharing, and Measuring Success of the Program.1


 1
   For those recommendations that fall outside the purview of the Department and are within the jurisdiction of our
 inter-agency partners, I direct the Acting Deputy Secretary to forward those recommendations to our partners for
 consideration and action.



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 Review
Case    of Migrant Protection
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                                                                      317 of   Recommendations
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 Page 2



 Within 30 days of the date of this memorandum, I direct your Components to deliver one unified
 action plan outlining how the Department will enhance the implementation of MPP in
 accordance with these recommendations. Within 90 days, I direct the completion of action items
 contained within that plan.

 Attachment




                                                                                      AR00699
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                       Page 318 of 350 PageID 4911



                       Assessment of the Migrant Protection Protocols (MPP)
                                         October 28, 2019

     I.    Overview and Legal Basis

 The Department of Homeland Security (DHS) remains committed to using all available tools to
 address the unprecedented security and humanitarian crisis at the southern border of the United
 States.

       •   At peak of the crisis in May 2019, there were more than 4,800 aliens crossing the border
           daily—representing an average of more than three apprehensions per minute.

       •   The law provides for mandatory detention of aliens who unlawfully enter the United
           States between ports of entry if they are placed in expedited removal proceedings.
           However, resource constraints during the crisis, as well as other court-ordered limitations
           on the ability to detain individuals, made many releases inevitable, particularly for aliens
           who were processed as members of family units.

 Section 235(b)(2)(C) of the Immigration and Nationality Act (INA) authorizes the Department of
 Homeland Security to return certain applicants for admission to the contiguous country from
 which they are arriving on land (whether or not at a designated port of entry), pending removal
 proceedings under INA § 240.

       •   Consistent with this express statutory authority, DHS began implementing the Migrant
           Protection Protocols (MPP) and returning aliens subject to INA § 235(b)(2)(C) to
           Mexico, in January 2019.

       •   Under MPP, certain aliens who are nationals and citizens of countries other than Mexico
           (third-country nationals) arriving in the United States by land from Mexico who are not
           admissible may be returned to Mexico for the duration of their immigration proceedings.

 The U.S. government initiated MPP pursuant to U.S. law, but has implemented and expanded the
 program through ongoing discussions, and in close coordination, with the Government of
 Mexico (GOM).

       •   MPP is a core component of U.S. foreign relations and bilateral cooperation with GOM
           to address the migration crisis across the shared U.S.-Mexico border.

       •   MPP expansion was among the key “meaningful and unprecedented steps” undertaken by
           GOM “to help curb the flow of illegal immigration to the U.S. border since the launch of
           the U.S.-Mexico Declaration in Washington on June 7, 2019.”1



 1
  https://www.whitehouse.gov/briefings-statements/readout-vice-president-mike-pences-meeting-mexican-foreign-
 secretary-marcelo-ebrard/

                                                       1

                                                                                                    AR00700
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                        Page 319 of 350 PageID 4912



        •   On September 10, 2019, Vice President Pence and Foreign Minister Ebrard “agree[d] to
            implement the Migrant Protection Protocols to the fullest extent possible.”2

        •   Therefore, disruption of MPP would adversely impact U.S. foreign relations—along with
            the U.S. government’s ability to effectively address the border security and humanitarian
            crisis that constitutes an ongoing national emergency.3


     II.    MPP Has Demonstrated Operational Effectiveness

 In the past nine months—following a phased implementation, and in close coordination with
 GOM—DHS has returned more than 55,000 aliens to Mexico under MPP. MPP has been an
 indispensable tool in addressing the ongoing crisis at the southern border and restoring integrity
 to the immigration system.

        Apprehensions of Illegal Aliens are Decreasing

        •   Since a recent peak of more than 144,000 in May 2019, total enforcement actions—
            representing the number of aliens apprehended between points of entry or found
            inadmissible at ports of entry—have decreased by 64%, through September 2019.

        •   Border encounters with Central American families—who were the main driver of the
            crisis and comprise a majority of MPP-amenable aliens—have decreased by
            approximately 80%.

        •   Although MPP is one among many tools that DHS has employed in response to the
            border crisis, DHS has observed a connection between MPP implementation and
            decreasing enforcement actions at the border—including a rapid and substantial decline
            in apprehensions in those areas where the most amenable aliens have been processed and
            returned to Mexico pursuant to MPP.


        MPP is Restoring Integrity to the System

        •   Individuals returned to Mexico pursuant to MPP are now at various stages of their
            immigration proceedings: some are awaiting their first hearing; some have completed
            their first hearing and are awaiting their individual hearing; some have received an order
            of removal from an immigration judge and are now pursuing an appeal; some have
            established a fear of return to Mexico and are awaiting their proceedings in the United
            States; some have been removed to their home countries; and some have withdrawn
            claims and elected to voluntarily return to their home countries.

 2
   https://www.whitehouse.gov/briefings-statements/readout-vice-president-mike-pences-meeting-mexican-foreign-
 secretary-marcelo-ebrard/
 3
   https://www.whitehouse.gov/presidential-actions/presidential-proclamation-declaring-national-emergency-
 concerning-southern-border-united-states/

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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22               Page 320 of 350 PageID 4913




    •   MPP returnees with meritorious claims can be granted relief or protection within months,
        rather than remaining in limbo for years while awaiting immigration court proceedings in
        the United States.

        o The United States committed to GOM to minimize the time that migrants wait in
          Mexico for their immigration proceedings. Specifically, the Department of Justice
          (DOJ) agreed to treat MPP cases such as detained cases such that they are prioritized
          according to longstanding guidance for such cases.

        o The first three locations for MPP implementation—San Diego, Calexico, and El
          Paso—were chosen because of their close proximity to existing immigration courts.

        o After the June 7, 2019, Joint Declaration between GOM and the United States
          providing for expansion of MPP through bilateral cooperation, DHS erected
          temporary, dedicated MPP hearing locations at ports of entry in Laredo and
          Brownsville, in coordination with DOJ, at a total six-month construction and
          operation cost of approximately $70 million.

        o Individuals processed in MPP receive initial court hearings within two to four
          months, and—as of October 21, 2019—almost 13,000 cases had been completed at
          the immigration court level.

        o A small subset of completed cases have resulted in grants of relief or protection,
          demonstrating that MPP returnees with meritorious claims can receive asylum, or any
          relief or protection for which they are eligible, more quickly via MPP than under
          available alternatives.

        o Individuals not processed under MPP generally must wait years for adjudication of
          their claims. There are approximately one million pending cases in DOJ immigration
          courts. Assuming the immigration courts received no new cases and completed
          existing cases at a pace of 30,000 per month—it would take several years, until
          approximately the end of 2022, to clear the existing backlog.

    •   MPP returnees who do not qualify for relief or protection are being quickly removed
        from the United States. Moreover, aliens without meritorious claims—which no longer
        constitute a free ticket into the United States—are beginning to voluntarily return home.

        o According to CBP estimates, approximately 20,000 people are sheltered in northern
          Mexico, near the U.S. border, awaiting entry to the United States. This number—
          along with the growing participation in an Assisted Voluntary Return (AVR) program
          operated by the International Organization for Migration (IOM), as described in more
          detail below—suggests that a significant proportion of the 55,000+ MPP returnees
          have chosen to abandon their claims.



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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22               Page 321 of 350 PageID 4914




 III.   Both Governments Endeavor to Provide Safety and Security for Migrants

    •   The Government of Mexico (GOM) has publicly committed to protecting migrants.

        o A December 20, 2018, GOM statement indicated that “Mexico will guarantee that
          foreigners who have received their notice fully enjoy the rights and freedoms
          recognized in the Constitution, in the international treaties to which the Mexican State
          is a party, as well as in the current Migration Law. They will be entitled to equal
          treatment without any discrimination and due respect to their human rights, as well as
          the opportunity to apply for a work permit in exchange for remuneration, which will
          allow them to meet their basic needs.”

           ▪   Consistent with its commitments, GOM has accepted the return of aliens
               amenable to MPP. DHS understands that MPP returnees in Mexico are provided
               access to humanitarian care and assistance, food and housing, work permits, and
               education.

           ▪   GOM has launched an unprecedented enforcement effort bringing to justice
               transnational criminal organizations (TCOs) who prey on migrants transiting
               through Mexico—enhancing the safety of all individuals, including MPP-
               amenable aliens.

        o As a G-20 country with many of its 32 states enjoying low unemployment and crime,
          Mexico’s commitment should be taken in good faith by the United States and other
          stakeholders. Should GOM identify any requests for additional assistance, the United
          States is prepared to assist.

    •   Furthermore, the U.S. government is partnering with international organizations offering
        services to migrants in cities near Mexico’s northern border.

        o In September 2019, the U.S. Department of State Bureau of Population, Refugees,
          and Migration (PRM) funded a $5.5 million project by IOM to provide shelter in
          cities along Mexico’s northern border to approximately 8,000 vulnerable third-
          country asylum seekers, victims of trafficking, and victims of violent crime in cities
          along Mexico’s northern border.

        o In late September 2019, PRM provided $11.9 million to IOM to provide cash-based
          assistance for migrants seeking to move out of shelters and into more sustainable
          living.

    •   The U.S. Government is also supporting options for those individuals who wish to
        voluntarily withdraw their claims and receive free transportation home. Since November
        2018, IOM has operated its AVR program from hubs within Mexico and Guatemala,
        including Tijuana and Ciudad Juarez. PRM has provided $5 million to IOM to expand
        that program to Matamoros and Nuevo Laredo and expand operations in other Mexican

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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                Page 322 of 350 PageID 4915



        northern border cities. As of mid-October, almost 900 aliens in MPP have participated in
        the AVR program.

    •   The United States’ ongoing engagement with Mexico is part of a larger framework of
        regional collaboration. Just as United Nations High Commissioner for Refugees has
        called for international cooperation to face the serious challenges in responding to large-
        scale movement of migrants and asylum-seekers travelling by dangerous and irregular
        means, the U.S. Government has worked with Guatemala, El Salvador, and Honduras to
        form partnerships on asylum cooperation (which includes capacity-building assistance),
        training and capacity building for border security operations, biometrics data sharing and
        increasing access to H-2A and H-2B visas for lawful access to the United States.



 IV.    Screening Protocols Appropriately Assess Fear of Persecution or Torture

    •   When a third-country alien states that he or she has a fear of persecution or torture in
        Mexico, or a fear of return to Mexico, the alien is referred to U.S. Citizenship &
        Immigration Services (USCIS). Upon referral, USCIS conducts an MPP fear-assessment
        interview to determine whether it is more likely than not that the alien will be subject to
        torture or persecution on account of a protected ground if returned to Mexico.

           o MPP fear assessments are conducted consistent with U.S. law implementing the
             non-refoulement obligations imposed on the United States by certain international
             agreements and inform whether an alien is processed under—or remains—in
             MPP.

           o As used here, “persecution” and “torture” have specific international and
             domestic legal meanings distinct from fear for personal safety.

    •   Fear screenings are a well-established part of MPP. As of October 15, 2019, USCIS
        completed over 7,400 screenings to assess a fear of return to Mexico.

           o That number included individuals who express a fear upon initial encounter, as
             well as those who express a fear of return to Mexico at any subsequent point in
             their immigration proceedings, including some individuals who have made
             multiple claims.

           o Of those, approximately 13% have received positive determinations and 86%
             have received negative determinations.

           o Thus, the vast majority of those third-country aliens who express fear of return to
             Mexico are not found to be more likely than not to be tortured or persecuted on
             account of a protected ground there. This result is unsurprising, not least because
             aliens amenable to MPP voluntarily entered Mexico en route to the United States.


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                                                                                          AR00704
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                Page 323 of 350 PageID 4916



  V.    Summary and Conclusion

 In recent years, only about 15% of Central American nationals making asylum claims have been
 granted relief or protection by an immigration judge. Similarly, affirmative asylum grant rates
 for nationals of Guatemala, El Salvador, and Honduras were approximately 21% in Fiscal Year
 2019. At the same time, there are—as noted above—over one million pending cases in DOJ
 immigration courts, in addition to several hundred thousand asylum cases pending with USCIS.

 These unprecedented backlogs have strained DHS resources and challenged its ability to
 effectively execute the laws passed by Congress and deliver appropriate immigration
 consequences: those with meritorious claims can wait years for protection or relief, and those
 with non-meritorious claims often remain in the country for lengthy periods of time.

 This broken system has created perverse incentives, with damaging and far-reaching
 consequences for both the United States and its regional partners. In Fiscal Year 2019, certain
 regions in Guatemala and Honduras saw 2.5% of their population migrate to the United States,
 which is an unsustainable loss for these countries.

 MPP is one among several tools DHS has employed effectively to reduce the incentive for aliens
 to assert claims for relief or protection, many of which may be meritless, as a means to enter the
 United States to live and work during the pendency of multi-year immigration proceedings.
 Even more importantly, MPP also provides an opportunity for those entitled to relief to obtain it
 within a matter of months. MPP, therefore, is a cornerstone of DHS’s ongoing efforts to restore
 integrity to the immigration system—and of the United States’ agreement with Mexico to
 address the crisis at our shared border.




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22              Page 324 of 350 PageID 4917




                  Appendix A: Additional Analysis of MPP Fear-Assessment Protocol


 U.S. Citizenship and Immigration Services (USCIS) strongly believes that if DHS were to
 change its fear-assessment protocol to affirmatively ask an alien amenable to MPP whether he or
 she fears return to Mexico, the number of fraudulent or meritless fear claims will significantly
 increase. This prediction is, in large part, informed by USCIS’s experience conducting credible
 fear screenings for aliens subject to expedited removal. Credible fear screenings occur when an
 alien is placed into expedited removal under section 235(b)(1) of the Immigration and
 Nationality Act – a streamlined removal mechanism enacted by Congress to allow for prompt
 removal of aliens who lack valid entry documents or who attempt to enter the United States by
 fraud – and the alien expresses a fear of return to his or her home country or requests asylum.
 Under current expedited removal protocol, the examining immigration officer – generally U.S.
 Customs and Border Protection officers at a port of entry or Border Patrol agents – read four
 questions, included on Form I-867B, to affirmatively ask each alien subject to expedited removal
 whether the alien has a fear of return to his or her country of origin.4

 The percentage of aliens subject to expedited removal who claimed a fear of return or requested
 asylum was once quite modest. However, over time, seeking asylum has become nearly a default
 tactic used by undocumented aliens to secure their release into the United States. For example,
 in 2006, of the 104,440 aliens subjected to expedited removal, only 5% (5,338 aliens) were
 referred for a credible fear interview with USCIS. In contrast, 234,591 aliens were subjected to
 expedited removal in 2018, but 42% (or 99,035) were referred to USCIS for a credible fear
 interview, significantly straining USCIS resources.

 Table A1: Aliens Subject to Expedited Removal and Share Making Fear Claims, FY 2006 - 2018

                Fiscal Year       Subjected to   Referred for a      Percentage
                                  Expedited      Credible Fear       Referred for
                                  Removal        Interview           Credible Fear
                2006              104,440        5,338               5%
                2007              100,992        5,252               5%
                2008              117,624        4,995               4%
                2009              111,589        5,369               5%
                2010              119,876        8,959               7%
                2011              137,134        11,217              8%
                2012              188,187        13,880              7%
                2013              241,442        36,035              15%
                2014              240,908        51,001              21%
                2015              192,120        48,052              25%
                2016              243,494        94,048              39%
                2017              178,129        78,564              44%
                2018              234,591        99,035              42%

 4
     See 8 C.F.R.§ 235.3(b)(2).

                                                 7

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  Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                           Page 325 of 350 PageID 4918




    Transitioning to an affirmative fear questioning model for MPP-amenable aliens would likely
    result in a similar increase. Once it becomes known that answering “yes” to a question can
    prevent prompt return to Mexico under MPP, DHS would experience a rise in fear claims similar
    to the expedited removal/credible fear process. And, affirmatively drawing out this information
    from aliens rather than reasonably expecting them to come forward on their own initiative could
    well increase the meritless fear claims made by MPP-amenable aliens.

    It also bears emphasis that relatively small proportions of aliens who make fear claims ultimately
    are granted asylum or another form of relief from removal. Table A2 describes asylum outcomes
    for aliens apprehended or found inadmissible on the Southwest Border in fiscal years 2013 –
    2018. Of the 416 thousand aliens making fear claims during that six-year period, 311 thousand
    (75 percent) had positive fear determinations, but only 21 thousand (7 percent of positive fear
    determinations) had been granted asylum or another form of relief from removal as of March 31,
    2019, versus 72 thousand (23 percent) who had been ordered removed or agreed to voluntary
    departure. (Notably, about 70 percent of aliens with positive fear determinations in FY 2013 –
    2018 remained in EOIR proceedings as of March 31, 2019.)

    Table A2: Asylum Outcomes, Southwest Border Encounters, FY 2013 – 2018

Year of Encounter                            2013       2014       2015       2016       2017       2018        Total
Total Encounters                             490,093    570,832    446,060    560,432    416,645    522,626     3,006,688
Subjected to ER                              225,426    222,782    180,328    227,382    160,577    214,610     1,231,105
              1
Fear Claims                                  39,648     54,850     50,588     98,265     72,026     100,756     416,133
 Positive Fear Determinations2               31,462     36,615     35,403     76,005     55,251     75,856      310,592
                                  3
 Asylum Granted or Other Relief              3,687      4,192      3,956      4,775      2,377      2,168       21,155
                                             11.7%      11.4%      11.2%      6.3%       4.3%       2.9%        6.8%
 Removal Orders4                             9,980      11,064     9,466      17,700     12,130     11,673      72,013
                                             31.7%      30.2%      26.7%      23.3%      22.0%      15.4%       23.2%
 Asylum Cases Pending                        17,554     21,104     21,737     53,023     40,586     61,918      215,922
                                             55.8%      57.6%      61.4%      69.8%      73.5%      81.6%       69.5%
 Other                                       241        255        244        507        158        97          1,502

    Source: DHS Office of Immigration Statistics Enforcement Lifecycle.
         Notes for Table A2: Asylum outcomes are current as of March 31, 2019.
         1
           Fear claims include credible fear cases completed by USCIS as well as individuals who claimed fear
         at the time of apprehension but who have no record of a USCIS fear determination, possibly because
         they withdrew their claim.
         2
           Positive fear determinations include positive determinations by USCIS as well as negative USCIS
         determinations vacated by EOIR.
         3
           Asylum granted or other relief includes withholding of removal, protection under the Convention
         Against Torture, Special Immigrant Juvenile status, cancelation of removal, and other permanent
         status conferred by EOIR.
         4
           Removal orders include completed repatriations and unexecuted orders of removal and grants of
         voluntary departure.



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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                            Page 326 of 350 PageID 4919



 Implementing MPP assessments currently imposes a significant resource burden to DHS. As of
 October 15, 2019, approximately 10% of individuals placed in MPP have asserted a fear of
 return to Mexico and have been referred to an asylum officer for a MPP fear assessment. The
 USCIS Asylum Division assigns on average approximately 27 asylum officers per day to handle
 this caseload nationwide. In addition, the Asylum Division must regularly expend overtime
 resources after work hours and on weekends to keep pace with the same-day/next-day processing
 requirements under MPP. This workload diverts resources from USCIS’s affirmative asylum
 caseload, which currently is experiencing mounting backlogs.

 Most importantly, DHS does not believe amending the process to affirmatively ask whether an
 alien has a fear of return to Mexico is necessary in order to properly identify aliens with
 legitimate fear claims in Mexico because under DHS’s current procedures, aliens subject to MPP
 may raise a fear claim to DHS at any point in the MPP process. Aliens are not precluded
 from receiving a MPP fear assessment from an asylum officer if they do not do so initially upon
 apprehension or inspection, and many do. As of October 15, 20195, approximately 4,680 aliens
 subject to MPP asserted a fear claim and received an MPP fear-assessment after their initial
 encounter or apprehension by DHS, with 14% found to have a positive fear of return to Mexico.
 Additionally, Asylum Division records indicate as of October 15, 20196, approximately 618
 aliens placed into MPP have asserted multiple fear claims during the MPP process (from the
 point of placement into MPP at the initial encounter or apprehension) and have therefore
 received multiple fear assessments to confirm whether circumstances have changed such that the
 alien should not be returned to Mexico. Of these aliens, 14% were found to have a positive fear
 of return to Mexico.

 Additionally, asylum officers conduct MPP fear assessments with many of the same safeguards
 provided to aliens in the expedited removal/credible fear context. For example, DHS officers
 conduct MPP assessment interviews in a non-adversarial manner, separate and apart from the
 general public, with the assistance of language interpreters when needed.7

 In conducting MPP assessments, asylum officers apply a “more likely than not” standard, which
 is a familiar standard. “More likely than not” is equivalent to the “clear probability” standard for
 statutory withholding and not unique to MPP. Asylum officers utilize the same standard in the
 reasonable fear screening process when claims for statutory withholding of removal and
 protection under the Convention Against Torture (CAT).8 The risk of harm standard for
 withholding (or deferral) of removal under the Convention Against Torture (CAT) implementing
 regulations is the same, i.e., “more likely than not.”9 In addition to being utilized by asylum


 5
   USCIS began tracking this information on July 3, 2019.
 6
   USCIS began tracking this information on July 3, 2019.
 7
   USCIS Policy Memorandum PM-602-0169, Guidance for Implementing Section 235(b)(2)(C) of the Immigration
 and Nationality Act and the Migrant Protection Protocols, 2019 WL 365514 (Jan. 28, 2019).
 8
   See INA § 241(b)(3); 8 C.F.R. § 1208.16(b)(2) (same); See 8 C.F.R. § 1208.16(c)(2).
 9
   See 8 C.F.R. § 1208.16(c)(2); Regulations Concerning the Convention Against Torture, 64 Fed. Reg. 8478, 8480
 (Feb. 19, 1999) (detailing incorporation of the “more likely than not” standard into U.S. CAT ratification history);
 see also Matter of J-F-F-, 23 I&N Dec. 912 (BIA 2006).



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                                                                                                           AR00708
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                 Page 327 of 350 PageID 4920



 officers in other protection contexts, the “more likely than not” standard satisfies the U.S.
 government’s non-refoulement obligations.




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                                                                                            AR00709
1/20/22, 10:00 AM                               Asylum seekers cling to hope, safety in camp at U.S.-Mexico border | Reuters
         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 328 of 350 PageID 4921

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    Asylum seekers cling to hope, safety in camp at U.S.-Mexico
    border

    By Delphine Schrank




    MATAMOROS, Mexico (Reuters) - Even after he was kidnapped and robbed outside the
    makeshift migrant camp where he had slept for two weeks, Luis Osorto decided his only
    chance for eventual asylum in the United States was to stay put along the border just inside
    Mexico.




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https://www.reuters.com/article/us-usa-immigration-mexico-matamoros-feat-idUSKBN1WV1DY                                                   1/6
1/20/22, 10:00 AM                               Asylum seekers cling to hope, safety in camp at U.S.-Mexico border | Reuters
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                     migrants are seen            162-1 inFiled
                                       in an encampment         09/02/22
                                                          Matamoros, Mexico,Page    329ofofthe
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                                                                                               Gateway
    International Bridge, where migrants sent back under the "Remain in Mexico" program, oﬃcially called the
    Migrant Protection Protocols (MPP), await their U.S. asylum hearings, September 14, 2019. Picture taken
    September 14, 2019. REUTERS/Henry Romero



    But the 37-year-old Honduran made a pact with himself: not to leave the enclave of tents at the
    end of a bridge between Matamoros and Brownsville, Texas - not even to buy a bottle of water
    or to collect money transfers from his family back home.


    The cramped camp, in a partly fenced-in plaza abutting administrative buildings just feet from
    the Rio Grande, is home to approximately 1,000 migrants, many of them sent back to Mexico
    to await U.S. immigration hearings under a policy called the Migrant Protection Protocols
    (MPP) begun this year.


    After what is commonly known as an “express kidnapping” last month by men waiting in a van
    for him outside a convenience store where he was collecting a $100 transfer from relatives,
    Osorto promised himself he would only leave the camp to cross the bridge to Texas for his
    December court date with U.S. immigration authorities.


    “I just wait here and trust someone else ... to get me 70 pesos ($3.50) or so when I need it,” he
    said.


    MPP, sometimes called Remain in Mexico, is among various overlapping U.S. policies aimed at
    severely reducing asylum claims.


    President Donald Trump, whose hardline stance on immigration was a mainstay of his 2016
    campaign, has said lax U.S. asylum laws encourage people to show up at the border with their
    children.


    Before MPP, it was common practice to release arriving families into the United States to wait
    out their U.S. court hearings – something Trump and others said allowed many migrants to
    disappear into the country to live illegally. Studies by legal aid groups, such as the Urban
    Justice Center, have shown that most asylum seekers show up for their hearings, however.


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https://www.reuters.com/article/us-usa-immigration-mexico-matamoros-feat-idUSKBN1WV1DY                                                   2/6
1/20/22, 10:00 AM                               Asylum seekers cling to hope, safety in camp at U.S.-Mexico border | Reuters
         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 330 of 350 PageID 4923
    More than 51,000 people, mainly from Central America, have been sent to Mexico since the
    MPP program started in January, according to U.S. Customs and Border Protection.


    But reports of kidnapping and extortion have increased since the program was expanded to
    Matamoros and nearby Nuevo Laredo in crime-wracked Tamaulipas state.


    Human Rights First, a U.S.-based rights group, in August documented 110 publicly reported
    cases of rape, kidnapping, sexual exploitation and other violence against MPP returnees.


    In Matamoros, violence and abuse targeting migrants means many in the MPP program refuse
    to move to a shelter in the city during their long waits for a U.S. court hearing.


    Since July, Matamoros has received more than 12,000 asylum seekers under MPP, said Enrique
    Maciel, of the Tamaulipas Institute for Migrants, a state agency.


    Matamoros Mayor Mario Lopez described the city as calmer than neighboring towns, because
    of a truce between two rival drug cartels. Elsewhere in the state, gangs regularly ﬁght pitched
    battles for turf.


    Reuters spoke to six asylum seekers at Osorto’s camp who said they had been kidnapped or
    extorted, and several more who had brushes with suspected criminals near the border or
    elsewhere within Mexico.


    Oscar Ramirez, a 30-year-old Honduran waiting for a U.S. court date on Dec. 2, said three
    Mexican men surrounded him around midnight last month, and began interrogating him on his
    plans and his paperwork, he said.


    “I was terriﬁed,” said Ramirez, who said he ran away from the men when a crowd of people
    arrived. “The rumors circulating are that at any moment unknown people will kidnap you.”


    Reuters was unable to independently corroborate the migrants’ stories. Osorto said he did not
    report the attack on him to police.


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https://www.reuters.com/article/us-usa-immigration-mexico-matamoros-feat-idUSKBN1WV1DY                                                   3/6
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         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 331 of 350 PageID 4924




    Slideshow ( 7 images )


    Kristin Clarens, a U.S. attorney who advises asylum-seekers at the border, said she had come
    across ﬁve cases of migrants in Matamoros awaiting MPP hearings who were kidnapped brieﬂy.
    They were taken to an ATM to clear out their accounts or forced to phone relatives to send
    cash transfers to a nearby convenience store.


    A spokesman for Mexico’s National Institute for Migration said it had no data on such
    complaints. Mexico’s national rights ombudsman said it was checking for data.


    The Tamaulipas state Attorney General’s Oﬃce and the federal Attorney General’s Oﬃce
    declined to comment. The U.S. Department of Homeland Security did not respond to requests
    for comment about the dangers in Tamaulipas.




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https://www.reuters.com/article/us-usa-immigration-mexico-matamoros-feat-idUSKBN1WV1DY                                                   4/6
1/20/22, 10:00 AM                               Asylum seekers cling to hope, safety in camp at U.S.-Mexico border | Reuters
         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 332 of 350 PageID 4925
    TOO AFRAID TO GO TO SHELTER

    In Osorto’s camp, asylum seekers use water from the Rio Grande to wash, despite outbreaks of
    rashes. Women pay a small fee to use a nearby toilet. For food, tents, and the occasional yoga
    mat to lie on they depend on volunteers from across the border.


    At night, couples take turns keeping watch over their children, fearful criminals will snatch
    them if they both sleep.


    Early last month, a Honduran mother and daughter seeking asylum drowned in the river near
    the camp, in what the Honduran foreign ministry said was an act of desperation after three
    month’s wait in Mexico.


    Glady Canas, director of Matamoros-based migrant-aid nonproﬁt Helping Them to Triumph,
    said she has tried in vain to convince families to move into the city’s lone migrant shelter and
    its neat dormitories.


    “ATTACKING OUR MINDS”


    A U.S. Supreme Court decision last month allowed the Trump administration to reject asylum
    for anyone who passed through a third country, such as Mexico, and did not apply for asylum
    there.


    Trump had earlier threatened to impose tariﬀs on Mexico unless it stopped more migrants,
    and the U.S. neighbor has since used its military police to contain migration northward.



    Clarens, the U.S. attorney, said Trump’s policies were eﬀectively blocking most routes to
    asylum.


    “It’s like a complicated chess game and this is like checkmate,” she said.




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https://www.reuters.com/article/us-usa-immigration-mexico-matamoros-feat-idUSKBN1WV1DY                                                   5/6
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         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 333 of 350 PageID 4926
    In the Matamoros camp, asylum-seekers fret on a shared What’s App group, or aloud, while
    trying to discern U.S. policy means for them.


    “They are attacking our minds,” 27-year-old Oscar Borjas, said of shifting U.S. policy, shuﬄing
    a deck of cards late one night in an alleyway between tents.


    Osorto, who ﬂed violence in San Pedro Sula, Honduras, said fear and a feeling of being
    powerless were inescapable.


    “We don’t go downtown because they say it’s more dangerous,” he said. But wincing as he
    glanced out over the tents, he added: “There’s nothing to do here.”


    Reporting by Delphine Schrank; Editing by Daniel Flynn and Tom Brown


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       Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                    Page 334 of 350 PageID 4927


                                   Democracy Dies in Darkness




By Kevin Sie

April 24, 2021 at 12:16 p.m. EDT




MATAMOROS, Mexico — Carolina had memorized the date, but she triple-checked her documents just to make sure.
For months, her life had revolved around the court hearing at which she could finally make her asylum claim.

Like tens of thousands of asylum seekers who reached the U.S. border during the Trump administration, the 36-year-
old from Honduras had been sent to wait in Mexico for her immigration hearing. She was told to return to the border
on her court date.

So on Feb. 26, 2020, she woke up early and put on her best blouse. She said a short prayer. But not long after her bus
left for Laredo, Tex., gunmen stopped the vehicle. They kidnapped Carolina and her 15-year-old daughter, took them to
a stash house packed with other kidnapped migrants and demanded thousands of dollars in ransom.

By the time they were released a few days later, Carolina had missed her day in court.

Her asylum case, it turned out, had been closed in absentia because she hadn’t shown up. Of the 68,000 asylum cases
processed under the Trump-era Migrant Protection Protocols, the policy also know as “Remain in Mexico,” 28,000
were closed for the same reason: Because asylum seekers didn’t present themselves.

Many missed their court dates because they were kidnapped and held hostage, or detained by Mexican officials, or
because they couldn’t find a safe way to get to the border in the middle of the night, when most were told to arrive for
their hearings, according to lawyers, advocates and the migrants themselves. Some had medical emergencies related to
the conditions in which they waited. An untold number, their asylum cases now closed, remain in hiding in northern
Mexico.

The Biden administration ended MPP in February and is now bringing those whose cases remain active into the United
States. But unwinding the policy has proved complicated.




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       Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                    Page 335 of 350 PageID 4928




Attorneys and advocates are asking the administration to reopen MPP cases that were closed in absentia and give
asylum seekers a chance to continue their applications.

“This program returned tens of thousands of asylum seekers into harm’s way and as a result many never got their day
in court,” said Cindy Woods, the managing attorney of PASA Project. “The Biden administration announced it would
end MPP, but efforts to remedy the damages it caused have only just scratched the surface.”

But while officials contend with the growing number of children and families arriving at the border, it’s unclear how
likely the White House is to revisit individual cases derailed under a Trump-era policy.

“The system to process individuals with active MPP cases is the first phase of a program to restore safe and orderly
processing at the Southwest border,” said Sarah Peck, a spokeswoman for the Department of Homeland Security. “The
U.S. is currently prioritizing individuals with active MPP cases, generally based on their MPP enrollment date, while
also considering prioritized access for certain highly vulnerable individuals. At this time, we do not have any new
announcements regarding populations who do not have active MPP cases, and the border remains closed.”

Carolina, who like others in this article spoke on the condition that her last name be withheld out of security concerns,
arrived at the border in September 2019. She and her daughter have been waiting in northern Mexico for more than a
year and a half; they seldom leave their rented apartment.

They’ve watched as friends and acquaintances who were also processed under MPP are brought into the United States,
but their own fate is unclear. When a U.S. court closes an asylum case in absentia, it issues a removal order that bans
the migrant from seeking U.S. immigration relief for 10 years.

“It’s hard to think because I was kidnapped on my way to my court hearing, I missed my only chance to make an
asylum case,” Carolina said.

MPP was started by the Trump administration on Jan. 25, 2019, and ended by the Biden administration on Feb. 11 of
this year. During that period, the New York-based advocacy group Human Rights First says, it documented “at least
1,314 public reports of violent attacks against people subjected to MPP.”




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           Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                Page 336 of 350 PageID 4929




Biden himself called the policy “inhumane.” Since February, his administration has brought 7,853 migrants whose
MPP cases remain open into the United States and enlisted the help of the United Nations to process them. About
25,000 MPP cases remain open.

But there are more migrants whose MPP cases were closed in absentia — 28,000 — than those with active MPP cases.
Some migrant families include members with open asylum cases who are permitted to enter to the United States and
members whose cases were closed in absentia.

Beatriz, a 37-year-old mother of three who fled threats of violence in El Salvador, brought her children to the border in
the hope of gaining asylum in the United States. Her son, Luis, 17, was kidnapped in northern Mexico in early 2020.
Beatriz attended her court date with her other children. She told the judge that her son had gone missing and that she
had filed a missing person’s report. But Luis’s case was closed, even as Beatriz’s remained open.

Luis has since been released. Now the family wonders if they’ll be able to cross the border together.

“I don’t want us to be separated,” Beatriz said. “It would be terrible.”

Some of the asylum seekers processed under MPP decided to return to their countries of origin rather than waiting in
northern Mexico. Others crossed the border illegally and are now living in the United States as undocumented
immigrants. Because their asylum cases were closed, they have no clear path to legal status.

Many asylum seekers remain unaware that because they missed their court dates, their cases have been closed.
Because many have no fixed address in Mexico, U.S. authorities did not mail their removal orders. Immigration
decisions are available online, but many asylum seekers do not know how to access them.

Some migrants have returned to the border to ask immigration officials about their cases, but have been given little
clarity.

Viviana, a Cuban asylum seeker waiting for her hearing in Matamoros, missed her court date because she was in the
hospital, where she suffered a second-trimester miscarriage. She was bedridden for two weeks.




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        Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                    Page 337 of 350 PageID 4930




When she was released, she said, she went to the border to speak to U.S. Customs and Border Protection agents.




“I told them, ‘Listen, this is what happened to me. This is why I missed my court date,’ ” she said. “And they just said,
‘Sorry, there’s nothing we can do. We don’t have any information.’ ”

Through an advocacy group, she was able to connect with Haiyun Damon-Feng, the director of the Adelante Pro Bono
Project and assistant director of the William H. Gates Public Service Law Program at the University of Washington
School of Law.

Damon-Feng informed Viviana that her case had been closed in absentia.

Viviana was allowed into the United States earlier this month. But her case has not been reopened, meaning she is
unable to apply for asylum and is subject to deportation.

“It’s a huge relief that some people who were issued removal orders under extreme circumstances in MPP have been
allowed into the United States, but they still don’t have access to asylum,” Damon-Feng said.

“MPP deprived people of due process and fundamental fairness,” she said. “In order to restore access to asylum in a
meaningful way, the Biden administration needs to reopen cases for people ordered removed under MPP and allow
them to pursue their claims safely from within the United States.”

Read more:

In squalid Mexico tent city, asylum seekers are growing so desperate they’re sending their children over the border
alone

When they filed their asylum claim, they were told to wait in Mexico. There, they say, they were kidnapped.

She told the U.S. immigration agent she was HIV-positive and requested asylum. She was sent back to Mexico, without
medication.




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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22   Page 338 of 350 PageID 4931




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1/20/22, 2:36 PM                                        Asylum-Seekers Stuck In Mexico While Trying To Avoid Cartels
         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 339 of 350 PageID 4932




   They Missed Their US Asylum Hearings Fearing
   The Cartel Would Kill Them. Now They’re Stuck
   In Mexico.
   "It's like seeking refuge in Canada and being sent to wait in Afghanistan where you
   might be killed."

   by Hamed Aleaziz, Adolfo Flores

   Posted on May 18, 2021, 8:17 pm
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         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 340 of 350 PageID 4933




   A Salvadoran woman seeking asylum in the United States poses for a portrait in a relative's home behind a page
   from her court documents in Tijuana, Mexico, on Nov. 5, 2019.

   Gregory Bull / AP



   On the day of her ﬁrst immigration court hearing, Veronica had two choices:
   miss her family's chance at getting asylum in the US, or return to the border
   city where the cartel had threatened to kill them.

   Veronica, an asylum-seeker from El Salvador who asked to be identiﬁed only by
   her ﬁrst name out of fear for her safety, chose to miss her court hearing and
   stay put in Mexico City. The 24-year-old said she tried calling the court to
   explain why she and her family couldn't make it, but no one ever picked up. In
   February 2020, a judge ordered them deported for not showing up.

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         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 341 of 350 PageID 4934




   "It was a horrifying feeling," Veronica told BuzzFeed News. "I cried a lot because
   we came here with such high hopes that someone would help us."

   Nearly 28,000 immigrants like Veronica and her family were ordered deported
   without them being present at their last hearing. In addition to conditions
   being too dangerous to travel to the border, some immigrants missed their
   hearings because they were kidnapped by cartels, some were denied entry
   because they were pregnant, and others were too sick. Whatever the reason, it
   didn't matter and the judges overseeing their cases ordered them deported in
   absentia.

   The Biden administration has started to undo the Migrant Protection Protocols
   (MPP) policy that sent more than 71,000 immigrants and asylum-seekers to
   wait in Mexico while a US judge ruled in their case. So far, the administration
   has mostly only allowed those with open cases to enter the US, leaving those
   with removal orders like Veronica waiting in Mexico with the hopes that one
   day it will be her turn.

   In recent weeks, Homeland Security ofﬁcials have agreed that those ordered
   deported in absentia should have their cases reopened, according to
   government documents obtained by BuzzFeed News. The move would clear the
   way for them to be allowed back into the US and pursue their asylum cases, but
   it’s unclear when this next phase of the rollback would be implemented.

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         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 342 of 350 PageID 4935




   "It's like seeking refuge in Canada and being sent to wait in Afghanistan where
   you might be killed," Dante, a 26-year-old asylum-seeker from Cuba, told
   BuzzFeed News. "But if you don't show up to your hearing, you get ordered
   deported. One way or another, you get screwed."

   Dante, who asked to be identiﬁed only by his ﬁrst name fearing retaliation in
   Mexico and Cuba, and his girlfriend missed their asylum hearing in October
   2019, a month after nearly being kidnapped in a Mexican border town. A judge
   also ordered them deported in absentia.

   The process to reopen the cases can be particularly time intensive, and DHS
   ofﬁcials have been concerned that forcing government attorneys to ﬁle
   thousands of reopening motions could overwhelm staff.

   A DHS spokesperson said the system to process people with active cases is the
   “ﬁrst phase” of a program to “restore safe and orderly processing at the
   Southwest border.”

   “The US is currently prioritizing individuals with active MPP cases, generally
   based on their MPP enrollment date, while also considering prioritized access
   for certain highly vulnerable individuals,” the spokesperson said, adding that,
   at this time, “we do not have any new announcements regarding populations
   who do not have active MPP cases.”

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1/20/22, 2:36 PM                                        Asylum-Seekers Stuck In Mexico While Trying To Avoid Cartels
         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 343 of 350 PageID 4936
   “The Biden administration has made it clear that our borders are not open,
   people should not make the dangerous journey, and individuals and families
   are subject to border restrictions, including expulsion,” the spokesperson said.




   Asylum-seekers in the Remain in Mexico policy living inside a makeshift camp in the Mexican city of
   Matamoros.

   Daniel Becerril / Reuters



   So far, nearly 8,400 immigrants who had been forced to remain in Mexico
   under MPP have been able to enter the US under a process started by the Biden
   administration, according to an analysis from the Transactional Records
   Access Clearinghouse (TRAC) at Syracuse University. For the most part, only
   those with active cases have been able to apply to be allowed into the US, and
   according to the analysis, as of the end of April, 18,087 people still remained in
   Mexico with open cases who in theory could register to be allowed into the
   United States.

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         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 344 of 350 PageID 4937
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   Attorneys and advocates who worked with immigrants in MPP said the Trump
   administration's policy effectively weaponized geography to make it nearly
   impossible for people to win their asylum cases. In addition to having little
   access to attorneys or legal guidance, asylum-seekers were expected to wait
   months, if not years, in Mexican cities known for the kidnapping, rape, and
   killing of immigrants.

   On Monday night, an asylum-seeker who was forced to wait in Mexico under
   MPP was fatally shot in Ciudad Juárez just a few days before he was to be
   allowed into the US by the Biden administration.

   Human Rights First has counted at least 1,544 public reports of murder, rape,
   and other attacks committed against people in MPP. But in only about 2% of
   cases decided by a judge were immigrants able to get some type of relief like
   asylum.

   The uncertainty of if or when Veronica and her family will be able to pursue
   their asylum case within the US weighs on her, particularly because of the
   dangers immigrants face in Mexico. She didn't want to miss her court hearing,
   Veronica said, but the family also didn't want to risk their lives. Moments after
   Veronica, her husband, and her then–2-year-old daughter were sent back to
   the Mexican border city of Nuevo Laredo in November 2019, they were
                                                                                                                       AR00726
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1/20/22, 2:36 PM                                        Asylum-Seekers Stuck In Mexico While Trying To Avoid Cartels
         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 345 of 350 PageID 4938
   kidnapped by the local cartel. After days of threats and abuse, they were
   released, but warned that if they ever returned to any part of the border, they
   would be killed. Their kidnappers had taken photos of them and their personal
   information.

   Veronica and her family eventually moved from Mexico City to Mexicali,
   another border city, with the hopes of getting help from a legal advocacy
   organization, but their case is still closed. Now, they’re waiting to see if the
   Biden administration will reopen cases and allow them into the US.

                                                              ADVERTISEMENT




   "It's very difﬁcult to live with the fear that the cartel, which has our
   information, will grab us again," Veronica said. "My hope is the US will give us a
   chance, just like they did with the people who had open cases, because we are
   not safe here in Mexico."

   MORE ON THIS


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         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 346 of 350 PageID 4939
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   “When The Bus Took Off, We All Cheered”: Asylum-Seekers Trump
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             This is so sad to hear. I can't imagine what it feels like to fear for your life for every
             waking moment. I hope that they get the support and help they need. People's lives are
             all equally important and it's important to remember that.
                                                                                                                       AR00728
https://www.buzzfeednews.com/article/hamedaleaziz/asylum-seekers-stuck-in-mexico-dangerous-conditions                            8/9
1/20/22, 2:36 PM                                        Asylum-Seekers Stuck In Mexico While Trying To Avoid Cartels
         Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                                  Page 347 of 350 PageID 4940
                   1



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Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22                   Page 348 of 350 PageID 4941


           Cite as 27 I&N Dec. 825 (BIA 2020)                           Interim Decision #3983




            Matter of Jonathan Said HERRERA-VASQUEZ, Respondent
                                       Decided May 8, 2020

                                   U.S. Department of Justice
                            Executive Office for Immigration Review
                                Board of Immigration Appeals


         The absence of a checked alien classification box on a Notice to Appear (Form I-862)
       does not, by itself, render the notice to appear fatally deficient or otherwise preclude an
       Immigration Judge from exercising jurisdiction over removal proceedings, and it is
       therefore not a basis to terminate the proceedings of an alien who has been returned to
       Mexico under the Migrant Protection Protocols. Matter of J.J. Rodriguez, 27 I&N Dec.
       762 (BIA 2020), followed.
       FOR RESPONDENT: Pro se
       FOR THE DEPARTMENT OF HOMELAND SECURITY:                            Meggan G. Johnson,
       Associate Legal Advisor
       BEFORE: Board Panel: MANN, Board Member; MORRIS, Temporary Board Member;
       Concurring Opinion: KELLY, Board Member.
       MANN, Board Member:


          In a decision dated May 30, 2019, an Immigration Judge terminated these
       removal proceedings on the basis that the Notice to Appear (Form I-862)
       served on the respondent was defective. The Department of Homeland
       Security (“DHS”) has appealed from that decision. We requested and
       received supplemental briefs from the DHS and amici curiae. 1 There has
       been no response to our request or the DHS’s appeal from the respondent.
       The appeal will be sustained, the proceedings will be reinstated, and the
       record will be remanded to the Immigration Judge.

                      I. FACTUAL AND PROCEDURAL HISTORY
           According to the respondent’s Record of Deportable/Inadmissible Alien
       (Form I-213), a United States Customs and Border Patrol agent encountered
       and arrested him at 2:40 a.m. on April 1, 2019, in San Ysidro, California, at
       a location approximately a quarter mile north of the United States border with
       Mexico. The respondent was transported to the Imperial Beach Border Patrol
       Station where he “admitted to be a citizen and national of Honduras without

       1
            We acknowledge with appreciation the briefs submitted by the DHS and amici.

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                                                                                               AR00730
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22            Page 349 of 350 PageID 4942


        Cite as 27 I&N Dec. 825 (BIA 2020)                      Interim Decision #3983




       the necessary legal documents to enter, pass through, or remain in the United
       States.” He “also admitted to illegally crossing the United States/Mexico
       international boundary on or about April 1, 2019, without being inspected
       by an Immigration Officer at a designated Port of Entry.” The respondent
       conceded that he was a member of a migrant “caravan.”
           On April 3, 2019, the DHS personally served the respondent with a notice
       to appear that bears the heading, “In removal proceedings under section 240
       of the Immigration and Nationality Act.” On the first page of the notice to
       appear, the DHS alleges that the respondent is not a citizen or national of the
       United States; that he is a native and citizen of Honduras; that he arrived in
       the United States at or near San Ysidro, California, on or about April 1, 2019;
       that he was not then admitted or paroled after inspection by an immigration
       officer; and that he is an immigrant not in possession of a valid unexpired
       visa, reentry permit, border crossing card, or other valid entry document
       required by the Immigration and Nationality Act.
           The next section of the notice to appear states, “On the basis of the
       foregoing, it is charged that you are subject to removal from the United
       States” under section 212(a)(7)(A)(i)(I) of the Immigration and Nationality
       Act, 8 U.S.C. § 1182(a)(7)(A)(i)(I) (2018), as an alien who, at the time of
       application for admission, did not possess a valid entry document. The notice
       to appear contains the respondent’s signature, acknowledging that the DHS
       personally served it on him. It informed him that his removal hearing would
       be held on May 30, 2019, at 12:30 p.m. in the San Diego Immigration Court
       and listed his address as a “Domicilio Conocido” (“Known Domicile”) in
       Tijuana, Baja California, Mexico. However, the DHS did not check any of
       the three alien classification boxes on the notice to appear to indicate whether
       he was alleged to be (1) an arriving alien, (2) an alien present in the United
       States who has not been admitted or paroled, or (3) an alien who has been
       admitted to the United States but is removable for reasons stated elsewhere
       on the notice to appear.
           The DHS also provided the respondent with a document entitled “Migrant
       Protection Protocols Initial Processing Information” (“MPP Sheet”). The
       MPP Sheet, which is written in the English language and translated into
       Spanish, instructed him to arrive at a specific location at the San Ysidro port
       of entry at 9:00 a.m. on May 30, 2019, so that he could be transported to the
       San Diego Immigration Court for his hearing. Following the service of the
       notice to appear and MPP Sheet, the respondent was returned to Mexico to
       await removal proceedings pursuant to section 235(b)(2)(C) of the Act,
       8 U.S.C. § 1225(b)(2)(C) (2018).
           The respondent did not appear at the Immigration Court on May 30, 2019.
       During the hearing, the DHS requested that the Immigration Judge order the
       respondent removed from the United States in absentia pursuant to section

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                                                                                    AR00731
Case 2:21-cv-00067-Z Document 162-1 Filed 09/02/22           Page 350 of 350 PageID 4943


        Cite as 27 I&N Dec. 825 (BIA 2020)                     Interim Decision #3983




       240(b)(5)(A) of the Act, 8 U.S.C. § 1229a(b)(5)(A) (2018). Instead, the
       Immigration Judge terminated the proceedings.

                                      II. ANALYSIS
                                  A. Notice of the Hearing

           In his decision, the Immigration Judge expressed a concern that the
       respondent was not given proper notice of how to attend his hearing.
       Subsequently, we issued Matter of J.J. Rodriguez, 27 I&N Dec. 762 (BIA
       2020), holding that where, as here, the DHS returns an alien to Mexico to
       await a removal hearing pursuant to the Migrant Protection Protocols and
       provides the alien with sufficient notice of that hearing, an Immigration
       Judge should enter an in absentia order of removal if the respondent fails to
       appear and is removable. The record indicates that the respondent received
       sufficient notice of the hearing pursuant to Matter of J.J. Rodriguez. There
       is no indication in the record that he did not understand the instructions for
       appearing at the hearing or that he made any attempt to appear.
           Moreover, according to the Form I-213, the respondent understood that
       he would be returned to Mexico and should not attempt to enter the United
       States “until he returns to the appropriate port of entry on the date of his
       hearing before an immigration judge.” See Matter of Gomez-Gomez, 23 I&N
       Dec. 522, 524 (BIA 2002) (stating that a Form I-213 is presumptively
       trustworthy). The Immigration Judge also acknowledged that many other
       aliens who were returned to Mexico under the Migrant Protection Protocols
       attended their hearings that day. We conclude that termination of the
       respondent’s removal proceedings on the basis that he did not receive
       adequate notice of his removal hearing is foreclosed by our decision in
       Matter of J.J. Rodriguez.

                          B. Sufficiency of the Notice To Appear

           However, this case differs from Matter of J.J. Rodriguez in several
       respects. First, unlike the respondent, who was alleged to have arrived in the
       United States without presenting himself at a port of entry, the alien in that
       case applied for admission at a designated port of arrival. Matter of J.J.
       Rodriguez, 27 I&N Dec. at 762. Second, the respondent’s notice to appear
       did not indicate, by a checked alien classification box, whether he was
       alleged to be an arriving alien, an alien present in the United States but not
       admitted or paroled, or one who has been admitted but is removable. Third,
       in Matter of J.J. Rodriguez, we did not address whether the notice to appear
       provided sufficient information to establish notice of the type of proceedings

                                             827
                                                                                   AR00732
